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                            EXHIBIT 39




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FINAL
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REMEDIAL INVESTIGATION REPORT                                              88105287


GROUNDWATER OPERABLE UNIT
McColl Site
Fullerton, California


                         Prepared For:
                        UNITED STATES
              ENVIRONMENTAL PROTECTION AGENCY
                  REMEDIAL PROJECT MANAGER




     Respondents:
THE McCOLL SITE GROUP


                                                        December 1995
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                                     APPENDIX A

                           1994 - 1995 DRILLING PROGRAM




                             GROUNDWATER RI REPORT
                                   McCOLL SITE
                              FULLERTON, CALIFORNIA




                                   December 29, 1995

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                                      A.1 INTRODUCTION


   This Appendix describes the 1994 and 1995 field program for the Groundwater Remedial
   Investigation/Feasibility Study (RI/FS). A summary table of the field program is presented in
   Section 2.0 of the RI report. The investigation methods used during the field program were
   initially presented in the Groundwater Remedial Investigation/Feasibility Study Work Plan
   (the RI/FS Work Plan, February 4, 1994). Some modifications and additions to the field
   procedures were outlined in subsequent Technical Memoranda (TMs) and in the Supplemental
   Work Plan (Revised) (ENVIRON June 22, 1995) submitted to EPA and other oversight
   agencies ("the agencies") during the field work. These TMs are presented in Appendix G.

   A.I.I Scope of Investigations

   As described in the RI/FS Work Plan, the 1994 and 1995 field program was conducted in two
   phases. During Phase I, shallow stratigraphy and groundwater were investigated south, and
   geologically down-dip, of the Ramparts and Los Coyotes sump areas by completing cone
   penetrometer tests (CPTs) and attempting to collect samples from shallow groundwater where
   evidence of saturation was observed. Only one CPT sample location produced a groundwater
   sample and it was analyzed for volatile organic compounds and other general water quality
   parameters. The results of the Phase I investigation were summarized in Phase I Report, Task
   10 Groundwater Remedial Investigation (ENVIRON, May 19, 1994). The Phase I Report
   presented the CPT logs and chemical test results, described the investigation methods, and
   presented recommendations for additions to Phase II. The CPT logs and other results from
   the Phase I investigation are presented in Appendix E.

   The Phase II groundwater investigation included the following work.

           •       Pilot Holes PH-1 to PH-10 were drilled and continuously cored to delineate the
                   subsurface stratigraphy south of the sumps, to collect samples for chemical
                   testing, to observe where groundwater may be present, and to determine the
                   optimum location and design of monitoring wells to monitor the McColl site.




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                   Monitoring wells P-2S. P-2I. P-4I and P-5I were constructed in the "A" flow
                   unit and "B" flow unit to monitor perched groundwater on and near the McColl
                   site.

          •        Monitoring wells P-5L. P-9D. P-10D. and P-10L were constructed to monitor
                  .the "B" flow unit and "C" flow unit downgradient of the McColl sumps.

          •        Replacement of well P-2D was completed at EPA's request because of potential
                   defects in its original construction. The replacement well is named "P-2D(R)."
                   Existing well P-2D was abandoned following protocols outlined in the RI/FS
                   Work Plan and TM 10-17.

  A.1.2 Pre-Drilling Activities

  Agency and Community Notification
  The applicable agencies and the neighboring community were notified about the planned field
  work prior to beginning drilling activities. In addition to EPA, the following agencies were
  notified of the field work by ENVIRON and Morrison Knudsen Corporation (MK): City of
  Fullerton Fire, Police, Traffic and Engineering Departments; Orange County Water District,
  Regional Water Quality Control Board (RWQCB), and Department of Toxic Substances
  Control (DTSC). EPA mailed fact sheets to the community prior to both the Phase I and
  Phase II drilling programs to inform neighbors about the upcoming work. An EPA
  representative personally contacted the homeowners adjacent to the drilling locations and,
  where necessary, obtained permission to block driveways during work hours.

  Utility Clearances
  To avoid subsurface utilities, ENVIRON notified Utility Service Alert (USA) of the drilling.
  USA then contacted local utility companies prior to drilling. The local utility companies
  marked the utilities in the areas of the planned drilling locations so that the final locations
  could be planned accordingly. ENVIRON also retained a private subsurface utility locator
  who used geophysical methods to check further each planned drilling location for underground
  utilities. To provide an extra margin of safety at drilling locations in public streets, the upper
  five feet of street boreholes were drilled with a hand auger.

  City Permits
  ENVIRON filed street work permits and encroachment permits with the City of Fullerton.
  Traffic plans were developed for the street work, submitted to the City of Fullerton, and


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  approved as part of the street work permit. The plans were prepared using the Work Area
  Traffic Control Handbook (BNI Books, 1990), which is followed by the City of Fullerton.

  Drilling Permits and Notices
  ENVIRON obtained well and boring permits from the Orange County Health Care Agency;
  the City of Fullerton also approved these permits prior to the start of work. ENVIRON filed
  "Notice of Intent" forms with the California Department of Water Resources for the
  monitoring wells.

  Staff Indoctrination
  Prior to beginning work, the field staff and the subcontractors were indoctrinated to the site in
  accordance with the RI/FS Work Plan's Sampling and Analysis Plan (SAP), Quality
  Assurance Project Plan (QAPP), and the Health and Safety Plan (HASP). The technical staff
  received the RI/FS Work Plan and then met with the project field manager regarding the
  objectives, procedures, and materials for the various tasks. The drilling and other support
  subcontractors were indoctrinated to the project objectives, data quality needs, and their
  specific roles in the project.

  A.1.3 Health and Safety

  As the site manager during Task 10, MK was responsible for monitoring and recordkeeping as
  outlined in the HASP. All field staff were oriented to site health and safety and site control
  procedures by MK's site health and safety officer. Health and safety procedures followed
  those outlined in the HASP, though some modifications were made for specific activities by
  MK's site health and safety officer. Records of the daily health and safety meetings, regular
  inspections, and monitoring are at the McColl site.

  When drilling off-site, the work area was controlled with barricades and caution tape, traffic
  control signs to warn oncoming traffic of the work, and a flagman (as necessary). At the end
  of each work day, peripheral drilling and traffic control equipment were removed and the drill
  rig and other large equipment were secured to remain overnight.




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                                     A.2 PILOT BORINGS


  A.2.1 Drilling and Sampling Methods

  Pilot holes were drilled using the following agency approved drilling methods: Resonance
  Sonic (RS), Hollow Stem Auger (HSA), Mud Rotary, Air-Rotary Casing Hammer (ARCH),
  and Dual-Wall Percussion Hammer. The drilling methods used at each pilot hole are
  summarized briefly below.

  Pilot Holes PH-1 to PH-7
  Pilot holes PH-1 to PH-7 were drilled to an average depth of approximately 170 feet below
  ground surface (BGS) using RS drilling methods. Continuous cores were retrieved during RS
  drilling using either a 5-foot or a 10-foot long split core barrel which had a 2.75-inch inside
  diameter and 3.5-inch outside diameter. The core barrel was run inside a 4 1/2-inch (outer
  diameter) casing, which was advanced continuously behind the core barrel. The 4 1/2-inch
  casing served as a temporary conductor to preserve the integrity of the borehole and to seal
  off saturated zones, minimizing the potential for cross contamination during drilling. At
  selected locations, additional larger casings (6 5/8- and 9 5/8-inch casings) were telescoped
  over the 4 1/2-inch casing to seal off specific zones and provide further conservative measures
  against potential cross contamination during drilling. The notes at the end of individual
  boring logs summarize the placement of additional conductor casings, if used.

  During RS drilling, the core barrel and casings were advanced using the RS drill head, a
  hydraulically driven unit that generates a high frequency sinusoidal wave which is transmitted
  to the drill string. The vibrations in the drill string generate a strong downward force which
  advance the casing or core barrel. Cores were generally recovered in fair to good condition,
  though some cores were disturbed or heated where gravel or cemented material was
  encountered. However, most core was sufficiently undisturbed to observe moisture content,
  where groundwater was encountered, details of lithology, and whether the sample had
  chemical odors. The overall core recovery was very good, allowing detailed characterization
  of hydrostratigraphy.




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   At the beginning of the RS drilling program, stainless steel liners were used in the core barrel
   (PH-2, PH-3 and part of PH-1). However, use of the liners with RS methods slowed drilling
   and caused the core to be compacted tightly, making it difficult to extrude the samples. Use
   of stainless steel liners was discontinued after receiving approval from EPA (TM 10-6), and
   remaining soil samples were collected into glass jars in accordance with EPA's Contract
   Laboratory Protocol for Laboratory Analysis OLM 1.8 and ILM 3.0.

   At borings PH-1, PH-2 and PH-4, additional lithologic information was obtained using other
   drilling methods which was beyond the reach of RS drilling methods. The deeper drilling
   was conducted in pilot holes adjacent to the original RS borings. The boring logs for PH-1,
   PH-2 and PH-4 present a compilation of the results from the two adjacent borings and the
   "Notes" at the base of the boring log summarize the drilling methods used. The deeper
   drilling at these three locations is outlined below.

          •        Adjacent to RS boring PH-1, cuttings were logged during construction of well
                   P-2D(R), in accordance with approved TM 10-12 (September 30, 1994). The
                   well was installed using dual-wall percussion hammer drilling techniques, and
                   the cuttings were logged from 190 to 235 feet.

                   Adjacent to RS boring PH-2, a deeper boring was cored using ARCH and mud
                   rotary techniques to a target depth of 350 feet, as outlined in the RI/FS Work
                   Plan. The deeper borehole was drilled adjacent to PH-2 by setting a temporary
                   conductor casing to 197 feet using ARCH and then continuously coring using
                   mud rotary techniques to 350 feet. Coring was accomplished with a 94-mm
                   wireline core barrel.

                   Adjacent to RS boring PH-4, a deeper boring was drilled with ARCH
                   techniques, as described in approved TM 10-7 (August 18, 1994). A temporary
                   conductor casing was set at 189 feet to seal off groundwater when field
                   evidence of chemicals was observed above this depth. The interval from 152
                   to 210 feet was logged by inspecting cuttings from the ARCH rig's cyclone and
                   collecting drive samples at regular intervals.

   Pilot Holes PH-8. PH-9 and PH-10
   HSA techniques were used to drill PH-8, PH-9 and PH-10. At PH-8 and PH-10, flowing
   sands interfered with coring when saturated sand zones were penetrated; the rig was then
   converted to mud rotary to continue coring to the target depths. During HSA drilling,


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   samples were collected in a Christensen wireline core barrel; mud rotary coring was
   accomplished with a 94-mm wireline core barrel. Additional drilling information is presented
   in the notes at the base of the individual boring logs.

   Deeper geologic information was obtained adjacent to PH-10 during construction of well P-
   10L. Well P-10L was constructed using dual-wall percussion hammer techniques in
   accordance with the Supplemental Work Plan (Revised) (June 22, 1995). Soil drive samples
   were collected continuously with a California modified split spoon sampler from 199.6 feet to
   272.5 feet BGS. The results of geologic logging are collectively presented on the boring log
   for P-10L, which also presents additional drilling information.

   A.2.2 Soil Sample Selection and Handling

   Soil samples were selected for chemical analysis if there was field evidence of a discoloration
   or a chemical odor, or if samples were associated with organic vapor analyzer (OVA)
   measurements above background. If several samples over a depth interval had field evidence
   of a discoloration or chemical odor, soil sample associated with the highest OVA
   measurement was typically selected for laboratory analysis. Soil samples intended for
   laboratory testing were packaged and transported to the laboratory following the procedures
   outlined in the RI/FS Work Plan (SAP and QAPP) and TM 10-6. Soil samples intended for
   chemical testing were placed on ice and those intended for physical testing were packaged
   separately. All soil samples selected for analyses were handled under chain-of-custody
   protocol. The remainder of the core samples were placed in core boxes for lithologic logging
   and archiving.

   A.2.3 Geologic Logging

   Geologic logging was performed by experienced ENVIRON geologists in accordance with the
   RI/FS Work Plan. The resulting boring logs are presented as an attachment to this appendix.
   Continuous cores were reviewed and edited in the field by David Harnish, California
   Registered Geologist No. 4671, or under his supervision. During the field review, cores were
   laid side-by-side and compared and correlated along preliminary cross sections. During the
   field review, other relevant geologic data also were considered: surficial geology, geophysical
   and CPT logs, and physical test results. Boring log descriptions took into consideration the
   physical testing results presented in Appendix C. The core is currently archived at the
   McColl Site.




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   A.2.4 Groundwater Grab Sampling

   Groundwater grab samples were collected at pilot holes PH-4, PH-8 and PH-10 using the
   methods outlined in the Groundwater RI/FS Work Plan. A description of the groundwater
   grab sampling performed at pilot holes PH-4, PH-8, and PH-10 is presented below.

   At pilot hole PH-4, groundwater grab samples were collected from two depths by installing
   temporary wells with the ARCH rig. First, a temporary pre-packed well screen was placed
   through the 9%-inch drive casing from 189 to 199 feet BGS and the casing was retracted to
   allow water to enter the well. Approximately 165 gallons of water were bailed from the well
   and a groundwater sample was collected (approximately 50 gallons of water were added to the
   formation to minimize heaving sands). The temporary well casing was then removed and the
   boring was grouted to 177 feet BGS. The second temporary pre-packed well screen was
   placed from 165 to 175 feet, with 2 feet of filter pack sand below the screened interval. This
   second temporary well did not recover after purging a small amount of water, but the
   recovered water was submitted for laboratory analysis.

   At pilot hole PH-8, a ground water grab sample was collected from a temporary well screen
   placed from 187 to 193 feet, through the hollow stem augers. The well casing was purged so
   that at least three casing volumes were removed and field parameters of pH, temperature and
   conductivity had stabilized.

   While drilling the boring for well P-10L, ground water grab samples were collected from four
   depths: 218, 231, 245, and 261 feet BGS. The 218 foot sample was collected by lowering a
   bailer into the dual-wall percussion hammer casing, which was set at 218 ft. The bailer
   collected a sample of groundwater which freshly recharged through the bottom of casing
   immediately after it was blown dry. The remaining three samples were collected with a
   HydroPunch, which was driven into sediments below the casing.

   At pilot hole PH-2, a HydroPunch was used in an attempt to collect a grab groundwater
   sample at a depth of 357 feet BGS in coarse sands and gravels. Because of the coarse nature
   of the gravels, the HydroPunch probe was damaged and the sampling port could not be driven
   beyond the influence of the drilling fluids. The recovered sample was primarily drilling fluids
   and was not submitted for laboratory analysis.

   A.2.5 Pilot Hole Grouting




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   After each pilot hole was completed, it was backfilled with a cement-bentonite slurry. The
   slurry was composed of Type I/II cement, 3 to 5% by weight non-beneficiated bentonite
   powder, and water. The bentonite was thoroughly mixed with water prior to mixing in the
   cement. The grout was emplaced to the bottom of the borings with a tremie pipe. The tremie
   pipe and casing or auger were removed as the grout level rose to the surface. Once the grout
   reached the surface, additional grout was poured directly into the boring. Any fluids
   displaced by the grout were contained and stored on-site for testing and disposal by MK.




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                                                   A.3 WELL INSTALLATIONS


                Details of the well designs are presented on the boring logs which accompany this appendix.
                The rationale behind these designs is summarized below.

                A.3.1 Well Designs

                The monitoring wells were designed in accordance with the RI/FS Work Plan, Orange County
                Water District well permit requirements, and the Department of Water Resources California
                Well Standards (Bulletins 74-81 and 74-90). Detailed specifications for well construction
                were included in Appendix D to the RI/FS Work Plan, entitled "Drilling Specifications". The
                designs were developed after the pilot hole core was reviewed and preliminary geologic cross
                sections were constructed.

                The screened intervals for wells P-2S, P-2I, P-4I and P-5I were proposed to the agencies in
                TM 10-10 (September 12, 1994). Screened intervals for wells P-9D and P-10D were
.        ,      proposed to the agencies in TM 10-14 (October 7, 1994) and intervals for well P-5L were
>*•<•'
                proposed in TM 10-15 (October 21, 1994). The design of well P-10L was proposed in TM
                10-19 (June 16, 1994) and in a memorandum to EPA dated July 12, 1995. These well
                designs were approved by the agencies and the monitoring wells were constructed
                accordingly. The rationale for the screened intervals is presented in the TMs (and the July 12,
                1995 memorandum for well P-10L), which are presented in Appendix G of this report.

                The filter packs of monitoring wells P-9D, P-10D, P-2D(R), and P-10L were selected after
                grain size analyses of soil samples from the screened intervals were performed. This
                evaluation followed the procedures outlined in Groundwater and Wells (Fletcher Driscoll,
                1986, published by Johnson Division). Once the filter pack was selected, a screen slot size
                was selected which would retain the filter pack. The filter packs and screen sizes of wells
                P-2S, P-2I, P-4I, P-5L, and P-5I were selected based on observations that the screened
                intervals were in very silty or clayey sands with silt and clay interbeds. To attempt to avoid
                excess turbidity, these wells were constructed with relatively fine-grained filter packs
                (Lonestar #2/16) and 0.010-inch slotted screens.




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   The Drilling Specifications in the RI/FS Work Plan specified that a cement-bentonite grout
   would be used to construct the wells, and this grout was used on all wells except replacement
   wells P-5L and P-9D. The grout mix for wells P-5L and P-9D was modified in approved TM
   10-17 to a high-solids bentonite slurry in conformance with the California Well Standards
   (MSG December 5, 1994). The change in the grout mix was made because the original wells
   P-5L and P-9D failed due to grout-related problems when first constructed using cement-
   bentonite grout with the ARCH drilling techniques. As a precautionary measure, well P-10L
   was then also constructed with a high-solids bentonite slurry.

   A.3.2 Hollow Stem Auger (Wells P-2S, P-4I, and P-5I)

   Wells P-2S, P-4I, and P-5I were installed using HSA techniques with 11-inch diameter
   augers. Once the total depth was reached, the well casing and screen were installed through
   the augers to the required depth and set in the borehole. The filter pack was installed by
   pouring sand slowly into the annulus between the auger and the well casing. The augers were
   withdrawn concurrently with the filter pack placement and the sand was measured regularly.
   To reduce the possibility of grout infiltration, at least one foot of very fine, well-rounded,
   silica sand was placed above the filter pack material. A bentonite pellet or chip seal (at least
   4 feet thick) was placed above the filter pack and hydrated in place. Cement-bentonite grout
   then was placed in the annulus through a tremie pipe which was raised at approximately the
   same rate as the grout was pumped. Augers were withdrawn from the borehole concurrently
   with the placement of the grout. After the grout set, secure surface completions were
   constructed. Wells P-4I and P-5I were secured with locking caps and enclosed by water-tight,
   traffic-rated steel vault boxes set approximately 1/2-inch above grade. Well P-2S was secured
   in an 8-inch diameter lockable steel stand pipe surrounded by three 4-foot high steel
   stanchions. Further drilling and well construction information is presented on the boring logs.

   A.3.3 Air-Rotary Casing Hammer (Wells P-9D and P-5L)

   Wells P-9D and P-5L were installed using ARCH drilling equipment. During construction of
   these wells, 11 3/4-inch diameter temporary conductor casings were installed to depths of
   approximately 160 feet (P-9D) and 180 feet (P-5L), respectively; 9 3/4-inch drive casing was
   then advanced through the temporary conductor casing to the desired depths of the well.
   Once the well depths were reached, the well casing and screen were installed through the
   drive casing. Centralizers were placed at the base and top of the well screen and at
   approximately 40-foot intervals from the top of the well screen to the ground surface. In well
   P-9D, the filter pack was installed using a tremie pipe and fresh water. In well P-5L, the


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   filter pack was installed in a sand/water slurry because there was no water in the borehole
   prior to the installation of the filter pack. For both wells, the drill casing was withdrawn
   from the borehole concurrently with the filter pack placement, and the top of the sand was
   measured regularly during placement. The filter pack was installed to approximately 6 feet
   above the well screen in both wells. To reduce the possibility of grout infiltration, at least
   one foot of very fine, well-rounded, clean silica sand was placed on top of the filter pack. A
   minimum 6-foot-thick bentonite pellet or chip seal was placed above the filter pack and
   hydrated in place. The wells were then grouted using a tremie pipe with a high-solids
   bentonite slurry (Aquaguard TM). The drill casing and tremie pipe were withdrawn from the
   borehole concurrently with the placement of the grout. After the grout was allowed to set, the
   wells were secured with a locking cap and enclosed by a water-tight, traffic-rated steel vault
   box set approximately 1/2-inch above grade. Further drilling and well construction
   information is presented on the boring logs.

   A.3.4 Dual-Wall Percussion-Hammer (Wells P-2I, P-2D(R), P-10D, and P-10L)

   Wells P-2I, P-2D(R), P-10D, and P-10L were installed using dual-wall percussion-hammer
   drilling equipment. During construction of wells P-2I and P-2D(R), temporary conductor
   casings (10 3/4-inch diameter "triple wall") were installed to depths of 65 feet (well P-2I) and
   55 feet (well P-2D(R)). For all these wells, a dual-wall drive casing (9 3/4-inch outside
   diameter, 6-inch inside diameter) was advanced to construct the wells. The wells were
   constructed inside the dual-wall pipe using the methods described above for the wells
   constructed with ARCH and HSA. Further drilling and well construction information is
   presented on the boring logs.

   A.3.5 Well Development

   Groundwater monitoring wells were developed in accordance with well development
   procedures outlined in Appendix D of the RI Work Plan. Wells were alternately bailed for
   sediment using a stainless steel bailer and swabbed until relatively clear water was produced.
   After sediment stopped entering the well, groundwater was removed by pumping; a minimum
   of ten casing volumes were removed. Wells from the deep zones were typically pumped at
   the maximum rate of the Grundfos pump (5 gallons per minute). Shallower wells were
   pumped at slower rates because they recharged slowly and dewatered during bailing and
   pumping. Electrical conductance, pH, temperature, and turbidity parameters were monitored.
   Wells were developed until electrical conductance, pH, and temperature values stabilized and
   turbidity values were generally below 10 Nephelometric Turbidity Units (NTU). Water


   McColl Site Group                                                _____        ____
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   produced during development was stored on-site in Baker tanks pending testing and disposal
   byMK.

   A.3.6 Dedicated Sampling Pumps

   In accordance with the Work Plan (February 4, 1994), dedicated submersible pumps were
   installed in newly constructed wells P-2I, P-2D(R), P-4I, P-5I, P-5L, P-9D, P-10D, and
   P-10L. In addition, dedicated pumps were installed in pre-existing wells W-8B and W-9C.
   The dedicated pumps in the new wells were installed in November and December 1994 prior
   to the First Quarter Sampling Period (1994). The dedicated pumps for wells W-9B and W-9C
   were installed prior to the Second Quarter Sampling Period. No pumps were installed in
   wells P-3S, P-5S, P-6S, and W-6A due to their limited water column, poor recharge, and
   shallow depth. These wells were purged and sampled using PVC and/or disposable Teflon
   bailers during all four rounds of monitoring.

   Grundfos Redi-Flo2™ pumps were installed because of their recognized ability to provide
   representative samples and their ease of sampling. They are the same model pumps that
   EPA's contractor (ICF Kaiser) previously installed in the pre-existing monitoring well
   network. Each installation has PVC-reinforced nylon discharge tubing. The pump is secured
   with a Teflon™ coated stainless steel anchor cable attached to a stainless steel (Type 316)
   pump safety bracket. The cable is attached to a well seal which is installed at the well head.
   Except for wells W-8B and W-9C, the pump intake in each well is placed approximately one
   foot above the base of the screened interval. Due to the greater depth of wells W-8B and W-
   9C and potential limitations of the pump, the pump intakes are set at or above the top of the
   screened interval.

   All new pumps were certified as clean by Grundfos Corporation, except for the pump for well
   P-2D(R). The pump installed in well P-2D(R) was removed from former well P-2D and
   decontaminated prior to installation. An equipment blank was analyzed from this pump prior
   to placement to confirm the completeness of decontamination; the blank was prepared with
   Highly Purified Liquid Chromatography (HPLC) water and analysed for volatile organic
   compound (VOC) and thiophene compound analyses. No VOCs or thiophene compounds
   were detected (results are presented in Appendix D).




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                                      A.4 WELL ABANDONMENT


   Three wells were abandoned during the 1994 RI/FS field work: the original wells P-5L, and
   P-9D, and P-2D. The first construction of well P-5L was abandoned because heat generated
   during grout setup deformed the well casing, and made it unusable. The first construction of
   well P-9D was abandoned because grout was found inside the well casing during
   development. Well P-2D was abandoned to comply with a request by EPA. Well
   abandonment procedures were based on California Department of Water Resources Bulletins
   74-81 "Water Well Standards: State of California" (December 1981) and 74-90 "California
   Well Standards" (June 1991). Abandonment procedures were outlined in the RI/FS Work
   Plan "Drilling Specifications" and TMs 10-12 and 10-17; well abandonment activities are
   summarized below.

   A.4.1 Abandonment of Defective Wells P-5L and P-9D

   Wells P-5L and P-9D were abandoned by pressure grouting. Both wells were sounded to
   verify that no obstructions were present in the well casing. The deformed casing in well P-5L
   was drilled out using a 3 1/2-inch diameter reamer bit. The well screen and a portion of the
   casing were then perforated with a mills knife to allow the grout to infiltrate the filter pack.
   Cement-bentonite grout was placed through a tremie pipe positioned at the bottom of the well
   casing. Grout was pumped in one continuous lift from the bottom to the top of the well until
   relatively undiluted grout appeared at the surface. Displaced water was contained by the
   subcontractor. The geologist verified that the actual volume of grout used equaled or
   exceeded the well volume being sealed. After the well casing was filled with grout, a cap
   was fixed to the well casing to allow the grout to be placed under pressure. The
   subcontractor maintained sealing pressure for approximately 1 hour to allow the grout to
   infiltrate the filter pack. Grout was then added until the level was approximately 2 feet below
   the top of casing. The top 2 feet of the casing was removed, and the surface backfilled and
   repaired to match the surroundings.




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   A.4.2   Abandonment of Well P-2D

   Well P-2D was abandoned using mud rotary drilling techniques and pressure grouting. The
   well and surrounding grout column were drilled out to a 12Vi-inch diameter using a drill bit
   with a 3-foot long "stinger" extension to keep the bit centered on the well casing. At
   approximately 180 feet BGS, a steel casing was unexpectedly encountered. The steel casing
   was set at the very edge of the borehole and encased in grout; it was therefore impractical to
   drill out. The well screen and bottom portion of the casing were therefore abandoned by
   pressure grouting, in accordance with approved TM 10-17. The casing and screen were
   perforated with two columns of cuts at 6-inch intervals, approximately 180° apart, using a
   mills knife. Mud was then circulated to remove the sand pack that flowed into the casing.
   The geologist verified the bottom of the borehole and notified the OCHCA. A cement-
   bentonite grout was pumped into the borehole from the bottom up via a tremie pipe. The
   tremie pipe was raised at approximately the same rate as the grout was pumped. Grout was
   pumped at geologist-approved intervals until relatively undiluted grout appeared at the surface.
   Drilling fluid displaced during this procedure was contained by the subcontractor.




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                                   APPENDIX A

                            ATTACHMENT 1:
              BORING LOGS AND WELL CONSTRUCTION DIAGRAMS




                                      Exhibit 39
                                        5050
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                                                                           GRAPHIC
                                                                                     SYMBOL
                                                                                              _J UJ
                   MAJOR DIVISIONS                                                            M a                    DESCRIPTIONS
                                                                                              oo
                                                                                              V) CJ



                                                                                                      WELL GRADED GRAVELS, WITH OR
                                        CLEAN GRAVELS                2>vC                      6N
         0)                                                                                           WITHOUT SAND, LITTLE OR NO FINES
         Oi                              WITH 1 TTTI F
                  GRAVELS
                                                                                                      POORLY GRADED GRAVELS, WITH OR
         in
              more than half              OR NO FINES                     cr.< 6P
     0                                                                                                WITHOUT SAND, LITTLE OR NO FINES
              coarse fraction                                            1 i
                                                                                     0
                                                                                     1
                                                                                                      SILTY GRAVELS,
              is larger than                                                                   6M     SILTY GRAVELS WITH SAND
                no. A sieve               GRAVELS KITH
                                       OVER 12* FINES                                                 CLAYEY GRAVELS,
                                                                     //                        6C     CLAYEY GRAVELS WITH SAND

                                                                                                      WELL GRADED SANDS, WITH OR
  1 3                                     CLEAN SANDS                                          SM     WITHOUT GRAVEL, LITTLE OR NO FINES
                                          UTTU   1 TTTI C
                   SANDS
  li
         c
              more than half
              coarse fraction
                                          OR NO FINES
                                                                     ; ;                       SP
                                                                                                      POORLY GRADED SANDS, WITH OR
                                                                                                      WITHOUT GRAVEL, LITTLE OR NO FINES

         to                                                                                           SILTY SANDS,
     -u       is smaller than                                                                  SM
     oj                                   SANDS HITH
                                                                               > "*                   WITH OR WITHOUT GRAVEL
                no. 4 sieve
     i                                 OVER 12X FINES
                                                                     r         S


                                                                                               SC
                                                                                                      CLAYEY SANDS,
                                                                                                      WITH OR WITHOUT GRAVEL

                                                                                                      INORGANIC SILTS AND VERY FINE SANDS,
                                                                                               ML     ROCK FLOUR, CLAYEY SILTS OF LOW PLASTICITY

                            SILTS AND CLAYS                                                           INORGANIC CLAYS OF LOW TO MEDIUM PLASTICITY,
                                                                                               CL     CLAYS WITH SANDS AND GRAVELS, LEAN CLAYS
   »—<               liquid limit 50 or less
                                                                     /^                               ORGANIC SILTS OH CLAYS
                                                                     f                         OL     OF LOW PLASTICITY
                                                                          |I|

                                                                                                      INORGANIC SILTS, MICACEOUS OH DIATOMACEOUS,
   cc                                                                                          MH
   (S                                                                                                 FINE SANDY OR SILTY SOILS, ELASTIC SILTS

                            SILTS AND CLAYS                                                           INORGANIC CLAYS OF HIGH PLASTICITY,
   u-                                                                                         CH      FAT CLAYS
                  liquid ligit greater than 50
                                                                                                      ORGANIC SILTS OR CLAYS
                                                                     /^                        OH
                                                                     Wt
                                                                     AA/J
                                                                                                      OF MEDIUM TO HIGH PLASTICITY

                                                                                                      PEAT AND OTHER HIGHLY ORGANIC SOILS
                   HIGHLY ORGANIC SOILS                              AAA>                     PT
                                                                     AAA>
                                                                     AAAJ


                                                 SOIL SAMPLE RECOVERY KEY


                                                                                     Soil Sample (relatively            undisturbed)
                                                                 •                   Complete Recovery

                                                                 m                   Soil Sample (disturbed)
                                                                 LJ                  Partial Recovery



                                                                 9                   Continuous Core Run
                                                                                     Sample Recovery



                                                                 B                   Continuous Core Run
                                                                                     No Recovery


                                                                                                                                               Figure

   € NV 1R O                               N
                                           M                Ke
                                                              y o\)to Unified
                                                            MrC,
                                                                              Soil Classification System
   Counsel in Health and Environmental Science
                                                                      Ste
                                                            Fulle rton. California                                                           A-1
   Drafter: RS               Dote: 9/95                 Controct Number: 03-3493X                                     Approved:          Revised:
                                                                 Exhibit 39
                                                                   5051
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Ground Surface Elevation:265.26' Datum: Mean Sea Level
X Coordinate: 6038327            Y Coordinate: 2272770


Blank Casing:
                        Well Construction Details                                                              We                          P-2D(FO                                                  (PH-1
type: PVC                        diameter: 4.00"                       from:-2.5'        to: 213.00'
                                                                                                               Pilot Hole Drill Date(s):                        07/05/94 - 07/12/94
Screens:
type: Slotted size: .010" dia:4.00" from: 213.00'to: 223.00'                                                   Well Completion Date(s):                         10/08/94 -               10/12/94
Annular Fill:
type: Cement Bentonite Grout      from: 1.00'    to: 200.00'                                                   Drill Method: Dual Wall Percussion/(Resonant                                     Sonic)
type: Bentonite Pellets           from: 200.00'  to: 207.00'                                                   Driller: Layne Drilling (Dean Plautz)
type: Lonestar $60                from: 207.00'  to: 211.00'
type: Lpnestar $2/16              from: 211.00'  to: 230.00'                                                   Logged By: Alex Marr, Steve LaMascus
type: Fill                        from: 230.00'  to: 235.00'                                                   Reviewed By: David Harnish
                                               a.               Q.
                                                                           C
                                                                           OJ
         Well                                  E                E
                                               o                o
                                              GO
 Construction                                                  CO

                                               oj                          OJ
                                                                a>         aj
                                               o                           o
    Top of Cosing                              o                o          o
                                                                           OJ
     Elev. 266.96
                                              'E0)                        a:
                                              .c               .c                 OJ                                 Material Description
                                O             o                Q.

                                                                                             ML   DARK BROWN (10YR 3/3) SANDY SILT (ML): loose to medium dense, dry to moist, root frogments. generally colcareous
                                                                                                  with abundant carbonote nodules (strong HCL reaction), fine- to coarse-groined (0.30,70) (FILL?)
                              0 ppm
                                                                        275-                      increasing sand, pocket penetrometer (p.p.) = 2.5-3.25

                                                                                                  VERY DARK GRAYISH BROWN (10YR 3/2) SILTY CLAY WITH SAND (CL):             plastic, medium stiff, moist to saturated, trace
                                                             PH1-7                           CL   grovel (10,25.65) (FILL?)
                              0 ppm                           (CL)
                                                                        4.275-    10-
                                                                                                  DARK GRAY (10YR 4/1)        SANDY CLAY (CL):   stiff, locally grades lo sand, with thiophene odors, moist to wet
                             10 ppm                                                          CL

                                                                                                  9.9-10.2, 14-16:    thiophene odors ond discolorotion
                                          PHI-14.5                      1.675'
                             50 ppm                                                               DARK BROWN (10YR 4/3) SILTY SAND WITH GRAVEL (SM): fine- to coorse-groined, medium dense to dense, moist
                                                                                             SM   to saturated, very dark gray (5Y 3/1) associated with strong thiophene odors, coarsens downward (10,65,25)
                                           PH1-18
                                         PH1-18.50                      4.2'/5'                   20.4-21.6:   thiophene odors ond discolorotion
                                                                                  20-
                             25 ppm                                                               21.4-25.0:   Becomes dark gray (2.5Y N4) to olive gray (5Y 4/2), moist to wet. strong thiophene odors (15.60.25)


                                                                        4-/5-
                                                                                                  Grades medium to coorse groined with grovel
                             15 ppm
                                                                                                  OLIVE GRAY (5Y 4/2) CLAYEY SAND (SC) fine-groined, soft loose, moist to saturated (0.60.40)
                                                                        575'                 SC
                                                                                  30-
                             20 ppm

                                                                        5751                      OLIVE GRAY (5Y 4/2) SILTY SAND (SM) WITH GRAVEL: fine- to medium-groined, loose to medium dense, moist lo wet,
                             30 ppm                                                          SM   rounded quorlzite gravel, sporadic very dork gray discolorotion with thiophene odor (25.60,15)

                             20 ppm       PHI-37.5        PHI-38
                                                        (SM or SC)      4.575-    40-
                                                                                                  40.0-40.5: dork gray (2.5Y N4) sandy cloy (CH):         organic, wood frogmenls, soft, plastic, moist to soturoted
                                                                                                  (possibly slough), strong thiophene odor
                             20 ppm
                                                                        5-/51                     44.6-45.2:   Calcareous with light gray (5Y 7/1)    carbonate nodules

                             10 ppm        PH1-47
                                                                                                  OLIVE BROWN (2.5Y 4/3) SILTY CLAY WITH SAND (CL): very stiff, low plasticity, moist, very fine sand to sil
                                                                                                                                                                                                           silt,
                                                                        575-                 CL   generally calcareous, mild to strong HCI reactions, localized white (5Y 8/2) calcareous layers and fragment:s,
                                                                                  50-
                                                                                                  occasional gravelly beds (5,15,80)
                              15 ppm                         PHI-52
                                                              (CH)                                53.9 - 54.5: Pole yellow (5Y 7/3) colcoreous silt (ML):       soft, loose, moist, strong HCI reaction, increasing
                              3 ppm                                     4.5-/51                   silt ond streaks/laminae of colcoreous silt (0,10,90)

                              1 ppm
                                           PHI-58
                                                                        3.375'    60-
                                                                                                  Foint thiophene odor
                                          PH1-63.1
                                                                        4.575-                    64.0-64.7:    Pale yellow (5Y 7/3) calcareous silt with minor grovel, loose, moist

                              1 ppm

                                                                        575-      70-        SM
                                                                                                  OLIVE (5Y 5/3) SILTY SAND (SM): very fine- to medium-groined, loose, moist, sond composed of mainly quartz,
                              2 ppm                                                               weathered feldspars, trace muscovite-mico, rare sulphides (pyrite): granitic composition, grains ore subangular to
                                                                                                  subrounded (0,85-90.10-15)

                               2 ppm                                    4.375-
                               0 ppm
                              -1 ppm
                                                                                                  OLIVE BROWN (2.5Y 4/3) SANDY SILT (ML): loose lo medium dense, moist, fine- to medium-groined,
                                                                        2.875'               ML   subangular, quarlzose, slightly oxidized (0.35,65) (note: core disturbed)
                                                                                  80-

                              2 ppm
                                                                        575-
                                                                                                  OLIVE BROWN SILTY SAND (2.5Y 4/4) (SM):         very fine-groined, medium dense to dense, moist
                                                                                             SM
                              0 ppm        PH1-87

                                                                        4.9'/5'   90-



                                                                        4.8'/5'
                                                                                                  BROWN (10YR 5/3) SILTY CLAY (CL): very stiff, moist, some fine- lo coorse-groined sond, Iroce colcareous
                                                                                             CL   closts (caliche?) ond grovel-sized closts (2-5,5-8,87-93)
                                                                                                  92.5-95.0: Grades to olive sond (5Y 5/3) (as seen at 69.1 ft bgs): very fine-groined, loose, (easily crushed),
                                                                        4-/51     100-            moist (0.80.20)
                                                                                                  96-103: Contains interbeds of very fine silly sand, loose, moist, medium dense (0,60.40)
                               1 ppm                         PHI-102
                                          PHI-103              (CL)
                                                                        4.775-
                               1 ppm                                                              105-108:     Trace grovel

                                                                        373-

                                                                         LOG OF BORING                                                                           Page 1 of 3                            Figure
     € N V I R ON                                                        WELL CONSTRUCTION DETAILS
     Counsel in Health and Environmental Science
  9820 Shellmound Street. Suit* 700, Emeryville. CoKtornio    94608
                                                                         McColl Site
                                                                         Fullerton, California
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                                        Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 22 of 730 Page ID #:5096
Ground SuV—<ie Elevotion:265.26' Datum: Mean Sea Level
X Coordinote: 6038327            Y Coordinote: 2272770


Blank Casing:
                        Well Construction Details                                                                       We                          P-2DCR)                                                (PH-1
type: PVC                         diameter: 4.00"                       from:-2.5'            to: 213.00'
                                                                                                                        Pilot Hole Drill Date(s):                          07/05/94 -              07/12/94
Screens:
type: Slotted   size: .010" dia: 4.00" from: 213.00'to: 223.00'
                                                                                                                        Well Completion Date(s):                           10/08/94 -              10/12/94
Annular Fill:
type: Cement Bentonite Grout         from: 1.00'    to: 200.00'                                                         Drill Method: Dual Wall Percussion/(Resonant                                       Sonic)
type: Bentonite Pellets              from: 200.00'  to: 207.00'                                                         Driller: Layne Drilling (Dean Plautz)
type: Lonestar #60                   from: 207.00'  to: 211.00'
type: Lpnestar $2/16                 from: 211.00'  to: 230.00'                                                         Logged By: Alex Morr, Steve LoMoscus
type: Fill                           from: 230.00'  to: 235.00'                                                         Reviewed By: David Harnish
                                                 TT
                                               O.               .            c
                                                                 a.          OJ
         Well                                  E
                                                O                E          'C
                                               CO                o          a
 Construction                                                   CO
                                               CO
                                               OJ                CO          OJ
                                                                 OJ
                                                                             aj
                                                                                                     OJ
                                               o                             o                       a_
                                               o                 D           o                U
                                                                _y           aj               Ic
                                                                'in         ct:               a.
                                               OJ                                      CL     o
                                               JC                                      OJ            o                        Material Description
                                               o                                       O      o     CO
                              U ppm
                                                                          474-                     M/SW    OLIVE (5Y 5/3) to LIGHT OLIVE BROWN (2.5Y 5/3) SILTY SAND (SM/SW): fine- to coorse-groined. loose, moist, mainly
                                                                                                           quartz and feldspars, trace mica, subrounded grovel (less than or equal lo 1"), grovel has granitic to monzonitic
                                                                                                           composition (15,70,15)
                               1 ppm
                                                                          4-/4-
                              3 ppm       PH1-116.5                                                 CL     OLIVE GRAY (5Y 5/2) SILTY CLAY (CL): very stiff, medium plasticity, moist, with fine-groined sond. abundant
                                                                                                           irregular colcareous silt frogments at base of unit (2.10,88)
                                                                                                            118-119.5: Yellowish brown (10YR 5/4) sond (SM): fine-groined, medium dense, very moist, disseminated light olive
                                                                                       120-                gray (5Y 6/2) calcareous silt frogments. oxidized oppeoronce (0,75,25)
                                                                          3.775-                           122:   Depth to Water (DTW) = Dry
                                                                                                           122:   Color becomes grayish brown (2.5Y 5/2)     with clayey sond beds, mild Ihiophene odor (0.30,70)
                              25 ppm
                              30 ppm
                                                                          4-/41

                              80 ppm                                                               SM/ML                                                                                                                              some
                                          PH1-128.5
                                                                          4'/4-        130-
                                                                                                                                                                                                                                         rusty
                              3 ppm
                              18 ppm                                                                       133:   foint thiophene odor
                              35 ppm                                      575-
                                                                                                           OLIVE GRAY (5Y 5/2) SANDY CLAY (CL): very stiff, plastic, moist, rare calcareous frogments. locally micaceous,
                                                                                                    CL     slight increase in sond downward, mild thiophene odors (0,15,85)
                              7 ppm
                                           PH1-139                        3.775-       140-

                                                                                                           p.p = >4.5
                                                                                                           OLIVE GRAY (5Y 4/2) SAND (SM):       fine-groined, loose to medium dense, moist to soturoted. abundant mica,
                               2 ppm PHI-144                  PH1-144                               SM     with silt inlprherfs (0.85.15)
                               4 ppm                    (Silt or Clay)
                               I ppm

                               1 ppm                                                                       OLIVE CRAY (5Y 5/2) to OLIVE (5Y 5/3) SILTY CLAY (CL): very stiff, slightly plastic, very moist,
                                                                          475'                      CL     streaks of yellowish brown silt (oxidation): abundant fine mica, thin band of calcareous/cement at        lower contact
                                                                                       150-

                              0 ppm                                                                        OLIVE GRAY (5Y 5/2) SANDY SILT (ML): very fine- lo fine-grained sond. medium dense, very moist to saturated,
                             0.5 ppm                                                                ML     abundant mice, generally laminated, slightly calcareous (0,30,70)
                                                                              1
                                                                          375

                               1 ppm                                                                       158: (0.20.80)
                                                                          3.575-       160-                159.1-159.3: Very dork gray              . _oy: very stiff, plastic,
                                                                                                           159.3-159.9: Yellowish brown     l       1/6) to brownish yeliow (10YR 6/8)    streaks in pole olive (5Y 6/3)    silty sond

                                                                                                           Core was soft and disturbed from 165-170



                              0.5 ppm
                                          PHI-167.5

                                                                                       170-
                               2 ppm

                                                                                                           174-175:     Grades to pole olive (5Y 6/3)   silty sond (SM):   fine-groined, loose, moist
                               1 ppm       PHI-174                        10-/15'
                                                                                                         OLIVE CRAY (5Y 5/2) SILTY SANDY CLAY (CL) with SAND (SP) INTERBEOS:              stiff to very stiff, very plastic, moist.
                                                              PH1-176                              CL/SP fine-groined light olive gray (5Y 6/2) sond, loose, moist
                                                         (Silt or Cloy)                                  DTW - 127.35                          '     %
                               0 ppm                                                                     178, 179, 182: Approximately 6T SAND (SP) interbeds
                                                                          575-         180-

                               0 ppm                                                                       182.8-185: variegated cloy: mottling very dark gray (5Y 3/1).       strong brown (7.5Y 5/8)    oxidation, bright greenish gray
                                          PHI-183.5                                                        (no munsell), light olive gray (5Y 6/2)
                                                                          575'
                                                                                                           OLIVE BROWN (2.5y 4/3)     CLAYEY SILT (ML):    soft, very plastic, moist to saturated, trace very fine sand, mica
                              15 ppm                                      172-                      ML
                                           PH1-1S7

                                                                                       190-
                                                                                                           SAND (SM):     fine- to coarse-grained
                                                                                                    SM
                                                                                                      _    CLAY (CH):    block, stiff, troce while sond (one Softball size piece in cuttings)
                                                                                                    sT     SAND (SP):    fine- to coorse-groined


                                         -2D(R)-197                                1
                                                                          1.5-/1.5
                                                                                       200-




                                                                                       210-

                                                          212-219                                          SAND (SP):    some silt, fine-grained, uniform, subangular, saturated, flowing sands
                                                          composite                                 SP
                                                          (SP-SM)



                                                                                                           Grades medium- to coorse-groined
                                                                                                   1
                                                                           LOG OF BORING                                                                                   Page 2 of 3                             Figure
     € N V I R ON                                                          WELL CONSTRUCTION DETAILS
     Counsel in Heolth ond Environmental Science
  5810 Shellmound Street. Suit* 700, Emeryville. California    94608
                                                                           McColl Site
                                                                           Fullerton, California Exhibit 39
                                                                                                                                                                                                                     A-1a
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Ground Surface Elevation: 265. 26' Datum: Mean Sea Level                                                                                        ^~^                                                                                             "
X Coordinate: 6038327              Y Coordinate: 2272770                                                                                                                                               /         \            /                      \

                        Well Construction Deta Is                                                                                               \V/ V
                                                                                                                                                    \ /C
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                                                                                                                                                                                                                                                     J
Blank Casing:
type:PVC                         diameter: 4.00"                             from: -2.5'                               to: 2 13. 00'
                                                                                                                                               Pilot Hole Drill Date(s):                      07/05/94 -                07/12/94
Screens:
type: Slotted   size: .010" dia: 4.00" from: 213.00' to: 223.00                                                                                Well Completion Date(s):                        10/08/94 -               10/12/94
Annular Fill:
type: Cement Bentonite Grout        from: 1.00'     to: 200.00"                                                                                Drill Method: Dual Wall Percussion/(Resonont                                       Sonic)
type: Bentonite Pellets             from: 200.00'   to: 207.jjjj,                                                                              Driller: Layne Drilling (Dean Plautz)
type: Lonestar #60                  from: 207.00'   to: 211.
type: Lonestar #2/16                from: 2 11. 00' to: 230.00'                                                                                Logged By: Alex Marr, Steve LaMascus
type: Fill                          from: 230.00'   to: 235. 00'                                                                               Reviewed By: David Harnish
                                              Chemical Test Sample



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         1
                                                                                                       240-                       DRILLING AND LOGGING NOTES:

                                                                                                                                  1.    Pilot hole PH-1 wos completed by Woter Development Corporotion using resonanl sonic (RS) drilling
                                                                                                                                       to o depth of 187 ft on 7/12/94. PH-1 was advanced through o temporary 6-5/8-inch (00) conductor
                                                                                                                                       cosing set at 65 ft. PH-1 wos backfilled with a bentonite-cement grout upon completion.

                                                                                                                                  2.    Soil samples were collected during RS drilling using a 5.0 foot long. 2.75-inch (10) diameter steel split
                                                                                                                                       core barrel. Soil sample P-2D(RJ- 197.5 wos collected during installation of well P-2D(R) using o
                                                                                                                                       California split spoon; cullings from the cyclone were inspected from 190 to 230.

                                                                                                       250-                       3.   (0,30,70) = Field estimate of sediment sizes (X gravel, % sond, % fines).

                                                                                                                                  4.   Boring log indicates subsurface conditions only ol the location ond time the boring wos drilled.

                                                                                                                                  5.   A neutron log ond gommo-roy log were token on 8/5/94 from 1 to 233 ft in P-2D.

                                                                                                                                  MONITORING WELL NOTES-
                                                                                                                                  1.    Well P-2D(R) wos constructed using dual wall percussion hammer drilling techniques. A temporary
                                                                                                                                       1 1 -inch conductor was set to 55 ft. The temporary conductor cosing wos removed following grouting
                                                                                                       260-                            the annular seal.
                                                                                                                                  2.   Depth to Woter:   P-2D(R) was 177.15 on 11/16/94.

                                                                                                                                  3.   A dedicated purging ond sampling, electric, submersible pump (2" diameter Grundfos Redi-Ho2)
                                                                                                                                        was placed in well P-20(R) to o depth of 223 ft. Pump intake wos set at 222 ft.




                                                                                                       270-




                                                                                                       280-




                                                                                                       290-




                                                                                                       300-




                                                                                                       310-




                                                                                                       320-




                                                                               LOG OF BORING                                                                                                    Page 3 of 3                            Figure
     € N V 1 RON                                                               WELL CONSTRUCTION DETAILS                                                                                                                                 A  ^
     Counsel in Health ond Environmental Scence                                McColl Ste            Exhibit 39                                                                                                                         A" 13
  £820 Sheilmound Street, Suite 700. Emeryville. California          94608     Fullerton, California   5054
                                        Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 24 of 730 Page ID #:5098
                                                                                                                      JL
Ground SurWce Elevotion:265.41 Datum: Mean Sea Level
X Coordinate: 6038321          Y Coordinate: 2272791


Blank Casing:
                       Well Construction Details                                                                   We                           P-2                                                               1
type: PVC                        diameter: 4.00"                        from:-2.5'         to: 125.00'
                                                                                                                   Pilot Hole Drill Date(s):                         07/05/94 - 07/12/94
ScrGcnsi
type: Slotted              size: .010" dia: 4.00"                       from: 125.00' to: 135.00'                  Well Completion Date(s):                          10/02/94 -               10/04/94
Annular Fill:
type: Cement Bentonite Grout                                          from: 0.00'          to: 117.00'             Drill Method: Dual Wall Percussion/(Resonont                                       Sonic)
type: Bentonite Pellets                                               from: 117.00'        to: 122.40'             Driller: Layne Drilling (Dean Plautz)
type: Lonestar #2/16                                                  from: 122.40'        to: 139.00'             Logged By: Alex Marr, Jennifer Fellbaum
                                                                                                                   Reviewed By: David Harnish
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                                              SI                                    OJ                                   Material Description
                                O             O                a.                   Q      O

                                                                                                ML
                                                                                                      DARK BROWN (10YR 3/3) SANDY SILT (ML): loose to medium dense, dry to moist, root frogments, generally colcoreous
                                                                                                      with abundant carbonate nodules (strong HCL reaction), fine- to coarse-groined (0,30.70) (FILL?)
                              0 ppm
                                                                                                      increasing sond. pocket penetromeler (p.p.) = 2.5-3.25

                                                                                                CL    VERY DARK GRAYISH BROWN (10YR 3/2) SILTY CLAY WITH SAND (CL):              plostic. medium stiff, moist lo soturaled, trace
                                                              PHI-7                                   grovel (10.25.65) (FILL?)
                              0 ppm                           (CL)
                                                                                    10-
                                                                                                CL    DARK GRAY (10YR 4/1)        SANDY CLAY (CL):   stiff, locally grades to sand, with thiophene odors, moist to wet
                             10 ppm

                                                                                                      9.9-10.2, 14-16:     thiophene odors ond discolorotion
                                          PHI-14.5
                             50 ppm                                                                   DARK BROWN (10YR 4/3) SILTY SAND WITH GRAVEL (SM): fine- to coorse-groined. medium dense to dense, moisl
                                                                                                SM
                                          PH1-18                                                      to saturated, very dark gray (5Y 3/1) associated with strong thiophene odors, coarsens downward (10,65,25)
                                         PH1-18.5D                                                    20.4-21.6:   thiophene odors ond discolorotion
                                                                                    20-
                             25 ppm                                                                   21.4-25.0:   Becomes dork groy (2.5Y N4) to olive groy (5Y 4/2).        moist to wet. strong Ihiophene odors (15,60,25)




                                                                                                      Grades medium to coarse grained with grovel
                             15 ppm
                                                                                                SC    OLIVE GRAY (5Y 4/2)    CLAYEY SAND (SC) fine-groined, soft loose, moist to saturated (0.60.40)
                                                                                    30-
                             20 ppm

                                                                                                SM    OLIVE GRAY (5Y 4/2) SILTY SAND (SM) WITH GRAVEL: fine-~to medium-groined, loose to medium dense, moist to wet,
                             30 ppm                                                                   rounded quorlzite grovel, sporadic very dark gray discoloration with thiophene odor (25.60,15)

                             20 ppm       PH 1-37.5
                                                           PH1-38
                                                         (SM or SC)       4.575-    40-
                                                                                                      40.0-40.5: dork gray (2.5Y N4) sandy clay (CH):          organic, wood fragments, soft, plastic, moist lo saturated
                                                                                                      (possibly slough), strong thiophene odor
                             20 ppm
                                                                                                      44.6-45.2:   Colcoreous with light gray (5Y 7/1) carbonote nodules

                              10 ppm       PHI-47
                                                                                               CL/CH OLIVE BROWN (2.5Y 4/3) SILTY CLAY WITH SAND (CL/CH): very stiff, low to high plasticity, moist, very fine sond to silt.
                                                                                    50-              generally calcareous, mild to strong HCI reactions, localized white (5Y 8/2) calcareous layers and frogments,
                                                                                                     occasional gravelly beds (5,15,80)
                              15 ppm                          PHI-52
                                                              (CH)                                    53.9 - 54.5: Pole yellow (5Y 7/3) calcareous silt (ML):         soft, loose, moist, strong HCI reaction, increasing
                              3 ppm                                                                   sill and streaks/laminae of colcoreous silt (0,10.90)

                               1 ppm
                                           PH1-58
                                                                                    60-
                                                                                                      Foinl thiophene odor
                                           PHI-63.1
                                                                                                      64.0-64.7:   Pole yellow (5Y 7/3) calcareous silt with minor grovel, loose, moist

                               1 ppm

                                                                                     70-        SM    OLIVE (5Y 5/3) SILTY SAND (SM): very fine- to medium-groined, loose, moist, sond composed of mainly quartz,
                               2 ppm                                                                  weathered feldspars, trace muscovite-mica, rare sulphides (pyrite): granitic composition, groins are subongular to
                                                                                                      subrounded (0,85-90,10-15)

                               2 ppm
                               0 ppm
                               1 ppm

                                                                                                 ML   OLIVE BROWN (2.5Y 4/3) SANDY SILT (ML): loose to medium dense, moist, fine- to medium-groined,
                                                                                     80-              subongular, quortzose, slightly oxidized (0.35.65) (note: core disturbed)

                               2 ppm


                                                                                                 SM    OLIVE BROWN SILTY SAND (2.5Y 4/4) (SM):         very fine-grained, medium dense to dense, moisl
                               0 ppm        PH1-87

                                                                                     90-



                                                                          4.8-/51

                                                                                                 CL   BROWN (10YR 5/3) SILTY CLAY (CL): very stiff, moisl, some fine- to coorse-groined sond, troce calcareous
                                                                                                      closts (caliche?) ond gravel-sized closts (2-5,5-8.87-93)
                                                                                                      92.5-95.0: Grades lo olive sond (5Y 5/3) (as seen ot 69.1 ft bgs): very fine-grained, loose, (easily crushed),
                                                                          475-      100-
                                                                                                      96-103:' Contains inlerbeds of very fine silty sond. loose, moisl, medium dense (0,60,40)
                               1 ppm                          PH1-102
                                           PH1-103             (CL)

                               1 ppm                                                                   105-108:    Troce grovel
                               1 ppm



                                                                           LOG OF BORING                                                                              Page 1 of 2                             Figure
     € N V I R ON                                                          WELL CONSTRUCTION DETAILS
     Counsel in Heolth ond Environment! Science
  5820 Sheilmound Street. Suite 700. Emeryville. Colifornio    94608
                                                                           McColl Site
                                                                            Fullerton, California
                                                                                                               Exhibit 39                                                                                        A-1b
                                                                                                                 5055
                                        Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 25 of 730 Page ID #:5099

Ground Surface Elevation:265.41 Datum: Mean Sea Level
X Coordinate: 6038321           Y Coordinate: 2272791


Blank Casing:
                       Well Construction Details                                                                    We                         P-2                                      (PH-1
type: PVC                        diameter: 4.00"                        from:-2.5'        to: 125.00'
                                                                                                                   Pilot Hole Drill Date(s):                      07/05/94 - 07/12/94
Screens:
type: Slotted             size: .010" dia: 4.00" from: 125.00'to: 135.00'                                          Well Completion Date(s):                        10/02/94 -               10/04/94
Annular Fill:
type: Cement Bentonite Grout                                         from: 0.00'          to: 117.00'              Drill Method: Dual Wall Percussion/(Resonant Sonic)
type: Bentonite Pellets                                              from: 117.00'        to: 122.40'              Driller: Layne Drilling (Dean Plautz)
type: Lonestar $2/16                                                 from: 122.40'        to: 139.00'              Logged By: Alex Marr, Jennifer Fellbaum
                                                                                                                   Reviewed By: David Harnish
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                                                E                          CE:
                                                OJ
                                               SI               s:                                                       Material Description
                                o              o                CL
                             U ppm
                                                                         474-                 M/SW OLIVE (5Y 5/3)    to LIGHT OLIVE BROWN (2.5Y 5/3) SILTY SAND (SM/SW): fine- to coorse-groined, loose, moist, moinly
                                                                                                           ond feldspars, troce mica, subrounded grovel (less than or equal to 1"), grovel has granitic to monzonitic
                                                                                                     composition (15770.15)"
                             1 ppm
                                                                         4-/4-
                                          PHI-116.5                                                  OLIVE GRAY (5Y 5/2) SILTY CLAY (CL): very stiff, medium plasticity, moist, with fine-groined sond, obundont
                             3 ppm                                                                   irregular calcareous silt fragments ot base of unit (2,10,88)
                                                                                                      118-119.5: Yellowish brown (10YR 5/4) sand (SM): fine-grained, medium dense, very moisl, disseminated light olive
                                                                                                     gray (5Y 6/2) colcoreous silt frogments, oxidized oppeoronce (0.75,25)

                                                                         3.7-/61                     122:    Depth lo Woter (DTW) - Dry
                                                                                                     122:    Color becomes grayish brown (2.5Y 5/2) with clayey sond beds, mild thiophene odor (0,30.70)
                             25 ppm
                             30 ppm
                                                                         4'/4-
                                                                                              M/ML   LIGHT OLIVE BROWN (2.5Y 5/6) to YELLOWISH BROWN (10YR 5/4) MOTTLED SILTY SAND to SANDY SILT (SM/ML): some
                             80 ppm       PHI-128.5                                                  cloy, high dry strength, very fine-grained, dense to medium dense, moist, moderate thiophene odors, rusty
                                                                         474-      130-              (0.60,40)
                                                                                                     130.5-132: Yellowish brown (10YR 5/6) sand: fine-groined, loose to medium dense, saturated, no thiophene odor, rusty
                             3 ppm

                             18 ppm                                                                  133:     faint thiophene odor
                             35 ppm                                      575-
                                                                                              CL     OLIVE GRAY (5Y 5/2) SANDY CLAY (CL): very stiff, plastic, moist, rare colcoreous frogments, locally micaceous,
                                                                                                     slight increase in sond downward, mild thiophene odors (0,15.85)
                             7 ppm
                                           PH1-I39                       3.7-/51

                                                                                                     DRILLING AND LOGGING NOTES:
                                                                                                     1.    Pilot hole PH-1 wos completed by Water Development Corporation using resonant sonic (RS) drilling
                                                                                                          to a depth of 187 fl on 7/12/94. PH-1 wos advanced through o temporary 6-5/8-inch (OD) conductor
                                                                                                          cosing set ol 65 ft. PH-1 wos backfilled with o bentonite-cement grout upon completion.

                                                                                                     2.    Soil samples were collected during RS drilling using o 5.0 foot long, 2.75-inch (ID) diameter steel split
                                                                                   150-                   core barrel.
                                                                                                     3.     (0,30.70) = Field estimate of sediment sizes (X grovel. % sond, % fines).

                                                                                                     4.     Boring log indicates subsurface conditions only at the location and lime the boring was drilled.


                                                                                                     MONITORING WELL NOTES:
                                                                                                     1. Well P-2I wos constructed using dual-wall percussion hammer drilling methods. A temporary 11-inch
                                                                                   160-
                                                                                                        conductor wos set during construction to 65 ft. The temporary conductor cosing wos removed following
                                                                                                        grouting the annular seal.
                                                                                                     2.     Depth lo Woter:   P-21 was 109.63 on 11/16/94.
                                                                                                     3.     A dedicated purging ond sampling, electric, submersible pump (2" diameter Grundfos Redi-Flo2)
                                                                                                             was placed in well P-21 to o depth of 135 fl. Pump intake wos set ot 134 ft.



                                                                                   170-




                                                                                   180-




                                                                                   190-




                                                                                   200-




                                                                                   210-




                                                                           LOG OF BORING                                                                            Page 2 of 2                            Figure
     € NV I RON                                                            WELL CONSTRUCTION DETAILS
     Counsel in Health and Environmental Science
  5820 Shellmaund Street. Suite 700,   Emeryville. California   94608
                                                                           McColl Site
                                                                           Fullerton, California
                                                                                                 Exhibit 39
                                                                                                   5056
                                                                                                                                                                                                               A-1b
                                         Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 26 of 730 Page ID #:5100

Ground Surface Elevation:265.67' Datum: Mean Sea Level
X Coordinate: 6038309            Y Coordinate: 2272784                                                                                            , , ,                         _                _      _             / _                           A     \
                                                                                                                                                  \/W /o                        M               / V
                        Well Construction Deta Is                                                                                                 VV6                           r               Zo                   ^ rM n                             \J
Blank Casing:
type:PVC                          diameter: 4.00"                               from: -2. 5'                             to: 20.00'
                                                                                                                                                  Pilot Hole Drill Date(s):                        07/05/94 - 07/12/94
Screens:
type: Slotted              size: .010" dia:4.00" from: 20.00' to: 25.0 °'                                                                         Well Completion Date(s):                         09/22/94 - 09/23/94
Annular Fill:
type: Concrete                                                                from: 0.00'                                to:   2.00 •             Drill Method: Hollow Stem Auger/(Resonont Sonic)
type: Cement Bentonite Grout                                                  from: 2.00'                                to:   1 4.00'            Driller: Water Development Co (Dave Will!)
type: Bentonite Chips                                                         from: 14.00'                               to:   18.0 u,            Logged By: Alex Marr, Jennifer Fellbaum
type: Lonestar #2/16                                                          from: 18.00'                               to:   27.3
                                                                                                                                                  Reviewed By: David Harnish
                                               Chemical Test Sample




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                                                                                                                                ML
                                                                                                                                     DARK BROWN (10YR 3/3) SANDY SILT (ML): loose to medium dense, dry to moist, root fragments, generally colcareous
                                                                                                                                     with abundant carbonote nodules (strong HCL reaction), fine- to coarse-grained (0,30,70) (FILL?)
                              0 ppm
                                                                                  275-                                               increasing sond, pocket penetrometer (p.p.) = 2.5-3.25
                                                                                                                                CL   VERY DARK GRAYISH BROWN (IOYR 3/2) SILTY CLAY WITH SAND (CL):             plastic, medium stiff, moisl lo saturated, troce
                                                                      PH1-7                                                          grovel (10.25.65) (FILL?)
                              0 ppm                                   (CL)
                                                                                  4.275'                    10 4                CL   DARK GRAY (10YR 4/1) SANDY CLAY (CL):          stiff, locally grades to sond. with thiophene odors, moist to wet
                              10 ppm




      ','                                                                                                                i
                                                                                                                                     9.9-10.2, 14-16:       thiophene odors ond discoloration
                                           PH1-14.5                               1.675'
                              50 ppm                                                                                            SM   DARK BROWN (10YR 4/3) SILTY SAND WITH GRAVEL (SM): fine- to coorse-groined, medium dense lo dense, moist
                                                                                                                                     lo saturated, very dork gray (5Y 3/1) associated with strong thiophene odors, coarsens downward (10,65.25)
                                           PH1-18
                                          PH1- 18.50                              4.2'/5'                                            20.4-21.6:   thiophene odors ond discolorotion
                                                                                                            20 H
                              25 ppm                                                                                                 21.4-25.0:   Becomes dork groy (2.5Y N4) to olive groy (5Y 4/2),       moist to wet. strong thiophene odors (15,60,25 )


                                                                                  475'
                                                                                                                                     Grades medium to coarse groined with grovel
                              15 ppm

                                                                                                            30-]                     DRILLING AND LOGGING NOTES:
                                                                                                                                     1.   Pilot hole PH-1 wos completed by Woter Development Corporotion using resonant sonic (RS) drilling
                                                                                                                                           to a depth of 187 ft on 7/12/94. PH-1 wos advanced through o temporary 6-5/8-mch (OD) conductor
                                                                                                                                           cosing set at 65 ft. PH-1 was backfilled with o bentonite-cement grout upon completion.
                                                                                                                                     2.   Soil samples were collected during RS drilling using o 5.0 foot long. 2.75-inch (ID) diomter
                                                                                                                                           steel split core barrel.
                                                                                                                                     3.   (0.30,70) = Field estimate of sediment sizes (% grovel, % sond, % fines).
                                                                                                            40-
                                                                                                                                     4.   Boring log indicates subsurface conditions only at the location and time the boring wos drilled.


                                                                                                                                     MONITORING WELL NOTES
                                                                                                                                     1.   Well P-2S wos constructed using hollow stem auger drilling techniques.
                                                                                                                                     2.   Depth to Water:     P-2S wos dry on 11/2/94.


                                                                                                             50-




                                                                                                             60-




                                                                                                             70-




                                                                                                             80-




                                                                                                              90-




                                                                                                            100-




                                                                                    LOG OF BORING                                                                                                    Page 1 of 1                            Figure
     € N V 1 R ON                                                                   WELL CONSTRUCTION DETAILS                                                                                                                                A -1r*
     Counsel in Health ond Environmental Science                                    McColl Site           Exhibit 39                                                                                                                        r\~ IU
  5820 ShellmourK) Street, Suite 700, Emeryville. California           94608        Fullerton, California   5057
                                      Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 27 of 730 Page ID #:5101
Ground Su               e Elevation: 284.20'                                      Datum: Mean Sea Level                                                       i ,                                                                                          v
                                                                                                                                                            ^tuX I       \                        f —\                                                         •/
X Coordinate: 603861 7                                                            Y Coordinate: 2272708                                                             |    )                        '      )
                                                                                                                                                                    1                             Z^

                      Well Construction Deta Is
                                      No Well Constructed                                                                                                         Pilot Hole Drill Date(s):                         07/13/94 -               08/15/94


                                                                                                                                                                   Well Completion Date(s):                         NA

                                                                                                                                                                   Drilling Method: Resonant Sonic/Mud Rotary
                                                                                                                                                                   Driller: Water Development Co (Michael Wilkerson)
                                                                                                                                                                   Logged By: Rachel Martinez, Steve LaMascus
                                                                                                                                                                   Reviewed By: David Harnish
                                           Chemical Test Sample




                                                                            OJ



                                                                                      Ft. Recovered/Driven
      Well                                                                  Q.
                                                                            E
 Construction                                                               o
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                                                                            >^                                    Q-  c       c                                    Material Description
                              $                                            -C                                     OJ 0        C          '5
                              O                                           a_                                     Q CO         0           CO
                                                                                                                                          SM   DARK OLIVE BROWN (10YR 3/3) SILTY SAND (SM): fine- to coarse-groined, dry lo moist, loose to medium stiff,
                            0 ppm                                                                                                              root frogments (1.69.30)

                                                                                   3.575-
                                                                                                                                    / CL       VERY DARK GRAYISH BROWN (10YR 3/2) SANDY CLAY (CL):             hard, dry. plastic
                                                                      PH2-6
                                                                          (CL)
                                                                                                                                    /
                                                                                   3.275-                                           /
                            0 ppm
                                                                                                                  "l£
                                                                                                                   ^^H* T /
                                                                                                             1                            SM   DARK GRAYISH BROWN (10YR 4/2) SILTY SAND WITH CLAY (SM):             fine- to medium-groined, dry, medium stiff to stiff
                                                                                   3.5-/5                                                      (0,60.40)
                                                                                                                                               16: color becomes dork olive brown
                                                                                                                                               17.5-18: increases in silt
                            0 ppm
                                                                                                                                               19.5:    color becomes light olive brown with troce of grovel
                                                                                   3.8'/5'                       20 -Q
                            2 ppm

                                                                                   3.8'/5'                                                     25-27: color becomes reddish brown
                            5 ppm


                                                                                   3.975-                        30 -Q1                        31.5:    localized iron oxide staining with some gravel
                            1 ppm
-
                                        PH2-34                                     3.9'/5'                            S                        35-36: loose
                                                                                                                                               36.5: localized iron oxide staining with colcareous inclusions
                                                                                                                                               37.5-38: silt decreases
                           10 ppm
                                                                     PH2-37.5

                                                                                   3.2'/5'                       40 S^
                                                                                                                        ~^^H* »           SW   LIGHT OLIVE BROWN (2.5Y 5/3) SAND (SW): fine- lo coorse-groined, dry. subrounded. with subrounded grovel (5.85.10)
                            2 ppm


                                                                                   3.7751
                                                                                                                        m.          >J
                                                                                                                                               45: strong thiophene odor
                            45 ppm                                                                                                        SM   BROWNISH YELLOW (10YR 6/6) SILTY SAND (SM):            fine- to coorse-groined. dry. troce of cloy
                                                                                                                                    4.
                                       PH2-48.5                                                                                           SP   BROWNISH YELLOW (10YR 6/6) SAND (SP):          very fine-grained, dry, loose to medium dense (0,90.10)
                                                                                   3.5-/51
                                                                                                                 50-]^
                            5 ppm                                                                                                              52: with some silt
                                                                                                                                               54:     becomes fine- to medium-groined
                                                                                    4-/5-
                            2 ppm


                                                                                    4.4-/51
                                                                                                                        1
                                                                                                                        in
                                                                                                                  60 -Q

                             1 ppm                                                                                                        SMDARK GRAYISH BROWN (10YR 3/2) SILTY SAND (SM): medium-groined, wet, troce of grovel (10.55.35)
                                                                                                                                            63: thiophene odor
                                                                                    3'/5'
                                                                                                                                     "liir  BROWNISH YELLOW (10YR 6/6) SILTY SAND (SM): fine- to medium-grained, wet, hard, subrounded (3,75.22)
                            25 ppm
                             1 ppm
                                        PH2-67.5                                                                        1;                  66.5-67.5: becomes saturated, thiophene odor
                                                                                                                                    ' ML/CL BROWNISH YELLOW (10YR 6/6) SILT (ML) with cloy: wet. grades to


                            15 ppm
                                                                                    3.375-                        »J                >x.

                                                                                                                                        ML
                                                                                                                                            VERY DARK GRAY (10YR 3/1) CLAY (CL): moist, stiff, medium plastic, lominoted
                                                                                                                                            PALE BROWN (10YR 6/3) SANDY SILT (ML): fine- to medium-groined, dry to moisl. medium dense, some cloy (0,40,60)



                                                                                    3-/5-                                                       75-77: interbeds of fine, light groy sond (SP)
                            5 ppm                                                                                       I
                                                                                                                        X                 CL    GRAY TO VERY DARK GRAY (10YR 5/1 to 3/1) SILTY CLAY (CL): some sand, moist, medium stiff, firm
                             1 ppm                                                                                                              77: soluroted groy sand lense fSP) with mild thiophene odor
                                                                                    575'                          80-«/                         76.5-83.5: occasional thin sand (SP) interbeds
                                                                                                                         /                      80.5: faint thiophene odor in wet gray sand (SP) at top of core run (slough?)
                                                                                                                                                82: 6" -thick wet, groy sond (SP) lense
                             8 ppm                                                                                       /
                                                                                    575-                                 /
                             4 ppm
                                                                     PH2-86.5                                            /
                                                                          (CL)
                                                                                                                         /
                                                                                    575-                          90 -M/
                             0 ppm
                                                                                                                         /
                                                                                                                                         SM/SP BROWNISH YELLOW (10YR 6/6) SILTY SAND TO SAND (SM/SP): fine- to medium-groined with trace of coarse, dry. hard,
                             0 ppm                                                                                                             angular to subongulor, periodic carbonate-cemented beds ond clay lenses (1.70,29)
                                                                                    S-/5-                                                      92-93: moist, mild thioohene odor
                           100 ppm                                                                                                             96-98: becomes olive (5Y 5/4)
                                                                                                                                                98-98.5: becomes dark olive gray (5Y 3/2) cloy (CL), moist, medium stiff with some fine- to medium-grained sond
                            20 ppm
                                                                                    4'/5-                        100 -H/                  CL    DARK OLIVE GRAY (5Y 3/2) CLAY (CL): moist, medium stiff, with some fine- to medium-groned sond
                           100 ppm                                                                                                  /           101.5-102: 6-inch bed of fine silly sond (SM), strong thiophene odor
                                        PH2-102
                                       PH2-102.5D                                                                                   /
                                                                                    2.7'/5'
                                                                                                                                    /
                            40 ppm
                            30 ppm
                                                                                    41'/"V                              I/          /
                                                                                                                                                109:    foint thiophene odor


    € N V 1 R ON                                                                     LOG OF BORING                                                                                                                  Page 1 of 4                         Figure

    Counsel in Health ond Environmental Science                                      McColl Site                                                          Exhibit 39                                                                                         l\~ C.
     MM Sbtnmound StrMU SwU 700, EnMiynIM, Cotfwno                tttOt              Fullerton, California                                                  5058
                                    Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 28 of 730 Page ID #:5102
Ground Su.' 'e Elevation: 284.20"                                          Datum: Mean Sea Level                                                    »ij^^^- i ^                              ..—i                                                       \    X
X Coordinate: 60386 17                                                     Y Coordinate: 2272708                                                      ^ _j                                  > )
                                                                                                                                                                                           /_


                    Well Construction Details
                                    No Well Constructed                                                                                                      Pilot Hole Drill Date(s):                       07/13/94 -                  08/15/94

                                                                                                                                                              Well Completion Date(s):                       NA

                                                                                                                                                             Drilling Method: Resonant Sonic/Mud Rotary
                                                                                                                                                             Driller: Water Development Co (Michael Wilkerson)
                                                                                                                                                             Logged By: Rachel Martinez, Steve LaMascus
                                                                                                                                                             Reviewed By: David Harnish
                                          Chemical Test Sample



                                                                     OJ



                                                                                Ft. Recovered/Driven
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                                                                    'OT                                    *; c Q                ^
                             £
                                                                     >N
                                                                    _c                                      CL t o
                                                                                                           OJ      0    v.       '5                          Material Description
                             O                                      a.                                     Q      CO    O        CO

                                                                                                                                 SM     DARK YELLOWISH BROWN (10YR 4/4) SILTY SAND (SM): fine- to very fine-grained, moist, dense, poorly graded,
                          50 ppm                                                                                                        some mica (0, 70. 30)
                                      PH2-112                                                                                           110-125: moderate thiophene odor
                           7 ppm                                                                                                        112: thin, block orgonid?) lense                   •
                                                                              4.875'                                                    111: (0.70.30)
                                                                                                                                        114-116.5: becomes brown (10YR 5/3) fine- to coorse-groined, well graded
                                                                                                                                        116.5-118: dark yellowish brown sandy silt (ML): very fine-grained, well graded
                         200 ppm
                          22 ppm                                                                                                        118-124:     strong thiophene odor
                                                                              575-                         120 -•.11
                           50 ppm                                                                                                ML     DARK YELLOWISH BROWN SANDY SILT (ML): sond is fine-groined (0.20,80)
                                                                                                                         ^-CL_ DARK BROWN CLAY (CL) with silt, calcareous
                                                                                                                            ML DARK YELLOWISH BROWN SANDY SILT (ML): very fine-groined, moist (0,20.80)
                                                                              4.775-
                                                                                                                                        126: (0.25.75)
                          00 ppm                                              272-                                                      Note: 1.5' recovered on first core run from 127-135. Drilling wos very rapid and driller believes he is in soft
                          30 ppm
                           10 ppm
                                                                                                           130 -•
                                                                                                                 1                      material. Cored 127-135 ft. again and recovered 5.5 ft.
                                                                                                                                        128: (0.45.55)


                                                                                                                                 SM     DARK YELLOWISH BROWN SILTY SAND (SM): very fine- to fine-groined, dry (baked during coring?)

                                                                              5.5'/8'                                                   135:    (0.75,25)
                         200 ppm
                                     PH2- 136.5                               272-
                                     PH2-137D                                                                                    ML     DARK YELLOWISH BROWN SANDY SILT (ML): fine-grained sond, moisl
                                                                                                                                        Note: Togged water ot 110'. 4.5" casing ol 137), the depth of the boring. Bailed out

                                                                              2.9'/5'
                                                                                                           140
                                                                                                                i"T/l
                                                                                                                                 CH
                                                                                                                                        woter prior to sealing off the interval with the 4.5" cosing and continuing. Water hod o slight thiophene odor.

                                                                                                                                        DARK YELLOWISH BROWN (10YR 3/6) CLAY WITH SAND (CH):             moisl, hard, medium stiff to stiff (0,20,80)
       —       —                                                                                                         /
                                                                              373-
                                                                                                                         /


                          15 ppm
                                                                              375-                         150 -juy/                    150-151: slight Ihophene odor

                                                                                                                         /              152-153:     very fine-groined, gray silty sond (SP/SM), carbonote cemented lense ot 153"
                           4 ppm



                           5 ppm
                           4 ppm
                                                                 PH2- 159.5
                                                                   (CH)
                                                                              375-




                                                                              5.2-/7                   1
                                                                                                                 \
                                                                                                           160-W./
                                                                                                                         /

                                                                                                                         /

                                                                                                                         /

                                                                                                                         /
                                                                                                                                        158-158.75:


                                                                                                                                        162-162.5:
                                                                                                                                                        very fine-groined groy silty sand (SM)


                                                                                                                                                       increase in sond




                                                                                                                 1
                                                                                                                         /
                                                                                                                                 SM     YELLOWISH BROWN (10YR 5/8) TO LIGHT OLIVE BROWN (2.5YR 5/6) SILTY SAND (SM):                 very fine- to medium-grained,
                                                                                                                                        no odor, loose, dry to moisl. contains silt ond cloy interbeds (0.85.15)
                                                                              4.2'/6'                                                   165-166.5: poorly graded
                                                                                                                                        168-168.5: moist to wet. silt lense
                                                                                                           170 -•                       DTW = Dry after 4.5" diameter cosing set lo 168 ft. overnight
                           20 ppm                                                                                                       171.5-172: increase in silt

                                                                              4.575'

                                                                                                                                        176:    grades with sandy cloy
                                                                  PH2-176
                            1 ppm                                   (CL)      4.7'/5'

                            1 ppm                                                                          180 -•

                           50 ppm                                             575-                                                       183:   color becomes block (2.5YR N2). dense, very fine- to medium-grained, micaceous
                                                                                                                                         186.5-187: brown cloy lense, no odor, soft, laminated
                                                                              373'



                                       PH2-190                                                             190 -W-l- /           ~cT~   BLACK (2.5YR N2) CLAY (CL):        moist, hard, very stiff, no odor, high plasticity (0.15,85)
                                                                              6'/6'
                                                                                                                                BLACK (2.5YR N2) SILTY SAND (SM): moist, dense to soft, very fine- lo fine-groined, no odor

                            2 ppm
                                                                  PH2-194
                                                                    (CL)
                                                                                                                 I &            (0,15.85)
                                                                                                                                VERY DARK GRAY (5Y 3/1) CLAY (CL): moist to wet, medium dry strength, high plasticity,
                                                                                                                                no dilatancy, medium to high toughness, trace fine sand
                                                                              6'/6'


                                                                              4.8'/5'
                                                                                                                 m,       1 SM VERY DARK GRAY (5Y 3/1) SILTY SAND (SM): saturated, fine to medium, poorly graded,
                                                                                                                                subangular (0.80.20)
                                                                                                                         ^CL/Pf BLACK (7.5Y N2) CLAY TO PEAT (CL/PT): moist, high dry strength, high plasticity,
                                                                                                                                medium lo hgh toughness, no dilatoncy
                                                                                                                                200.0-201.8: hghly organic, wood frogments. peat

                                                                                                                 m
                                                                                                                         .>"*.

                                                                                                                          T SM DARK GRAY (7.5Y N4) SILTY SAND (SM): moist, fine to medium, subongulor, poorly graded (0.70.30)
                           10 ppm
                                      PH2-205.5                               4-/41                                                     205.5-206.3:        becomes olive, well graded, saturated, fine lo coarse, moderate thiophene odor (0.85,15)
                                                                              0.3-/0.5'
                           30 ppm
                                                                                                                             1    ML    OLIVE (5Y 4/3) SILT with SAND (ML): moist, moderate dry strength, slow dilotoncy, medium toughness
                                                                              3-/31                        m
                                                                                                             ~mi~/       '         CL
                                                                                                                                    VERY DARK GRAY (2.5Y 3/1) CLAY with SAND (CL):              moist, medium lo high dry strength, low dilotoncy,
                                                                                                                                         medium toughness, medium lo high plasticity, fine sand, subongulor, abundant fine wood,
                                                                                                                         /
                            2 ppm                                                                                                        pectinoid shell fragments, silty sond lenses, black organic specks (0.20.80)
                                                                                                                         /              214.5-217.3: becomes dork groy (2.5YR 4/1) silty sand (SM), wet, fine, subongular, poorly graded,
                                                                               5'/5'
                            5 ppm                                                                                                       abundant mica (0,60,40)
                                                                                                                         /

                                                                                                                         /
                                                                               v/v
                                                                                LOG OF BORING                                                                                                                Page 2 of 4                          Figure
   € N V 1 RON                                                                                                                                                                                                                                              A-P
   Counsel in Health ond Environmental Scence                                   McColl Site                                                        Exhibit 39                                                                                               *»^
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                        Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 29 of 730 Page ID #:5103
Ground Su'      -e Elevation: 284.20' Datum: Mean Sea Level   ^^                                                                                                                                                                         ^ y
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X Coordinate: 603861 7                Y Coordinate: 2272708       | )             ' )
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                      Well Construction Deta                                                                S

                                        No Well Constructed                                                                                  Pilot Hole Drill Date(s):                            07/13/94 - 08/15/94

                                                                                                                                              Well Completion Date(s):                            NA

                                                                                                                                             Drilling Method: Resonant Sonic/Mud Rotary
                                                                                                                                             Driller: Water Development Co (Michael Wilkerson)
                                                                                                                                             Logged By: Rachel Martinez, Steve LaMascus
                                                                                                                                             Reviewed By: David Harnish
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                                                                                                                           219.5-221.0:    gray (2.5Y 5/1)   silt lense
                                                                                                                 /
                                                                                                                           223.0-229.7:    abundant bivalve shells
                                                                      6-/61                                      /
                                                                                                                 /
                                                                                                                           227.0-227.1:    block organic material
                                                                                                                 /
                                                                                                                           229.7: becomes dark groy (2.5Y 4/1), lean, with fine subongulor sand (0,10,90)
                                                                      6-/61                     230-
                                                                                                                 /         229.7-233.1: becomes sandy lean cloy, fine sond ond shell frogments (0,40,60)
                             2 ppm
                             0 ppm
                                                                      272-
                                                                                                                      SM   GRAY (5Y 5/1) SILTY SAND (SM): saturated, line, subongular, poorly graded, fines hove
                                                                      1.571.5-                                             medium to low plasticity, low dry strength
                                                                                                                           234.5-245.0:    no recovery, cuttings from mud indicate fine to medium silty sand


                                                                      075.5-                    240-




                                                                      075'
                                                                      o.r/i;                                               246.0-246.8:    becomes very dark gray (2.5Y 3/1)         clayey sand (SC) (0,60.40)

                                                                                                                 /ir~      OLIVE GRAY (5Y 4/2) CLAY WITH SAND (CL): moist, medium to high plasticity, medium lo high dry strength.
                                                                                                                           sand is fine, subangular. with mica, some silt lenses (0.20.80)
                             8 ppm
                                                                                                                 /         249.4-249.5: silt lense
                                                                                                                           251.3-251.5: silt lense
                             0 ppm
                                                                      s-./s-                                               252.0-252.5: silt lense. micaceous
                                                                                                                    ~ ML   DARK OLIVE GRAY (5Y 3/2) SANDY SILT (ML): moisl. low ploslicity. medium dry strength, low toughness,
                                                                                                                           with very fine sond and some cloy layers, some iron oxide staining (0,40,60)


                                                                      575-                             •
                                                                                                                 / CL      OLIVE CRAY (5Y 4/2) CLAY (CL):       moist to wet. ploslic. high dry strength, increosing silt with depth (0,65,35)

                             3 ppm                                                              260-                  ML   OLIVE GRAY (5Y 4/3) SILT (ML):       moist, laminated, low dry strength

                                                                                                       •
                                                                      4.4'/6'
                                                                                                                 / ML/CL VERY DARK GRAY (5Y 3/1) SANDY SILT (ML) to CLAY (CL): highly interbedded. silt lovers hove medium
                                                                                                                         to low dry strength, low toughness, with very fine sand, cloy layers hove medium to nigh plasticity (0,20,80)
                                                                                                                         264.0-268.0: black organic material
                             0 ppm
                                                                      5.6'/6'                   270-
                              1 ppm



                                                                      2.4-/51
                                                                                                                      SM   DARK GRAY TO GRAY (2.5Y 4/1 -5Y 6/1) SILTY SAND (SM): wet, fine to medium, subongulor to angular, poorly graded,
                             0 ppm                                                                                         abundant shell fragments, some wood frogments. micaceous (0,70,30)
                                                                                                                           276.5-277.6: very fine, poorly graded (0.60.40)

                                                                      2.6751                    280-
                                                                                                                           280.0-288.6:    becomes groy (5Y 6/1).         fine to coarse, saturated (0.75,25)
                              0 ppm

                                                                      375-



                                                                      3.6'/5'                   290-
                                                                                                                           290.0-294.7:    fine, poorly graded, coarsening with depth (0,80.20)

                              2 ppm
                                                                      4.7'/5'
                                                                                                                            295.0-312.7:   groy (5Y 5/1).    fine to coorse with trace fine grovel, troce cloy, graded, saturated



                                                                                                300-
                                                                      2.3-/61




                                                                       1.3-/6'


                                                                       1.4-/4-
                              1 ppm
                                                                      2'/2'
                                                                                                                            312.7-319.5: becomes gravelly, fine with trace medium, subrounded, occasional 2" layer of medium sand,
                                                                                                                            portly cemented, hard (5.80.15)


                                                                      2.175-
                              0 ppm
                                                                       1.5-/2-                  320-
                                                                                                                            320.0-321.0:    trace fine grovel

                                                                       1.1-/3'

                                                                       1.9-/31
                              0 ppm                                    272-
                                                                       V IY
                                                                        LOG OF BORING                                                                                                             Page 3 of 4                        Figure
   € N V 1 R ON
   Counsel in Health ond Environmental Science                          McColl Site                                                 Exhibit 39
                                                                                                                                      5060
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                                              Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 30 of 730 Page ID #:5104

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                                                                                                              Exhibit 39
                                                                                                                5061
                    Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 31 of 730 Page ID #:5105
Ground          Elevation:283.84' Datum: Mean Sea Level
X Coordinate: 6038789             Y Coordinate: 2272689
                                                                                                                        e                        P-4
                   Well Construction Details
Blank Casing:
type: PVC                    diameter: 4.00in from: 0.4"                          to: 115.50'                  Pilot Hole Drill Date(s):                        06/21/94 - 07/01/94
Screens:
type: Slotted size: .010" dia: 4.00" from: 115.50'                                to: 125.50'                  Well Completion Date(s):                         09/26/94
Annular Fill:
type: Concrete                      from: 0.00'                                   to: 1.00'                    Drilling Method: Resonant Sonic, Hollow Stem Auger
type: Bentonite Pellets             from: 1.001                                   to: 6.00'                    Driller: Water Development Co (Michael Wilkerson, Gigi Marie)
type: Cement Bentonite Grout        from: 6.00'                                   to: 108.50'
type: Bentonite Pellets             from: 108.50'                                 to: 113.00'                  Logged By: Alex Marr, Jennifer Fellbaum, Steve LaMascus
type: Lonestar #2/16                from: 113.00*                                 to: 126.50'                  Reviewed By: David Harnish

     Well                              CL
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    Elev. 283.34
                         I            O               CL                      O

                                                                                   ML     LIGHT OLIVE BROWN (2.5Y 5/3) SANDY SILT (ML): very fine-groined, dry. occasional coarse-grained sand groins,
                                                                                          abundant root voids, irregularly laminated




                      0 ppm                                                        ML     DARK BROWN SANDY SILT (ML): medium- lo coarse-grained sond (guortz. feldspar) in dork brown silt motrix, hard,
                                                                                          slightly plastic, dry to slightly moist
                                                                                          10.5 - 11: very dork groy (2.5Y N3) cloy stringers
                     550 ppm
                                   PH3-11
                                                                                          12:
                                                                                           £..   Becomes pole yellow (2.5Y 7/4). fine- lo coarse-groined, hard, subrounded sand, occasional small
                                                                                                 UCUUIIIC3 I

                                                                                          grovel (<8mm)
                                                                                                     n)
                                                             3.6'/5'                      13.5-16.5: sporadic,    very thin (<1-2mm) cloy stringers




                                                                       20-
                                                                                          22.2-22.7:    grades with increased subrounded to rounded pebbles



                                                                                  SM/ML OLIVE YELLOW (2.5Y 6/6) SILTY SAND to SANDY SILT (SM/ML): very fine-groined, loose to medium dense, quorlzose,
                                                                                        dry to slightly moist
                                                                                        25-25.2: light yellowish brown (2.5Y 6/4) very dense, occasional
                                                 PH3-28.0                               fine- to medium-groined sand groins
                                                      (ML)
                                                                       30-
                                                                                   P/SM   PALE YELLOW (2.5Y 7/3) SAND to SILTY SAND (SP/SM): medium- to coarse-grained, locally gravelly, trace sill,
                                                  PH3-32                                  dry to moist, loose to medium-dense, moderately indurated in places (5,80.15J
                                                (SM or SC)
                                                             3.5'/5'                      32.5-33.5: light yellowish brown (2.5Y 6/4) to light olive brown (2.5Y 5/4) cloyey silly sond (SC/SM). fine
                                                                                          to coarse sand with clayey silt

                                                 PH3-37.5
                                                      (SM)
                                                                       40-
                      0 ppm                                                               41.6-42.3:     olive brown (2.5Y 4/3) cloyey sond (SC): fine- lo medium-grained, slightly indurated (5.50,45)
                      0 ppm
                      0 ppm


                                                                                          slight color change:   light yellowish brown (2.5Y 6/4)

                                                                       50-
                                                                                          49.5-54.5:     grades with increasing gravel content (35,65.0)

                                                                                          52.5-53.5:     light olive brown (2.5Y 5/6)
                       5 ppm
                                  PH3-56.0                                         SM     LIGHT OLIVE BROWN (2.5Y 5/6) SILTY SAND (SM): medium-groined, dense, moist (0.60.40)
                       0 ppm

                                                                        60-
                                                                                          63.2: zone of rusty oxidation ot gravelly sand/cloy contact (bottom of unit)
                                                                                          OLWE GRAY (5Y 5/2) CLAY to SILTY CLAY (CL): slightly moist, vaguely bedded, very plastic, core
                                                                                          disturbed (0.5.95)
                                                                                          WHITE (2.5Y 8/2) SILTY SAND (SM): very fine- lo fine-groined, loose, occasional thin discrete cloy beds
                                                                                          (very stiff, sandy) (0.75.25)

                                                                                          (core recovered hot)
                                                                        70-
                                                                                    CL    DARK GRAY {5Y 4/1) SANDY CLAY (CL): very stiff, slightly moist to moist, sond is fine- to
                                                  PH3-71                                  medium-groined with sporadic coarse- to gravel-sized groins, grovel is rounded, vaguely bonded, thin interbeds
                                                      (CL)                                of cloyey sand (SC)
                                                                                          72.0: color change: olive gray (5Y 5/2) to light olive brown (2.5Y 5/6)
                       0 ppm                                                              74-76: core appears disturbed
                       5 ppm
                                                                                          76.5-77.',:    pole-olive (5Y S/3) cJeyey sand (SC): very fine—to med"jrr>-groinsd
                      15 ppm      PH3-77.5

                                                                        80-
                                                                                    SM    PALE OLIVE (5Y 6/3) SILTY SAND (SM):          very fine- to fine-groined, loose, dry to very slightly moist (0.75,25)
                       0 ppm

                       0 ppm
                                                                                          85-87: grades to yellowish brown (10YR 5/4) with some cloy mottled, coarsely laminated, oir voids, (possibly
                                                                                          sloughed material)
                                   PH3-B7                                           SM    LIGHT YELLOWISH BROWN (2.5Y 6/4) SILTY SAND (SM): very fine- to fine-groined, motttled. dense, slightly moist.
                      10 ppm
                                                             3'/3'      90-
                                                                                          91:    color change olive yellow (2.5Y 6/6)
                      15 ppm
                                                                                    CL    DARK GRAYISH BROWN (2.5Y 4/2) CLAY (CL): fine-groined, hard (0.10.90)

                                                             3.3'/5'
                                                                                   ML     LIGHT OLIVE BROWN (2.5Y 5/4) SANDY SILT WITH GRAVEL: very fine- to coarse-sand (guortz) with approximately 5*
                      20 ppm                                                              gravel, grovel increosing down-section, dry. rare carbonaceous specks
                                                                                          99.2-99.7: olive groy (5Y 5/2) sandy cloy (CL): slightly moist (disturbed)
                                                                       100-               99.7-100: olive gray (5Y 5/2) clovey to silty sond (SC): fine- to eoorse-qroined. slightly moist
                                                                                   SM     PALE YELLOW (5Y 7/3) to LIGHT GRAY (5Y 7/2) SILTY SAND (SM): fine- to medium-groined, loose, moist to very moist,
                                                                                          fine brownish mico (2,78,20)
                                                                                          103.5-104.3:     lighl yellowish brown (2.5Y 6/4) sond, very fine-groined
                       0 ppm
                       0 ppm      PH3-106
                                                                                          106.9-109.4: light olive brown (2.5Y 5/4) silty sand (SM) with increased rusty oxidation mottling in lower half
                                                                                          of section (0.65.35)
                                                             .V/.V

                                                              LOG OF BORING                                                                                                                          Figure
   € NV I RON                                                 WELL CONSTRUCTION DETAILS
                                                                                                                                                               Page 1 of 2

   Counsel in Health and Environmental Science
                     fe TM. Drwyrflt. Cotfomio W608
                                                              McColl Site
                                                              Fullerton, California
                                                                                    Exhibit 39
                                                                                      5062
                                                                                                                                                                                                           A-3
                              Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 32 of 730 Page ID #:5106
Ground SL              ~e Elevation:283.84' Datum: Mean Sea Level  _                                          /                                                                                                                                                                 ^
X CoordinateY6038789                                                       Y Coordinate: 2272689                                                          W
                                                                                                                                                                \A/^                             U                   A                     I   P-T                        < \
                                                                                                                                                                      V V W                       1                      1                 V I                           \*_J       j
                     Well Construction Details
Blank Casing:                                                                                                                                                   Pllot Hole Dri!l
type:PVC                          diameter: 4. OOin                            from: 0.4'                                             to: 1 15.50'                                        Dote(s):               06/21/94 - 07/01/94
Screens:
type:Slotted size:. 010"  dia: 4.00" from: 1 15.50'                                                                                to: 1 25.50'                  Well Completion Date(s):                          09/26/94
Annular Fill:
type: Concrete                      from: 0.00'                                                                                    to: 1 00"                     Drilling Method: Resonant Sonic, Hollow Stem Auger
type: Bentonite Pellets             from: 1.00'                                                                                    to: 6 -HPL/M                  Driller: Woter Development Co (Michael Wilkerson, Gigi Marie)
type: Cement Bentonite Grout        from: 6. 00'                                                                                   to: 11
type: Bentonite Pellets             from: 108.50'                                                                                  to: 1 13.00"                  Logged By: Alex Marr, Jennifer Fellbaum, Steve LaMascus
type: Lonestar #2/16                from: 11 3.00'                                                                                 to: 1 26.50'                  Reviewed By: David Harnish
                                           Chemical Test Sample




                                                                                  Ft. Recovered/Driven
     Well                                                             Q.
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                                                                                                                             >-        '5                        Material Description
                              O                                      Q_                                      Q CO            O         CO
                                                                                                                                       CL     OLIVE GRAY (5Y 5/2) CLAY (CL):      troce fine sond in stiff, plastic, moist clay
                                                                                                                               /


                                                                                                                        w/
                                                                                                                                              112-115:     sond decreases downward
                           0 ppm
                                                                                                                               /
                                                                               5-/5-                                                          Depth to Woter (OTW):    104.35 ft with casing ot 118 ft




    1
                                                                                                                               / SC

                                                                                                                        w>
                                                                                                                                              OLIVE GRAY (5Y 5/2) WITH LIGHT OLIVE BROWN (2.5Y 5/6) MOTTLING IN CLAYEY SAND (SC): fine- to medium-groined,
                                                                                                                               /              medium dense to dense, frequent color changes, moist to very moist, some white sand, some iron staining
                          220 ppm PH3-119.4                                                                                            SM     BROWN (10YR 5/3) to DARK YELLOWISH BROWN (10YR 4/4) SILTY SAND (SM): fine- to medium-groined, loose, moist
                                                                               5'/5'                         120 -j                           lo wet, distinct thiophene odor (0.85,15)

                           15 ppm

                                                                               5'/5'                                                   CL     DARK GRAYISH BROWN (2.5Y 4/2) CLAY WITH SAND (CL):           fine-groined, stiff (0.15,85)
                                                                                                                               /              DTW: 105.20 ft with cosing ot 126 ft
                                                                                                                                              (In process of sealing off contaminated sond above with casing, we lost core from 125-130)
                                                                                                                               /
                                                                               075-                          130-1
                                                                                                                               /              OLIVE BROWN (2.5Y 4/3) CLAY WITH SAND (CL):         fine-groined sond in hard, very stiff cloy, quorlz sond. subangulor.
                                                                                                                                              moist (0.20,80)
                                                                  PHI 1 "\7
                                                                    (CL)                                                               SM     OLIVE (5Y 5/3) SILTY SAND (SM): very fine- to medium-groined sond, medium dense to dense, moist to very dry.
                                                                               4'/4-                                                          locally colcoreous, troce mico (0.70,30)
                           0 ppm
                                      PH3- 134.5
                                                                                                                               '       CL PALE OLIVE (5Y 6/3) CLAY WITH SAND (CL):           very fine sond, dense, very fine mico. colcareous. moist (0,10.90)
                           6 ppm                                               4'/4-                                                   ML     OLIVE SANDY SILT (ML):    medium dense, moist lo saturated, trace mico
                                                                                                                                      SM/SP YELLOWISH BROWN (10 YR 5/6) SAND (SM/SP):             wet, oxidation (rusty), saturated, (0.85.15). iron oxide ot base
                                                                                                             140-1                          DTW: 126.28 ft with 4.5 inch cosing ot 138 ft



                           C ppm                                               2.6'/7-
                                                                                                                    i
                                                                                                                                       CL     DARK OUVE GRAY (5Y 3/2) CLAY WITH SAND (CL): sandy, very stiff to hard, with clots of yellowish brown (10YR 5/8) lo
                                                                                                                               /              light olive gray (5Y 6/2) silty very fine sond to sill, especially near upper and lower contacts (0,15,85)
                                                                                                                               /
                            1 ppm                                              575-                          150 -j            /
                           10 ppm
                                                                                                                               /       SC OLIVE (5Y 5/3) CLAYEY SAND (SC): very fine-groined, medium dense, moist, frequent clots of yellowish brown
                                                                               373-                                                       (10YR 5/8) "rusty" sond, clay occurs as irregular streaks (transitional) (0,70,30)
                                                                                                                                  /

                                                                               2'/2'                                                   SP     OLIVE (5Y 5/4) to LIGHT OLIVE GRAY (5Y 6/2) SAND (SP): very fine- to fine-groined, loose to medium-dense,
                            0 ppm                                                                                                             rounded lo sub-rounded groins, locally silty, moist, mainly clear and milky quartz with minor feldspar, thin
                                                                                                                                              cyclic beds ol disseminated heavy (+/- oxidized) minerals (pyrite, orsenopyrite. magnetite)
                                                                                                                                              156.6-156.9: olive (5Y 5/5) silty sond (SM): with yellowish brown (10YR 5/6) rusty streaks
                                                                                                                                              DTW: 158.6 ft with 4.5 inch diameter casing at 155 ft and total depth ot 160 ft: likely water from above, not repeatoble
                            0 ppm                                              575-                          160-                             160.2-160.5:    olive (5Y 5/3) silly sond (SM):    with rusty yellowish brown (10YR 5/6) streaks
                                       PH3- 160.5
                                                                               2'/2.5'
                           20 ppm                                                                                                             162.5-165: sand displays good bedding, laminae defined by heavy mineral segregation
                                                                  PH3- 162.5
                                                                     (SM)                                                                     (magnetite, sulfdes), cross-bedding
                                                                               2.572.5'
                           12 ppm
                           30 ppm


                                                                               5'/5'                         170-                             170.1-173.3:     olive (5Y 5/3) silty sand (SM):   very fine-groined, loose, abundant disseminated mica, moisl

                           70 ppm                                                                                                             173.1-173.3:     yellow brown (10YR 5/6) oxidation zone
                                       PH3- 172.5
                                                                                                                    •
                           50 ppm                                                                                                     SC/SM VERY DARY GRAY (5Y 3/1) to OLIVE GRAY (5Y 4/2) to LIGHT OLIVE GRAY (5Y 6/2) INTERBEDDED CLAYEY to SILTY SAND
                                                                               3.275-                                                       (SC/SM) and SANDY CLAY (CL): fine-to coarse-groined quarlzose sand, moist to very moist,
                                                                                                                                            oxidized ond mottled toward base.
                           21 ppm                                              3'/3'
                                                                                                             180-
                                                                                                                                              181.5-182.5:     color becomes yellowish brown (10YR 5/6)
                            10 ppm
                                                                  PH3- 183.0                                                   ' CH           BLACK (5Y2 5/1) CLAY (CH):       hard, plastic, very moist, rare wood chips/organic matter, faint crude (?) odor
                                                                               7'/7'                                           /
                                                                                                                               ' SC VERY DARK GRAY (5Y 3/1) to OLIVE GRAY (5Y 4/2) CLAYEY SAND (SC): medium -groined, moist, dense, mottled (0.75,25)
                           3G ppm      PH3- 187.5                              373'                      ^                          OUVE GnAY (5V 4/2) SILT^SANO (3«): rtiediatn- io eouise-groined. derae. moist, wet ol base                —

                                                                                                             190-
                                                                                                                        T                     DRILLING AND LOGGING NOTES:
                                                                                                                                               1.    Pilot hole PH-3 was completed by Woter Development Corporotion using resonanl sonic (RS) drilling lo o
                                                                                                                                                    depth of 188 ft on 7/1/94. PH-3 wos advanced through a temporary 6-5/8-inch (00) conductor cosing set
                                                                                                                                                    ot 127 ft. PH-3 was backfilled with o bentonite-cemenf grout upon completion.

                                                                                                                                              2.     Soil samples were collected durng RS drilling using o 5.0 foot long, 2.75-inch (ID) diameter steel
                                                                                                             200-
                                                                                                                                                    split core barrel.

                                                                                                                                              3.    (0.30,70) = Feld estimate of sediment sizes (Z grovel, Z sond, % fines).

                                                                                                                                              4.    Boring log indicates subsurface conditions only ot the location ond time the boring wos drilled.

                                                                                                                                              MONITORING WELL NOTES:
                                                                                                                                              1. Well P-41 was constructed using hollow stem auger drilling techniques.
                                                                                                             210-                             2.    Depth to Woter:   P-41 wos 99.42 ft on 11/3/94.
                                                                                                                                              3.    A dedicated purging and sampling, electric, submersible pump (2" diameter Grundfos Redi-Flo2)
                                                                                                                                                    was placed in well P-4I to o depth of 125.50 ft. Pump intake wos set at 124.50 ft.




                                                                                 LOG OF BORING                                                                                                                    Page 2 of 2                          Figure
   € N V 1 R ON                                                                  WELL CONSTRUCTION DETAILS                                                                                                                                                  . Q
   Counsel in Health ond Environmental Scence                                    McColl Ste            Exhibit 39                                                                                                                                          A""O
    M20 ShtfHnovitf «WH, *•»« TM. CmtfyxHt. Cottwnlo «4M6                        Fullerton, California   5063
                    Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 33 of 730 Page ID #:5107
 ;round Sur  3 Elevation: 258.84' Datum: Mean Sea Level
X Coordinat>/60391 18             Y Coordinate: 2272495
                                                                                                                                e                      P-5L (P
                      Well Construction Details
Blank Casing:
type: PVC                          diameter: 4.00"                   from: 0.4'            to: 195.50'                Pilot Hole Drill Date(s):                         07/28/94 - 08/30/94

Screens:
type: Slotted           size: .010"                 die: 4.00" from: 195.50'               to: 205.50'                Well Completion Date(s):                          11/23/94 -                11/28/94

Annular Fill:                                                                                                         Drilling Method:Air Rotary Casing Hammer/(Resonant Sonic)
type: Bentonite Slurry                                              from: 0.00'            to: 170.00'                Driller: Water Development Co (Rodger Anderson)
type: Bentonite Chips                                               from: 170.00'          to: 189.50'
type: Lonestar #60                                                  from: 189.50'          to: 192.50'                Logged By: Rachel Martinez, Jennifer Fellbaum
type: Lonestar #2/16                                                from: 192.50'          to: 210.00'                Reviewed By: David Harnish
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   Top of Cosing                              0)
                                             s:                                                                       Material Description
    Elev. 258.13                             O                a.                       O

                                                                                                  ASPHALT
                             0 ppm                                                                Pea Grovel
                                                                                           jM/SC DARK OLIVE BROWN (2.5Y 3/3) SILTY SAND to CLAYEY SAND (SM/!                  dry to moist, very line- to medium-groined,
                                                                                                 loose, troce of organic material, with calcareous and cloy lenses
                                                                                                 3.5-5.5: cloy, some asphalt in slough
                            0 ppm                                                                6.0-6.75: decrease in silt
                                                                                                 6.75-7.0: colcareous lense

                                                                                10-               10.5-11.0: cloy lense. plastic


                             0 ppm
                                                                                                  15.0-17.0: white colcoreous cemented lense
                            0 ppm
                                                                      r/f-
                                                                                            CL    LIGHT OLIVE BROWN (2.5Y 5/3) SANDY CLAY (CL): moisl to wet. medium plasticity, medium lo high dry strength,
                                                                                20-               firm lo stiff, with calcareous cemented and sond lenses (0,40,60)




                                                                                                  27.25-28.0:     high plasticity, high dry strength


                                                                                30-
                             1 ppm                                                                32.0-32.25: colcoreous cemented lense
                                                                                                  33.75-34.25: colcoreous cemented lense
                                                                                                  34.25-34.4: cloyey sand



                             1 ppm                                                                BROWN (10YR 5/3) SILTY SAND (SM): moist to wet, very fine- to fine-groined with cloy, poorly graded, loose lo
                                                                                40-               dense, stratified, some iron oxide staining (0.85,15)                                                 _
                             0 ppm                                                                DARK GRAYISH BROWN (10YR 4/2) CLAYEY SAND (SC): moist, some iron staining (0,60.40)
                                                                                                  43.0-43.5: decrease in silt and cloy
                                                                                            SM    BROWN (10YR 5/5) SILTY SAND (SM):          fine-groined, some clay (0.70.30)

                             2 ppm                                                          ML    BROWN (10YR 5/3) SANDY SILT (ML):          moist, some clay, high dry strength, fine-groined, some iron oxide mottling
                                                                                                  (0.40.60)

                                                                                50-
                             2 ppm


                                                                      S.2-/6-                     56.0-56.75: sandy cloy lense
                             5 ppm                                                          SM    BROWN SILTY SAND (10YR 5/3) (SM):          very fine- to fine-grained, some cloy locally, moisl lo dry (0.70.30)

                                                                                60-



                             2 ppm                                                                66:   (0.85,15)
                                                                                                  68: (0.75,25)
                                                                                                  69: (0.50,50)
                                                                                70-
                             2 ppm
                                                                                             ML    SANDY SILT (ML) with silty sand inlerbeds (0.40,60)
                                                                                                   75.0-76: sond becomes fine- to medium-groined, decrease in silt
                                                                                             CL    LIGHT OLIVE BROWN (2.5Y 5/4) CLAY WITH SAND (CL): moist, medium plasticity, medium stiff, high dry strength. (0.15.85)
                                         PH4-77.5
                                         PH4-77.5D
                                                                      575'      80-                81: color becomes olive brown (2.5Y 4/3)
                                                                                                   82.0-83.0: sill lense
                                                                                             SM    LIGHT OLIVE    BROWN (2.5Y 5/4) SILTY SAND (SM):      moist to wet, loose to very dense, fine- to coarse-grained,
                                                                      5'/5'                        well graded,                '       ' r, (0.75.25)
                                                                                                                  rounded'to sub'-o'ngulor,        "'
                                                                                                   84.0: wet
                                                                                                   86.0-86.5:     sondy cloy lense
                                                                                                   86.5-91.5:     contains interbeds of sondy silt with clay

                                                                                90-
                                                                                                   91: wet
                                                                                             CL    GRAYISH BROWN (2.5Y 5/2) CLAY (CL):         slightly moist to moist, medium plasticity, with fine sond. stiff, with
                                                                                                   calcareous nodules ond lenses

                                                                                                   95.5-95.7: colcareous cemented lense
                             9 ppm                                                                 97.0-98.0: olive brown (2.5Y 4/3) cloy (CH): high plosticity. very stiff
                                                                                                   98.0-99.5: block streaking
                             4 ppm                                                                 100.0-100.5: silty sand lense, very fine- to fine-groined
                                                                                100-               101.5-102.0: colcoreous lense
                             8 ppm
                                                                                                  LIGHT OLIVE BROWN SILTY SAND (SMV dry to wel, dense, fine- to very fine-grained, well graded, (0.65,35)
                                                                                                  104.5: becomes light gray (2.5Y N7)
                                                                                                  OLIVE BROWN (2.5Y 4/3) SILT (ML) to CLAY (CL): moist to wet, stiff, low to high dry strength
                            3.3 ppm




   € N V I R ON                                                        LOG OF BORING
                                                                       WELL CONSTRUCTION DETAILS
                                                                                                                                                                       Page 1 of 3                            Figure

   Counsel in Heolth ond Environmentol Science
    SUO SMbnow* SlrMt Suit! 700. Cm^yy*.. Cottorttio   «4K»
                                                                       McColl Site
                                                                       Fullerton, California Exhibit 39
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                                                                                                                  5064
                                        Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 34 of 730 Page ID #:5108
Ground Sur               * Elevation: 258.84' Datum: Mean Sea Leve
X CoordinatVx60391 18                                                               Y Coordinate: 2272495                                                     *f \ A / O
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                                                                                                                                                                                                                                                         'hr ^)
                       Well Construction Deta Is
Blank Casing:
                                                                                                                                                                   pilot Hole Dritl
type:PVC                            diameter: 4.00"                                    from: 0.4'                                          to: 195.50'                                       Date(s):             07/28/94 -                08/30/94


tyCpe?sTotted            size: .010"                                 dia:4.00" from: 195.50'                                               to: 205.50'             Weli
                                                                                                                                                                            Completion Date(s):                     11/23/94 -                11/28/94

Annular Fill:                                                                                                                                                      Drilling Method: Air Rotary Cosing Hammer/(Resonant Sonic)
type: Bentonite Slurry                                                               from:                       0.00'                     to: 1
                                                                                                                                                  ^a Rrv           Driller: Water Development Co (Rodger Anderson)
type: Bentonite Chips                                                                from:                       170. 00'                  to: 11
                                                                                                                                                 (
type: Lonestar #60                                                                   from:                       189. 50*                  to:1 92.50'             Logged By: Rachel Martinez, Jennifer Fellbaum
type: Lonestar #2/16                                                                 from:                       192. 50'                  to: 2 10.00'            Reviewed By: David Harnish
                                              Chemical Test Sample




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                                                                                                                                                                   Material Description

                                                                                                                                       /     CH VERY DARK GRAY (2.5Y N3) CLAY (CH):       moist lo wet. very stiff, high dry strength, high plasticity
                            8.0 ppm

                                                                                       9.8'/10-
                                                                                                                               I            SM    OLIVE BROWN (2.5Y 4/3) SILTY SAND (SM): dry to soluroted. fine- to very fine-grained, loose. (0.80,20)
                                                                                                                                                  114: color becomes yellowish brown flOYR 5/6)
                                                                                                                                                  115.0-115.75: sandy clay lense
                                                                                                                                                  116-120: driller's noted drilling very fast, core barrel dropped through soils

                                                                                                                                                  119.5: color becomes light gray (10YR 7/1), wet
                                                                                                                    120-1                         120: saturated
                            5.5 ppm                                                                                                               121: moist

                                                                                                                                                  Depth to Woter (DTW) = 98 ft when 4.5" diameter drive casing at 110 fl ond borehole ot o depth of 125 It.
      •
                                                                                                                                                  125-126:   dry lo moist

                                                                                                                                                  128: wet (may be from woter above entering borehole)
                            9.5 ppm                                                                                                               129-131: moist

                                                                                                                    130 -j
                                                                                                                                                  132.0-138.75:   slough
                                                                                       6.7'/7'




                                                                                                                    140 A                         139-145:   sond is line- to coarse-grained, dry to moist


                            2.5 ppm
                                                                                                                                                  145:   color becomes yellowish brown (10YR 7/1). moist to wel
                             17 ppm
                                                                                                                                       /     CH BLACK (2.5YR N2) CLAY (CH):      dry to moist, hord. very stiff, high plasticity, organic materiol (wood) (0.15.85)
                                          PH4-147
                                                                                                                                                  147.5: wood fragment approximately 3"
                                                                                                                                       /          151.6-151.9: silty sond
                                                                                                                    150-j

                                                                                                                                            SM    DARK GRAY (2.5Y 4/1) SILTY SAND (SM):     moist, dense, fine- to medium-grained, subrounded to subongulor (0.70,30)

                                                                                       6.9710-


                                                                                                                    160-

                             1 ppm        PH4-162
                                                                                       272-                                            ' CL       DARK GRAY (2.5Y 4/1) SANDY CLAY (CL):
                                                                                                                                                  sampler wel
                                                                                                                                                                                             moist, high dry strength, medium stiff, troce of shell fragments,
                                                                                                                                       /

                                                                                                                                       /


          :                   1 ppm
                                                                                       0.871.5'

                                                                                                                    170-
                                                                                                                                             SM   DARK GRAY (5Y 4/1) SILTY SAND (SM):
                                                                                                                                                  strong thiophene odors
                                                                                                                                                                                           saturated, dense, very fine to fine, subrounded lo rounded




                                                                                                                               I !
                                                                                                                                       ',', OH
                                                                                                                                       //
                                                                                                                                                  DARK GRAY (5Y 4/1) ORGANIC SILT (OH) to ORGANIC CLAY (OH):
                                                                                                                                                  abundant wood fragments
                                                                                                                                                                                                                     moist, medium plasticity, medium dry strength,




                                                                                                                               • y,'£'/,'
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                                                                                       272-
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                                                                                                                    180-
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                                                                                                                                    s  '/,'
                                         PH4-186S                                               2                                       i :^M~ OLIVE
                                                                                                                                               DPU*,
                                                                                                                                                         BROWN (2.5Y 4/4) SILTY SAND (SM):     dry to moist, dense, very line, troce mico, strong thiophene odor
                                                                                                                                                         ]Rf»78 ^ W'th 57^"- *£tarn0[er fQ^inn ot 1B6-02 ft                _
                                                                                       2'Z ;
                                                                                       0.570.5'                                        / CL       VERY DARK GRAYISH BROWN (2.5Y 3/2) SILTY CLAY (CL):         moist, medium plasticity, medium to high
                                          PH4-189                       PH4-189                                                                   dry strength, strong thiophene odor
                                                                                                                    190-                          18B.5- 189.0: no odors
                                                                                                                                       /
                                                                       PH4-191.5       1.5-/21
                                                                                                                                       /

                                                                                                                               ntf           SM   OLIVE BROWN (2.5Y 4/4) SILTY SAND (SM): saturated, very fine lo medium, dense, troce block
                                                                                                                                                  organic(?) material, white speckles of shell fragments(?). sands heaving into casing
                                                                                       2'/2'

                                                                                                                    200-
                                                                                       4'/4'
                                                                                                                                                  DTW = 174 ft with bottom of drive casing at 202 fl




              _
                                                                                                                    210-




                                                                                                                                                                                                                                                         Figure
   € N V 1 R ON                                                                         LOG OF BORING
                                                                                        WELL CONSTRUCTION DETAILS
                                                                                                                                                                                                                   Page 2 of 3

   Counsel in Health and Environmental Science                                          McColl Ste
                                                                                        Fullerton, California
                                                                                                              Exhibit 39                                                                                                                                         A-4a
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                                    Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 35 of 730 Page ID #:5109
Ground Sur             ' Elevation: 258.84' Datum: Mean Sea Level                                                                           -      •
X CoordinatV6039118                                                         Y Coordinate: 2272495                                            ^f\A/ O                               P                 ^ I                    f    D
                                                                                                                                                                                                                                          iy         4\
                                                                                                                                                       V V V_x                     1.                ^ 1_                   \^ 1
                                                                                                                                                                                                                                                       J
                     Well Construction Deta Is
Blank Casing:
type:PVC                         diameter: 4.00"                               from: 0.4'                              to: 195.50'                 Pilot Hole Drill Date(s):                       07/28/94-08/30/94


?yCpe?Slotted          size:.010"                          dia: 4.00"          from:1 95.50'                           to: 205.50'                 Well Completion Date(s):                         11/23/94-11/28/94

Annular Fill:                                                                                                                                      Drilling Method: Air Rotary Casing Hammer/(Resonant Sonic)
type: Bentonite          Slurry                                              from: 0.00'                               to: 1"
                                                                                                                             ?Q ' c - n ,          Driller: Water Development Co (Rodger Anderson)
type: Bentonite          Chips                                               from: 170. 00'                            to: 1 i
type: Lonestar          #60                                                  from: 189.50'                             to: 1 32.50'
                                                                                                                              $                    Logged By: Rachel Martinez, Jennifer Fellbaum
type: Lonestar          #2/16                                                from: 192. 50'                            to: 2 0.00'                 Reviewed By: David Harnish
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     Well                                    a.
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                                                                                                    Q. E o                                         Material Description
                                                                     s:                             OJ D     '5
                             1                                       CL                            Q CO o    CO

                                                                                                                                DRILLING AND LOGGING NOTES:
                                                                                                                                1.   Pilot hole PH-4 wos completed by Woler Development Corporotion using resonont sonic (RS) drilling lo o
                                                                                                                                     depth of 152 ft on 8/2/94. PH-4 wos backfilled with o bentonite-cement groul upon completion.
                                                                                                                                2.   Pilot hole PH-4 wos continued at o second location opproimotely 8 It north of first borehole using
                                                                                                                                     oir rolory cosing hammer (ARCH) to o total depth ot 202 ft. A temporary 9-5/8-inch conduclor cosing set
                                                                                                                                     at 189 ft. PH-4 wos backfilled with o benlonite-cement groul upon completion on 8/30/94.
                                                                                                   230-                         3.   Soil samples were collected during RS drilling using o 5.0 ft or 10.0 ft long. 2.75-inch (ID) diameter steel
                                                                                                                                     split core barrel. Soil samples were collected during ARCH drilling by driving a California Split Spoon
                                                                                                                                     Sampler (2* diameter).
                                                                                                                                4.   (0.30,70) = Field estimate of sediment sizes (% gravel, % sond, % fines).
                                                                                                          —

                                                                                                                                5.   Boring log indicates subsurface conditions only at the location and time (he boring was drilled.
                                                                                                                                6.   Perched ground woter encountered ol 116-120 fl, 167 ft. and 198 ft.
                                                                                                   240-

                                                                                                                                MONITORING WELL NOTES:
                                                                                                                                1. Well P-5L was constructed using oir rotary cosing hammer drilling techniques. A temporary 11-3/4-inch conductor
                                                                                                          -                        wos set during the construction lo 180 ft. The temporary conductor cosing wos removed following grouting the
                                                                                                                                   annular seal.
                                                                                                                                2.   Two groundwoter grob samples were collected for temporary prepacked wells set ot 165-175 feel ond 189-199 feet.
                                                                                                                                      The sample IDs for the sample collected from 165-175 feet is PH4-170GW. ond the sample collected from
                                                                                                   250-                               189-199 feet is PH4-194GW.
                                                                                                                                3.   Depth to woter:    P-5L wos 172.94 on 11/29/94.
                                                                                                                                4.   A dedicatee purging ano aufnpiing, electric, submersible puiiip (2' w'ometer' Grurtdfci R«di-F!o2)
                                                                                                          -                          was placed in well P-5L to a depth of 205.50 ft. Pump intake wos set at 204.50 ft.



                                                                                                   260-




                                                                                                   270-




                                                                                                   280-




                                                                                                   290-




                                                                                                   300-




                                                                                                   310




                                                                                                    320




                                                                                                                                                                                                                                          Figure
    € N V 1 R ON                                                                LOG OF BORING
                                                                                WELL CONSTRUCTION DETAILS
                                                                                                                                                                                                    Page 3 of 3

    Counsel in Health and Environmental Science
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                                                                                McColl Site
                                                                                Fullerton, California Exhibit 39
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                                          Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 38 of 730 Page ID #:5112
Ground Surface Elevation:267.80' Datum: Mean Sea Level                                                                                           ^mr                                                                                            -
X Coordinate: 6039 150           Y Coordinate: 2273004                                                                                          r_^                     ,_
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                       Well Construction Details                                                                                                I       M               O

                                         No Well Constructed                                                                                   Pilot Hole Drill Date(s):                         08/11/94 - 08/19/94

                                                                                                                                               Well Completion Date(s):                          NA

                                                                                                                                               Drill Method: Resonant Sonic
                                                                                                                                               Driller: Water Development Co (Michael Wilkerson)
                                                                                                                                               Logged By. Rachel Martinez, Jennifer Fellbaum
                                                                                                                                               Reviewed By: David Harnish
                                             Chemical Test Sample



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                            5.5 ppm                                                                                  /    CL LIGHT OLWE BROWN (2.5Y 5/3) SANDY CLAY (CL):            moist, fine- to medium-groined, fines ore
                                                                               2.4'/5'                                            medium stiff, low to medium plastic, mottled, appears to be stained with possible hydrocarbons, odors below 9',
                                                                                                                     /            calcium cemented inclusions (0,10,90)




                                                                                                        1
                                                                                                                                  5.5-6.5: becomes light yellowish brown (2.5Y 6/3), very stiff some thin sond layers
                                                                               2.5'/3'                               /            6.5-7.0: becomes 0"ve (5Y 5/3) appears to have stained inclusions, mottled
                                                                                                                                  9.0:  hydrocarbon odor, becomes light olive brown (2.5Y 5/3)

                                                                                                                          SM
                                         PH5-11.5                                                                                 VERY DARK GRAYISH BROWN (2.5Y 3/2) SILTY SAND (SM): moist, dense, fine- lo medium-groined,
                                                                                                                                  troce coarse, trace wood slivers, well graded, subangulor lo subrounded, strong hydrocarbon odors (0,70,30)
                            500 ppm                                 PH5-13
                                                                     (SM)                                                         13.5:   appears lo be stained, decrease in silt



                                                                                                                     ' CL DARK GRAYISH BROWN (2 5Y 4/2) SANDY CLAY (CL):               moist, stiff, strong hydrocarbon (possibly thiophene) odors,
                                                                                                        20                        fine- to medium-groined, moderately graded, moderately to highly plastic, some carbonate cemented inclusions
                                                                                                              1m/ /               throughout (1,30,69)
                                                                                                                                  20.5-21.3: light olive brown (2.5Y 5/4) silty sond lense. dense, fine- to coorse-groined, well rounded
                            13 ppm                                                                                   /            to subangular (5,70,25)
                                                                                                                                  21.3: grades very dork grayish brown (2.5Y 3/2). very stiff
                                                                    PH5-24.7                                         /
                                                                     (CL)                                            /
                                                                               6.6'/10'
                                                                                                                     /
                                                                                                                                  30.5-34.2:   becomes olive brown (2.5Y 4/4),      mottled, very stiff
                                                                                                        30 -W[/
                                                                                                                     /

                                                                    PH5-33                                           /            34.2-35.2: silty sond lense, light olive brown (2.5Y 5/4). moderolely-groded, subongulor to
                                                                     (SC)                                                         $UbrOUn<fev (0,55,45)
                                                                                                                     /            35.2:  becomes olive brown (2.5Y 4/4). some orgonics present, mottled
                                                                               9'/9'
                                          PH5-37                    PH5-37                                           /            37.5:   becomes light olive brown (2.5Y   5/4)
                             12 ppm                                  (CH)




                                                                                                             \
                                                                                                                     /
                                                                                                                     /            43: becomes olive brown (2.5Y 4/3)
                                                                                                                                  45-45.7: sondy silt lense, high dry strength
                                                                                                                     /            46; becomes light yellowish brown (2.5Y 6/3).      moist, stiff, low plasticity, abundant calcium cemented
                                                                                                                                  inclusions, very micaceous (0,15,85)
                                                                               8.779'
                            4.0 ppm                                                                                               LIGHT CRAY (2.5Y 7/2) SILTY SAND (SM): slighlly moist lo moist, very fine- to medium-groined, dense, strong
                                                                    PH5-47                                                SM
                                                                                                                                  lo mild hydrocorbon/lhiophene odors, subangular to subrounded. some iron oxide staining (0,80.20)
                                                                     (SM)
                                                                                                        50 -fl                    47.0-48.0:    grodes reddish brown (2.5YR   5/3)




                                                                               9'/9'
                             15 ppm


                                                                               5'/5'                    60 -fl
                             83 ppm

                                                                               474'
                             15 ppm


                                                                               575'                                               71.0: mild Ihiophene odor
                                                                                                                                  71.0-72.0: olive (5Y 5/4) cemented layer, increase in silt
                                                                               O'/O'                     70-^
                             17 ppm        PH5-71                              171-                                               74.0:
                                                                                                                                  75.0:
                                                                                                                                          bedded
                                                                                                                                          becomes streaked with reddish brown, slightly moisl
                             11 ppm
                                                                               3'/3'


                             7.5 ppm
                                                                               4.9'/5'                   80 -J
                                           PH5-80
                             5.5 ppm
                                                                               4'/4'

                                                                               072'                           1/P
                                                                                                                 /         CL OLIVE (5Y 4/3) SILTY CLAY (CL):         slightly moist, low dry strength, low plasticity,
                                                                                                                                   very fine lo fine sand (0.30,70)


                                           PH5-90
                                                                     PH5-89
                                                                      (CL)     4'A
                                                                                                         90 -fly     /
                                                                                                                     ./
                                                                                                                           SM     OLIVE SILTY SAND (SM): slightly moisl to moist, very fine- to medium-groined, troce grovel, subongulor lo subrounded. iror
                                                                                                                                  staining (1,64,35)
                                                                                                                                  92.5:    troce organic (?) material
                                           PH5-95                                                                                 93.0-95.5: thiophene odors
                                                                               5'/6'                                              DARK GRAY (5Y 4/1) SANDY SILT (ML) lo SANDY CLAY (CL): moisl, interloyered silt ond cloy lenses, silt hos slight



                                                                                                              \[i
                                                                                                                          CL/ML
                             6.5 ppm                                                                                              plasticity, low dry strength, very fine sand, cloy lenses are thin, plastic, strong thiophene odor
                                                                                                                                  Depth to Woler (DTW): DRY with 6-5/8-inch cosing ot 69 ft ond 4-1/2-inch cosing ot 100 ft
                                                                               2.6'/3'                  100 "Hrr           su     OLIVE (5Y 4/4) SILTY SANO (SM): moist to wel, fine- to medium-groined, subangulor lo subrounded, with groy to
                                           PH5-101                                                                                block streaks
                                                                                                                                  101.5-102.0: very fine sond to silt layer
                             12 ppm
                                                                               4.6'/5'                               " a          VERY DARK GRAY (5Y 3/1) CLAY (CL): moist, high plasticity, high dry strength, very stiff, with some thin sand/silt
                                                                                                                                  lenses (0.20,80)
                                                                                                                     /             103.5-104.0: silly sond lense
                              3 ppm
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                                                                                 LOG OF BORING
                                                                                                              I      /             104.5-105.1: silty sond lense
                                                                                                                                  108.0-110.0: grodes with some very line sond
                                                                                                                                  Deolh lo Woler (DTW): DRY with 4-1/2-inch cosina ot 100 ft

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    Counsel in Health ond Environmental Scence                                   McColl Site                                                   Exhibit 39
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                                                                                                                                                               Exhibit 39
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                                      Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 40 of 730 Page ID #:5114
Ground Sur.            ^ Elevation: 280. 60' Datum: Mean Sea Level                                                                                                           ,                                                                                           y
X Coordinate: 6039397                                                            Y Coordinate: 2273 126                                                                 """ _J                            L~^                                                    "~"
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                     Well Construction Details
                                      No Well Constructed                                                                                                                    Pilot Hole Drill Date(s):                    08/03/94 -             08/09/94


                                                                                                                                                                             Well Completion Date(s):                     NA

                                                                                                                                                                             Drilling Method: Resonant Sonic
                                                                                                                                                                             Driller: Water Development Co (Michael Wilkerson)
                                                                                                                                                                             Logged By: Rachel Martinez, Jennifer Fellbaum
                                                                                                                                                                             Reviewed By: David Harnish
                                            Chemical Test Sample




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                                                                                                                         if
                                                                                                                                           D<            FILL:   silly sond with grovel
                                                                                                                                                        BROWNISH YELLOW (10YR 6/6) SILTY SAND (SM): moist, fine- to medium -groined, loose, moderately graded (0.85.15)
                                                                                    r/sr                                                                4.5: grades light yellowish brown (2.5Y 10/4), trace rounded_gravel
                                                                                                                                                 [SM/SW BROWNISH YELLOW (IOYR 6/6) SILTY SAND WITH GRAVEL (SM/SW): dry lo moist, fine- lo medium -groined,
                           3.5 ppm                                                                                                                      loose, subrounded, moderately graded (5,75,20)

                                                                                    y/y
                           3 0 ppm




                                                                                                              ]
                                                                                    y/y
                          2.75 ppm

                          2.75 ppm
                                                                                    y/y


                                                                     PH6-25
                                                                                    3.175-
                                                                      (SM)
                          3.25 ppm                                                                                                         '        CLDARK YELLOWISH BROWN (10YR 3/4) SANDY CLAY (CL): moist, stiff, lominaled, medium ploslicity (0.40.60)

                                                                                    575-                                                   /
                                                                                                                                                   SM    PALE BROWN (10YR 6/3) SILTY SAND (SM): very fine- to medium-groined, loose to very dense, moist to wet. well
                           50 ppm                                                                                                                        graded, subangular (0,85,15)
                                         PHfi-33
                                                                     PH6-35
                                                                                    575-
                                                                                                                                                         35-36.5:      color becomes brownish yellow (IOYR 6/6)
                                                                      (SM)
                           10 ppm
                                                                                                                                                   CL    DARK BROWN CLAY (CH), plastic, moist, colcoreous inclusions, wet ot base
                                                                                    575-                      40-                          /
                           3.0 ppm                                                                                       irrl                      SM    PALE BROWN (IOYR 6/3) SILTY SANO (SM): as above but dry to moist, locally micaceous
                                                                                                                                                         41.5-45: iron oxide staining
                                                                                    575-
                          2.75 ppm                                                                                                                       45-50:     sample hot ond compacted from resononce

                                                                                    4.7575-                   50-                                        49.5-49.75: color becomes weak red (10R 5/3)
                                                                                                                                                         50-55: grodes coorse-groined
                          2.75 ppm


                                                                                    575-
                                                                                                                                                         55-56: grodes to olive yellow (2.5Y 6/6) with less silt (SM-SP)
                                                                                                                                                         56.2-57.8: becomes light yellowish brown (2.5Y 6/3). dry to moist, poorly graded
                          2.75 ppm                                                                                                                       57.8: micaceous

                                                                                    575'                       60-
                                                                                                                                                         60.0-65.0:      micaceous
                                                                                                                                                         62.2:    color becomes light yellowish brown (2.5Y 6/3), dense

                                                                                    575-                                                                 64.5: color becomes light brownish gray (2.5Y 6/2)
                                                                                                                                                         65.6-67.3: grades pole yellow (2.5Y 7/4), fine- lo coarse-groined, poorly graded
                           4.0 ppm
                                                                                    373-
                           3.5 ppm                                                                                                                       69.8:    becomes light yellowish brown (2.5Y 6/3). micaceous
                                                                                                               70-
                                                                                    373-
                           3.5 ppm
                                                                                                                                                         73:     organic layer (?)
                                                                                    3.474-
                           2.5 ppm                                                                                   ^
                                                                                     1 Q'/Ol
                                                                                     !.»/ f-
                           5.5 ppm                                                                                                                       77.0-78.0: increased silt
                                                                     PH6-•77.5
                                                                    (SM c r SC)                                                              ^     CH    VERY DARK GRAY (7.5YR N3) CLAY (CH): dry to moisl, very stiff, high plasticity, laminated, high dry strength,
                                                                                                               80-                                       with sand and silt lenses
                                                                                                                                           /

                                                                                                                                           /
                                                                                    278-
                            7.0 ppm                                                                                                        /              85.0-85.4:     Ight olive brown silt (ML)




                                                                                                                         1I
                                                                                                                                           /              86.7-87.1:     pole yellow silty sand (SM)
                                                                                                               90-                                        87.1-87.8:     Ight olive brown silt MLJ
                                                                                                                                           /

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                                                                                    2.87101
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                                                                                                                                                          96-96.2: silty sand (SM). fine
                                                                                                                                           /              97.0-97.2: silly sand (SM). fine
                                                                                                              100-                                        99.5-100.0: silly sond (SM). fine

                                                                                    577'                                                   /

                                                                     PH6 -103
                                                                                                                                           /
                                                                       (C H)
                            4.0 ppm
                                                                                                                                                    SM    LIGHT YELLOWISH BROWN (2.5YR 6/3) SILTY SAND (SM): dry lo moist, very fine- to fine-groined, dense, with cloy
                                                                                                                                                          and sill lenses (0,85.15)


                                                                                      LOG OF BORING                                                                                                                       Page 1 of 2                       Figure
   € N V 1 R ON
   Counsel in Heollh ond Environmental Science                                        McColl Site                                                                    Exhibit 39                                                                                    A-6
    5S20 SMImovftd SlrMt. SJtt 700. CmoyriM, Confer*               94M8               Fullerton, Cal fornia                                                            5071
                                  Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 41 of 730 Page ID #:5115
Ground Sui         e Elevation:280.60' Datum: Mean Sea Level
X CoordinatTeTx6039397                                         Y Coordinate: 2273126                                     D
                 Well Construction Details
                                  No Well Constructed                                                                  Pilot Hole Drill Date(s):                       08/03/94 -                08/09/94


                                                                                                                       Well Completion              Date(s):           NA

                                                                                                                       Drilling Method: Resonant Sonic
                                                                                                                       Driller: Water Development                    Co (Michael Wilkerson)
                                                                                                                       Logged By: Rachel Martinez, Jennifer Fellbaum
                                                                                                                       Reviewed By: David Harnish
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                                                                  5.9711-
                                                                                           CL      LIGHT OLIVE BROWN (2.5Y 5/3) CLAY (CL):        moist, very stiff, medium plastic, mottled iron staining
                       3.5 ppm
                                                                                           SM      LIGHT YELLOWISH BROWN (2.5YR 6/3) SILTY SAND (SM):          as 106-113 ft.

                                                                                           CL      LIGHT OLIVE BROWN (2.5Y 5/3) CLAY (CL), dry to moist, very stiff, medium plastic, mottled iron staining
                                                                             120-                  within sand lenses




                                                                  67121
                                                                                                   126:     micaceous, hord
                                                                                           IL/CH DARK GRAY (5Y 4/1) CLAY (CH) 19 ORGANIC SILT (ML): moist, hard, abundant shell frogmenls. fine-groined, well
                       .25 ppm                      PH6-128                                      graded sond, micaceous, low plasticity (0,20,80)
                                                      (CH)        4.7-/51                        129.0-130: groy (5Y 5/1) silty sond (SM), moist, fine, micaceous, dense (0,75.25)
                                                                             130-

                       i.25 ppm                                                                    132-132.5: interloyered sand and mottled clay
                                                                                                   132.5-133.0: silty sand, dry
                                                                                      /
                                                                                                   134.5-135.5:     grades to groy (5Y 5/1) to dork gray (5Y 4/1) to light olive groy (5Y 6/2) lo dork grayish brown
                                                                                                   135.5:    yellowish brown (10YR 5/6) silty sand, dense, moderately graded, subrounded. iron oxide stoin

                                                                  5.6710'    140-                  140.0-141.9: increase in sond. black organic (?) frogments, very fine to fine-grained,
                                                                                                   abundant wood fragments underlain by yellowish brown (2.5Y 6/4)
                                                                  1.9-/3-                          silty sond
                                                                                           CL      DARK GRAY (5Y 5/1-4/1) CLAY (CL): wet. stiff, some fine to medium sond

                                                                                           M/SW LIGHT GRAY (2.5Y 7/2) SILTY SAND WITH GRAVEL (SM/SW): dry to moist, dense, well graded, subrounded lo subongular
                       i.75 ppm                                                                 145.0-146.5: sample powdered due lo drilling difficulties, hard, dense
                                                                  4.7-/61
                                                                                                   149.0: sondy clay lense, moltled, olive (5Y 9/3)
                       5.0 ppm                                               150-                  149.8: color becomes light yellowish brown (2.5Y 6/4)
                                                                                                   151: iron staining
                                                                                                   152.9-154.0: dork grayish brown (2.5Y 4/2) cloy layer


                                                                  577-
                                                                                                   156.0-159:      troce coarse subrounded grovel, sample powdered

                                                                                                   158.8-159.7:     dark grayish brown (2.5Y 4/2) cloy (CL). hard
                                                                             160-
                                                                                           SM      LIGHT YELLOWISH BROWN (2.5Y 6/4) SILTY SAND (SM): moist lo wel, fine- lo medium-grained, moderately graded.
                                                                                                   dense, subangular (0,55,45)
                       5.0 ppm                                                                     162.5: becomes light groy (2.5Y 7/2). decrease in silt (0,65,35)
                                                                  8-/81
                                                    PH6-165                                M/ML    PALE OLIVE (5Y 6/3) SILTY SAND (SM) to SANDY SILT (ML): highly interbedded, moist lo wel. dense, very fine-
                       5.0 ppm                       (Silt)                                        groined, poorly graded, micaceous, fines ore nonplostic, poor dry strength, thinly laminated, iron oxide staining
                                                                                                   along lamination
                                                                                                   167.5: (0,65.35)
                                                                                                   168.5: (0.75.25)
                                                                             170-1                 171- (02080)
                                                                                                   Depth to Woter (OTW): 170 ft with 4-1/2-inch cosing al 196 fl ond 6-1/2-inch cosing ot 85 ft

                                                                  8.2710-
                                                                                                   175: becomes olive groy (5Y 5/2) (0,40,60)
                                                                                                   175.6-175.9: increases in sand
                                                                                                   178.5-178.6: sand lense
                                                                                            ML     DARK GRAY (5Y 4/1) SANDY SILT (ML): moisl, dense, moderate dry strength, nonplostic. micaceous, sand is very fine,
                                                                             180-                  (0.35,65)



                                                                                                   183.5:     thinly laminated, dip is 5-10 degrees from core axis

                                                                                     nr-   5M/SW   OLIVE GRAY (5TT/1) SILTY SANITWH GTwVtL~(Sfi/SW): mo?srTo~wet. dense, very fine- to coorse-gfgfneu. *eirgroded,
                                                                                                   rounded to subangular. micaceous, trace of rounded to subangular fine to coarse grovel
                                                    PH6-189                                        189.5: increase in silt, troce of grovel (5,65,30)
                                                     (SM)                    190-



                                                                                                   194.7-195.4: saturated
                                                                                                   196: very hard, cemented silty sond
                                                                                                   196.5-180: slightly moist to dry (core dried from resonating?)

                                                                   10-/131   200-
                                                                                                   DRILLING AND LOGGING NOTES:
                                                                                                    1.     Pilot hole PH-6 wos completed by Woler Development Corporotion using resonont sonic (RS) drilling to o
                                                                                                          depth of 196 ft on 8/9/94. PH-6 wos advanced through o temporary 6-5/8-inch (00) conductor casing set
                                                                                                          ol 85 It. PH-6 wos bockfiled with o bentonite-cement grout upon completion.

                                                                                                   2.     Soil samples wre collected during RS drilling using o 5.0 foot long, 2.75-inch (ID) diameter steel split
                                                                                                          core barrel.
                                                                             210-                  3.     (0,30,70) = Field estimate of sediment sizes (X grovel, % sond, X fines).
                                                                                                   4.     Boring log indicates subsurface conditions only ot the location ond time the boring was drilled.

                                                                                                   5.     Ground water encountered ot 194.5 - 196
                                                                                                   6.     A neutron log ond gommo-ray log were taken on 8/9/94 ot 10:08 to o depth of 181 ft.



                                                                    LOG OF BORING                                                                                      Page 2 of 2                           Figure
   € NV I RON
   Counsel in Health ond Environmental Science                      McColl Site                                Exhibit 39
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               StftX. SuiU 700. £m»»«llt. CoWomio W60»              Fullerton, California                        5072
                                                                                 Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 42 of 730 Page ID #:5116

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                                                                                                                                          Exhibit 39
                                                                                                                                            5073
                                        Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 43 of 730 Page ID #:5117
Ground Sur                  Elevation:287.30' Datum: Mean Sea Level
X CoordinateT6039566                                                Y Coordinate: 22731 67
                                                                                                                                                         7
                     Well Construction Details
                                        No Well Constructed                                                             Pilot Hole Drill Date(s):                        07/21/94 -               07/28/94

                                                                                                                         Well Completion Date(s):                        NA

                                                                                                                         Drilling Method: Resonant Sonic
                                                                                                                         Driller: Water Development Co (David Willie)
                                                                                                                         Logged By: Rachel Martinez, Steve LaMascus
                                                                                                                         Reviewed By: David Harnish
                                           JB                  V
                                            CL                            C
    Well                                                       Q.         OJ
                                            E
                                            D                   E
 Construction                              CO                   O
                                                               CO

                                            OJ                 w          QJ
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                                           o                   o
                                                               o
                                                                          U
                                                                          QJ
                                                                                         CJ
                                           E                             a:
                                           OJ
                                           s:                                                                            Material Description
                                o          O                                             O

                                                                                                     110-110.5: sample was hord. resonating core barrel disintegrated sample to powder (0,85.15)
                                                                                                     110-125: driller commented core dropped down very fast, indication of soft or wet material
                                                                                                     112-122: saturated, flowing sand, core wos disturbed and saturated




                                                                                                     Depth to Woter (DTW): Dry. Hole sounded to 119' (4.5" cosing ot 105')
                                                                                 120                        (Ground water was expected based on coring observations)



                                                                       5715-                         125-126:    dry, color becomes light groy
                                                                       r'/r
                                                                                              SM/SW LIGHT YELLOWISH BROWN SILTY SAND (SM/SW):        moist to wet, fine- to coarse-grained, subrounded
                                                         PH7-127                                     to rounded, loose to dense, poorly graded (5,80.15)
                            0 ppm                        (SP/SM)
                                                                                 130 -
                                                                       4.975'
                            3 ppm                                      r/f'                          131-132:     wet, no odor
                                                                                                     131-133:     grodes with cloy
                                                                                                     133-137:     grades very fine- to fine-groined, no grovel, loose (0,85,15)
                            1 ppm

                                                                       y/y
                            2 ppm                                                                    139-140:     moist to wet
                                                                                 140
                                                                       4.5'/5'

                                                                       373-                          143-144.5: dry to moist, some cross-bedding
                                                                                                     145-149: decrease in silt
                                                                                                     147-148: moist to wet
                                        PH7-147

                                                                                 150 -
                                                                       4.176'
                                                                                              M/ML   LIGHT YELLOWISH BROWN (IOYR 5/8) TO LIGHT GRAY (5YR 5/1). SILTY SANO to SANDY SILT (SM/ML):               moisl lo dry. very
                                                                                                     fine- to fine-groined, laminated, some cross-bedding, iron staining, trace of cloy, dense (0.85,15)
                            0 ppm
                                                                                                     157:    dip is 3-5 degrees from core axis in laminated sand
                                                                       7'/7'
                                                         PH7-158
                                                           (ML)                                      160:    coarse gravel
                                                                                 160 -
                            2 ppm                                                                    162:    dip is 5-10 degrees from core axis in cross-bedded sends

                                                                       5.3'/7'                       165-170:      moist to wet



                                                                       5'/5'     170 -
                                                                                              ML/SM LIGHT GRAY SANDY SILT (ML/SM):   very moist lo wet, iron oxide mottling near lop
                                                                                                     173.8-177.6: very moist, sond coarsens downward with fine sond                      . .„„„.„.
                                         PH7-173                                                     174.0-176.0: color becomes groy (5Y 5/1); fine lo medium, subrounded, loose, very moist (0,75.25)
                                                                       575'
                                                                                                     DTW:     dry wilh 4-1/2-inch casing at 174.0 ft
                            4 ppm
                                                                       373"                          DTW: 178 ft with 4-1/2-inch casing ot 179 ft
                                                                                                     179.90-181: very dork groy (5Y 3/1) cloyey to silty sond (SC/SM):         fine- to medium-groined with clay to silt
                                                                                 180
                                                                                              SM/SW OLIVE (5Y 5/3) SILTY SANO (SM/SW) WITH GRAVEL: moist, fine- to very coarse-grained, loose, subrounded,
                                                                       4.575'                       coarsens downward                      ,       ,
                                1 ppm                                                               183.5: color change to yellowish brown (IOYR 5/6); oxidized


                                                                                                     DRILLING AND LOGGING NOTES:                     *       "                          ~
                                                                                                      1. Pilot hole PH-7 was completed by Water Developmenl Corporation using Resonont Sonic (RS) drilling to 185 ft.
                                                                                 190-                    PH-7 wos advanced through o temporary 6-5/8-inch (00) conductor casing set to o depth of 91 ft. PH-7
                                                                                                         backfilled with o bentonite-cement grout upon completion.
                                                                                                     2.     Soil samples were collected during RS drilling using o 5.0 foot long, 2.75-inch (10) diameter steel split
                                                                                                            care barrel.
                                                                                                     3.     (0.30,70) = Field estimate of sediment sizes (% grovel, % sond. % fines).
                                                                                                     4.     Boring log indicates subsurface conditions only at the location and time the boring wos drilled.
                                                                                 200-




                                                                                 210-




                                                                         LOG OF BORING                                                                                   Page 2 of 2                           Figure
   € N V I R ON
   Counsel in Health and Environmental Science
    M*l Swltowunil Sir..!. Ml    700.    . Coition*]   »««0»
                                                                         McColl Site
                                                                         Fullerton, California
                                                                                                                 Exhibit 39
                                                                                                                   5074
                                                                                                                                                                                                                    A-7
                                          Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 44 of 730 Page ID #:5118

Approx. Grd."~Surfoce Elev.:264' Datum: Mean Sea Level                                                                                                "*""*'
Approx. X Coordinate: 6038822 Approx. Y Coordinate: 2272339                                                                                           ,_^                         ^
                                                                                                                                                      L_J W
                        Well Construction Details
                                                                                                                                                      r n o
                                         No Well Constructed                                                                                         Pilot Hole Drill Date(s):                          09/08/94 - 09/15/94

                                                                                                                                                     Well Completion Date(s):                           NA

                                                                                                                                                     Drill Method: Hollow Stem Auger/Mud Rotary
                                                                                                                                                     Driller: Water Development Co (David Willie)
                                                                                                                                                     Logged By: Rachel Martinez, Jennifer Fellbaum
                                                                                                                                                     Reviewed By: Rachel Martinez
                                              Chemical Test Sample




                                                                        QJ


                                                                                  Ft. Recovered/Driven
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         Well                                                           E
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 Construction                                                          CO
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                                O                                      D_                                    Q     CO O         CO

                                                                                                                                       Gross ol surface
                                                                                                                                 ML    VERY DARK GRAYISH BROWN (2.5Y 3/1) SILT WITH SANO (ML) (FILL?):            moist, dense, with gross roots, non-plostic. low
                                                                                                                                       dry strength, with some sand lenses (0,20,80)
                                                                                                                                       2.0-5.0: few calcium cemented nodules
                                                                               4'/4'
                                                                                                                                       5.5-6.5:     grodes yellowish brown (10YR 5/4)   (0.30,70)
                              .75 ppm


                                                                               275-                          10-]^
                                                                                                                                       10.0-11.0:     sand lense. fine- lo coarse-grained
                              .75 ppm


                                                                               275-                                                    15.0:    becomes yellowish brown (IOYR 5/4),     roots present
                             1.6 ppm


                                                                               4.1 '/S1
                                                                                                             20B~TI             SM     YELLOWISH BROWN (10YR 5/4) SILTY SAND (SM):
                                                                                                                                       troce iron oxide staining
                                                                                                                                                                                             moist, loose, line- to medium-grained, troce block organic mailer,

                                                                                                                                       23.0-23.3:     grodes coarse-grained
                                                                               3.3-/51
                                                                                                                                       25.5-26.0:     trace grovel
                             1.5 ppm


                                                                               3'/5'                         JU ••
                                                                                                                               GW/GH LIGHT OLIVE BROWN (2.5Y 5/3) to OLIVE (5Y 5/3) GRAVEL WITH SILT AND SAND (GW/GM):                 moist, very fine- to coarse-
                              .75 ppm                                                                                                grained, loose, subrounded grovel


                                                                               3.475-
                                                                                                                   flk               31.4-31.7: silt lense
                                                                                                                                                                     V 1
                                                                                                                                 CL VERY DARK CR»,Y!SH BROWN (2.5 3/ ) CUY (CL): i^o'st. dense, modiym nlostlcily
                             1.9 ppm                                                                                       /

                                                                                                                           /
                                                                                                             40                        38.5-39.0:     pole yellow sond (SP) lense, very fine-grained
                              .75 ppm
                                                                               4-/5-
                                                                                                                   B/      /
                                                                                                                           /           42.0-42.7:     very moist sondy cloy
                                                                     PH8-42
                                                                      (CL)                                                 /


                                                                                                                   i
                                                                               2.7'/5'                                          SM
                             20 ppm                                                                                                    PALE YELLOW (5Y 7/3) SILTY SAND (SM):          moist, loose, fine- to medium-groined, subangulor to subrounded (0.75.25)

                                                                                                                                       47.4:    becomes pale brawn (10Y 6/3)      decreases in grain size

                                                                               2.675                     1
                                                                                                             so -jy
                             1.90 ppm                                                                                                  52 9:    trace coarse gravel, subrounded
                                                                                                         1                             55:     becomes brownish, medium- lo coorse-groined with grovel
                                                                               2.9-/5
                             2.25 ppm
                                                                                                                   1             ML    OLWE BROWN SILT (ML): wet, soft, low dry strength, low plasticity with very fine sond lenses (0.30,70)
                                                                                                                                       58.0-58.4: olive brown gravelly silty sand (SM/SW): moisl, dense, partially cemented, subrounded (10,60.30)

                                                                               3.4'/5'                       eo -Jy
                             2.25 ppm                                                                                          SP/SM BROWN (7.5Y 5/2) SAND (SP/SM) WITH SILT INTERBEDS:             moist, very fine- to fine-grained loose, with silt lenses,
                                                                     PH8-63                                                          thinly bedded, grades to silt (0,89.11)



                                                                                                                   1
                                                                                                         1
                                                                     (SP/SM)   4.4-/5                                                63.5-64.4: sill lense
                                          PH8-65.5                                                                                   65.5-66.0: silt lense
                                                                                                                                     665-66.8: silt lense with troce subrounded fine grovel


                                                                               2.5'/5'                        70 IU
                                                                                                                                 ML    DARK OLIVE BROWN (2.5Y 3/1) SILI (ML) WITH CLAY AND SAND iNlERBtDS: moist, soil to firm, low dry strength, trace cloy
                                                                                                                                       locally with colcoreous inclusions, low plasticity, troce organic material, mottled
                             2.0 ppm                                                                                                   72.8-74 8: increase in CL content
                                                                                                                                       73.5-74.4: laminated
                                                                               4.8-/51                                                 74.4-74.: hard CL lense
                                                                                                                                       74.8: becomes olive
                             1.75 opm                                                                                                  76.0-76.3; hord cloy lense, high plasticity
                                                                                                                                        78.7-78.8: hord cloy lense, high plasticity

                                                                               4-/5-                          80 -Q
                              2.0 ppm                                                                                                  81.0: trace iron oxde staining
                                                                                                                                       81.5-83.0: thinly laminated sond
                                                                                                                                       83.0-84.2:     mottled sond. hard
                                                                               4.2'/5'                                                 85.5-87.5:     cloy
                              2.0 ppm
                                                                                                                                       87.5:     color change:   becomes light olive brown (2.5Y 5/3)    to pole yellow (2.5Y   7/3)

                                                                                                                                       91.5-92.5:     silt grades lo very fine sond
                                                                               5'/5-                          90     fl
                              1.8 ppm


                                                                                                                                 SP    PALE YELLOW (2.5Y 7/3)        SAND (SP):   moisl. loose, very fine- to fine-groined, homogeneous
                                                                               3'/5-

                              1.9 ppm

                                                                               4.1-/51                       100 -Q
                                                                                                                   1
                                                                                                                   I
                              2.0 ppm

                                                                               3.7-/S-
                              2.0 ppm                                PH8-106
                                                                      (SP)
                                                                               4.275'                                                  110.5-111.0: wet

                                                                                 LOG OF BORING                                                                                                          Page 1 of 3                           Figure
     € N V 1 R ON
     Counsel in Health and Environmental Scence
  5820 Sheilmound Street. Suit* 700, Emeryville. Colifornio           94608
                                                                                 McColl Site
                                                                                 Fullerton, California
                                                                                                                                                    Exhibit 39
                                                                                                                                                      5075
                                                                                                                                                                                                                                               A-8
                                        Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 45 of 730 Page ID #:5119
                   \    j                                                                                                                                    ^f-ff                                                                                           v J
Approx. Grd. Surface Dev.:264' Datum: Mean Sea Level
Approx. X Coordinate: 6038822 Approx. Y Coordinate: 2272339                                                                                                    ,_x                      ^
                                                                                                                                                               LJ                       W
                       Well Construction Deta s
                                                                                                                                                               r n                      o
                                        No Well Constructed                                                                                                 Pilot Hole Drill Date(s):                         09/08/94 -             09/15/94

                                                                                                                                                            Well Completion Date(s):                          NA

                                                                                                                                                            Drill Method: Hollow Stem Auger/Mud Rotary
                                                                                                                                                            Driller: Water Development Co (David Willie)
                                                                                                                                                            Logged By: Rachel Martinez, Jennifer Fellbaum
                                                                                                                                                            Reviewed By: Rachel Martinez
                                             Chemical Test Sample




                                                                       OJ


                                                                                 Ft. Recovered/Driven
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        Well                                                           E
                                                                       o
 Construction                                                         CO

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                                                                       CO                                         .
                                                                                                         Q- E g
                                                                                                         OJ 0 t                           '6                         Material Description
                               O                                      0_                                Q co c:                           CO
                            AU ppm                                                                              U
                                         PH8-111                                                                                         ML    DARK GRAY (5Y 4/1) to OLIVE (5Y 5/3) CLAYEY SILT (ML):          moist, with cloy ond silty sand lenses, dense, laminated,
                                                                                                                                               iron oxide staining, medium to nigh plasticity, medium stiff
                                                                                                                                                111.0-112.5: inferbedded with cloy lenses
                                                                               y/y                                                              115.0: becomes gray (5Y 5/1)
                                                                                                                                                116.2: becomes black (5Y 5.5/1)
                            1.8 ppm
                                                                                                                                                118.0:   becomes dork groy (5Y 4/1)
                                                                               A.y/y                    120-fl
                             .25 ppm


                                                                               4.8'/5'                                                          124.0-124.8: clay
                                                                                                                                                125.0: becomes very dark gray (2.5Y 3/1) to block (2.5Y 2.5/1)
                            3.0 ppm
                                                                                                                                                127.9:   color becomes pink (7.5Y 7/3), low plasticity

                                                                               575-                     130-H
                                                                                                                                                130.0-130.5:    saturated silty sand (SM) lense
                            2.9 ppm                                                                                                             130.5-133.0:    wet, silt with silty sond (SM) lense ot 131.5-132.0

                                                                                                                                                133.0-133.9:    cloy (CL)
                                                                               3.975-                                                           135.0-135.5:    saturated silty sond (SM)
                                        PH8-1355                                                                fl                       CL    LIGHT OLIVE BROWN (2.5y 5/3) CLAY (CL):       moist, dense, medium lo high plasticity, high dry strength
                                                                                                                                 /

                                                                    PH8-139    575-                     140-fly/                               140.5-140.8: saturated sond lense
                                                                     (CL)                                                                      Depth lo Woter (DTW): 133.7 ft with casing ot 140 ft ond o total depth of 145 ft




                                                                                                             iI
                                                                                                                                 /

                                                                                                                                         3M    LIGHT CLSVE BSC'.VN (2.5Y 5/8) SILTY SASD (SM):      moist to saturated, loese. vs*? «««- to fin«-n«?i.ied. homogeneous
                                                                               3.775-                                                          145.0-146.0: saturated
                                                                                                                                               146.5: wet
                            2.5 ppm


                                                                               4.2'/5'                  iso -H
                            6.0 ppm     PH8- 152.5                                                                                       ML     OLIVE (2.5Y 5/3) SILT (ML): wet to saturated, dense, medium plasticity, medium lo high dry strength, with
                                                                                                                                                sand and cloy lenses
                                                                               5'/5'                                                            154.7-155.0: silty sond lense
                            2.0 ppm
                                                                                                                                         SM    LIGHT OLIVE BROWN (2.5Y 5/3) SILTY SAND (SM):        moist lo wet. loose to dense, fine-grained, thinly laminated

                                                                               575-                     160-fl
                                                                    PH8-161
                             .75 ppm                                 (SM)
                                                                                                                                 '       ML/CL LIGHT OLIVE BROWN (2.5Y 5/3) SILT (ML) to CLAY (CL): moist to wet. dense, medium to high plasticity, medium to
                                                                               575-                                                            high dry strength, with sand lenses
                                                                                                                                               164.2-165.0: wet silty sond lense
                                                                                                                                               165.0-168.5: thin dork block cloy bond ot 165.5 with iron oxide staining

                            4.0 ppm                                                                                                             169.0-170.0: wet silty sond lense
                                                                               575"                     17ofl                                   170.0: wet, mottled sondy silt
                                                                                                                                                DTW:  169.3 with augers at 170 ft

                            2.75 ppm

                                                                               5-/51
                                                                                                                                          SM    LIGHT OLIVE BROWN (2.5Y 5/3) SILTY SAND (SM): moist to wet, dense, with soluraled sill lenses, trace of cloy,
                                                                                                                                                fine- to coarse-grained, with some fine to medium grovel
                            2.0 ppm
                                                                                                                                                176.0-176.3: sill lense
                                                                               575-                     180               fl.                   180.0-181.0:    silt lense, soluraled


                            2.25 ppm                                                                                                            LIGHT OLIVE BROWN (2.5Y 5/8) SILTY to GRAVELLY SANDS to SANDY GRAVELS (SM-GW):             saturated, loose, fine- to
                                         PH8- 182.5                                                                                  o iM/GW    coorse-gro ned, with fine lo coarse grovel, some cobble fragmenls
                                                                               4.9'/S'
                                                                                                                                                1865' cobble in shoe
                                                                                                                                     C          DTW: 150 ft «hlh augers -si 185 ft; py.-gcd approximately 91 gollow, S^ei D™ = 178.3 M; total depth = 190                  —
                                                                                                                                 o              Converted to mud rotary ol 190 to control heaving sands
                                                                               V/5-                                                  0          190.0: granitic cobble, subrounded, saturated
                                                                                                        190 -U
                                                                                                                                 O
                                                                                                                                     0
                                                                                                                                 o


                                                                                                                                 r
                                                                               0.5'/5'                                                          195.0:   grades with cobbles
                                                                                                                3                               OLIVE (2.5Y 5/3) CLAYEY SAND (SC): wel, loose, very (ine-groined, well graded, with silt lenses
                             1.0 ppm                                                                                                            198: very micaceous
                                                                                                                                                199.2-199.7: silt lense, moist to wet
                                                                               5'/5-                    200 -fl/F
                                                                                                                                  1 ML          OLIVE (2.5Y 5/3) CLAYEY SILT (ML): moist. Ihinlv laminated, arodes to clov
                                                                                                                                 / CH           BLACK (2.5Y 2.5/1) CLAY (CH): moist, dense, with organic material, highly plastic, iron oxide stoinmg,
                                                                                                                                                high dry strength, hard
                                                                               575-
                                                                                                                                 /              205.4-207.0:    sill lense. thinly laminated, abundant iron oxide staining


                                                                    PH8-208                                                      /
                                                                      (CH)     575-                     210-fl^
                                                                                                                                 /
                              0 ppm
                                                                                                                                 /
                                                                               575-                                                             215.25-215.5:     very dark gray silty sand (SM) lense, wet, very fine-groined
                                                                                                                 -^^            '
                                                                                                                                 /
                                                                                                                                          SM    BLACK (2.5Y 2.5/1) SILTY SAND (SM): wet to saturated, loose, fine- lo coorse-gramed, iron oxide staining, with
                                                                                                                                                thin clay lenses
                              0 Dom                                             4 7' /V                         i                               217.5-217.7 ond 219.4-219.7: thin black cloy lenses

                                                                                 LOG OF BORING                                                                                                                Page 2 of 3                            Figure
     CUV \ R O N                                                                                                                                           Exhibit 39
     Counsel in Health and Environmental Science                                 McColl Site        _                                                                                                                                                  A~8
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  5820 Sheilmound Street. Suite 700, Emeryville. Colilornio            94608     Fullerton, California
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                                        Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 47 of 730 Page ID #:5121

Ground Surface Elevation:263.79' Datum: Mean Sea Level                                                                                                                      ^*|r                               '                                                              v
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X Coordinate: 6038358            Y Coordinate: 2272207                                                                                                                      ,   A   ,                    ^                 ^ r-.                  / r-,                          ^ \
                        Well Construction Details                                                                                                                           \ \ r^                        \—>              t J                   / M                          M
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Blank Casing:
type:PVC                          diameter: 4. 00"                                   from:0.4'                                          to: 2 14.00'
Screens:                                                                                                                                                                    Pilot Hole Drill Date(s):                         08/31/94 - 09/07/94
type: Slotted              size: .020"                        dia:4.00" from: 214.00' to: 231 . 00'
                                                                                                                                                                            Well Completion Date(s):                          11/10/94 -                11/16/94
Annular Fill:
type: Bentonite             Slurry                                              from: 0.00'                                             to: 202. 00'                        Drill Method: ARCH/(Hollow stem auger)
type: Bentonite             Pellets                                             from: 202.00'                                           to: 208. ^,                         Driller: Water Development Co (Rodger Anderson)
type: Lonestar             #60                                                  from: 208.00'                                           to: 21 2.
type: Lonestar             $3                                                   from: 2 12. 00'                                         to: 236. 00'                        Logged By: Rachel Martinez, Jennifer Fellbaum
type: Fill                                                                      from: 236.00'                                           to: 239. 00"                        Reviewed By: Rachel Martinez
                                              Chemical Test Sample



                                                                          OJ



                                                                                         Ft. Recovered/Driven
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            Well                                                          E
                                                                          o
 Con: struc;tion                                                         CO
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                                                                         "5                                                    Sample                    £
                                                                          o                                         s:                                   h-
                                                                         '(fi                                       -4—*                                 _
    Top of Co >ing                                                         >>                                       CL
     Ele *. 263. 26             £                                        si                                         OJ                                   'o                         Material Description
                                                                         CL                                         Q
   1-   X                       O                                                                                                                        CO

                                                                                                                                                         ML   ASPHALT over oeo grovel rood base
                                                                                                                                                              LIGHT OLIVE GRAY (5Y 6/2) SANDY SILT (ML) ("FILL?): moisl, loose to firm wilh very line to line sand,

                              .75 ppm                                                 3'/3'
                                                                                                                           ;                                  subrounded to rounded, trace of cloy. Irace of grovel ond wood frogments (0,50.50)
                                                                                                                                                              2.5: contains wood (fairly fresh) (RLL?)
                                                                                                                                                              5.0-10.0: troce ol gravel, very fine lo medium sond
                                                                                                                                                              7.0: color becomes olive groy (5Y 5/2)
                                                                                                                                                              7-8: cloyey sond layer
                              .25 ppm
                                                                                      575'                           10-                                SM    OLIVE GRAY (5Y 5/2) SILTY SAND (SM): moist, loose, very line- to fine-groined, troce of cloy ond organic
                                                                                                                                                              material (0,70,30)                                                                                 *
                                                                                                                                                              11.0-11.75: block organic (') layer, irridescent
                             1.25 ppm                                                                                                                         12.0: color becomes olive brown (2.5Y 4/3)




                                                                                                                               |
                                                                                      475-                                                                    13.0-14.0: block speckles (organic?) ond cross-bedding
                                                                                                                                                              16.0-19.0: driller notes cobbles
        •                                                              PH9-16
                                                                        (SM)
                                                                                                                                                              19.0-20.0:    driller notes sand
                                                                                      175-                          20-

                              .75 ppm
                             5.25 ppm
                                                                                      072.5-
                                                                                                                                                         SW   LIGHT YELLOWISH BROWN (2.5Y 6/3) SAND (SW): very moist to wet, loose, poorly graded, with trace gravel ond
                             4.5 ppm
                             7.0 ppm
                                                                                      2.572.5-                                                                cobble, very fine- lo coorse-groined, subongulor to subrounded
                                          PH9-26.5                                                                                                            25.0: iron oxide staining
                                          PH9-27.0                                                                                                       ML   OLIVE BROWN (2.5Y 4/4) SILT (ML): moist to wel. soft to firm, slight plasticity, low dry strenglh. Iroce
                                                                                                                                                              of cobbles, some sond and clay lenses, locally laminated
                            2.25 ppm
                                                                                      375-                          30-

                                                                                                                                                              32.0: cobble fragment
                                                                                                                                                              33.0: cobble fragment
                                                                                      t.i'/y                                                                  32.S-36.5: iominoteo
                             2.5 ppm                                                                                                                          36.8-37.2:    sond lense, moist, very fine-groined, well graded


                                                                                      4'/5'                         40-




                                                                                                                               1
                                                                                                                                                              40.5-41.5:    color becomes dork grayish brown (2.5Y 4/2). grodes to olive (5Y 4/3)         cloy wilh iron oxide
                             7.0 ppm
                                                                                                                                                              41.7-43.5: po'e olive (5Y 6/3) to light yellowish brown (2.5Y 6/3)         sond to silty sond (SM):   loose, abundant
                                                                                                                                                              iron oxide lenses
        •                                                                             4.5'/5'                                                                 43.5-44.5: becomes cloyey. slight plasticity
                                                                                                                                                              44.5: color becomes olive (5Y 5/3;
                            2.75 ppm

                                                                                                                                                         CH   OLIVE GRAY (5Y 5/2) CLAY (CH): moist, very stiff to hord. with white colcoreous inclusions, hgh
                                                                       PH9-49         5751                          50-                                       plasticity, moderate dry strength, trace organic material
                             2.0 ppm
                                                                         (CH)
                                                                                                                                                              52.0-52.8: becomes pole olive (5Y 6/3)          with bonded organic (?) layer, iron oxide staining; slight increase in sond,
                                                                                                                                                 /            silt, ond iron-oxide stained lenses

                                                                                      2.875'
                                                                                                                                                 T SM         PALE YELLOW (5Y 7/4) SILTY SAND (SM):           loose, moist, very fine- to medium-grained, slightly oxidized toward
                            2.25 ppm


                                                                                      3.7-/51                       60-
                                                                                                                               1                 '
                                                                                                                                                 /
                                                                                                                                                              base, poorly graded
                                                                                                                                                          CHPALE OLIVE (5Y 6/3) CLAY (CH): moist, stiff, high plasticity, medium lo high dry strength, some laminations
                                                                                                                                                            of fine sand, sporadic rusty streaks


                                                                                                                               • / . SM/SVI PALE  OLIVE (5Y 6/3) SILTY SAND lo GRAVFUY SAND (SM-SW):
                                                                                                                                            mainly quorlz ana feldspar
                                                                                                                                                                                                                                    slightly moisl lo moisl. loose, line- lo coorse-groined.
                             2.5 ppm                                                                            1
                                                                                      4.2-/5
                                                                                                                                                              grovel (<3cm), granitoids, rounded to sub-rounded
                                                                                                                                                              gravel (<2.5cm), granitoids, rounded
                             2.25 ppm
                                                                                                                           '                             SM   LIGHT OLIVE BROWN (2.5Y 5/4)       SILTY SAND (SM):     moist to very moist, medium dense, very fine- lo fine-groined.
                                                                                      3.375'                         70-                                      micaceous
                             1.8 ppm


                                                                                      4.1-/5-

                             2.0 pprn
                                                                                                                                                               79.0-79.5:    silt (ML) bed with organic layer ot sharp upper contact (1 cm), moist
                                                                                      4.575'                         80-
                             1.75 ppm                                                                                                                          slight increase in groin-size
                                                                                                                                                               83.9-87.0: sharp contact with oxidized, coorser, fine to medium sond (SW)

                                                                                      3.7-/S-
                              2.0 ppm
                                                                                                                                                       y CH    LIGHT OLIVE BROWN (2.5Y 5/3) CLAY (CH): moist, very stiff to hord. medium to high plasticity, high dry strength
                                                                                                                                                               88.8-91.5: becomes olive brown (2.5Y 4/3): dense, micaceous
                                                                                      3.875'                         90-
                              1.7 ppm                                                                                                            /             92.0-94.5:    becomes clayey silt (ML):    stiff, with frequent beds and frogments of while colcareous inclusions

                                                                                                                                                 /
                                                                                      4.5-/51
                                                                                                                                                         ML    LIGHT OLIVE BROWN CLAYEY SILT (ML): moist, slightly plastic, low dry strength silt grading lo cloy
                             1.75 ppm                                                                                                                          97.0: white colcareous band
                                                                                                                                                               97.1: color becomes olive (5Y 5/3), medium dense, laminated with very fine sand

                                                                                      3.9-/51                       100-
                                                                                                                                                               101.8-102.0:     pale olive silty sond (SM):    very moist, loose, micaceous, poorly graded
                             1.75 ppm
                                                                                                                                                 ,«,           OLIVE BROWN (2.5Y 4/3) CLAY (CH):         stiff, dense, laminated, numerous rusty bonds and molllmg


                              1.4 ppm
                                                                                      4.1-/5                    1

                                                                                                                               w*                        ML    OLIVE (5Y 5/3) SILT (ML) WITH SILTY SAND INTERBEDS:
                                                                                                                                                               feldspar, poorly graded (0,48,52)
                                                                                                                                                                                                                            moisl lo very moist, very fine-groined, loose, with
                                                                       PH9-107
                                                                     (Sill or Cloy                                                                             109.0:   olive clay bed
                                                                                      475'
                                                                                        LOG OF BORING                                                                                                                          Page 1 of 3                             Figure
     € N V 1 RON                                                                        WELL CONSTRUCTION DETAILS                                                                                                                                                         »   ~
     Counsel in Health and Environmental Scence                                         McColl Site           Exhibit 39                                                                                                                                                 /V"~y
  5820 Sheilmound Street, Suit* 700. Emeryville, California             44608           Fullerton, California   5078
                                         Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 48 of 730 Page ID #:5122

Ground Surface Elevation:263.79' Datum: Mean Sea Level
X Coordinate: 6038358            Y Coordinate: 2272207

Blank Casing:
                        Well Construction Details                                                                 We                            P-9D                                       (P
type: PVC                         diameter: 4. 00"                      from:0.4'         to: 21 4. 00'
Screens:                                                                                                          Pilot Hole Drill Date(s):                         08/31/94 - 09/07/94
type: Slotted              size: .020" dia: 4.00"                       from: 214.00' to: 231.00'
                                                                                                                  Well Completion Date(s):                           11/10/94 -              11/16/94
Annular Fill:
type: Bentonite            Slurry                                    from: 0.00'          to: 202.00'             Drill Method: ARCH/(Hollow stem auger)
type: Bentonite            Pellets                                   from: 202.00'        to: 208.00'             Driller: Woter Development Co (Rodger Anderson)
type: Lonestar             #60                                       from: 208.00'        to: 21 2.00'
type: Lonestar             $3                                        from: 212.00'        to: 236.00'             Logged By: Rachel Martinez, Jennifer Fellboum
type: Fill                                                           from: 236.00'        to: 239.00'             Reviewed By: Rachel Martinez
                                               Q)
                                               CL
                                                                jU          C
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         Well                                  E
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 Construction                                                   CO
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                                                                co
                                              s:
                                                                >N
                                                                                                                        Material Description
                                              O                 0_


                             1.75 ppm                                                                113-117.5:     moderately laminated, well oxidized, wet, alternating layers of silt and sand moist lo slightly wel
                                                                         3.975-
                             1.75 ppm                                                          SM   PALE OLIVE (5Y 6/3) SILTY SAND (SM):           moist to very moist, loose, fine- to medium-groined, micaceous
                                                                         4.375-    120-

                              1.5 ppm

                                                                         3.875'

                                                                                             CL/ML OLIVE GRAY (5Y 4/2) to VERY DARK GRAY (5Y 3/1) CLAY (CL) and DARK GRAY (5Y 4/1) SILT (ML): interbedded, moist to
                             2.0 ppm                                                               very moist, dense, very fine-grained, occurs as irregular lenses and fragments within cloy contorted bedding
                                                                         475'      130-            in lower portion of unit (may be disturbed)

                             1.75 ppm

                                                                         575-                       135.5:   Block organic bed with wood/plont fragments
                              .75 ppm                                                          ML   OLIVE GRAY (5Y 5/2) SILT (ML):        moisl, loose to medium-dense, with very fine-groined sond, poorly graded

                                                                         4.175'    140-             increase 'm cloy, grodes with brownish rusty mottling

                                                         PH9-141.5                                  BLACK (5Y 2.5/2) SANDY CLAY (CL):          moist, dense, locally mottled, wilh fine-groined sand, occasional black
                             2.5 ppm                                                                organic fragments
                                                           (CO
                                                                         3.575-
                                                                                                    slight coarsening of sand grains, moist lo slightly moisl
                             2.25 ppm                                                               (driller reports ground woter at 143 ft)

                                                                         575'      150-             Depth to Woter (DTW):        dry with augers at 150 ft
                             2.0 ppm
                                                                                               SC   LIGHT OLIVE BROWN (2.5Y 5/4) CLAYEY SAND (SC):            dense, very fine- to fine-groined, with sond ond cloy lenses
                                                                                                    153.0-154.0: sond lense. thinly laminated
                                                                                                    154.0-155.0: cloy lense
                                                                         4.5575-
                                                                                                    becomes dork gray (5Y 4/1), saluroled
                             2.0 ppm
                                                                                                    158.9-159.85:     saturated zone, wet to approximately 160
                                                                         5'/5'     160-
                                                                                               CL   DARK GRAY (5Y 4/1) SANDY CLAY (CL):            moist to saturated, low dry strength, medium plasticity
                                           PH9-161
                                                                                                    163-163.5: saturated
                             2.2 ppm                                                                163.5-165.2: wet to very wel
                                                                         575-
                                                                                               SM   LIGHT YELLOWISH BROWN (2.5Y 6/3) SILTY SAND (SM):            moist to wel. loose, very fine-groined, sucrosic.
                             1.8 ppm                                                                granitic composition
                                                                                                    165.2-167: sillier, medium dense

                                                                         2.1-/51   170-
                                                                                                    thinly laminated wilh silt

                                                                         2.5751                     color change:     light olive brown (2.5Y 5/3):    moist, slightly sillier sond, wet

                                                                         2'/2-                      color change:     light yellowish brown
                             2.0 ppm
                                                                                                     180-183.5:     less silt, becomes fine, wet
                                                                         3'/3-     180-


                             2.5 ppm
                                                                         4-/5-                ML/CI YELLOWISH BROWN (IOYR 5/4) to LIGHT OLIVE BROWN (2.5Y 5/3) SILT WITH CLAY (ML/CL): moist to saturated, dense.
                                                                                                    thinly laminated
                                                                                                    186.4-186.8: mainjy clay, stiff, low plasticity
                                                                                                    185.7: black organic specks
                                                                                                    188.2: slightly contorted laminae
                             1.75 ppm                                    5'/5'                      189.5: saturated laminated zone
                                                                                   190-
                                                                                                    190: wet
                               0 ppm
                                                                                                    LIGHT OLIVE BROWN (2.5Y 5/8) SILTY SAND (SM): saturated, dense, some iron oxide staining, fine- to coarse-
                                                                                                    groined, with fine to medium grovel (10.75.15)
                                                                                                     190.0-190.5: very fine- lo fine-grained (0.60,40)
                                                                         2.8-/51
                                                                                                    LIGHT OLIVE BROWN (2.5Y 5/8) SILTY to GRAVELLY SANDS (SW/SM): saturated, fine- to coarse-grained, with grovel
                                           PH9-196                       T/T                        ond some cobble fragments (10.80,10)
                                                                                                     196.5: cobble frogments

                                                                         0-/31     200-
                              3.0 ppm                                                                201.0: cobble fragment
                                                                                                     201.0-202.0: very fine- to fine-groined, well graded (0.70,30)

                                                                         275-                        205-206.5: fine- to coarse-groined, poorly graded
                                                                                                     206.5-207.0: very fine- to fine-grained, increase in silt, micaceous, well graded
                                                              PH9-207                                VERY DARK GRAY (5Y 3/1) SILT (MH): (MARKER), very moisl, sliff plastic, high dry strength wilh Iroce of wood
                             2.75 ppm                          (MH)                                  frogments and abundant while (calcareous?) specks (0,30.70)
                                                                         575-      210-              VERY DARK GRAY (5Y 3/1) CLAYEY SAND (SC): very moist lo saturated, dense, very fine- to fine-groined, abundant
                                                                                                     white specks, fines ore plastic with high dry strength (0.60.40)
                                                                                              SW/Slu GRAYISH BROWN (2.5Y 5/2) SAND WITH SILT AND GRAVEL (SW/SM): saturated, poorly graded, very fine- to coorse-groined
                                                                                                     with fine lo coarse gravel, some cobbles, gravel is subrounded lo rounded, granitic and dioritic composition
                                                                         4-/5-                       (16.70.14)
                                                                                                     210.3-210.6: very fine sond lense
                                                                                                     211.5: cobble fragment
                                                                                                     214.0: cobble fragment
                                                                                                     218.5: red cobble fragment

                                                                          LOG OF BORING                                                                              Page 2 of 3                             Figure
     € N V I R ON                                                         WELL CONSTRUCTION DETAILS
     Counsel in Health and Environmentol Science
  £820 Sheilmound Street. Suite 700, Emeiyville, California    94608
                                                                          McColl Site
                                                                          Fullerton, California
                                                                                                Exhibit 39
                                                                                                  5079
                                                                                                                                                                                                               A-9
                                        Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 49 of 730 Page ID #:5123

Ground Surt'oce Elevotion:263.79' Datum: Mean Sea Level                                                                                                                                                                                        ^~^
X Coordinate: 6038358             Y Coord note: 2272207                                                                                          ,                           ^              ^ ^                   / ,_                                \
                       Well Construction Deta Is                                                                                                 \\      C\                  LJ             LJ                      LJ                       (Ji       \
Blank Casing:
                                                                                                                                                 We                          \              oU                    l^r n                       :3 )
type: PVC                        diameter: 4. 00"                              from:0.4*                               to: 2 14. 00'
Screens:                                                                                                                                        Pilot Hole Drill Date(s):                      08/31/94 -               09/07/94
type: Slotted             size: .020" die: 4.00"                               from: 214.00' to: 231 .00'
                                                                                                                                                Well Completion Date(s):                       11/10/94 -               11/16/94
Annular Fill:
type: Bentonite            Slurry                                        from: 0.00'                                   to: 202. 00'             Drill Method: ARCH/(Hollow stem auger)
type: Bentonite            Pellets                                       from: 202.00'                                 to: 208.^,               Driller: Water Development Co (Rodger Anderson)
type: Lonestar            #60                                            from: 208.00'                                 to: 2 12.
type: Lonestar            $3                                             from: 2 12. 00'                               to: 236. 00'             Logged By: Rachel Martinez, Jennifer Fellbaum
type: Fill                                                               from: 236.00'                                 to: 239. 00'             Reviewed By: Rachel Martinez
                                              Chemical Test Sample



                                                                       OJ



                                                                                  Ft. Recovered/Driven
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                                                                        >v                               O-      E      O                              Material Description
                                                                       JZ                                OJ o                  '5
                                g                                      CL                                Q CO          O       CO

                             10 ppm
                                                                     PH9-222
                                                                     (SW/SM)
                                                                                2.575-                                               223.0: granitic cobble fragment
                                                                                                                                     223.0-223.5: very fine- to medium-grained, micaceous, well graded sond. no gravel


                                                                                075'                     230 H

                             8.0 ppm                                                                                   fir    SM/Ml GRAY (5Y 5/1) SILTY SAND to SILT (SM/ML): wet to soturoted. dense, very fine- to fine-groined, micaceous
                                                                                                                                    231.5-232.5: grades from silty sond to sondy silt to silty cloy, thinly laminated with iron oxide staining,
                                                                                                                                    micaceous
                                                                                275-
                                                                                                                               ML    OLIVE (5Y 5/3) SILT (ML): wet to saturated, medium stiff, very fine sand lenses, iron oxide sloining, very low
                             .75 ppm                                                                                                 dry slrenth, very low plosticity
                                                                                                                                     236.0-237.0: with cloy
                                                                                2.5'/5'                  240 J                       240: wet, thinly laminated wilh iron oxide
                                                                                                                              SM/SW OLIVE (5Y 5/3) SILTY lo GRAVELLY SAND (SM/SW): saturated, loose, very fine- to coorse-groined, with fine
                                                                                                                                    subangular to subrounded grovel, trace of clay (5,80,15)
                                                                                2'/5-



                                                                                1.875'                             1

                                                                                                                                     DRILLING NOTES:
                                                                                                                                     1. Pilot hole PH-9 wos completed by Water Development Corporation using TT6llow~~Slem Auger (HSA) drilling lo o
                                                                                                                                        depth of 250 ft on 9/7/94. PH-9 was backfilled with a bentonite-cemenl grout upon completion.
                                                                                                                                     2. Soil samples were collected during HSA drilling using o 5" long Christiansen core barrel.

                                                                                                         260-                        3. (0,30.70) = Field estimate of sediment sires (X grovel, % sond. X fines).
                                                                                                                                     4. Boring log indicates subsurface conditions only ot the location ond time the boring wos drilled.
                                                                                                                                     5. A video log wos token on 1 1/23/94.
                                                                                                                                     6. Woter table encountered at 190 ft.
                                                                                                                                     MONITORING WELL NOTES:

                                                                                                         270-                        1. Well P-9D was constructed using oir rotary cosing hammer drilling lechniques. A temporary 11,75-inch
                                                                                                                                        conduclor wos set during conslruction of well P-9D to 155 It. The temporary conductor cosing
                                                                                                                                        wos removed following grouting the annular seol.
                                                                                                                                     2. Depth to Woter: P-9D wos 176.52 on 11/18/94.
                                                                                                                                     3. A dedcoted purging ond sampling, electric, submersible pump (2" diameter Grundfos RediFlo2)
                                                                                                                                         wos placed in well P-9D to o deplh of 224.0 ft. Pump intake wos set ot 223.0 ft.
                                                                                                                                     4. During well development, sand pock was observed lo be entering the well.
                                                                                                         280-                            A video log token on 11/23/94 did not indicate a breach in the well screen or cosing; however,
                                                                                                                                         o breach in the bottom cap wos suspected. Therefore, o graded filter pack wos placed in the well
                                                                                                                                         on 11/28/94 to prevent intrusion of the filter pock. The graded filter pock consisted of the following,
                                                                                                                                         in the order they were placed in the well:
                                                                                                                                                 0.5 ft. of 160 sand
                                                                                                                                                 0.5 ft. of 12/16 sand
                                                                                                                                                 0.5 ft. of |3 sond
                                                                                                                                                 0.5 ft. of Aguarium gravel
                                                                                                                                                 0.5 ft. of Pea grovel
                                                                                                                                                  0.5 ft. of 1-2 in. Rounded gravel
                                                                                                         290-                            Total deplh of well prior to placement: 229.60
                                                                                                                                          Total depth of well after placement: 226.43




                                                                                                         300-




                                                                                                         310-




                                                                                                         320-




                                                                                  LOG OF BORING                                                                                                  Page 3 of 3                           Figure
     € N V 1 R ON                                                                 WELL CONSTRUCTION DETAILS                                                                                                                               » ^
     Counsel in Health ond Environmental Scence                                   McColl Site           Exhibit 39                                                                                                                       A~<7
  5820 Sheilmound Street, Suite 700. Emeryville. California            94608      Fullerton, Cal fornia   5080
                                          Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 50 of 730 Page ID #:5124
Ground Surf                    Elevation: 249.03' Datum: MSL
X CoordinateTB037927                                                   Y Coordinate: 2272343

                        Well Construction Details                                                                                                         P-10L                                      (P
Blank Casing:
type: PVC                            diameter: 4.00in from: .5'                                    to: 247.70'
Screens:                                                                                                                     Pilot Hole Drill Date(s):                             9/15/94 - 9/21/94
type: Slotted size:.010in dia: 4.OOin from: 247.70'                                                to: 257.70'
Annular Fill:                                                                                                                Well Completion Date(s):                              6/27/95 - 7/19/95
type: Bentonite Chips                                                   from: 0.50'                to: 36.00'
type: Bentonite Slurry                                                  from: 36.00'               to: 236.00'               Drill. Method:Duol wall percussion/(Hollow stem auger, mud rotary)
type: Bentonite Pellets                                                 from: 236.00'              to: 240.10'               Driller: Layne Drilling (Dean Plautz)
type: Fill                                                              from: 240.10'              to: 242.00'
type: Lonestar #60                                                      from: 242.00'              to: 245.20'               Logged By: R. Martinez, S. LaMascus, M. McLeod
type: Lonestar #2/16                                                    from: 245.20'              to: 259.50'               Reviewed By: David Harnish
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     Well                                           Q.
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 Construction                                   CO               O
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                                                E               'co
   Top of Cosing                                OJ                                       CL                                    Material Description
    Elev. 248.63                                s:                                       OJ
                                                O                                       Q      o

                                                                                                    ML    VERY DARK GRAYISH BROWN (IOYR 3/2) SANDY SILT (ML) (FILL): slightly moisl, hard, slight plasticity, roots.
                             3.0 ppm                                                                      wood frogments, sporadic coarse-groined sond (lr.15-20.80-85)
                                                                            2.873'                        3.8-4.8: yellowish brown (10YR 5/4):   sandier, abundant roots, broken glass

                                                                                                          5.5: out of fill?
                             3.0 ppm                                                                      6-10.6: increase in clay, medium plasticity (5.25,70)
                                                                            4.175-      10-
                                                                                                    ML    DARK OLIVE GRAY (5Y 3/2)        SANDY SILT (ML):     fine- to coorse-sond. trace grovel, moist
                             3.5 ppm
                                                                                                          13.5-14.4:     grodes lo silly sond (SM):      very fine- to medium-groined, soft to medium dense
                                                                            4.475'
                                                                                                          15-18:     fines increase downward
                             3.0 ppm                        PH10-17
                                                            it or Clay)                                   18: grades with very fine sand, dense, mottled with calcareous zones (5Y 8/1),              increosing very fine sond
                                                                            5'/5'       20-               towards base of unit

                            2.75 ppm                                                                      calcareous silt/caliche at lower contact

                                                                            4.475'                  SM    LIGHT OLIVE BROWN (2.5Y 5/3)/LIGHT YELLOWISH BROWN (2.5Y 6/4) lo OLIVE BROWN (2.5Y 4/4) SILTY SAND (SM):
                                                                                                          moist, loose, fine- to very fine-grained, increasing oxidation downsection. micaceous, contains silt lenses
                             2.9 ppm                                                                      27.9-30.3:     olive gray (5Y 4/2) and while (5Y 8/1)        silt (MH) with calcareous veining:     soft, plastic,
                                                                                                          trace cloy
                                                                            3.8V5-      30-
                            2.75 ppm                                                                      32:     becomes light groy lo pale yellow, fine-groined, loose, micaceous, laminated (?). minor local oxidation

                                                                            3.7'/5'                       very moisl to wet
                            2.75 ppm

                                                                                                    MH    LIGHT GRAY (2.5Y 7/2)      to PALE YELLOW (2.5Y 7/4)       SILT (MH):     moisl to very moist, stiff, wilh very fine sond
                                                                            2.3751      40-

                             2.5 ppm

                                                                            4.2'/5'                 CL    OLIVE GRAY (5Y 5/2) CLAY (CL):           moisl. hord. mottled to vaguely laminated, high plasticity,
                                                                                                          isolated oxidation specks
                                                                                                          44.7-47.6:     slightly sondy, friable
                            4.25 ppm                                                                      47.6-48.6:     well laminated

                                                                            4.V/5-                  ML    OLIVE SILT (ML):     wel, loose, with very fine lo fine sand, abundant mica, thinly bedded
                                                             PHI0-50                    50-
                                                           ;Silt or Cloy)
                            3.25 ppm

                                                                            575'
                                                                                                          pole yellow (5Y 7/3)    sill al contact with clay (0.15')

                                                                                                    CL    BLACK (N 2.5) CLAY: moist, hard, plastic, isolated wood and root fragments, (race sond, abundant
                                                                                                          organic material
                            3.25 ppm        PHI0-59                         575-                          59-60: caliche fragments in cloy
                                                                                        60-

                                                                                                         65: depth to woter (DTW) = dry
                                                                            4-/5-                  ML/CL DARK GRAY (5Y 4/1) THINLY INTERBEDDEO CLAYEY SILTS WITH CLAY (ML/CL): moisl lo very moist, medium hord.
                             2.8 ppm
                                                                                                         medium plasticity; very fine-groined, loose, micaceous sand interbeds, abundant shell fragments (1,15,85)
                                                                                                          67.5-69.9:     mainly cloys, conchoidal limestone fragments (2-3cm)
                            2.25 ppm
                                                                            5'/5'       70-

                             2.5 ppm                                                                      DARK GRAY (5Y 4/1) CLAY (CH): stiff, high plasticity, high dry strength. with occasional sond bed
                                                                                                          72.4-73: silty sand, beds dip at approximately 6 degrees
                                                            PHI0-74         4-/5-
                                                                (CH)
                                                                                                          PALE OLIVE (5Y 6/3) to OLIVE YELLOW (2.5Y 6/8) SILT (ML): wel to saturated, loose, with interbeds of cloy ond
                                                                                                          very fins- lo msdiym-g-ained sc"d lenses, calcareous, upper con-loci oxidized, moinly quorl? wilh mico (0,65-70,30-35)
                             2.2 ppm                                                                      76.5-77: silly sond lense
                                                                                                          79.0-80.5: silly sond lense
                                                                            575-         80-
                                                                                                    SM    DTW: 37 fl with cosing ot 80 ft
                                            PHI0-81
                                                                                                          SAND:     no recovery, sample was saturated, was heaving into augers (4 ft), and it washed out of sampler

                                                                            1.S-/5-
                                                                                                     CL   DARK GREENISH GRAY (5GY 4/1) SANDY to SILTY CLAY (CL):                  moist, hord. high plasticity, poorly laminated,
                                                                                                          slightly calcareous
                             2.75 pKm                                                                     88.25:     becomes oxidized wilh increase in silt and sand
                                                                            5'/5'       90-
                                                                                                          92: saturated
                                                                                                          94.0-94.1: oxidized sond lense, fine-grained
                                                                                                          95: DTW = 55.5
                              9.0 ppm                                       5'/5-                   MH    OLIVE GRAY (5Y 5/2)SANDY SILT (MH) WITH CLAY:               moist to wet, soft to medium hord. plastic, moist to wel,
                                                                                                          fairly calcareous
                              9.0 ppm                                                                     96.9:     few caliche frogments
                                                                                1
                                                                            5-/5        100-        ML    LIGHT OLIVE BROWN (2.5Y 5/3] SILT (ML): very moist, slightly stiff, with very fine- to fine-grained sond.
                                                                                                          micaceous, mottling due lo oxidation, locally colcareous
                                                                                                          101.7-102.3:       saturated sand
                              9.0 ppm
                                                                                    1
                                                                            3.9-/5
                                                                                                          105.0-106.6:       grades with medium- lo coarse-grained sond


                                                                                                          slighl color change (2.5Y      5/4)

                                                                                                                                                                                                                               Figure
   € NV I RON                                                                LOG OF BORING
                                                                             WELL CONSTRUCTION DETAILS
                                                                                                                                                                                    Page 1 of 3

   Counsel in Health ond Environmental Science
    StX Slw&Ttound StrMt. Sort. 700. CiMryvan. Contort*   WK»
                                                                             McColl Site
                                                                             Fullerton, California
                                                                                                   Exhibit 39
                                                                                                     5081
                                                                                                                                                                                                                                A-10a
                 Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 51 of 730 Page ID #:5125
Ground Su  e Elevation:249.03' Datum: MSL
X CoordinaW6037927


Blank Casing:
type: PVC
                               Y Coordinate: 2272343
                        Well Construction Details
                                     diameter: 4.00in                    from: .5'                    to: 247.70'
                                                                                                                        TWe                                     P-10L                               (p
                                                                                                                                Pilot Hole Drill Date(s):                        9/15/94 - 9/21/94
Screens:
type: Slotted size:.010in dia: 4.OOin from: 247.70'                                                   to: 257.70'
Annular Fill:                                                                                                                   Well Completion Date(s):                          6/27/95 - 7/19/95
type: Bentonite Chips                                                   from: 0.50'                   to: 36.00'
type: Bentonite Slurry                                                  from: 36.00'                  to: 236.00'               Drill. Method:Dual wall percussion/(Hollow stem auger, mud rotary)
type: Bentonite Pellets                                                 from: 236.00'                 to: 240.10'               Driller: Layne Drilling (Dean Plautz)
type: Fill                                                              from: 240.10'                 to: 242.00'
type: Lonestor #60                                                      from: 242.00'                 to: 245.20'               Logged By: R. Martinez, S. LaMoscus, M. McLeod
type: Lonestar #2/16                                                    from: 245.20'                 to: 259.50'               Reviewed By: David Harnish
                                               JU
                                                a.                _OJ
      Well                                                         a.
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                                               SI
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                                                                  s:                                                              Material Description
                                               o                  CL                         CO   O

                                                                                                             110.0-110.5.       medium to coarse sond (slough7)

                             1.8 ppm                                                                   CH    LIGHT _YELLOWISH BROWN (2.5Y 6/3)       CLAY (CH):    wet lo saturated, medium hord. very plostic, micaceous, some
                                                                          2.775'                             oxidation mottling

                             1.9 ppm
                                                                                                             118.4:   minor caliche fragments
                                                                          575-        120-
                                                                                                       SP    OLIVE (5Y 5/3)     SAND (SP):    wet to saturated, fine-groined, loose, well lominoted, micaceous, wispy oxidation
                                                                                                             streaks
                             2.5 ppm

                                                                          2.975-

                                                                                                             thinly laminated
                             2.4 ppm                                      575-        130-




                                                                          3.6751

                             3 9 ppm                                                                         137.6-137.9:       color becomes very dork groy (5Y 3/1):     medium-groined sond
                                                                          2.975-      140-
                                                                                                             increase in silt, sands liner


                                                                                                             sandstone cobble
                                                                          2.575-
                             2.5 ppm


                                                                          1-/5-       150-



                                          PHI0-153
                                                                                                       CH
                                                                         3.675'                              DARK GRAYISH BROWN (2.5Y 4/2) CLAY (CH): moist, medium hard to hard, very plostic, light olive brown
                                                                                                             (2.5Y 5/4), oxidized mottling throughout carbonaceous specks on occasional beading planes, wood fragments (?)

                                                                                                       CL    LIGHT OLIVE BROWN (2.5Y 5/4) SANDY CLAY (CL): moist to wet, medium dense to dense, fine-groined, strong mottling
                             2 0 ppm                                                                         wilh grayish brown (2.5Y 5/2) cloy, generally well oxidized
                                                                         y/y          160-
                             2.3 ppm

                                                                                                             increasing sand
                                                                         y/y
                             2.5 ppm
                                                                                                       CH    GRAYISH BROWN (2.5Y 5/2)        SANDY CLAY (CH):     very moist to wet, soft, very plostic, oxidation specks

                                                                          2.575-      170-

                                                                                                       SP    BROWN (7.5YR 4/4)       SAND (SP):   fine-grained, loose, moist to saturated, micaceous

                             4.1 ppm                                      4.575-                       CH    DARK GRAYISH BROWN (2.5Y 4/2)        SANDY lo SILTY CLAY (CH):      moist, medium hord lo hord, medium plasticity
                                                            PH10-176
                                                                 (CH)

                                                                          3.375-      180-
                                                                                                             Base of unit is transitional: dark grayish brown (2.5Y 4/2) sondy to silly clay (CL) lo olive brown (2.5Y          4/4)
                                                                                                             silty sand: moist, dense, slightly plastic, strongly mottled, sporadic caliche fragments
                             2.6 ppm      PH10-183

                                                            PH10-185
                                                                          475-                        SM/SC LIGHT OLIVE BROWN (2.5Y 5/4) SILTY to CLAYEY SAND (SM/SC): moist to saturated, dense, very fine- to coarse-
                                                                                                            grained sand with gravel sized closls, gravels of granitic composition, generally oxidized
                                                           (SC or SM)
                             p.25 ppm

                                                                          3575-       190-
                                                                                                       SP    PALE YELLOW (5Y 7/3) SAND (SP) with sill:          very fine- to fine-groined sond. medium dense, very moist, slightly
                                           PH10-191                                                          micaceous, mild thiophene odor in samples
                             7.0 ppm

                                                                          3.375-
                                                                                                             becomes light olive brown (2.5Y 5/3).     slightly oxidized
                                         PHI 0-195.5
                             12.5 ppm                                                                        LIGHT OLIVE BROWN to BROWN (2.5Y 5/3-IOYR 5/3) SANDY to SILTY CLAY (CL). moisl lo very moisl, medium hard,
                                                                                                       CL
                                                                                                             very fine micaceous sand and silt, moderate plasticity, abundant round caliche specks and nodules, irregular oxidation
                                                            PHI0-200
                                                                          2.275-      200-
                                                                 (CL)
                             0.5 ppm
                                                                          1.671.6'
                             0.5 ppm                                      0.770.7'                     ML    LIGHT OLIVE (5Y 6/2) SANDY SILT (ML), with lighl groy (5Y 7/1)         caliche mottling, moist to dry, very stiff to
                              4 ppm                                                                          stiff, non-plastic, no odor (0, 30,

                                                                          1.6-/1.6'                          207.5-209: light brownish groy (2.5Y 6/2)      sond lense, wet. dense, sweet odor (0. 90, 10)

                                                                                      210-                   209: color becomes olive (2.5Y 4/3)
                                                                           . .                               210-210.5: gray silty sand lense, moisl to wet, dense, light thiophene odor (0, 70, 30)
                                            P10L-3                        1.271.2-                      SP   LIGHT OLIVE BROWN (2.5Y 5/3) and LIGHTGRAY (5Y 6/1) SAND (SP) wel, dense
                                                                                                       .—•   DARK GRAYISH BROWN (2.5Y 4/2) SANDY SILT (ML), moist, still, non-plostic. lighl sweet odor (0. 40. 60)
                                                                          1.571.51                      ML   213.7: sond (SP) layer
                                                                                                             214.5: water and cutlings hove strong odor; water fooms heavily ond is discolored, offer overnight pause
                                                                                                             in drilling, DTW = dry
                              3 ppm                                                                          215: silt increases to (0, 15-20. 85-80)
                                            P10L-4                                                                                                    white (2.5Y N8) caliche nodules, moist to wet, very stiff, strong
                                                                                                             217.7: color becomes gray (5Y 5/1) with whil
                                              P10L                        •). trn.tr                         chemical odor (0. 20-25. 80-75)


   € N V I R ON                                                             LOG OF BORING
                                                                            WELL CONSTRUCTION DETAILS
                                                                                                                                                                                  Page 2 of 3                            Figure

   Counsel in Health ond Environmental Science
    9020 SMItovxind SlrMt. Suit* 700, tmHfOH, Cd.lwrJo   (4(09
                                                                             McColl Site
                                                                             Fullerton, California
                                                                                                   Exhibit 39
                                                                                                     5082
                                                                                                                                                                                                                            A-10a
                                       Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 52 of 730 Page ID #:5126
iround Sur'                 Elevation: 249.03' Datum: MSL
X CoordinateT6037927                                                Y Coordinate: 2272343
                     Well Construction Details                                                                                                   P-10L                                   (P
Blank Casing:
type: PVC                         diameter: 4. OOin                   from: .5'               to: 247.70'
                                                                                                                      Pilot Hole Drill Date(s):                        9/15/94 - 9/21/94
Screens:
type: Slotted size:.010in dia: 4. OOin from: 247.70'                                          to: 257.70'
Annular Fill:                                                                                                         Well Completion Date(s):                         6/27/95 - 7/19/95
type: Bentonite           Chips                                      from: 0.50'              to: 36.00'
type: Bentonite           Slurry                                     from: 36.00'             to: 236.00'            Drill. Method:Dual wall percussion/(Hollow stem auger, mud rotary)
type: Bentonite           Pellets                                    from: 236.00'            to: 240.10'            Driller: Layne Drilling (Dean Plautz)
type: Fill                                                           from: 240.10'            to: 242.00'
type: Lonestar           #60                                         from: 242.00'            to: 245.20'            Logged By: R. Martinez, S. LaMascus, M. McLeod
type: Lonestar           #2/16                                       from: 245.20'            to: 259.50'            Reviewed By: David Harnish
                                            .OJ
                                             Q.
     Well                                                      a.
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                                                                                                                        Material Description
                              I             _c
                                            o
                                                              SI
                                                              CL                          O

                            1 ppm                                      0.571.0-                       219.8: woter ond cultings have strong chemical odor ond woter is discolored. Woter sample obtained from cosing
                            0 ppm                                         ' '                         with boiler on 6/29/95. 6/30/95 DTW = 107.06. 7/5/95 DTW = 102.24
                                                                                                      220.3: chemical odor decreases
                           I.25 ppm                                                                   220.8: color becomes olive groy (5Y 5/2), chemicol odor decreases (0. 40. 60)
                                                                       1.0'/1.0'               SP     LIGHT OUVE GRAY (5Y 6/2) SAND (SP) wet to soturaled, dense, slight chemicol odor (0, 90-95, 10-5).            Sond heaves
                            1 ppm
                                                                                                      225.9: 7/6/95 DTW = 138.62 ft. Woter has chemical odor. Heaving sands
                                                                                                      228: No odor to cuttings.
                                                                                   230-
                                                                                               M/ML   LIGHT GRAY (2.5Y 7/2) SANDY SILT lo SILTY SAND (SM/ML) moist, dense, non-plastic, no odor (0. 75-50, 25-50)
                           0.5 ppm
                                         P10L-H1                                                      finely lominoled
                            4 ppm                                                              ML     LIGHT GRAY (2.5Y 7/2) SANDY SILT (ML) moisl, dense, non-ploslic. no odor, finely laminated (0. 40-30. 60-70)
                                                                                                      234.4: becomes groy (2.5Y N5) with light olive brown (2.5Y 5.6) mottling, stiff (0. 15, 85)
                            0 ppm
                                                                                                      238-238.5: lighl olive brown (2.5Y 5/6) ond gray (2.5Y N6) sand with silt (SP-SM) lense
                                                                                                      238.5-239: gray (5Y
                                                                                                                        "" 5/1)
                                                                                                                            " '•' clay
                                                                                                                                     • (i
                                                                                                                                        'CL) lense with scattered white (5Y 8/1) nodules (colcilic?), moist, stiff to
                                                                        . .                                                             odor
                                                                                                      very stiff, medium plasticity, no o
                                                                       0.870.8-    240-        SP     OLIVE GRAY (5Y 5/2) SAND (SP) wet to saturated (0, 95, 5)

                                                         P10L-7
                                                          (SP)         1.571.5'                       CRAY (5Y 5/1) ond OLIVE (5Y 5/3) SILTY SANO (SM). wel, dense, non-ploslic, no odor (0, 70-80. 30-20)
                           1.2 ppm                       PIOL-8                                SM
                                                                       1.070.5-                       244.0: 7/7/95 DTW =148.3
                                                          (SM)         0.8'/0.8'
                           3.5 ppm      P10L-H2                                                       246.1: 7/10/95 DTW = 155.32
                           1.5 ppm                                                                    246.5: grades with decreasing silt, color becomes gray (2.5Y N/6), sond heaves


                                                                                   250-
                                                                                                      250: color changes slightly lo greenish groy (5GY 5/1).

                            0 ppm                                                                     252: scallered thin layers of dark greenish gray (5GY 4/1)    sondy sill to silt, wet, soft, low plasticity, no odor (0, 30, 70)
                                                                                                      254: troce coarse sond ond grcve!
                                                         P10L-9                                       255.5-255.7: gray (5Y 5/1) grovel lense. sandstone, medium-grained, moderately hard, strong
                            0 ppm                         (SM)                                        255.7-257: becomes well-graded, groy (2.5Y N6) sond (SW). wet to soluraled. dense, no odor (5. 90. 5)
                                                                                                      DARK GRAY (5Y 4/1) SANDY SILT (ML) moisl, very stiff lo stiff, low plasticity, no odor, micaceous (0. 30. 70)
                                                                                                      DARK GRAY (N4) SAND (SP), saturated, dense, no odor, abundant seoshell frogments. fine-grained.
                                                                                   260-
                                                                                                      260: 7/11/95 DTW = 170.4
                                        P10L-H3
                                                                                               ML     DARK GRAY (5Y 4/1) SILT TO SILT WITH SAND (ML) moisl. very stiff, low lo medium plasticity, no odor (0. 20-25. 75-80)
                           D.5 ppm                                     1.2-/1.21
                                                                                               SM     DARK GRAY (5Y 4/1) SAND (SM) moisl. very dense, no odor (0. 95, 5). fine-grained, scattered shell fragments.
                                                                       0.9-/0.9'
                            0 ppm
                            0 ppm                                      o.s'/o.g-
                                                                                   270-
                                                                                               CL     BLACK (N6) and DARK GREENISH GRAY (5GY 4/1)        CLAY (CL) dry. very sliff. medium plasticity, no odor
                           1.25 ppm                                    2.072.0'
                                                                       1.9-/1.9'                      270.9: Color changes lo very dork groy (5Y 3/1)     overall. Abundant thin, olive groy loyers <0.1-0.05 fl. thick ot random ongles



                                                                                                      DRILLING AND LOGGING NOTES:

                                                                                                      1.   Pilot hole PH-10 was completed by Woler Development Corporotion using Hollow Stem Auger (HSA) drilling
                                                                                                            to o depth of 105 ft. PH-10 wos advanced through o temporary 11-3/4-inch (00) conductor cosing set ot
                                                                                   280-
                                                                                                            15 ft. PH-10 wos continued with mud rotary drilling to o total depth of 205 ft on 9/21/94. PH-10 wos
                                                                                                            backfilled with o bentonite-cemenl grout upon completion.

                                                                                                      2.   Soil samples were collected during drilling using a 5-ft-long Christiansen core barrel.

                                                                                                      3.   (0.30,70) = Field estimate of sediment sizes (% gravel, % sand, % fines).

                                                                                                      4.   Boring log indicoles subsurface conditions only at the location and time the boring wos drilled.

                                                                                   290-
                                                                                                      MONITORING WELL NOTES:

                                                                                                      1.   Well P-10L was installed using dual wall percussion hammer drilling methods ond was located approximately
                                                                                                            15 feet from well P-10D. $91! samples between 199 ond 270 feet were collected with o modified California
                                                                                                           split spoon sampler driven with o standard drive hammer.

                                                                                                      "2T~Depni-lb-l?6TerrP^raL was 148.64 on 7/24/95.
                                                                                                      3.   A dedicated purging and sampling, electric, submersible pump (2" diameter grundfos Redi-Flo2)
                                                                                   300-                     wos placed in well P-10L to o depth of 257.7 ft. Pump intake was set ot 256.7 ft.

                                                                                                      4.   Below 226 feel no odor wos observed on soil samples from sampler. Slight odors were noted intermittently
                                                                                                            ol Ihe cyclone or over the cosing, after drilling shutdown. This was believed to represent residual chemicals
                                                                                                            on the drilling equipment.

                                                                                                      5.   Borehole backfilled 268-272.5 with benlonite ond 259.5 to 268 with native material.


                                                                                   310-




                                                                                   320-




                                                                                                                                                                                                               Figure
   € N V I R ON                                                          LOG OF BORING
                                                                         WELL CONSTRUCTION DETAILS
                                                                                                                                                                         Page 3 of 3

   Counsel in Health ond Environmental Science
    MM Stttlmoiml Start. faM TOO, Cflwyv.1ta, Cotton* »460S
                                                                         McColl Site
                                                                         Fullerton, California
                                                                                               Exhibit 39
                                                                                                 5083
                                                                                                                                                                                                                 A-10a
                                       Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 53 of 730 Page ID #:5127

 Iround Surface Elevation:248.84' Datum: Mean Sea Level
X Coordinate: 6037932             Y Coordinate: 2272357

                       Well Construction Details                                                                We                          P-10D (P
Blank Casing:
type: PVC                       diameter: 4.00"                      from:0.4'         to: 186.00'
                                                                                                               Pilot Hole Drill Date(s):                       09/15/94 - 09/21/94
Screens:                                                                                                       Well Completion Date(s):                        10/12/94 -                10/14/94
type: Slotted             size: .010" dia: 4.00" from: 186.00'to: 196.00'
                                                                                                               Drill Method: Dual Wall Percussion Hammer/
Annular Fill:
type: Cement Bentonite Grout                                     from:   1.00'         to: 176.00'                            (Hollow stem auger, mud rotary)
type: Bentonite Slurry                                           from:   176.00'       to: 181.00'             Driller: Layne Drilling (Dean Plautz)
type: Lonestar #60                                               from:   181.00'       to: 184.00'             Logged By: Rachel Martinez, Steve LaMascus
type: Lonestar #2/16                                             from:   184.00'       to: 200.00'
                                                                                                               Reviewed By: David Harnish
                                             .oj
                                                            _            c
                                              CL
                                                                Q.       OJ
        Well                                 E                  E
                                             o               D
                                            CO
 Construction                                               CO
                                             CO
                                             OJ                 CO       OJ
                                                                OJ
                                                                         OJ
                                             o                           O
                                             o                  o        o
                                                                CJ       OJ
                                             E              'co          a:
                                             V
                                            s:                                   Q)                                     Material Description
                               O            O               CL

                                                                                                   110.0-110.5:       medium to coarse sand (slough?)

                            1 8 ppm                                                         CH     LIGHT YELLOWISH BROWN (2.5Y 6/3) CLAY (CH): wet to soluroted. medium hard, very plostic. micaceous, some
                                                                      2.775-                       oxidation mottling

                            1 9 ppm
                                                                                                   118.4:   minor caliche frogments
                                                                      575-      120-
                                                                                            SP     OLIVE (5Y 5/3) SAND (SP): wet to saturated, fine-grained, loose, well laminated, micaceous, wispy oxidatipn
                                                                                                   streaks
                            2.5 ppm

                                                                      2.9'/5'


                                                                                                   thinly laminated
                            2.4 ppm                                   575-      130-



                                                                      3.6'/5'

                            3.9 ppm                                                                137.6-137.9:       color becomes very dork groy (5Y 3/1):   medium-groined sond
                                                                      2.9'/5'   140-
                                                                                                   increase in sill, sands finer

                                                                                                   sandstone cobble
                                                                      2.5'/5'
                            2.5 ppm


                                                                      r/y       150-


                                        PH10-153
                                                                      3.6'/5'               CH     DARK GRAYISH BROWN (2.5Y 4/2) CLAY (CH): moisl. medium hord to hard, very plostic, light olive brown
                                                                                                   (2.5Y 5/4), oxidized mottling throughout carbonaceous specks on occasional beading planes, wood frogments (?)
                                                                                                   LIGHT OLIVE BROWN (2.5Y   5/4) SANDY CLAY (CL): moist to wel, medium dense lo dense, fine-groined, strong molding
                                                                                                                       2.5Y 5/4
                            2.0 ppm                                                         CL     with grayish brown (2."' ' '"' cloy,
                                                                                                                       !.5Y 5/2)   -'- generally        -!j:—•
                                                                                                                                               " well" oxidized
                                                                      5'/5-     160-
                            2.3 ppm

                                                                                                   increasing sand
                                                                      575'
                            2.5 ppm
                                                                                                   GRAYISH BROWN (2.5Y 5/2) SANDY CLAY (CH):         very moist lo wet. sofl. very plostic. oxidation specks
                                                                                            CH
                                                                      2.5'/5'   170-
                                                                                       \/
                                                                                            SP     BROWN (7.5YR 4/4) SAND (SP): fine-grained, loose, moist to saturated, micaceous
                            4.1 ppm                                   4.5'/5'
                                                                                            CH     DARK GRAYISH BROWN (2.5Y 4/2) SANDY to SILTY CLAY (CH):          moisl. medium hord to hard, medium plosticily
                                                        PH10-176
                                                          (CH)
                                                                      3.3-/S-   180-               3pse of unit is transitional: dark grayish brown (2.5Y 4/2) sondy to silty cloy (CL) lo olive brown (2.5Y 4/4)
                                                                                                   iitly sond: moist, dense, slightly plastic, slrongly mottled, sporadic caliche frogments
                            2.6 ppm      PH10-183
                                                                      475'                         LIGHT OLIVE BROWN (2.5Y 5/4) SILTY to CLAYEY SAND (SM/SC): moisl lo saturated, dense, very fine- to coarse-
                                                        PH10-185                            M/SC   grained sand with gravel sized clasts, grovels of granitic composition, generally oxidized
                                                        (SC or SM)
                            3725 ppm

                                                                      3.575-    190-
                                         PH10-191                                           SP     PALE YELLOW (5Y 7/3) SAND (SP) with silt:        very fine- to fine-groined sond, medium dense, very moist, slightly
                             7.0 ppm                                                               micaceous, mild thiophene odor in samples

                                                                      3.375-
                                                                                                   becomes lighl olive brown (2.5Y 5/3), slightly oxidized
                                        PHI 0-195.5
                            12.5 ppm
                                                                                            CL     LIGHT OLIVE BROWN to BROWN (2.5Y 5/3-10YR 5/3) SANDY to SILTY CLAY (CL): moist to very moist, medium hord.
                                                                      2.2751    200-               very fine micaceous sand and silt in mottled texture, moderate plasticity, abundant rounded caliche specks and
                                                        PH10-200                                   nodules, irregular oxidation accentuates mottling
                                                          (CL)                                     202-202.4: oxidized sand lense

                             3.9 ppm     PHI0-204                     575'
                                                                                                   DRILLING AND LOGGING NOTES:
                                                                                                   1.   Pilot hole PH-10 wos completed by Woler Developmenl Corporation using Hollow Stem Auger (HSA) drilling
                                                                                                         to o depth of 105 ft. PH-10 wos advanced through a temporary 11-3/4-inch (OD) conductor cosing set ot 15 ft.
                                                                                210-                     PH-10 was continued with mud rotory drilling lo o total deplh of 205 fl on 9/21/94. PH-10 was wos backfilled
                                                                                                        with a bentonite-cement grout upon completion.

                                                                                                   2.   Soil samples were collected during HSA drilling using 3" CA Splil Spoon.

                                                                                                   3.   (0,30.70) = Field estimole of sediment sizes (% grovel, X sond. % fines).
                                                                                                   4.   Boring log indicates subsurface conditions only ot the location ond time the boring wos drilled.


                                                                         LOG OF BORING                                                                           Page 1 of 3                             Figure
     € NV I RON                                                          WELL CONSTRUCTION DETAILS
     Counsel in Health and Environmental Science
  5820 Sh«llmound SUni, lull* 700, Emeryville, California   94608
                                                                         McColl Site
                                                                         Fullerton, California
                                                                                               Exhibit 39
                                                                                                 5084
                                                                                                                                                                                                        A-10b
                                       Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 54 of 730 Page ID #:5128

Ground Surface Elevation:248.84' Datum: Mean Sea Level
X Coordinate: 6037932            Y Coordinate: 2272357


Blank Casing:
                       Well Construction Details                                                                    We                          P-10D (PH
type: PVC                       diameter: 4.00"                      from:0.4'              to: 186 00'            Pilot Hole Drill Date(s):                        09/15/94 - 09/21/94
Screens:                                                                                                           Well Completion Date(s):
type: Slotted            size: .010" dia: 4.00"                      from: 186.00'to: 196, 00'
                                                                                                                                                                    10/12/94 - 10/14/94
                                                                                                                   Drill Method: Dual Wall Percussion Hammer/
Annular Fill:
type: Cement Bentonite Grout                                   from:     1.00'              to: 176, 00'                          (Hollow stem auger, mud rotary)
type: Bentonite Slurry                                         from:     176.00'            to: 181 00'            Driller: Layne Drilling (Dean Plautz)
type: Lonestar #60                                             from:     181.00'            to: 184 00'            Logged By: Rachel Martinez, Steve LaMascus
type: Lonestar #2/16                                           from:     184.00'            to: 200 00'
                                                                                                                   Reviewed By: David Hornish
                                                             _OJ         C
                                              Q.
                                                              a.         OJ
        Well                                  E
                                              O               E          'd
                                             CO               o         Q
 Construction                                                CO
                                                                        \
                                              CO                         T3
                                              OJ             CO           flj
                                                             flj          ±-
                                                                          OJ
                                                                          >
                                              o                           o
                                              CJ             o            o            OJ    U
                                                             CJ          OJ
                                             'Eflj           'co
                                             sz                                                                             Material Description
                                             O
                                                                                                       110.0-110.5:       medium lo coarse sand (slough?)

                             .8 ppm                                                              CH    LIGHT YELLOWISH BROWN (2.5Y 6/3) CLAY (CH):          wet to saturaled, medium hord, very plastic, micaceous, some
                                                                      2.r/y                            oxidation mottling

                             .9 ppm
                                                                                                       118.4:   minor caliche fragments
                                                                      y/y       120-
                                                                                                 SP    OLIVE (5Y 5/3) SAND (SP):       wet to saturated, fine-grained, loose, well laminated, micaceous, wispy oxidation
                                                                                                       slreoks
                            2.5 ppm

                                                                      2.975-

                                                                                                       thinly laminated
                            2.4 ppm                                   575-      130-




                                                                      3.6'/5-


                            3.9 ppm                                                                    137.6-137.9:       color becomes very dark gray (5Y 3/1):   medium-groined sond
                                                                      2.9'/5'   140-
                                                                                                       increase in sill, sands finer


                                                                                                       sandstone cobble
                                                                      2.5'/5'
                            2.5 ppm


                                                                                150-1


                                         PH10-153
                                                                      3.675'                     CH    DARK GRAYISH BROWN (2.5Y 4/2) CLAY (CH): moist, medium hard to hard, very plostic. light olive brown
                                                                                                       (2.5Y 5/4). oxidized motlling throughout carbonaceous specks on occasional beading planes, wood frogments (?)
                                                                                                       LIGHT OLIVE BROWN (2.5Y 5/4) SANDY CLAY (CL): moist lo wel, medium dense to dense, fine-grained, strong mottling
                            2.0 ppm                                                              CL    with grayish brown (2.5Y 5/2) clay, generally well oxidized
                                                                      575'      160-
                            2.3 pom

                                                                                                       increasing sand
                                                                      5'/5-
                            2.5 ppm
                                                                                                       GRAYISH BROWN (2.5Y 5/2) SANDY CLAY (CH):          very moisl to wet, soft, very ploslic, oxidation specks
                                                                                                 CH
                                                                      2.575-    170-


                                                                                                 SP    BROWN (7 SYR 4/4) SAND (SP):        fine-groined, loose, moist to saturated, micaceous
                            4.1 ppm                                   4.575-
                                                                                                 CH    DARK GRAYISH BROWN (2.5Y 4/2) SANDY lo SILTY CLAY (CH):           moisl. medium hard to hord, medium plasticity
                                                        PH10-176
                                                          (CH)
                                                                      3.3'/5'   180-
                                                                                                        lose of unit is transitional: dark grayish brown (2.5Y 4/2) sondy to silly clay (CL) to olive brown (2.5Y 4/4)
                                                                                                        iltly sond: moisl, dense, slightly plastic, strongly mottled, sporadic caliche fragment!
                             2.6 ppm     PH10-183
                                                                      4-/5-                            LIGHT OLIVE BROWN (2.5Y 5/4) SILTY to CLAYEY SAND (SM/SC): moisl lo saturated, dense, very fine- to coarse-
                                                        PH10-185                                 iM/SC grained sand with gravel sized clasts, gravels of granitic composition, generally oxidized
                                                        (SC or SM)
                            3.25 ppm

                                                                      3.5'/5'   190-
                                         PH10-191                                                 SP   PALE YELLOW (5Y 7/3) SAND (SP) with silt:         very fine- to fine-groined sond. medium dense, very moist, slightly
                             7.0 ppm                                                                   micaceous, mild thiophene odor in samples

                                                                       3.375'
                                                                                                       becomes light olive brown (2.5Y 5/3). slightly oxidized
                                        PH10-195.5
                            12.5 ppm
                                                                                                  CL   LIGHT OLIVE BROWN to BROWN (2.5Y 5/3-IOYR 5/3) SANDY to SILTY CLAY (CL): moist lo very moisl. medium hord,
                                                                       2.275'                          very fine micaceous sand ond silt in mottled texture, moderate plasticity, abundant rounded caliche specks ond
                                                         PH10-200               200-
                                                                                                       nodules, irregular oxidation accentuates mottling
                                                             (CL)                                      202-202.4: oxidized sond lense

                             3.9 ppm      PH10-204                     5'/5-
                                                                                                        DRILLING AND LOGGING NOTES:
                                                                                                        1.   Pilot hole PH-10 was completed by Woter Development Corporation using Hollow Stem Auger (HSA) drilling
                                                                                                              to o depth of 105 fl. PH-10 wos advanced through a temporary 11-3/4-inch (QD) conductor cosing set al 15 ft.
                                                                                210-
                                                                                                              PH-10 wos continued wilh mud rotary drilling to a "total deplh of 205 ft on 9/21/94. PH-10 was was backfilled
                                                                                                              with o bentonite-cement groul upon complelion.
                                                                                                        2.   Soil samples were collected during HSA drilling using 3" CA Split Spoon.
                                                                                                        3.   (0.30,70) = Reid estimate of sediment sizes (% grovel, % sand, % fines).
                                                                                                        4.   Boring log indicotes subsurfoce conditions only ot the locotion ond time Ihe boring wos drilled.



                                                                         LOG OF BORING                                                                                Page 2 of 3                             Figure
     € NV I RON                                                          WELL CONSTRUCTION DETAILS
     Counsel in Health and Environmental Science^
  S820 Sh»llmound Str«l. Suite 700, Em«ryvill«. California   94608
                                                                         McColl Site
                                                                         Fullerton, California
                                                                                               Exhibit 39
                                                                                                 5085
                                                                                                                                                                                                             A-10b
                                      Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 55 of 730 Page ID #:5129

Ground Surface Elevation:248. 84' Datum: Mean Sea Level
X Coordinate: 6037932             Y Coordinate: 2272357                                                                               i j (                    ^                ,^r-^                    /r-^,                , ^ \
                                                                                                                                       \/\/ 0                   LJ
                      Well Construction Details                                                                                        we                       r                lULJ1                    LJ
                                                                                                                                                                                                         l^rn                  Ml
                                                                                                                                                                                                                              lU y
Blank Casing:
type: PVC                      diameter: 4.00"                             from:0.4'                           to: 186.(D0>
                                                                                                                                      Pilot Hole Drill Date(s):                    09/15/94 - 09/21/94
Screens:                                                                                                                              Well Completion Date(s):                      10/12/94 -              10/14/94
type: Slotted           size: .010" dia: 4.00"                             from: 186.00' to: 196.(
                                                                                                                                      Drill Method: Dual Wall Percussion Hammer/
Annular Fill:
type: Cement Bentonite Grout                                        from:      1.00'                           to: 1 76.-)(y
                                                                                                                         (                           (Hollow stem auger, mud rotary)
type: Bentonite Slurry                                              from:      176. 00'                        to: 181.1DO'           Driller: Layne Drilling (Dean Plautz)
type: Lonestar #60                                                  from:      181. 00'                        to:184.(^9..           Logged By: Rachel Martinez, Steve LaMascus
type: Lonestar #2/16                                                from:      184. 00'                        to: 200.(              Reviewed By: David Harnish
                                           Chemical Test Sample




                                                                  oj

                                                                              Ft. Recovered/Driven
                                                                  Q.
        Well                                                      E
                                                                  o
  Construction                                                    CO
                                                                  "en                                           CT>
                                                                  OJ                                            O
                                                                                                                      OJ
                                                                  "o                                            0
                                                                                                                      a.
                                                                   o
                                                                  'cn
                                                                                                     -C
                                                                                                     "a.
                                                                                                               !
                                                                  s:                                 OJ        B '6                         Material Description
                              0                                   CL                                 Q         o CO
                                                                                                           .               MONITORING WELL NOTES:

                                                                                                           •                   Well P-10D wos constructed with dual wall percussion hammer drilliong techniques
                                                                                                           .               2. Depth to Woter: P-10D was 109.57 on 11/15/94
                                                                                                                           3. A dedicated purging ond sampling, electric, submersible pump (2" diameter Grundfos Redi-Flo2)
                                                                                                                               wos placed m well P-tOD to o deplh of 196.0 fl. Pump inloke wos set ot 1950 ft.
                                                                                                     230-




                                                                                                     240-




                                                                                                     250-




                                                                                                     260-




                                                                                                     270-




                                                                                                     280-




                                                                                                     290-




                                  -

                                                                                                     300-




                                                                                                      310-




                                                                                                      320-




                                                                                LOG OF BORING                                                                                         Page 3 of 3                         Figure
     € N V 1 R ON                                                               WELL CONSTRUCTION DETAILS
                                                                                McColl Site
                                                                                                                                                                                                                          A   4f\L*
                                                                                                                                                                                                                          M" lUD
     Counsel in Health ond Environmental Science                                                      Exhibit 39
   5820 Sheilmound Street. Suit* 700. Emeryville. CoMomio          94608        Fullerton, California   5086
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 56 of 730 Page ID #:5130




                                        APPENDIX A

                                    ATTACHMENT 2:
                            WELL PERMITS AND DOCUMENTATION




     McColl Site Group         —    ~   —                              ~   ~
     k vdettmccoiivo3-3493xvappxa doc             A.4-4          December 29, 1995
                                            Exhibit 39
                                              5087
           Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 57 of 730 Page ID #:5131
                              APPLICATION FOR WELL CONSTRUCTION PERMIT
                           ORANGE COUNTY HEALTH CARE AGENCY                    2009 E. EDINGER
                           ENVIRONMENTAL HEALTH DIVISION                       SANTA ANA, CA 92705
                                                                               (714)667-3601


  1. CITY                                                                                                       2. DATE

          7TJLLERTON                                                                                                       JUNE 16,         1995
      7
 V- ELL LOCATION                                              (NEAREST INTERSECTION)
       SEE ATTACHED SITE PLAN (FIGURE 12)
 4. NAME OF WELL OWNER                                                         7. TYPE OF WELL                      D SOIL BORING          NUMBER.
     MCCOLL SITE GROUP                                                          D PRIVATE DOMESTIC                  0 CATHODIC             NUMBER,
      ADDRESS                                                                   D PUBLIC DOMESTIC                   £3 MONITORING          NUMBER,
       2650 ROSECRANS AVENUE                                                    D IRRIGATION                        D OTHER                NUMBER
      CITY                                             TELEPHONE               8. TYPE OF CASING
       FULLERTON
 5. NAME OF CONSULTING FIRM
       ENVIRON CORPORATION                                                              4-INCH PVC
      BUSINESS ADDRESS
       5820 SHELLMOTJND STREET, SUITE 700
      CITY                     ZIP           TELEPHONE                         9. METHOD OF SEALING CASING AND/OR EXCAVATION
       EMERYVILLE          CA 94608        (510) 655-7400                         (Use additional sheets)
 6.   NAME OF DRILLING CO.         C-57 LICENSE NO.
       LAYNE-WESTERN COMPANY                510011                                 SEE ATTACHED FIGURE FOR WELL COMPLETION
       ITY                                  TELEPHONE                              DETAILS.
       FONTANA                         (909)    355-3355                           DEPTH OF SEAL

 1 0. DIAGRAM OF WELL SITE (Use additional sheets and/or attachments)
                       i
                                                                               I hereby agree to comply in every respect with all
                                                                               requirements of the Health Care Agency and with all
                                                                               ordinances and laws of the County of Orange and of the
      SEE ATTACHED SITE PLAN FOR MONITORING                                    State of California pertaining to well construction,
      WELL P-10L.                                                              reconstruction and destruction, including the requirements
                                                                               to maintain the integrity of all significant confining zones.



                                                                                   . -1 .. / / - . ,;.,, f                  JUNE 16, 1995
                                                                               APPLICANTS SIGNATURE '                               DATE


                                                                                SANDRA L. MAXFIELD
                                                                               PRINT NAME

  PLEASE ATTACH WELL CONSTRUCTION SPECIFICATION AND SITE PLAN TO THIS PERMIT
                                                                                                                    (510) 655-7400
f <~| ATTACHED                                                                                                  PHONE NUMBER

K/rt ACCOUNTING USE ONLY:                                                      DISPOSITION OF PERMIT (DO NOT FILL IN):

  HSONO }^r7\ / ( )         )         CHECK NO                                       APPROVED SUBJECT TO THE FOLLOWING CONDITIONS:
                                                 1
  DATE.          /J<7/95              AMOUNT _                                      A. NOTIFY THIS AGENCY AT LEAST 48 HOURS

  INTL.                               LOG                                               n    PRIOR TO^
APPROVAL BY OTHER AGENCIES:
                                                                                        n    PRIOR TO SEALING THE ANNULAR SPACE OR FILLING OF
                                                                                             THE CONDUCTOR CASING

  REMARKS.                                                                          B. 0 SUBMIT TO THE AGENCY WITHIN 30 DAYS AFTER
                                                                                         COMPLETION OF WORK, A WELL COMPLETION REPORT
                                                                                         AND/OR DRILLING LOGS

                                                                                    C. Q SECURE ALL MONITORING WELLS TO PREVENT
                                                                                         TAMPERING.

                                                                                    D. D OTHER

                                                                               Q    DENIED



  AUTHORIZED SIGNATURE                               DATE                          PERMIT ISSUED BY   /~)/\/(   '   /V//]7^(J \        DATE
                                                                    Exhibit 39
           WHEN SIGNED BY ORANGE COUNTY                               5088 REPRESENTATIVE, THIS APPLICATION
                                                       HEALTH CARE AGENCY                                                           IS A PERMIT.
                         Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 58 of 730 Page ID #:5132
                                            APPLICATION FOR WELL CONSTRUCTION PERMIT
                                                  ORANGE COUNTY HEALTH CARE AGENCY                             2009 E EDINGER
                                                  ENVIRONMENTAL HEALTH DIVISION                                SANTA ANA, CA 92705
                                                                                                               (714) 667-3601

            fc
             ~ CITY                                                                                                                      2. DATE
            . X5TJLLERTON                                                                                                                  JUNE 10, 1994
             3. WELL LOCATION                                                         (NEAREST INTERSECTION)
                                                                                                                                                                               m
                SEE LOCATION BELOW #10                                                                                                                                         Zl
             4. NAME OF WELL OWNER                                                                             7. TYPE OF WELL (CHEC K) D SOIL BORING                          S
                                                                                                                                                                  NUMBER       H
               MCCOLL SITE GROUP                                                                                D PRIVATE DOMESTIC      D CATHODIC                NUMBER
                                                                                                                                                                               C
               ADDRESS                                                                                          D PUBLIC DOMESTIC       S MONITORING              NUMBER
                                                                                                                D IRRIGATION            H OTHER                   NUMBER       CD
               2650 ROSECRANS AVENUE                                                                                                                                           m
                                                                                                                                                                               JD
               CITY                                        TELEPHONE                                       8. TYPE OF CASING
               FULLERTON                                                                                   Neutron Access Tubes — 3- or 4-inch
            5. NAME OF CONSULTING FIRM                                                                     stainless steel
               ENVIRON CORPORATION                                                                         Monitoring Wells — 4-inch PVC
               BUSINESS ADDRESS
               5820 SEELLMOUND STREET. SUITE 700
               CITY                         ZIP            TELEPHONE                                       9. METHOD OF SEALING (DASING AND/OR EXCAVATION
               EMERYVILLE               94608            (510) 655-7400                                       (Use additional sheets)
            6. NAME OF DRILLING CO.               C-57 LICENSE NO.                                         See Figures—l^tQ ^3 for neutron access tube
                                                                                                           and monitoring we 11 designs. Soil borings
            WATER DEVELOPMENT CORP.             j     283326                                                                                                                    t
                                                                                                           will be grouted vith cement-bentonite
               CITY
            WOODLAND
                                                           TELEPHONE
                                                        (916) 662-2829                                     *      D^PTH OF SEAL
                                                                                                                                                                               D
            10. DIAGRAM OF WELL SITE (Use additional sheets and/or attachments)
                                                                                                               / hereby agree to comply in every respect with all
            See Figure 5-1
                                                                                                               requirements of the Health Care Agency and with all              1
            Off-site Locations                                                                                 ordinances and laws of the County of Orange and of the
            8 Pilot Borings                                                                                    State of California pertaining to well construction,
            (NT-4, NT-5, NT-6, NT-7, P-5L, P-7D, P-8D, and                                                     reconstruction and destruction, including the requirements
                                                                                                               to maintain the integrity of all significant confining zones.
        1
            o Neutron Access Tubes
            (NT-4S, NT-4D, NT-5S, NT-5D, NT-6S, NT-6D,                                                                                                                         "•"Y
            NT-7S, and NT-7D)                                                                              ^-^Jzuj^&Slfe--^^1*^^                        June 10, 1994
                                                                                                               APPLICANTS SIGNATURE                        DATE
            4 Monitoring Wells
            (P-5L, P-7D, P-8D, and P-9D)                                                                        David E. Earnish
                                                                                                               PRINT NAME

    1             PLEASE ATTACH WELL CONSTRUCTION SPECIFICATION AND SITE PLAN TO THIS PERMIT
1
                                                           /
                                                                                                                                           (510)   655-7400
                 Q] ATTACHED                              (                                                                              PHONE NUMBER


            FOR ACCOUNTING USE ONLY:                       \                                                   DISPOSITION OF PERMIT (DO NOT FILL IN):

                 HSO NO         ' f^ ( C 1 ( ' tD              CHECK NO. '*^-' Vi? "1       _)      1 —^    K       APPROVED SUBJECT TO THE FOLLOWING CONDITIONS.
                           r                  f
            ^ DATE
                            f^ yA        i (L,
                                           ^*
                                               ~-~^l
                                                 K'
                                                     -i       '
                                                            /AMOUNT
                                                                        ^*A   1 J \\i \J i*^) ~"^
                                                                        • (*jt I                                   A. NOTIFY THIS AGENCY AT LEAST 48 HOURS
t
            *INTL           \ ~ •   -r l^LOG -                                                                         ty   SWteRTO START. ^- 2- { ~~ <? ^t~
                         i T-          \
t           APPROVAL BY OTfttR AGENCIES'^
                                                                                                                       D PRIOR TO SEALING THE ANNULAR SPACE OR FILLING OF
                 .11 iRisnirrrinN                                                                                      - THE CONDUCTOR CASING.

                                                                                                                   B   0" SUBMIT TO THE AGENCY WITHIN 30 DAYS AFTER
                                                                                                                          COMPLETION OF WORK, A WELL COMPLETION REPORT
                                                                                                                          AND/OR DRILLING LOGS.

                                                                                                                   C. [3" SECURE ALL MONITORING WELLS TO PREVENT "
                                                                                                       z                  TAMPERING

r                                                                                                                 D. PI OTHER
            —*
                                                                                                            PI     DENIED



                 AUTHORIZED SIGNATURE                                      DATE
                                                                                                                  AU.*^                 ^<£j^6 S-7
                                                                                                                 PERMIT ISSUE^^Y,^^/ # YoAcoVAv^
                                                                                                                                                               ^.^^^
                                                                                                                                                               DATE
                                                                                                      Exhibit 39
                                                                                                        5089
                          WHEN SIGNED BY ORANGE COUNTY HEALTH CARE AGENCY REPRESENTATIVE, THIS APPLICATION IS A PERMIT.
        •*• F272-09 0803 4 (R9/92)
          SEP 21 '94 04:03PM HCfi EMVL HEALTH
         Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 59 of 730 Page ID #:5133
                                        APPLICATION FOR WELL CONSTRUCTION PERMIT
                           ORANGE COUNTYHgALTH CARE AGENCY                          ZOOS E. EOlNGEfl
                           ENVIRONMENTAL HEALTH DIVISION
                                                                                    (m)«7-W01

i CITY                                                                                                          2. DATE
    ^TLLERTON                                                                                                        SEPTEMBER. 191 1994
k^-LL LOCATION
    SEE LOCATION BELOW f 10
4. NAME OF WELL OWNER
                                                             (NEAREST INTERSECTION)

                                                                                    7. TYPE OF WELL (GHS&Q Q SOIL BORING                NUMBER*-2I
                                                                                                                                                           i^
   EcCOLL SITE GROUP                                                                 D PRIVATE DOMESTIC    Q CATHODIC                   NUMBERP-2S         z
   ADDRESS                                                                            P PUBLIC DOMESTIC            B MONITORING         NUMBERP-4I
                                                                                      D IRRIGATION                 D OTHER              NUMBER             m
                                                                                                                                                           1}
   CITY                                               TELEPHONE                     8. TYPE OF CASING                  A/trf& ', &£r&
    FULLSRTOM
5. NAME OF CONSULTING FIRM
     ENVIRON CORPORATION                                                                           4-INCH PVC          /nO^'l'T6/i«s*fCr-     W^K
    BUSINESS ADDRESS
     5820 SHELLMDOHD STREET. SUITE 700
                                                                                                                                                       •
    CITY                         ZIP           TELEPHONE                            9, METHOD OF SEALING CASING AND/OR EXCAVATION
     EMERYVILLE                  CA 94608 510-655-7400                                 (Use additional sheets)
6. NAME OF DRILLING CO.               0-57 LICENSE NO.                                                                                                     1
     HATER DEVELOPMENT CORP.! 283326                                                               SEE FIGURES 2 AND 3                                      1
    JITY                                       TELEPHONE
     WOODLAND                             916-662-2829                                  OWHOF8EAL _ _
                                                                                                                                                           <>
1 o. DIAGRAM OF WELL SITE (Use additional sheiti and/or etlecrtmonls)
                                                                                      / hereby agree to comply in every respect with all
   SEE FIGURE 1                                                                       requirements of the Health Care Agency and with all
                                                                                      ordinances and laws of the County of Orange and of the
   OS-SITE LOCATIONS                                                                  State of California pertaining to well construction,
                                                                                      reconstruction and destruction. Including the requirement
                                                                                      to maintain the integrity of ail significant confining zones.
   3 MONITORING WELLS
    P-21. P-2S, AND P-41)

                                                                                    **-Jt*~-£>(          //)&£f/&4i>^       SEPTEMBER 19. 199'
                                                                                      APpUCAhTSSIQNAttfRE    / /                    PATg
                                                                                      SANDRA L. MAXF^ELD
                                                                                      PR.NT KAME
  PLEASE ATTACH WELL CONSTRUCTION SPECIFICATION AND SITE PLAN TO THIS PERMIT
                                                                                                                   J5 10-655-7400
 •"] ATTACHED                                                                                                      PHONE sin-weft
K>R ACCOUNTING USE ONLY:                                                             DISPOSmON OP PERMIT (DO NOT FILL IN):
                                                                                     S[ APPROVED SUBJECT TO THE FOLLOWING CONDITIONS :
            9- 30 -9s/ Awoip) '5@^PHfY\                                                     A. NOTIFY THIS AOENCY AT LEAST 48 HOURS
                                                                                               .                   O — <y -^ _ A fa*
 INTL. __            C J 1"N        '   LC
                                         °
APPROVAL BY OTHEIR AGENCIES:
                                                                                               D    PRIOR TO SEALING THE ANNULAR SPACE OR FILLING OF
                                                                                                    THE CONDUCTOR CASING.

                                                                                       /e!])W SUBMIT TO THE AGENCY WITHIN 30 DAYS AFTER
                                                                                       ^-^    COMPLETION OF WORK. A WELL COMPLETION REPORT
                                                                                              AND/OR DRILLING LOSS.   '"""

                                                                                            C, Tgf SECURE ALL MONITORING WELLS TO PREVENT
                                                                                               ' TAMPERING,

                                                                                            B. [] OTHER                     . .                 '

^                                                                                    n DENIED                      L-rf VO i 6 7-^ -f 7
  AUTHOHBEO SIGNATURE                                DATE                                   ^^           L^**^^^™^^-*
                                                                                            PgHWIT iS80|^§Y ^f   DATE +
                                                                               Exhibit 39
         WHEN SIGNED BY ORANGE COUNTY HEALTH CARE A6ENCY
                                                    5090 REPRESENTATIVE, THIS APPLICATION IS A
         Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 60 of 730 Page ID #:5134
                            APPLICATION FOR WELL CONSTRUCTION PERMIT
                          ORANGE COUNTY HEALTH CARE AGENCY                        2009 E. EDINGER
                          ENVIRONMENTAL HEALTH DIVISION                           SANTA ANA. CA 92705
                                                                                  (714)667-3601


 1. CITY                                                                                                        2. DATE
     FULLERTON                                                                                                      SEPTEMBER 19, 1994                   r"

 3. WELL LOCATION                     (NEAREST INTERSECTION)
     ON FAIRGREEN DRIVE, APPROXIMATELY 400 FEET SOUTH OF TIFFANY PLACE.
                                                                                                                                                         33
4. NAME OF WELL OWNER                                                             7. TYPE OF WELL (CHECK) rj SO|L BORING                  NUMBER P-5I    H
   McCOLL SITE GROUP                                                                                                                                     Z
                                                                                      D PRIVATE DOMESTIC           D CATHODIC             NUMBER
                                                                                                                                                         C
   ADDRESS                                                                            n PUBLIC DOMESTIC            H MONITORING           NUMBER
                                                                                      D IRRIGATION                 Q OTHER                NUMBER         00
    2650 ROSECRANS AVENUE                                                                                                                                m
                                                                                                                                                         33
   CITY                                               TELEPHONE                   8. TYPE OF CASING
    FULLERTON
5. NAME OF CONSULTING FIRM
    ENVIRON CORPORATION                                                                            4-INCH PVC
   BUSINESS ADDRESS
    5820 SHELLMOUND STREET, SUITE 700
   CITY                 ZIP          TELEPHONE                                    9. METHOD OF SEALING CASING AND/OR EXCAVATION
    EMERYVILLE           CA 94608 510-655-7400                                       (Use additional sheets)
6. NAME OF DRILLING CO.     C-57 LICENSE NO.
    WATER DEVELOPMENT CORP.     283326                                                             SEE FIGURE 2
   CITY                              TELEPHONE
                                                                                                                                                         D
    WOODLAND                    916-662-2829                                            DEPTH OF SEAL

1 0. DIAGRAM OF WELL SITE (Use additional sheets and/or attachments)
                                                                                      / hereby agree to comply in every respect with all
    SEE FIGURE 1                                                                      requirements of the Health Care Agency and wilh all
                                                                                      ordinances and laws of the County of Orange and of the
                                                                                                                                                         M
    OFF-SITE LOCATION                                                                 State of California pertaining to well construction,
                                                                                      reconstruction and destruction, including the requirements
                                                                                                                                                        •Ll
    1 MONITORING WELL                                                                 to maintain the integrity of all significant confining zones.
    (P-5I)

                                                                                      y&t*-^. Of- $6//<-&/i*^               SEPTEMBER 19, 199'
                                                                                      APPLICANTS SIGNATURE/ /                      DATE
                                                                                      SANDRA L. MAXFIELD
                                                                                      PRINT NAME

  PLEASE ATTACH WELL CONSTRUCTION SPECIFICATION AND SITE PLAN TO THIS PERMIT
                                                                                                                   510-655-7400
 Q ATTACHED                                                                                                      PHONE NUMBER


FOR ACCOUNTING USE ONLY:                                                              DISPOSITION OF PERMIT (DO NOT FILL IN):
 HSO NO.                               CHECK NO.                                 ^BT APPROVED SUBJECT TO THE FOLLOWING CONDITIONS:
 DATE                                 AMOUNT                                             A. NOTIFY THIS AGENCY AT LEAST 48 HOURS
                                                                                                                  /soTfp»r      "T7-fiJ A<»-^^CY
 INTL.                                LOG
                                                                                            j& PRIOR TO START. A^f (~J/*+-\ £A*7^J^5~7
APPROVAL BY OTHER AGENCIES:
                                                                                             D     PRIOR TO SEALING THE ANNULAR SPACE OR FILLING OF
 jiiRisnir.Tinu                                                                                    THE CONDUCTOR CASING.
                                                                                             .

                                                                                      ©      t^1 SUBMIT TO THE AGENCY WITHIN 30 DAYS AFTER
                                                                                                 COMPLETION OF WORK. AWELL COMPLETION REPORT
                                                                                                 AND/OR DRILLING LOGS."

                                                                                         C. $ SECURE ALL MONITORING WELLS TO PREVENT
                                                                                              TAMPERING.



                                                                                                                                                        «*«^
                                                                                  l~l DENIED

                                                                                         &*~^^r/                    ^_                f-T^^y-
 AUTHORIZED SIGNATURE                               DATE                                PERMIT ISSUED^JY     ~^/F                      "ATE
                                                                         Exhibit 39
                                                                           5091
         WHEN SIGNED BY ORANGE COUNTY HEALTH CARE AGENCY REPRESENTATIVE, THIS APPLICATION IS A PERMIT.
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                                                                                                                             r J. 11> i — ~J t ~XiJ * rr   £.; l
                                                                                                 LV
                       -EMERYVILLE
            Case 2:91-cv-00589-CJC ! 9-27-94 677-7
                                   Document  ;li:27AM  ; ^/V£~
                                                    Filed           Page 61 of 730 Page IDr.#:5135
                                                          07/10/20 ^c>o5Vf                   U-D
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       CITY                                                                                                  5 DATE
       JULUKIOH                                                                                                 fiEPtBXBER 19, 1994
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yWtfS&SSU JRIVE. API 'pfiyrwA'Vti^'Y 400 JKBET SDuIH, OT TIFFAMT PLACE.
 4. NAME OF WELL OWNSR                                         7. TYPE OF WEU. (CHECK* Q 50^ JQNNQ                 KUM9gnP-5I                                      |
     HcCOLL SITS CWWP                                            P PRIVATE DOMESTIC         DCATHOOIC              MUMBCM^..                                       z
    ADDRESS                                                      D «JBtC DOMESTIC           HuoNirofiiWG            HUMBSFI
     2£5Q RDfl^jJRAMfl AVENUE                                    QlRHiaATWN                 D OTHER                NUMBEH                                          m
                                                                                                                                                                   3)
    CITY                                     TELEPHONE         B. TyPEOFCA8<NG
     VULLKRTOM
 8. NAJYIgOFCONSUUTINQFIRM
     QJTOCH COWOBiTION                                                    4-IMCH PTC
    BUSINESS ADDRESS
     5820 SmiKOUWD STREET, gDITB 700                                                                                         •
    OITY                         ZIP         T1LHPHONE         9. METHOD OP SEALING CASINO ANDAfl EXCAVATION
     XKSKTVIIXB                  CA 94606 51O-fi5S«7400           (Ut» toVfonal stitau)                                                                            ^0
 6. WAME OF DRILLING CO.             C-57UCEN8SNO.
     WATE1 DEVEIOPMENT CORP.             283326                           SEE flOOSS 2                                                                             ^
    CITY                                     T&EPHONE
     WtKJDLAHD                           916-662-2A29              BIPTHOCSBU.
 10. DIAGRAM Of WELL SITE jtto «<ft*foM/tfw«9 and*vatecfonen<#
     SEE FIGUiLE 1
                                                                / Hertby agree to eamply in wry rtypeet with all
                                                                requirements t>/ the Health Cart Agt*«y ond *>\lh all                                              K
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     OFF—$ITB IDCATMSr                                          Statt of California prriainlHR ic well construction.
                                                                rceonvntctiofianddtHrHcrio*. Including tht rcqutrtmtnts
     1 MOHitOKCTO HELL                                          lo maintain ikt integrity of all significant eohflnlng -utaes.
J
        <P-5I>
                                                                                  y&p-^ &-$*ty*<£<^                    SEPXEtoER 19, 199J
                                                                                   SAHDBA L. HAXPIELD
                                                                                  fHJNTMAME
     PUUS8 ATTACK WEU. CONOTflUCTION W eWflOAtlOH W*0 •« flAN TO TH8 PCRMTT
                                                                                                                51Q-655-7400
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     A ACC04JMTWJQ USE ONLY:                                                      DISPOSITION OF FCRUrr <DO NOT FILL IN}:
    USD UD.                .                    ChB<^MO . ,                       Q APPROVED SUBJECT TO THE FOUjOWIMO CONDITIONS:
    DATfi                           , ,, „      AMOUNT
                                                                                        A. NOTIFY THIS AGENCY AT LEAST4B HOURS
    •JTL.                                       IOB                                          D OWQB TO START.
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    iJUfl/ftDlCnOH   C •"¥ ^•^t   T*m        * 1"^^^^™^1'T^'                                     THE CONDUCTOR CAStMa
    I^TLI&D^C
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                                                                f /^/^
                                                               DATE                    PKRUTBAUfciev                               „*,«

            WHEN SIGNED BY OfUNGE COUNTY HEALTH CARE AGENCY REPRESENTATIVE, THIS APPLICATION 18 A PERMIT.
                                                                          Exhibit 39
                                                                            5092
                            APPLICATION
         Case 2:91-cv-00589-CJC  DocumentFOfl WELL
                                          677-7     CONSTRUCTION
                                                Filed 07/10/20 Page PERMIT
                                                                    62 of 730 Page ID #:5136
                          ORANGE COUNTY HEALTH CASE AGENCY                       KM E> EDiNGs*
                          ENVIRONMENTAL HEALTH DIVISION                          SANTA ANA, CA 327CS



 1. CITY                                                                                                            2. DATE                             "           g
    FULLERTON                                                                                                           OCTOBER 6. 1994                              r
 3. WELL LOCATION                                          (NEAREST INTERSECTION)                                                   •                               L.,
    SEE T.OCATTON RKT.OW *10                                                                                                                                        5
 4. NAME OF WELL OWNsS                                                          7. TYPE OF WELL (CHECK) rj g^ XKmQ                             NUMBER               - ~
    MCCOLL SITE GROUP                                                             D PRIVATE DOMESTIC                  QCAT-ICDIC               NUMBER                2
    ADDRESS                                                                      D PUBLIC DOMESTIC                   E MONITORING              NUMBER   j_           g
    2650 ROSECRANS AVENUE                                                        Q IRRIGATION                        D OTHER                   NUMBER               g
    CITY                                       TELEPHONE                        B. TYPE Or CASING                                                           s       •"
    FULLERTON                                                                         WfYHTTniJTwr     1                                 1
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5. NAME OF CONSULTING FIRM
    ENVIRON CORPORATION
    BUSINESS ADDRESS
    5820 SHELLMOUND STREET, SUITE 700
   CITY                          ZIP           TELEPHONE                        9. METHOD OF SEALING CASING AND/OR EXCAVATION
    EMERYVILLE               94608          (510) 655-7400                         (Us« additions! aheex)                                                            f\
6. NAME OF DRILLING CO. L « y A « C-57 LICENSE NO.                                    SEE FIGURE 1 FOR MONITORING WELL DESIGN                                        ^
   ENVIRONMENTAL SERVICES, INC. 510011
   CITY                                        TELEPHONE
   FONTANA                             (909) 355-3355                                 DEPTH OF SEAL                     '                                           \

10. DIAGRAM OF WELL SITE (Use additional sheets and/or aJtechmenta/                                                                                                 Q
                                                                                 / hereby agree to comply in every respect with all
   SEE FIGURE 2                                                                  requirements of the Health Care Agency and with all                            \\
   1 MONITORING WELL (P-2D)                                                      ordinances and laws of the County of Orange and of the                         T^
                                                                                 State of California pertaining to well construction,                           rW
                                                                                 reconstruction and destruction, including the requirements                     xW
                                                                                 to maintain the integrity of all significant confining ivnes.


                                                                              ~~~~~^L^^^i^^-^-^C . OCTOBER 6, 1994                                                   v
                                                                                 APPLICANTS eiaNATUflS                                  DATE


                                                                                 DAVID E. HARNISH
                                                                                 PRINT NAME                                                                     i

  PLEASE ATTACH WELL CONSTRUCTION SPECIFICATION AND SITE PUN TO THIS PEWIT
                                                                                                                        (510) 655-7400
 Q ATTACHED                                                                                                         PHONE XIJUEEP.


FOR ACCOUNTING USE ONLY:                                                         DISPOSITION OF PERMIT (DO NOT FILL IN):
 HSO NO.    j £A T"J2 Itt^v        /]5jEC   n0rp^a^S~                           E£ APPROVED SUBJECT TO THE FOLLOWING CONDrTIONS:
 CATE .|CH(-34-lr^ A§X                                                                 A. NOTIFY THIS AG5NCY AT LEAST 48 HOURS
                                     LQa                                                                    /O—£— <?*f       To
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                 v t                                                                      /JS PlTOrt TO START.
APPROVAL BY OTHER AGENCIES!
                                                                                           D   PRIOR TC SEALING THE ANNULAR SPACE OR FLUNG Of=
                                                                                               THE CONDUCTOR CASINO.

                                                                                  (&•)$ SUaWIT TO THE AGENCY WITHIN 30 DAYS AFTER
                                                                                        COMPLETION OF WORK. A WELL COMPLETION REPORT
                                                                                        AND/OR CRILUNG LOGS.

                                                                                       C. Jj?T S5CURE ALL MONITORING WELLS TO PREVENT
                                                                                               TAMPERING.

                                                                                       0. P OTHER

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 AUTHORIZED SIGNATURE                              DATE                               PERMIT ISSU^WY           ^f                            DATE


         WHEN SIGNED BV ORANGE COUNTY HEALTH CARE AGENCY REPRESENTATIVE, THIS APPLICATION 15 A PERMIT.
                                                                         Exhibit 39
                                                                           5093
                CCT          IS   '34      IP.'
        OOM8-94
       Case      WE ll:30
            2:91-cv-00589-CJC                                 Document 677-7 FiledFL07/10/20
                                                                                        FAX NO,Page 63 of 730 Page ID #:5137
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                                                     APPLICATION FOR WEU. DESTRUCTION PERMIT
-     •+_ --             '        •     IT. "am "" -L-                                  .—«..^~».*».-..«....' .1-        .I-,.. -«,!,..>!-     ,.L..   . .....   .       -._...

FULLERTON
WRLL LOCATION
SEE FIGURE i,                     OS-SITE LOCATION
                                                                                                          NEWEST lNT€a$KrT!0«
                                                                                                                                                OCTOBER 5, 1$94
                                                                                                                              „,.._ , A - ,_,_-..
                                                                                                           SEE FIGURE 1 OS-SITE LOCATION
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 2650 ROSECRANS AVEKUE                                                                                      5820 SmLMOUHD STREET, SUITE 700
WTY                               Ttue»HC*ie                                                              01TT            TSCEPMONe
FULtRRTON                                                                                                   EMERYVILLE    (510) 655-7400                                          1
N AMft OF CONTRACTOR
LAYNE EHVIRONMESTAL S-ESVICE3
                                  CCWTRACTtXS LICENSE «U"3^^
                                             510011                                                    \ftfl4- DtPTVl,       23j_
                                                                                                                                             YVPE OP wEit/roTw, NUMBED
                                                                                                                                     F« •> 2 WATcR
                                                                                                                                                                            j     kc
CTTV
MONTANA
                                  TELEPHONE
                                  ($09) 355-3355
SiftLWQ MATERIAL/ E5TUMT6 AMOUNT OF6EAUNQ MATERIAL NS€Q£^
 CBHENT-BEHTONITE / 2160 GALLONS OR 290 CUBIC FEET
VETHOD C F DWTWCrflON
 MOUtTORIKG WELL KETHOB la OR lb.

    "DESTRUCTION OF MONITORING WELLS AND SOIL BORINGS,"
                                                                                 SEE ATTACKED SHEET,
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DIAGRAM Of VV6U. LCCADOfJ
                                                                                                  i HERESY AOBES TO OQMPLV IN D/E3Y RESPECT WITH ALL
 SEE FIGURE 1
                                                                                                  RECREMENTS OF THg HgALTH OARS A66WY AND WITH
 ON-SITS LOCATION                                                                                 AU OPDINAMO£S A WO LAvWS OF fHS COUNTY' OF ORANGE
                                                                                                  AND OF TKS STATE OF CALJFOflNU PERTAINING TO WEU,
"*\ ABONDANED MORIfORINC WELL                                                                     COM8THUCTION, RECONSTRUCTION AW DESTRUCTION.
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                                                                                                  APyUOAHTS »|S>UT\|*E


                                                                                                   »A»TD.J£. HARSISH _.                                 (510)655-7400

DSPQSmON OP APPLICATION^ (FD» OFFICE USE ONLY)                                                    FIELD OaSeRVATiONS:

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    am.    r^^-*——                            . uaa                 x


            WMgN SIQNeO PY ORANGE COUNTY HEALTH CAHE AGENCY R5PRe9ENTATJVe. THIS APPUCATJON IS

                                                                                             Exhibit 39                         1AN3 WOH w y a f i t T           t^. ft 100
                                                                                               5094
            Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 64 of 730 Page ID #:5138
                                                   APPLICATION FOR WELL DESTRUCTION PERMIT
                                   ORANGE COUNTY HEALTH CARE AGENCY                              EDINGERAVE.
                                   ENVIRONMENTAL HEALTH DIVISION                          SANTA ANA, CA 92705
                                                                                          (714)667-3601


  CITY                                                                                   .                                DATE                                    «r
   Fa.L3.aTON                                                        ••                                                    November 10, 1994
  WELL LOCATION                                                                           NEAREST INTERSECTION                                                    1-—
                                                                                                                                                                  13
   3EL FIGUtuf             1                                                               SEt FIGURE 1                                                           m
                                                                                                                                                                  31
  NAME OF WELL OWNER                        •                                             NAME OF CONSULTING FIRM                                                 S.
   ^CwOLL Sii'L GKuUP                                                                     ENVIRON COMPUTATION
                                                                                                                                                                  q
                                                                                                                                                                  z
  ADDRESS                                                                                BUSINESS ADDRESS
                                                                                                                                                                  c
   265U Kosecrana Avenue                                                                     5820 ShellTJ.ounJ, S t r e e t , Suite 700                           CD
                                                                                                                                                                  rn
  CITY                                                TELEPHONE            :,            CITY                             TELEPHONE                               33
   tulle-ton                                       (714) 523-0160                            Emeryville                   (510) 1)55-7400

 NAME OF CONTRACTOR                                   CONTRACTOR'S LICENSE NUMBER                                         TYPE OF WELL/TOTAL NUMBER     2

   Water Development Corp.                              283326                           WELL DEPTH 2?8            Feel     WATER
 CITY       '                                       TELEPHONE                                           200      Feet       J ^^^^ ^^^                      "*^
   Woodland, CA                                  (916)662-2829                           D[AMETER      4        Inches    iSSS*"* S?2ISaSgtion
 SEALING MATERIAL / ESTIMATE AMOUNT OF SEALING MATERIAL NEEDED
  CE>i.\'T-JJEi\TONITE/Approxiaattsly 150 gallons each
                                                                                                                                                                  I
                                                                                                                                                                  k
 METHOD OF DESTRUCTION

  BACKFILL CASING WITH CE;o£KT/BENTOXITE GROUT USD£R PRESSURE
  jee c.t cached Section                                                                                                                                          ^
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  11.3 from our well drilling Specif iaeicions.
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 DIAGRAM OF WELL LOCATION
                                                                                     1 HEREBY AGREE TO COMPLY IN EVERY RESPECT WITH ALL
  Abandon recently installed wellr P-5I. arc
                                                                                     REQUIREMENTS OF THE HEALTH CARE AGENCY AND WITH
                                                                                                                                                                  JN
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  i>-9JJ waich cau uot be ia=c &s i.cnicorir.g
                                                                                     ALL ORDINANCES AND LAWS OF THE COUNTY OF ORANGE
  Vellj.
                                                                                     AND OF THE STATE OF CALIFORNIA PERTAINING TO WELL
                                                                                     CONSTRUCTION, RECONSTRUCTION AND DESTRUCTION.                                N
                                                                                                                                                                   *f


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                                                                                    "-t- JLc-?4X-TT&-^^Kv>
                                                                                     APPLICANTS SIGNATURE

                                                                                    ~"~UL.,1 4-TO'A,sL.                               S/o-6<"£'-'Woo
                                                       ' A.'                         PRINT NAME                                                   PHONE NUMBER
     V                ,,.•.>''>«
 DISPOSITION OF APPLICATION: (FOR OFFICE USE ONLY)                                   FIELD OBSERVATIONS:

 U DENIED                             ^ APPROVED WITH CONDITIONS


 H NOTIFY THIS AGENCY ATrLEAST 48 HOURS PRIOR TO START
            '-.(•"/   c,'- \sLU^<^.-r^^, /V^-^-ov/H-.
 ^OTHFR     /^..r'f-f,         ~f^.   fS^LA''^*             J^-OA-a.^.


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   /a       19-^^              -      AYi^            U.-&^n^Lt*«^_
            DATE                                   f/RMIT ISSUED^

   FOR ACCOUNTING USE ONLY

   HSONO.    t^Q-3^^}                             CHECKNO       2-9^*7

   DATE     / ' ' 'T ~ / ^                       AMOUNT        / ^ *+ °*
                  \   /?                                                                                                                                          ^
   INTL         '.-/ !)                         LOG

                                                      Exhibit 39
                                                        5095 REPRESENTATIVE, THIS APPLICATION IS A PERMIT.
            WHEN SIGNED BY ORANGE COUNTY HEALTH CARE AGENCY

•» F272-09 1543
                Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 65 of 730 Page ID #:5139
                                APPLICATION FOR WELL CONSTRUCTION PERMIT
                                      ORANGE COUNTY HEALTH CARE AGENCY                   2009 E. EDINGER
                                      ENVIRONMENTAL HEALTH DIVISION                      SANTA ANA, CA 92705
                                                                                         (714)667-3601




                                                                                                                                                          || WELL PERMIT NUMBER
 1. CITY                *f—           i                                                                               2. DATE
             --^ r<Jll£rto^                                                                                                 Nwfi«>i«/,nfw
 :        ALLOCATION                                                      (NEAREST INTERSECTION)
 N
     —'         "Sejc        fO^N\-L^i IO                  tcAXfrjtf .•
4. NAME OF WELL OWNER                              _,                                    7. TYPE OF WELL (CHECK) Q SOIL BORING               NUMBER

                    MeCbll ^14*. GrouP                                                    d PRIVATE DOMESTIC            .D CATHODIC          NUMBER
      ADDRESS                                                                             D PUBLIC DOMESTIC            xSMONITORING          NUMBER   ]
                £4^0                  &>$*.<: i-c^s (V^u4--                               PI IRRIGATION                  PI OTHER            NUMBER
      C1TY                                                                               8. TYPE OF CASING
               r— 1 1        i                     -to               TELEPHONE
               rJlM-jsA                            v
5. NAME OF CONSULTING FIRM
                                                                                             4 -in     f   L   P\/C   £-atlr*O.

             ^kiv/\<2o/0                  Grp^-hiAj
      BUSINESS ADDRESS „
        ^^3 SUll/wffwJ <3t.. S*k%)
      CITY              •.                       ZIP             . TELEPHONE             9. METHOD OF SEALING CASING AND/OR EXCAVATION
       GA^^II-C-, CA) Wog £to)&sr-"W                                                        (Use additional sheets)
6. NAME OF DRILLING CO.                                    C-57 LICENSE NO.                  <$&. o&*c,L*A -%^ ^i( ^^r^^
 CxJATVT7«^fA^Cof.                                              5-B3^4                           Spec--fic^(5v\
     CITY
               1     /l,         /l                    /            TELEPHONE
         LUx>D\*^> CA.                                            tfl^CtZ-ts-^               DEPTH OF SEAL
10. DIAGRAM OF WELL SITE (Use additional sheets and/or attachments)
                                                                                          / hereby agree to comply in every respect with all
  <$*.-*&%$$£ t#**i*.                                                                     requirements of the Health Care Agency and with all
                                                                                          ordinances and laws of the County of Orange and of the
 -rkjs ujd\ (TP-90) ^^ rcpkcA^J: urei^                                                    State of California pertaining to well construction,
                                                                                          reconstruction and destruction, including the requirements
      i^r          rt«^               -,A«V^llftfl u^il               ?-^^fU              to maintain the integrity of all significant confining zones.

         ^ ^rrfjft ^ «/-66^ -Z4). ^ ^ ° ^-^
       P-°ID          U, <^t ^ T^A                            S-c«4A«J ,^v/^
                                                                                          APPLICANTS SIGNATURE                        DATE
       ^<^. 4 nor                     os*W«. <** <*- /ntxv^^-^K^1' ^
                                                                                              QL-tcL £"' fW-v.il*
      cOi'll     U      We£     L^oa^Vt p«»*tt ^»«««»N                                    PRINT NAME
                                         «COr^p«.r^i-3 Ar^-*- <>Wfi^ •
     PLEASE ATTACH WELL CONSTRUCTION SPECIFICATION AND SITE PLAN TO THIS PERMIT
                                                                                                                           (Qo^sif-iytfu
__jgfATrACHED                                                                                                          PHONE NUMBER




                                                                                                                                                          |
FOR ACCOUNTING USE ONLY:                                                                 DISPOSITION OF PERMIT (DO NOT FILL IN):

 HSO NO.                                         CHECK NO.                               D     APPROVED SUBJECT TO THE FOLLOWING CONDITIONS:

 DATE                                            AMOUNT                                       A.   NOTIFY THIS AGENCY AT LEAST 46 HOURS

 INTL                                            LOG                                               0 PRIOR TO START.
APPROVAL BY OTHER AGENCIES:
                                                                                                   n   PRIOR TO SEALING THE ANNULAR SPACE OR FILLING OF
 .fi iRisnir.TinN                                                                                      THE CONDUCTOR CASING.

 PPUAPKR
                                                                                              B. D SUBMIT TO THE AGENCY WITHIN 30 DAYS AFTER
                                                                                                   COMPLETION OF WORK. A WELL COMPLETION REPORT
                                                                                                   AND/OR DRILLING LOGS.

                                                                                              C. D     SECURE ALL MONITORING WELLS TO PREVENT
                                                                                                       TAMPERING.

                                                                                              D.   Fl OTHER
\^s
                                                                                         I"! DENIED



 AUTHORIZED SIGNATURE                                              DATE                      PERMIT ISSUED BY                             DATE
                                                      Exhibit 39
                                                        5096REPRESENTATIVE, THIS APPLICATION IS A PERMIT.
           WHEN SIGNED BY ORANGE COUNTY HEALTH CARE AGENCY
               ?C3 £ 'P9 921
         Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 66 of 730 Page ID #:5140
                            APPLICATION FOR WELL CONSTRUCTION PERMIT
                          ORANGE COUNTY HEALTH CARE AGENCY                       2009 E. EDINGER
                          ENVIRONMENTAL HEALTH DIVISION                          SANTA ANA, CA 92705
                                                                                 (714)667-3601




                                                                                                                                                      UWEL^/ERMIT NUMBER
1. CITY                                                                                                      2. DATE
   Fullerton                                                                                                     November 10.            1994
3. WELL LOCATION                                             (NEAREST INTERSECTION)                                                                                        *?
   See Figure
4. NAME OF WELL OWNER                                                            7. TYPE OF WELL (CHECK) Q          SOIL BORING          NUMBER

 McColl Site Group                                                                D PRIVATE DOMESTIC              Q CATHODIC             NUMBER
   ADDRESS                                                                        D PUBLIC DOMESTIC               H MONITORING           NUMBER   1
  2650 Rosecrans Avenue                                                           D IRRIGATION                    0 OTHER                NUMBER
   CITY                                               TELEPHONE                  8. TYPE OF CASING
 Fullerton                                  (714)     523-0160
5. NAME OF CONSULTING FIRM                                                             See attached Iigure
 ENVIRON Corporation
  BUSINESS ADDRESS
 5820 Sheilmound Street, Suite 700
  CITY                               ZIP          TELEPHONE                      9. METHOD OF SEALING CASING AND/OR EXCAVATION
 Emeryville, CA                   94608        (510) 655-7400                       (Use additional sheets)
6. NAME OF DRILLING CO.       C-57 LICENSE NO.
 Water Development Corp.         283326
                                                                                       See attached Figure
   CITY                               TELEPHONE
 Woodland, CA           (916)    6222829                                              DEPTH OF SEAL

10. DIAGRAM OF WELL SITE (Use additional sheets and/or attachments)
                                                                                  / hereby agree to comply in every respect with all
           See Figure                                                             requirements of the Health Care Agency and with all
                                                                                  ordinances and laws of the County of Orange and of the
           Replacement well P-5L                                                  State of California pertaining to well construction,
                                                                                  reconstruction and destruction, including the requirements
                                                                                  to maintain the integrity of all significant confining zones.




                                                                                                                                                      )
                                                                                                                                                                           *
                                                                               ^L-L^r^y4-jk<^4<                          November 10, 1994
                                                                                  APPLICANTS SIGNATURE                            DATE



                                                                                  PRINT NAME

  PLEASE ATTACH WELL CONSTRUCTION SPECIFICATION AND SITE PLAN TO THIS PERMIT
                                                                                                                    (510) 655-7400
 Q ATTACHED                                                                                                  PHONE NUMBER




                                                                                                                                                      \
FOR ACCOUNTING USE ONLY:                                                          DISPOSITION OF PERMIT (DO NOT FILL IN):

 HSO NO.                              CHECK NO.                                   D     APPROVED SUBJECT TO THE FOLLOWING CONDITIONS:

 DATE                                 AMOUNT                                           A.   NOTIFY THIS AGENCY AT LEAST 48 HOURS

 INTL.                                LOG                                                   D   PRIOR TO START.
APPROVAL BY OTHER AGENCIES:
                                                                                            D PRIOR TO SEALING THE ANNULAR SPACE OR FILLING OF
                                                                                              THE CONDUCTOR CASING.

 RPMAPKS
                                                                                       B. n     SUBMIT TO THE AGENCY WITHIN 30 DAYS ARER
                                                                                                COMPLETION OF WORK, A WELL COMPLETION REPORT
                                                                                                AND/OR DRILLING LOGS.

                                                                                       C. D     SECURE ALL MONITORING WELLS TO PREVENT
                                                                                                TAMPERING.

                                                                                       D.   PI OTHER
                                                                                                                                                        N_                 f
                                                                                 PI    DENIED



                                                                                      PERMIT ISSUED BY
 AUTHORIZED SIGNATURE                               DATE
                                                                         Exhibit 39                                                  DATE

                                                                           5097
         WHEN SIGNED BY ORANGE COUNTY HEALTH CARE AGENCY REPRESENTATIVE, THIS APPLICATION IS A PERMIT.
           Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 67 of 730 Page ID #:5141
                            CITY OF FULLERTON




                                                                                                                                             PERMIT WHEN APPROVED AND VALIDATED
      /£/P$r4                                       ENGINEERING DIVISION




                                                                                                                                                 THIS'APPLICATION BECOMES A
      \^iiy&/            PUBLIC R/W EXCAVATION, CONSTRUCTION & ENCROACHMENT
       ^i!£°S$'                         APPLICATION AND PERMIT

       ^Sketch/Plans as determined by the city For identification number, call UNDERGROUND SERVICE ALERT:
  [      engineer are required prior to permit
         issuance                                1-800-422-4133 (See Note 1)

]     DSee attached for special provisions.                  Fntpr Inrjiiiry Identification Nnmt>pr
                                                             Note: Permit is not valid until this number is obtained.


      AppHran.      S     •Y^^.            L-^ hUsco.s                                         Phnnp      7{<t - z^l-cK-t                                                         APPLICATION NO. PW- 3055
      Aririr^ o m.             p*vVc      pW^or^7°°ni.y iW^R                                              7in 92.7/4-'.:
      Contractor ..p^V\ v o ^                                          PhonP 7<4-^|-VI*T|
                                                                                 ays
      Arifjrpss    ^*^         P-w W_         P(o.C e        «-t-« T° o                                              '9
                                                     i
  tftdrlrpss/l or.atinn of wnrk               \ V®       \   £V\V *?v««a-.-s              C^vsw^

  Description of work.                                                                                                     We.      iL
  Plan/File No..                                             -Starting Date_                                        -Project File No..
 APPLICANT SHALL CONTACT THE CITY INSPECTOR'S OFFICE AT 738-6845 AT LEAST 24 HOURS PRIOR TO ANY WORK.

                   FEES                                                           ACCOUNT                          APPLICATION APPROVED:
  l^nanrP*                                $         10-00                   110-'VIO-?180-4?60                     Py, —****** \ — "*'"J •                                                     ^"^i>
 Inspection

 Other                                                                                                             PFRMIT VOin IINLFRS WORK rOMPLFTFn WITHIN
      •<;h Bond                                 .                           SR1-549                                             DAYS OF APPROVAL
Wr«i                                      $     tO.*«>

      Non-refundable

 THE UNDERSIGNED PERMITTEE HEREBY CERTIFIES AND AGREES:
 1. UNDERGROUND SERVICE ALERT shall be notified at least 2 working days in advance of any excavation and an Underground Service Alert Inquiry Identification
     Number shall be obtained from Underground Service Alert. CONTACTING U.S.A. DOES NOT RELIEVE CONTRACTOR.OF RESPONSIBILITY FOR LOCATING
     OR PROTECTING EXISTING UTILITIES.                — • ' • 1 / — ' - ' . : ' -•• ••-.-..-..;.• ., . ,.           . .' '.
 2.  I am properly registered and/or licensed as required by the City of Fullerton and the State of California. . „ , .."        '
 3.  I have read this application and all statements hereon are correct and complete. I agree to perform all work in accordance with the Standard Specifications for
     Public Works Construction on file in the office of the City Engineer, and wilh all applicable city ordinances and codes.
 4. I guarantee all work performed under this permit for a period of one year from the date of acceptance. Failures will be corrected within two weeks after notification,
     to the satisfaction of the City Engineeer. •"•' • - ' • •
 5. A new permit shall be required in the event work is hot completed prior to the expiration date. The City Engineer may extend the time limit of the permit due to
     excusable conditions.                        1*O;" •»
 6. The applicant shall make all arrangements and be responsible for the moving and protection of poles, hydrants, meters, trees, and other surface and subsurface
     facilities that interfere with the work under this permit: •
 7. Forms and subgrades must be inspected and approved prior to placing compete or asphalt/
 8. Failure to comply with the terms and conditions fiere'on shall be grounds.fo/^ancellatiop^f^epmr9fia' refection of all work.
                                                                                                                                                                                                          7
         1 HAVE READ AND UNDERSTAND ALL HP TUP                         AROV/P. ^O' ^/St-f'                       ////r/&S)^~.                                                        -" ^//   *'   //
                                                                        -                  /   /            ApplicwVs Signature                                                                    Date

                                                                              *?•-'.>     L/                        ,r, '--. -.. -'.- •"-'r.- - '"->
            PHONE INFORMATION                                                CERTIFICATE OF INSPECTION: 1 hereby certify that all the work allowed by this permit
 Location of City utilities:                                                 has been constructed according to the plans and specifications.
    Water lines                       738-6886
    Other public facilities           738-6845
                                                                             Ry
 City of Fullerton (Days)             738-6845                                                          Inspector's Signature                                                                  Date
 City of Fullerton (Nights)           738-6897
 City of Fullerton (Police)           738-6800
   •y of Fullerton (Fire)             738-6502                                          DATE                                INSPECTION RECORD REMARKS
 ^/         Inspection           Green
            Applicant             While
            Maint Serv.            Blue
            Finance              Yellow
            Treasurer             Gold
            Application File       Pink

                                                                                           Exhibit 39
                                                                                             5098
        APPLICANT                                                   THIS PERMIT WITH APPROVED PLANS MUST BE ON THE JOB AT ALL TIMES.
              Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 68 of 730 Page ID #:5142

                                                              CITY OF FULLERTON
                                                                                                                                            O
             CITY                             !
                                              t
                                                              ENGINEERING DIVISION
                                                                                                                                         <Q
                                                                                                                                            $111
              OF                              'R/W EXCAVATION, CONSTRUCTION & ENCROACHMENT
                                                       APPLICATION AND PERMIT
          FULLERTOH                                                                                                                      UJ •
                                                                                                                                         «: -~
                                               nined by the city For identification number, call UNDERGROUND SERVICE ALERT:    OO
                                               1 prior to permit                                                               oz

                                                  il provisions.
                                                                   1-800-422-4133 (See Note 1 )
                                                                     Fnter Inquiry Identification Nurnber
                                                                                                                          |£7j
                                                                                                                                        Ittfi
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                                                                                                                                                            07/186ENG-242          6260.0(
  3f                                                                 Note: Permit is not valid until this number is obtained.            o>
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 3                                                •C0v\                                               Phnne   S\0^sUE>-7£ l(£ z APPLICATION NO.PW- 3C
                              FHitRTOH*            wo4. «tv««L, ray Fo\Wv*o>\                                 7i 94-<i oe   ^| Pefo.vk 4* ?oi\4- 4-o

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                                                                                               Days                   Nights
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                                                                   , W**OV^Ow         ^ ^'<C.^'S^"«                  v .« •„- ' , (f 5
                                                                                                       t y O^Stf-V«*i. f^ o.i i Vo » lv^-c ^ ^ *              * ^iKt^s(U^-'.v.,
                        1 iTElfi SOU)                ;          O\                                                                      Vi


 1
                                                                     Starting Drfe                                      Project File Nn         S^>^ £-+

                                                     >CT THE CITY INSPECTOR'S OFFICE AT 738-6845 AT LEAST 24 HOURS PRIOR TO ANY WORK.

 - V                                                          o.OO                      ACCOUNT                      APPLICATION APPROV
 ,0                                                                             110-310-2180-4260
          J Issuance
          ^ Inspection                                                          110-310-2180-4260                    n.7 )^~<e-
 9 Jl ^ Other                                                                                                        PERMIT VOID UNLESS WORK COMPLETED WITHIN
             Cash Bond                                                                                                            DAYS OF APPROVAL
                                                                                                                                                                                  v^
                      i-refundable                                                                                             •\*-v
         0 THE UNDERSIGNED PERMITTEE HEREBY CERTIFIES AND AGREES: p?,l'AjQ.hCiL:j
         .1. UNDERGROUND SERVICE ALERT shall be notifiedjt least a^o(king days in advanc^pf.any excavation anianAlndetgrountf Service Alert Inquiry Identification
       v o     Number shall be obtained from Underground Semc^lert^-CgNiT^TING^^
               OR PROTECTING EXISTING UTILITIES.                  t-^y~ Jo- V/:*i •-'a- ' '           '"" " " ' """ '
            2. I am properly registered and/or licensed as required byirie^C^pf^u(l^or^andl|r^^|t^f0Caljfwnl(a.)} „.,_••; ^.^ x-: -.^
        4^ #3. I have read this application and all statements hereofljare cprre]c1:jy^lcoj3jpj^a.,|agree. Jo.f5?rforrn-?ll.work^n.^ccordance with the Standard Specifications for
         •f    Public Works Construction on file in the office ofjhe cty^                            p/icable city orcUnanceSjad codes.! ,. -,.




                      1 HAVtHtAU ANUUNUtKblANU ALL Uh IMt ABUWt^^^X —f*-^S ^tx^/.-f fS.!^                             T-=                   ./     -.   /    .'.—1



| -I M
                          PHONE INFORMATION                                      CERTIFICATE OF INSPECTION:! hereby certify that all the work allowed by this permit
            Location of City utilities:
                                                                                 has been constructed according to the plans and specifications.
               Water lines                         738-6886
               Other public facilities             738-6845
                                                                                 Ry
            City ot   Fullerton (Days)             738-6845                                               Inspector's Signature                                      Date
            City of   Fullerton (Nights)           738-6897
            City of   Fullerton (Police)           738-6800
            City of   Fullerton (Fire)             738-6502                               DATE                                 INSPECTION RECORD REMARKS
                         Inspection         Green
                         Applicant           White                                                                                                                                 >H
                         Maim. & Oper.      Yellow
                         Project              Blue                                                       ^*~^
                         Finance              Buff
                         Treasurer           Gold
                         Application File     Pink
                                                                                         Exhibit 39
                                                                                           5099
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 69 of 730 Page ID #:5143




                                   APPENDIX B

                             GEOPHYSICAL LOGGING




                           GROUNDWATER RI REPORT
                                 McCOLL SITE
                            FULLERTON, CALIFORNIA




                                 December 29, 1995

                                     03-3493X




                                      Exhibit 39
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Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 70 of 730 Page ID #:5144

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                                                                                Page No.

   APPENDIX B: GEOPHYSICAL LOGGING                                                  B-1
        B.I  Approach                                                               B-1
        B.2  Procedures                                                             B-1



                                              TABLES


   TABLE B-1:               Summary of Available Borehole Geophysics




   McColl Site Group
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                                               Exhibit 39
                                                 5101
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                                           APPENDIX B

                                      GEOPHYSICAL LOGGING


   This appendix describes the borehole geophysics logging completed by ENVIRON. Copies of
   the geophysical logs also are presented.

   B.I     Approach

   Geophysical logging was conducted by Welenco of Bakersfield, California. Logging was
   performed during the 1994-1995 drilling program to supplement direct soil observations and
   to assist in correlation of stratigraphy with geophysical logs from other site borings. Gamma
   logs have proven particularly useful at the McColl site because of the presence of a high
   gamma response "marker clay" noted during previous investigations. Cased pilot holes and
   wells which did not contain drilling fluid were logged with natural gamma tools. Pilot holes
   drilled by mud rotary techniques also were logged by a suite of electric tools. To attempt to
   provide a consistent data set from the older wells, pre-existing wells also were logged with
   natural gamma tools. The deepest accessible well from each well cluster was re-logged for
   natural gamma. The attached Table B-1 summarizes the geophysical logs obtained for the
   McColl site during the recent ENVIRON investigation and those available from previous
   investigations.

   B.2    Procedures

   Welenco's procedures are described in Water and Environmental Geophysical Well Logs
   (Welenco, March 1995) and are based on industry standards (American Petroleum Institute
   conventions and standards). Welenco calibrated the electrical and nuclear geophysical tools
   prior to conducting the geophysical logging. The calibration records are on file at Welenco in
   Bakersfield, California. All down-hole tools were decontaminated prior to use at the McColl
   decontamination station following procedures outlined in the RI/FS Work Plan.

   The following attachments complete this appendix:

           •       Geophysical logs from ENVIRON pilot holes and wells
           •       New natural gamma and neutron logs for pre-existing wells.



   McColl Site Group
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                                              Exhibit 39
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                                                           TABLE B-1
                                                  SUMMARY OF GEOPHYSICAL LOGS
                                                    MCCOLL GROUNDWATER RI

 Well         Survey         Company          Subcontractor     Depth      Logs Generated
               Date                                            (ftbgs)
 Logs by ENVIRON included in this Appendix.
 P-1D      8/5/94    ENVIRON              Welenco               2- 250     Neutron, Gamma-Ray
 P-2D      8/5/94    ENVIRON              Welenco               1- 233     Neutron, Gamma-Ray
 P-3D      8/18/94    ENVIRON             Welenco               1- 250     Neutron, Gamma-Ray
 P-4D       8/5/94    ENVIRON             Welenco               2- 239     Neutron, Gamma-Ray
 P-5D       8/5/94    ENVIRON             Welenco               1- 263     Neutron, Gamma-Ray
 P-6D      8/5/94     ENVIRON             Welenco               2- 234     Neutron, Gamma-Ray
 P-9D      12/7/94   ENVIRON              Welenco               1- 215     Gamma-Ray
 P-10D     12/7/94    ENVIRON             Welenco               1- 198     Gamma-Ray
 P-10L     7/12/95    ENVIRON             Welenco               1- 268     Gamma-Ray
 PH-2         8/9/94         ENVIRON             Welenco        0- 352     Gamma-Ray, Guard Resistivity
                                                               212 -352    SP, Short/Long Normal Resistivity, Point Resistance
 PH-5         8/18/94        ENVIRON             Welenco        0- 162     Neutron, Gamma-Ray
 PH-6          8/9/94        ENVIRON             Welenco         0- 181    Neutron, Gamma-Ray
 PH-8         9/14/94        ENVIRON             Welenco         8- 250    Gamma-Ray, Guard Resistivity
                                                                29 - 249   SP, Short/Long Normal Resistivity, Point Resistance
 PH-9         9/6/94         ENVIRON             Welenco         0- 249    Neutron, Gamma-Ray
 W-4          8/9/94         ENVIRON             Welenco        4- 101     Neutron, Gamma-Ray
 W-8B         8/5/94         ENVIRON             Welenco        1- 120     Neutron, Gamma-Ray
 W-9C         8/5/94         ENVIRON             Welenco        2 - 317    Neutron, Gamma-Ray
 W-10B        8/5/94         ENVIRON             Welenco        2- 215     Neutron, Gamma-Ray

 Logs from CH2M Hill, 1987.
 P-1D         1/30/87        CH2M Hill        Geo-Hydro-Data   10-299      SP, 6' Lateral and Point Resistivity, Caliper
 P-2D          2/7/87        CH2M Hill        Geo-Hydro-Data   60 - 302    SP, 6' Lateral and Point Resistivity
 P-3D         2/20/87        CH2M Hill        Geo-Hydro-Data   10 - 298    SP, 6' Lateral and Point Resistivity, Natural   Gamma
 P-4D         2/16/87        CH2M Hill        Geo-Hydro-Data   10-297      SP, 6' Lateral and Point Resistivity, Natural   Gamma
 P-5D          3/6/87        CH2M Hill        Geo-Hydro-Data   10-301      SP, 6' Lateral and Point Resistivity, Natural   Gamma
 P-6D          3/1/87        CH2M Hill        Geo-Hydro-Data   10-298      SP, 6' Lateral and Point Resistivity, Natural   Gamma
 Logs from other previous investigations:
 W-2         11/12/90      Beylik Drilling       Welenco        2- 218     Neutron, Gamma-Ray
 W-5          3/9/87         CH2M Hill                           0-242     Gamma-Ray
 W-6B         3/9/87         CH2M Hill                          3 - 255    Gamma-Ray
 W-8B         3/9/87         CH2M Hill                          3 - 303    Gamma-Ray
 W-9C        5/18/89         Ecology &        Geo-Hydro-Data    10 -321    SP, 6' Lateral and Point Resistivity, Caliper, Nat. Gamma
                            Environment
 W-10B        5/12/89        Ecology &        Geo-Hydro-Data    10 -225 SP, 6' Lateral and Point Resistivity, Caliper, Nat. Gamma
                            Environment




k.\deh\mccolt\03-3493x\testsxls-Geophysica!                      Page 1 of 1                                                   ENVIRON
                                                                 Exhibit 39
                                                                   5103
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 73 of 730 Page ID #:5147




                                   APPENDIX B

                                 ATTACHMENT
                               GEOPHYSICAL LOGS




                                      Exhibit 39
                                        5104
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                             OVERSIZE ITEM(S)

              Due to the size of this item, it has been scanned separately.


                   See Document # 2056840 for scanned image(s).




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                                         Exhibit 39
                                           5105
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                                   APPENDIX C




                             SOIL PHYSICAL TESTING




                           GROUNDWATER RI REPORT
                                 McCOLL SITE
                            FULLERTON, CALIFORNIA




                                 December 29, 1995

                                     03-3493X




                                      Exhibit 39
                                        5106
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 76 of 730 Page ID #:5150




                                            APPENDIX C
                                      SOIL PHYSICAL TESTING


   This appendix presents physical test results for soil samples collected during the 1994 and
   1995 Groundwater RI/FS field work. After borings were drilled to their total depths and soils
   were lithologically logged, samples were selected for physical testing. Samples were selected
   for physical testing to check field identifications of soil type, and also to assist design of the
   filter packs for monitoring wells. The physical tests conducted were grain size analyses (sieve
   analyses with or without hydrometer tests), Atterberg limits, and moisture/density tests.
   Triaxial permeability tests were also conducted on selected samples. The attached Table C-l
   summarizes the physical tests completed, the test results, and the field identifications.

   Physical test samples were transported under chain-of-custody to Terra Tech Labs,
   Incorporated of Santa Ana, California. Terra Tech retained Environmental Geotechnology
   Laboratory of Santa Fe Springs, California (EGL) to conduct the physical testing. EGL
   conducted the tests in accordance with the applicable ASTM standards.




   McColl Site Group
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                                               Exhibit 39
                                                 5107
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                                                            TABLE C-l
                                                 SUMMARY OF SOIL PHYSICAL TESTING
                                                     MCCOLL GROUNDWATER RJ

                                                                                                     s
 Pilot Hole     Sample         Sieve             Hydro-   Atterberg      Soil ID per Lab Field Soil ED        Field Description
                 Depth        Analysis           meter     Limits            Results5

 PH-1               7              X               X         x                   CL           CL         silty clay w/sand
                   38              X                                       SM or SC (1)       SM         silty sand
                   52              X               X         x                  CH            CL         silty to sandy clay
                   102             X               X         x                   CL           CL         silty to sandy clay
                   144             X               --                     Silt or Clay (1)    SM         sand
                   176             X               --                     Silt or Clay (1)   CL-CH       sillty sandy clay with
                                                                                              +SP        sand interbeds
 P2DR (2)       212-219            X               --                           SP-SM          SP        sand, some silt

 PH-2 (3)           6              X               X          x                   CL          CL         sandy clay
                  86.5             X               X          x                   CL          CL         clay
                  159.5            X               X          x                   CH          CH         sandy clay
                   176             X               X          x                   CL          SM         silty sand
                   194             X               X          x                   CL          CL         clay

 PH-3              28              X               X          x            CL-ML/ML          SM/ML       silty sand/sandy silt
                   32              X               --                       SM or SC         SM/SP       sand to silty sand
                  37.5             X               X                          SM             SP/SM       sand to silty sand
                   71              X               X          x               CL               CL        sandy clay
                   132             X               X          x               CL               CL        clay
                  162.5            X               X                          SM               SP        sand
                   183             X               X          x               CH               CH        clay

 PH-4             191.5            X               --         ..                               CL        silty clay

 PH-5               13             X                                      SM or SC (1)        SM         silty sand
                   24.7            --              X          x                 CL            CL         sandy clay
                    33             --              X          x                  SC           CL         sandy clay
                    37             --              X          x                 CH            CL         sandy clay
                    47             X               --                            SM           SM         silty sand
                    89             -               X          x                  CL           CL         silty clay
                    130             X              --                     Silt or Clay (1)    ML         silty sand to sandy silt

 PH-6               25              X                                             SM         SM/SW       silty sand w/gravel
                    35              X              ~-                             SM          SM         silty sand
                   77.5             X                                           SM or SC      SM         silty sand
                   103                             X          x                   CH          CH         clay
                   128             --              X          x                   CH         ML/CH       silt to clay
                    165             X              --                             Silt       SM-ML       silty sand to sandy silt
                    189             X              "~                             SM         SM/SW       silty sand w/gravel



k.\deh\mccoll\03-3493x\tests xls-Soil Physical                     Page 1 of2                                          ENVIRON
                                                                   Exhibit 39
                                                                     5108
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 78 of 730 Page ID #:5152

                                                           TABLE C-l
                                                SUMMARY OF SOIL PHYSICAL TESTING
                                                    MCCOLL GROUNDWATER RI

Pilot Hole      Sample         Sieve            Hydro-   Atterberg    Soil ID per Lab Field Soil ID5          Field Description
                Depth         Analysis          meter     Limits          Results5

PH-7               26             ..              x         x                  CL          CL          sandy clay
                   52              x              --                           SM          SM          silty sand
                   76              X              X         x                  CH          CH          clay
                   106             X                                           Silt        SM          silty sand
                   127             X                                          SP-SM      SM/SW         silty sand with gravel
                   158             X                                           Silt      SM/ML         silty sand to silt

PH-8 (4)           42                             X         x                  CL          CL          clay
                    63             X                                          SP-SM        SP          sand with silt interbeds
                   106             X                                           SP          SP          sand
                   139                            X          x                 CL          CL          clay
                   161             X              --                           SM          SM          silty sand
                   208                            X          x                 CH          CH          clay

PH-9                16             X                                           SM          SM          silty sand
                   49             --              X          x                CH           CH          clay
                   107             X              --                     Silt or Clay      ML          silt
                  141.5           --              X          x                CL           CL          sandy clay
                   207                            X          x                MH           MH          silt
                   222             X              --                       SW-SM          SW/SM        sand w/silt

PH-10               17             X                                     Silt or Clay      ML          sandy silt
                   50              X              --                     Silt or Clay      ML          silt
                   74              --             X          x                CH           CH          clay
                   176                            X          x                CH           CH          sandy to silty clay
                   185             X              --                      SC or SM       SC or SM      silty to clayey sand
                   200                            X          x                CL            CL         sandy to silty clay
                                                  _ _
P-10L            241.5             X                                           SP           SP         sand
              242.2-242.           X              --                           SM           SM         silty sand
                 254.2             X              "• "                         SM           SM         silty sand


x = Test conducted
- - = Test not conducted
(1) Because of sample volume constraints, soil type was not definitely determined from laboratory results.
(2) This sample was taken during installation of Well P-2D(R), which is adjacent to PH-1.
(3) Moisture/Density tests were also performed on samples from PH-2, from depths of 246 and 283 feet.
(4) Triaxial permeability tests were also performed on samples from PH-8, from the following depths:
    220.5-221,221-221.5, 248-248.5, and 248.5-249 feet.
(5) See Figure A-l in Appendix A for explanation of abbreviations


k:\deh\mcco11\03-3493x\tests.xls-SoiIPhysicaI                    Page 2 of2                                           ENVIRON
                                                                 Exhibit 39
                                                                   5109
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 79 of 730 Page ID #:5153




                                   APPENDIX C

                                ATTACHMENT
                 SOIL PHYSICAL TESTING LABORATORY REPORTS




                                      Exhibit 39
                                        5110
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 80 of 730 Page ID #:5154

               Environmental
               Geotechnology
               Laboratory


  August 5, 1 994
                                                                             \
  Terra Tech Labs, Inc.
  1920 E. Deere Ave.
  Suite 130
  Santa Ana, CA 92705

  Attention:        Ms. Peggy Heeb

  Subject:          Report/Laboratory Testing Results
                    Project Name: McColl Site
                    Project No.: 93-228
                    EGL Project No.: 93-017-001

   Dear Ms. Heeb:

   Enclosed are results of the laboratory testing program conducted on samples from the McColl Site project.
   The testing performed for this program was conducted in general accordance with ASTM testing
   procedures as follows:

                    TYPE OF TEST                           TEST PROCEDURE

                    Atterberg Limit                        ASTM D 431 8
                    Grain Size Analysis                    ASTM D 422

   Attached herewith are Grain Size Distribution Curves.

   We appreciate the opportunity to provide testing services to Terra Tech Labs, Inc.. If you have any
   questions regarding the test results, please contact us.


   Very truly yours,

   Environmental Geotechnology Laboratory (EGL)



   Kean Tan, PE
   Principal

   Attachments




                                                Exhibit 39
   11823 Slauson Avenue, Unit 18. Santa Fe Springs,  CA 90670 • Tel.: (310) 945-0689, Fax (310) 945-0364
                                                  5111
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                        GRAVEL                                    SAND
                                                                                                                                      SILT OR CLAY
                 COARSE     |     FINE     COARSE        MEDIUM                             FINE
           u.s . STANDARD SIEVE OPENING                      U.S. STANDARD SIEVE NUMBER                                               HYDROMETER

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          SYMBOL            SAMPLE TO.                                                                                                                            CITY
                                                     (FT)            TYPE                                      TYPE                          LIMIT               INDEX

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                                                                                                          GRAIN SIZE
                                                                                                      DISTRIBUTION CURVE
                                                               Exhibit 39
                                                                        8/94                                                                                    FIGURE
                                                                 5112
    Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 82 of 730 Page ID #:5156


                              GRAVEL                                          SAND
                                                                                                                                     SILT OR CLAY
                       COARSE       |    FINE      COARSE 1 MEDIUM                                   FINE
                U.S . STANDARD SIEVE OPENING                           U.S. STANDARD SIEVE NUMBER                                    HYDROMETER
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               SYMBOL              SAMPLE ID.                                                                                                              CITY
                                                              (FT)                  TYPE                                   TYPE           LIMIT           INDEX

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                                                                                              ^tt^.gr              Laboratory



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                                                                               Exhibit8/94
                                                                                       39                                                               FIGURE
                                                                                 5113
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 83 of 730 Page ID #:5157


                        CiRAVbL                           SAND
                                                                                                                                  SILT OR CLAY
                   COARSE       FINE         COARSE | MEDIUM   |                             FINE
                 3. STANDARD SIEVE OPENING                     U.S. STANDARD SIEVE NUMBER                                         HYDROMETER

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          SYMBOL               SAMPLE ID.                                                                                                                             CITY
                                                     (FT)              TYPE                               TYPE                          LIMIT                        INDEX

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                                                                                                    Geotechnology                          McCOLL SITE
                                                                                  V&»«-^            Laboratory
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                                                                                                    DISTRIBUTION CURVE
                                                                    Exhibit8/94
                                                                            39                                                                                      FIGURE
                                                                      5114
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 84 of 730 Page ID #:5158


                    URAVEL                            SAND
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               COARSE  |   FINE          COARSE | MEDIUM                                      FINE
        U.S. STANDARD SIEVE OPENING                         U.S. STANDARD SIEVE NUMBER                                                      HYDROMETER

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       SYMBOL              SAMPLE ID.             DEPTH                   SAMPLE                                   SOIL                               LIQUID                    CITY
                                                   (FT)                    TYPE                                    TYPE                               LIMIT                    INDEX

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                                                                                                            GRAIN SIZE
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                                                                      Exhibit8/94
                                                                               39                                                                                             FIGURE
                                                                        5115
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 85 of 730 Page ID #:5159


                          okAvtL                                 SAND
                                                                                                                       SILT OR CLAY
                    COARSE     |    FINE     COARSE          MEDIUM 1                   FINE
             u.s . STANDARD SIEVE OPENING                         U.S. STANDARD SIEVE NUMBER                           HYDROMETER
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            SYMBOL            SAMPLE ID.               (FT)                                                                             CITY
                                                                        TYPE                               TYPE             LIMIT      INDEX

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                                                                                                                               McCOLL SITE
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                                                                    Exhibit 39
                                                                             8/94                                                     FIGURE
                                                                      5116
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 86 of 730 Page ID #:5160

                   URAVEL                             SAND
                                                                                                 SILT OR CLAY
              COARSE  |   FINE         COARSE     MEDIUM                  FINE
       U.S. STANDARD SIEVE OPENING                 U.S. STANDARD SIEVE NUMBER                    HYDROMETER
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      SYMBOL            SAMPLE ID.                           SAMPLE                    SOIL          LIQUID       CITY
                                             (FT)             TYPE                     TYPE           LIMIT      INDEX

        n                     PHI                176          BAG




                                                                                 Environmental      PROJECT NAME:
                                                                                 Geotechnology           McCOLL SITE
                                                                                 Laboratory



                                                                                      GRAIN SIZE
                                                                                 DISTRIBUTION CURVE
                                                             Exhibit
                                                                 8/9439                                         FIGURE
                                                               5117
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 87 of 730 Page ID #:5161

                     UKAVtL                                 SAND
                                                                                                              SILT OR CLAY
                COARSE  |   FINE         COARSE    MEDIUM          |            FINE
              5. STANDARD SIEVE OPENING                U.S. STANDARD SIEVE NUMBER                             HYDROMETER

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        SYMBOL             SAMPLE ID.                                                                                          CITY
                                               (FT)            TYPE                            TYPE                LIMIT      INDEX

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                                                                                             GRAIN SIZE
                                                                                         DISTRIBUTION CURVE
                                                                   7/94                                                      FIGURE
                                                         Exhibit 39
                                                           5118
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 88 of 730 Page ID #:5162


                     GRAVEL                                  SAND                                                        SILT OR CLAY
                COARSE |    FINE    COARSE          MEDIUM          FINE
         u.s . STANDARD SIEVE OPENING                U.S. STANDARD SIEVE NUMBER                                            HYDROMETER
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        SYMBOL          SAMPLE ID.                                                                                                                   CITY
                                                (FT)               TYPE                           TYPE                           LIMIT              INDEX

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                                                                                               GRAIN SIZE
                                                                                           DISTRIBUTION CURVE
                                                             Exhibit 7/94
                                                                     39                                                                        FIGURE
                                                               5119
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 89 of 730 Page ID #:5163

                               GRAVEL                          SAND
                                                                                                                                                      SILT OR CLAY
                          COARSE      FINE       COARSE | MEDIUM |         FINE
                        5. STANDARD SIEVE OPENING          U.S. STANDARD SIEVE NUMBER                                                                 HYDROMETER
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              SYMBOL                 SAMPLE ID.                                                                                                                                              CITY
                                                                 (FT)          TYPE                                     TYPE                                   LIMIT                        INDEX

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                                                                             Exhibit 7/94
                                                                                     39                                                                                                FIGURE
                                                                               5120
    Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 90 of 730 Page ID #:5164


                          GRAVEL                                    SAND
                                                                                                                                                      SILT OR CLAY
                     COARSE      FINE   COARSE                 MEDIUM           FINE
              U.S. STANDARD SIEVE OPENING                       U.S. STANDARD SIEVE NUMBER                                                            HYDROMETER
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                                                         DEPTH              SAMPLE                                         SOIL                             LIQUID                    PLASTI-
             SYMBOL            SAMPLE ID.                                                                                                                                               CITY
                                                          (FT)               TYPE                                          TYPE                              LIMIT                     INDEX

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                                                                                                                       GRAIN SIZE
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                                                                            Exhibit
                                                                                8/9439                                                                                            FIGURE
                                                                              5121
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 91 of 730 Page ID #:5165


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           SYMBOL            SAMPLE ID.                                                                                                                          CITY
                                                     (FT)              TYPE                                      TYPE                        LIMIT              INDEX

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                                                                                                        Em ironmental                      PROJECT NAME:
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                                                                                       m                Gee>technology                          McCOLL SITE
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                                                                                                         GRAIN SIZE
                                                                                                     DISTRIBUTION CURVE
                                                                 Exhibit 39
                                                                          8/94                                                                                 FIGURE
                                                                   5122
    Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 92 of 730 Page ID #:5166

                            GRAVEL                            SAND
                                                                                                                                  SILT OR CLAY
                      COARSE          FINE     COARSE     MEDIUM                       FINE
               u.s . STANDARD    SIEVE OPENING                U.S. STANDARD SIEVE NUMBER                                          HYDROMETER
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                                                    DEPTH             SAMPLE                              SOIL                            LIQUID                  PLASTI-
              SYMBOL             SAMPLE ID.                                                                                                                         CITY
                                                     (FT)              TYPE                               TYPE                             LIMIT                   INDEX

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                                                                                                                                              McCOLL SITE
                                                                                  %dp
                                                                                   W
                                                                                               Geotechnology
                                                                                               Laboratory


                                                                                                  GRAIN SIZE
                                                                                              DISTRIBUTION CURVE
                                                                      Exhibit
                                                                          7/9439                                                                                  FIGURE
                                                                        5123
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 93 of 730 Page ID #:5167

                           GRAVEL                            SAND
                                                                                                                                  SILT OR CLAY
                      COARSE      FINE          COARSE | MEDIUM                                        FINE
            v.s . STANDARD SIEVE OPENING                           U.S. STANDARD SIEVE NUMBER                                     HYDROMETER

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                                                        DEPTH             SAMPLE                                           SOIL        LIQUID    PLASTI-
           SYMBOL                 SAMPLE ID.             (FT)                                                                                      CITY
                                                                           TYPE                                            TYPE         LIMIT     INDEX

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                                                                                            •__$&  '£&         Geo technology              McCOLL SITE
                                                                                             TBSW
                                                                                            'Vj^»*.a           Lab*aratory
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                                                                                                                   GRAIN SIZE
                                                                                                               DISTRIBUTION CURVE
                                                                        Exhibit 39
                                                                                8/94                                                             FIGURE
                                                                          5124
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 94 of 730 Page ID #:5168


                        URAVEL                          SAND
                                                                                                                                   SILT OR CLAY
                  COARSE     |    FINE     COARSE J MEDIUM                               FINE
           u.s . STANDARD SIEVE OPENING                 U.S. STANDARD SIEVE NUMBER                                                 HYDROMETER

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          SYMBOL            SAMPLE ID.
                                                     (FT)        TYPE                                   TYPE                               LIMIT
                                                                                                                                                            CITY
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                                                                               gspjfegg          Geotechnology                              McCOLL SITE
                                                                                vjjfesjgr        Laboratory

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                                                                                                      GRAIN SIZE
                                                                                                 DISTRIBUTION CURVE
                                                                Exhibit 39
                                                                     7/94                                                                             FIGURE
                                                                  5125
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 95 of 730 Page ID #:5169

                          GRAVEL                                 SAND
                                                                                                                                      SILT OR CLAY
                     COARSE  |   FINE         COARSE         MEDIUM   |                     FINE
                 5. STANDARD SIEVE OPENING                       U.S. STANDARD SIEVE NUMBER                                           HYDROMETER

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                                                            GRAIN SIZE IN MILLIMETER




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          SYMBOL               SAMPLE ID.                                                                                                                       CITY
                                                        (FT)             TYPE                                 TYPE                         LIMIT               INDEX

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                                                                                                         GRAIN SIZE
                                                                                                    DISTRIBUTION CURVE
                                                                      Exhibit 39
                                                                              8/94                                                                            FIGURE
                                                                        5126
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 96 of 730 Page ID #:5170

                       URAVEL                                 SAND
                                                                                                                                         SILT OR CLAY
                  COARSE  |   FINE     COARSE        MEDIUM                           FINE
           u.s . STANDARD SIEVE OPENING               U.S. STANDARD SIEVE NUMBER                                                         HYDROMETER

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          SYMBOL          SAMPLE ID.                                                                                                                             CITY
                                                 (FT)            TYPE                                         TYPE                            LIMIT             INDEX

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                                                                                               Geotechnology                                        McCOLL SITE
                                                                          ^spggjp              Laboratory



                                                                                                   GRAIN SIZE
                                                                                               DISTRIBUTION CURVE
                                                                Exhibit7/94
                                                                         39                                                                                    FIGURE
                                                                  5127
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 97 of 730 Page ID #:5171

                         GRAVEL                          SAND
                    COARSE      FINE       COARSE | MEDIUM                                                                    SILT OR CLAY
                                                               |     FINE
                  5. STANDARD SIEVE OPENING          U.S. STANDARD SIEVE NUMBER                                               HYDROMETER
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            SYMBOL            SAMPLE ID.            (FT)                                                                                                    CITY
                                                                   TYPE                                 TYPE                        LIMIT                  INDEX

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                                                                                                   GRAIN SIZE
                                                                                               DISTRIBUTION CURVE
                                                             Exhibit 39
                                                                     7/94                                                                             FIGURE
                                                               5128
     Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 98 of 730 Page ID #:5172

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                       COARSE       FINE
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                                               COARSE          MEDIUM                         FINE
                u.s . STANDARD SIEVE OPENING                    U.S. STANDARD SIEVE NUMBER                                    HYDROMETER
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               SYMBOL            SAMPLE ro.                                                                                                            CITY
                                                          (FT)             TYPE                            TYPE                       LIMIT           INDEX

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                                                                                               •     Geotechnology                     McCOLL SITE
                                                                                   *js^              Laboratory
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                                                                                                          GRAIN SIZE
                                                                                                     DISTRIBUTION CURVE
                                                                          Exhibit 39
                                                                               8/94                                                                  FIGURE
                                                                            5129
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 99 of 730 Page ID #:5173

                        GRAVEL                             SAND
                   COARSE      FINE        COARSE                                                              SILT OR CLAY
                                                       MEDIUM                          FINE
           U.S. STANDARD SIEVE OPENING                  U.S. STANDARD SIEVE NUMBER                             HYDROMETER

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                                                    DEPTH          SAMPLE                           SOIL           LIQUID       CITY
          SYMBOL             SAMPLE ID.              (FT)           TYPE                            TYPE            LIMIT      INDEX


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                                                                                                ronmental          PROJECT NAME:
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                                                                              •*tjg ^         %& ratory




                                                                                                  GRAIN SIZE                               ^
                                                                                              DISTRIBUTION CURVE
                                                             Exhibit 39 9/94                                                  FIGURE
                                                               5130
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 100 of 730 Page ID
                                  #:5174
             Environmental
             Geotechnology
             Laboratory


September?, 1994
                                                                         x

Terra Tech Labs, Inc.
1920 E. Deere Ave., Ste. 130
Santa Ana, CA 92705

Attention:       Ms. Peggy Heeb

Subject:         Report/Laboratory Testing Results
                 Project Name: McColl Site
                 Project No.: 93-228
                 EGL Project No.: 93-017-001

Dear Ms. Heeb:

Enclosed are results of the laboratory testing program conducted on samples from the McColl Site project
project. The testing performed for this program was conducted in general accordance with testing
procedures as follows:

                 TYPE OF TEST                           TEST PROCEDURE
                 Moisture Content & Density             ASTM D 2937
                 Grain Size Analysis                    ASTM D 422
                 Atterberg Limit                        ASTM D 4318

Attached herewith are Summary of Index Properties Test Results and Grain Size Distribution Curves.

We appreciate the opportunity to provide testing services to Terra Tech Labs, Inc.. If you have any
questions regarding the test results, please contact us.


Very truly yours,

Environmental Geotechnology Laboratory (EGL)



Kean Tan, PE
Principal

Enclosure




                                             Exhibit
11823 Slauson Avenue, Unit 18, Santa Fe Springs,  CA 39 90670 • Tel.: (310)945-0689, Fax: (310)945-0364
                                                5131
           Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 101 of 730 Page ID
                                             #:5175
                                                  Environmental
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                                                  Geotechnology
                                                  Laboratory

                                                                      SUMMARY OF INDEX PROPERTIES TEST RESULTS


     PROJECT NAME: MCCOLL SITE                                                                               EGL NO.: 93-017-001

    PROJECT NO: 93-228                                                                                       CLENT: TERRA TECH

     DATE: 9-7-94                                                                                            SUMMARIZED BY: KEAN TAN

                SAMPLE                            DEPTH    MOISTURE        DRY       uses    GRAIN SIZE     ATT.                    LIMITS
                  ID                                       CONTENT       DENSITY    CLASS.     DIST.         LL          PL        PI
                                                   (FT)       (%)         (PCF)              (GR:SA:FI)

                        PH2                         246     24.63         101.6
                        PH2                         283     17.72         100.7
                        PH2                          6                                                       47         12         35
                        PH2                       )59.5                                                      63         19         44
                        PH2                        86.5                                                      40         10         30
                        PH2                        176                                                       33         15         18
                        PH3                         28                                                       20         16         4
                        PH3                        132                                                       27         13         14
                        PH4                        191.5                                       0:0:100
                        PH5                          13                                        2:62:36
                        PH5                         130                                         0:9:91
                        PH5                        24.7                               CL         ::54        36         12         24
                        PH5                          33                               SC         ::44        37         12         25
                        PH5                          37                               CH         ::90        61         18         43
                        PH5                         47                                         0:68:32
                        PH5                         89                                CL         ::51       21          11         10
                        PH6                         103                               CH         ::90       72          24         48
                        PH6                         128                               CH         ::82       56          22         34
                        PH6                         165                                        0:36:64
                        PH6                         169                                        6:73:21
                        PH6                         25                                         1:72:27
                        PH6                         35                                         0:54:46
                        PH6                        77.5                                        1 :58:41
                        PH7                         106                                        0:48:52
                        PH7                         127                                         2:90:8
                        PH7                         158                                        0:48:52
                        PH7                         26                                SC         ::46       34          14         20




                     11823 Slauson Avenue, Unit 18, Santa Fe Springs,
                                                                Exhibit CA
                                                                        39 90670 • Tel : (310) 945-0689, Fax. (310) 945-0364
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Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 102 of 730 Page ID
                                  #:5176
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             COARSE        FINE      COARSE                                                                             SILT OR CLAY
                                                    MEDIUM |                                FINE
       U.S. STANDARD SIEVE OPENING                   U.S. STANDARD SIEVE NUMBER                                         HYDROMETER

         3" 1- 1/2" 3/4"    3/8"   #4       #10          #20       #40 #60 #100                       #200
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                                                    GRAIN SIZE IN MILLIMETER



                                                                SAMPLE                                    SOIL                LIQUID         PLASTI-
      SYMBOL          SAMPLE ID.              DEPTH                                                                                            CITY
                                               (FT)              TYPE                                     TYPE                 LIMIT          INDEX

        D                  PH5                      13                  BAG                                   N/A




                                                                                  r*                                         PROJECT NAME:
                                                                               iivifSjXv;::-       Environmental
                                                                                ^ggJS'             Geotechnology                  MCCOLL SITE
                                                                                 ^vitf             Laboratory



                                                                                                       GRAIN SIZE
                                                                                                   DISTRIBUTION CURVE
                                                                       9/94
                                                              Exhibit 39                                                                     FIGURE
                                                                5133
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 103 of 730 Page ID
                                  #:5177
                      URAVEL                              SAND
                 COARSE      FINE         COARSE                                                                                  SILT OR CLAY
                                                      MEDIUM                         FINE
               5. STANDARD SIEVE OPENING               U.S. STANDARD SIEVE NUMBER                                                 HYDROMETER

            3"    1- 1/2" 3/4"   3/8"    #4
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                                                     GRAIN SIZE IN MILLIMETER



                                                                                                                                          LIQUID         PLASTI-
                                                   DEPTH        SAMPLE                            SOIL                                                     CITY
         SYMBOL             SAMPLE ID.              (FT)         TYPE                             TYPE                                     LIMIT          INDEX

           a                     PH5                24.7          BAG                                 CL                                    36                24




                                                                         •.•/.•Is-                                                      PROJECT NAME:
                                                                           •:•:•:•:•?       Envi ronmental
                                                                           :»               Geotechnology                                    MCCOLL SITE
                                                                         ^1^                Labo ratory



                                                                                                GRAIN SIZE                                                                   "*
                                                                                            DISTRIBUTION CURVE
                                                                        9/94                                                                             FIGURE
                                                           Exhibit 39
                                                             5134
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 104 of 730 Page ID
                                  #:5178
                   GRAVEL                            SAND
              COARSE      FINE                                                                                             SILT OR CLAY
                                      COARSE     MEDIUM   1                      FINE
       u.s . STANDARD SIEVE OPENING               U.S. STANDARD SIEVE NUMBER                                               HYDROMETER

        31     1- 1/2" 3/4"   3/8"   #4   #10        #20      #40        #60 #100               #200
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                                                 GRAIN SIZE IN MILLIMETER



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                                               DEPTH       SAMPLE                                    SOIL                       LIQUID                     CITY
      SYMBOL            SAMPLE ID.              (FT)        TYPE                                     TYPE                        LIMIT                    INDEX

                              PH5               33           BAG                                        SC                          37                      25
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                                                                    *&&                             ™o?y                            MCCOLL SITE
                                                                     ^tiis       F £&               iratory



                                                                                                   GRAIN SIZE
                                                                                              DISTRIBUTION CURVE
                                                       Exhibit 399/94                                                                                    FIGURE
                                                         5135
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 105 of 730 Page ID
                                  #:5179
                      URAVEL                         SAND
                 COARSE                                                                                           SILT OR CLAY
                             FINE     COARSE     MEDIUM   |                  FINE
          u.s,. STANDARD SIEVE OPENING               U.S. STANDARD SIEVE NUMBER                                   HYDROMETER

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                  1- 1/2" 3/4" 3/8" #4    #10         #20     #40         #60 #100 #200
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                                                GRAIN SIZE IN MILLIMETER



                                                                                          SOIL                           LIQUID              PLASTI-
         SYMBOL          SAMPLE ID.        DEPTH            SAMPLE                                                                             CITY
                                            (FT)             TYPE                         TYPE                            LIMIT               INDEX

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                                                                                    Envi ™  m.n,,i
                                                                                         ronmental
                                                                                                                        PROJECT NAME:
                                                                                                                             w™-™ T crrc
                                                                    d**                  echnology                           MCCOLL SITE
                                                                    isai:
                                                                     <gt»«»j Sp'    Labo ratory
                                                                     ^tlSM




                                                                                        GRAIN SIZE                                                        -T
                                                                                    DISTRIBUTION CURVE
                                                                   9/94                                                                      FIGURE
                                                      Exhibit 39
                                                        5136
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 106 of 730 Page ID
                                  #:5180
                    UKAVbL                            SAND
               COARSE      FINE     COARSE
                                                                                                                 SILT OR CLAY
                                               MEDIUM           FINE
        U.S. STANDARD SIEVE OPENING             U.S. STANDARD SIEVE NUMBER                                       HYDROMETER
          3" 1- 1/2" 3/4" 3/8" #4       #10         #20     #40 #60 #100                    #200
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                                               GRAIN SIZE IN MILLIMETER




                                             DEPTH       SAMPLE                                 SOIL                  LIQUID     PLASTI-
       SYMBOL          SAMPLE ID.                                                               TYPE                   LIMIT       CITY
                                              (FT)        TYPE                                                                    INDEX

         D                 PH5                 47             BAG                                    N/A




                                                                      .dfe              Environmewal                  PROJECT NAME:
                                                                                        Geotechnology                      MCCOLL SITE
                                                                      ^vut>'            Laboratory


                                                                                             GRAIN SIZE
                                                                                        DISTRIBUTION CURVE
                                                      Exhibit 39
                                                              9/94                                                               FIGURE
                                                        5137
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 107 of 730 Page ID
                                  #:5181
                      URAVEL                          SAND
                 COARSE  |   FINE       COARSE                                                                 SILT OR CLAY
                                                  MEDIUM                    FINE
               5. STANDARD SIEVE OPENING              U.S. STANDARD SIEVE NUMBER                               HYDROMETER


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                                                 GRAIN SIZE IN MILLIMETER



                                                                                                                      LIQUID            PLASTI-
                           SAMPLE ID.        DEPTH         SAMPLE                        SOIL                                             CITY
         SYMBOL                               (FT)          TYPE                         TYPE                          LIMIT             INDEX

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                                                                     l%aJ5         Geotechnology
                                                                      ^uS&>'       Laboratory



                                                                                       GRAIN SIZE
                                                                                   DISTRIBUTION CURVE
                                                                    9/94                                                                FIGURE
                                                       Exhibit 39
                                                         5138
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 108 of 730 Page ID
                                  #:5182
                     URAVtL                                           SAND
                COARSE      FINE                                                                                                      SILT OR CLAY
                                                COARSE           MEDIUM           FINE
         U.S. STANDARD SIEVE OPENING                              U.S. STANDARD SIEVE NUMBER                                          HYDROMETER
           3"     1- 1/2" 3/4"        3/8"     #4         #10         #20      #40          #60 #100       #200
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                                                                GRAIN SIZE IN MILLIMETER



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                                  SAMPLE ID.               DEPTH            SAMPLE                              SOIL                      LIQUID         CITY
        SYMBOL                                              (FT)             TYPE                               TYPE                       LIMIT        INDEX


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                                                                                         ^tiss   W       gg    oratory



                                                                                                             GRAIN SIZE
                                                                                                         DISTRIBUTION CURVE
                                                                          Exhibit 39
                                                                                  51/94                                                                FIGURE
                                                                            5139
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 109 of 730 Page ID
                                  #:5183
                       GRAVEL                                        SANri
                                                                                                                                SILT OR CLAY
                  COARSE   |    FINE         COARSE              MEDIUM    |                        FINE
               5. STANDARD SIEVE OPENING                          U.S. STANDARD SIEVE NUMBER                                    HYDROMETER

             3"    1- 1/2" 3/4" 3/8"       #4             #10         #20           #40       #60 #100 #200
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                                                                 GRAIN SIZE IN MILLIMETER



                                                            DEPTH               SAMPLE                                SOIL          LIQUID     PLASTI-
         SYMBOL             SAMPLE ID.                                                                                                           CITY
                                                             (FT)                TYPE                                 TYPE           LIMIT      INDEX

            D                   PH6                              25                 BAG                                   N/A




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                                                                                          ^$£KJ£:          Geotechnology                 MCCOLL SITE
                                                                                          IfaffSr          Laboratory

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                                                                                                                GRAIN SIZE                                 '*""
                                                                                                           DISTRIBUTION CURVE
                                                                      Exhibit 39 8/94                                                          FIGURE
                                                                        5140
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 110 of 730 Page ID
                                  #:5184
                   URAVEL                                  SAND
              COARSE  |   FINE                                                                                                            SILT OR CLAY
                                               COARSE | MEDIUM I                                   FINE
       U.S. STANDARD SIEVE OPENING                                U.S. STANDARD SIEVE NUMBER                                              HYDROMETER

         3"    1- 1/2" 3/4"       3/8"     #4            #10          #20        #40      #60 #100                 #200
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                                                            DEPTH           SAMPLE                                      SOIL                   LIQUID                CITY
      SYMBOL                  SAMPLE ID.                                                                                TYPE
                                                             (FT)            TYPE                                                               LIMIT               INDEX

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                                                                                                                   ^ironmental                PROJECT NAME:
                                                                                       ssrssaSs
                                                                                         HUU!      w s             a technology
                                                                                                                   wratory
                                                                                                                                                   MCCOLL SITE


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                                                                                                                 GRAIN SIZE
                                                                                                             DISTRIBUTION CURVE
                                                                          Exhibit 39
                                                                                   8/94                                                                            FIGURE
                                                                            5141
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 111 of 730 Page ID
                                  #:5185
                      UKAVfcL                                  SAND
                                                                                                                                    SILT OR CLAY
                 COARSE         FINE         COARSE        MEDIUM                                  FINE
          u.s . STANDARD SIEVE OPENING                      U.S. STANDARD SIEVE NUMBER                                              HYDROMETER


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                                                          GRAIN SIZE IN MILLIMETER



                                                      DEPTH                                                          SOIL                LIQUID    PLASTI-
         SYMBOL           SAMPLE ID.                                        SAMPLE                                                                   CITY
                                                       (FT)                  TYPE                                    TYPE                 LIMIT     INDEX

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                                                                                                     ;
                                                                                                             Geotechnology                   MCCOLL SITE
                                                                                        V^ygH.*
                                                                                                             Laboratory

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                                                                                                                 GRAIN SIZE                                    ">"^
                                                                                                             DISTRIBUTION CURVE
                                                                                   8/94                                                            FIGURE
                                                                Exhibit 39
                                                                  5142
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 112 of 730 Page ID
                                  #:5186
                    GRAVEL                              SAND
               COARSE  |   FINE                                                                                                    SILT OR CLAY
                                         COARSE     MEDIUM                         FINE
       u.s .   STANDARD SIEVE OPENING                U.S. STANDARD SIEVE NUMBER                                                    HYDROMETER

         3"     1- 1/2"   3/4"   3/8"   #4   #10         #20       #40       #60 #100          #200
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                                                  DEPTH        SAMPLE                              SOIL                                   LIQUID          CITY
      SYMBOL               SAMPLE ID.
                                                   (FT)         TYPE                               TYPE                                   LIMIT          INDEX


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                                                                         ^^^•'               Geotechnology                                       MCCOLL SITE
                                                                            ^isui>           Laboratory



                                                                                                 GRAIN SIZE
                                                                                             DISTRIBUTION CURVE
                                                                      )/94                                                                              FIGURE
                                                              Exhibit 39
                                                                5143
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 113 of 730 Page ID
                                  #:5187
                   GRAVEL                             SAND
              COARSE      FINE                                                                                           SILT OR CLAY
                                         COARSE | MEDIUM                           FINE
       U.S. STANDARD SIEVE OPENING                   U.S. STANDARD SIEVE NUMBER                                          HYDROMETER
        3"     1- 1/2"   3/4"   3/8"    #4   #10         #20     #40       #60 #100          #200
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                                               DEPTH           SAMPLE                            SOIL                         LIQUID                      CITY
      SYMBOL               SAMPLE ID.                                                            TYPE                             LiMrr
                                                (FT)            TYPE                                                                                     INDEX

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                                                                                              ratory
                                                                                                                                   MCCOLL SITE
                                                                               **         Labo



                                                                                              GRAIN SIZE
                                                                                          DISTRIBUTION CURVE
                                                                  9/94                                                                                  FIGURE
                                                          Exhibit 39
                                                            5144
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 114 of 730 Page ID
                                  #:5188
                      URAVEL                              SAND
                                                                                                                  SILT OR CLAY
                 COARSE  |   FINE            COARSE | MEDIUM                         FINE
         u.s. STANDARD SIEVE OPENING                       U.S. STANDARD SIEVE NUMBER                             HYDROMETER

          3'      1- 1/2"   3/4"   3/8"    #4      #10         #20      #40        #60 #100        #200
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                              SAMPLE ID.
                                                    DEPTH             SAMPLE                           SOIL            LIQUID
                                                                                                                                   CITY
        SYMBOL                                       (FT)              TYPE                            TYPE             LIMIT     INDEX

           n                       PH6                   165           BAG                             N/A




                                                                               pqlsSvX-.      Environmental           PROJECT NAME:
                                                                               iiiuij/^g      Geotechnology                MCCOLL SITE
                                                                                ^HSSfe'''     Laboratory

                                                >
                                                                                                  GRAIN SIZE
                                                                                              DISTRIBUTION CURVE
                                                                          I i/94                                                 FIGURE
                                                                 Exhibit 39
                                                                   5145
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 115 of 730 Page ID
                                  #:5189
                       GRAVEL                             SAND
                COARSE             FINE      COARSE j MEDIUM                                                            SILT OR CLAY
                                                               |                           FINE
              5. STANDARD SIEVE OPENING                           U.S. STANDARD SIEVE NUMBER                            HYDROMETER

           3"    1- 1/2"   3/4"    3/8"     #4
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                                                                GRAIN SIZE IN MILLIMETER



                                                             DEPTH        SAMPLE                          SOIL                   LIQUID   PLASTI-
        SYMBOL               SAMPLE ID.                                                                                                     CITY
                                                              (FT)         TYPE                           TYPE                    LIMIT    INDEX

          D                       PH6                           189         BAG                               N/A




                                                                                    :.:&a[-;:;:.    Environmental           PROJECT NAME:
                                                                                    piaS,ps:        Geotechnology                MCCOLL SITE
                                                                                     ^yvg^7         Laboratory

                                                     -
                                                                                                        GRAIN SIZE
                                                                                                    DISTRIBUTION CURVE
                                                                                8/94                                                      FIGURE
                                                                      Exhibit 39
                                                                        5146
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 116 of 730 Page ID
                                  #:5190
                   GRAVHL                              SAND
                                                                                                     SILT OR CLAY
              COARSE      FINE          COARSE     MEDIUM                   FINE
       U.S. STANDARD SIEVE OPENING                     U.S. STANDARD SIEVE NUMBER                    HYDROMETER

         3"    1- 1/2"   3/4"   3/8"   #4   #10         #20      #40      #60 #100      #200
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                                                  GRAIN SIZE IN MILLIMETER


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                                             DEPTH            SAMPLE                       SOIL          LIQUID       CITY
      SYMBOL              SAMPLE ID.                                                       TYPE           LIMIT
                                              (FT)             TYPE                                                  INDEX

                                PH7               26            BAG                         SC                34       20
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                                                                                     Environmental       PROJECT NAME:
                                                                                     Geotechnology            MCCOLL SITE
                                                                                     Laboratory



                                                                                       GRAIN SIZE
                                                                                   DISTOIBUTION CURVE
                                                                   9/94                                             FIGURE
                                                            Exhibit 39
                                                              5147
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 117 of 730 Page ID
                                  #:5191

                     GRAVEL                       SAND
                                                                                                                    SILT OR CLAY
                COARSE |     FINE   COARSE | MEDIUM           FINE
         u.s . STANDARD SIEVE OPENING         U.S. STANDARD SIEVE NUMBER                                            HYDROMETER
           3"    1- 1/2" 3/4"    3/8"   #4          #10        #20        #40          #60 #100          #200
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                                                          GRAIN SIZE IN MILLIMETER



                                                     DEPTH           SAMPLE                                  SOIL        LIQUID    PLASTI-
        SYMBOL            SAMPLE ID.                                                                                                 CITY
                                                      (FT)            TYPE                                   TYPE         LIMIT     INDEX

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                                                                                 ...fa v.-.v.v;     bnv ronmental       PROJECT NAME:
                                                                                        (H          Geotechnology            McCOLL SITE
                                                                                  1
                                                                                   *t3B JJF          Laboratory
                                              -
                                                                                                        GRAIN SIZE
                                                                                                    DISTRIBUTION CURVE
                                                                   Exhibit 8/94
                                                                           39                                                      FIGURE
                                                                     5148
        Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 118 of 730 Page ID
                                          #:5192
                     tiKAVKL                       SAND
                                                                                                                    SILT OR CLAY
                COARSE       FINE    COARSE | MEDIUM |         FINE
          U.S. STANDARD SIEVE OPENING          U.S. STANDARD SIEVE NUMBER                                           HYDROMETER
            3"   1- 1/2" 3/4"    3/8"   #4       #10            #20      #40#60 #100            #200
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                                                          GRAIN SIZE IN MILLIMETER



                                                  DEPTH               SAMPLE                       SOIL                       LIQUID           PLASTI-
        SYMBOL            SAMPLE ID.               (FT)                                            TYPE                        LIMIT
                                                                                                                                                 CITY
                                                                       TYPE                                                                     INDEX

           D                    PH7                       76           BAG                          CH                          94                   58




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                                                                                             Geotechnology                     McCOLL SITE
                                                                           :
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                                                                             •it^uj w        Laboratory
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                                                                                                  GRAIN SIZE
                                                                                             DISTRIBUTION CURVE
                                                                      Exhibit
                                                                          8/9439                                                               FIGURE
                                                                        5149
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 119 of 730 Page ID
                                  #:5193
                   GRAVEL                           SANL)
                                                                                                   SILT OR CLAY
              COARSE  |   FINE         COARSE | MEDIUM                    FINE
       U.S. STANDARD SIEVE OPENING                 U.S. STANDARD SIEVE NUMBER                      HYDROMETER

         3"    1- 1/2" 3/4"   3/8"    #4   #10         #20     #40      #60 #100      #200
      100




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                                                 GRAIN SIZE IN MILLIMETER



                                             DEPTH           SAMPLE                      SOIL          LIQUID
                                                                                                                  PLASTI-
      SYMBOL             SAMPLE ID.
                                              (FT)            TYPE                       TYPE           LIMIT
                                                                                                                    CITY
                                                                                                                  INDEX


        D                     PH7                106          BAG                        N/A




                                                                                   Environmental       PROJECT NAME:
                                                                                   Geotechnology            MCCOLL SITE
                                                                                   Laboratory



                                                                                      GRAIN SIZE
                                                                                 DISTRIBUTION CURVE
                                                                 8/94                                             FIGURE
                                                        Exhibit 39
                                                          5150
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 120 of 730 Page ID
                                  #:5194
               GRAVEL                         SAND
                                                                                              SILT OR CLAY
         COARSE     |    FINE    COARSE | MEDIUM   |                 FINE
   U.S. STANDARD SIEVE OPENING               U.S. STANDARD SIEVE NUMBER                       HYDROMETER

    3"    1- 1/2" 3/4"   3/8"        #10         #20      #40      #60 #100     #200




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                                           GRAIN SIZE IN MILLIMETER



                                       DEPTH                                        SOIL          LIQUID     PLASTI-
 SYMBOL             SAMPLE ID.                         SAMPLE
                                        (FT)                                                                   CITY
                                                        TYPE                        TYPE           LIMIT      INDEX

    n                    PH7               127           BAG                        N/A




                                                                              Environmental       PROJECT NAME:
                                                                              Geotechnology            MCCOLL SITE
                                                                              Laboratory



                                                                                   GRAIN SIZE
                                                                              DISTRIBUTION CURVE
                                                            8/94                                             FIGURE
                                                     Exhibit 39
                                                       5151
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 121 of 730 Page ID
                                  #:5195
                       GRAVEL                                     SAND
                                                                                                                         SILT OR CLAY
                  COARSE      FINE           COARSE           MEDIUM                       FINE
                3. STANDARD SIEVE OPENING                      U.S. STANDARD SIEVE NUMBER                                HYDROMETER

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                                                             GRAIN SIZE IN MILLIMETER



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         SYMBOL             SAMPLE ID.                  DEPTH          SAMPLE                             SOIL               LIQUID
                                                                                                                                          CITY
                                                         (FT)           TYPE                              TYPE                LIMIT      INDEX


           a                      PH7                        158            BAG                                N/A




                                                                                                   Environmental            PROJECT NAME:
                                                                                   s£s£3           Geotechnology                 MCCOLL SITE
                                                                                           W       Laboratory
                                                  -
                                                                                                                                                     X
                                                                                                       GRAIN SIZE                                     ~
                                                                                                   DISTRIBUTION CURVE
                                                                   Exhibit 398/94                                                       FIGURE
                                                                     5152
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 122 of 730 Page ID
                                  #:5196
             Environmental
             Geotechnology
             Laboratory


October 17, 1994
                                                                          x


Terra Tech Labs, Inc.
1920E. Deere Ave., Ste. 130
Santa Ana, CA 92705

Attention:       Ms. Peggy Heeb

Subject:         Report/Laboratory Testing Results
                 Project Name: McColl Site
                 Project No.: 93-228
                 EGL Project No.: 93-017-001

Dear Ms. Heeb:

Enclosed are results of the laboratory testing program conducted on samples from the McColl Site project
project. The testing performed for this program was conducted in general accordance with testing
procedures as follows:

                 TYPE OF TEST                          TEST PROCEDURE
                 Triaxial Permeability                 EPA 91 00
                 Grain Size Analysis                   ASTM D 422
                 Atterberg Limit                       ASTM D 4318

Attached herewith are Summary of Index Properties Test Results, Summary of Triaxial Permeability Test
Results, and Grain Size Distribution Curves.

We appreciate the opportunity to provide testing services to Terra Tech Labs, Inc.. If you have any
questions regarding the test results, please contact us.


Very truly yours,

Environmental Geotechnology Laboratory (EGL)



Kean tan, PE
Principal

Enclosure




                                              Exhibit 39
11823 Slauson Avenue. Unit 18, Santa Fe Springs, CA 90670 • Tel.: (310) 945-0689, Fax: (310) 945-0364
                                                5153
   Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 123 of 730 Page ID
                                     #:5197
                   Environmental
                   Geotechnology
                   Laboratory

                                 SUMMARY OF INDEX PROPERTIES TEST RESULTS


PROJECT NAME: MCCOLL SITE                                                    EGL NO.: 93-017-001

PROJECT NO: 93-228                                                           CLENT: TERRA TECH

DATE: 10-17-94                                                               SUMMARIZED BY: KEAN TAN

   SAMPLE          DEPTH     MOISTURE     DRY       uses     GRAIN SIZE     ATT.                    LIMITS
     ID                      CONTENT    DENSITY    CLASS.      DIST.         LL         PL         PI
                     (FT)       (%>      (PCFi               (GR:SA:FI)

    P2D(R)         212-219                                     0:88:12
     PH10             17                                       0:18:82
     PH10             50                                       0:14:86
     PH10             74                             CH         ::99        84          25         59
     PH10            176                             CH         ::83        57          15         42
     PH10            185                                       0:58:42
     PH10            200                             CL         ::53        38          12         26
     PH8              42                             CL         ::59        47          18         29
     PH8         L   63                                        0:89:1 1
     PH8             106                                       0:94:6
     PH8             139                             CL         ::76        39          18         21
     PH8             161                                      0:80:20
     PH8             208                             CH        0:1:99       60          24         36
     PH9              16                                       1:69:30
     PH9             49                              CH         ::88        80          26         54
     PH9             107                                      0:48:52
     PH9            141.5                            CL         ::63        40          12         26
     PH9             207                             MH         ::78        67          20         47
     PH9             222                                      16:70:14




                                                 Exhibit
    11823 Slauson Avenue, Unit 18, Santa Fe Springs, CA3990670 • Tel (310) 945-0689, Fax (310) 945-0364
                                                   5154
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 124 of 730 Page ID
                                  #:5198

             Environmental
             Geotechnology
             I _l__.-_*_._ ,
             Laboratory


                          SUMMARY OF TRIAXIAL PERMEABILITY TEST RESULTS
                                          EPA9+6S

PROJECT NAME: MCCOLL SITE                                                EGL NO.: 93-017-001

PROJECT NO.: 93-228                                                      CLIENT: TERRA TECH LABS, INC

DATE: 10-17-94                                                           SUMMARIZED BY: KEAN TAN

     SAMPLE           DEPTH         INITIAL         FINAL
       ID                          MOISTURE       MOISTURE       DRY       EFFECTIVE HYDRAULIC
                                   CONTENT        CONTENT      DENSITY      STRESS CONDUCTIVITY
                       (FT)           (%)            (%)        (PCF)         (PSI)   (CM/SEC)
      PH-8           220.5-221       26.54         23.88        90.6         37.1      1.7E-05
      PH-8           221-221.5       29.18         24.06         91.4        37.8      2.8E-05
      PH-8           248-248.5       18.70         18.32        106.9        38.5      2.7E-05
      PH-8           248.5-249       16.81         21.96         99.8        48.3      2.4E-04




                                             Exhibit 39
11823 Slauson Avenue, Unit 18, Santa Fe Springs,5155
                                                 CA 90670 • Tel.: (310)945-0689, Fax: (310)945-0364
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 125 of 730 Page ID
                                  #:5199
                      GRAVEL                      SAND
                COARSE     |      FINE                                                                         SILT OR CLAY
                                    COARSE | MEDIUM |         FINE
         u.s . STANDARD SIEVE OPENING         U.S. STANDARD SIEVE NUMBER                                       HYDROMETER
           3"    1- 1/2" 3/4"     3/8"   #4   #10        #20           #40     #60 #100             #200
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                                                    GRAIN SIZE IN MILLIMETER



                                                                                                                    LIQUID    PLASTI-
        SYMBOL            SAMPLE ID.           DEPTH           SAMPLE                                 SOIL                      CITY
                                                (FT)            TYPE                                 TYPE            LIMIT     INDEX

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                                                                                                                  PROJECT NAME:
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                                                                                            Environmental
                                                                                            Geotechnology
                                                                                            Laboratory
                                                                                                                       MCCOLL SITE



                                                                                               GRAIN SIZE
                                                                                           DISTRIBUTION CURVE
                                                          Exhibit 39
                                                                   10/94                                                      FIGURE
                                                            5156
              Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 126 of 730 Page ID
                                                #:5200
                     ~"        GRAVEL                   SAND
                          COARSE 1    FINECOARSE | MEDIUM |                                                                 SILT OR CLAY
                                                                   FINE
               u.s . STANDARD SIEVE OPENING        U.S. STANDARD SIEVE NUMBER                                               HYDROMETER
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                                                             GRAIN SIZE IN MILLIMETER




                                                        DEPTH         SAMPLE                       SOIL                          LIQUID             PLASTI-
              SYMBOL                SAMPLE ID.           (FT)                                      TYPE                           LIMIT               CITY
                                                                       TYPE                                                                          INDEX

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                                                                              lliplg       Geotechnology                            MCCOLL SITE
                                                                              ^ffjfcJF     Laboratory


                                                                                               GRAIN SIZE
                                                                                           DISTRIBUTION CURVE
                                                                         Exhibit 39
                                                                             10/94                                                                 FIGURE
                                                                           5157
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 127 of 730 Page ID
                                  #:5201
              GRAVEL                             SAND        •
                                                                                       SILT OR CLAY
         COARSE       FINE    COARSE         MEDIUM          FINE
     5. STANDARD SIEVE OPENING               U.S. STANDARD SIEVE NUMBER                HYDROMETER
     3"    1- 1/2" 3/4"   3/8"   #4   #10        #20     #40    #60 #100   #200




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                                            GRAIN SIZE IN MILLIMETER



                                                                            SOIL           LIQUID     PLASTI-
  SYMBOL            SAMPLE ro.         DEPTH           SAMPLE                                           CITY
                                        (FT)            TYPE                TYPE            LIMIT      INDEX

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                                                                       Environmental      PROJECT NAME:
                                                                       Geotechnology            MCCOLL SITE
                                                                       Laboratory


                                                                           GRAIN SIZE
                                                                      DISTRIBUTION CURVE
                                                           10/94
                                                  Exhibit 39                                          FIGURE
                                                    5158
            Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 128 of 730 Page ID
                                              #:5202
                                                -
                         GRAVEL                            SAND
                                                                                                                             SILT OR CLAY
                    COARSE      FINE        COARSE     MEDIUM                                    FINE
             u.s . STANDARD SIEVE OPENING                   U.S. STANDARD STEVE NUMBER                                       HYDROMETER
X             3"     1-1/2" 3/4"    3/8"   #4   #10          #20               #40        #60 '#100        #200
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                                                      GRAIN SIZE IN MILLIMETER




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            SYMBOL           SAMPLE ID.             DEPTH          SAMPLE                                     SOIL                                         CITY
                                                     (FT)           TYPE                                      TYPE                     LIMIT              INDEX

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                                                                                     ..rm               Environmental            PROJECT NAME:
                                                                                                        Geotechnology                 MCCOLL SITE
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                                                                                                        Laboratory



                                                                                                            GRAIN SIZE
                                                                                                        DISTRIBUTION CURVE
                                                                       Exhibit
                                                                          10/9439                                                                    FIGURE
                                                                         5159
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 129 of 730 Page ID
                                  #:5203
                      CiKAVJsL                         SAND
                COARSE           FINE                                                                               SILT OR CLAY
                                          COARSE | MEDIUM                       FINE
          U.S . STANDARD SIEVE OPENING                    U.S. STANDARD SIEVE NUMBER                                HYDROMETER

           3"    1- 1/2" 3/4"     3/8"   #4   #10          #20       #40   #60 #100       #200
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                                                    GRAIN SIZE IN MILLIMETER



                                                                                             SOIL                              LIQUID         PLASTI-
        SYMBOL            SAMPLE ID.           DEPTH             SAMPLE                                                                         CITY
                                                (FT)              TYPE                       TYPE                               LIMIT          INDEX

          D                      PH8                139           TUBE                           CL                              39                 21




                                                                                       Environmental                      PROJECT NAME:
                                                                               £v -    Geotechnolo^                            MCCOLL SITE
                                                                               W       Laboratory



                                                                                            GRAIN SIZE
                                                                                       DISTRIBUTION CURVE
                                                               Exhibit 10/94
                                                                       39                                                                     FIGURE
                                                                 5160
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 130 of 730 Page ID
                                  #:5204
             OKAVEL                            SAMU
                                                                                            SILT OR CLAY
        COARSE      FINE        COARSE     MEDIUM                    FINE
  U.S. STANDARD SIEVE OPENING               U.S. STANDARD SIEVE NUMBER                      HYDROMETER

   3"    1- 1/2" 3/4"   3/8"   #4   #10         #20       #40    #60 #100      #200
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   75                                           1                           0.1               0.01                   0.001
                                          GRAIN SIZE IN MILLIMETER




                                     DEPTH                                                      LIQUID     PLASTI-
                                                      SAMPLE                      SOIL                       CITY
SYMBOL            SAMPLE ro.          (FT)                                                       LIMIT
                                                       TYPE                       TYPE                      INDEX


   n                    PH8               161           TUBE                      N/A




                                                                            Environmental      PROJECT NAME:
                                                                            Geotechnology           MCCOLL SITE
                                                                            Laboratory



                                                                                GRAIN SIZE
                                                                            DISTRIBUTION CURVE
                                                      Exhibit10/94
                                                              39                                           FIGURE
                                                        5161
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 131 of 730 Page ID
                                  #:5205
                   GRAVEL                             SAND
                                                                                                    SILT OR CLAY
              COARSE |    FINE         COARSE     MEDIUM                     FINE
       U.S. STANDARD SIEVE OPENING                 U.S. STANDARD SIEVE NUMBER                       HYDROMETER
       3"      1- 1/2" 3/4"    3/8"   #4   #10         #20       #40       #60 #100     #200
     100


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                                                 GRAIN SIZE IN MILLIMETER



                                            DEPTH            SAMPLE                         SOIL        LIQUID     PLASTI-
     SYMBOL             SAMPLE ro.           (FT)
                                                                                                                     CITY
                                                              TYPE                          TYPE         LIMIT      INDEX

       D                      PH8                208          TUBE                           CH              60       36




                                                                                    Environmental      PROJECT NAME:
                                                                                    Geotechnology           MCCOLL SITE
                                                                                    Laboratory


                                                                                        GRAIN SIZE
                                                                                    DISTRIBUTION CURVE
                                                           Exhibit 39
                                                                   10/94                                           FIGURE
                                                             5162
            Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 132 of 730 Page ID
                                              #:5206

                          GRAVJaL                              SAND
                                                                                                                                                  SILT OR CLAY
                     COARSE       FINE     COARSE          MEDIUM              FINE
             U.S . STANDARD SIEVE OPENING                      U.S. STANDARD SIEVE NUMBER                                                         HYDROMETER
y             3"      1- 112" 3/4" 3/8" #4       #10            #20           #40     #60 #100 #200
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                                                          GRAIN SIZE IN MILLIMETER



                                                                                                                  SOIL                                LIQUID          PLASTI-
            SYMBOL            SAMPLE ro.          DEPTH               SAMPLE                                                                                            CITY
                                                   (FT)                TYPE                                       TYPE                                 LIMIT           INDEX

              D                  PH9                      16              TUBE                                        N/A




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                                                                                                       Environmental                                        J™Ecrrn
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                                                                                           ;Iv:        Geotechnology                                       MCCOLL SITE
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                                                                                                            GRAIN SIZE
                                                                                                       DISTRIBUTION CURVE
                                                                          Exhibit 39
                                                                              10/94                                                                                  FIGURE
                                                                            5163
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 133 of 730 Page ID
                                  #:5207
                      UKAVEL                           SAND
                 COARSE
                                                                                                                          SILT OR CLAY
                             FINE         COARSE | MEDIUM                         FINE
           U.S. STANDARD SIEVE OPENING                   U.S. STANDARD STEVE NUMBER                                   HYDROMETER
            3"    1- 1/2" 3/4"    3/8"   #4   #10         #20     #40    #60 #100           #200



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                                                    GRAIN SIZE IN MILLIMETER




                                               DEPTH            SAMPLE                         SOIL                            LIQUID                  PLASTI-
         SYMBOL            SAMPLE ro.                                                                                           LIMIT                    CITY
                                                (FT)             TYPE                          TYPE                                                     INDEX

           D                     PH9                49           TUBE                              CH                                  80                 54




                                                                    ...»                 Environmental                        PROJECT NAME:
                                                                                  :                                                MCCOLL SITE
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                                                                              V.V.
                                                                                         Geotechnology
                                                                              f          Laboratory


                                                                                             GRAIN SIZE
                                                                                         DISTRIBUTION CURVE
                                                                   10/94                                                                               FIGURE
                                                           Exhibit 39
                                                             5164
         Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 134 of 730 Page ID
                                           #:5208

                          URAVEL                           SAND
                                                                                                                              SILT OR CLAY
                     COARSE      FINE         COARSE | MEDIUM   |                     FINE
           U.S. STANDARD SIEVE OPENING                    U.S. STANDARD STEVE NUMBER                                          HYDROMETER

'            3"       1- 1/2" 3/4"   3/8"    #4   #10         «0      #40      #60 #100             #200
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                                                        GRAIN SIZE IN MILLIMETER



                                                                                                                                         LIQUID       TLASTI-
                                                    DEPTH          SAMPLE                              SOIL                                             CITY
          SYMBOL                SAMPLE TO.           (FT)                                              TYPE                               LIMIT
                                                                    TYPE                                                                               INDEX


            n                        PH9                107         TUBE                                N/A




                                                                            ....TL-                  ronmental                       PROJECT NAME:
                                                                         Sagngfc
                                                                                      gg         Geotechnology                            MCCOLL SITE
                                                                         till         W          Labcratory


                                                                                                     GRAIN SIZE
                                                                                                 DISTRIBUTION CURVE
                                                                   Exhibit 39                                                                         FIGURE
                                                                        10/94
                                                                     5165
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 135 of 730 Page ID
                                  #:5209
                     GRAVEL                           SAND
                            FINE                                                                                    SILT OR CLAY
                COARSE                COARSE      MEDIUM                     FINE
         u.s . STANDARD STEVE OPENING              U.S. STANDARD SIEVE NUMBER                                       HYDROMETER

          3"     1- 1/2" 3/4" 3/8"   #4   #10          #20      #40       #60 #100     #200
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                                                GRAIN SIZE IN MILLIMETER



                                                                                          SOIL                             LIQUID                 PLASTI-
       SYMBOL           SAMPLE ro.         DEPTH             SAMPLE                                                                                 CITY
                                            (FT)              TYPE                        TYPE                             LIMIT                   INDEX

         D                  PH9                141.5          TUBE                            CL                                40                     28




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                                                                   sA^.             Environmental                                    I^JWE.:
                                                                   :gffisfc.v.v.v   Geotechnology                                   MCCOLL SITE
                                                                    TdftaftjJTr     Laboratory



                                                                                        GRAIN SIZE
                                                                                    DISTRIBUTION CURVE
                                                           Exhibit10/94
                                                                   39                                                                             FIGURE
                                                             5166
 Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 136 of 730 Page ID
                                   #:5210
                   UUAVEL                                SAND
                                                                                               SILT OR CLAY
             COARSE          FINE    COARSE | MEDIUM                    FINE
      U.S. STANDARD STEVE OPENING                U.S. STANDARD SIEVE NUMBER                    HYDROMETER

       3"     1- 1/2" 3/4"   3/8"   #4   #10         #20      #40   #60 #100      #200
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                                               GRAIN SIZE IN MILLIMETER



                                                                                                   LIQUID     PLASTI-
     SYMBOL            SAMPLE ro.         DEPTH            SAMPLE                   SOIL                        CITY
                                           (FT)             TYPE                    TYPE            LIMIT      INDEX

       D                     PH9               207          TUBE                     MH                 67       47




                                                                               Environmental       PROJECT NAME:
                                                                               Geotechnology            MCCOLL SITE
                                                                               Laboratory


                                                                                   GRAIN SIZE
                                                                               DISTRIBUTION CURVE
                                                           Exhibit 39
                                                                10/94                                         FIGURE
                                                             5167
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 137 of 730 Page ID
                                  #:5211
                      GRAVEL                                                        SAND
                                                                                                                                             STLT OR CLAY
               COARSE            FINE               COARSE | MEDIUM                                         FINE
         u.s . STANDARD STEVE OPENING                                      U.S. STANDARD STEVE NUMBER                                         HYDROMETER

          3"     1- 1/2" 3/4"        3/8"          #4              #10         #20            #40       #60 #100       #200
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                                                                         GRAIN SIZE IN MILLIMETER



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                                                                    DEPTH                SAMPLE                          SOIL                                    CITY
        SYMBOL            SAMPLE ro.                                 (FT)                 TYPE                           TYPE                     LIMIT         INDEX


          a                      PH9                                     222              TUBE                           N/A




                                                                                                  iv.fJL..-.v.     Environmental                 PROJECT NAME:
                                                                                                  5j^^?^5          Geotechnology                      MCCOLL SITE
                                                                                                   ^j^g^r          Laboratory



                                                                                                                       GRAIN SIZE
                                                                                                                   DISTRIBUTION CURVE
                                                                                Exhibit 39
                                                                                        10/94                                                                 FIGURE
                                                                                  5168
            Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 138 of 730 Page ID
                                              #:5212
                         UKAVEL                                         SAINU
                                                                                                                                         SILT OR CLAY
                    COARSE      FINE            COARSE        MEDIUM               1          FINE
             U.S. STANDARD STEVE OPENING                          U.S. STANDARD STEVE NUMBER                                             HYDROMETER

'              3'    1- 1/2" 3/4"        3/8"   #4   #10           #20            #40 #60 #100               #200
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                                                             GRAIN SIZE IN MILLIMETER



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            SYMBOL            SAMPLE ro.             DEPTH               SAMPLE                               SOIL                               LIQUTO             CITY
                                                      (FT)                TYPE                                TYPE                                 LIMIT           INDEX

              D                         PH10                 17              TUBE                              N/A




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                                                                                                       Environmental                            PROJECT NAME:
                                                                                           £»   "i     Geotechnology                                 MCCOLL SITE
                                                                                                       Laboratory



                                                                                                            GRAIN SIZE
                                                                                                       DISTRIBUTION CURVE
                                                                             Exhibit 39
                                                                                 10/94                                                                           FIGURE
                                                                               5169
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 139 of 730 Page ID
                                  #:5213
                       GRAVEL                             SAND
                                                                                                                          SILT OR CLAY
                 COARSE    |      FINE    COARSE      MEDIUM                        FINE
           u.s . STANDARD STEVE OPENING                   U.S. STANDARD STEVE NUMBER                                     HYDROMETER

            3"    1- 1/2" 3/4"    3/8"   #4   #10      #20         #40 #60 #100 #200
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                                                     GRAIN SIZE IN MILLIMETER



                                               DEPTH           SAMPLE                              SOIL                               LIQUID              PLASTI-
         SYMBOL           SAMPLE ro.                                                                                                                        CITY
                                                (FT)            TYPE                               TYPE                                LIMIT               INDEX

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                                                                        'UU r              Laboratory



                                                                                                GRAIN SIZE
                                                                                           DISTRIBUTION CURVE
                                                            Exhibit 39
                                                                     10/94                                                                               FIGURE
                                                              5170
       Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 140 of 730 Page ID
                                         #:5214
                       GRAVEL                            SAND,
                                                                                                            SILT OR CLAY
                 COARSE          FINE     COARSE     MEDIUM                     FINE
          u.s . STANDARD SIEVE OPENING                   U.S. STANDARD STEVE NUMBER                         HYDROMETER

           3"     1- 1/2" 3/4"    3/8"   #4   #10         #20      #40     #60 #100       #200
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                                                    GRAIN SIZE IN MILLIMETER



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                                               DEPTH            SAMPLE                       SOIL                 LIQUID                   CITY
         SYMBOL            SAMPLE ro.
                                                   (FT)          TYPE                        TYPE                  LIMIT                  INDEX

           D                     PH10               74           TUBE                         CH                       84                   59




                                                                      -••.Ss.v.-.v.    Environmental              PROJECT NAME:
                                                                      ssajnESSi;       Geotechnology                   MCCOLL SITE
                                                                      1§||p?'          Laboratory



                                                                                           GRAIN SIZE
                                                                                       DISTRIBUTION CURVE
                                                                     10/94                                                               FIGURE
                                                                Exhibit 39
                                                                  5171
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 141 of 730 Page ID
                                  #:5215
                      OKAVEL                             SAND
                                                                                                                            SILT OR CLAY
                 COARSE      FINE         COARSE     MEDIUM                    FINE
          U.S . STANDARD STEVE OPENING                    U.S. STANDARD SIEVE NUMBER                                        HYDROMETER

           3"     1- 1/2" 3/4"    3/8"   #4   #10          #20     #40    #60 #100       #200
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                                                    GRAIN SIZE IN MILLIMETER




                                                                 SAMPLE                     SOIL                                LIQUTO                       PLASTI-
         SYMBOL            SAMPLE ro.          DEPTH                                                                                                           CITY
                                                (FT)              TYPE                      TYPE                                 UMIT                         INDEX

           D                     PH10               176           TUBE                          CH                                      57                       42




                                                                                      Environmental                             PROJECT NAME:
                                                                      |vX^»    J      Geotechnology                                  MCCOLL SITE
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                                                                               '      Laboratory



                                                                                          GRAIN SIZE
                                                                                      DISTRIBUTION CURVE
                                                            Exhibit 39
                                                                     10/94                                                                               FIGURE
                                                              5172
    Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 142 of 730 Page ID
                                      #:5216
                      URAVEL                           SAND
                                                                                                                                                SILT OR CLAY
                 COARSE |    FINE         COARSE | MEDIUM                 FINE
           u.s . STANDARD STEVE OPENING                    U.S. STANDARD SIEVE NUMBER                                                           HYDROMETER
            3"    1- 1/2" 3/4"    3/8"   #4    #10          #20                  #40              #60 #100        #200
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                                                     GRAIN SIZE IN MILLIMETER



                                                DEPTH                                                                SOU,                              LIQUID             PLASTI-
         SYMBOL            SAMPLE m.                                    SAMPLE                                                                                              CITY
                                                 (FT)                    TYPE                                        TYPE                               LIMIT              INDEX

           D                     PH10                185                    TUBE                                     N/A




                                                                                                               Environmental                          PROJECT NAME:
                                                                                                               Geotechnology                               MCCOLL SITE
                                                                                          gg5.i                Laboratory


                                                                                                                GRAIN SIZE
                                                                                                           DISTRIBUTION CURVE
                                                                        Exhibit10/94
                                                                                39                                                                                        FIGURE
                                                                          5173
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                                  #:5217

                  GRAVEL                    —         SAND                         1
                                                                                             SILT OR CLAY
             COARSE      FINE     COARSE     MEDIUM                   FINE
      U.S. STANDARD STEVE OPENING               U.S. STANDARD SIEVE NUMBER                   HYDROMETER
       3"     1- 1/2" 3/4" 3/8" #4    #10         #20      #40    #60 #100      #200
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      60
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      30



      20
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        75               10                       1                          0.1               0.01                      0.001
                                            GRAIN SIZE IN MILLIMETER



                                                                                                                PLASTI-
                                       DEPTH            SAMPLE                     SOIL          LIQUID           CITY
     SYMBOL          SAMPLE ro.
                                        (FT)             TYPE                      TYPE           LIMIT          INDEX

       a                PH10                200          TUBE                          CL             38           26




                                                                             Environmental      PROJECT NAME:
                                                                             Geotechnology           MCCOLL SITE
                                                                             Laboratory



                                                                                 GRAIN SIZE
                                                                             DISTRIBUTION CURVE
                                                      Exhibit 39
                                                              10/94                                             FIGURE
                                                        5174
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                                  #:5218
              KEANTAN
                                                     720 North Valley Street, Suite B, Anaheim, CA 92801
                                                     Tel.: (714) 535-7616 • Fax: (714) 535-7568




July 10, 1995


Thermo Analytical, Inc.
1920 E. Deere Ave.
Suite 130
Santa Ana, CA 92705

Attention:       Ms. Patty Mata

Subject:         Report/Laboratory Testing Results
                 Project Name: McColl Site
                 Project No.: L2202
                 KTL Project No.: 95-053-002

Dear Ms. Mata:

Enclosed are results of the laboratory testing program conducted on samples from the McColl Site
project. The testing performed for this program was conducted in general accordance with ASTM
testing procedures as follows:

                 TYPE OF TEST                              TEST PROCEDURE

                 Sieve Analysis                            ASTM D 422


Attached herewith are two grain size distribution curves.

We appreciate the opportunity to provide testing services to Thermo Analytical, Inc.. If you have any
questions regarding the test results, please contact us.


Very truly yours,

Keantan Laboratories



Kean Tan, PE
Principal

Attachments




                                              Exhibit 39
                                                5175
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 145 of 730 Page ID
                                  #:5219

              OKAVbL                            SAND
                                                                                          SILT OR CLAY
         COARSE      FINE       COARSE      MEDIUM                  FINE
    U.S. STANDARD SIEVE OPENING              U.S. STANDARD SIEVE NUMBER                   HYDROMETER
                               #4   #10           #20    #40      #60 #100    #200




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                                           GRAIN SIZE IN MILLIMETER



                                         DEPTH          SAMPLE                     SOIL        LIQUID    PLASTI-
   SYMBOL         SAMPLE ID.                                                                               CITY
                                          (FT)           TYPE                      TYPE         LIMIT     INDEX

     D               P-10L                241.5          TUBE                       SP




                                                                                              PROJECT NAME:
                                                                     KEANTAN LABORATORIES          MCCOLL SITE




                                                                                  GRAIN SIZE
                                                                             DISTRIBUTION CURVE
                                                           7/95                                          FIGURE
                                                   Exhibit 39
                                                     5176
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 146 of 730 Page ID
                                  #:5220
                    GRAVEL                  ,                 SAML)
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               COARSE      FINE         COARSE        MEDIUM                           FINE
        U.S. STANDARD SIEVE OPENING                    U.S. STANDARD STEVE NUMBER                                 HYDROMETER

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                                                      GRAIN SIZE IN MILLIMETER




                                                                                                         SOIL          LIQUID    PLASTI-
                                                  DEPTH           SAMPLE                                                           CITY
       SYMBOL             SAMPLE ID.               (FT)            TYPE                                  TYPE           LIMIT     INDEX


         D                     P-10L             A 2.2-242.9           TUBE                                  SM




                                                                                                                      PROJECT NAME:
                                                                                       KEANTAN LABORATORIES                MCCOLL SITE




                                                                                                       GRAIN SIZE
                                                                                                  DISTRIBUTION CURVE
                                                                         7/95                                                    FIGURE    2
                                                               Exhibit 39
                                                                 5177
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 147 of 730 Page ID
                                  #:5221
gflF^ KEANTAN
                                                        720 North Valley Street, Suite B, Anaheim, CA 92801
      LABORATORIES                                      Tel.: (714) 535-7616 • Fax: (714) 535-7568




 July 15, 1995


 Thermo Analytical, Inc.
 1920 E. Deere Ave., Suite 130
 Santa Ana, CA 92705

 Attention:         Ms. Patty Mata

 Subject:          Report/Laboratory Testing Results
                   Project Name: McColl Site
                   Project No.: L2206
                   KTL Project No.: 95-053-002

 Dear Ms. Mata:

 Enclosed are results of the laboratory testing program conducted on samples from the McColl Site
 project. The testing performed for this program was conducted in general accordance with ASTM
 testing procedures as follows:

                   TYPE OF TEST                               TEST PROCEDURE

                    Sieve Analysis                            ASTM D 422

                   vith is a Grain Size Distribution Curve.

              ^.ate the opportunity to provide testing services to Thermo Analytical, Inc.. If you have any
 M_   t.^ns   regarding the test results, please contact us.


 Very truly yours,

 Keantan Laboratories



 Kean Tan, PE
 Principal

 Enclosure




                                                 Exhibit 39
                                                   5178
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 148 of 730 Page ID
                                  #:5222
                      GRAVEL                                  SANt)
                                                                                                                             STLT OR CLAY
                 COARSE  |   FINE                COARSE | MEDIUM                                         FINE
       U.S. STANDARD STEVE OPENING                                    U.S. STANDARD SIEVE NUMBER                             HYDROMETER

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                                    10                                   1                                      0.1             0.01                 0.001
                                                                     GRAIN SIZE IN MILLIMETER




                                                               DEPTH               SAMPLE                             SOIL        LIQUID    PLASTI-
      SYMBOL                  SAMPLE TO.                                                                                                      CITY
                                                                (FT)                TYPE                              TYPE         LIMIT     INDEX

         D                         P-10L                         254.2              TUBE                               SM




                                                                                                                                 PROJECT NAME:
                                                                                                         KEANTAN LABORATORIES         MCCOLL SITE




                                                                                                                     GRAIN SIZE
                                                                                                                DISTRIBUTION CURVE
                                                                                        7/95                                                FIGURE
                                                                               Exhibit 39
                                                                                 5179
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                                  #:5223




                                APPENDIX D

                       CHEMICAL TESTING PROGRAM




                         GROUNDWATER RI REPORT
                              McCOLL SITE
                         FULLERTON, CALIFORNIA




                              December 29, 1995

                                  03-3493X




                                   Exhibit 39
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 D.3 OVERALL DATA ASSESSMENT                                                            D.3-1


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 Table D-2:      Data Review Summary for VOC Analyses

 Table D-3:      Data Review Summary for Miscellaneous Analyses

 Table D-4:      VOCs and Tetrahydrothiophene Compounds in Soil

 Table D-5:      Tentatively Identified Compounds (TICs) in Soil

 Table D-6:      General Chemistry Parameters in Soil

 Table D-7:      VOCs and Tetrahydrothiophene Compounds in Groundwater Grab Samples

 Table D-8:      TICs in Groundwater Grab Samples

 Table D-9:      General Chemistry Parameters in Groundwater Grab Samples

 Table D-10:     VOCs and Tetrahydrothiophenes, TICs, and General Chemistry Parameters in
                 Quality Control Samples


                                        ATTACHMENT

 P-10L Data Validation Report




 McColl Site Group
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                                    D.I INTRODUCTION


During the 1994 and 1995 groundwater RI/FS field work, chemical testing was conducted on
numerous soil samples, seven groundwater grab samples, and associated quality control (QC)
samples. The samples were collected following the procedures described in the Groundwater
RI/FS Work Plan (ENVIRON February 4, 1994) and subsequent TMs (see Appendix G).
ENVIRON submitted the samples to Terra Tech, Inc. (TTI) and its affiliated laboratory
Thermo Analytical, Inc. (TMA) for analysis. TTI and TMA are California State-certified
laboratories located in Santa Ana, and Monrovia, California, respectively (TTI and TMA
recently merged into a single laboratory, TMA, at the Santa Ana location).

The analyses performed are listed below:

        •       RAS volatile organic compounds (VOCs) by USEPA CLP SOW Version
                OLM01.8 with three tetrahydrothiophene compounds (tetrahydrothiophene,
                2-methyltetrahydrothiophene, and 3-methyltetrahydrothiophene) as additional
                SAS analytes;

        •       Sulfate by USEPA Method 300, pH by USEPA Method 9045, and total
                organic carbon (TOC) by USEPA Method 415.1. TOC analyses were
                performed by Core Laboratories, a California State-certified laboratory in
                Anaheim, California.

Level III data quality deliverables were prepared by the laboratory in CLP format and these
were reviewed by ENVIRON in accordance with the Groundwater RI/FS Work Plan
(ENVIRON February 4, 1994). ENVIRON reviewed the analytical and QA/QC results, and
assigned data qualifiers based on this review. Analytical results for VOCs were evaluated
using procedures described in the USEPA National Functional Guidelines for Organic Data
Review (June 1991). The remaining analytical results, referred to as general chemistry
parameters, were evaluated based on QC acceptance criteria established in accordance with
the EPA methods being used by TTI and Core Laboratories.

During the drilling and sampling of monitoring well P-10L, two soil and four groundwater



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 grab samples were submitted for the analyses noted above. Level IV data quality
 deliverables were prepared by the laboratory in CLP format. Level IV data validation of
 these data, except the TOC results for groundwater grab sample P10L-H3, was performed by
 Laboratory Data Consultants (LDC) of Carlsbad, California. Results of LDC's review are
 presented as a separate report included in this appendix and are not included in the data
 quality review section presented below. TOC results for sample P10L-H3 were included in
 the evaluation presented below. Analytical data for samples collected from P-10L are
 presented in Tables D-4 through D-6 (soil) and Tables D-7 through D-9 (groundwater).
 Because Level IV deliverables were prepared for these samples, an expanded list of VOCs
 are reported.

 During installation of monitoring well P-10L, two soil samples and one groundwater grab
 sample were also analyzed for total volatile hydrocarbons (TVH) by EPA Method 8015
 (modified) and total extractable hydrocarbons (TEH) by EPA Method 8015 (modified). The
 results of these analyses also are presented in the attached tables (Table D-7). These
 analyses resulted in quantified concentrations of TVH and TEH; however, the
 tetrahydrothiophene compounds are in the same boiling point range as TVH and TEH.
 When comparing the TVH and TEH analyses, it becomes obvious the compounds identified
 by the TVH/TEH analyses are actually tetrahydrothiophene compounds.




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                                   D.2 DATA QUALITY REVIEW


This section briefly describes the quality control parameters reviewed by ENVIRON and the
rationale for the data qualifiers presented in the attached data tables. Tables D-l through D-
10 summarize the results of the data quality review and the chemical analyses.

D.2.1 Volatile Organic Compounds (VOCs) Analyses

The findings of the data quality review for VOCs are summarized below.

Sample Condition
The temperature of some samples exceeded the 4°C requirement by 1 to 7°C. In some
instances, the temperatures were not measured upon sample receipt. TTI indicated that the
temperature exceedances occurred during transport to TMA in Monrovia; no data
qualifications were considered necessary as sample temperatures were only exceeded for a
short period of time while in transit (approximately one to two hours). Sample PH4-186.5
was reportedly received in standing water in the ice chest and not contained in a plastic bag.
However, no data qualifications were necessary because the sample container was intact.
Sample containers for PH4-194GW and PH4-194GWD reportedly contained air bubbles.
However, no data qualifications were considered necessary.

Technical Holding Time
The 14-day holding time requirement was met for all sample analyses.

Initial and Continuing Calibration
Consistent with Level III deliverables, initial and continuing calibration data were not
provided in the data packages. According to the case narrative presented in each report, the
three thiophene compounds were included in the initial calibration. A typographical error
was made by TMA on referencing an internal standard. The internal standard cited for the
thiophene compounds in the case narrative is 1,4-difluorobenzene; however, chlorobenzene
d5 was used as the internal standard. This typographical error does not affect the validity of
analytical data and no qualifier is necessary.




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                                             #:5228
 Blanks
 Methylene chloride, acetone, and 2-hexanone, common laboratory contaminants, were
 detected in method and trip blanks. Table D-10 presents the results of field and trip blanks.
 Table D-2 indicates which soil and groundwater samples were potentially biased by the lab
 contaminants noted above and detected in method and trip blanks. Following USEPA
 guidelines (June 1991), positive results less than ten times (lOx) the reported associated blank
 concentration were "Unqualified. No qualification was necessary for sample results that
 were greater than lOx the blank concentration or were not detected (ND). The appropriate
 qualifiers have been attached to the results in the data summary tables for VOCs (Tables D-4
 and D-7).

 Surrogate Recovery
 Surrogate recoveries were below the lower acceptance limits for certain matrix spike/matrix
 spike duplicate (MS/MSD) analyses. No data qualification was considered necessary.

 Internal Standards
 Internal standard (IS) area counts were below the lower QC limit for all three internal
 standards (bromochlorobenzene, 1,4-difluorobenzene, and chlorobenzene-d5) for Sample
 PH10-MUD1 (sample collected from drilling mud) and bromochlorobenzene and
 chlorobenzene-d5 for Sample PH10-MUD1RE. The IS area count for bromochlorobenzene
 was also below the lower QC limit for Sample PH3-172.5 (sample collected from pilot hole
 PH-3 at depth of 172.5 feet). Positive results for compounds quantitated using these internal
 standards were "J"-qualified, and ND results were "UJ"-qualified, as shown on Tables D-4
 and D-7.

 Matrix Spikes/Matrix Spike Duplicates (MS/MSD)
 No MS/MSD problems were identified in the data packages.

 Tentatively Identified Compounds (TICs)
 As detailed in Table D-5 and D-8, TICs were reported in many of the samples. In many
 cases, the laboratory identified the TICs as a non-specific chemical such as "unknown
 hydrocarbonl , " "substituted thiophene4," or "halogenated benzene." The laboratory
 identifies many of the TICs with numerical suffixes; the analyst assigns these to indicate the
 sequence that multiple similar TICs elute on the column in a given sample. It is important to
 note that these numerical suffixes do not correlate between samples; a more detailed analysis
 of the TICs would be required to correlate the identity of the TICs between samples. All
 TICs should be considered tentatively present and their concentrations approximate ("NJ"-


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qualified; see Table D-l for qualifier definitions).

Compound Identification. Quantisation, and Detection Limits
Some analytes were reported below the contract required quantitation limits (CRQLs) and
were therefore "J "-qualified. Affected samples are noted in Table D-2 by an "X" in the
CRQL column and are "J"-qualified on data summary Table D-4. Some samples were run at
a dilution due to the presence of analytes that were out of calibration range. Analytes within
calibration range were quantitated using the undiluted sample, and analytes outside of
calibration range were quantitated using the diluted sample. For samples analyzed with
multiple dilutions, Tables D-4 and D-7 present the lowest detection limit achieved with the
least dilution together with quantitations measured from other dilutions.

System Performance
No system performance problems were identified in the data packages.

D.2.2 General Chemistry Parameters

The general chemistry parameters analyzed during the RI/FS were sulfate by USEPA Method
300, pH by USEPA Method 9045, and TOC by USEPA Method 415.1. No quality control
problems were identified by ENVIRON, as summarized in Table D-3. The results of the
general chemistry parameters are presented in Table D-6 for soil and Table D-9 for the
groundwater grab samples. The minor quality control issues identified by ENVIRON are
summarized below.

Sample Condition
The temperature of some samples exceeded the 4°C requirement by 1 to 4° C. In some
instances, the temperatures were not measured upon sample receipt. TTI indicated that the
temperature exceedances occurred during transport to TMA in Monrovia; no data
qualifications were considered necessary as sample temperatures were only exceeded for a
short period of time while in transit (approximately one to two hours).

Technical Holding Time
The pH for sulfate analysis for Sample PH8-247 was measured 24 hours after time of sample
receipt. No data qualification was considered necessary.

Blanks
No laboratory or field blanks problems had reported detections which reflect a positive bias


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 to sample results.

 Matrix Spikes/Matrix Spike Duplicates
 The Relative Percent Difference (RPD) between the MS and MSD analysis exceeded the
 upper QC limit for the MS/MSD performed for TOC analysis for Samples PH9-26.5, PH9-
 27, and PH9-161. In addition, Percent Recovery (%R) for sulfate analysis for the MS
 performed for Package A4-07-009 exceeded the upper QC limit. No qualification was
 considered necessary based on acceptable %R and/or LCS data.

 Laboratory Control Samples
 The USEPA has not established QC criteria for LCS analysis, therefore, data were evaluated
 using control limits provided by TTI and Core. Based on these control limits, no LCS
 problems were identified in the data packages.




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V-/                                D.3 OVERALL DATA ASSESSMENT


      Since this was a Level III data quality package, no GC/MS instrument performance checks,
      initial calibration, internal standards, gas chromatograms or mass spectra were requested
      from the laboratory or reviewed. However, TMA has told ENVIRON it is their practice to
      note any deviations of these parameters from accepted levels in the case narratives if they
      occur. No deviations were reported. Additionally, the quality control sample results
      reviewed for all analyses indicate that the data reported in this package appear to be of good
      quality, except for where data qualifiers are attached. The data appear to be usable to
      support the objectives of the Groundwater RI/FS and the conclusions presented in this report.

      The following attachment completes this appendix:

              •       P-10L Soil and Groundwater Sample Data Validation Report by LDC.




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                           Table D-l: Data Qualifier Definitions



  The following definitions provide brief explanations of the national qualifiers assigned
  to results in the data review process.

      U        The analyte was analyzed for, but was not detected above, the reported sample
               quantitation limit.

      J        The analyte was positively identified; the associated numerical value is the
               approximate concentration of the analyte in the sample.

      N        The analysis indicates the presence of an analyte for which there is presumptive
               evidence to make a "tentative identification."

     NJ        The analysis indicates the presence of an analyte that has been "tentatively
               identified" and the associated numerical value represents its approximate
               concentration.
     UJ        The analyte was not detected above the reported sample quantitation limit.
               However, the reported quantitation limit is approximate and may or may not
               represent the actual limit of quantitation necessary to accurately and precisely
               measure the analyte in the sample.
      R        The sample results are rejected due to serious deficiencies in the ability to
               analyze the sample and meet quality control criteria. The presence or absence
               of the analyte cannot be verified.




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                                               5189
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                                                                  #:5233
                                                          Table D-2: Data Review Summary for VOC Analysis (1)
                                                                                                                                               r
            Date Sampled         Sample        Sample                   Holding                                           Internal
                                 Number       Condition        coc       Time            Blanks    Surrogates   MS/MSD   Standards   TICs       CRQLs

               06/21/94       PH3-1 1            O              o          O              M(2)         O          O         O        M(3)          O

               06/22/94       PH3-56             O              o          O             M(2)          O          0         O        M(3)        M(4)
                              PH3-77.5           O              o          O              M(2)         O          o         0        M(3)        M(4)
                              PH3-87             O              o          O              M(2)         O          o         O        M(3)          O

               06/23/94       PH3-106            O              o          O              M(2)         O          o         0        M(3)          O

               06/24/94       PH3-119.4         X(5)            o        X(6)             M(2)         0          0         O        M(7)        M(8)
               06/29/94       PH3-134.5          O              o          O                   0       O          o         O        M(9)        M(10)
               06/30/94       PH3-160.5         X(5)            0          O                   O       O          o         O         O            O

                              PH3-172.5         X(5)            o          o                   O       0          0       M(ll)      M(12)       M(13)

                              PH3-187.5         X(5)            0          0                   0       O          o       M(ll)      M(12)         O

               07/05/94       PH1-14.5         X(14)            0          o             M(2)          O          0         0        M(15)       M(16)

                              PH1-18           X(14)            0          o             M(2)          O          o         O        M(15)       M(16)

                              PH1-18.5D        X(14)            o          0             M(2)          0          o         O        M(15)       M(16)

                              PH1-37.5         X(14)            o          o                   0       O          o         o        M(15)       M(16)

                              PH1-47           X(14)            o          o             M(2)          O          o         o        M(15)       M(16)

                              PH1-58 (17)      X(14)            o          o             M(2)          0          0         0        M(15)       M(16)

                              PH1-63.5 (17)    X(14)            o          o             M(2)          O          o         o        M(15)       M(16)




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                                                          Table D-2: Data Review Summary for VOC Analysis (1)
          Date Sampled          Sample         Sample                   Holding                                          Internal
                                Number        Condition        coc       Time         Blanks      Surrogates   MS/MSD   Standards   TICs        CRQLs

               07/06/94      PHI -87             O              o          O             O            0          O         O         O          M(18)

                             PH1-103             O              0          O             0            O          0         O         O          M(18)

               07/07/94      PH1-116.5 (19)     X(5)            o          O             o            O          o         0        M(20)       M(21)

                             PH1-128.5 (19)     X(5)            o          0             0            O          o         O        M(20)       M(21)

                             PH1-139            X(5)            o          O             o            O          o         O        M(20)         O

                             PH1-144            X(5)            o          O             o            o          o         0         O            O

               07/11/94      PH1-167.6         X(14)            o          O           M(2)           o          o         O         0          M(22)

                             PH1-174           X(14)            0          O           M(2)           o          0         O        M(23)       M(22)

                             PH1-183.5         X(14)            0          0           M(2)           o          o         O         O            0

              07/12, 13/94   PH1-187             O              o          0          M (2,4)         o          0         O         0            0

                             PH2-34             X(5)            o          O           M(2)           o          o         O         o            O

                             PH2-48.5           X(5)            o          O           M(2)           o          o         O         o            o
                             PH2-67.5           X(5)            0          O           M(2)           o          0         O         0            o
              07/15-19/94    PH2-102             0              o          0           M(2)           0          o         O        M(24)         0

                             PH2-102.5D          0              o          O           M(2)           o          0         O        M(24)         o
              7/15-19/94     PH2-112             o              o          o             O            o          o         O        M(24)       M(25)

                             PH2-136.5 (26)      0              o          o             0            o          o         O        M(24)       M(27)

                             PH2-137D (26)       o              0          0             O            o          o         O        M(24)         O

              7/15-19/94     PH2-190             o              o          0           M(2)           o          0         O         O          M(25)


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                                                       Table D-2: Data Review Summary for VOC Analysis (1)
            Date Sampled         Sample     Sample                   Holding                                        Internal
                                 Number    Condition        coc       Time         Blanks    Surrogates   MS/MSD   Standards   TICs        CRQLs

              7/21,26/94      PH7-33.5        O              o          O                O       O          O         O          0         M(13)

                              PH7-173         O              0          0                O       O          O         O          o         M(13)

               07/29/94       PH4-77.5      X(14)            o          o           M(2)         O          o         0          o           0

                              PH4-77.5D     X(14)            0          0           M(2)         O          o         O          o         M(13)

               08/1-4/94      PH2-205.5     X(14)            o          o           M(2)         0          o         O        M(28)       M(29)

                              PH4-147       X(14)            0          0           M(2)         0          o         O         O          M(29)

                              PH6-33        X(14)            o          o           M(2)         O          o         O         O            O

               08/11/94       PH5-11.5        O              o          o           M(2)         O          o         O         o          M(10)

                              PH5-37          O              o          o           M(2)         O          o         O        M(30)         0

                8/15/94       PH5-71          o              o          o           M(2)         O          o         O        M(33)         O

                8/16/94       PH5-80          0              o          o           M(2)         O          o         0        M(33)         o
                8/16/94       PH5-90          o              0          o           M(2)         O          o         O        M(33)         o
                              PH5-95          o              o          o                O       O          0         O         O            o     ,
                              PH5-101         o              o          o           M(2)         O          0         O        M(33)         o
                8/18/94       PH5-136         o              o          o           M(2)         O          o         O         O            o
                8/19/94       PH5-144         0              o          o           M(2)         O          o         O        M(33)         o
                              PH4-186.5     X(35)            o          o           M(2)         O          o         O        M(33)         o
                8/20/94       PH5-163         O              o          o                O       O          o         O        M(33)         o
                8/23/94       PH4-189         o              o          o           M(2)         O          0         O         O            o

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                                                          Table D-2: Data Review Summary for VOC Analysis (1)
            Date Sampled          Sample       Sample                   Holding                                          Internal
                                  Number      Condition        coc       Time         Blanks      Surrogates   MS/MSD   Standards   TICs        CRQLs

                 8/25/94       PH4-194GW       X(36)            o          0           M(2)           0          0         O         0            O

                               PH4-194GWD      X(36)            o          0           M(2)           O          0         O          0           0

                08/29/94       PH4-170GW      X (14,31)         o          O             O            O          o         O         o            0

             8/31, 9/1/94      PH9-26.5        X(14)            o          0             0            O          0         0        M(32)         o
                               PH9-27          X(14)            o          O             O            O          o         O        M(32)         o
                               PH9-161           O              0          0             0            0          0         0         O            0

                 9/12/94       PH8-178.3GW       O              o          O             o            0          o         0         O            o
                               PH8-178.3GWD      o              o          0             o            O          o         O         O            o
              9/14, 16/94      PH8-247           o              0          O            M(2)          O          o         0         o            o
                               PH10-59           o              o          O            M(2)          O          o         O         o            o
                               PH10-81           o              o          O            M(2)          0          0         O         0            0

              9/20, 21/94      PH10-153          o              o          O           M(2)           O          o         O        M(33)         o
                               PH10-183          0              0          0            M(2)          O          o         O         O            0

                               PH10-191          o              o          O            M(2)          O          o         O        M(33)         o
                               PH10-196          0              o          0            M(2)          O          o         0        M(33)         o
                               PH 10-204         o              o          0            M(2)          O          o         O        M(33)         0

              9/20, 21/94      PH10MUD           0              o          0             0            O          o       M(34)       O            o
                               PH10MUD2          o              o          o             0            O          o         O         O            0




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                                                     Table D-2: Data Review Summary for VOC Analysis (1)

            Date Sampled           Sample            Sample                         Holding                                                         Internal
                                  Number            Condition          COC            Time           Blanks       Surrogates       MS/MSD          Standards           TICs            CRQLs

                 10/7/94      PH2D(R)-                 X(5)             0              O                   O           O               O                O               O                  O
                              197.5

                       KEY:


                              O        No quality control problems were identified for these criteria.
                              M        The results are qualified due to laboratory quality control problems or other technical reasons. The quantitative results will be qualified with a
                                       quality control flag such as "J" indicating that the results are estimated due to error greater than specified in the method.
                              Z        The results are unacceptable due to gross quality control problems. The laboratory failed to meet the indicated criteria. The results will be
                                       qualified as rejected ("R") ,                                                                                                                           *•


                              X        Quality control problems were identified , but they do not affect the results or the reviewer is not certain of the effect on the results; or
                                       supporting documentation or data is not present in the laboratory data package.


                              COC = Chain-of-Custody; MS = Matrix Spike; MSD = Matrix Spike Duplicate; TICs = Tentatively Identified Compounds; CRQLs = Contract
                              Required Quantitation Limits




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 NOTES:

 (1) Data validation criteria and procedures were based on USEPA CLP National Functional
     Guidelines for Organic Data Review (Revised June 1991) and Laboratory Data Validation,
     Functional Guidelines for Evaluating Inorganic Analyses (July 1, 1988).

 (2) Methylene chloride and/or acetone were detected in sample but < lOx the concentration in
     associated method/field/trip blank. Results <CRQL should be "Unqualified at the
     CRQL, and results > CRQL but < lOx the CRQL should be "Unqualified at the reported
     concentrations.

 (3) 2-Methyltetrahydrothiophene was listed on the Tentatively Identified Compounds (TICs)
     form, although it was not detected, to indicate that it was searched for. Results should be
     "UJ"-qualified.

 (4) 2-Butanone detected in sample but not found in associated method/field/trip blank.
     Reported concentration was below CRQL and therefore should be "J"-qualified.

 (5) Sample temperature was not measured upon receipt by the laboratory. The effect on data
     quality is not known.

 (6) The 10-day Validated Time of Sample Receipt (VTSR) requirement was exceeded by 4
     days, but the 14-day technical holding time requirement was met.

 (7) Four TICs were reported - these results should be "NJ"-qualified.

 (8) Tetrahydrothiophene, 2-methyltetrahydrothiophene, and 3-methyltetrahydrothiophene were
     reported below their CRQLs and should be "J"-qualified.

 (9) One TIC was reported - this result should be "NJ"-qualified.

 (10) 2-Butanone was reported below the CRQL and should be "J"-qualified.




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(11) %R for the internal standard bromochloromethane was below the lower acceptable limits in
     Sample PH3-172.5 and the corresponding MD/MSD samples, and the %R for the internal
     standard chlorobenzene-d5 was below the lower acceptable limits in the MD/MSD samples.
     Positive result for acetone in Sample PH3-172.5 should be "J"-qualified, and non-detect
     results for chloroethane, methylene chloride, carbon disulfide, chloroform, 1,2-
     dichloroethane, and 2-butanone should be "UJ"-qualified for all samples.

(12) One or more TICs were reported for Samples PH3-172.5 and PH3-187.5. These results
     should be "NJ"-qualified.

(13) Acetone was reported below it's CRQL and should be "J"-qualified.

(14) Sample temperature exceeded USEPA requirement of 4°C by 1-4°C; however, no data
     qualification was deemed necessary because the temperature requirement was not grossly
     exceeded and most samples were analyzed within 7 days of collection.

(15) One or more TICs were reported for Samples PH1-14.5, PH1-18, PH1-18D, PH1-37.5,
     PH1-47, PH1-58, PH1-58DL, PH1-63.5, and PH1-63.5DL. These results should be "NJ M -
     qualified.

(16) The following compounds were reported below CRQL: toluene in Sample PH1-14.5; 2-
     butanone in Sample PH1-18D; carbon disulfide in Samples PHI-37.5 and PHI-47; 2-
     butanone and tetrahydrothiophene in Sample PHI-58; 2-hexanone, tetrahydrothiophene,
     and 2-methyltetrahydrothiophene in Sample PHI-63.5. Reported results for these
     compounds should be "J"-qualified.

(17) Samples PHI-58 and PHI-63.5 were reanalyzed due to 3-methyltetrahydrothiophene and
     acetone exceeding the upper limits of the calibration range, respectively. For these
     compounds, the concentrations reported in the reanalyses should be used.

(18) Acetone was reported below it's CRQL for Sample PH1-87. Acetone and toluene were
     reported below their CRQL for Sample PH1-103. These results should be "J"-qualified.

(19) Samples PH1-116.5 and PH1-128.5 were reanalyzed due to acetone and all thiophene
     compounds exceeding the upper limits of the calibration range, respectively. For these

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         compounds, the concentrations reported in the reanalyses should be used.

 (20) One or more TICs were reported for Samples PH1-116.5, PH1-116.5DL, PH1-128.5,
      PH1-128.5DL, and PH1-139. These results should be "NJ"-qualified.

 (21) 2-Hexanone and benzene were reported below their CRQLs for Sample PH1-116.5 and
      PH1-128.5, respectively. These results should be "J"-qualified.

 (22) All thiophene compounds were reported below their CRQLs in Sample PHI-167.5, and 2-
      methyltetrahydrothiophene was reported below it's CRQL for Sample PH1-174. These
      results should be "J"-qualified.

 (23) One TIC reported for Sample PH1-174. This result should be "NJ"-qualified.

 (24) One or more TICs were reported for Samples PH2-102, PH2-102.5D, PH2-112, PH2-
      136.5, and PH2-137D. These results should be "NJ"-qualified.

 (25) 2-Methyltetrahydrothiophene and carbon disulfide were reported below their CRQLs for
      Samples PH2-112 and PH2-190, respectively. These results should be "J"-qualified.

 (26) Sample PH1-136.5 was reanalyzed due to tetrahydrothiophene and 2-
      methyltetrahydrothiophene exceeding the upper limits of the calibration range. Sample
      PH2-137D was reanalyzed due to tetrahydrothiophene exceeding the upper limit of the
      calibration range. In these samples, the reported concentrations of the above compounds
      in the reanalyses should be used.

 (27) 2-Hexanone was reported below it's CRQL and should be "J"-qualified.

 (28) One TIC was reported for Sample PH2-205.5. This result should be "NJ"-qualified.

 (29) 3-Methyltetrahydrothiophene and/or methylene chloride were reported below their CRQLs
      for Samples PH2-205.5 and PH4-147, respectively. Results for these compounds should
      be "J"-qualified.

 (30) Two TICs were reported for Sample PH5-37. These results should be "NJ"-qualified.

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(31) The pH recorded for this sample was 12. No data qualification was deemed necessary
     because sample analysis was completed 2 days after it was collected.

(32) One TIC each was reported for Samples PH9-26.5 and PH9-27. These results should be
     "NJ"-qualified.

(33) One or more TICs were reported for these samples. These results should be "NJ"-
     qualified.

(34) Internal standard (IS) area counts for all three IS compounds were below the lower QC
     limit. Positive results should be "J"-qualified, and ND results should be "NJ"-qualified.

(35) Sample PH4-186.5 was reportedly received with the container in standing water of the ice
     chest and not placed in a plastic bag.

(36) All of the volatile organic analyses (VOA) vials reportedly contained air bubbles.




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                                            Table D-3: Data Review Summary for Miscellaneous Analyses (1)
             Date Sampled      Sample Number      Sample                   Holding
                                                 Condition     COC          Time       Blanks     LCS (2)   MS/MSD (3)     CRQLs

                 06/21/94     PH3-11                O            0             O         O          0           0            O

                 06/22/94     PH3-56                O            0             O         0          O           0            o
                              PH3-77.5              0            o             0         O          o           o            o
                               PH3-87               0            o             0         0          o           o            o
                 06/23/94      PH3-106              o            0             0         0          0           o            0
                 06/24/94      PH3-119.4           X(4)          o             o         0          o           o            o
                 06/29/94     PH3-134.5             0            o             0         o          o           0            o
                 06/30/94      PH3-160.5           X(4)          0             0         0          o           0            o'
                               PH3-172.5           X(4)          o             0         o          o           0            o
                               PH3-187.5           X(4)          0             0         o          o           0            o
                 07/05/94      PH1-14.5            X(5)          o             0         0          0           0            o
                              PH1-18               X(5)          o             0         0          o           o            o
                               PH1-18.5D           X(5)          o             0         o          0           o            o
                               PH 1-37.5           X(5)          o             o         0          o           o            o
                              PHI -47              X(5)          0             o         0          0           0            o
                               PHI -58             X(5)          0             0         0          o           0            o
                               PHI -63. 5          X(5)          o             o         o          o           0            o
                 07/06/94      PHI -87              0            o             o         o          o           o            0

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                                            Table D-3: Data Review Summary for Miscellaneous Analyses (1)
              Date Sampled      Sample Number     Sample                    Holding
                                                 Condition     COC           Time      Blanks     LCS (2)   MS/MSD (3)     CRQLs

                               PH1-103              O            0                 O     O          O           O            0

                  07/07/94     PH1-116.5           X(4)          0                 O     O          o           O            0

                               PH1-128.5           X(4)          o                 O     0          0           O            o
                               PH1-139             X(4)          o                 0     0          0           O            o
                               PH1-144             X(4)          o                 0     o          o           O            o
                  07/11/94     PH1-167.6           X(5)          o                 0     o          o           O            o
                               PH1-174             X(5)          o                 O     o          0           O            o
                               PH1-183.5           X(5)          0                 0     o          0           O            o
                07/12,13/94    PH1-187              O            0                 O     o          0           0            o
                               PH2-34              X(4)          0                 O     o          o           o            o
                               PH2-48.5            X(4)          0                 O     0          o           o            0

                               PH2-67.5            X(4)          o                 O     o          o           o            o
                07/15-19/94    PH2-102              0           0                  0     0          o           o            0

                               PH2-102.5D           0           o                  0     0          o           o            0

                               PH2-112              0            0                 0     o          0           o            o
                               PH2-136.5            0            0                 O     o          o           0            o
                 7/15-19/94    PH2-137D             O           o                  O     o          o           o            o
                  07/21/94     PH7-33.5             0           o                  O     0          o           0            0


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                                     Table D-3: Data Review Summary for Miscellaneous Analyses (1)
        Date Sampled     Sample Number     Sample                      Holding
                                          Condition     COC             Time       Blanks   LCS (2)   MS/MSD (3)     CRQLs

          07/26/94       PH7-173             0            o                 0        O        0           0             0

          07/29/94       PH4-77.5           X(5)          o                 O        O        0           o             o
                         PH4-77.5D          X(5)          o                 O        0        o           0             o
          08/1-4/94      PH2-205.5          X(5)          0                 O        0        0           o             o
                         PH4-147            X(5)          0                  O       0        o           o             o
                         PH6-33             X(5)          0                 0        o        o           o             o
          08/11/94       PH5-11.5            0            o                 0        o        o           o             0

                         PH5-37              0            0                 O        o        o           o             0

           8/15/94       PH5-71              0            o                 O        0        0           o             o
           8/16/94       PH5-80              0            o                 0        o        0           o             o
                         PH5-90              o            o                 O        0        0           0             o
                         PH5-95              o            o                 O        o        o           0             o
                         PH5-101             o            0                 O        o        o           o             o
           8/18/94       PH5-136             o            0                 O        o        o           o             o
           8/19/94       PH5-144             0            o                 0        o        0           o             o
           8/19/94       PH4-186.5           0            o                 0        o        o           o             o
           8/20/94       PH5-163             0            o                 0        o        0           o             0

           8/23/94       PH4-189             0            o                 0        o        0           o             0


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                                              Table D-3: Data Review Summary for Miscellaneous Analyses (1)
              Date Sampled     Sample Number        Sample                    Holding
                                                   Condition     COC           Time     Blanks      LCS (2)   MS/MSD (3)     CRQLs

                   8/25/94     PH4-194GW              O            o                O     O           O           0            O
                               PH4-194GWD             0            0                0     0           0           o            0
                8/31,9/1/94    PH9-26.5              X(5)         o                 O     0           o           o            o
                               PH9-27                X(5)         o                 0     o           o           o            o
                               PH9-161                O           o                 O     o           o           o            o
                   9/12/94     PH8-178.3GW            O           o                 O     o           o           o            o
                               PH8-178.3GED           o           o                 o     o           o           o            o
                9/14,16/94     PH8-247                0           o             X(6)      o           o           o            o
                               PH 10-59               o           0             X(6)      o           o           0            o
                               PH10-81                o           o             X(6)      o           o           o            o
                9/20,21/94     PH10-153               o           o                 O     o           o           0            o
                               PH10-183               0           o                 o     o           0           o            o
                               PH 10-191              o           o                 o     o           o           0            o
                               PH10-196               o           o                 o     o           o           o            o
                9/20,21/94     PH 10-204              0           o                 o     o           o           o            0

                               PH10MUD1               0           0                 0     0           o           o            0

                               PH10MUD2               0           0                 o     o           o           o            o
            10/7/94            P2D(R)-197.5          X(4)         0                 o     o           0           o            o

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                                                Table D-3: Data Review Summary for Miscellaneous Analyses (1)
            Date Sampled        Sample Number            Sample                              Holding
                                                        Condition           COC               Time         Blanks          LCS (2)         MS/MSD (3)           CRQLs

          7/19/95               P-10LH3 (7)                 0                 0                O              O                O                 O                 O

                  KEY:

                       O   No quality control problems were identified for these criteria.
                       M   The results are qualified due to laboratory quality control problems or other technical reasons. The quantitative results will be qualified with
                           a quality control flag such as "J" indicating that the results are estimated due to error greater than specified in the method.
                       Z   The results are unacceptable due to gross quality control problems. The laboratory failed to meet the indicated criteria. The results will be
                           qualified as rejected ("R").
                       X   Quality control problems were identified, but they do not affect the results or the reviewer is not certain of the effect on the results; or
                           supporting documentation or data is not present in the laboratory data package.

                       COC = Chain-of-Custody; MS = Matrix Spike; MSD = Matrix Spike Duplicate; LCS = Laboratory Control Sample; CRQLs = Contract
                       Required Quantitation Limits




McColl Site Group

k \deh\mccoW3-3493x\appd                                                            Psqe395
                                                                                   Exhibit    of 6                                                           December 29, 1995
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                                            #:5247

NOTES:

        (1)          Analyses include USEPA Method 300 (sulfate), USEPA Method 9060 (TOC), and pH. Data
                     validation criteria and procedures were based on USEPA CLP Laboratory Data Validation,
                     Functional Guidelines for Evaluating Inorganic Analyses (July 1, 1988). Evaluation of
                     physical data (e.g., grain size) was not performed.

        (2)          QC limits for %R for LCS is 80-120 for TOC analysis.

        (3)          QC limits for MS/MSD analysis is 80-120 for %R, and <20% for RPD for TOC analysis and
                     90-110 for %R and 20% for RPD for sulfate analysis.

        (4)          Sample temperature was not measured upon receipt by the laboratory. The effect on data
                     quality is not known.

        (5)          Sample temperature exceeded USEPA requirement of 4°C by 1-4°C; however, no data
                     qualification was deemed necessary because the temperature requirement was not grossly
                     exceeded and most samples were analyzed within 7 days of collection.

        (6)          pH measurement was not performed immediately upon sample receipt by the laboratory. The
                     effect on data quality is not known.

        (7)           Sample P10L-H3 results include TOC only.




McColl Site Group

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                                                        Exhibit 39
                                                          5204
                                                                                            r
                                    Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 174 of 730 Page ID
                                                                      #:5248
                                                                                            TABLE D-4
                                                                                                                                                                            c
                                                                              VOCs and Tetrahydrothiophenes in Soil                                                  Page: 1A            of 2M
                                                                               Ground Water Remedial Investigation
                                                                                                                                                                      Date: 10/05/95
                                                                                          McColl Site
                                                                                      Fullerton, California

                                                SITE                 P-10L3              P-10L3                P-10L4            P-2DJR)                  PH1               PHI
                                                SAMPLE ID            P-10L3              P-10L3RE              P-10L4            P2DR197.5                PH1-14.S          PH1-18
 CONSTITUENT       (Units in ufl/kfl)           DATE                 06/28/95            06/28/95              06/29/95          10/07/94                 07/O5/94          07/05/94
                                                DEPTH (ft)           211.50              211.60                2t8.50            197.50                   14.BO        18.00

Benzene                                                              5.3 J               <29                   <5                <12                      <12               <11
Ethylbenzene                                                         <5                  <29                   <5                <12                      <12               <11
Toluene                                                              <5                  <29                   <5                1J                       2J                <11
Xylene (total)                                                       7.5 J                <29                  <5                <12                      <12               <1T
Tetrahydrothiophene                                                  750 J               490J                  <12               <12                      20                 <11
2-Methyttetrahydrothlophene                                          740 J               490J                  <12               <12                      31                 <1t
3-Methyltetrahydrothiophene                                          480 J               320J                  <12               <12                      93                 <11
                                                                                                                                      1
1,1,1 -Trichloroethane                                               <4S                  ^> *>Q
                                                                                          ^. .£.&       rf*'   ^-. 11 O
                                                                                                                      <£         ^^O
                                                                                                                                 *s 1*6          /   ••   •&
                                                                                                                                                           *«. \*}
                                                                                                                                                                1*   """•     **. »1"1
                                                                                                                                                                            /^*"1

1 ,2-Dichloroethane                                                  <45                  <29                  <12               <12                      <12                <11
2-Butanone                                                           87 J                62 J                  <12               <12                      13                6J           /   -
Acetone                                                              350 J               240 J                 <12               10 U                     62                130
2-Hexanone                                                           <45UJ               <29UJ                 <12               <t2                      <12               <11
Bromodichloromethane                                                 <45                  <29                  <12               <12                      <12               <11
Carbon disulfide                                                     <45                 <29                   <12               <t2                      <12                <1t
Chlorobenzene                                                        <45                 <29                   <12               <12                      <12               <11
Chloroethane                                                         <45UJ               <29UJ                 <12UJ             <12                      <ia                <1t
Chloroform                                                           <45                 <29                   <12               <12                      <12                <11
Dibromochtoromethane                                                 <45                 <29                   <12               <12                      <12               <1 +
Methylene chloride                                                   <45                 <29                   6J                3U                       <12               <11
Styrene                                                              <45                 <29                   <12               <12         '            <12                <1t
Chloromethane                                                        <45                 <29                   <12
Bromomelhane                                                         <45                 <29                   <12UJ             -~                       —
Vinyl chloride                                                       <45                 <29                   <12
1 ,1-Dichloroethene                                                  <45                 <29                   <t2                                        —
1 , 1 -Dichloroethane                                                <45                 ^ 7Q                  ^1 7               —                        •••               ™

1 ,2-Dichloroethene                                                  <45                  << *JQ
                                                                                          *K/.»7
                                                                                                               <* ^ *i
                                                                                                               ^t   +£r
                                                                                                                                 MAH
                                                                                                                                 " "
                                                                                                                                                          jij.
                                                                                                                                                          ****
                                                                                                                                                                            +4*              '

Carbon tetrachloride                                                 <45                  <29                  <12

Values represent total concentrations unless noted      < = Not detected at indicated reporting limit — = Not analyzed


See Table 0-1 for data qualifier definitions.                                               Exhibit
                                                                                              * = 39Reported as a TIC, standard was not available.
                                                                                              5205
                                   Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 175 of 730 Page ID
                                                                     #:5249
                                                                                        TABLE D-4

                                                                          VOCs and Tetrahydrothiophenes in Soil                                           Page: 2A    of 2M
                                                                           Ground Water Remedial Investigation                                            n t • 10/05/95
                                                                                      McColl Site
                                                                                  Fullerton, California

                                                 SITE            P-10L3              P-10L3             P.10L4             P-2DJR)             PHI            PH1
                                                 SAMPLE ID       P-10L3              P-10L3RE           P-10L4             P20H197.8           PH1-14.S       PH1-18
 CONSTITUENT       (Units in ufl/kfl)            DATE            06/28/95            06/28/95           06/29/95            10/07/94           07/05/94        07/05/94
                                                 DEPTH (ft)      211.50              211.60             218.50              197.50             14.50            18.00

1,2-Dichloropropane                                              <45                 <29                 <12
cis-1 ,3-Dichloropropene                                         <45                 <29                 <12
Trichloroethene                                                  <45                  <! 29              <C 1 2             •••                —••-             ~™
 1,1,2-Trichloroethane                                           <45                  ^•oq
                                                                                      ^ _r^^
                                                                                                         js- 1 o
                                                                                                         ^^   | ^
                                                                                                                            ^_^
                                                                                                                           «*~»                mmm            ***.<*




trans-1,3-Dichloropropene                                        <45                  <29                <1 2                •••                ™                "•
Bromoform                                                        <45                  <29                <12
4-Methyl-2-pentanone                                             <45 UJ               <29UJ              <12
Tetrachloroethene              -                                 <45                 <29                 <12               —                   -H.            «•«
1,1,2,2-Tetrachloroethane                                        <45                  <29                <12




Values represent total concentrations unless noted < = Not detected at indicated reporting limit — = Not analyzed
                                                                                       Exhibit 39
See Table d      • data qualifier definitions.                                          (5206 Reported as a TIC, standard was not available.                  \
                                                                                           r
                                      Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 176 of 730 Page ID
                                                                        #:5250
                                                                                           TABLE D-4
                                                                                                                                                                  c
                                                                             VOCs and Tetrahydrothiophenes in Soil                                             Page: 1B     of 2M
                                                                              Ground Water Remedial Investigation
                                                                                                                                                               Date: 10/05/95
                                                                                         McColl Site
                                                                                     Fullerton, California

                                                SITE                 PH1                PH1                 PH1                 PH1                 PH1            PH1
                                                SAMPLE ID            PH1-18.5D          PH1-37.S            PH1-47              PHI -58             PH1-63.1       PH1-87
 CONSTITUENT         (Units in Ufl/kfl)         DATE                 07/05/94           07/05/94            07/05/94            07/05/94            07/05/94       07/06/94
                                                DEPTH (ft)           18.50              37.50               47.00               58.0O               63.10          87.00

Benzene
Ethylbenzene
Toluene
Xylene (total)
Tetrahydrothiophene                                                                      78                 33                  4J                  8J
2-Methyltetrahydrothtopliene                                                             100                43                                      6J
3-Methyltetrahydrothiophene                                                              200                180                 390 D               410
1,1,1 'Trichloroethane
1,2-Dichloroethane
2-Butanone                                                           2J                  24                 29                                      51 OJ
Acetone                                                              33                  130                130                 350                 590 D          6J
2-Hexanone                                                                                                                                          1 J
Bromodichloromethane
Carbon disulfide                                                                         1J                 3J
Chlorobenzene
Chloroethane
Chlorofonn
Dibromochtoromethane
Methylene chloride
Styrene                                                                                                                          <t2
Chloromethane
Bromomethane
Vinyl chloride
1,1-Dichloroethene
1,1 -Dichloroethane
1,2-Dichloroethene
Carbon tetrachloride
Values represent total concentrations unless noted      < =Not detected at indicated reporting limit — = Not analyzed


                                                                                          Exhibit 39
See Table D-1 for data qualifier definitions.                                                      Reported as a TIC, standard was not available.
                                                                                            5207
                                  Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 177 of 730 Page ID
                                                                    #:5251

                                                                                             TABLE 0-4
                                                                               VOCs and Tetrahydrothiophenes in Soil                                             Page: 2B     of 2M
                                                                                Ground Water Remedial Investigation                                              _._
                                                                                           .. —. .. _.                                                           uaie.
                                                                                           McColl Site
                                                                                       Fullerton, California

                                                  SITE                 PHI                 PH1                 PH1                PH1                 PH1            PH1
                                                  SAMPLE ID            PHM8.SD             PH1-37.S            PH1-47             PH1*S8              PHL63.1        PH1-87
 CONSTITUENT        (Units in ug/kg)              DATE                 07/05/94            07/05/94            07/05/94           O7/05/94            07/05/94       07/06/94
                                                  DEPTH (ft)           18.50               37.50               47.00              58.00               63.10          87.00

1,2-Dichloropropane
cis-1,3-Dichloropropene
Trichloroethene
1,1,2-Trichloroethane
trans-1,3-Dichloropropene
Bromoform
4-Methyl-2-pentanone
Tetrachloroethene
1,1,2,2-Tetrachloroethane




Values represent total concentrations unless noted        < = Not detected at indicated reporting limit — = Not analyzed

                                                                                            Exhibit 39
See Table (       a data qualifier definitions.                                              ( 5208= Reported as a TIC, standard was not available.
                                                                                           c
                                      Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 178 of 730 Page ID
                                                                        #:5252
                                                                                           TABLE D-4
                                                                                                                                                                 c
                                                                            VOCs and Tetrahydrothiophenes in Soil                                             Page: 1C     of 2M
                                                                             Ground Water Remedial Investigation
                                                                                                                                                              Date: 10/05/95
                                                                                        McColl Site
                                                                                    Fullerton, California

                                                SITE                 PHI                 PH1                 PH1                PH1                PH1            PH1
                                                SAMPLE ID            PH1-103             PH1-116.S           PHM28.S            PH1-139            PHM44          PH1-167.S
 CONSTITUENT         (Units in ufl/kfl)         DATE                 07/06/94            07/07/94            07/07/94           O7/07/94           07/07/94       07/11/94
                                                DEPTH (ft)           103.00              116.50              128.50             139.00             144.00         167.50

Benzene                                                                                                      2J
Ethylbenzene
Toluene                                                              1J
Xylene (total)
Tetrahydrothiophene                                                                                          380 D                                                3J
2-Methyltetrahydrothiophene                                                                                  430 D                                                3J
3-Methyltetrahydrothiophene                                                                                  300 D                                                2J
1,1,1 -Trichloroethane
1,2-Dichloroethane
2-Butanone                                                                               20 D
Acetone                                                              5J                  320 D               78 D               19                                <24
2-Hexanone                                                                               6D,J
Bromodichloromethane
Carbon disulfide
Chlorobenzene
Chloroethane
Chloroform
Dibromochloromethane
Methylene chloride
Styrene
Chloromethane
Bromomethane
Vinyl chloride
1,1-Dichloroethene
1,1 -Dichloroethane
1,2-Dichloroethene
Carbon tetrachloride

Values represent total concentrations unless noted      < =Not detected at indicated reporting limit ~- = Not analyzed

                                                                                           Exhibit 39
See Table D-1 for data qualifier definitions.                                                5209 Reported as a TIC, standard was not available.
                                    Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 179 of 730 Page ID
                                                                      #:5253
                                                                                           TABLE D-4

                                                                            VOCs and Tetrahydrothiophenes in Soil                                             Page: 2C    of 2M
                                                                             Ground Water Remedial Investigation                                              _    10/05/95
                                                                                        McColl Site
                                                                                    Fullerton, California

                                                  SITE                PHI                PHI                 PH1                PH1                PH1            PHI
                                                  SAMPLE ID          PH1-103             PH1-116.5           PH1-128.5          PH1-139            PH1-144        PH1-167.S
 CONSTITUENT        (Units in Ufl/kfl)            DATE               07/06/94            07/07/94            07/07/94           07/07/94           O7/07/94       07/11/94
                                                  DEPTH (ft)          103.00             116.50              128.50             139.00             144.00         167.50

1,2-Dichloropropane
cis-1,3-Dichloropropene
Trichloroethene
1,1,2-Trichloroethane
trans-1,3-Dichloropropene
Bromoform
4-Methyl-2-pentanone
Tetrachloroethene
1,1,2,2-Tetrachloroethane




Values represent total concentrations unless noted       < =Not detected at indicated reporting limit ---Not analyzed

                                                                                          Exhibit 39
See Table r/      r data qualifier definitions.                                            f 5210 Reported as a TIC, standard was not available.                 (
             c                                                                               r
                                     Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 180 of 730 Page ID
                                                                       #:5254
                                                                                             TABLE D-4
                                                                                                                                                                   c
                                                                             VOCs and Tetrahydrothiophenes in Soil                                             Page: ID      of 2M
                                                                               Ground Water Remedial Investigation                                             Date- 10/05/95
                                                                                          McColl Site
                                                                                      Fullerton, California

                                                 SITE                 PH1                PHI                 PH1                 PH10               PH10            PH10
                                                 SAMPLE ID            PH1-174            PH1-183.5           PH1-187             PH10-5S            PH10-81         PH10»tS3
 CONSTITUENT         (Units in Wfl/kfl)          DATE                 07/11/94           07/11/94            07/12/94            09/16/94           09/16/94       09/26/94
                                                 DEPTH (ft)           174.00              183.50             187.00              59.00              81.00           153.00

Benzene                                                               <16                 <11                 <11                <15                <12             1J
Ethylbenzene
Toluene
Xylene (total)
Tetrahydrothiophene
2-Methyttetrahydrothtophene                                           2J                  <11                 <11                 <t6
3-Methyltetrahydrothiophene
1.1,1 -Trichloroethane
1,2-Dichloroethane
2-Butanone                                                            <16                 <11                8J
Acetone                                                             • <58                 <26                 170                29                 <12             61
2-Hexanone
Bromodichloromethane
Carbon disulfide
Chlorobenzene
Chloroethane                                                          <16                 <11                 <11                <15                <12        *   ' <13
Chloroform
Dibromochloromethane
Methylene chloride                                                    <16                 <11                 <11                2U                 1U              3U
Styrene                                     '"                *       <16                 <11                 <11                <15                <Tv2
Chloromethane                                                        —                   —                   —                   —                  —
Bromomethane                                                          —                  —                   —•                  —
Vinyl chloride
1,1-Dichloroethene                                                   —                   —                   —                   —                  —
1,1-Dichloroethane                                                    —                  —                   —                   —                  —
1,2-Dichloroethene                                                    —                  —                   «~                  «*»                *•-
Carbon tetrachloride                                                  —                  —                   —                   —                  —

Values represent total concentrations unless noted       < =Not detected at indicated reporting limit — = Not analyzed


See Table D-1 for data qualifier definitions.                                              Exhibit
                                                                                              * a39Reported as a TIC, standard was not available.
                                                                                             5211
                                   Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 181 of 730 Page ID
                                                                     #:5255
                                                                                         TABLE D-4

                                                                          VOCs and Tetrahydrothiophenes in Soil                                             Page: 20    of 2M
                                                                           Ground Water Remedial Investigation                                              n t • 10/05/95
                                                                                      McColl Site
                                                                                  Fullerton, California

                                                SITE               PHI                PHI                 PH1                PH10                PH10          PH10
                                                SAMPLE ID          PH1-174            PH1-183.5           PH1-187            PHI0-59             PHI0-81        PH10-153

 CONSTITUENT      (Urtft* in Ufl/kfl)           DATE               07/11/94           07/11/94            O7/12/94           09/16/94            09/16/94       09/20/94
                                                DEPTH (ft)         174.00              183.50             187.00             59.OO               81.OO          153.00

1,2-Dichloropropane
cis-1,3-Dichloropropene
Trichloroethene
1,1,2-Tnchloroethane
trans-1,3-Dichloropropene
Bromoform
4-Methyl-2-pentanone
Tetrachloroethene
1,1,2,2-Tetrachloroethane




Values represent total concentrations unless noted     < =Not detected at indicated reporting limit —=Not analyzed

                                                                                        Exhibit 39
See Table D/      data qualifier definitions.                                            i 5212 Reported as a TIC, standard was not available.
                                    Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 182 of 730 Page ID
                                                                      #:5256
                                                                                             TABLE D-4

                                                                              VOCs and Tetrahydrothiophenes in Soil                                            Page: 1E     of 2M
                                                                               Ground Water Remedial Investigation
                                                                                                                                                               Date: 10/05/95
                                                                                          McColl Site
                                                                                      Fullerton, California

                                                    SITE              PH10               PH10                 PH10               PH10               PH10MUD1       PH10MUD1RE
                                                    SAMPLE ID         PH10-183           PH10-191             PHI 0-1 96          PH10-204          PH10MUD1       PH10MUD1RE
 CONSTITUENT         (Units fn ug/kg(               DATE              09/21/94           09/21/94             09/21/94           09/21/94           09/21/94       09/21/94
                                                    DEPTH (ft)        183.00             191.00               196.00             204.00             0.00           0.00

Benzene                                                               <14                <12                  <12                <13                 <110          <110
Ethylbenzene                                                          <14                <12                  <12                <13                <11O           <11O
Toluene                                                               <14                <12                  <12                <13                14 J           16 J
Xylene (total)                                                        <14                <12                  <12                <13      ,         <11O           <110
Tetrahydrothiophene                                                   <14                20                   18                 11J                 <110          <110
2-Methyhetrahydrothtophene                                            <14                <12                  <12                <13                 <110          <110
3-Methyltetrahydrothiophene                                           <14                2J                   9J                 8J                 <110           <110
1,1,1-Trichloroethane                   '                             <14                <12                  <12                <T3                <11O           <110
1 ,2-Dichloroethane                                                     <14              7J                    <12               4J                  <110          <110
2-Butanone                                                             <14               <12                  <12            '   7J                  <110          <1TO
Acetone                                                              -4J                 10 J                 6J                 7J                  <110          <110
2-Hexanone                                  *                          <14               <12                  <12                <13                <110           <110
Bromodichloromethane                                                  <14                <12                  <12                <13                36 J           27 J
Carbon disulfide                                ,                     <14                <12                  <12                <13                <110           <11O
Chlorobenzene                                                         <14                <12                  <12                <13                 <110          < 1 10
Chloroethane                                               ^          <14                <12                  <12                <13                 <110          <1 f0
Chloroform                                                            <14                <12                  <12                <13                33 J           28 J
Dibromochtoromethane                                                  <14                <12                  <12                <13                3OJ            23 J
Methylene chloride                                                    2U                 3U                   2U                 3U                 <110           <110
Styrene                                                          '    <14                <12                  <12        -       <t3                 <11D           <1tO
Chloromethane                                                         —                  —                    —                  —                  —              ._
Bromomethane                                                          —                  —                    —                  —                  —              ...
                                                                                                                                                                   _
Vinyl chloride                                                        —
1,1-Dichloroethene                                                    —                  —                    —                  —                  —*             ...
                                                                                                                                                                   _
1 , 1 -Dichloroethane                                                     —               —                       —               —
1 ,2-Dichloroethene                                                   —                   —*                  **••                «—                *•»            *~
Carbon tetrachloride                                                                                                                                               —

Values represent total concentrations unless noted < = Not detected at indicated reporting limit — = Not analyzed

                                                                                             Exhibit 39
See Table D-1 for data qualifier definitions.                                                  * = Reported as a TIC, standard was not available.
                                                                                               5213
                                       Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 183 of 730 Page ID
                                                                         #:5257
                                                                                           TABLE D-4

                                                                            VOCs and Tetrahydrothiophenes in Soil                                            Page: 2E    of 2M
                                                                              Ground Water Remedial Investigation                                            Date- 1O/05/95
                                                                                         McColl Site
                                                                                     Fullerton, California

                                                SITE                 PH10               PH10                PH10             PH10                 PH10MUD1       PH10MUD1RE
                                                SAMPLE ID            PH10-183           PH10-191            PH 10-196        PH 10-204            PH10MUD1       PH10MUD1RE
CONSTITUENT       (Units in Ufl/kfl)            DATE                 09/21/94           09/21/94            09/21/94         09/21/94             09/21/94       09/21/94
                                                DEPTH (ft)           183.00              191.00             196.00           204.00               O.OO            0.00

1,2-Dichloropropane
cis-1,3-Dichloropropene
Trichloroethene
1,1,2-Trichloroethane
trans-1,3-Dichloropropene
Bromoform
4-Methyl-2-pentanone
Tetrachloroethene
1,1,2,2-Tetrachloroethane




Values represent total concentrations unless noted      < =Not detected at indicated reporting limit — = Not analyzed

                                                                                           Exhibit 39
See Table ll^   r data qualifier definitions.                                              I 5214Reported as a TIC, standard was not available.                   f
           c                                                                              c
                                    Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 184 of 730 Page ID
                                                                      #:5258
                                                                                          TABLE D-4
                                                                                                                                                                c
                                                                            VOCs and Tetrahydrothiophenes in Soil                        '                    Page: 1F    of 2M
                                                                             Ground Water Remedial Investigation                                                  . 10/O5/95
                                                                                        McColl Site
                                                                                    Fullerton, California

                                                SITE                PH2                 PH2                 PH2               PH2                PH2              PH2
                                                SAMPLE ID           PH2s34              PH2-48.S            PH2-67.5          PH2-102            PH2-102.5D       PH2-112
 CONSTITUENT         (Units in Ug/kfl)          DATE                07/13/94            07/13/94            07/13/94          07/15/94           07/15/94         07/18/94
                                                DEPTH (ft)          34.00               48.50               67.50             102.00             102.50           112.00

Benzene
Ethylbenzene
Toluene
Xylene (total)
Tetrahydrothiophene                                                  <11                <11                 <15               <11                <12              200
2-Methyltetrahydrothlophene                                          <11                <11                 <15               <11                <t2              4J
3-Methyltetrahydrothiophene                                          <11                <11                 <15               <11                <12              160
1,1,1-Trichloroethane                    '        •                  <11                <11                 <15         %     <11%               <t2", „
1,2-Dichloroethane                                                   <11                <11                 <15               <11
2-Butanone                                                           <f1                <11                 <15               <11
Acetone                                                             9J                  <11                 8J                7J
2*Hexanone
Bromodichloromethane
Carbon disulfide
Chlorobenzene
Chloroethane
Chloroform
Dibromochloromethane
Methylene chloride
Styrene
Chloromethane
Bromomethane
Vinyl chloride
1,1 -Dichloroethene
1,1 -Dichloroe thane
1,2-Dichloroethene
Carbon tetrachtoride

Values represent total concentrations unless noted      < =Not detected at indicated reporting limit — = Not analyzed

                                                                                         Exhibit 39
See Table D-1 for data qualifier definitions.                                               * « Reported as a TIC, standard was not available.
                                                                                           5215
                                    Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 185 of 730 Page ID
                                                                      #:5259
                                                                                             TABLE D-4
                                                                                VOCs and Tetrahydrothiophenes in Soil                                               Page: 2F      of 2M
                                                                                 Ground Water Remedial Investigation                                                _   .
                                                                                             McColl Site
                                                                                        Fullerton, California

                                                  SITE                 PH2                 PH2                 PH2                 PH2                 PH2              PH2
                                                  SAMPLE ID            PH2-34              PH2-48.S            PH2-67.S            PH2-102             PH2-102.5D       PH2-112
 CONSTITUENT        (Units in ug/kg)              DATE                 07/13/94            07/13/94            07/13/94            07/15/94            07/15/94         07/T8/94
                                                  DEPTH (ft)           34.00               48.50               67.50               102.00              102.50           112.00

1,2-Dichloropropane
cis-1,3-Dichloropropene
Trichloroethene
1,1,2-Trichloroethane
trans-1,3-Dichloropropene
Bromoform
4-Methyl-2-pentanone
Tetrachloroethene
1,1,2,2-Tetrachloroethane




Values represent total concentrations unless noted        < =Not detected at indicated reporting limit ~- = Not analyzed
                                                                                              Exhibit 39
                                                                                                5216
See Table d       , data qualifier definitions.                                               (       Reported as a TIC, standard was not available.
          c                                                                               c
                                    Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 186 of 730 Page ID
                                                                      #:5260
                                                                                           TABLE D-4

                                                                             VOCs and Tetrahydrothiophenes in Soil                                           Page: 1G     of 2M
                                                                              Ground Water Remedial Investigation
                                                                                                                                                             Date: 10/05/95
                                                                                          McColl Site
                                                                                      Fullerton, California

                                                SITE                 PH2                 PH2                  PH2              PH2                PH3            PH3
                                                SAMPLE ID            PH2-136.S           PH2-137D             PH2-190          PH2-205.5          PH3-t1         PH3-56
 CONSTITUENT         (Units in Ufl/kfl)         DATE                 07/18/94            07/18/94             07/19/94         08/04/94           06/21/94       06/22/94
                                                DEPTH (ft)           136.5O              137.00               190.00           205.50             11.00          56.00
Benzene
Ethylbenzene
Toluene
Xylene (total)
Tetrahydrothiophene                                                  230 D               250 D                                 12
2-Methyhetrahydrothtophene                                           160 D               150 D                                 13                 11 UJ*         10 UJ*
3-Methyltetrahydrothiophene                                          130 D               130 D                                 7J
1,1,1 -TrichloToethane
1,2-Dichloroethane
2-Butanone                                                           150D                2OOD                                                                    9J
Acetone                                                              140 D               200 D                44               49                 11 B           140
2-Hexanone                                                           5J
Bromodichloromethane
Carbon disulfide                                                                                              14J
Chlorobenzene
Chloroethane
Chloroform
Dibromochloromethane
Methylene chloride
Styrene
Chloromethane
Bromomethane
Vinyl chloride
1,1 -Dichloroethene
1,1-Dichloroethane
1,2-Dichloroethene
Carbon tetrachloride

Values represent total concentrations unless noted      < = Not detected at indicated reporting limit — = Not analyzed

                                                                                          Exhibit 39
See Table D-1 for data qualifier definitions.                                               5217 Reported as a TIC, standard was not available.
                             Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 187 of 730 Page ID
                                                               #:5261
                                                                                           TABLE D-4

                                                                             VOCs and Tetrahydrothiophenes in Soil               '                          Page: 2G     of 2M
                                                                              Ground Water Remedial Investigation                                           _
                                                                                         ._ _ ..                                                            uate:
                                                                                         McColl Site
                                                                                     Fullerton, California

                                                SITE                PH2                 PH2                 PH2               PH2                PH3            PH3
                                                SAMPLE ID           PH2-136.S           PH2-137D            PH2-190           PH2-205.5          PH3-11         PH3-56
 CONSTITUENT        (Units in Ufl/Jtfl)   '     DATE                07/18/94            07/18/94            07/19/94          O8/04/94           06/21/94       06/22/94
                                                DEPTH (ft)          136.50              137.00               190.00           205.50             11.00          56.00

1,2-Dichloropropane
cis-1,3-Dichloropropene
Tnchloroethene
1,1,2-Trichloroethane
trans-1,3-Dichloropropene
Bromoform
4-Methyl-2-pentanone
Tetrachloroethene
1,1,2,2-Tetrachloroethane




Values represent total concentrations unless noted     < = Not detected at indicated reporting limit — = Not analyzed

                                                                                    Exhibit 39
See Tl      M for data qualifier definitions.                                        f 5218 * = Reported as a TIC, standard was not available.              (
                                                                      #:5262              c
                                    Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 188 of 730 Page ID

                                                                                             TABLE D-4

                                                                             VOCs and Tetrahydrothiophenes in Soil                                            Page: 1H    of 2M
                                                                              Ground Water Remedial Investigation                                             _ . inmnint:
                                                                                         .. ^ .. „•                                                           Date: 1O/O5/95
                                                                                         McColl Site
                                                                                     Fullerton, California

                                                SITE                 PH3                 PH3                 PH3               PH3                PH3             PH3
                                                SAMPLE ID            PH3-77.5            PH3-87              PH3-106           PH3-119.4          PH3-134.5       PH3-160.5
 CONSTITUENT         (Units in Ufl/kfl)         DATE                 06/22/94            06/22/94            06/23/94          O6/24/94           06/29/94        06/30/94
                                                DEPTH (ft)           77.50               87.00               106.00            119.40             134.5O          160.50

Benzene
Ethylbenzene
Toluene
Xylene (total)
Tetrahydrothiophene                                                  <11                 <12                  <11              8J
2-Methyhetrahydrothlophene                                           11 UJ*              12UJ*               11 UJ*            11J
3-Methyltetrahydrothiophene                                          <11                 <12                  <11              5J
1,1,1 -Trichloroethane
1,2-Dichloroethane
2-Butanone                                                           4J                  <12                 <11               18                 7J
Acetone                                                            • 38 B                <25                 <14               81                 84
2~Hexanone
Bromodichloromethane
Carbon disulfide
Chlorobenzene
Chloroethane
Chloroform
Dibromochloromethane
Methylene chloride
Styrene
Chloromethane                                                        —                   —                   —                 —
Bromomethane                                                         —                   —
Vinyl chloride
1,1-Dichloroethene                                                   —                   —                   —                 —
1,1-Dichloroethane
1,2-Dichloroethene                                                   —                   —                   —
Carbon tetrachloride

Values represent total concentrations unless noted      < =Not detected at indicated reporting limit ~- = Not analyzed

                                                                                         Exhibit 39
See Table D-1 for data qualifier definitions.                                              5219
                                                                                             * = Reported as a TIC, standard was not available.
                                   Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 189 of 730 Page ID
                                                                     #:5263
                                                                                            TABLE D-4

                                                                             VOCs and Tetrahydrothiophenes in Soil                                              Page: 2H    of 2M
                                                                              Ground Water Remedial Investigation                                               _     10/05/95
                                                                                         McColl Site
                                                                                     Fullerton, California

                                                  SITE                PH3                PH3                 PH3                 PH3                PH3             PH3
                                                  SAMPLE ID           PH3-77.5           PH3-87              PH3-106             PH3»119.4          PH3-134.5       PH3-160.5
CONSTITUENT         (Units in ug/kg)              DATE               06/22/94            06/22/94            06/23/94           O6/24/94            06/29/94           06/30/94
                                                  DEPTH (ft)         77.50               87.00                106.00             119.40             134.50             160.50

1,2-Dichloropropane
cis-1,3-Dichloropropene
Trichloroethene
1,1,2-Tnchloroethane
trans-1,3-Dichloropropene
Bromoform
4-Methyl-2-pentanone
Tetrachloroethene
1,1,2,2-Tetrachloroethane




Values represent total concentrations unless noted       < =Not detected at indicated reporting limit — = Not analyzed

                                                                                           Exhibit 39
See Tablei Q
           uf     r data
                    data qualifier definitions.                                             I 5220 Reported as a TIC, standard was not available.                  (
             c                                                                                 <:
                                        Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 190 of 730 Page ID
                                                                          #:5264
                                                                                           TABLE D-4
                                                                                                                                                                     c
                                                                              VOCs and Tetrahydrothiophenes in Soil                                             Page: II     of 2M
                                                                               Ground Water Remedial Investigation                                              D   . iQ/05/95
                                                                                          McColl Site
                                                                                      Fullerton, California

                                                SITE                 PH3                 PH3                  PH4                 PH4                PH4            PH4
                                                SAMPLE ID            PH3-172.5           PH3-187.S            PH4-77.5            PH4-77.5D          PH4-147        PH4-186.5
 CONSTITUENT         (Units in ug/kg)           DATE                 06/30/94            06/30/94             07/29/94            07/30/94           O8/01/94       08/19/94
                                                DEPTH (ft)           172.50              187.50               77.50               77.50              147.00         186.50

Benzene
Ethylbenzene
Toluene
Xylene (total)
Tetrahydrothiophene
2-Methyltetrahydrothiophene
3-Methyltetrahydrothiophene
1,1,1 -Trichloroethane
1,2-Dichloroethane
2-Butanone                                                           <12                 16
Acetone                                                             -11 J                240                  9J
2-Hexanone
Bromodichloromethane
Carbon disulfide                                                     <f2
Chlorobenzene
Chloroethane
Chloroform
Dibromochtoromethane
Methylene chloride
Styrene
Chloromethane
Bromomethane
Vinyl chloride
1,1-Dichloroethene
1,1 -Dichloroethane
1,2-Dichloroethene
Carbon tetrachloride

Values represent total concentrations unless noted      < =Not detected at indicated reporting limit — = Not analyzed

                                                                                              Exhibit 39
See Table D-1 for data qualifier definitions.                                                  * 5221
                                                                                                  = Reported as a TIC, standard was not available.
                                   Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 191 of 730 Page ID
                                                                     #:5265
                                                                                             TABLE D-4

                                                                              VOCs and Tetrahydrothiophenes in Soil                                               Page: 21        of   2M
                                                                                Ground Water Remedial Investigation                                               Date- 10/05/95
                                                                                           McColl Site
                                                                                       Fullerton, California

                                                  SITE                 PH3                PH3                 PH4                  PH4                 PH4               PH4
                                                  SAMPLE ID            PH3-172.5          PH3-187.S           PH4-77.S            PH4-77.5D            PH4-147           PH4-186.5
 CONSTITUENT        (Units in ug/kg)              DATE                 06/30/94           06/30/94            07/29/94            07/30/94             08/01/94          08/19/94
                                                  DEPTH (ft)           172.50              187.50             77.50                77.50               147.00            186.50

1,2-Dichloropropane
cis-1,3-Dichloropropene
Trichloroethene
1,1,2-Trichloroethane
trans-1,3-Dichloropropene
Bromoform
4-Methyl-2-pentanone
Tetrachloroethene
1,1,2,2-Tetrachloroethane




Values represent total concentrations unless noted        < =Not detected at indicated reporting limit — = Not analyzed

                                                                                            Exhibit
                                                                                              j     39                                                               /
See Table!
         i D/     T data qualifier definitions.                                              f 5222•• Reported as a TIC, standard was not available.                     f
                                    Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 192 of 730 Page ID
             C                                                        #:5266               (
                                                                                           TABLE D-4
                                                                                                                                                                 C
                                                                           VOCs and Tetrahydrothiophenes in Soil                                             Page: 1J      of 2M
                                                                            Ground Water Remedial Investigation                                              D   . < 0/05/95
                                                                                       McColl Site
                                                                                   Fullerton, California

                                                SITE                PH4                PH5                  PH5                PH5                PH5            PH5
                                                SAMPLE ID           PH4-189            PH5-11.5             PH5-37             PHS*71             PH5-80         PH5-90
 CONSTITUENT         (Units in ug/kg)           DATE                08/23/94           08/11/94             08/11/94           08/15/94           08/15/94        08/15/94
                                                DEPTH (ft)          189.00             11.50                37.00              71.OO              80.00          90.0O

Benzene
Ethylbenzene
Toluene                                                              <15                <12                 <12                1J                 1J              1J
Xylene (total)
Tetrahydrothiophene
2-Methyhetrahydrothlophene                                          3J
3-Methyltetrahydrothiophene
1,1,1 -Trichloroethane
1,2-Dichloroethane
2-Butanone                                                           <15               9J                   <12                8J                 8J             17
Acetone                                                              <25                <34                 <12                48 U               13 U           34 U
2-Hexanone                                                           <15                <12                 <12                <1t                <10            2J
Bromodichloromethane
Carbon disulfide
Chlorobenzene
Chloroethane
Chloroform
Dibromochloromethane
Methylene chloride
Styrene                                                              <15                <12                 <12                <11                 <tO
Chloromethane
Bromomethane                                                        —                  —                    —                  —                  —
Vinyl chloride                                                      —                  —                    —                  —                  —
1,1-Dichloroethene                                                  —                  —                    —                  —                  —
1,1 -Dichloroethane                                                  —                  —                   —                  —
1,2-Dichloroethene                                                  —                  —                    —                  »«•                •**-
Carbon tetrachloride

Values represent total concentrations unless noted      < =Not detected at indicated reporting limit —=Not analyzed

                                                                                           Exhibit 39
See Table D-1 for data qualifier definitions.                                                * = Reported as a TIC, standard was not available.
                                                                                             5223
                                Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 193 of 730 Page ID
                                                                  #:5267
                                                                                           TABLE D-4

                                                                              VOCs and Tetrahydrothiophenes in Soil                                          Page: 2J        of 2M
                                                                               Ground Water Remedial Investigation                                           Date- 10/05/95
                                                                                          McColl Site
                                                                                      Fullerton, California

                                                SITE                PH4                  PH5                PH5                PH5                PH5               PH5
                                                SAMPLE ID           PH4-189              PH5-11.S           PH5-37             PH5*71             PH5-80            PH5-90
 CONSTITUENT      (Units In ug/kg)              DATE                08/23/94             08/11/94           08/11/94           08/15/94           08/15/94          08/15/94
                                                DEPTH (ft)           189.00              11.50              37.00              71.00              80,00             90.00

1,2-Dichloropropane
cis*1,3-Dichloropropene
Tnchloroethene
1,1,2-Trichloroethane
trans-1,3-Dichloropropene
Bromoform
4-Methyl-2-pentanone
Tetrachloroethene
1,1,2,2-Tetrachloroethane




Values represent total concentrations unless noted      < =Not detected at indicated reporting limit — = Not analyzed

                                                                                          Exhibit 39
See Table i    >r data qualifier definitions.                                             C5224= Reported as a TIC, standard was not available.                 {
                                                                                          c
                                      Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 194 of 730 Page ID
                                                                        #:5268
                                                                                           TABLE D-4
                                                                                                                                                                c
                                                                             VOCs and Tetrahydrothiophenes in Soil                                           Page: IK     of 2M
                                                                              Ground Water Remedial Investigation
                                                                                                                                                             Date: 10/05/95
                                                                                         McColl Site
                                                                                     Fullerton, California

                                                SITE                 PH5                PH5                 PH5                PH5                PH5            PH6
                                                SAMPLE ID            PH5-95             PH5-101             PH5-136            PH5-144            PH5-163        PH6-33
 CONSTITUENT         (Units in Ufl/kfl)         DATE                08/15/94            08/15/94            08/18/94           08/18/94           08/18/94       08/03/94
                                                DEPTH (ft)           95.00               101.00             136.00             144.00             163.00         33.00

Benzene
Ethylbenzene
Toluene                                                                                                                                           5J
Xylene (total)
Tetrahydrothiophene                                                                      13
2-Methyltetrahydrothtophene                                                              9J
3-Methyltetrahydrothiophene                                                              8J
1,1,1 -Trichloroethane
1,2-Dichloroethane                                                                                                                                4J
2-Butanone                                                           16                 29                   11                27                 11 J
Acetone                                                                                 97                  23 U               130                               <22
2-Hexanone                                                                                                                     3J
Bromodichloromethane
Carbon disulfide
Chlorobenzene
Chloroethane
Chloroform
Dibromochloromethane
Methylene chloride
Styrene
Chloromethane
Bromomethane
Vinyl chloride
1,1-Dichloroethene
1,1 -Dichloroethane
1,2-Dichloroethene
Carbon tetrachloride

Values represent total concentrations unless noted      < =Not detected at indicated reporting limit — = Not analyzed

                                                                                          Exhibit 39
See Table D-1 for data qualifier definitions.                                               5225 Reported as a TIC, standard was not available.
                                Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 195 of 730 Page ID
                                                                  #:5269
                                                                                          TABLE D-4

                                                                             VOCs and Tetrahydrothiophenes in Soil                                           Page: 2K     of 2M
                                                                             Ground Water Remedial Investigation                                             Date- 10/05/95
                                                                                        McColl Site
                                                                                    Fullerton, California

                                                SITE                PH5                 PH5                PHS                 PH5                PH5            PH6
                                                SAMPLE ID           PHS-9S              PH5-101            PH5-136             PHS*144            PHS»163        PH6-33
 CONSTITUENT      (Units in ug/kg)              DATE                08/15/94            08/15/94           08/18/94            08/18/94           08/18/94       08/03/94
                                                DEPTH (ft)          95.00               101.00              136.00             144.00             163.OO         33.00

1,2-Dichloropropane
cis-1,3-Dichloropropene
Trichloroethene
1,1,2-Trichloroethane
trans-1,3-Dichloropropene
Bromoform
4-Methyl-2-pentanone
Tetrachloroethene
1,1,2,2-Tetrachloroethane




Values represent total concentrations unless noted     < =Not detected at indicated reporting limit — = Not analyzed
                                                                                         Exhibit 39
See Table(     or data qualifier definitions.                                            ( 5226= Reported as a TIC, standard was not available.
                                    Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 196 of 730 Page ID
                                                                      #:5270
                                                                                           TABLE D-4
                                                                                                                                                                c
                                                                             VOCs and Tetrahydrothiophenes in Soil                                           Page: 1L     of   2M
                                                                              Ground Water Remedial Investigation                                            D t • 10/O5/95
                                                                                         McColl Site
                                                                                     Fullerton, California

                                                SITE                 PH7                PH7                 PH8               PH8                PH8             PH8
                                                SAMPLE ID            PH7-33.5           PH7-173             PH8-65.5          PH8.111            PH8-152.5       PH8-182.S
 CONSTITUENT         (Units in ug/kg)           DATE                 07/21/94           07/26/94            09/08/94          09/08/94           09/09/94        09/09/94
                                                DEPTH (ft)           33.50              173.00              65.50             111.00             152.50          182.50

Benzene
Ethylbenzene
Toluene
Xylene (total)                                                       <11                 <12                 <1O              <13                <14              <12
Tetrahydrothiophene
2-Methyltetrahydrothfophene
3-Methyltetrahydrothiophene
1,1,1 -Trichloroethane
1,2-Dichloroethane
2-Butanone
Acetone                                                              < 10                10 J
2-Hexanone
Bromodichloromethane
Carbon disuffide
Chlorobenzene
Chloroethane
Chloroform
Dibromochloromethane
Methylene chloride                                                   <11                 <12                 <10              5J                 11 J            8J
Styrene
Chloromethane
Bromomethane
Vinyl chloride
1,1 -Dichloroethene
1,1 -Dichloroethane
1,2-Dichloroethene
Carbon tetrachloride

Values represent total concentrations unless noted      < =Not detected at indicated reporting limit — = Not analyzed

                                                                                          Exhibit 39
See Table D-1 for data qualifier definitions.                                               * = Reported as a TIC, standard was not available.
                                                                                            5227
                                 Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 197 of 730 Page ID
                                                                   #:5271
                                                                                            TABLE D-4

                                                                              VOCs and Tetrahydrothiophenes in Soil                                            Page: 2L     of 2M
                                                                               Ground Water Remedial Investigation                                             _   .
                                                                                          .. ~. .. «.                                                          uate:
                                                                                          McColl Site
                                                                                      Fullerton, California

                                                 SITE                 PH7                 PH7                PH8              PH8                  PH8             PH8
                                                 SAMPLE ID            PH7-33.S            PH7-173            PH8-65.5         PH8-111              PH8-1S2.5       PH8-182.S
 CONSTITUENT        (Units in ug/kg)             DATE                 07/21/94           07/26/94            09/08/94         09/08/94             09/09/94        09/09/94
                                                 DEPTH (ft)           33.50               173.00             65.50            111.00               152.50          182.50

1,2-Dichloropropane
cis-1,3-Dichloropropene
Tnchloroethene
1,1,2-Trichloroethane
trans-1,3-Dichloropropene
Bromoform
4-Methyl-2-pentanone
Tetrachloroethene
1,1,2,2-Tetrachloroethane




Values represent total concentrations unless noted       < =Not detected at indicated reporting limit — = Not analyzed

                                                                                          Exhibit 39
See Table f      v data qualifier definitions.                                            / 5228= Reported as a TIC, standard was not available.                   (
             c                                                                             r
                                        Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 198 of 730 Page ID
                                                                          #:5272
                                                                                          TABLE D-4
                                                                                                                                                       c
                                                                             VOCs and Tetrahydrothiophenes in Soil                                 Page: 1M    of 2M
                                                                              Ground Water Remedial Investigation                                  Date- 10/05/95
                                                                                         McColl Site
                                                                                     Fullerton, California

                                                SITE                PH8                 PH9                 PH9                 PH9
                                                SAMPLE ID           PH8*247             PH9-26.S            PH9-27              PH3-161
 CONSTITUENT         (Units in Ug/kg)           DATE                09/14/94            08/31/94            08/31/94            09/01/94
                                                DEPTH (ft)          247.00              26.50               27.00               161.00

Benzene
Ethylbenzene
Toluene
Xylene (total)
Tetrahydrothiophene
2-Methyltetrahydrothtophene                                          <12                 <12                 <12                <t3
3-Methyltetrahydrothiophene                                          < 12
1,1,1-Trichloroethane                                                <t2
1,2-Dichloroethane                                                   < 12
2-Butanone                                                           < 12
Acetone                                                              10 J                <12                25
2-Hexanone
Bromodichloromethane
Carbon disulfide
Chlorobenzene
Chloroethane
Chloroform
Dibromochtoromethane
Methylene chloride                                                  2 BJ
Styrene
Chloromethane
Bromomethane
Vinyl chloride
1,1-Dichloroethene
1,1 -Dichloroethane
1,2-Dichloroethene
Carbon tetrachloride

Values represent total concentrations unless noted      < =Not detected at indicated reporting limit — = Not analyzed

                                                                                           Exhibit 39
See Table D-1 for data qualifier definitions.                                                *5229
                                                                                                = Reported as a TIC, standard was not available.
                                   Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 199 of 730 Page ID
                                                                     #:5273
                                                                                             TABLE D-4

                                                                              VOCs and Tetrahydrothiophenes in Soil                                  Page: 2M    of 2M
                                                                               Ground Water Remedial Investigation                                   _. „ ,«,„-,„,-
                                                                                          .. _ „ _.                                                  Date: 10/05/95
                                                                                          McColl Site
                                                                                      Fullerton, California

                                                   SITE                 PH8                PH9                 PH9                PH9
                                                   SAMPLE ID            PH8-247            PH9-26.5            PH9-27             PH9-161
 CONSTITUENT         (Units in ug/kg)              DATE                09/14/94            08/31/94            08/31/94           09/01/94
                                                   DEPTH (ft)          247.00              26.50               27.00              161.00

1,2-Dichloropropane
cis-1,3-Dichloropropene
Trichloroethene
1,1,2-Trichloroethane
trans-1,3-Dichloropropene
Bromoform
4-Methyl-2-pentanone
Tetrachloroethene
1,1,2,2-Tetrachloroethane




Values represent total concentrations unless noted         < =Not detected at indicated reporting limit — = Not analyzed

                                                                                            Exhibit 39
See Table (       jr data qualifier definitions.                                            f 5230= Reported as a TIC, standard was not available.      \
                                 Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 200 of 730 Page ID
                                                                   #:5274
                                                                                              TABLE D-5

                                                                             Tentatively Identified Compounds in Soil                          Page: 1A     of 2G
                                                                              Ground Water Remedial Investigation
                                                                                                                                               Date: 10/04/95
                                                                                             McColl Site
                                                                                        Fullerton, California

                                                SITE                 P-10L3               P-10L3              P-10L4     PHI        PH1            PHI
                                                SAMPLE ID            P-10L3               P-10L3RE            P-1OL4     PH1-14.6   PH1-18         PH1.18.6D
 CONSTITUENT       (Unto In ug/kg)              DATE                 06/28/96             06/28/95            06/29/95   07/06/94   07/06/94       07/06/94
                                                DEPTH (ft)           211.60               211.60              218.50     14.60      18.00           18.60

Unknown alkanel                                                      32 NJ                                               8 NJ
Unknown hydrocarbon 1                                                —                    21 NJ               10NJ       7NJ        —               ~
Unknown hydrocarbon2                                                 —                    —                   —          8 NJ
Unknown hydrocarbons                                                 —                    —                   <—         31 NJ      —              ~
Unknown hydrocarbon4                                                 —                    —                              8NJ        —              —
Unknown hydrocarbons,                                                —-                   —-                  —
Unknown hydrocarbons                                                 —                    —                   —
Unknown hydrocarbon?                                                 —                    —                   —
Substituted alcohol 1                                                —                    —
Substituted alcoho!2                                                 _        _       _         _         _   _
Substituted thiophene 1                                              50 NJ                32 NJ               —          19 NJ      ~-             —
Substituted thiopher\e2                                              —                    —                   —          29 NJ      —              —
Substituted thiopheneS                                               —                    —                   —          29 NJ      --
Substituted thiophene4                                               —                    —                   —          43 NJ      ~             —
Substituted thiopyranl                                               —                    21 NJ               —          21 NJ      —
Substituted thiopyran2                                               —                    —                   —
Unknown alkenel                                                      36 NJ                —                   —
Unknown alkene2                                                      —                    -—                  —
Unknown ketona!                                                      110NJ                74 NJ               —
Unknown ketona2                                                      —                    «*                  —«
Unknown cycloketone                                                  —                    —                   —
Unknown fluoronated alkane                                           *-                   *-»                 •—         0NJ        7NJ            —
Substituted Benzene                                                  —                    —                   —
Hatogenated alkahe                                                   „„                   ~                   „.
Halogenated benzene                                                  —                    —                   —
3-mathyl-2-butanon6                                                  —                    —                   —
3-methyl-2-pentanone                                                 —                    —                   —

Values represent total concentrations unless noted      < = Not detected at indicated reporting limit — = Not analyzed


See Table D-1 for data qualifier definitions.                                              Exhibit 39
                                                                                             5231
                                Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 201 of 730 Page ID
                                                                  #:5275
                                                                                            TABLE D-5

                                                                          Tentatively Identified Compounds in Soil                           Pace: 2A       of 2G
                                                                           Ground Water Remedial Investigation
                                                                                                                                             Date: 10/04/95
                                                                                          McColl Site
                                                                                     Fullerton, California

                                                SITE                P-10L3             P-10L3              P-10L4      PHI        PHI               PH1
                                                SAMPLE ID           P-10L3             P-10L3RE            P-10L4      PH1-14.6   PHI -18           PH1-18.6D
 CONSTITUENT      (Unto in ug/kg)               DATE                06/28/96           O6/28/96             06/29/96   07/06/94   07/06/94          07/06/94
                                                DEPTH (ft)          211.60             211.60              218.60      14.60      18.00             18.60

Dimethoxymethane                                                    —                  —
2-Methyl-2-proponol                                                 13OONJ             1800NJ              —           26 NJ      77 NJ             67 NJ
2-Methyl-2-pentanol                                                 91 NJ              59 NJ
Substituted tetrahydrothiophan«1                                    36 NJ              —                   —
Substituted tetrahydrothiophene2                                    32 NJ              —                    ~
Substituted 2-cyclopenten-1-                                        18NJ               12NJ
Substituted tetrahydrofuran                                         23 NJ               1 5 NJ             —
Tetr«hydro-2,5-dimethyl thlo!                                       ~-                  15NJ               —
Tetrahydro-2,6-dimethyl thio2                                       —                   21 NJ




Values represent total concentrations unless noted     < =Not detected at indicated reporting limit — = Not analyzed

                                                                                       Exhibit 39
Sea Table/'   for data qualifier definitions.                                           /
                                                                                         5232                                                  (\
         \                                                                              \
                                                                                           c
                                 Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 202 of 730 Page ID
                                                                   #:5276
                                                                                             TABLE D-S
                                                                                                                                                     c
                                                                             Tentatively Identified Compounds in Soil                             Page: 1B     of 2G
                                                                              Ground Water Remedial Investigation
                                                                                                                                                  Date: 10/04/95
                                                                                            McColl Site
                                                                                        Fullerton, California

                                                SITE                 PHI                 PH1                 PH1         PH1        PH1               PHI
                                                SAMPLE ID            PH1-37.6            PHI -47             PH1-68      PH1-63.1   PHI -11 6.6        PH1-128.6
 CONSTITUENT       (Unto In ug/kg)              DATE                 07/06/94            07/06/94            07/06/94    07/06/94   07/07/94          07/07/94
                                                DEPTH (ft)           37.60               47.00               68.00       63.10      116.60            128.60

Unknown alkanel                                                                                              8NJ                    36 NJ
Unknown hydrocarbon 1                                                6 NJ                5 NJ                18 NJ       6NJ        6NJ               21 NJ
Unknown hydrocarbon2                                                 7 NJ                1 5 NJ              23 NJ       26 NJ      9 NJ              9 NJ
Unknown hydrocarbons                                                 27 NJ               —                               16 NJ                        9NJ
Unknown hydrocarbon4                                                                                         _.          —                            130 NJ
                                                                                                             ._          _
Unknown hydrocarbons                                                 —                   —                                          —                 13 NJ
Unknown hydrocarbons                                                 —                   —                   __          —          —                 21 NJ
Unknown hydrocarbon?                                                 —                   —                   —           —          —                 9NJ
Substituted alcohol 1                                                —                   —                   —           17NJ       —                 —
Substituted alcoho!2                                                 ~                   —                   _.          _*
                                                                                                                                    —                 —
Substituted thiophene 1                                              38 NJ               27 NJ               33 NJ       49 NJ                        140 NJ
Substituted thioph«ne2                                               47 NJ               34 NJ               60 NJ       71 NJ      —                 140 NJ
Substituted thiopheneS                                               50 NJ               38 NJ               40 NJ       55 NJ      —
                                                                                                             _
Substituted thiophehe4                                               —                   —                                          ~                —
Substituted thiopyranl                                               66 NJ               47 NJ               67 NJ       83 NJ      —                —
                                                                                                                                    _                _
Substituted thiopyran2                                               1 5 NJ               9 NJ               21 NJ       —
Unknown alkanel                                                      —                   —                   —           —          —                 —
Unknown alkene2                                                      —-                  —                                          «.                —
                                                                                                             —           M
Unknown ketonel                                                      —                   --                  4NJ         13 NJ      —                 67 NJ
Unknown ketone2                                                      «-                  —                   ~           9NJ        »»                —
Unknown cycloketone                                                  —                   —                   —           —          —                 98 NJ
Unknown fluoronated alkarw                                           ~                   *~                  ~-          «.         —                 «.
Substituted Benzene                                                  —                   —                   —           —          —                 —
Halogenated alkane                                                   —                   —                   m           ^          _                 —
                                                                                                                                    _
Halogenated benzene                                                  —                   —                   _.
                                                                                                             _           _
3-methyl-2-butanone                                                  —                   ~                                          _                —
3-methyl-2-pentanone                                                 —                   —                   —           —          —                 -~
Values represent total concentrations unless noted      < = Not detected at indicated reporting limit — = Not analyzed


See Table D-1 for data qualifier definitions.                                              Exhibit 39
                                                                                             5233
                                Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 203 of 730 Page ID
                                                                  #:5277
                                                                                           TABLE D-5

                                                                           Tentatively Identified Compounds in Soil                          Page: 2B         of 2G
                                                                            Ground Water Remedial Investigation                              _       in/04/95
                                                                                       McColl Site
                                                                                   Fullerton, California

                                                SITE               PH1                 PHI                PHI         PH1        PH1                 PHI
                                                SAMPLE ID          PH1-37.6            PH1-47             PH1-68      PH1-63.1   PH1-116.6           PH1-128.6
 CONSTITUENT      (Units in ug/kg)              DATE               07/06/94            07/06/94           07/06/94    07/06/94   07/07/94            07/07/94
                                                DEPTH (ft)         37.60               47.00              58.00       63.10      116.60              128.60

Dimethoxymethane                                                   —                   —                  —           —
2-Methyl-2-pK>panol                                                21 NJ               29 NJ               170 NJ     350 NJ
2-Methyl-2-pentanol                                                —                   —                  —           —
Substituted tetrahydrothiophene 1                                  -*                  —                  —           —
Substituted tetrahydrothiophene2                                   —                   —                  —           —
Substituted 2-cyclopent«n-1»                                       —                   —                  *-          —
Substituted tetrahydrofuran                                        —                   —                   —          —
Tetrahydro-2,5-dimethyl thfol                                      —                   —                  —           —
Tetrahydro-2,5-dimethyl thio2                                      —                   —                  —           ~-




Values represent total concentrations unless noted     < =Not detected at indicated reporting limit ~-=Not analyzed

                                                                                       Exhibit 39
See Table^    for data qualifier definitions.                                          /5234                                     ^               /
          (                                                                               (
                                  Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 204 of 730 Page ID
                                                                    #:5278
                                                                                             TABLE D-S

                                                                             Tentatively Identified Compounds in Soil                                                Page: 1C     of 2G
                                                                              Ground Water Remedial Investigation                                                    _
                                                                                            McColl Site
                                                                                        Fullerton, California

                                                SITE                 PHI                 PH1                PH10                   PH10                   PH10           PH10
                                                SAMPLE ID            PH1-139             PH1-174            PHI 0-153              PH10-191               PH10-196       PH10-204
 CONSTITUENT       (Unit* in ug/kg)             DATE                 07/07/94            07/11/94            09/20/64              09/21/94               O9/21/94       09/21/94
                                                DEPTH (ft)           139.00              174.00              163.0O                191.00                 196.00         204.00

Unknown alkanel                                                      —                   —                   —                     —                      —              —
Unknown hydrocarbon 1                                                6 NJ                27 NJ               28 NJ                 130 NJ                 120 NJ         79 NJ
Unknown hydrocarbon2                                                 11 NJ               —                   —                     7 NJ                   7 NJ
Unknown hydrocarbons                                                 430 NJ              —                  —                      —                      —              —
Unknown hydrocarbon4                                                 —                   —                   —                     —                      —              —
Unknown hydrocarbons                                                 -»                  —                  _      -       ,   .   «      ,   ,       «     .            »*»
Unknown hydrocarbons                                                 —                   —                  —                      —                      —              —
Unknown hydrocarbon?                                                 —                   —                  —                      —                      —              —
Substituted alcoholl                                                 24 NJ               —                   14 NJ                 —                      —              —
Substituted alcoho!2                                                 9 NJ                                   —                      —                      —               ~
Substituted thiophene 1                                              —                   —                  —                      —                      —              —
Substituted thiophen»2                                               —                   —                  —                      —                      —               ~
Substituted thiopheneS                                               —                   —                  —                      —                      —              —
Substituted thiophene4                                               —                   —                  —                      —                      —              —
Substituted thiopyran!                                               —                   —                  —                      —                      —              —
Substituted thiopyran2                                               —                   -~                  —                     —                      —              —
Unknown alkenel                                                      —                   —                   —                     —                      —              —
Unknown alkene2                                                     —                    —                   *         _       *          —       «         .            *«
Unknown ketonet                                                      —                   —                   —                     —                      —              —
Unknown ketone2                                                      •—                  ~»                 —                      -~                     —              —*
Unknown cycloketone                                                  —                   —                   —                     —                      —              —
Unknown f luoronated alkane                                          *—                  —                  —                      •"•»                   •"-            ~*
Substituted Benzene                                                  —                   —                   —                     ~-                     —              —
Halogenated alkane                                                   ~-                  --                  —                     —                      —              ~-
Halogenated benzene                                                  —                   —                   —                     —                      —              —
3-methyl-2-butanone                                                  —                   —                   —                     —                      —              —
3-methyl-2-pentanone                                                 —                   —                   —                     —                      —              —

Values represent total concentrations unless noted      < = Not detected at indicated reporting limit — = Not analyzed

                                                                                           Exhibit 39
See Table D-1 for data qualifier definitions.                                                5235
                                Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 205 of 730 Page ID
                                                                  #:5279
                                                                                          TABLE 0-5

                                                                          Tentatively Identified Compounds in Soil                          Page: 2C       of 2G
                                                                           Ground Water Remedial Investigation                              _
                                                                                         .. -. .. _.                                        uate:
                                                                                         McColl Site
                                                                                     Fullerton, California

                                                SITE                PHI                PH1                 PH10       PH10       PH10             PH10
                                                SAMPLE ID           PH1-139            PH1-174             PHI0-153   PH10-191   PHI0-19«         PH10-204
 CONSTITUENT      (Unto in ug/Vg)               DATE                07/07/94           07/11/94            09/20/94   06/21/94   09/21/94         Od/21/94
                                                DEPTH (ft)          139.00             174.00              163.0O     191.00     196.0O           204.00

Dimethoxymethane
2-Methyl-2-propanol
2-Methyl-2-pentanol
Substituted tetrahydrothiophene 1
Substituted tetrahydrothiophena2
Substituted 2-cyclopenterv1-
Substituted tetrahydrofuran
T«trahydro-2,B-dimethyl thte!
Tetrahydro-2,6-dimethyl thio2




Values represent total concentrations unless noted      < =Not detected at indicated reporting limit —=Not analyzed

                                                                                        Exhibit 39
Sea Table/     or data qualifier definitions.                                           f                                                     (
                                                                                          5236
          c                                                                              r
                                 Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 206 of 730 Page ID
                                                                   #:5280
                                                                                          TABLE D-5
                                                                                                                                                c
                                                                           Tentatively Identified Compounds in Soil                           Page: 10     of 2G
                                                                            Ground Water Remedial Investigation
                                                                                                                                              Date: 10/04/95
                                                                                          McColl Site
                                                                                      Fullerton, California

                                                SITE                 PH2                PH2                 PH2        PH2         PH2            PH2
                                                SAMPLE ID            PH2-102            PH2-102.6D         PH2-112     PH2-136.6   PH2-137D       PH2-206.6
 CONSTITUENT       (Unto hi ug/kg)              DATE                 07/16/94           07/16/94           O7/18/34    07/18/94    07/18/94       08/04/94
                                                DEPTH (ft)           102.00             102.50              112.00     139.60      137.00         206.60
Unknown alkanel                                                     —                                                  19 NJ       14 NJ          .—
Unknown hydrocarbon 1                                               —                   —                  8 NJ        -_          —              ~
                                                                                                                                   _
Unknown hydrocarbon2                                                —                   —                  —           _.                         -~
Unknown hydrocarbons                                                ~-                  —                  —           —
                                                                                                                                                  -4.

                                                                                                                                   —              _

Unknown hydrocarbon4                                                —                   —                              —           „
                                                                                                                                                  _


Unknown hydrocarbons                                                ~                   -~                 ~           »M


                                                                                                                       _
                                                                                                                                   —
Unknown hydrocarbons                                                —                   —                  —                       ~-             —
                                                                                                                       _

Unknown hydrocarbon?                                                —                   —                  —                       —
Substituted alcohol 1                                               —                   —                  —           39 NJ       26 NJ
Substituted alcoho!2                                                __                  „_                 „           9NJ         —              —

Substituted thiophene 1                                             —                   —                   8 NJ       16 NJ       11 NJ
Substituted thiophene2                                              —                   —                   8 NJ       9NJ         8NJ            —



Substituted thiophoneS                                              —                   —                  10NJ        10 NJ       7NJ
                                                                                                                                                  _.




Substituted thiophene4                                              _                   _                  _           2O NJ       12 NJ
                                                                                                                                   _              —


Substituted thiopyran!                                              —                   —                              —                          ~

                                                                                                                                                  _

Substituted thiopyran2                                              —                   —                  —
                                                                                                                       —           —
Unknown alkenel                                                     —                   —                  —           —           —
Unknown alkene2                                                     —                   —                  —                       —<
                                                                                                                       —                          —


Unknown ketonel                                                     —                   —                  —           12 NJ       9NJ
Unknown ketone2                            ,                        „.                  .„                 ™           8NJ         ~.             W




Unknown cycloketone                                                 —                   —                  —           —           —              —



Unknown fluoronated alkane                                          —                   «*                 —           .M*
                                                                                                                                   >***           ~.




Substituted Benzene                                                 —                   —                  —
Halogenated alkane                                                  —                   —                   1 3 NJ                 —,             »-

                                                                                                                       —
                                                                                                                       _

Halogenated benzene                                                 —                   —                  —                       —
                                                                                                                                                  _.



                                                                                                                                                  _


3-methyl-2-butanone                                                 —                   —                  —           140 NJ      10ONJ
3-methyl-2-pentanone                                                —                   —                   —          11 NJ       8NJ

Values represent total concentrations unless noted      < =Not detected at indicated reporting limit — =Not analyzed


See Table D-1 for data qualifier definitions.                                            Exhibit 39
                                                                                           5237
                                Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 207 of 730 Page ID
                                                                  #:5281
                                                                                          TABLE D-5

                                                                           Tentatively Identified Compounds in Soil                                 Page: 2D    of 2G
                                                                            Ground Water Remedial Investigation                                     _     10/04/95
                                                                                          McColl Site
                                                                                      Fullerton, California

                                               SITE                 PH2                 PH2                 PH2             PH2          PH2            PH2
                                               SAMPLE ID            PH2-102             PH2-102.5D          PH2-112         PH2-136.6    PH2-137D       PH2-206.6
 CONSTITUENT      (Unto in ug/kg)              DATE                 07/16/94            07/16/94            07/18/94        07/18/94     07/18/94       08/04/94
                                               DEPTH (ft)           102.00              102.60              112.00          138.60       137.00         206.60

Dimethoxymethane                                                    —                   —                   —               —            —
2-Methyl-2-propanol                                                 16NJ                25 NJ               160NJ           1100NJ       000 NJ         19ONJ
2-Methyl-2-pentanol                                                 —                   —                   --              --           —              —
Substituted tetrahydrothiophanel                                    —                   —                   —               ...          „.             _
Substituted tetrahydrothiophene2                                    —                   —                   —               —            —              —
Substituted 2-eyclopenten-1-                                        —                   —•                  —                            ~-             «~
Substituted tetrahydrofuran                                         —                   —                   —               —            —              —
Tetrahydro-2,5-dimethyl thfol                                       _           .            _        _           _     .            _   _              _
Tetrahydro-2,5-dimethyl thio2                                       —                   —                   —               —            —              —




Values represent total concentrations unless noted     < = Not detected at indicated reporting limit — = Not analyzed

                                                                                         Exhibit 39
See Table f    v data qualifier definitions.                                              / 5238
          V                                                                               \,
                                  Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 208 of 730 Page ID
                                                                    #:5282
                                                                                            TABLE D-5
                                                                                                                                                       c
                                                                             Tentatively Identified Compounds in Soil                               Page: 1E     of 2G
                                                                              Ground Water Remedial Investigation
                                                                                                                                                    Date: 10/04/95
                                                                                            McColl Site
                                                                                       Fullerton, California

                                                SITE                 PH3                  PH3                   PH3         PH3         PH4             PH6
                                                SAMPLE ID            PH3-119.4            PH3-134.6             PHS-172,6   PH3-187.6   PH4-180.6       PH6-37
 CONSTITUENT       (Unto in ug/kg)              DATE                 06/24/94             06/29/94              06/30/94    06/30/94    08/19/94        08/11/94
                                                DEPTH (ft)            119.40              134.60                 172.60     187.60      186.60          37.00

Unknown alkanel                                                                           9NJ
Unknown hydrocarbon 1                                                 12 NJ                                      9NJ        260 NJ
Unknown hydrocarbon2                                                                                                        12 NJ
Unknown hydrocarbons
Unknown hydrocarbon4
Unknown hydrocarbons
Unknown hydrocarbonO
Unknown hydrocarbon?
Substituted alcohol 1                                                 190 NJ                                                16 NJ
Substituted alcoho)2                                                  12 NJ                                                 SNJ
Substituted thiophene 1
Substituted thiophene2
Substituted thiophene3
Substituted thiophene4
Substituted thiopyranl
Substituted thiopyran2
Unknown alkenel
Unknown alkerw2
Unknown ketonel                                                       13NJ                                                  7NJ                         14 NJ
Unknown keton»2
Unknown cycloketone                                                                                                         7NJ
Unknown fluoronated afkarw
Substituted Benzene
Halogenated alkane
Halogenated benzene
3-methyt-2-butanon0
3-methyl-2-pentanone

Values represent total concentrations unless noted      < = Not detected at indicated reporting limit    — = Not analyzed


See Table D-1 for data qualifier definitions.                                               Exhibit 39
                                                                                              5239
                                 Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 209 of 730 Page ID
                                                                   #:5283
                                                                                      TABLE D-5

                                                                      Tentatively Identified Compounds in Soil                              Page: 2E         of 2G
                                                                         Ground Water Remedial Investigation                                _   . 10/04/95
                                                                                    McColl Site
                                                                                Fullerton, California

                                                SITE            PH3                 PH3                PH3          PH3         PH4                 PH6
                                                SAMPLE ID       PH3-119.4           PH3-134.6          PH3-172.6    PH3-187.6   PH4-180.6       PH6-37
 CONSTITUENT      (Unto in ug/kg)               DATE            06/24/94            06/29/34           06/30/94     06/30/94    08/19/34            08/11/94
                                                DEPTH (ft)      119.40              134.60             172.60       187.60      186.60              37.00

Dimethoxymethane                                                —                   —                  —            —           —
2-Methvl-2-propanol                                             —                   --                 ~            —           16NJ                26O NJ
2-Methyl-2-pentanol                                             —                   —                  —            —           —               —
Substituted tatrahydrothiophenel                                —                   —                  —            —           •—•                 -—
Substituted tetrahydrothiophene2                                —                   —                  —            —           —               —
Substituted 2-cyclop«nterv1-                                    —                   —                  —•           —           —               —
Substituted tetrahydrofuran                                     --                  --                 —            —           —               —
Tetrahvdro-2,5-dimethvl thfol                                   _               _                 _             _       _       _               „
Tetrahydro-2,5-dimethyl thio2                                   —                   —                  —            —           —               —




Values represent total concentrations unless noted < =Not detected at indicated reporting limit — = Not analyzed

                                                                                     Exhibit 39
Sae Tabte^     or data qualifier definitions.                                        ( 5240                                                     /
                                  Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 210 of 730 Page ID
                                                                    #:5284
                                                                                              TABLE D-5
                                                                                                                                                                                c
                                                                             Tentatively Identified Compounds in Soil                                                      Page: 1F        of 2G
                                                                              Ground Water Remedial Investigation
                                                                                                                                                                           Date: 10/04/95
                                                                                            McColl Site
                                                                                       Fullerton, California

                                                SITE                 PH6                  PH6                    PH6         PH6                     PH6                        PH6
                                                SAMPLE ID            PH6-71               PH6-80                 PH6-90      PH6-96                  PH6-101                    PH6-144
 CONSTITUENT       (Unto in ug/kg)              DATE                 08/16/d4             08/16/94               08/16/94    08/16/94                08/16/94                   08/18/64
                                                DEPTH (ft)           71.00                80.00                  90.00       96.00                   101.00                     144.00
                                                                                                                                                     _
Unknown alkanel                                                      6 NJ                 —                      —
Unknown hydrocarbon 1                                                8 NJ                 —                       7 NJ       ~                        12 NJ                       7NJ
Unknown hydrocarbon2                                                 5 NJ                 —                       5 NJ       —                       5NJ                        ~-
Unknown hydrocarbons                                                 —                    ~-                     <—          -~                      BNJ                         —
Unknown hydrocarbon4                                                 —                    —                      —                                   ~                          ._
Unknown hydrocarbons                                                 *—•                  —                      ~                                   -.                         _
Unknown hydrocarbons                                                 —                    —                      —           _                       ._                         _
Unknown hydrocarbon?                                                 —                    —                      —           —           *           ~                          —
Substituted alcohol 1                                                —                    —                      —           —                       21 NJ                      BNJ
Substituted alcohol2                                                 ™                    —                      —           «-.                     *-.                        —
Substituted thiophene 1                                              —                    —                      —           —                       —                          —
Substituted thiophone2                                               —                    —                       ~          _.                      _                          _

Substituted thiopheneS                                               —                    —                      —           _.                      _.
Substituted thiophene4                                               —                    —                      —           —                       ~                          —
                                                                                                                             _                       _                          _
Substituted thiopyranl                                               —                    —                      —
Substituted thiopyran2                                               —i                   —                      —           ^..                     _                          _
Unknown alkenel                                                      —                    —                                  ~                       ~                          BNJ
Unknown alkene2                                                      —.                   —                      -**
                                                                                                                             —                       —                              fiNJ
Unknown ketonel                                                      —                    —                      —           ~                       _                           10NJ
Unknown ketone2                                                      —                    ~                      —-          —                       «.                         BNJ
Unknown cycloketone                                                  —                    —                      —           „                       _                          _.
Unknown f luoronated alkane                                          —                    ~*                     *»          «44u»                   •+*-*•       '"       "'   *•"**.


Substituted Benzene                                                  —                    5 NJ                   —           „                       _                          —

Halogenated alkane                                                   —                    —                       —          «       .       «   «            •        »    »      *

Halogenated benzene                                                  —                    —                      —           —                       —                          —
3-methyl-2-butanone                                                  —                    —                      —           _                       —                          —

3-methyl-2-pentanone                                                 —                    —                      —           —                       —                          —

Values represent total concentrations unless noted      < = Not detected at indicated reporting limit     — = Not analyzed


Sea Table D-1 for data qualifier definitions.                                               Exhibit 39
                                                                                              5241
                                 Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 211 of 730 Page ID
                                                                   #:5285
                                                                                           TABLE D-5

                                                                           Tentatively Identified Compounds in Soil                                 Page: 2F     of 2G
                                                                            Ground Water Remedial Investigation                                     _   . in/04/95
                                                                                          McColl Site
                                                                                      Fullerton, California

                                                 SITE                PH5                PH6                   PH5             PH6        PH6            PH6
                                                 SAMPLE ID           PH5-71             PHB-80                PH6-90          PH6-96     PH6-101        PH6-144
 CONSTITUENT      (Unto in ug/Vg)                DATE                08/16/94           08/16/94              08/16/94        08/16/64   08/16/64       08/18/94
                                                 DEPTH (ft)          71.00              80.00                 90.00           96.00      101.00          144.00

Dimethoxymethane                                                     —                  —                     —               —          —
2-Methvl-2-propanol                                                  —                  —                     ~               120NJ      620 NJ         54 NJ
2-Methyl-2-pentanol                                                  —                  —                     —               —          —              —
Substituted tetrahydrothiophene 1                                    —                  —                     —               —          —              —
Substituted tetrahydrothiophene2                                     —                   —                    —               —          —
Substituted 2-cyclopenten-1-                                         _        .     .        -        .   _           «   .    .         ^,             „.
Substituted tetrahydrofuran                                          —                  —                     —               —          —              —
Tetrahydro-2/5-dimethyl thlol                                        —                  —                     —               —          —              —
Tetrahydro-2,5-dimethyl thio2                                        —                  —                     —               —          —              —




Values represent total concentrations unless noted      < =Not detected at indicated reporting limit — = Not analyzed

                                                                                         Exhibit 39
See Table»ff   'or
                ordata
                   dataqualifier
                        qualifierdefinitions.
                                  definitions.                                            f                                                             /
                                                                                           5242
         (                                                                                 C
                                Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 212 of 730 Page ID
                                                                  #:5286
                                                                                            TABLE D-5
                                                                                                                                                      C
                                                                      Tentatively Identified Compounds in Soil                                       Page: 1G     of 2G
                                                                       Ground Water Remedial Investigation                                           _   . 1o/04/g5
                                                                                     McColl Site
                                                                                 Fullerton, California

                                                SITE            PH6                    PH8                          PH9                   PH9
                                                SAMPLE ID       PH6-163                PH8 66.6                     PH9-26.6              PH9-27
 CONSTITUENT        (Unto hi ug/kg)             DATE            08/18/94               09/08/94                     08/31/94              08/31/94
                                                DEPTH (ft)      163.00                 66.60                        26.60                 27.OO

Unknown alkanel                                                 —                      —                            —                     —
Unknown hydrocarbonl                                            —                      —                            7 NJ                  11 NJ
Unknown hydrocarbon2                                            —                      —                            —                     —
Unknown hydrocarbons                                            —                      —                            *—                    —«
Unknown hydrocarbon4                                            —                      —                            —                     —
Unknown hydrocarbons                                            —              .        „               .           .             _       _
Unknown hydrocarbon8                                            —                          —                        —                     —
Unknown hydrocarbon?              -                             —                      —                            —                     —>
Substituted alcoholl                                            —                          —                        —                     —
Substituted alcoho!2                                            —                          —                        _.                    ^
Substituted thiophene 1                                         —                          —                        —                     —
Substituted thiophene2                                          —                      —                            —                     —
Substituted thiophene3                                          —                          —                        —                     —
Substituted thiophene4                                          —                          —                        —                     —
Substituted thiopyranl                                          —                      —                            —                     —
Substituted thlopyran2                                          —                      —                            —                     —
Unknown alkenel                                                 —                      —                            —                     —
Unknown alkene2                                                 .          „                    _               _                 „       *
Unknown ketonel                                                 —                      —                            —                     —
Unknown ketoneZ                                                 —          «           -            .           «         ,           »   »
Unknown cycloketone                                             —                      —                            —                     —
Unknown ftuoronated alkarw                                      .     »            ,   _            »       .       *         -       .   —
Substituted Benzene                                             —                      —                            —                     —
Halogenated alkane                                              —                          «~                       «~                    —
Halogenated benzene                                             —                      —                            —                     —
3-methyl-2-butanone                                             —                      —                            —•                    —
3-methyl-2-pentanone                                            —                          —                        —                     —

Values represent total concentrations unless noted < =Not detected at indicated reporting limit — = Not analyzed

                                                                                       Exhibit 39
Saa Table D-1 for data qualifier definitions.
                                                                                         5243
                                Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 213 of 730 Page ID
                                                                  #:5287
                                                                                     TABLE D-0

                                                                      Tentatively Identified Compounds In Soil              Page: 2G    of 2G
                                                                       Ground Water Remedial Investigation                  Date- 10/O4/95
                                                                                     McColl Site
                                                                                 Fullerton, California

                                                SITE           PH6                PH8                 PH9        PH9
                                                SAMPLE ID      PH6-163            PH8-66.6            PH9-26.6   PH9-27
 CONSTITUENT      (Unto hi ug/kg)               DATE           08/18/94           09/08/94            08/31/94   08/31/94
                                                DEPTH (ft)     163.00             66.60               26.60      27.00

Dimethoxymethane                                               —                  53 NJ
2-Methyl-2-propanol                                            18NJ
2-Methyl-2-pentanol
Substituted tetrahydrothiophene 1                              —                  —
Substituted tetrahydrothiophene2
Substituted 2-cyclopenten-1-                                   —
Substituted tetrahydrofuran
Tetr«hydro-2,5-dimethyl thlol                                  —                  —
Tetrahydro-2,5-dimethyl thio2                                  —                  —




Values represent total concentrations unless noted < =Not detected at indicated reporting limit —=Not analyzed

                                                                                    Exhibit 39
Sea Table f    IT data qualifier definitions.                                         5244
                                                                 #:5288                c
                               Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 214 of 730 Page ID
                                                                                            TABLE D-6

                                                                             General Chemistry Parameters in Soil                                              Page: 1A     of   1M
                                                                             Ground Water Remedial Investigation
                                                                                                                                                               Date: 10/04/95
                                                                                         McColl Site
                                                                                     Fullerton, California

                                                SITE                P-10L3              P-10L4              P-2D(R)              PH1                PH1            PHI
                                                SAMPLE ID           P-10L3              P-10L4              P2DR 197.6           PH1-14.6           PH1-18         PH1-18.6D
 CONSTITUENT                                    DATE                06/28/96            06/29/96        .   10/07/94             07/06/94           07/06/94       07/06/94
                                                DEPTH (ft)          211.60              218.60              197.60               14.60              18.00           18.60

pH                                                       (units)    6.10                8.36                8.66                 8.4                7.7            7.8
Sulfate                                                  (mg/kg)    4800                26                  22                   94                 129            136
TOC                                                      (mg/kg)     2800                1200               320                  62OO               1000            1200
Chloride                                                 (mg/kg)    _                   _                   —                    —                  —              ~~
Conductivity                                             (urn/cm)   —                   —                   —                    —                  —              —
Nitrite (as N)                                           (mg/kg)    —            .       -          *        -           «        .             -    .             _
Nitrate                                                  (mg/kg)    —              -          -         -          _         _              -       _              ~-
Sulfide                                                  (mg/kg)    —                   —                   —•                   —                  ~              —
Alkalinity                                               (mg/kg)    —                   --                  —                    —                  —              —
Total dissolved solids (TDS)                             (mo/kg)    _          _         ,          _       -                    —                  **»            ~~
TPH (as diesel)                                          (mg/kg)     9.8                 <5.0               —                    ~-                 ~              -~
TPH (as gasoline)                                        (mg/kg)     <0.so               <0.50              ~                    ~                  —              ~
Percent moisture                                         (perce)     14                  18                 —                    —                  —              —




Values represent total concentrations unless noted      <= Not detected at indicated reporting limit — = Not analyzed


See Table D-1 for data qualifier definitions.                                          Exhibit 39
                                                                                         5245
                                   Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 215 of 730 Page ID
                                                                     #:5289
                                                                                                TABLE D-6

                                                                                General Chemistry Parameters in Soil                                             Page: 1B       of   1M
                                                                                Ground Water Remedial Investigation
                                                                                                                                                                 Date: 10/04/95
                                                                                            McColl Site
                                                                                        Fullerton, California

                                                   SITE                 PHI                PH1                 PH1                 PHI                PHI              PHI
                                                   SAMPLE ID            PH1-37.6           PH1-47              PH1-68              PH1-63.1           PHI -87          PH1-103
 CONSTITUENT                                       DATE                 07/06/94           07/06/94            07/06/94            07/06/94           07/06/94         O7/06/94
                                                   DEPTH (ft)           37.60               47.00              58.00               63.10              87.00            103.00

PH                                                          (units)     6.7                 7.6                7.9                 7.9                8.2              7.9
Sulfate                                                     (mg/kg)     512                 424                149                 218                11               1?
TOC                                                         (mg/kg)     330                 720                 390                480                180              35O
Chloride                                                    (mg/kg)     _.                  —                  _                   —                  —                +~
Conductivity                                                (um/cm)     —                   —                  —                   —                  -~               —
Nitrite (as N)                                              (mo/kg)     —                   --                                     ~                  —                *-
Nitrate                                                     (mg/kg)     —                   —                  _           .       _          _        .               _
Sulfide                                                     (mg/ko)     ~                   —                  —                   —                  _.    '          _
Alkalinity                                                  (mg/kg)
Total dissolved solids (TDS)                                (mg/kg)     —                   —                  _           «   -         ,        «    ,               »*.
TPH (as diesel)                                             (mg/kg)     —                   -            -     .           _       _          _        .               _
TPH (as gasoline)                                           (mo/kg)     _-                  —                  —                   —                  _-               _
Percent moisture                                            (porco)     ™                   •••                —-                  ••—                —                •••




Values represent total concentrations unless noted         <= Not detected at indicated reporting limit --= Not analyzed

                                                                                            Exhibit 39
See Table/'       or data qualifier definitions.
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                                                                                              5246                                                                 (
           c                                                                            c
                                Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 216 of 730 Page ID
                                                                  #:5290
                                                                                           TABLE D-6

                                                                              General Chemistry Parameters in Soil                                       Page: 1C     of 1M
                                                                              Ground Water Remedial Investigation
                                                                                                                                                         Date: 10/04/95
                                                                                           McColl Site
                                                                                      Fullerton, California

                                                SITE                 PHI                PH1                 PHI               PHI            PHI             PH1
                                                SAMPLE ID            PH1-116.6          PHI -128.5          PH1-139           PH1-144        PH1-167.6       PHI -174
 CONSTITUENT                                    DATE                 07/07/94           07/07/94            07/07/94          07/07/94       07/11/94        07/11/94
                                                DEPTH (ft)           116.60              128.60             139.00            144.00         167.60          174.00

pH                                                       (units)     7.8                7.O                 7.6               8.7            7.5             8.7
Sulfata                                                  (mg/kg)     14                 293                 27                12             40              60
TOC                                                      (mg/kg)     490                 370                40O               190            940             060
Chloride                                                 \itiy/Ky)   *"•*               ~~*                 »-*j--.           it"*           ***             **•,

Conductivity                                             (um/cm)     —                  —                   —                 —              —               —
Nitrite (as N)                                           (mg/kfl)    —                  —                   —                 —              —               ~
Nitrate                                                  (mg/kg)     —                  —                   —                 —              —               —
Sulfide                                                  (mg/kg)     ~                  —                   —                 —          -   ~               —
Alkalinity                                               (mg/kg)     _-                 —                   _-                —              —               —
Total dissolved solids (TDS)                             (mg/kg)     —                  —                   —                 —              *-              ~
TPH (as diesel)                                          (mg/kg)     -            _               _         _             -          _       _               _-
TPH (as gasoline)                                        (mg/kg)     _           .            _         _             •       _              —               —
Percent moisture                                         (perce)     —                  —                   —                 —              —               —




Values represent total concentrations unless noted      <= Not detected at indicated reporting limit — = Not analyzed


See Table D-1 for data qualifier definitions.                                            Exhibit 39
                                                                                           5247
                                   Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 217 of 730 Page ID
                                                                     #:5291
                                                                                              TABLE D-6

                                                                                 General Chemistry Parameters in Soil                            Page: 10     of 1M
                                                                                 Ground Water Remedial Investigation
                                                                                                                                                 Date: 10/04/95
                                                                                              McColl Site
                                                                                         Fullerton, California

                                                   SITE                 PH1                PHI                 PH10        PH10       PH10           PH10
                                                   SAMPLE ID            PH1-183.5          PH1-187             PH10-69     PH10-81    PH10-163       PH10-183
 CONSTITUENT                                       DATE                 07/11/94            07/12/94           09/16/94    09/16/94   09/20/94       09/21/94
                                                   DEPTH (ft)           183.60              187.00             69.00       81.00      163.00         183.00

PH                                                          (units)     9.0                —                   8.5         7.9        8.0            8.8
Sulfate                                                     (mg/kg)     19                 72                  82          21         92             23
TOC                                                         (mg/kg)     320                 690                 3100       300        »-             430
Chloride                                                    (mg/kg)     —                   —                  —
                                                                                                                           —
                                                                                                                           _          —
                                                                                                                                      _              _
Conductivity                                                (um/cm)     —                   —                  —
Nitrite (as N)                                              (mg/kg)     —                   —                  —           «~,        —              —
Nitrate                                                     (mg/kg)     —                                                  ™          —              _.
Sufflde                                                     (mg/kg)     -~                  —        ,         -~          ~          _              _
Alkalinity                                                  (mg/kg)                                                        _.         —              —
Total dissolved solids (TDS)                                (mg/kg)    —                    —                  •—          ~*         ~*             ^-           .
TPH (as diesel)                                             (mg/kg)     —                   —                  —           _          _.
TPH (as gasoline)                                           (mg/kg)     —                   —                   ~          —          —              —
Percent moisture                                            (perce)     ~-                  —                  ~-




Values represent total concentrations unless noted         <= Not detected at indicated reporting limit — = Not analyzed

                                                                                            Exhibit 39
Sae Tabto F       or data qualifier definitions.
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                                                                                              5248                                                  (
           c                    Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 218 of 730 Page ID
                                                                  #:5292
                                                                                           TABLE D-6

                                                                              General Chemistry Parameters in Soil                             Page: 1E     of 1M
                                                                              Ground Water Remedial Investigation
                                                                                                                                               Date: 10/04/95
                                                                                           McColl Site
                                                                                      Fullerton, California

                                                SITE                 PH10                PH10                PH10        PH1OMUD1   PH10MUD2       PH2
                                                SAMPLE ID            PH10-191            PHI 0-1 96          PH10-204    PH10MUD1   PH10MUDZ       PH2-34
 CONSTITUENT                                    DATE                 09/21/94            09/21/94            O9/21/94    09/21/94   09/21/94       07/13/94
                                                DEPTH (ft)           191.00              196.00              204.00      0.00       0.00           34.0O

PH                                                       (units)     8.8                 8.4                 7.9         8.3        8.3            8.3
Sulfate                                                  (mg/kg)     64                  126                 42          •—         —              23
TOC                                                      (mg/kg)     390                 120                 980                    —              120
Chloride                                                 (mg/kg)     —                   —                   —                      —.             —,
Conductivity                                             (um/cm)     —                   —                   —           —          ._             —
Nitrite (as N)                                           (mg/kg)                         —                   —           —          —              —.
Nitrate                                                  (mg/kg)     —                   —                   —                      —              —
Sulfide                                                  (mg/kg)     —                   —                   —           —          —              —
Alkalinity                                               (mg/kg)     —                   —                  -~           —          —              —
Total dissolved aolids (TDS)                             (mg/k0J     —                   —                  ~            4_         *_             _~.



TPH (as diesel)                                          (mg/kg)     —                   —                   —           ._         —              _



TPH (as gasoline)                                        {mg/kg)     —                   —                   ~           ~-         —              ~


Percent moisture                                         (perce)     —                   —                   --




Values represent total concentrations unless noted      < = Not detected at indicated reporting limit — = Not analyzed


See Table D-1 for data qualifier definitions.                                            Exhibit 39
                                                                                           5249
                                    Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 219 of 730 Page ID
                                                                      #:5293
                                                                                                 TABLE D-e

                                                                                 General Chemistry Parameters in Soil                               Page: 1F        of 1M
                                                                                 Ground Water Remedial Investigation
                                                                                                                                                    Date: 10/04/95
                                                                                             McColl Site
                                                                                         Fullerton, California

                                                    SITE                 PH2                PH2                 PH2         PH2          PH2               PH2
                                                    SAMPLE ID            PH2-48.6           PH2-67.6            PH2-102     PH2-102.6D   PH2-112           PH2-136.5
 CONSTITUENT                                        DATE                 07/13/94           07/13/94            07/16/94    07/16/94     07/16/94          07/18/94
                                                    DEPTH (ft)           48.50              57.50               102.00      102.60       112.00            136.60

pH                                                           (units)     7.7                 9.1                7.47        7.74         7.8               4.0
Sulfate                                                      (mg/kg)     13                  18                 24          16           180               2300
TOC                                                          (mg/kg)     160                 210                15O         230          120               620
Chloride                                                     (mg/kg)     —                   —                  —•          —            ~                 .*
Conductivity                                                 (urn/cm)    —                   —                  —           —            —                 —
Nitrite (as N)                                               (mo/kg)     —                   —•                                          -.                —
Nitrate                                                      (mg/kg)     —                                                  ._
Sulfide                                                      (mg/kg)     —                   —                  —           —            _                 _
Alkalinity                                                   (mg/kg)     —                   —                  —           —            —                 —
Total dissolved solids (TDS)                                 (mg/kg)     —                   —                  —           ~            -*             —
TPH (as diesel)                                              (mg/kg)     —                   --                 —           --           -~             —
TPH (as gasoline)                                            (mg/kg)     —                   —                  —           ™            _              _
Percent moisture                                             (perce)     ~                   --                 ~




                                                                                                                                               -




Values represent total concentrations unless noted          < =Not detected at indicated reporting limit — = Not analyzed

                                                                                             Exhibit 39
Sea Table/        'or data qualifier definitions.                                             /
                                                                                               5250                                                    (
           c                     Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 220 of 730 Page ID
                                                                   #:5294
                                                                                             TABLE D-6

                                                                              General Chemistry Parameters in Soil                             Page: 1G    of   1M
                                                                              Ground Water Remedial Investigation
                                                                                                                                               Date: 10/04/95
                                                                                          McColl Site
                                                                                      Fullerton, California

                                                SITE                 PH2                 PH2                PH2          PH3        PH3            PH3
                                                SAMPLE ID            PH2-137D            PH2-190            PH2-206.6    PH3-11     PH3-66         PH3-77.6
 CONSTITUENT                                    DATE                 07/18/94            O7/19/94           08/04/94     06/21/94   06/22/94       O6/22/94
                                                DEPTH (ft)           137.00              190.00             206.60       11.00      66.00          77.60

pH                                                       (units)     4.0                 9.1                8.4          7.0        8.8            8.4
Sulfate                                                  (mg/kg)     990                 190                110          354        18             11
TOC                                                      (mg/kg)     480                 4000               28O          310        19O            580
Chloride                                                 (mg/kg)     —                   —                  —            —          —              —
Conductivity                                             (um/cm)     —                   —                  —            —          —              —
Nitrite (as N)                                         , (mg/kg)     —                   —                  ~~           —          ~~
Nitrate                                                  (mg/kg)     _               _                _              _        _     _              ~
Sulfide                                                  (mg/kg)    —                    —                  —            —          —              —
Alkalinity                                               (mg/kg)     —                   --                 —            —          —              —
Total dissolved solids (TDS)                             (mg/kg)     —                   —                  —            ~*         <-*            »*»
TPH (as diasel)                                          (mg/kg)     ~                   —                  —            —          —              —
TPH (as gasoline)                                        (mo/kg)    —                    —                  _            —          —               _
Percent moisture                                         (perce)     —                   —                  —            —          —              —




Values represent total concentrations unless noted      < =Not detected at indicated reporting limit — = Not analyzed


See Table D-1 for data qualifier definitions.                                            Exhibit 39
                                                                                           5251
                                   Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 221 of 730 Page ID
                                                                     #:5295
                                                                                                   TABLE D-6

                                                                                   General Chemistry Parameters In Soil                                    Page: 1H          of 1M
                                                                                   Ground Water Remedial Investigation
                                                                                                                                                           Date: 10/04/95
                                                                                                McColl Site
                                                                                           Fullerton, California

                                                    SITE                  PH3                  PH3                    PH3         PH3          PH3                  PH3
                                                    SAMPLE ID             PH3-87               PH3-106                PH3-119.4   PH3-134.6    PH3-160.5            PH3-172.6
 CONSTITUENT                                        DATE                  06/22/94             06/23/94               06/24/94    06/29/94     06/30/94             06/30/94
                                                    DEPTH (ft)            87.00                106.00                  119.40     134.60       160.60               172.60

PH                                                           (units)      7.7                  8.3                    3.88        8.0          8.5                  8.4
Sulfata                                                      (mg/kg)      59                   13                      263        18           22                   24
TOC                                                          (mg/kg)      230                  220                     180        380          140                  200
Chloride                                                     (mg/kg)      —                    —
                                                                                                                                  —
Conductivity                                                 (um/cm)      —                    —                                               _                ~
Nitrite (as N)                                               (mfl/kg)                                                                          ~                    «.
Nitrate                                                      (mg/kg)       -                                                      —            _.               —
Sulfide                                                      (mg/kg)      ~                    —                      —           -_           —                    _

Alkalinity                                                   (mg/kg)                                                              ._           —                —
Total dissolved solids (TDS)                                 (mg/kg)      —                    —                      —           *-*         *-W             MM-




TPH (as diesel)                                              (mg/kg)                                                              _.           „

TPH (as gasoline)                                            (mg/kg)      —                    ~                      —           —            —                    ~

Percent moisture                                             {pOrCof      "•""                 ~"*~                   ~™-




Values represent total concentrations unless noted          < •= Not detected at indicated reporting limit     — = Not analyzed

                                                                                               Exhibit 39
See Table/        'or data qualifier definitions.
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                                                                                                 5252                                                        C
                                                                                          f
                                 Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 222 of 730 Page ID
                                                                   #:5296
                                                                    TABLE D-6
                                                                                                                                                   c
                                                                              General Chemistry Parameters in Soil                              Page: 11      of 1M
                                                                              Ground Water Remedial Investigation
                                                                                                                                                Date: 10/04/95
                                                                                          McColl Site
                                                                                      Fullerton, California

                                                SITE                 PH3                 PH4                 PH4         PH4        PH4             PH4
                                                SAMPLE ID            PH3-187.6           PH4-77.6            PH4-77.6D   PH4-147    PH4-186.6       PH4-189
 CONSTITUENT                                    DATE                 06/30/94            07/29/94            07/30/94    08/01/94   09/19/94        08/23/94
                                                DEPTH (ft)           187.60              77.50               77.60       147.00     186.60          189.0O

PH                                                       (units)     7.8                 7.76                7.72        8.3        8.9             10.2
Sulfate                                                  (mg/kg)     176                 12                  14          28         63              55
TOC                                                      (mg/kg)     250                 200                  13O        570        530             2700
Chloride                                                 (mg/kg)     —                   —                   —           —          ~               «.
Conductivity                                             (urn/cm)    —                   —                   —           —          _.
Nitrite (as N)                                           (mg/kg)     —                   --                  --          —*         —               _
Nitrate                                                  (mg/kg)     --                  —                   —           —          —               —
                                                                                                                                    _               _
Sulfide                                                  {mg/kg)     —                   —                   —           —
Alkalinity                                               (mg/kg)     —                   —                   --          —          —               —
Total dissolved solids (TDS)                             (mg/kg)     -                   —                   _           —          *-.             -~
TPH (as diesel)                                          (mg/kg)     —                   —                   --          —          __              _-
                                                                                                                                    _               _
TPH (as gasoline)                                        (mg/kg)     •—                  —                   —           —
Percent moisture                                         (perce)     —




Values represent total concentrations unless noted      < = Not detected at indicated reporting limit — = Not analyzed


See Table D-1 for data qualifier definitions.                                             Exhibit 39
                                                                                            5253
                                 Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 223 of 730 Page ID
                                                                   #:5297
                                                                                                  TABLE D-6

                                                                                   General Chemistry Parameters in Soil                                            Page: 1J      of 1M
                                                                                   Ground Water Remedial Investigation
                                                                                                                                                                   Date: 10/04/95
                                                                                                McColl Site
                                                                                           Fullerton, California

                                                    SITE                   PH6               PH6                 PH6                 PH6                PH6             PH6
                                                    SAMPLE ID              PH6-11.6           PH5-37             PH6-71              PH6-80             PH6-90          PH6-96
 CONSTITUENT                                        DATE                   08/11/94           08/11/94           08/16/94            08/16/94           08/16/94        08/16/94
                                                    DEPTH (ft)             11.60             37.00               71.00               8O.OO              90.00           96.00

PH                                                           (units)       7.7                7.3                9.0                 8.4                8.4             7.0
Sulfate                                                      img/kg)       45                 140                25                  19                 86              200
TOC                                                          (mg/kg)       8200               940                700                 1200               1100            830
Chloride                                                     (mg/kg)                          —                  —                   —                  —
Conductivity                                                 (um/cm)       —                  —                  —                   —                  —               —
Nitrite (as N)                                               (mg/kg)                          —                  —                   —*                 ~-              —
Nitrate                                                      (mg/kg)       —                  _.                 _                   _                  _               _.
Surf Ida                                                     (mg/ko)       -       _    -     _                  —                   —                  _               _~
Alkalinity                                                   (mg/kg)       —                  —                  —                   —                  —               —
Total dissolved solids (TDS)                                 (mg/kg)       —                  —                  *       *   *   «         *    _   -    .              —
TPH (as diesel)                                                  (mg/kg)   —                  —                  —                   —                  —               —
TPH (as gasoline)                                            (ma/kg)       —                  ~                  —                   —                  —               —
Percent moisture                                                 (percoj   ~~~                —•                 *~~                 •••                ™~              *•**




Values represent total concentrations unless noted          < = Not detected at indicated reporting limit — = Not analyzed


See TabU'         for data qualifier definitions.
                                                                                             t
                                                                                            Exhibit 39
                                                                                              5254                                                                  (
           c                      Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 224 of 730 Page ID
                                                                    #:5298
                                                                     TABLE D-6
                                                                                                                                                                                  c
                                                                              General Chemistry Parameters in Soil                                                              Page: 1K    of 1M
                                                                              Ground Water Remedial Investigation
                                                                                                                                                                                Date: 10/04/95
                                                                                          McColl Site
                                                                                      Fullerton, California

                                                SITE                PH6                     PH6                     PH5                PH6                           PH6            PH7
                                                SAMPLE ID           PH6-101                 PH6-136                 PHB-144            PH6-163                       PH6-33         PH7-33.6
 CONSTITUENT                                    DATE                08/16/94                08/18/94                08/18/94           Oft/18/94                     08/03/94       07/21/94
                                                DEPTH (ft)           101.00                 136.00                  144.00             163.00                        33.00          33.60

pH                                                       (units)    6.0                     8.7                     8.4                8.3                           9.3            8.4
Sulfate                                                  (mo/kg)     140O                   13                      13                 04                            64             22
TOC                                                      (mg/kg)    90O                     090                     1200               48OO                          380             190
Chloride                                                 (mg/kg)    _           -           _               _        .         *       .                —               .           *-.
Conductivity                                             (um/cm)    —                       —                       —                  —                             —              —
Nitrite (as N)                                           (mg/kg)    —              —         .                      —                  . «          .       .       — .             —
Nitrate                                                  (mg/lcg)   •*•"*                   ™""                     -~~                •*•*••                        •**"*          •"••"
Sulfide                                                  (mg/kg)    _               -              _            _         -        _                    -            _              _
Alkalinity                                               (mg/kg)    —                       —                       —                  —                             —              —
Total dissolved solids (TDS)                             (ma/kg)    —          .        _              -        *    _         *   -            .               -     .             —
TPH (as diesel)                                          (mg/iCgi   -—~                     •*—•                    -•—                •*••*                         •••            ••""

TPH (a* gasoline)                                        (mg/kg)    —                       —                       ~                  ~                             —             —
Percent moisture                                         (perco)    ™                       —                       ™                  —                             —              —-




Values represent total concentrations unless noted      < =Not detected at indicated reporting limit — =Not analyzed


Sea Table D-1 for data qualifier definitions.                                                  Exhibit 39
                                                                                                 5255
                                    Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 225 of 730 Page ID
                                                                      #:5299
                                                                                                  TABLE D-6
                                                                                     General Chemistry Parameters in Soil                                            Page: 1L         of 1M
                                                                                     Ground Water Remedial Investigation
                                                                                                                                                                     Date: 10/04/95
                                                                                                  McColl Site
                                                                                             Fullerton, California

                                                   SITE                     PH7                 PH8               PH8               PH8                  PH8                PH8
                                                   SAMPLE ID                PH7-173             PH8-66.6          PH8-111           PH8-162.6            PH8-182.6          PH8-247
 CONSTITUENT                                       DATE                     07/26/94            09/08/94          09/08/94          09/09/94             09/09/94           09/14/94
                                                   DEPTH (ft)               173.00              65.60             111.00            162.60               182.60             247.00

pH                                                          (units)         8.8                 8.3               8.2               8.03                 8.25               9.3
Sulfate                                                     (mg/kg)         9                   7                 12                21                   10                 56
TOC                                                         (mg/kg)         280                 130               <100              810                  160                420
Chloride                                                    (mg/kg)         —                   —                 —                 —                    ~>                 ~-
Conductivity                                                lUlll/GlllJ     ™— —                mmm               ...               .M




Nitrite (as N)                                              (mg/kg)         **"*                *—                *•"•              •****                •»**               *•**
Nitrate                                                     (mg/kg)         —                   --                                  —                    —                  —
Sulfide                                                     (mg/kg)         —           -       _                 —                 _            -       _                  _
Alkalinity                                                  (mg/kg)         —                   —                 —                 —                    —               —
Total dissolved solids (TDS)                                (mg/kg)         *-                  —                 _         .   -   *        *       »    .              —
TPH (as diesel)                                             (mg/Kg)       ^ ~~~                 ~™                      ~           •*•                  •**•               *•*
TPH (as gasoline)                                           (mg/kg)         —                   —                 —                 —                    —                  —
Percent moisture                                            (porco)         ~~~                 »—•               "*"               •••                  •*••               *"""*




Values represent total concentrations unless noted         <= Not detected at indicated reporting limit — = Not analyzed

                                                                                                  Exhibit 39
See Table /       IT data qualifier definitions.
                                                                                                  ( 5256                                                                (
                                   Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 226 of 730 Page ID
                                                                     #:5300
                                                                                            TABLE D-6

                                                                             General Chemistry Parameters in Soil       Page: 1M    of 1M
                                                                             Ground Water Remedial Investigation
                                                                                                                        Date: 10/04/95
                                                                                          McColl Site
                                                                                     Fullerton, California

                                                SITE                 PH9                PH9                 PH9
                                                SAMPLE ID            PH9-26.6           PH9-27              PH9-161
 CONSTITUENT                                    DATE                 08/31/94           08/31/94            09/01/94
                                                DEPTH (ft)           26.60              27.00               161.00

pH                                                       (units)     8.1                8.1                 9.5
Sulfate                                                  (mg/kg)     71                 86                  17
TOC                                                      (mg/kg)     <100               330                 440
Chloride                                                 tmg/kg)     —                  ™                   —
Conductivity                                             (um/cm)     —                  —                   —
Nitrite (as N)                                           (mg/kg)     —                  —•                  —
Nitrate                                                  (mg/kg)     —                  —                   —
Sulfide                                                  (mg/kg)     —                  —                   —
Alkalinity                                               (mg/kg)
Total dissolved solids (TDS)                             (mg/kg)     —.                 —                   —
TPH (as diesel)                                          (mg/kg)     —                  —                   —
TPH (as gasoline)                                        (mg/kg)     —                  —                   —
Percent moisture                                         (perce)




Values represent total concentrations unless noted      <= Not detected at indicated reporting limit — = Not analyzed


See Table D-1 for data qualifier definitions.                                                Exhibit 39
                                                                                               5257
                                       Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 227 of 730 Page ID
                                                                         #:5301
                                                                                           TABLE D-7

                                                                               VOCs and Tetrahydrothiophenes in                                Page: 1A    of 2B
                                                                                  Ground Water Grab Samples
                                                                                                                                               Date: 10/05/95
                                                                              Ground Water Remedial Investigation
                                                                                          McColl Site
                                                                                      Fullerton, California
                                                  SITE               P-10L              P-10LH1             P-10LH2     P-10LH3    PH4             PH4
                                                  SAMPLE ID          P-10L218            P-10LH1            P-10LH2     P-10LH3    PH4-194GW       PH4-194GWD
 CONSTITUENT         (Units in ug/I)              DATE               06/29/95            07/06/95           07/07/95    07/11/95   08/25/94        08/26/94


Benzene                                                              56                  <1                  <1         0.2 J       <2             <2
Ethylbenzene                                                         <2                  <2                  <2         <2          <2             <2
Toluene                                                               150                0.2 J               <2         0.3 J       <2             <2
Xylene (total)                                                       55                  <2                  <2         <2         <2              <2
Tetrahydrothiophene                                                  6700 D              <2                  <2         <2          <2             <2
2-Methyrtetrahydrotritophene                                         6500 D              <2                  <2         <2         <2              <2
3-Methyltetrahydrothiophene                                          5300 D              <2                  <2         <2          <2             <2
1 ,1 ,1-Trichloroethane                                              <50                 <2                  <2         <2         <2              <2
1,2-Dichloroethane                                                   <12                 <0.5                <0.5       <0.5       <2              <2
2-Butanone                                                           630                 <2                  <2         18         <2              <2
Acetone                                                              260 J               8J                  7J         25 J        <2             <2
2-Hexanone                                                            <50                <2                  <2         <2         <2              <2
Bromodichloromethane                                                  <50                <2                  <2         <2          <2             <2
Carbon disulfide                                                      <50                <2                  <2         <2         <2              <2
Chlorobenzene                                                         <50                <2                  <2         0.1 J       <2             <2
Chloroethane                                                          <50                <2                  <2         <2         <2              <2
Chloroform                                                            <50                <2                  <2         <2          <2             <2
Dibromochtoromethane                                                  <50                <2                  <2         <2         <2              <2
Methylene chloride                                                    <50                <2                  <2         <2          <2             <2
Styrene                                                               <50                <2                  <2         <2         <2.              <2
Chloromethane                                                         <50                <2UJ                <2UJ       <2         ~               ...
Bromomethane                                                          <50                <2                  <2         <2                         ...
                                                                                                                                   —
Vinyl chloride                                                        <50UJ              <2UJ                <2UJ       <2UJ       „               ...
1,1~Dichloroethene                                                    <50                <2                  <2UJ       <3.        ^               «-
1 ,1 -Dichloroethane                                                  <50                <2                  <2         <2         --              ...
1 ,2-Dichloroethene                                                   <50                <2                  <2         <2         rf*»*           +u+


Carbon tetrachloride                                                  <50                <2                  <2         <2         ...             ...

Values represent total concentrations unless noted       < =Not detected at indicated reporting limit — =Not analyzed
                                                                                          Exhibit 39
See Table l,     JT data qualifier definitions.                                            (5258
                                                                                                                                                  C
            c                                                                             c
                                    Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 228 of 730 Page ID
                                                                      #:5302
                                                                                          TABLE D-7
                                                                                                                                                     c
                                                                             VOCs and Tetrahydrothiophenes in                                     Page: 2A    of 2B
                                                                                Ground Water Grab Samples
                                                                                                                                                  Date: 10/05/95
                                                                            Ground Water Remedial Investigation
                                                                                        McColl Site
                                                                                    Fullerton, California
                                                SITE               P-10L              P-10LH1             P-10LH2      P-10LH3        PH4             PH4
                                                SAMPLE ID           P-10L218           P-10LH1             P-10LH2     P-10LH3        PH4-194QW       PH4-194GWD
 CONSTITUENT       (Units in Ug/D               DATE                06/29/95           07/06/95            07/07/95    O7/11/95       08/25/94        08/26/94


1,2-Dichloropropane                                                 <50                 <2                  <2         <2
cis-1,3-Dichloropropene                                             <50                 <2                  <2         <2             —               ~»
Trichloroethene                                                     <50                 <2                  <2         <2
1,1,2-Trichloroetnane                                               <50                 <2                  <2         <2             —               —          ->J
trans- 1 ,3-Dichloropropene                                          < 50               <2                  <2         <2             —               -~
Bromoform                                                           <SO                 <2                  <2         <2             —               ~
4-Methyl-2-pentanone                                                <50                 <2                  <2         <2             ~              —
Tetrachloroethene                                 s                  <5O                <2                  <2         <2   "     ,   **•           ' <—•"
1 , 1 ,2,2-Tetrachloroethane                                          < 50              <2                  <2         <2             —               —




Values represent total concentrations unless noted     < =Not detected at indicated reporting limit — = Not analyzed

                                                                                          Exhibit 39
See Table D-1 for data qualifier definitions.                                               5259
                                        Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 229 of 730 Page ID
                                                                          #:5303
                                                                                                TABLE D-7

                                                                                 VOCs and Tetrahydrothiophenes in             Page: 1B    of 2B
                                                                                    Ground Water Grab Samples
                                                                                                                              Date: 10/05/95
                                                                                Ground Water Remedial Investigation
                                                                                            McColl Site
                                                                                        Fullerton, California
                                                    SITE                PH4               PH8                 PH8
                                                    SAMPLE ID          PH4-170GW           PH8-178.3GW         PH8-178.3GWD
 CONSTITUENT         (Units in Ufl/I)               DATE                08/30/94           09/12/94            TJ9/12/94


Benzene                                                                 <50                 <2                  <2
Ethylbenzene                                                            <50                 <2                  <2
Toluene                                                                 <50                 <2                  <2
Xylene (total)                                                          <SO                 <2                  <2
Tetrahydrothiophene                                                     410                 <2                  <2
2-Methyltetrahydrothiophene                                             560                 <2,                 <2
3-Methyltetrahydrothiophene                                             360                 <2                  <2
1,1,1 -Trichloroethane                                                  <50                 <2                  <2
1 ,2-Dichloroethane                                                     <50                 <2                  <2
2-Butanone                                                              <50                 <2                  <2
Acetone                                                                 <50                 <2                  <2
2-Hexanone                                                              <50                 <2                  <2
Bromodichloromethane                                                    <50                 <2                  <2
Carbon disulfide                                                        <5O                 <2                  <2
Chlorobenzene                                                           <50                 <2                  <2
Chloroethane                                                            <60                 <2                  <2
Chloroform                                                              <50                 <2                  <2
Dibromochloromethane                                                    <50                 <2                  <2
Methylene chloride                                                      <50                 <2                  <2
Styrene                                                                  <50                <2                  <2
Chloromethane                                                           ...                ._                  ...
Bromomethane                                                                                                   ...
                                                                       —                   —
Vinyl chloride                                                         ...                 ...                 ...
1,1-Dichloroethene                                                     -_                  „.
                                                                                                               —
1 , 1 -Dichloroethane                                                   —                  —                   ...
1 ,2-Dichloroethene                                                     ...                -~                  *-*
Carbon tetrachloride                                                    —                  ...                 ...

Values represent total concentrations unless noted         <= Not detected at indicated reporting limit — = Not analyzed
                                                                                             Exhibit 39
                                                                                               5260
See Table d        .- data qualifier definitions.                                                (                               (.
            c                        Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 230 of 730 Page ID
                                                                       #:5304
                                                                                          TABLE D-7
                                                                             VOCs and Tetrahydrothiophenes in             Page: 2B    of 2B
                                                                                Ground Water Grab Samples
                                                                                                                          Date: 10/05/95
                                                                            Ground Water Remedial Investigation
                                                                                        McColl Site
                                                                                    Fullerton, California
                                                SITE                PH4               PH8                 PH8
                                                SAMPLE ID           PH4-170GW          PH8-178.3GW         PH8-178.3GWD
 CONSTITUENT       (Units in Ug/1)              DATE               08/30/94            09/12/94            09/12/94


1,2-Dichloropropane
cis-1,3-Dichloropropene
Trichloroethene
1,1,2-Trichloroethane
trans-1,3-Dichloropropene
Bromoform
4-Methyl-2-pentanone
Tetrachloroethene
1,1,2,2-Tetrachloroethane




Values represent total concentrations unless noted     < =Not detected at indicated reporting limit — = Not analyzed

                                                                                         Exhibit 39
See Table D-1 for data qualifier definitions.                                              5261
                                 Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 231 of 730 Page ID
                                                                   #:5305
                                                                                            TABLE D-8
                                                                                Tentatively Identified Compounds in      Page: 1A    of 1A
                                                                                    Ground Water Grab Samples
                                                                                                                         Date: 10/04/95
                                                                                Ground Water Remedial Investigation
                                                                                             McColl Site
                                                                                        Fullerton, California
                                                 SITE               P-10L                  P-10LH1            P-10LH3
                                                 SAMPLE ID          P-10L218              P-10LH1            P-10LH3
 CONSTITUENT       (Unto In ug/l)                DATE               06/29/96              07/06/96           07/11/96



Unknown hydrocarbon 1                                               60 NJ                  3NJ               1 NJ
Unknown hydrocarbon2                                                                                         1 NJ
Tetrahydro-2,2,5,5-tetrameth                                        60 NJ
2-Methyl-2-propanol                                                 680 NJ
Acetic acid, [(aminocarbonyl)J                                                                               1 NJ
                                                                            v
(Methytthio)-ethana                                                 76 NJ
2-Ethyl tetrahydro thiophene                                        280 NJ
T«tr«hydro-2-methyl-2h-thiophene                                    260 NJ
Unknown sulfur compound 1                                           75 NJ
Unknown sulfur compound2                                            60 NJ
Tetrahydro-2,B-dimethyl thiol                                       200 NJ
Tetrahydro-2,6-dlmethyl thio2                                       220 NJ




Values represent total concentrations unless noted      < = Not detected at indicated reporting limit — = Not analyzed

                                                                                           Exhibit 39
See Table       vr data qualifier definitions.                                               5262
                              Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 232 of 730 Page ID
                                                                #:5306
                                                                   TABLE D-9

                                                                               General Chemistry Parameters in                                 Page: 1A    of 1B
                                                                                 Ground Water Grab Samples
                                                                                                                                               Date: 10/04/95
                                                                             Ground Water Remedial Investigation
                                                                                          McColl Site
                                                                                     Fullerton, California
                                                 SITE                P-10L              P-10LH1            P-10LH2      P-10LH3    PH4             PH4
                                                 SAMPLE ID           P-10L218            P-10LH1            P-10LH2     P-10LH3    PH4-194GW       PH4-194QWD
 CONSTITUENT                                     DATE                06/29/96            07/06/96           07/07/96    07/11/96   08/26/94        08/26/94


TPH (as diesel)                                          (mg/l)      28
TPH (as gasoline)                                        (mg/l)      13
Sulfate                                                  (mg/l)      7700                71                 71          102        66              62
TOC                                                      (ma/I)      360                 <1                  16         26.3
PH                                                       (units)     4.61                7.96               7.85        7.87       8.2             8.3
Conductivity                                             (um/cm)                                                                   664             707
Chloride                                                 (mg/l)                                                                    87              77
Nitrate                                                  (mfl/l)                                                                                   <0.2
Nitrite (as N)                                           (mg/l)




Values represent total concentrations unless noted      < =Not detected at indicated reporting limit — = Not analyzed


See Tab!-    ^\for data qualifier definitions.                                        Exhibit 39
                                                                                        5263
                                                                                                                                                    1
                                  Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 233 of 730 Page ID
           (                                                        #:5307               CTABLE D-9
                                                                                                                          C
                                                                              General Chemistry Parameters in          Page: 1 B    of 1 B
                                                                                Ground Water Grab Samples                    10/04/95
                                                                            Ground Water Remedial Investigation
                                                                                        McColl Site
                                                                                    Fullerton, California
                                                SITE                PH8                PH8
                                                SAMPLE ID           PH8-178-3GW        PH8-1 78-3GWD
 CONSTITUENT                                    DATE                09/12/94           09/12/94


TPH (as diesel)                                         (mg/l)
TPH (as gasoline)                                       (mo/I)      ~                  —
Sulfate                                                 (mg/l)      40                 45
TOC                                                     (mo/I)      <10                 12
pH                                                      (units)     7.8                 7.7
Conductivity                                            (urn/cm)    1320                1310
Chloride                                                (mg/l)      250                26O
Nitrate                                                 (mg/l)      2.1                2.3
Nitrite (as N)                                          (mg/l)      O.3                 O.3




Values represent total concentrations unless noted     <= Not detected at indicated reporting limit — = Not analyzed


See Table D-1 for data qualifier definition*.                                            Exhibit 39
                                                                                           5264
                                   Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 234 of 730 Page ID
                                                                     #:5308
                                                                                               TABLE D-10

                                                                                     VOCs and Thiophenes, TICs, and                                                     Page: 1A               of 2G
                                                                                     General Chemistry Parameters in
                                                                                                                                                                        Date: 10/04/95
                                                                                       Ground Water Grab Samples
                                                                                   Ground Water Remedial Investigation
                                                                                     McColl Site, Fullerton, California
                                                    SITE                   Z-FIELD-BLANK      Z-FIELD-BLANK        Z-FIELD-BLANK     Z-TRIP-BLANK        Z-TRIP-BLANK          Z-TRIP-BLANK
                                                    SAMPLE ID              PH4-194FB          PH4-170FB          91294FB             TRIPBLANK           62294                  62394T8
 CONSTITUENT                                        DATE                   08/26/94           08/30/94           09/12/94            06/21/94            06/22/94              06/23/94


Benzene                                                     (ug/l)         <2                 <2
Ethylbenzene                                                (ug/l)                            <2                  <2                 <10                 <10                     <!o
Toluene                                                     (ug/l)         <2                 <2                  <2                 <10                 <10                     <10
Xylene (total)                                              (ug/l)         <2                 <2                  <2                 <10                 <10                     <10
Tetrahydrothiophene                                         (ug/l)         <2                 <2                  <2                 <1O                 <10                     <10
2-Methyhetrahydrothiophene                                  (ug/l)         <2                 <2                  <2                 1O UJ*               10UJ»                       10 UJ*
3-MethyKetrahydrothiophene                                  lug/I)         <2                 <2                  <2                 <10                 <10                   <10
1.1,1-Trichloroethane                                       (ug/l)         <2                 <2                  <2                 <10                 <16                   <1O
1 ,2-Dichloroethane                                         (ug/l)         <2                 <2                  <2                 <10                 <10                   <10
2-Butanon«                                                  (ug/l)         <2                 <2                  <2                 <1O                 <10                   <10
Acetone                                                     (ug/l)     .   <2                 <2                  <2                 <10                 <10                   <10
2-Hexanone                                                  (ug/l)         <2                 <2                  <2                 <10                 <!10                  <10
Bromodichloromethane                                        (ug/l)         <2                 <2                  <2                 <10                 <1O                   <1O
Carbon disulfide                                            (ug/l)         <2                 <2                  <2                 <10                 <1O                   <10
Chlorobenzene                                               (ug/l)         <2                 <2                  <2                 <10                 <10                   <10
Chloroethane                                                (ug/l)         <2                 <2                  <2                 <10                 <1O                   <1O
Chloroform                                                  (ug/l)         <2                 <2                  <2                 <10                 <1O                   <10
Dibromochloromethane                                        (ug/l)         <2                 <2                  <2                 <10                 <1O                   <10
Methylene chloride                                          (ug/l)         2                  1J                  2                  16                  13                    14
Styrene                                                     (ug/l)         <2                 <2                  <2                 <10                 <10                   <10
                                                                                              _
Unknown alkanel                                             (ug/l)         —                                      —                  —                   —                     —
Unknown atkenel                                             (ug/l)         «                  ~*                  10 NJ              —                   —                     «-»
TOC                                                         (mg/l)         <10                —                   <10                —                   —                     —
pH                                                          (units)        5.9                ~~                  0^»                ***                 *****                 ****
                                                                                              _
Sulfate                                                     (mg/l)         <1                                     1                  I...                —.                    ,„

Conductivity                                                {urn/cm)       <0                 ~                   j* A
                                                                                                                  ^o                 •••                  .,„
                                                                                                                                                         •*«                     .-
                                                                                                                                                                               •*••-
                                                                                                                                                                               _i_.


Chloride                                                    (mg/l)         <0.2               ~                   0•«,
                                                                                                                    9                ^^
                                                                                                                                     —                   —                      —

Values represent total concentrations unless noted         < = Not detected at indicated reporting limit — =Not analyzed

                                                                                              Exhibit 39
See Table f        >r data qualifier definitions.                                              < 5265 » Reported as a TIC, standard wa* not available.                     \
                                 Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 235 of 730 Page ID
                                                                   #:5309
                                                                                        TABLE D-10
                                                                              VOCs and Thiophenes, TICs, and                                                    Page: 2A   of 2G
                                                                              General Chemistry Parameters in                                                        10/04/95
                                                                                Ground Water Grab Samples                                                            nw»/j»a
                                                                           Ground Water Remedial Investigation
                                                                             McColl Site, Fullerton. California
                                                SITE               Z-FIELD-BLANK     Z-FIELD-BLANK         Z-FIELD-BLANK      Z-TRIP-BLANK       Z-TRIP-BLANK       Z-TRIP-BLANK
                                                SAMPLE ID          PH4-194FB          PH4-170FB           91294FB             TRIPBLANK          62294              62394TB
 CONSTrrUENT                                    DATE               08/26/94           08/30/94            09/12/94            06/21/94           08/22/94           06/23/94



Nitrate                                                 (ug/l)     <200               —                   <2OO
Nitrite (as N)                                          (ug/l)      <100              —                   <10O




Values represent total concentrations unless noted     < =Not detected at indicated reporting limit —=Not analyzed


See Table D-1 for data qualifier definitions.                                          Exhibit
                                                                                           * -39Reported as a TIC. standard was not available.
                                                                                         5266
                                   Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 236 of 730 Page ID
                                                                     #:5310
                                                                                             TABLE D-10

                                                                                 VOCs and Thiophenes, TICs, and                                                       Page: 1B    of 2G
                                                                                 General Chemistry Parameters in                                                      _     in/m/ac
                                                                                   _     ....     _ . _       .                                                       Date: 1O/04/95
                                                                                   Ground Water Grab Samples
                                                                               Ground Water Remedial Investigation
                                                                                 McColl Site, Fullerton, California
                                                   SITE                Z-TRIP-BLANK       Z-TRIP-BLANK         Z-TRIP-BLANK        Z-TRIP-BLANK        Z-TRIP-BLANK          Z-TRIP-BLANK
                                                   SAMPLE ID           62494TB             62994TB             63094TB             70694TB             70694TB               70694R
 CONSTITUENT                                       DATE                06/24/94            06/29/94            06/30/94            07/06/94            07/06794              07/06/94


Benzene
Ethylbenzene                                               {ufl/D      <io                  <io                 <io                <io                 <lo                   < 10
Toluene                                                    (ug/l)      <10                 <10                  <1O                <10                 <10                   < 10
Xylene (total)                                             (ug/l)      <10                 <10                  <10                <10                 <10                   < 10
Tetrahydrothiophene                                        (ufl/l)     <10                 <10                  <10                <10                 <1O                   < 10
2-Methyrtetrahydrothiophen*                                (ug/l)      <10                 <10                  <10                <1O                 <10                   < ^;Q

3-Methyltetrahydrothiophene                                (UO/D       <io                  <io                 <io                <io                 <io                   <10
1,1,1 -Trichloroethane                                     tuo/D       <10                  <10                 <10                <10                 <10                   *s 10


1 ,2-Dichloroethane                                        (UO/D       <io                 <io                  <io                <io                 <io                   < 10
2-Butanone                                                 (ug/l)      <10                  <10                 <10                <10                 <10                   <10
Acetone                                                    (uo/l)      <10                  <10                 <1O                <10                 <10                   60
2-Hexanone                                                 (ug/l)      <10                 <1O                  <10        ,       <10                 <!10                  <10
Bromodichloromethane                                       (ug/l)      <10                  <10                  <10                      <10                 <10            < 10
Carbon disulfide                                           (uo/l)      <10                  <10                 <1O                <10                 <10                   ^c 10
Chlorobenzene                                              (UO/D       <io                 <io                  <io                <io                 <io                   < 10
Chloroethane                                               (UO/D       <io                 <io                  <io                <io                 <io                   <1O
Chloroform                                                 (UO/D       <io                 <io                  <io                <io                 <io                   < 10
Dibromochloromethane                                       (UO/D       <io                 <io                  <io                <10                 <io                   <1O
Methylene chloride                                         (uo/D       13                  6J                   12                 10                  13                    2J
Styrene                                                    (UO/D       <io                  <io                 <io                <io                 <io                   <10
Unknown alkanel                                            (ug/l)      _                   _                   _                   _                   _                     28 NJ
Unknown alkenel                                            tUQ/lf      *"+                 *— *                **—                 rf**                —
                                                                                                                                                        ***
                                                                                                                                                                             —
TOC                                                        (mo/I)      _                   _                   _                   _                   _                     <10
PH                                                         (unite)     —                   —                   —                   —                   —                     6.8
Sulfate                                                    (mo/if      "*"                 —                   —                   -~-                 ™™"                   3
                                                                                                                                                                             _
Conductivity                                               (um/cm)     —                   —                   —                   —                   —'
                                                                                                                                                                             _
Chloride                                                   (mo/I)      _-                  —                    _                  _                   _

Values represent total concentrations unless noted        < = Not detected at indicated reporting limit — = Not analyzed

                                                                                            Exhibit 39
See Table /        y data qualifier definitions.                                             f 5267•> Reported as • TIC. standard was not available.
                                                                                                                                                                         (
          c                                                                             c
                                 Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 237 of 730 Page ID
                                                                   #:5311
                                                                                         TABLE D-10
                                                                                                                                                                 c
                                                                            VOCs and Thiophenes, TICs, and                                                     Page: 2B       of 2G
                                                                             General Chemistry Parameters in                                                   n t •
                                                                               Ground Water Grab Samples
                                                                           Ground Water Remedial Investigation
                                                                             McColl Site, Fullerton, California
                                                SITE                Z-TRIP-BLANK       Z-TRIP-BLANK        Z-TRIP-BLANK      Z-TRIP-BLANK       Z-TRIP-BLANK         Z-TRIP-BLANK
                                                SAMPLE ID           62494TB            62994TB             63094TB           70694TB            70694TB              70694R
 CONSTITUENT                                    DATE                06/24/94           06/29/94            06/30/94          07/06/94           07/06/94             07/06/94



Nitrate                                                 (ug/l)
Nitrite (as N)                                          (ug/l)




Values represent total concentrations unless noted     < =Not detected at indicated reporting limit — =Not analyzed

                                                                                       Exhibit 39
See Table D-1 for data qualifier definitions.                                              * » Reported as a TIC, standard was not available.
                                                                                         5268
                                 Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 238 of 730 Page ID
                                                                   #:5312
                                                                                               TABLE D-10

                                                                                    VOCs and Thiophene*, TIC«, and                                                     Paoa: 1C      of 2Q
                                                                                   General Chemistry Parameters in                                                     -,_ mm A***
                                                                                     _     .,.,..-._„           .                                                      Date: 10/04/95
                                                                                     Ground Water Grab Samples
                                                                                 Ground Water Remedial Investigation
                                                                                   McColl Site, Fullerton, California
                                                   SITE                  Z-TRIP-BLANK       Z-TRIP-BLANK         Z-TRIP-BLANK        Z-TRIP-BLANK       Z-TRIP-BLANK         Z-TRIP-BLANK
                                                   SAMPLE ID             70794TB            71194TB             71294TB              71394TB            71694TB              71894TB
 CONSTITUENT                                       DATE                  07/07/94           07/11/94            07/12/94             07/13/94           07/16/94             07/16/94


Benzene                                                    (UO/D         <io                <io                 <io                  <io                <io                  < 10
Ethylbenzene                                               (ufl/l)       <1O                <10                 <1O                  <10                <1O                  < 10
Toluene                                                    (UO/D         <io                <io                 <io                  <io                <io                  < 10
Xylene (total)                                             (UO/D         <io                <io                 <io                  <io                <io                  <5 10

Tetrahydrothiophene                                        (UO/D         <io                <io                 <io                  <io                <io                  <10
2-Methyrtetrahydrothiophene                                (uo/D         <10                <10                 <10                  <10                <10                  <1O
3-Methyltetrahydrothiophene                                (UO/D         <io                <io                 <io                  <io                <io                  < 10
1.1,1-Trichloroethane                                      (UO/D         <io                <io                 <io                  <io                <io                  <10
1 ,2-Dichloroethane                                        (uo/l)        <10                <10                 <10                  <10                <10                  <10
2-Butanone                                                 (uo/D         <10                <10                 <10                  <10                <10                  <to
Acetone                                                    (uo/l)        <10                 <10                12                   12                 12                   5J
2-Hexanone                                                 (Ufl/l)       <1O                <10                 <10                  <10                 <tO                 ^c 10
Bromodichloromethane                                       (UO/D         <io                 <io                <io                  <io                <io                  < 1O
Carbon disulfide                                           <UO/D         <io                <io                 <io                  <io                <io                  <10
Chlorobenzene                                              (UO/D         <io                <io                 <io                  <io                <io                  < 10

Chloroethane                                               (ug/l)        <10                 <10                <10                  <10                <10                  ^c 10
Chloroform                                                 (uo/l)        <10                <10                 <1O                  <10                 <10                 <10
Dibromochloromethane                                       (uo/l)        <10                <10                 <10                  <10                <10                  << to
Methylene chloride                                         (ug/l)        6J                 6J                  3J                   4J                 3J                   3J
Styrene                                                    {ufl/l)       <10                <10                 <10                  <1O                <tO                  <1O
                                                                                                                                                                             _
Unknown alkanel                                            (UO/D         ~-                 —                   —                    —                  —
Unknown alkenel                                            (ug/l)        *~                 *—                  *          —    »       -    *      *     *                  -~
TOC                                                        (mo/I)        _                  _                   _                    _                  _                    —
pH                                                         /i in it o\
                                                           ^UHI19J       M*M
                                                                         ""^                u«*
                                                                                            *•••                ***
                                                                                                                «••                 fcMfc-
                                                                                                                                      •<*•              mil
                                                                                                                                                        ^m                   ^
                                                                                                                                                                             _
Sulfate                                                    (mo/I)        —                  .           .              .        _            „          _
Conductivity                                               \UlI1/Clll|   *'**               •"*•»               •«•"                 ••!•.              >**•                 —
                                                                                                                                                                             _
Chloride                                                   (mo/I)        _                  _                   _                    _                  _

Values represent total concentrations unless noted        < =Not detected at indicated reporting limit — =Not analyzed

                                                                                            Exhibit 39
See TaWef        Tor data qualifier definition*.                                             f 5269 • Reported a* a TIC, standard was not available.                     (
        c                                                                             c
                               Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 239 of 730 Page ID
                                                                 #:5313
                                                                                        TABLE D-10
                                                                                                                                                                  c
                                                                             VOCs and Thiophenes, TICs, and                                                       Page: 2C     of 2G
                                                                             General Chemistry Parameters in                                                      _ A -.«,«„,„,•
                                                                                                                                                                  Date: 1 /04/95
                                                                               Ground Water Grab Samples                                                                 °
                                                                           Ground Water Remedial Investigation
                                                                             McColl Site, Fullerton, California
                                                SITE               Z-TRIP-BLANK       Z-TRIP-BLANK         Z-TRIP-BLANK        Z-TRIP-BLANK        Z-TRIP-BLANK       Z-TRIP-BLANK
                                                SAMPLE ID          70794TB             71194TB             71294TB             71394TB             71694TB            71894TB
 CONSTITUENT                                    DATE               07/07/94            07/11/94            07/12/94            07/13/94            07/16/94           07/18/94


Nitrate                                                 (ug/l)
Nitrite (as N)                                          (ug/l)




Values represent total concentrations unless noted     < «=Not detected at indicated reporting limit —=Not analyzed


See Table D-1 for data qualifier definition*.                                         Exhibit• 39
                                                                                                - Reported a* a TIC. standard was not available.
                                                                                        5270
                                   Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 240 of 730 Page ID
                                                                     #:5314
                                                                                             TABLE D-10

                                                                                 VOCs and Thiophenes, TICs, and                                                       Page: 1D      of 2G
                                                                                 General Chemistry Parameters in                                                      _     ,«/«>• «c
                                                                                   _                                                                                  Date: 1O/O4/95
                                                                                   Ground Water Grab Samples
                                                                               Ground Water Remedial Investigation
                                                                                 McColl Site, Fullerton, California
                                                   SITE                Z-TRIP-BLANK       Z-TRIP-BLANK         Z-TRIP-BLANK        Z-TRIP-BLANK        Z-TRIP-BLANK       Z-TRIP-BLANK
                                                   SAMPLE ID           71994TB              72194TB             72694TB            72994TB             80194TB            801 94R
 CONSTITUENT                                       DATE                07/19/94             07/21/94            07/26/94           07/29/94            08/01/94           08/01/94


Benzene                                                    (ug/l)      <10                  <10                 <1O                <10                 <10                 < 10
Ethylbenzene                                               (Ufl/l)     <10                  <10                 <10                <10                 <10                 *C 10
Toluene                                                    (ug/l)      <10                  <10                 <1O                <10                 <10                 < 10
Xylene (total)                                             (uo/l)      <10                  <1O                 <10                <10                 <10                 *s 10

Tetrahydrothiophene                                        (ug/l)      <10                  <10                 <10                <10                 <1O                 < 10
2-Methyltetrahydrothiophene                                (ug/l)      <10                  <10                  <10               <10                 <10                 <C 10
3-Methyltetrahydrothiophene                                (ug/l)      <10                  <10                  <1O               <1O                 <10                 < 10
1,1,1 -Trichloroethane                                     (ug/l)      <10                  <10                 <10                <10                 <10                 <to
1 ,2-Dichloroethane                                        (ug/l)      <10                  <10                 <1O                <10                 <10                 <10
2-Butanone                                                 (ug/l)      <10                  <10                 <10                <10                 <10                 <1O
Acetone                                                    (ug/l)    .20                    <10                  <10               <10                 <10                 79
2-Hexanone                                                 (Ufl/l)     <10                  <10                 <10                <1O                 <10                 "*£ 10
Bromodichloromethane                                       (ug/l)      <10                  <10                 <1O                <10                 <10                 < 10
Carbon disulfide                                           (ug/l)      <10                  <10                  <10               <10                 <10                 *c 10
Chlorobenzene                                              (UO/D       <io                  <io                 <io                <io                 <io                 < 10
Chloroethane                                               (ug/l)      <10                  <10                 <10                <1O                 <1O                 <1O
Chloroform                                                 (uo/l)      <10                  <1O                  <10               <10                 <10                 < IO
Dibromochloromethane                                       (ug/l)      <10                  <10                 <10                <10                 <10                 <10
Methylene chloride                                         (uo/l)      3J                   2J                  2J                 3J                  3J                 2J
Styrene                                                    (uo/l)      <10                  <10                 <10                <10                 <10                 <1O
Unknown alkanel                                            (Ufl/l)     _                    _                   _                  _                   _                  „
Unknown alkenel                                            (ug/l)                           ~*                  -».                —                   ~-                 «.
TOC                                                        (mo/D       _                    _                   _                  _                   _                   <10
PH                                                         (units)     —                    -~                  ~~                 «~                  «~"                 6.9
Sulfate                                                    (mg/l)      _                    _                   _                  _                   _                  <1
                                                                                                                                                                          _
Conductivity                                               (um/cm)     —                    —                   —<                 —                   -—
                                                                                                                                                                          _
Chloride                                                   (mg/l)      —                    --                  —                  -~                  —

Values represent total concentrations unless noted        < •* Not detected at indicated reporting limit — = Not analyzed

                                                                                            Exhibit 39
See Table |*       v data qualifier definitions.                                             f 5271 * Reported a* a TIC, standard wa* not available.                     (
                                  Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 241 of 730 Page ID
                                                                    #:5315
                                                                                         TABLE D-10

                                                                              VOCs and Thiophenes, TICs, and                                                     Page: 2D     of 2G
                                                                              General Chemistry Parameters in                                                    _   f
                                                                                Ground Water Grab Samples
                                                                            Ground Water Remedial Investigation
                                                                              McColl Site, Fullerton, California
                                                SITE                Z-TRIP-BLANK       Z-TRIP-BLANK         Z-TRIP-BLANK       Z-TRIP-BLANK       Z-TRIP-BLANK       Z-TRIP-BLANK
                                                SAMPLE ID           71994TB            72194TB             72694TB             72994TB            80194TB            80194R
 CONSTITUENT                                    DATE                07/19/94           07/21/94            07/26/94            07/29/94           08/01/94           08701/94


Nitrate                                                 (ug/l)
Nitrite (as N)                                          (uo/l)




Values represent total concentrations unless noted     < =Not detected at indicated reporting limit — = Not analyzed


See Table D-1 for data qualifier definitions.                                            Exhibit
                                                                                           * - 39Reported a* a TIC, standard wa* not available.
                                                                                           5272
                                    Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 242 of 730 Page ID
                                                                      #:5316
                                                                                              TABLE D-10

                                                                                 VOCs and Thiophenes, TICs, and                               '                       Page: 1E    of 2G
                                                                                 General Chemistry Parameters in                                                      _. . miriAm*
                                                                                   ~     _,...    ~ L«        .                                                       Date: 10/04/95
                                                                                   Ground Water Grab Samples
                                                                               Ground Water Remedial Investigation
                                                                                 McColl Site, Fullerton, California
                                                   SITE                Z-TRIP-BLANK       Z-TRIP-BLANK        Z-TRIP-BLANK          Z-TRIP-BLANK       Z-TRIP-BLANK       Z-TRIP-BLANK
                                                   SAMPLE ID           80394TB            80494TB                81194TB            81694TB            81894TB            81994TB
 CONSTITUENT                                       DATE                08/03/94           08/04/94               08/11/94           08/16/94           06/18/94           08/19/94


Benzene                                                                                                                                                                   < 10
Ethylbenzene                                               (ug/D       <10                 <10                   <10                <10                <1O                < 7O
Toluene                                                    (ug/l)      <10                 <10                   <10                <10                <10                < 10
Xylene (total)                                             (uo/l)      <10                 <10                   <10                <10                <10                *s 10

Tetrahydrothiophene                                        (UO/D       <io                 <io                   <io                <io                <io                <10
2-Mothyrtetrahydrothiophene                                (UO/D       <io                 <io                   <io                <io                <io                < 10
3-Methyltetrahydrothiophene                                (ug/D       <10                 <10                   <10                <10                <10                < 10

1,1,1-Trichloroethane                                      (ug/l)      <10                 <10                   <1O                <10                <10                <10
1 ,2-Dichloroethane                                        (UO/D       <io                 <io                   <io                <io                <io                < 10
2-Butanone                                                 (ug/D       <10                 <10                   <10                <10                <10                <1O
Acetone                                                    (uo/l)     . <10                <10                   <10                0J                 4J                 6J
2-Hexanone                                                 (ufl/l)     <10                 <10                   <10                <10                <10                <10
Bromodichloromethane                                       (uo/D       <10                 <10                   <10                <10                <10                <10
Carbon disulfide                                           (uo/l)      <10                 <10                   <10                <10                <1O                ^10
Chlorobenzene                                              (UO/D       <io                 <io                   <io                <io                <io                <10
Chloroethane                                               (ug/l)      <10                 <10                   <10                <10                <10                <10
Chloroform                                                 (UO/D       <io                 <io                   <io                <io                <io                <10
Dibromochloromethane                                       (UO/D       <io                 <io                   <io                <io                <io                <10
Methylene chloride                                         (uo/D       7J                  6J                    3J                 6J                 4J                 4J
Styrene                                                    (UO/D       <io                 <io                   <io                <io                <to                <10
                                                                                                                                                                          _
Unknown alkanel                                            (uo/l)      _                   _                     _                  _                  _
Unknown alkenel                                            (UO/D       —                  _          «       _         .      «           -       .    —                  ~.
TOC                                                        (mg/|)      _                   _                     _                 _                   _                  _
PH                                                         (units)     —»                  «-                    —                  ««•                *•«                -~
                                                                                                                                                                          _
Sulfate                                                    (mg/0       ...                                       _                  _                  _
Conductivity                                               (urn/cm)    —                  —                      —                  —                  —                  ~
Chloride                                                   (mg/l)                                                                                                         ...
Values represent total concentrations unless noted        <= Not detected at indicated reporting limit — = Not analyzed

                                                                                              Exhibit 39
                                                                                                                                                                          J


See Table /        r data qualifier definition*.                                              c 5273< Reported a* a TIC, standard wa* not available.
          (                                                                             C
                                Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 243 of 730 Page ID
                                                                  #:5317
                                                                                          TABLE D-10
                                                                                                                                                                   C
                                                                             VOCs and Thiophenes, TICs, and                                                       Page: 2E   of 2G
                                                                              General Chemistry Parameters in
                                                                                ^s    ....     *•»•*»      •
                                                                                Ground Water Grab Samples
                                                                            Ground Water Remedial Investigation
                                                                              McColl Site, Fullerton, California
                                                SITE                Z-TRIP-BLANK        Z-TRIP-BLANK        Z-TRIP-BLANK        Z-TRIP-BLANK       Z-TRIP-BLANK       Z-TRIP-BLANK
                                                SAMPLE ID           80394TB             80494TB             81194TB            81694TB             81894TB            81994TB
 CONSTITUENT                                    DATE                08/O3/94            08/04/94            08/11/94           08/16/94            08/18/94           08/19/94



Nitrate                                                 (ug/l)
Nitrite (a* N)                                          (ug/l)




Values represent total concentrations unless noted     < = Not detected at indicated reporting limit — = Not analyzed


See Table D-1 for data qualifier definition*.                                           Exhibit
                                                                                            * -39 Reported a* a TIC, standard waa not available.
                                                                                          5274
                                 Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 244 of 730 Page ID
                                                                   #:5318
                                                                                          TABLE D-10
                                                                                VOCs and Thiophenes, TICs, and                                                    Page: 1F       of 2G
                                                                                General Chemistry Parameters in
                                                                                                                                                                  Date: 10/04/95
                                                                                  Ground Water Grab Samples
                                                                              Ground Water Remedial Investigation
                                                                                McColl Site, Fullerton, California
                                                  SITE                Z-TRIP-BLANK       Z-TRIP-BLANK         Z-TRIP-BLANK       Z-TRIP-BLANK      Z-TRIP-BLANK          Z-TRlP-BLANK
                                                  SAMPLE ID           82394TB            82694TB            82994T8              90194TB           90894TB               90994TB
 CONSTITUENT                                      DATE                08/23/94           08/26/94           08/29/94             09/01/94          09/06794              09/09/94



Benzene                                                   (ug/l)       <10               <2                  <2                  <1O               <1O
Ethylbenzene                                              (ug/D       <1O                <2                  <2                  <10               <10                   <10
Toluene                                                   (ug/l)      <10                <2                  <2                  <10               <1O                   <10
Xylene (total)                                            (ug/l)       < 10              <2                  <2                  <10               <10                   <10
Tetrahydrothiophene                                       (ug/l)       <10               <2                  <2                  <10               <10                   <10
2-Methyltetrahydrothiophene                               (ug/l)       <10               <2                  <2                  <10               <10                   <1O
3-Methyltetrahydrothiophene                               (ug/l)       <10               <2                  <2                  <10               <1O                   <10
1,1,1-Trtehloroethane                                     {uo/D        <10               <2                  <2                  <10               <1O                   <fO
1 ,2-Dichloroethane                                       (ug/l)       <10               <2                  <2                  <10               <1O                   < IO
2-Butanona                                                (ufl/l)      <10               <2                  <2                  <1O               <10                   4j IO


Acetone                                                   (uo/D      . 3J                <2                  <2                  <1O               <1O                   < 10
2-Hexanone                                                (uo/D        <10               <2                  <2                  <10               <10                   <j 10
Bromodichloromethane                                      (uo/D        <10               <2                  <2                  <10               <1O                   < 10
Carbon disulfide                                          (uo/l)       <1O               <2                  <2                  <10               <10                   <10
Chlorobenzene                                             (UO/D        <io               <2                  <2                  <10               <1O                   < 10
Chloroethane                                              (uo/D        <10               <2                  <2                  <10               <1O                   <! TO
Chloroform                                                (uo/l)       <10               <2                  <2                  <10               <10                   < 10
Dibromochloromethane                                      (uo/l)      <10                <2                  <2                  <1O               <10                   < to
Methylene chloride                                        (ug/l)      4J                 8                   16                  8J                7J                    8J
Styrene                                                   {Ufl/D       <10               <2                  <2                  <1O               <1O                   <10
                                                                                                                                                                         _
Unknown alkanel                                           (Ufl/l)     —                  _                   —                   —                 —
Unknown alkenel                                           (Ufl/l)     —                  ~-                 -.                   -*                —
                                                                                                                                                                         *-.
                                                                                                                                                                         _
TOC                                                       (mo/D       —                  —                                       —                 —
PH                                                        (units)     —                  ~.                  «          .    -        .     .      «                     «.
                                                                                                             _                   _                 _                     _
Sulfate                                                   (mo/D       —                  _
                                                                                                             _                   _                 _.                    _
Conductivity                                              (urn/cm)    —                  —                                       _                 _                     _
Chloride                                                  (mo/D       —                  _

Values represent total concentrations unless noted       <= Not detected at indicated reporting limit — =Not analyzed

                                                                                         Exhibit
                                                                                          j>     39                                                                  i
See Table /      vt data qualifier definitions.                                           15275 - Reported a* a TIC, standard was not available.                     t
                                Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 245 of 730 Page ID
          (                                                       #:5319                 C
                                                                                         TABLE D-10
                                                                                                                                                                     C
                                                                               VOCs and Thiophenes, TICs, and                                                    Page: 2F      of 2G
                                                                              General Chemistry Parameters in                                                    _       in/O4./qR
                                                                                Ground Water Grab Samples
                                                                            Ground Water Remedial Investigation
                                                                              McColl Site, Fullerton, California
                                                SITE                Z-TRIP-BLANK       Z-TRIP-BLANK        Z-TRIP-BLANK        Z-TRIP-BLANK       Z-TRIP-BLANK       Z-TRIP-BLANK
                                                SAMPLE ID           82394TB            82694TB             82994TB             90194TB            90894TB            90994TB
 CONSTITUENT                                    DATE                08/23/94           08/26/94            08/29/94            09/01/94           09/06794           09/09/94


Nitrate                                                 (ug/l)
Nitrite (as N)                                          (uo/l)




Values represent total concentrations unless noted     < =Not detected at indicated reporting limit — = Not analyzed


See Table D-1 for data qualifier definitions.                                           Exhibit
                                                                                            * -39Reported a* a TIC, standard was not available.
                                                                                          5276
                                  Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 246 of 730 Page ID
                                                                    #:5320
                                                                                             TABLE D-10
                                                                                   VOCs and Thiophenes, TICs, and                                     Page: 1G   of 2G
                                                                                   General Chemistry Parameters in
                                                                                                                                                      Date: 10/04/95
                                                                                     Ground Water Grab Samples
                                                                                 Ground Water Remedial Investigation
                                                                                   McColl Site, Fullerton, California
                                                   SITE                  Z-TRIP-BLANK       Z-TRIP-BLANK         Z-TRIP-BLANK     Z-TRIP-BLANK
                                                   SAMPLE ID             91294TB            91694TB            91694TBB           92194TB
 CONSTITUENT                                       DATE                  09/12/94           09/16/94           09/16/94           09/21/94



Benzene                                                    (ug/l)
Ethylbenzene                                               (Ufl/l)       <2                 <10                 <10                <10
Toluene                                                    (ug/l)        <2                 <10                 <10                <10
Xylene (total)                                             (ug/l)        <2                 <10                 <10                <10
Tetrahydrothiophene                                        (ug/l)        <2    '            <10                 <10        ,      <10
2-Methyrtetrahydrothtophene                                (ug/l)        <2                 <10                 <1O                <1O
3-Methyltetrahydrothiophene                                (uo/D         <2                 <10                 <1O                <10
1,1,1-Trichloroethane                                      (UO/D         <2                 <10                 <1O                <MO
1 ,2-Dichloroethane                                        (UO/D         <2                 <10                 <1O                <10
2-Butanona                                                 (ug/l)        <2                 <10                 <10                <1O
Acetone                                                    (Ufl/l)   .   <2                 <10                 <1O                <10
2-Hexanone                                                 (UO/D         <2                 <10                 <10                <10
Bromodichloromethane                                       (ug/l)        <2                 <10                 <1O                <10
Carbon disulfide                                           (ug/l)        <2                 <10                 <10                <10
Chlorobenzene                                              (Ufl/l)       <2                 <10                 <1O                <10
Chloroethane                                               (ug/l)        <2                 <1O                 <1O                <10
Chloroform                                                 (uo/D         <2                 <10                 <1O                <10
Dibromochloromethane                                       (UO/D         <2                 <;io                <io                <io
Methylene chloride                                         (UO/D         7                   <10                <1O                <10
Styrene                                                    (Ufl/l)       <2                 <10                 <10               <1O
Unknown alkanel                                            (ug/l)                           _                  _                  _
Unknown alkenel                                            (ug/l)                           ~»                 —                  -~
TOC                                                        (mg/l)        _                  _                  _                  _
pH                                                         (Units)       H-                 —                   -.                «.



Sulfate                                                    (mg/l)        _                  _                  _                  _
Conductivity                                               (um/cm)       _                  ~                  _                  —
Chloride                                                   (mg/l)                           —                   —                  —
Values represent total concentrations unless noted        < = Not detected at indicated reporting limit — = Not analyzed

                                                                                            Exhibit 39
See Table/       'or data qualifier definition*.                                            [ 5277 - Reported a* a TIC, standard was not available.     £
                                Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 247 of 730 Page ID
                                                                  #:5321
                                                                                    TABLE 0-10
                                                                                                                                             c
                                                                         VOCs and Thiophenes, TICs, and                                    Page: 2G    of 2G
                                                                         General Chemistry Parameters in
                                                                                                                                           Date: 10/04/95
                                                                            Ground Water Grab Samples
                                                                        Ground Water Remedial Investigation
                                                                          McColl Site, Fullerton, California
                                                SITE             Z-TRIP-BLANK     Z-TRIP-BLANK        Z-TRIP-BLANK      Z-TRIP-BLANK
                                                SAMPLE ID        91294TB          91694TB             91694T5B          92194TB
 CONSTITUENT                                    DATE             09/12/94         09/16/94            09/16/94          09/21/94


Nitrate                                                 (ug/l)
Nitrite (as N)                                          (ua/l)




Values represent total concentrations unless noted < = Not detected at indicated reporting limit —=Not analyzed

                                                                                   Exhibit 39
See Table D-1 for data qualifier definitions.                                        5278 Reported a* a TIC, standard was not available.
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 248 of 730 Page ID
                                  #:5322




                                APPENDIX D

                              ATTACHMENT
                     P-IOL DATA VALIDATION REPORT




                                   Exhibit 39
                                     5279
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 249 of 730 Page ID
                                  #:5323


                                                        LDC Report* 1582A1

                     Laboratory Data Consultants, Inc.
                          Data Validation Report
Project/Site Name:              McColl Superfund Site
                                4th Quarter 1995

Collection Date:               July 6, 1995

LDC Report Date:                September 8, 1995

Matrix:                        Water

Parameters:                    Volatiles

Laboratory:                    Thermo Analytical

Sample Delivery Group (SDG): L2198**

Sample Identification
 P-10L-H1




** indicates SDG underwent EPA Level IV review.



                                       Exhibit 39
                                         5280
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 250 of 730 Page ID
                                  #:5324




                                        Introduction

 This data review covers one water sample listed on the cover sheet including dilutions
 and reanalysis as applicable. The analyses were per EPA Contract Laboratory
 Program 1990 Statement of Work OLM01.8 for Volatiles.

 This review follows USEPA Contract Laboratory Program National Functional
 Guidelines for Organic Data Review (February 1994); the following subsections
 correlate to the above guidelines.

-A table summarizing all data qualification is provided at the end of this report. Flags
 are classified as P (protocol) or A (advisory) to indicate whether the flag is due to a
 laboratory deviation from a specified protocol or is of technical advisory nature.

 Blank results are summarized in Section V.

 Field duplicates are summarized in Section XVI.

 The following are definitions of the data qualifiers:

 U      Indicates the compound or element was analyzed for but not detected at or above
       the stated limit.

 J      Indicates an estimated value.

 R      Quality control indicates the data is not usable.

 N      Presumptive evidence of presence of the constituent.

 UJ    Indicates the compound or element was analyzed for but not detected. The
       sample detection limit is an estimated value.




                                          Exhibit 39
                                            5281
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 251 of 730 Page ID
                                  #:5325


I. Technical Holding Times

All technical holding time requirements were met.

II. GC/MS Instrument Performance Check

Instrument performance was checked at 12 hour intervals. All ion abundance
requirements were met.

III. Initial Calibration

Initial calibration was performed using required standard concentrations with the
following exceptions:


      Sampla                Compound                  Finding                     Criteria                   Flag       AorP

  All samples In         Benzene               A 0.5 ppb standard          Client requested that a          None          P
  SDG L2198.             1 ,2-Dichloroethane   was not analyzed tor        0.5 ppb standard be              None
                                               these compounds.            analyzed.



Percent relative standard deviations (%RSD) were less than or equal to 30.0% for all
compounds with the following exceptions:


    Data                  Compound                    %RSD             Associated Samples                Flag           AorP

 6/28/95       Vinyl chloride                          30.4           P-10L-H1                     J (all detects)       A
                                                                      VBLK0707                   UJ (all non-detects)
               Acetone                                 49.5                                        J (all detects)
                                                                                                 UJ (all non-detects)



Average relative response factors (RRF) for all volatile target compounds and system
monitoring compounds were within validation criteria.

IV. Continuing Calibration

Continuing calibration was performed at the required frequencies.

All of the continuing calibration percent differences (%D) between the initial calibration
RRF and the continuing calibration RRF were less than or equal to 25.0% with the
following exceptions:


   Date                  Compound                      %D             Associated Samples                Flag            AorP

 7/7/95      Chloromethane                            27.9            P-10L-H1                     J (all detects)       A
                                                                      VBLK0707                   UJ (all non-detects)




                                                             Exhibit 39
                                                               5282
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 252 of 730 Page ID
                                  #:5326

 All of the continuing calibration RRF values were within validation criteria.

 V. Blanks

 Method blanks were reviewed for each matrix as applicable. No volatile contaminants
 were found in the method blanks.

 No field blanks were identified in this SDG.

 VI. Surrogate Spikes

 Surrogates were added to all samples and blanks as required by the SOW. All surrogate
 recoveries were within validation criteria.

 VII. Matrix Spike/Matrix Spike Duplicates

 The laboratory has indicated that there were no matrix spike (MS) and matrix spike
 duplicate (MSD) analyses specified for the samples in this SDG, and therefore matrix
 spike and matrix spike duplicate analyses were not performed for this SDG.

 VIII. Laboratory Control Samples (LCS)

 Not applicable to multi-media samples.

 IX. Regional Quality Assurance and Quality Control

 Not applicable.

 X. Internal Standards

 All internal standard areas and retention times were within QC limits.

 XI. Target Compound Identifications

 All target compound identifications were within validation criteria.

 XII. Compound Quantitation and CRQLs

 A ten percent check of the calculations was performed. All compound quantitation and
 CRQLs were within validation criteria. The following sample concentrations were reported
 below the CRQL:


      Sample            Compound      Concentration      CRQL           Flag     AorP

  P-10L-H1         Toluene              0.2 ug/L         2 ug/L           J       A




                                          Exhibit 39
                                            5283
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 253 of 730 Page ID
                                  #:5327


XIII. Tentatively Identified Compounds (TICs)

All tentatively identified compounds were qualified as follows as specified by the QAPP:


          Sample                  Compound                            Flag          AorP

  All samples in SOG   All tentatively identified                NJ (all detects)    A
  L2198.               compounds.



XIV. System Performance

The system performance was acceptable.

XV. Overall Assessment of Data

Data flags have been summarized at the end of the report.

XVI. Field Duplicates

No field duplicates were identified in this SDG.




                                                    Exhibit 39
                                                      5284
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 254 of 730 Page ID
                                  #:5328


 McColl Superfund Site, 4th Quarter 1995
 Volatiles - Data Qualification Summary - SDG L2198**


    SDG       Sample           Compound                      Flag           AorP                   R«a*on

  L2198     P-10L-H1   Benzene                              None             P     Initial calibration
                       1 ,2-Dichloroethane                  None


  L2198    P-10L-H1    Vinyl chloride                  J (all detects)       A     Initial calibration (%RSD)
                                                     UJ (all non-defects)
                       Acetone                         J (all detects)
                                                     UJ (all non-detects)


  L2198    P-10L-H1    Chloromethane                   J (all detects)       A     Continuing calibration (%D)
                                                     UJ (all non-detects)


  L2198    P-10L-H1    Toluene                                   J           A     Compound quantitation and CRQLs


  L2198    P-10L-H1    All tentatively identified      NJ (all detects)      A     Tentatively identified compounds
                       compounds.



McColl Superfund Site, 4th Quarter 1995
Volatiles - Laboratory Blank Data Qualification Summary - SDG L2198**

          No Laboratory Blank Data Qualified in this SDG.
McColl Superfund Site, 4th Quarter 1995
Volatiles - Field Blank Data Qualification Summary - SDG L2198**

             No Field Blank Data Qualified in this SDG.




                                                    Exhibit 39
                                                      5285
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 255 of 730 Page ID
                                  #:5329


                                                        LDC Report* 1582B1

                   Laboratory Data Consultants, Inc.
                        Data Validation Report

Project/Site Name:             McColl Superfund Site
                               4th Quarter 1995

Collection Date:               July 7, 1995

LDC Report Date:               September 19, 1995

Matrix:                         Water

Parameters:                    Volatiles

Laboratory:                    Thermo Analytical

Sample Delivery Group (SDG): L2202**

Sample Identification
 P-10L-H2
 P-10L-H2MS.
 P-10L-H2MSD




** Indicates SDG underwent EPA Level IV review.


                                        Exhibit 39
                                          5286
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 256 of 730 Page ID
                                  #:5330


                                       Introduction

 This data review covers 3 water samples listed on the cover sheet including dilutions
 and reanalysis as applicable. The analyses were per EPA Contract Laboratory
 Program 1990 Statement of Work OLM01.8 for Volatiles.

 This review follows USEPA Contract Laboratory Program National Functional
 Guidelines for Organic Data Review (February 1994); the following subsections
 correlate to the above guidelines.

 A table summarizing all data qualification is provided at the end of this report. Flags
 are classified as P (protocol) or A (advisory) to indicate whether the flag is due to a
 laboratory deviation from a specified protocol or is of technical advisory nature.

Blank results are summarized in Section V.

Field duplicates are summarized in Section XVI.

The following are definitions of the data qualifiers:

U       Indicates the compound or element was analyzed for but not detected at or above
       the stated limit.

J      Indicates an estimated value.

R      Quality control indicates the data is not usable.

N      Presumptive evidence of presence of the constituent.

UJ     Indicates the compound or element was analyzed for but not detected. The
       sample detection limit is an estimated value.




                                         Exhibit 39
                                           5287
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 257 of 730 Page ID
                                  #:5331


J. Technical Holding Times

All technical holding time requirements were met.

li. GC/MS Instrument Performance Check

Instrument performance was checked at 12 hour intervals. All ion abundance
requirements were met.

III. Initial Calibration

Initial calibration was performed using required standard concentrations with the
following exceptions:


      Sample                Compound                  Finding                     Criteria                  Flag        AorP

 All samples in          Benzene               A 0.5 ppb standard          Client requested that a          None          P
 SDG L2202.              1 ,2-Dichloroethane   was not analyzed for        0.5 ppb standard be              None
                                               these compounds.            analyzed.



Percent relative standard deviations (%RSD) were less than or equal to 30.0% for all
compounds with the following exceptions:.


   Date                    Compound                   %RSD            Associated Samples                Flag            AorP

 6/28/95       Vinyl chloride                          30.4           P-10L-H2                     J (all detects)       A
                                                                      P-10L-H2MS                 UJ (all non-detects)
               Acetone                                 49.5           P-10L-H2MSD                  J (all detects)
                                                                      VBLK0707                   UJ (all non-detects)



Average relative response factors (RRF) for all volatile target compounds and system
monitoring compounds were within validation criteria.

IV. Continuing Calibration

Continuing calibration was performed at the required frequencies,

All of the continuing calibration percent differences (%D) between the initial calibration
RRF and the continuing calibration RRF were less than or equal to 25.0% with the
following exceptions:




                                                              Exhibit 39
                                                                5288
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 258 of 730 Page ID
                                  #:5332



    Date             Compound                       %D           Associated Samples          Flag            AorP

   7/7/95    Chloromethane                       27.9           P-10L-H2                J (all detects)       A
                                                                P-10L-H2MS            UJ (all non-detects)
                                                                P-10L-H2MSD
                                                                VBLK0707



 All of the continuing calibration RRF values were within validation criteria.

 V. Blanks

 Method blanks were reviewed for each matrix as applicable. No volatile contaminants
 were found in the method blanks.

 No field blanks were identified in this SDG.

 VI. Surrogate Spikes

 Surrogates were added to all samples and blanks as required by the SOW. All surrogate
 recoveries were within validation criteria.

 VII. Matrix Spike/Matrix Spike Duplicates

 Matrix spike (MS) -and matrix spike duplicate (MSD) samples were reviewed for each
 matrix as applicable. Percent recoveries (%R) and relative percent differences (RPD) were
 within QC limits with the following exceptions:

       Sample
     (Associated                             MS (%R)          MSD (%R)       RPD
      Samples)           Compound            (Limits)          (Limits)    (Limits)           Flag           AorP

  P-10L-H2MS/MSD     1 , 1 -Dichloroethene      -                     •    16 (£14)     J (all detects)       A
  (P-10L-H2)                                                                          UJ (all non-detects)



VIII. Laboratory Control Samples (LCS)

 Not applicable to multi-media samples.

 IX. Regional Quality Assurance and Quality Control

 Not applicable.

X. Internal Standards

All internal standard areas and retention times were within QC limits,




                                                         Exhibit 39
                                                           5289
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 259 of 730 Page ID
                                  #:5333


XI. Target Compound Identifications

All target compound identifications were within validation criteria.

XII. Compound Quantitation and CRQLs

A ten percent check of the calculations was performed. All compound quantitation and
CRQLs were within validation criteria.

XIII. Tentatively Identified Compounds (TICs)

All tentatively identified compounds were qualified as follows as specified by the QAPP:


         Sample                  Compound                            Flag          AorP

 All samples in SDG   All tentatively identified                NJ (all detects)    A
 L2202.               compounds.



XIV. System Performance

The system performance was acceptable.

XV. Overall Assessment of Data

Data flags have been summarized at the end of the report.

XVI. Field Duplicates

No field duplicates were identified in this SDG.




                                                   Exhibit 39
                                                     5290
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 260 of 730 Page ID
                                  #:5334

 McColl Superfund Site, 4th Quarter 1995
 Volatiles - Data Qualification Summary - SDG L2202**


    SDG       Sample           Compound                          Flag          AorP                Reason

  L2202    P-10L-H2    Benzene                                   None           P     Initial calibration
                       1 ,2-Dichloroethane                       None


  L2202    P-10L-H2    Vinyl chloride                     J (all detects)       A     Initial calibration (%RSD)
                                                        UJ (all non-detects)
                       Acetone                            J (all detects)
                                                        UJ (all non-detects)


  L2202    P-10L-H2    Chloromethane                      J (all detects)       A     Continuing calibration (%D)
                                                        UJ (all non-detects)


  L2202    P-1 OL-H2   1.1-Dichloroethene                 J (all detects)       A     Matrix spike/matrix spike
                                                        UJ (all non-detects)          duplicate (RPD)


  L2202    P-10L-H2    All tentatively identified         NJ (all detects)      A     Tentatively identified
                       compounds.                                                     compounds



 McColl Superfund Site, 4th Quarter 1995
 Volatiles - Laboratory Blank Data Qualification Summary - SDG L2202**

          No Laboratory Blank Data Qualified in this SDG.
McColl Superfund Site, 4th Quarter 1995
Volatiles - Field Blank Data Qualification Summary - SDG L2202**

             No Field Blank Data Qualified in this SDG.




                                                    Exhibit 39
                                                      5291
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 261 of 730 Page ID
                                  #:5335


                                                        LDC Report* 1582D1

                     Laboratory Data Consultants, Inc.
                          Data Validation Report
Project/Site Name:             McColl Superfund Site
                               4th Quarter 1995

Collection Date:               July 11, 1995

LDC Report Date:               September 19, 1995

Matrix:                        Water

Parameters:                    Volatiles

Laboratory:                    Thermo Analytical

Sample Delivery Group (SDG): L2213**

Sample Identification
 P-10L-H3
 P-10L-H3MS
 P-10L-H3MSD




** Indicates SDG underwent EPA Level IV review.



                                       Exhibit 39
                                         5292
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 262 of 730 Page ID
                                  #:5336



                                       Introduction
 This data review covers 3 water samples listed on the cover sheet including dilutions
 and reanalysis as applicable. The analyses were per EPA Contract Laboratory
 Program 1990 Statement of Work OLM01.8 for Volatiles.

 This review follows USEPA Contract Laboratory Program National Functional
 Guidelines for Organic Data Review (February 1994); the following subsections
 correlate to the above guidelines.

 A table summarizing all data qualification is provided at the end of this report. Flags
 are classified as P (protocol) or A (advisory) to indicate whether the flag is due to a
 laboratory deviation from a specified protocol or is of technical advisory nature.

 Blank results are summarized in Section V.

 Field duplicates are summarized in Section XVI.

The following are definitions of the data qualifiers:

 U      Indicates the compound or element was analyzed for but not detected at or above
       the stated limit.

J      Indicates an estimated value.                                                       \uitf
R      Quality control indicates the data is not usable.

N      Presumptive evidence of presence of the constituent.

UJ     Indicates the compound or element was analyzed for but not detected. The
       sample detection limit is an estimated value.




                                         Exhibit 39
                                           5293
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 263 of 730 Page ID
                                  #:5337


I. Technical Holding Times

All technical holding time requirements were met.

II. GC/MS Instrument Performance Check

Instrument performance was checked at 12 hour intervals. All ion abundance
requirements were met.

III. Initial Calibration

Initial calibration was performed using required standard concentrations with the
following exceptions:


      Sample               Compound                  Finding                    Criteria                     Flag         AorP

  All samples in        Benzene               A 0.5 ppb standard         Client requested that a             None          P
  SDGL2213.             1 ,2-Dichloroethane   was not analyzed for       0.5 ppb standard be                 None
                                              these compounds.           analyzed.



Percent relative standard deviations (%RSD) were less than or equal to 30.0% for all
compounds with the following exceptions:


   Date                 Compound                   %RSD              Associated Samples                   Flag            AorP

 6/28/95      Vinyl chloride                        30.4        All samples in SDG L2213.            J (all detects)       A
                                                                                                   UJ (all non-detects)
              Acetone                               49.5                                             J (all detects)
                                                                                                   UJ (all non-detects)



Average relative response factors (RRF) for all volatile target compounds and system
monitoring compounds were within validation criteria.

IV. Continuing Calibration

Continuing calibration was performed at the required frequencies.

All of the continuing calibration percent differences (%D) between the initial calibration
RRF and the continuing calibration RRF were less than or equal to 25.0%.

All of the continuing calibration RRF values were within validation criteria.

V. Blanks

Method blanks were reviewed for each matrix as applicable. No volatile contaminants
were found in the method blanks.


                                                            Exhibit 39
                                                              5294
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 264 of 730 Page ID
                                  #:5338


 No field blanks were identified in this SDG.

 VI. Surrogate Spikes

 Surrogates were added to all samples and blanks as required by the SOW. All surrogate
 recoveries were within validation criteria.

VII. Matrix Spike/Matrix Spike Duplicates

Matrix spike (MS) and matrix spike duplicate (MSD) samples were reviewed for each
matrix as applicable. Percent recoveries (%R) and relative percent differences (RPD) were
within QC limits.

VIII. Laboratory Control Samples (LCS)

Not applicable to multi-media samples.

IX. Regional Quality Assurance and Quality Control

Not applicable.

X. Internal Standards

All internal standard areas and retention times were within QC limits.

XI. Target Compound Identifications

All target compound identifications were within validation criteria.

XII. Compound Quantitation and CRQLs

A ten percent check of the calculations was performed. All compound quantitation and
CRQLs were within validation criteria. The following sample concentrations were reported
below the CRQL


      Sample          Compound       Concentration      CRQL           Flag     AorP

 P-1 OL-H3        Benzene              0.2 ug/L         2 ug/L          J        A
                  Toluene              0.3 ug/L         2 ug/L          J
                  Chlorobenzene        0.1 ug/L         2 ug/L          J




XIII. Tentatively Identified Compounds (TICs)

All tentatively identified compounds were qualified as follows as specified by the QAPP:




                                          Exhibit 39
                                            5295
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 265 of 730 Page ID
                                  #:5339




         Sample                  Compound                            Flag          AorP

 All samples in SDG   All tentatively identified                NJ (all detects)
 L2213.               compounds.



XIV. System Performance

The system performance was acceptable.

XV. Overall Assessment of Data

Data flags have been summarized at the end of the report.

XVI. Field Duplicates

No field duplicates were identified in this SDG.




                                                   Exhibit 39
                                                     5296
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 266 of 730 Page ID
                                  #:5340


  McColl Superfund Site, 4th Quarter 1995
  Volatiles - Data Qualification Summary - SDG L2213**


      SDG        Sample             Compound                          Flag            AorP              Reason

   L2213      P-10L-H3    Benzene                                     Norm             P     Initial calibration
                          1 ,2-Dicntoroethane                         None


   L2213      P-10L-H3    Vinyl chloride                         J (all detects)       A     Initial calibration (%RSD)
                                                               UJ (all non-detects)
                          Acetone                                J (all detects)
                                                               UJ (all non-detects)


   L2213     P-10L-H3     Benzene                                       J              A     Compound quantitation
                          Toluene                                       J                    and CRQLs
                          Chlorobanzene                                 J


   L2213     P-10L-H3     All tentatively identified             NJ (all detects)      A     Tentatively identified
                          compounds.                                                         compounds



  McColl Superfund Site, 4th Quarter 1995
  Volatiles - Laboratory Blank Data Qualification Summary - SDG L2213**

           No Laboratory Blank Data Qualified in this SDG.
 McColl Superfund Site, 4th Quarter 1995
 Voiatiles - Field Blank Data Qualification Summary - SDG L2213**

             No Field Blank Data Qualified in this SDG.




                                                  Exhibit 39
                                                    5297
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 267 of 730 Page ID
                                  #:5341


                                                        LDC Report* 1582O1

                       Laboratory Data Consultants, Inc.
                            Data Validation Report

Project/Site Name:              McColl Superfund Site
                                4th Quarter 1995

Collection Date:                June 28, 1995

LDC Report Date:                September 15, 1995

Matrix:                         Soil

Parameters:                     Volatiles

Laboratory:                     Thermo Analytical

Sample Delivery Group (SDG): L2176

Sample Identification
 P-10L3
 P-10L3RE          -
 P-10L3MS
 P-10L3MSD




                                       Exhibit 39
                                         5298
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 268 of 730 Page ID
                                  #:5342



                                        Introduction

 This data review covers 4 soil samples listed on the cover sheet including dilutions
 and reanalysis as applicable. The analyses were per EPA Contract Laboratory
 Program 1990 Statement of Work OLM01.8 for Volatiles.

 This review follows USEPA Contract Laboratory Program National Functional
 Guidelines for Organic Data Review (February 1994); the following subsections
 correlate to the above guidelines.

 A table summarizing all data qualification is provided at the end of this report. Flags
 are classified as P (protocol) or A (advisory) to indicate whether the flag is due to a
 laboratory deviation from a specified protocol or is of technical advisory nature.

 Blank results are summarized in Section V.

 Field duplicates are summarized in Section XVI.

 Raw data were not checked for this SDG. The review was based on QC data.

 The following are definitions of the data qualifiers:

 U     Indicates the compound or element was analyzed for but not detected at or above
       the stated limit.

 J      Indicates an estimated value.

 R      Quality control indicates the data is not usable.

 N      Presumptive evidence of presence of the constituent.

 UJ    Indicates the compound or element was analyzed for but not detected. The
       sample detection limit is an estimated value.




                                          Exhibit 39
                                            5299
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 269 of 730 Page ID
                                  #:5343


 I. Technical Holding Times

 All technical holding time requirements were met.

 II. GC/MS Instrument Performance Check

 Instrument performance was checked at 12 hour intervals. All ion abundance
 requirements were met.

 III. Initial Calibration

 Initial calibration was performed using required standard concentrations.

 Percent relative standard deviations (%RSD) were less than or equal to 30.0% for all
 compounds with the following exceptions:


    Date             Compound       %RSD             Associated Samples                  Flag            AorP

  6/29/95   Chloroethane             30.2         All samples in SDG L21 76.       J (all detects)           A
                                                                                 UJ (all non-detects)



Average relative response factors (RRF) for all volatile target compounds and system
monitoring compounds were within validation criteria.

 IV. Continuing Calibration

 Continuing calibration was performed at the required frequencies.

All of the continuing calibration percent differences (%D) between the initial calibration
RRF and the continuing calibration RRF were less than or equal to 25.0% with the
following exceptions:


    Date              Compound         %D            Associated Samples               Flag              AorP

  6/29/95   Acetone                   39.9          All samples in SDG           J (all detects)         A
            2-Butanone                39.0          L2176                      UJ (all non-detects)
            4-Methyl-2-perrtanone     29.3
            2-Hexanone                36.1
            Tetrahydrothiophene       25.3




All of the continuing calibration RRF values were within validation criteria.

V. Blanks

Method blanks were reviewed for each matrix as applicable. Volatile contaminants found
in the method blanks are listed as follows:

                                            Exhibit 39
                                              5300
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 270 of 730 Page ID
                                  #:5344


                                                      Compound
   Method Blank ID          Date                  TIC (RT In minutes)        Concentration       Associated Samples

   VBLK06290            6/29/95           Unknown hydrocarbon (2.68)           10 ug/Kg      P-10L3
                                                                                             P-10L3RE



 Sample concentrations were compared to concentrations detected in the method blanks.
 The sample concentrations were either not detected or were significantly greater (>10X
 for common contaminants, >5X for other contaminants) than the concentrations found
 in the associated method blanks.

  No field blanks were identified in this SDG.

 VI. Surrogate Spikes

 Surrogates were added to all samples and blanks as required by the SOW. All surrogate
 recoveries were within validation criteria with the following exceptions:


      Sample                  Surrogate                  %R (Limit*)       Compound               Flag         AorP

   P-10L3            1.2-Dichloroethane-d4               122 (70-121)   All TCL compounds    J (all detects)    A


   P-10L3RE          1 ,2-Dichloroethane-d4              130 (70-121)   All TCL compounds    J (all detects)    A




 VII. Matrix Spike/Matrix Spike Duplicates

 Matrix spike (MS) and matrix spike duplicate (MSD) samples were reviewed for each
 matrix as applicable. Percent recoveries (%R) and relative percent differences (RPD) were
 within QC limits.

 VIII. Laboratory Control Samples (LCS)

 Not applicable to multi-media samples.

 IX. Regional Quality Assurance and Quality Control

 Not applicable.

 X. Internal Standards

 All internal standard areas and retention times were within QC limits.

 XI. Target Compound Identifications

 Raw data were not checked for this SDG.



                                                          Exhibit 39
                                                            5301
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 271 of 730 Page ID
                                  #:5345


XII. Compound Quantitation and CRQLs

Raw data were not checked for this SDG.

XIII. Tentatively Identified Compounds (TICs)

All tentatively identified compounds were qualified as follows as specified by the QAPP:


          Sample                  Compound                            Flag          AorP

  All samples in SDG   All tentatively identified                NJ (all detects)    A
  L2176.               compounds.



Raw data were not checked for this SDG.

XIV. System Performance

Raw data were not checked for this SDG.

XV. Overall Assessment of Data

Data flags have been summarized at the end of the report.

XVI. Field Duplicates

No field duplicates were identified in this SDG.




                                                    Exhibit 39
                                                      5302
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 272 of 730 Page ID
                                  #:5346

 McColl Superfund Site, 4th Quarter 1995
 Volatiles - Data Qualification Summary - SDG L2176


     SDG         Sample             Compound                          Flag            AorP             Reason

   L2176     P-10L3       Chloro ethane                          J (an detects)        A     Initial calibration (%RSD)
             P-10L3RE                                          UJ (all non-detects)


   L2176     P-10L3       Acetone                                J (all detects)       A     Continuing calibration
             P-10L3RE     2-Butanone                           UJ (all non-detects)          <%D)
                          4-Methyl-2-pentanone
                          2-Hexanone
                          Tetrahydrothiophene


  L2176      P-10L3       All TCL compounds                      J (all detects)       A     Surrogate spikes (%R)
             P-10L3RE



  L2176      P-10L3       All tentatively identified             NJ (all detects)      A     Tentatively identified
             P-10L3RE     compounds.                                                         compounds



 McColl Superfund Site, 4th Quarter 1995
 Volatiles - Laboratory Blank Data Qualification Summary - SDG L2176

           No Laboratory Blank Data Qualified in this SDG.
 McColi Superfund Site, 4th Quarter 1995
 Volatiles - Field Blank Data Qualification Summary - SDG L2176

              No Field Blank Data Qualified in this SDG.




                                                  Exhibit 39
                                                    5303
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 273 of 730 Page ID
                                  #:5347


                                                        LDC Report* 1582P1

                     Laboratory Data Consultants, Inc.
                          Data Validation Report

Project/Site Name:            McColl Superfund Site
                              4th Quarter 1995

Collection Date:              June 29, 1995

LDC Report Date:              September 15, 1995

Matrix:                       Soil/Water

Parameters:                   Volatiles

Laboratory:                   Thermo Analytical

Sample Delivery Group (SDG): L2182

Sample Identification
 P-10L218
 P-10L218DL
 P-10L4
 P-10L218MS
 P-10L218MSD
 P-10L4MS
 P-10L4MSD




                                     Exhibit 39
                                       5304
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 274 of 730 Page ID
                                  #:5348



                                        Introduction

 This data review covers 3 soil samples and 4 water samples listed on the cover sheet
 including dilutions and reanalysis as applicable. The analyses were per EPA Contract
 Laboratory Program 1990 Statement of Work OLM01.8 for Volatiles.

 This review follows USEPA Contract Laboratory Program National Functional
 Guidelines for Organic Data Review (February 1994); the following subsections
 correlate to the above guidelines.

 A table summarizing all data qualification is provided at the end of this report. Flags
 are classified as P (protocol) or A (advisory) to indicate whether the flag is due to a
 laboratory deviation from a specified protocol or is of technical advisory nature.

 Blank results are summarized in Section V.

 Field duplicates are summarized in Section XVI.

 Raw data were not checked for this SDG. The review was based on QC data.

 The following are definitions of the data qualifiers:

 U       Indicates the compound or element was analyzed for but not detected at or above
        the stated limit.

 J      Indicates an estimated value.

 R      Quality control indicates the data is not usable.

 N      Presumptive evidence of presence of the constituent.

 UJ     Indicates the compound or element was analyzed for but not detected. The
        sample detection limit is an estimated value.




                                          Exhibit 39
                                            5305
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 275 of 730 Page ID
                                  #:5349


I. Technical Holding Times

All technical holding time requirements were met.

II. GC/MS Instrument Performance Check

Instrument performance was checked at 12 hour intervals. All ion abundance
requirements were met.

III. Initial Calibration

Initial calibration was performed using required standard concentrations with the
following exceptions:


      Sample               Compound                  Finding                    Criteria                     Flag         AorP

  All samples in        Benzene               A 0.5 ppb standard         Client requested that a             None          P
  SDG L2182.            1 ,2-Dichloroethane   was not analyzed for       0.5 ppb standard be                 None
                                              these compounds.           analyzed.



Percent relative standard deviations (%RSD) were less than or equal to 30.0% for all
compounds with the following exceptions:


   Date                 Compound                   %RSD              Associated Samples                   Flag            AorP

 6/28/95      Vinyl chloride                        30.4        P-10L218                             J (all detects)       A
                                                                P-10L218DL                         UJ (all non-detects)
              Acetone                               49.5        P-10L218MS                           J (all detects)
                                                                P-10L218MSD                        UJ (all non-detects)
                                                                VBLK0630D1


 6/29/95      Chloroethane                          30.2        P-10L4                               J (all detects)       A
                                                                P-10L4MS                           UJ (all non-detects)
                                                                P-10L4MSD
                                                                VBLK0630



Average relative response factors (RRF) for all volatile target compounds and system
monitoring compounds were within validation criteria.

IV. Continuing Calibration

Continuing calibration was performed at the required frequencies.

All of the continuing calibration percent differences (%D) between the initial calibration
RRF and the continuing calibration RRF were less than or equal to 25.0% with the
following exceptions:



                                                            Exhibit 39
                                                              5306
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 276 of 730 Page ID
                                  #:5350


     Date               Compound                   %D                Associated Samples              Flag            AorP

   6/29/95     Bromomethane                        53.3          P-10L4                         J (all detects)        A
                                                                 P-10L4MS                     UJ (aH non-detects)
               Chloroethane                        31.7          P-10L4MSD                      J (all detects)
                                                                 VBLK0630                     UJ (all non-detects)



 All of the continuing calibration RRF values were within validation criteria.

 V. Blanks

 Method blanks were reviewed for each matrix as applicable. Volatile contaminants found
 in the method blanks are listed as follows:

                                               Compound
  Method Blank ID        Date              TIC (RT In minutes)                  Concentration           Associated Samples

  VBLK0630            6/30/95      Unknown hydrocarbon (2.65)                      9 ug/Kg          P-10L4


  VBLK0630D1          6/30/95      Methylene chloride                              0.4 ug/L         P-10L218
                                   Xylene (total)                                  0.2 ug/L         P-10L218DL



 Sample concentrations were compared to concentrations detected in the method blanks.
 The sample concentrations were either not detected or were significantly greater (>10X
 for common contaminants, >5X for other contaminants) than the concentrations found
 in the associated method blanks.

 No field blanks were identified in this SDG.

 VI. Surrogate Spikes

 Surrogates were added to all samples and blanks as required by the SOW. All surrogate
 recoveries were within validation criteria.

 VII. Matrix Spike/Matrix Spike Duplicates

 Matrix spike (MS) and matrix spike duplicate (MSD) samples were reviewed for each
 matrix as applicable. Percent recoveries (%R) and relative percent differences (RPD) were
 within QC limits.

 VIII. Laboratory Control Samples (LCS)

 Not applicable to multi-media samples.

 IX. Regional Quality Assurance and Quality Control

 Not applicable.


                                                        Exhibit 39
                                                          5307
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 277 of 730 Page ID
                                  #:5351


X. Internal Standards

All internal standard areas and retention times were within QC limits.

XI. Target Compound Identifications

Raw data were not checked for this SDG.

XII. Compound Quantitation and CRQLs

The following sample concentrations were reported below the CRQL:


       Sample              Compound                  Concentration               CRQL       Flag          AorP

 P-10L218DL           Methylene chloride                 48 ug/L               500 ug/L      J             A
                      Toluene                            140 ug/L              500 ug/L      J


 P-1 OL4              Methylene chloride                 6 ug/L                 12 ug/L      J             A




'Raw data were not checked for this SDG.

XIII. Tentatively Identified Compounds (TICs)

All tentatively identified compounds were qualified as follows as specified by the QAPP:


           Sample                      Compound                               Flag                 AorP

 All samples In SDG         All tentatively identified                   NJ (all detects)           .A
 L2182.                     compounds.



Raw data were not checked for this SDG.

XIV. System Performance

Raw data were not checked for this SDG.

XV. Overall Assessment of Data

Data flags have been summarized at the end of the report.

XVI. Field Duplicates

No field duplicates were identified in this SDG.




                                                            Exhibit 39
                                                              5308
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 278 of 730 Page ID
                                  #:5352
  McColl Superfund Site, 4th Quarter 1995
  Volatiles - Data Qualification Summary - SDG L2182


    SDG        Sample            Compound                          Flag          AorP                 Reason

   L2182    P-10L218     Benzene                                   None           P     Initial calibration
            P-10L218DL   1 ,2-Dichloroethane                       None
            P-10L4



   L2182    P-10L218     Vinyl chloride                     J (all detects)       A     Initial calibration (%RSD)
            P-10L218DL                                    UJ (all non-detects)
                         Acetone                            J (all detects)
                                                          UJ (all non-detects)



   L2182    R-10L4       Chloroethane                       J (all detects)       A     Initial calibration (%RSD)
                                                          UJ (all non-detects)



  L2182     P-10L4       Bromomethane                       J (all detects)       A     Continuing calibration (%D)
                         Chloroethane                     UJ (all non-detects)



  L2182     P-10L218DL   Methylene chloride                         J             A     Compound quantitation and
                         Toluene                                    J                   CRQLs



  L2182     P-10L4       Methylene chloride                         J             A     Compound quantitation and
                                                                                        CRQLs



  L2182     P-1 OL21 8   All tentatively identified         NJ (all detects)      A     Tentatively identified
            P-10L218DL   compounds.                                                     compounds
            P-10L4




 McColl Superfund Site, 4th Quarter 1995
 Volatiles - Laboratory Blank Data Qualification Summary - SDG L2182

           No Laboratory Blank Data Qualified in this SDG.
 McColl Superfund Site, 4th Quarter 1995
 Volatiles - Field Blank Data Qualification Summary - SDG L2182

               No Field Blank Data Qualified in this SDG.




                                                      Exhibit 39
                                                        5309
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 279 of 730 Page ID
                                  #:5353


                                                        LDC Report* 1582A6

                     Laboratory Data Consultants, Inc.
                          Data Validation Report
Project/Site Name:             McColl Superfund Site
                               4th Quarter 1995

Collection Date:               July 6, 1995

LDC Report Date:               September 14, 1995

Matrix:                        Water

Parameters:                    Sulfate & pH

Laboratory:                    Thermo Analytical

Sample Delivery Group (SDG): L2198**

Sample Identification
 P-10L-H1
 P-10L-H1MS
 P-10L-H1MSD
 P-10L-H1DUP




** Indicates SDG underwent EPA Level IV review.

                                       Exhibit 39
                                         5310
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 280 of 730 Page ID
                                  #:5354


                                        Introduction

 This data review covers 4 water samples listed on the cover sheet. The analyses were
 per EPA Method 150.1 for pH and EPA Method 300.0 for Sulfate.

 The review follows a modified outline of the USEPA Contract Laboratory Program
 National Functional Guidelines for Inorganic Data Review (February 1994) as there are
 no current guidelines for the methods stated above.

 A table summarizing all data qualification is provided at the end of this report. Flags
 are classified as P (protocol) or A (advisory) to indicate whether the flag is due to a
 laboratory deviation from a specified protocol or is of technical advisory nature.

 Blank results are summarized in Section III.

 Field duplicates are summarized in Section VII.

 The following are definitions of the data qualifiers:

 U       Indicates the compound or element was analyzed for but not detected at or above
        the stated limit.

J       Indicates an estimated value.

 R      Quality control indicates the data is not usable.

 N      Presumptive evidence of presence of the constituent.

 UJ     Indicates the compound or element was analyzed for but not detected. The
        sample detection limit is an estimated value.




                                          Exhibit 39
                                            5311
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 281 of 730 Page ID
                                  #:5355

 I. Technical Holding Times

All technical holding time requirements were met.

 II. Calibration

a. Initial Calibration

All criteria for the initial calibration of each method were met.

 b. Calibration Verification

Calibration verification frequency and analysis criteria were met for each method when
applicable.

III. Blanks

Method blanks were reviewed for each method as applicable. No sulfate contaminants
were found in the method blanks.

No field blanks were identified in this SDG.

IV. Accuracy and Precision Data

a. Surrogate Recovery

Not applicable to these methods.

b. Matrix Spike/(Matrix Spike) Duplicates

Matrix spike and duplicate samples were reviewed for each matrix as applicable. Percent
recoveries (%R) and relative percent differences (RPD) were within validation criteria.

c. Laboratory Control Samples

Laboratory control samples were reviewed for each matrix as applicable. Percent
recoveries were within QC limits.

V. Sample Result Verification

A ten percent check of the calculations was performed. All compound quantitation and
CRDLs were within validation criteria.

VI. Overall Assessment of Data

Data flags are summarized at the end of this report.




                                         Exhibit 39
                                           5312
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 282 of 730 Page ID
                                  #:5356

  VII. Field Duplicates

  No field duplicates were identified in this SDG.




                                        Exhibit 39
                                          5313
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 283 of 730 Page ID
                                  #:5357


McColl Superfund Site, 4th Quarter 1995
Sulfate & pH - Data Qualification Summary - SDG L2198**

                  No Data Qualified in this SDG.
McColl Superfund Site, 4th Quarter 1995
Sulfate & pH - Laboratory Blank Data Qualification Summary - SDG L2198**

      No Laboratory Blank Data Qualified in this SDG.
McColl Superfund Site, 4th Quarter 1995
Sulfate & pH - Field Blank Data Qualification Summary - SDG L2198**

          No Field Blank Data Qualified in this SDG.




                                   Exhibit 39
                                     5314
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 284 of 730 Page ID
                                  #:5358

                                                          LDC Report* 1582B6

                       Laboratory Data Consultants, Inc.
                            Data Validation Report

  Project/Site Name:             McColl Superfund Site
                                 4th Quarter 1995

  Collection Date:               July 7, 1995

  LDC Report Date:               September 14, 1995

  Matrix:                        Water

  Parameters:                    Sulfate & pH

  Laboratory:                    Thermo Analytical

  Sample Delivery Group (SDG): L2202**

 Sample Identification
  P-10L-H2
  P-10L-H2MS
  P-10L-H2MSD
  P-10L-H2DUP




 ** Indicates SDG underwent EPA Level IV review.



                                     Exhibit 39
                                       5315
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 285 of 730 Page ID
                                  #:5359



                                       Introduction

This data review covers 4 water samples listed on the cover sheet. The analyses were
per EPA Method 150.1 for pH and EPA Method 300.0 for Sulfate.

The review follows a modified outline of the USEPA Contract Laboratory Program
National Functional Guidelines for Inorganic Data Review (February 1994) as there are
no current guidelines for the methods stated above.

A table summarizing all data qualification is provided at the end of this report. Flags
are classified as P (protocol) or A (advisory) to indicate whether the flag is due to a
laboratory deviation from a specified protocol or is of technical advisory nature.

Blank results are summarized in Section III.

Field duplicates are summarized in Section VII.

The following are definitions of the data qualifiers:

U       Indicates the compound or element was analyzed for but not detected at or above
       the stated limit.

J      Indicates an estimated value.

R      Quality control indicates the data is not usable.

N      Presumptive evidence of presence of the constituent.

UJ     Indicates the compound or element was analyzed for but not detected. The
       sample detection limit is an estimated value.




                                          Exhibit 39
                                            5316
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 286 of 730 Page ID
                                  #:5360

  I. Technical Holding Times

  All technical holding time requirements were met.

  II. Calibration

 a. initial Calibration

 All criteria for the initial calibration of each method were met.

 b. Calibration Verification

 Calibration verification frequency and analysis criteria were met for each method when
 applicable.

 III. Blanks

 Method blanks were reviewed for each method as applicable. No sulfate contaminants
 were found in the method blanks.

 No field blanks were identified in this SDG.

 IV. Accuracy and Precision Data

 a. Surrogate Recovery

 Not applicable to these methods.

 b. Matrix Spike/(Matrix Spike) Duplicates

 Matrix spike and duplicate samples were reviewed for each matrix as applicable. Percent
 recoveries (%R) and relative percent differences (RPD) were within validation criteria.

 c. Laboratory Control Samples

 Laboratory control samples were reviewed for each matrix as applicable. Percent
 recoveries were within QC limits.

 V. Sample Result Verification

 A ten percent check of the calculations was performed. All compound quantitation and
 CRDLs were within validation criteria.

 VI. Overall Assessment of Data

 Data flags are summarized at the end of this report.




                                         Exhibit 39
                                           5317
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 287 of 730 Page ID
                                  #:5361


VII. Field Duplicates

No field duplicates were identified in this SDG.




                                          Exhibit 39
                                            5318
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 288 of 730 Page ID
                                  #:5362

  McColl Superfund Site, 4th Quarter 1995
  Sulfate & pH - Data Qualification Summary - SDG L2202**

                    No Data Qualified in this SDG.
 McColl Superfund Site, 4th Quarter 1995
 Sulfate & pH - Laboratory Blank Data Qualification Summary - SDG L2202**

        No Laboratory Blank Data Qualified in this SDG.
 McColl Superfund Site, 4th Quarter 1995
 Sulfate & pH - Field Blank Data Qualification Summary - SDG L2202**

            No Field Blank Data Qualified in this SDG.




                                   Exhibit 39
                                     5319
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 289 of 730 Page ID
                                  #:5363

                                                        LDC Report# 1582D6

                     Laboratory Data Consultants, Inc.
                          Data Validation Report

Project/Site Name:             McColl Superfund Site
                               4th Quarter 1995

Collection Date:               July 11, 1995

LDC Report Date:               September 14, 1995

Matrix:                        Water

Parameters:                    Sulfate & pH

Laboratory:                    Thermo Analytical

Sample Delivery Group (SDG): L2213**

Sample Identification
 P-10L-H3
 P-10L-H3MS
 P-10L-H3MSD
 P-10L-H3DUP




** Indicates SDG underwent EPA Level IV review.


                                       Exhibit 39
                                         5320
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 290 of 730 Page ID
                                  #:5364


                                         Introduction

 This data review covers 4 water samples listed on the cover sheet. The analyses were
 per EPA Method 150.1 for pH and EPA Method 300.0 for Sulfate.

 The review follows a modified outline of the USEPA Contract Laboratory Program
 National Functional Guidelines for Inorganic Data Review (February 1994) as there are
 no current guidelines for the methods stated above.

 A table summarizing all data qualification is provided at the end of this report. Flags
 are classified as P (protocol) or A (advisory) to indicate whether the flag is due to a
 laboratory deviation from a specified protocol or is of technical advisory nature.

 Blank results are summarized in Section III.

 Field duplicates are summarized in Section VII.

 The following are definitions of the data qualifiers;-

 U       Indicates the compound or element was analyzed for but not detected at or above
        the stated limit.

 J      Indicates an estimated value.

 R      Quality control indicates the data is not usable.

 N      Presumptive evidence of presence of the constituent.

 UJ    Indicates the compound or element was analyzed for but not detected. The
       sample detection limit is an estimated value.




                                          Exhibit 39
                                            5321
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 291 of 730 Page ID
                                  #:5365

 I. Technical Holding Times

All technical holding time requirements were met.

II. Calibration

a. Initial Calibration

All criteria for the initial calibration of each method were met.

b. Calibration Verification

Calibration verification frequency and analysis criteria were met for each method when
applicable.

III. Blanks

Method blanks were reviewed for each method as applicable. No sulfate contaminants
were found in the method blanks.

No field blanks were identified in this SDG.

IV. Accuracy and Precision Data

a. Surrogate Recovery

Not applicable to these methods.

b. Matrix Spike/(Matrix Spike) Duplicates

Matrix spike and duplicate samples were reviewed for each matrix as applicable. Percent
recoveries (%R) and relative percent differences (RPD) were within validation criteria.

c. Laboratory Control Samples

Laboratory control samples were reviewed for each matrix as applicable. Percent
recoveries were within QC limits.

V. Sample Result Verification

A ten percent check of the calculations was performed. All compound quantitation and
CRDLs were within validation criteria.

VI. Overall Assessment of Data

Data flags are summarized at the end of this report.




                                          Exhibit 39
                                            5322
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 292 of 730 Page ID
                                  #:5366

  VII. Field Duplicates

  No field duplicates were identified in this SDG.




                                        Exhibit 39
                                          5323
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 293 of 730 Page ID
                                  #:5367

McColl Superfund Site, 4th Quarter 1995
Sulfate & pH - Data Qualification Summary - SDG L2213**

                  No Data Qualified in this SDG.
McColl Superfund Site, 4th Quarter 1995
Sulfate & pH - Laboratory Blank Data Qualification Summary - SDG L2213**

      No Laboratory Blank Data Qualified in this SDG.
McColl Superfund Site, 4th Quarter 1995
Sulfate & pH - Field Blank Data Qualification Summary - SDG L2213**

          No Field Blank Data Qualified in this SDG.




                                    Exhibit 39
                                      5324
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 294 of 730 Page ID
                                  #:5368

                                                          LDC Report* 158206

                     Laboratory Data Consultants, Inc.
                          Data Validation Report

  Project/Site Name:           McColl Superfund Site
                               4th Quarter 1995

  Collection Date:             June 28, 1995

  LDC Report Date:             September 15, 1995

  Matrix:                      Soil

  Parameters:                  Sulfate & pH

  Laboratory:                  Thermo Analytical

  Sample Delivery Group (SDG): L2176

  Sample Identification
  P-10L3
  P-10L3DUP




                                      Exhibit 39
                                        5325
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 295 of 730 Page ID
                                  #:5369



                                       Introduction
This data review covers 2 soil samples listed on the cover sheet. The analyses were
per EPA Method 150.1 for pH and EPA Method 300.0 for Sulfate.

The review follows a modified outline of the USEPA Contract Laboratory Program
National Functional Guidelines for Inorganic Data Review (February 1994) as there are
no current guidelines for the methods stated above.

A table summarizing all data qualification is provided at the end of this report. Flags
are classified as P (protocol) or A (advisory) to indicate whether the flag is due to a
laboratory deviation from a specified protocol or is of technical advisory nature.

Blank results are summarized in Section ill.

Field duplicates are summarized in Section VII.

Raw data were not checked for this SDG. The review was based on QC data.

The following are definitions of the data qualifiers:

U       Indicates the compound or element was analyzed for but not detected at or above
       the stated limit.

J      Indicates an estimated value.

R      Quality control indicates the data is not usable.

N      Presumptive evidence of presence of the constituent.

UJ     Indicates the compound or element was analyzed for but not detected. The
       sample detection limit is an estimated value.




                                          Exhibit 39
                                            5326
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 296 of 730 Page ID
                                  #:5370

 I. Technical Holding Times

 All technical holding time requirements were met.

 II. Calibration

 a. Initial Calibration

 All criteria for the initial calibration of each method were met.

 b. Calibration Verification

 Calibration verification frequency and analysis criteria were met for each method when
 applicable.

 III. Blanks

 Method blanks were reviewed for each method as applicable. No sulfate contaminants
 were found in the method blanks.

 No field blanks were identified in this SDG.

 IV. Accuracy and Precision Data

 a. Surrogate Recovery

 Not applicable to these methods.

 b. Matrix Spike/(Matrix Spike) Duplicates

 The laboratory has indicated that there were no matrix spike analyses specified for the
 samples in this SDG and therefore matrix spike analyses were not performed for this
 SDG.

 Duplicate samples were reviewed for each matrix as applicable. Relative percent
 differences (RPD) were within validation criteria.

 c. Laboratory Control Samples

 Laboratory control samples were reviewed for each matrix as applicable. Percent
 recoveries were within QC limits.

 V. Sample Result Verification

 Raw data were not checked for this SDG.




                                          Exhibit 39
                                            5327
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 297 of 730 Page ID
                                  #:5371


VI. Overall Assessment of Data

Data fla9s   are
                   summarized at the end of this report.

VII. Field Duplicates

No field duplicates were identified in this SDG.




                                            Exhibit 39
                                              5328
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 298 of 730 Page ID
                                  #:5372



 McColl Superfund Site, 4th Quarter 1995
 Sulfate & pH - Data Qualification Summary - SDG L2176

                   No Data Qualified in this SDG.
 McColl Superfund Site, 4th Quarter 1995
 Sulfate & pH - Laboratory Blank Data Qualification Summary - SDG L2176

       No Laboratory Blank Data Qualified in this SDG.
 McColl Superfund Site, 4th Quarter 1995
 Sulfate & pH - Field Blank Data Qualification Summary - SDG L2176

           No Field Blank Data Qualified in this SDG.




                                   Exhibit 39
                                     5329
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 299 of 730 Page ID
                                  #:5373


                                                        LDC Report* 1582P6

                     Laboratory Data Consultants, Inc.
                          Data Validation Report

Project/Site Name:            McColl Superfund Site
                              4th Quarter 1995

Collection Date:              June 29, 1995

LDC Report Date:              September 14, 1995

Matrix:                       Water

Parameters:                   Sulfate & pH

Laboratory:                   Thermo Analytical

Sample Delivery Group (SDG): L2182

Sample Identification
P-10L218
P-10L218DUP




                                      Exhibit 39
                                        5330
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 300 of 730 Page ID
                                  #:5374


                                        Introduction

 This data review covers 2 water samples listed on the cover sheet. The analyses were
 per EPA Method 150.1 for pH and EPA Method 300.0 for Sulfate.

 The review follows a modified outline of the USEPA Contract Laboratory Program
 National Functional Guidelines for Inorganic Data Review (February 1994) as there are
 no current guidelines for the methods stated above.

 A table summarizing all data qualification is provided at the end of this report. Flags
 are classified as P (protocol) or A (advisory) to indicate whether the flag is due to a
 laboratory deviation from a specified protocol or is of technical advisory nature.

 Blank results are summarized in Section III.

 Field duplicates are summarized in Section VII.

 Raw data were not checked for this SDG. The review was based on QC data.

 The following are definitions of the data qualifiers:

 U      Indicates the compound or element was analyzed for but not detected at or above
       the stated limit.

 J      Indicates an estimated value.

 R      Quality control indicates the data is not usable.

 N      Presumptive evidence of presence of the constituent.

 UJ    Indicates the compound or element was analyzed for but not detected. The
       sample detection limit is an estimated value.




                                          Exhibit 39
                                            5331
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 301 of 730 Page ID
                                  #:5375


I. Technical Holding Times

All technical holding time requirements were met.

II. Calibration

a. Initial Calibration

All criteria for the initial calibration of each method were met.

b. Calibration Verification

'Calibration verification frequency and analysis criteria were met for each method when
 applicable.

III. Blanks

Method blanks were reviewed for each method as applicable. No sulfate contaminants
were found in the method blanks.

No field blanks were identified in this SDG.

IV. Accuracy and Precision Data

a. Surrogate Recovery

Not applicable to these methods.

b. Matrix Spike/(Matrix Spike) Duplicates

The laboratory has indicated that there were no matrix spike analyses specified for the
samples in this SDG and therefore matrix spike analyses were not performed for this
SDG.

Duplicate samples were reviewed for each matrix as applicable. Relative percent
differences (RPD) were within validation criteria.

c. Laboratory Control Samples

Laboratory control samples were reviewed for each matrix as applicable. Percent
recoveries were within QC limits.

V. Sample Result Verification

Raw data were not checked for this SDG.




                                           Exhibit 39
                                             5332
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 302 of 730 Page ID
                                  #:5376

  VI. Overall Assessment of Data

  Data flags are summarized at the end of this report.

 VII. Field Duplicates

 No field duplicates were identified in this SDG.




                                        Exhibit 39
                                          5333
            Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 303 of 730 Page ID
                                              #:5377


            McColl Superfund Site, 4th Quarter 1995
            Sulfate & pH - Data Qualification Summary - SDG L2182
\   j   i            -                    --   -ITTOfJ- -



                               No Data Qualified in this SDG.
            McColl Superfund Site, 4th Quarter 1995
            Sulfate & pH - Laboratory Blank Data Qualification Summary - SDG L2182

                  No Laboratory Blank Data Qualified in this SDG.
            McColl Superfund Site, 4th Quarter 1995
            Sulfate & pH - Field Blank Data Qualification Summary - SDG L2182

                         No Field Blank Data Qualified in this SDG.




                                                     Exhibit 39
                                                       5334
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 304 of 730 Page ID
                                  #:5378

                                                        LDC Report* 1582A15

                    Laboratory Data Consultants, Inc.
                         Data Validation Report

 Project/Site Name:             McColl Superfund Site
                                4th Quarter 1995

 Collection Date:               July 6, 1995

 LDC Report Date:               September 19, 1995

 Matrix:                        Water

 Parameters:                    Total Organic Carbon

 Laboratory:                    Core Laboratories

 Sample Delivery Group (SDG): L2198**

 Sample Identification
  P-10L-H1
  P-10L-H1S




** Indicates SDG underwent EPA Level IV review.



                                     Exhibit 39
                                       5335
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 305 of 730 Page ID
                                  #:5379



                                       Introduction

This data review covers 2 water samples listed on the cover sheet. The analyses were
per EPA Method 415.1 for Total Organic Carbon.

The review follows a modified outline of the USEPA Contract Laboratory Program
National Functional Guidelines for Inorganic Data Review (February 1994) as there are
no current guidelines for the methods stated above.

A table summarizing all data qualification is provided at the end of this report. Flags
are classified as P (protocol) or A (advisory) to indicate whether the flag is due to a
laboratory deviation from a specified protocol or is of technical advisory nature.

Blank results are summarized in Section III.

Field duplicates are summarized in Section VII.

The following are definitions of the data qualifiers:

U       Indicates the compound or element was analyzed for but not detected at or above
       the stated limit.

J      Indicates an estimated value.

R      Quality control indicates the data is not usable.

N      Presumptive evidence of presence of the constituent.

UJ     Indicates the compound or element was analyzed for but not detected. The
       sample detection limit is an estimated value.




                                          Exhibit 39
                                            5336
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 306 of 730 Page ID
                                  #:5380

 I. Technical Holding Times

All technical holding time requirements were met.

II. Calibration

a. Initial Calibration

All criteria for the initial calibration were met.

b. Calibration Verification

A continuing calibration verification (CCV) analysis was performed.      The criteria for
analysis were met.

III. Blanks

Method blanks were reviewed for each matrix as applicable. No total organic carbon
contaminants were found in the method blanks.

No field blanks were identified in this SDG.

IV. Accuracy and Precision Data

a. Surrogate Recovery

Not applicable to this method.

b. Matrix Spike/(Matrix Spike) Duplicates

The laboratory has indicated that there were no duplicate sample analyses specified for
the samples in this SDG, and therefore duplicate sample analyses were not performed
for this SDG.

Matrix spike samples were reviewed for each matrix as applicable. Percent recoveries
(%R) were within validation criteria.

c. Laboratory Control Samples

Laboratory control samples were reviewed for each matrix as applicable. Percent
recoveries were within QC limits.

V. Sample Result Verification

A ten percent check of the calculations was performed. All sample result verification and
CRDLs were within validation criteria.




                                            Exhibit 39
                                              5337
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 307 of 730 Page ID
                                  #:5381


All analyte detection limits were reported as per the SOW with the following exceptions:


           Sample                    Analyte                      Finding                             Criteria

  All samples in SDG L2198.   Total organic carbon   Detection limit reported at 1 0   Detection limit should be reported at
                                                     mg/L                              0.5 ug/L per the SOW.



VI. Overall Assessment of Data

Data flags are summarized at the end of this report.

VII. Field Duplicates

No field duplicates were identified in this SDG.




                                                     Exhibit 39
                                                       5338
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 308 of 730 Page ID
                                  #:5382

  McColl Superfund Site, 4th Quarter 1995
  Total Organic Carbon - Data Qualification Summary - SDG L2198**

                  ~ No Data Qualified in this SDG.
  McColl Superfund Site, 4th Quarter 1995
  Total Organic Carbon - Laboratory Blank Data Qualification Summary -
  SDG L2198**

        No Laboratory Blank Data Qualified in this SDG.
  McColl Superfund Site, 4th Quarter 1995
  Total Organic Carbon - Field Blank Data Qualification Summary -
  SDG L2198**

            No Field Blank Data Qualified in this SDG.




                                    Exhibit 39
                                      5339
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 309 of 730 Page ID
                                  #:5383


                                                       LDC Report* 1582B15

                   Laboratory Data Consultants, Inc.
                        Data Validation Report

Project/Site Name:             McColl Superfund Site
                               4th Quarter 1995

Collection Date:               July 7, 1995

LDC Report Date:               September 18, 1995

Matrix:                        Water

Parameters:                    Total Organic Carbon

Laboratory:                    Core Laboratories

Sample Delivery Group (SDG): L2202**

Sample Identification
 P-10L-H2
 P-10L-H2DUP




** Indicates SDG underwent EPA Level IV review.


                                       Exhibit 39
                                         5340
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 310 of 730 Page ID
                                  #:5384


                                        Introduction

  This data review covers 2 water samples listed on the cover sheet. The analyses were
  per EPA Method 415.1 for Total Organic Carbon.

  The review follows a modified outline of the USEPA Contract Laboratory Program
  National Functional Guidelines for Inorganic Data Review (February 1994) as there are
  no current guidelines for the methods stated above.

 A table summarizing all data qualification is provided at the end of this report. Flags
 are classified as P (protocol) or A (advisory) to indicate whether the flag is due to a
 laboratory deviation from a specified protocol or is of technical advisory nature.

  Blank results are summarized in Section III.

 Field duplicates are summarized in Section VII.

 The following are definitions of the data qualifiers:

 U      Indicates the compound or element was analyzed for but not detected at or above
        the stated limit.

 J      Indicates an estimated value.

 R      Quality control indicates the data is not usable.

 N      Presumptive evidence of presence of the constituent.

 UJ     Indicates the compound or element was analyzed for but not detected. The
        sample detection limit is an estimated value.




                                         Exhibit 39
                                           5341
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 311 of 730 Page ID
                                  #:5385


I. Technical Holding Times

All technical holding time requirements were met.

II. Calibration

a. Initial Calibration

All criteria for the initial calibration were met.

b. Calibration Verification

A continuing calibration verification (CCV) analysis was performed. The criteria for
analysis were met.

III. Blanks

Method blanks were reviewed for each matrix as applicable. No total organic carbon
contaminants were found in the method blanks.

No field blanks were identified in this SDG.

IV. Accuracy and Precision Data

a. Surrogate Recovery

Not applicable to this method.

b. Matrix Spike/(Matrix Spike) Duplicates

The laboratory has indicated that there were no matrix spike analyses specified for the
samples in this SDG and therefore matrix spike analyses were not performed for this
SDG.

Duplicate sample analyses were reviewed for each matrix as applicable. Relative percent
differences (RPD) were within validation criteria.

c. Laboratory Control Samples

Laboratory control samples were reviewed for each matrix as applicable. Percent
recoveries were within QC limits.

V. Sample Result Verification

A ten percent check of the calculations was performed. All sample result verification and
CRDLs were within validation criteria.



                                             Exhibit 39
                                               5342
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 312 of 730 Page ID
                                  #:5386

 All analyte detection limits were reported as per the SOW with the following exceptions:


          Sample                    Analyte                      Finding                             Criteria

  All samples in SDG u£o2.   Total organic carbon   Detection limit reported at 1 0   Detection limit should be reported at
                                                    mg/L                              0.5 ufl/L per the SOW.



 VI. Overall Assessment of Data

 Data flags are summarized at the end of this report.

 VII. Field Duplicates

 No field duplicates were identified in this SDG.




                                                    Exhibit 39
                                                      5343
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 313 of 730 Page ID
                                  #:5387


McColl Superfund Site, 4th Quarter 1995
Total Organic Carbon - Data Qualification Summary - SDG L2202**

                   No Data Qualified in this SDG.
McColl Superfund Site, 4th Quarter 1995
Total Organic Carbon - Laboratory Blank Data Qualification Summary -
SDG L2202**

      No Laboratory Blank Data Qualified in this SDG.
McColl Superfund Site, 4th Quarter 1995
Total Organic Carbon - Field Blank Data Qualification Summary -
SDG L2202**

          No Field Blank Data Qualified in this SDG.




                                     Exhibit 39
                                       5344
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 314 of 730 Page ID
                                  #:5388

                                                        LDC Report* 1582D15

                      Laboratory Data Consultants, Inc.
                           Data Validation Report

 Project/Site Name:             McColl Superfund Site
                                4th Quarter 1995

 Collection Date:               July 11, 1995

 LDC Report Date:               September 14, 1995

 Matrix:                        Water

Parameters:                     Total Organic Carbon

 Laboratory:                    Thermo Analytical

Sample Delivery Group (SDG): L2213**

Sample Identification
 P-10L-H3
 P-10L-H3MS
 P-10L-H3DUP




** Indicates SDG underwent EPA Level IV review.



                                     Exhibit 39
                                       5345
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 315 of 730 Page ID
                                  #:5389



                                       Introduction

This data review covers 3 water samples listed on the cover sheet. The analyses were
per EPA Method 415.1 for Total Organic Carbon.

The review follows a modified outline of the USEPA Contract Laboratory Program
National Functional Guidelines for Inorganic Data Review (February 1994) as there are
no current guidelines for the methods stated above.

A table summarizing all data qualification is provided at the end of this report. Flags
are classified as P (protocol) or A (advisory) to indicate whether the flag is due to a
laboratory deviation from a specified protocol or is of technical advisory nature.

Blank results are summarized in Section III.

Field duplicates are summarized in Section VII.

The following are definitions of the data qualifiers:

U       Indicates the compound or element was analyzed for but not detected at or above
       the stated limit.

J      Indicates an estimated value.

R      Quality control indicates the data is not usable.

N      Presumptive evidence of presence of the constituent.

UJ     Indicates the compound or element was analyzed for but not detected. The
       sample detection limit is an estimated value.




                                          Exhibit 39
                                            5346
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 316 of 730 Page ID
                                  #:5390

 I. Technical Holding Times

 All technical holding time requirements were met.

 II. Calibration

 a. Initial Calibration

 All criteria for the initial calibration were met.

 b. Calibration Verification

 A continuing calibration verification (CCV) analysis was performed.     The criteria for
 analysis were met.

 III. Blanks

 Method blanks were reviewed for each matrix as applicable. No total organic carbon
 contaminants were found in the method blanks.

 No field blanks were identified in this SDG.

 IV. Accuracy and Precision Data

 a. Surrogate Recovery

 Not applicable to this method.

 b. Matrix Spike/(Matrix Spike) Duplicates

 Matrix spike and duplicate samples were reviewed for each matrix as applicable. Percent
 recoveries (%R) and relative percent differences (RPD) were within validation criteria.

 c. Laboratory Control Samples

 Laboratory control samples are not required and were not performed.

V. Sample Result Verification

A ten percent check of the calculations was performed. All compound quantitation and
CRDLs were within validation criteria.

VI. Overall Assessment of Data

Data flags are summarized at the end of this report.




                                            Exhibit 39
                                              5347
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 317 of 730 Page ID
                                  #:5391


VII. Field Duplicates

No field duplicates were identified in this SDG.




                                         Exhibit 39
                                           5348
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 318 of 730 Page ID
                                  #:5392

 McColl Superfund Site, 4th Quarter 1995
 Total Organic Carbon - Data Qualification Summary - SDG L2213**

                    No Data Qualified in this SDG.
 McColl Superfund Site, 4th Quarter 1995
 Total Organic Carbon - Laboratory Blank Data Qualification Summary -
 SDG L2213**

       No Laboratory Blank Data Qualified in this SDG.
 McColl Superfund Site, 4th Quarter 1995
 Total Organic Carbon - Field Blank Data Qualification Summary -
 SDG L2213**

           No Field Blank Data Qualified in this SDG.




                                    Exhibit 39
                                      5349
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 319 of 730 Page ID
                                  #:5393

                                                      LDC Report* 1582O15

                     Laboratory Data Consultants, Inc.
                          Data Validation Report

Project/Site Name:            McColl Superfund Site
                              4th Quarter 1995

Collection Date:              June 28, 1995

LDC Report Date:              September 15, 1995

Matrix:                       Water

Parameters:                   Total Organic Carbon

Laboratory:                   Core Laboratories

Sample Delivery Group (SDG): L2176

Sample Identification
 P-10L3




                                      Exhibit 39
                                        5350
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 320 of 730 Page ID
                                  #:5394


                                         Introduction

  This data review covers one water sample listed on the cover sheet. The analyses
  were per EPA Method 415.1 for Total Organic Carbon.

  The review follows a modified outline of the USEPA Contract Laboratory Program
  National Functional Guidelines for Inorganic Data Review (February 1994) as there are
  no current guidelines for the methods stated above.

  A table summarizing all data qualification is provided at the end of this report. Flags
  are classified as P (protocol) or A (advisory) to indicate whether the flag is due to a
  laboratory deviation from a specified protocol or is of technical advisory nature.

  Blank results are summarized in Section III.

  Field duplicates are summarized in Section VII.

  Raw data were not checked for this SDG. The review was based on QC data.

  The following are definitions of the data qualifiers:

  U       Indicates the compound or element was analyzed for but not detected at or above
         the stated limit.

  J      Indicates an estimated value.

  R      Quality control indicates the data is not usable.

  N      Presumptive evidence of presence of the constituent.

  UJ    Indicates the compound or element was analyzed for but not detected. The
        sample detection limit is an estimated value.




                                          Exhibit 39
                                            5351
 Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 321 of 730 Page ID
                                   #:5395


I. Technical Holding Times

All technical holding time requirements were met.

II. Calibration

a. Initial Calibration

All criteria for the initial calibration were met.

b. Calibration Verification

A continuing calibration verification (CCV) analysjs was performed.     The criteria for
analysis were met.

III. Blanks

Method blanks were reviewed for each matrix as applicable. No total organic carbon
contaminants were found in the method blanks.

No field blanks were identified in this SDG.

IV. Accuracy and Precision Data

a. Surrogate Recovery

Not applicable to this method.

b. Matrix Spike/(Matrix Spike) Duplicates

The laboratory has indicated that there were no matrix spike and duplicate analyses
specified for the samples in this SDG, and therefore matrix spike and duplicate analyses
were not performed for this SDG.

c. Laboratory Control Samples

Laboratory control samples were reviewed for each matrix as applicable. Percent
recoveries were within QC limits.

V. Sample Result Verification

Raw data were not checked for this SDG.

VI. Overall Assessment of Data

Data flags are summarized at the end of this report.



                                              Exhibit 39
                                                5352
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 322 of 730 Page ID
                                  #:5396

 VII. Field Duplicates

 No field duplicates were identified in this SDG.




                                        Exhibit 39
                                          5353
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 323 of 730 Page ID
                                  #:5397

 McColl Superfund Site, 4th Quarter 1995
 Total Organic Carbon - Data Qualification Summary - SDG L2176

                   No Data Qualified in this SDG.
 McColl Superfund Site, 4th Quarter 1995
 Total Organic Carbon - Laboratory Blank Data Qualification Summary -
 SDG L2176

       No Laboratory Blank Data Qualified in this SDG.
McColl Superfund Site, 4th Quarter 1995
Total Organic Carbon - Field Blank Data Qualification Summary -
SDG L2176

           No Field Blank Data Qualified in this SDG.




                                    Exhibit 39
                                      5354
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 324 of 730 Page ID
                                  #:5398

                                                        LDC Report* 1582P15

                      Laboratory Data Consultants, Inc.
                           Data Validation Report

 Project/Site Name:            McColl Superfund Site
                               4th Quarter 1995

 Collection Date:              June 29, 1995

 LDC Report Date:              September 15, 1995

 Matrix:                       Soil/Water

 Parameters:                   Total Organic Carbon

 Laboratory:                   Core Laboratories

 Sample Delivery Group (SDG): L2182

 Sample Identification
  P-10L218
  P-10L4




                                    Exhibit 39
                                      5355
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 325 of 730 Page ID
                                  #:5399



                                       Introduction

This data review covers one soil sample and one water sample listed on the cover
sheet. The analyses were per EPA Method 415.1 for Total Organic Carbon.

The review follows a modified outline of the USEPA Contract Laboratory Program
National Functional Guidelines for Inorganic Data Review (February 1994) as there are
no current guidelines for the methods stated above.

A table summarizing all data qualification is provided at the end of this report. Flags
are classified as P (protocol) or A (advisory) to indicate whether the flag is due to a
laboratory deviation from a specified protocol or is of technical advisory nature.

Blank results are summarized in Section III.

Field duplicates are summarized in Section VII.

Raw data were not checked for this SDG. The review was based on QC data.

The following are definitions of the data qualifiers:

U       Indicates the compound or element was analyzed for but not detected at or above
       the stated limit.

J      Indicates an estimated value.

R      Quality control indicates the data is not usable.

N      Presumptive evidence of presence of the constituent.

UJ     Indicates the compound or element was analyzed for but not detected. The
       sample detection limit is an estimated value.




                                           Exhibit 39
                                             5356
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 326 of 730 Page ID
                                  #:5400

  I. Technical Holding Times

  All technical holding time requirements were met.

  II. Calibration

 a. Initial Calibration

 All criteria for the initial calibration were met.

  b. Calibration Verification

 A continuing calibration verification (CCV) analysis was performed. The criteria for
 analysis were met.

 III. Blanks

 Method blanks were reviewed for each matrix as applicable. No total organic carbon
 contaminants were found in the method blanks.

 No field blanks were identified in this SDG.

 IV. Accuracy and Precision Data

 a. Surrogate Recovery

 Not applicable to this method.

 b. Matrix Spike/(Matrix Spike) Duplicates

 The laboratory has indicated that there were no matrix spike and duplicate analyses
 specified for the samples in this SDG, and therefore matrix spike and duplicate analyses
 were not performed for this SDG.

 c. Laboratory Control Samples

 Laboratory control samples were reviewed for each matrix as applicable. Percent
 recoveries were within QC limits.

 V. Sample Result Verification

 Raw data were not checked for this SDG.

 VI. Overall Assessment of Data

 Data flags are summarized at the end of this report.




                                            Exhibit 39
                                              5357
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 327 of 730 Page ID
                                  #:5401


VII. Field Duplicates

No field duplicates were identified in this SDG.




                                        Exhibit 39
                                          5358
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 328 of 730 Page ID
                                  #:5402

  McColl Superfund Site, 4th Quarter 1995
  Total Organic Carbon - Data Qualification Summary - SDG L2182

                    No Data Qualified in this SDG.
  McColl Superfund Site, 4th Quarter 1995
  Total Organic Carbon - Laboratory Blank Data Qualification Summary -
  SDG L2182

        No Laboratory Blank Data Qualified in this SDG.
 McColl Superfund Site, 4th Quarter 1995
 Total Organic Carbon - Field Blank Data Qualification Summary -
 SDG L2182

            No Field Blank Data Qualified in this SDG.




                                    Exhibit 39
                                      5359
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 329 of 730 Page ID
                                  #:5403


                                                        LDC Report* 1582O7

                   Laboratory Data Consultants, Inc.
                        Data Validation Report

Project/Site Name:          McColl Superfund Site
                            4th Quarter 1995

Collection Date:            June 28, 1995

LDC Report Date:            September 14, 1995

Matrix:                     Soil

Parameters:                 Total Petroleum Hydrocarbons as Gasoline

Laboratory:                 Thermo Analytical

Sample Delivery Group (SDG): L2176

Sample Identification
 P-10L3




                                     Exhibit 39
                                       5360
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 330 of 730 Page ID
                                  #:5404


                                        Introduction

 This data review covers one soil sample listed on the cover sheet including dilutions
 and reanalysis as applicable. The analyses were per EPA SW 846 Method 8015
 modified for Total Petroleum Hydrocarbons (TPH) as gasoline.

 This review follows a modified outline of the USEPA Contract Laboratory Program
 National Functional Guidelines for Organic Data Review (February 1994) as there are
 no current guidelines for EPA SW 846 Method 8015 modified for Total Petroleum
 Hydrocarbons (TPH) as gasoline. The modifications were based on EPA SW 846
 Method 8015 modified.

 A table summarizing all data qualification is provided at the end of this report. Flags
 are classified as P (protocol) or A (advisory) to indicate whether the flag is due to a
 laboratory deviation from a specified protocol or is of technical advisory nature.

 Blank results are summarized in Section III.

 Field duplicates are summarized in Section IX.

 Raw data were not checked for this SDG. The review was based on QC data.

 The following are definitions of the data qualifiers:

 U       Indicates the compound or element was analyzed for but not detected at or above
        the stated limit.

 J      Indicates an estimated value.

 R      Quality control indicates the data is not usable.

 N      Presumptive evidence of presence of the constituent.

 UJ    Indicates the compound or element was analyzed for but not detected. The
       sample detection limit is an estimated value.




                                          Exhibit 39
                                            5361
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 331 of 730 Page ID
                                  #:5405


I. Technical Holding Times

All technical holding time requirements were met.

II. Calibration

a. Initial Calibration

Initial calibration of analytes was performed as required by the method.

The percent relative standard deviations (%RSD) of calibration factors for analytes were
less than 20.0%.

b. Calibration Verification

Calibration verification was performed at required frequencies. The percent differences
(%D) of amounts in continuing standard mixtures were within the 15.0% QC limits.

III. Blanks

Method blanks were reviewed for each matrix as applicable. No total petroleum
hydrocarbons as gasoline contaminants were found in the method blanks.

No field blanks were identified in this SDG.

IV. Accuracy and Precision Data

a. Surrogate Recovery

Although surrogates were not required by the method, surrogate analysis was performed
by the laboratory. Surrogate recoveries were within QC limits.

b. Matrix Spike/Matrix Spike Duplicates

The laboratory has indicated that there were no matrix spike (MS) and matrix spike
duplicate (MSD) analyses specified for the samples in this SDG, and therefore matrix
spike and matrix spike duplicate analyses were not performed for this SDG.

c. Laboratory Control Samples

Laboratory control samples were reviewed for each matrix as applicable. Percent
recoveries (%R) and relative percent differences (RPD) were within validation criteria.

V. Target Compound Identification

Raw data were not checked for this SDG.



                                        Exhibit 39
                                          5362
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 332 of 730 Page ID
                                  #:5406

  VI. Compound Quantitation and CRQLs

  Raw data were not checked for this SDG.

 VII. System Performance

 Raw data were not checked for this SDG.

 VIII. Overall Assessment of Data

 Data flags have been summarized at the end of this report.

 IX. Field Duplicates

 No field duplicates were identified in this SDG.




                                        Exhibit 39
                                          5363
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 333 of 730 Page ID
                                  #:5407


McColl Superfund Site, 4th Quarter 1995
Total Petroleum Hydrocarbons as Gasoline - Data Qualification Summary - SDG
L2176

                  No Data Qualified in this SDG.
McColl Superfund Site, 4th Quarter 1995
Total Petroleum Hydrocarbons as Gasoline - Laboratory Blank Data Qualification
Summary - SDG L2176

        No Laboratory Blank Data Qualified in this SDG.
McColl Superfund Site, 4th Quarter 1995
Total Petroleum Hydrocarbons as Gasoline - Field Blank Data Qualification
Summary - SDG L2176

          No Field Blank Data Qualified in this SDG.




                                   Exhibit 39
                                     5364
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 334 of 730 Page ID
                                  #:5408
                                                            LDC Report* 1582P7

                      Laboratory Data Consultants, Inc.
                           Data Validation Report

 Project/Site Name:            McColl Superfund Site
                               4th Quarter 1995

 Collection Date:              June 29, 1995

 LDC Report Date:              September 18, 1995

 Matrix:                       Soil/Water

 Parameters:                   Total Petroleum Hydrocarbons as Gasoline

 Laboratory:                   Thermo Analytical

 Sample Delivery Group (SDG): L2182

 Sample Identification
  P-10L218
  P-10L4
  P-10L4R1




                                   Exhibit 39
                                     5365
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 335 of 730 Page ID
                                  #:5409



                                       Introduction

 This data review covers 2 soil samples and one water sample listed on the cover
 sheet including dilutions and reanalysis as applicable. The analyses were per EPA SW
 846 Method 8015 modified for Total Petroleum Hydrocarbons (TPH) as gasoline.

 This review follows a modified outline of the USEPA Contract Laboratory Program
 National Functional Guidelines for Organic Data Review (February 1994) as there are
 no current guidelines for EPA SW 846 Method 8015 modified for Total Petroleum
 Hydrocarbons (TPH) as gasoline. The modifications were based on EPA SW 846
 Method 8015 modified.

. A table summarizing all data qualification is provided at the end of this report. Flags
  are classified as P (protocol) or A (advisory) to indicate whether the flag is due to a
  laboratory deviation from a specified protocol or is of technical advisory nature.

 Blank results are summarized in Section 111.

Field duplicates are summarized in Section IX.

 Raw data were not checked for this SDG. The review was based on QC data.

The following are definitions of the data qualifiers:

U      Indicates the compound or element was analyzed for but not detected at or above
       the stated limit.

J      Indicates an estimated value.

R      Quality control indicates the data is not usable.

N      Presumptive evidence of presence of the constituent.

UJ     Indicates the compound or element was analyzed for but not detected. The
       sample detection limit is an estimated value.




                                          Exhibit 39
                                            5366
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 336 of 730 Page ID
                                  #:5410

  I. Technical Holding Times

  All technical holding time requirements were met.

  II. Calibration

  a. Initial Calibration

  Initial calibration of analytes was performed as required by the method.

  The percent relative standard deviations (%RSD) of calibration factors for analytes were
  less than 20.0%.

  b. Calibration Verification

  Calibration verification was performed at required frequencies. The percent differences
  (%D) of amounts in continuing standard mixtures were within the 15.0% QC limits.

  Hi. Blanks

  Method blanks were reviewed for each matrix as applicable. No total petroleum
  hydrocarbons as gasoline contaminants were found in the method blanks.

  No field blanks were identified in this SDG.

  IV. Accuracy and Precision Data

  a. Surrogate Recovery

  Although surrogates were not required by the method, surrogate analysis was performed
  by the laboratory. Surrogate recoveries were within QC limits.

  b. Matrix Spike/Matrix Spike Duplicates

  The laboratory has indicated that there were no matrix spike (MS) and matrix spike
  duplicate (MSD) analyses specified for the samples in this SDG, and therefore matrix
  spike and matrix spike duplicate analyses were not performed for this SDG.

  c. Laboratory Control Samples

  Laboratory control samples were reviewed for each matrix as applicable. Percent
  recoveries (%R) and relative percent differences (RPD) were within validation criteria.

 V. Target Compound Identification

  Raw data were not checked for this SDG.




                                        Exhibit 39
                                          5367
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 337 of 730 Page ID
                                  #:5411


VI. Compound Quantitation and CRQLs

Raw data were not checked for this SDG.

VII. System Performance

Raw data were not checked for this SDG.

VIII. Overall Assessment of Data

Data flags have been summarized at the end of this report.

IX. Field Duplicates

No field duplicates were identified in this SDG.




                                         Exhibit 39
                                           5368
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 338 of 730 Page ID
                                  #:5412

 McColl Superfund Site, 4th Quarter 1995
 Total Petroleum Hydrocarbons as Gasoline - Data Qualification Summary - SDG
 L2182

                   No Data Qualified in this SDG.
 McColl Superfund Site, 4th Quarter 1995
 Total Petroleum Hydrocarbons as Gasoline - Laboratory Blank Data Qualification
 Summary - SDG L2182

         No Laboratory Blank Data Qualified in this SDG.
 McColl Superfund Site, 4th Quarter 1995
 Total Petroleum Hydrocarbons as Gasoline - Field Blank Data Qualification
 Summary - SDG L2182

           No Field Blank Data Qualified in this SDG.




                                   Exhibit 39
                                     5369
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 339 of 730 Page ID
                                  #:5413


                                                           LDC Report* 1582O8

                     Laboratory Data Consultants, Inc.
                          Data Validation Report

Project/Site Name:            McColl Superfund Site
                              4th Quarter 1995

Collection Date:              June 28, 1994

LDC Report Date:              September 14, 1995

Matrix:                       Soil

Parameters:                   Total Petroleum Hydrocarbons as Diesel

Laboratory:                   Thermo Analytical

Sample Delivery Group (SDG): L2176

Sample Identification
 P-10L3
 P-10L3MS
 P-10L3MSD




                                     Exhibit 39
                                       5370
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 340 of 730 Page ID
                                  #:5414

                                         Introduction

 This data review covers 3 soil samples listed on the cover sheet including dilutions
 and reanalysis as applicable. The analyses were per EPA SW 846 Method 8015
 modified for Total Petroleum Hydrocarbons (TPH) as diesel.

 This review follows a modified outline of the USEPA Contract Laboratory Program
 National Functional Guidelines for Organic Data Review (February 1994) as there are
 no current guidelines for EPA SW 846 Method 8015 modified for Total Petroleum
 Hydrocarbons (TPH) as diesel. The modifications were based on EPA SW 846
 Method 8015 modified.

 A table summarizing all data qualification is provided at the end of this report. Flags
 are classified as P (protocol) or A (advisory) to indicate whether the flag is due to a
 laboratory deviation from a specified protocol or is of technical advisory nature.

 Blank results are summarized in Section III.

 Field duplicates are summarized in Section IX.

 Raw data were not checked for this SDG. The review was based on QC data.

 The following are definitions of the data qualifiers:

 U      I ndicates the compound or element was analyzed for but not detected at or above
        the stated limit.

 J      Indicates an estimated value.

 R      Quality control indicates the data is not usable.

 N      Presumptive evidence of presence of the constituent.

 UJ    Indicates the compound or element was analyzed for but not detected. The
       sample detection limit is an estimated value.




                                          Exhibit 39
                                            5371
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 341 of 730 Page ID
                                  #:5415

I. Technical Holding Times

All technical holding time requirements were met.

II. Calibration

a. Initial Calibration

Initial calibration of analytes was performed as required by the method.

A curve fit, based on the initial calibration, was established for quantitation. The
correlation coefficient (r) was greater than or equal to 0.995.

b. Calibration Verification

Calibration verification was performed at required frequencies. The percent differences
(%D) of amounts in continuing standard mixtures were within the 15.0% QC limits.

III. Blanks

Method blanks were reviewed for each matrix as applicable. No total petroleum
hydrocarbons as diesel contaminants were found in the method blanks.

No field blanks were identified in this SDG.

IV. Accuracy and Precision Data

a. Surrogate Recovery

Although surrogates were not required by the method, surrogate analysis was performed
by the laboratory. Surrogate recoveries were within QC limits with the following
exceptions:


      Sample             Surrogate     %R (Limits)        Compound         Flag         AorP

 P-10L3           C10                  151 (21-139)   TPH as diesel   J (all detects)    A



b. Matrix Spike/Matrix Spike Duplicates

Matrix spike (MS) and matrix spike duplicate (MSD) samples were reviewed for each
matrix as applicable. Percent recoveries (%R) and relative percent differences (RPD) were
within QC limits.




                                         Exhibit 39
                                           5372
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 342 of 730 Page ID
                                  #:5416

 c. Laboratory Control Samples

 Laboratory control samples were reviewed for each matrix as applicable. Percent
 recoveries were within QC limits.

 V. Target Compound Identification

 Raw data were not checked for this SDG.

 VI. Compound Quantitation and CRQLs

 Raw data were not checked for this SDG.

 VII. System Performance

 Raw data were not checked for this SDG.

 VIII. Overall Assessment of Data

 Data flags have been summarized at the end of this report.

 IX. Field Duplicates

 No field duplicates were identified in this SDG.




                                        Exhibit 39
                                          5373
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 343 of 730 Page ID
                                  #:5417


McColl Superfund Site, 4th Quarter 1995
Total Petroleum Hydrocarbons as Diesel - Data Qualification Summary - SDG L2176


    SDG        Sample             Compound                 Flag         AorP            Reason

 L2176      P-10L3      TPH as diesel                 J (all detects)    A     Surrogate recovery



McColl Superfund Site, 4th Quarter 1995
Total Petroleum Hydrocarbons as Diesel - Laboratory Blank Data Qualification
Summary - SDG L2176

         No Laboratory Blank Data Qualified in this SDG.
McColl Superfund Site, 4th Quarter 1995
Total Petroleum Hydrocarbons as Diesel - Field Blank Data Qualification
Summary - SDG L2176

           No Field Blank Data Qualified in this SDG.




                                         Exhibit 39
                                           5374
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 344 of 730 Page ID
                                  #:5418

                                                             LDC Report* 1582P8

                       Laboratory Data Consultants, Inc.
                            Data Validation Report

  Project/Site Name:            McColl Superfund Site
                                4th Quarter 1995

  Collection Date:              June 29, 1994

  LDC Report Date:              September 14, 1995

  Matrix:                       Soil/Water

  Parameters:               .   Total Petroleum Hydrocarbons as Diesel

  Laboratory:                   Thermo Analytical

  Sample Delivery Group (SDG): L2182

  Sample Identification
   P-10L218
   P-10L4




                                    Exhibit 39
                                      5375
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 345 of 730 Page ID
                                  #:5419



                                       Introduction
This data review covers one soil sample and one water sample listed on the cover
sheet including dilutions and reanalysis as applicable. The analyses were per EPA SW
846 Method 8015 modified for Total Petroleum Hydrocarbons (TPH) as diesel.

This review follows a modified outline of the USEPA Contract Laboratory Program
National Functional Guidelines for Organic Data Review (February 1994) as there are
no current guidelines for EPA SW 846 Method 8015 modified for Total Petroleum
Hydrocarbons (TPH) as diesel. The modifications were based on EPA SW 846
Method 8015 modified.

A table summarizing all data qualification is provided at the end of this report. Flags
are classified as P (protocol) or A (advisory) to indicate whether the flag is due to a
laboratory deviation from a specified protocol or is of technical advisory nature.

Blank results are summarized in Section III.

Field duplicates are summarized in Section IX.

Raw data were not checked for this SDG. The review was based on QC data.

The following are definitions of the data qualifiers:

U       Indicates the compound or element was analyzed for but not detected at or above
       the stated limit.

J      Indicates an estimated value.

R      Quality control indicates the data is not usable.

N      Presumptive evidence of presence of the constituent.

UJ    indicates the compound or element was analyzed for but not detected. The
      sample detection limit is an estimated value.




                                          Exhibit 39
                                            5376
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 346 of 730 Page ID
                                  #:5420

 I. Technical Holding Times

 All technical holding time requirements were met.

 II. Calibration

 a. Initial Calibration

 Initial calibration of analytes was performed as required by the method.

A curve fit, based on the initial calibration, was established for quantitation. The
correlation coefficient (r) was greater than or equal to 0.995.

b. Calibration Verification

Calibration verification was performed at required frequencies. The percent differences
(%D) of amounts in continuing standard mixtures were within the 15.0% QC limits.

III. Blanks

Method blanks were reviewed for each matrix as applicable. No total petroleum
hydrocarbons as diesel contaminants were found in the method blanks.

No field blanks were identified in this SDG.

IV. Accuracy and Precision Data

a. Surrogate Recovery

Although surrogates were not required by the method, surrogate analysis was performed
by the laboratory. Surrogate recoveries were within QC limits.

b. Matrix Spike/Matrix Spike Duplicates

The laboratory has indicated that there were no matrix spike (MS) and matrix spike
duplicate (MSD) analyses specified for the samples in this SDG, and therefore matrix
spike and matrix spike duplicate analyses were not performed for this SDG.

c. Laboratory Control Samples

Laboratory control samples were reviewed for each matrix as applicable. Percent
recoveries (%R) and relative percent differences (RPD) were within validation criteria.

V. Target Compound Identification

Raw data were not checked for this SDG.




                                        Exhibit 39
                                          5377
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 347 of 730 Page ID
                                  #:5421


VI. Compound Quantitation and CRQLs

Raw data were not checked for this SDG.

VII. System Performance

Raw data were not checked for this SDG.

VIII. Overall Assessment of Data

Data flags have been summarized at the end of this report.

IX. Field Duplicates

No field duplicates were identified in this SDG.




                                         Exhibit 39
                                           5378
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 348 of 730 Page ID
                                  #:5422

 McColl Superfund Site, 4th Quarter 1995
 Total Petroleum Hydrocarbons as Diesel - Data Qualification Summary - SDG L2182

                   No Data Qualified in this SDG.
 McColl Superfund Site, 4th Quarter 1995
 Total Petroleum Hydrocarbons as Diesel - Laboratory Blank Data Qualification
 Summary - SDG L2182

       No Laboratory Blank Data Qualified in this SDG.
 McColl Superfund Site, 4th Quarter 1995
 Total Petroleum Hydrocarbons as Diesel - Field Blank Data Qualification
 Summary - SDG L2182

           No Field Blank Data Qualified in this SDG.




                                   Exhibit 39
                                     5379
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 349 of 730 Page ID
                                  #:5423


                                                         LDC Report* 1582O32

                   Laboratory Data Consultants, Inc.
                        Data Validation Report

Project/Site Name:           McColl Superfund Site
                             4th Quarter 1995

Collection Date:             June 28, 1995

LDC Report Date:             September 15, 1995

Matrix:                      Soil

Parameters:                  Aromatic Volatile Organics (BTEX)

Laboratory:                  Thermo Analytical

Sample Delivery Group (SDG): L2176

Sample Identification
 P-10L3




                                     Exhibit 39
                                       5380
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 350 of 730 Page ID
                                  #:5424


                                       Introduction

 This data review covers one soil sample listed on the cover sheet including dilutions
 and reanalysis as applicable. The analyses were per EPA SW 846 Method 8020 for
 Aromatic Volatile Organics which include Benzene, Toluene, Ethylbenzene and Xylene
 (BTEX).

 This review follows a modified outline of the USEPA Contract Laboratory Program
 National Functional Guidelines for Organic Data Review (February 1994) as there are
 no current guidelines for EPA SW 846 Method 8020 for BTEX. The modifications were
 based on EPA SW 846 Method 8020.

A table summarizing all data qualification is provided at the end of this report. Flags
are classified as P (protocol) or A (advisory) to indicate whether the flag is due to a
laboratory deviation from a specified protocol or is of technical advisory nature.

Blank results are summarized in Section III.

Field duplicates are summarized in Section IX.

Raw data were not checked for this SDG. The review was based on QC data.

The following are definitions of the data qualifiers:

U       Indicates the compound or element was analyzed for but not detected at or above
       the stated limit.

J      Indicates an estimated value.

R      Quality control indicates the data is not usable.

N      Presumptive evidence of presence of the constituent.

UJ     Indicates the compound or element was analyzed for but not detected. The
       sample detection limit is an estimated value.




                                         Exhibit 39
                                           5381
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 351 of 730 Page ID
                                  #:5425


 I. Technical Holding Times

 All technical holding time requirements were met.

 II. Calibration

a. Initial Calibration

Initial calibration of analytes was performed as required by the method.

The percent relative standard deviations (%RSD) of calibration factors for analytes were
less than 20.0%.

b. Calibration Verification

Calibration verification was performed at required frequencies. The percent differences
(%D) of amounts in continuing standard mixtures were within the 15.0% QC limits.

III. Blanks

Method blanks were reviewed for each matrix as applicable. No aromatic volatile organic
contaminants were found in the method blanks.

No field blanks were identified in this SDG.

IV. Accuracy and Precision Data

a. Surrogate Recovery

Surrogates were added to all samples and blanks as required by the method. All
surrogate recoveries were within validation criteria.

b. Matrix Spike/Matrix Spike Duplicates

The laboratory has indicated that there were no matrix spike (MS) and matrix spike
duplicate (MSD) analyses specified for the samples in this SDG, and therefore matrix
spike and matrix spike duplicate analyses were not performed for this SDG.

c. Laboratory Control Samples

Laboratory control samples were reviewed for each matrix as applicable. Percent
recoveries (%R) and relative percent differences (RPD) were within validation criteria.

V. Target Compound Identification

Raw data were not checked for this SDG.

VI. Compound Quantitation and CRQLs

                                        Exhibit 39
                                          5382
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 352 of 730 Page ID
                                  #:5426

  VI. Compound Quantitation and CRQLs

  Raw data were not checked for this SDG.

  VII. System Performance

  Raw data were not checked for this SDG.

  VIII. Overall Assessment of Data

  Data flags have been summarized at the end of this report.

  IX. Field Duplicates

  No field duplicates were identified in this SDG.




                                        Exhibit 39
                                          5383
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 353 of 730 Page ID
                                  #:5427


McColl Superfund Site, 4th Quarter 1995
Aromatic Volatile Organics (BTEX) - Data Qualification Summary - SDG L2176

                  No Data Qualified in this SDG.
McColl Superfund Site, 4th Quarter 1995
Aromatic Volatile Organics (BTEX) - Laboratory Blank Data Qualification
Summary - SDG L2176

      No Laboratory Blank Data Qualified in this SDG.
McColl Superfund Site, 4th Quarter 1995
Aromatic Volatile Organics (BTEX) - Field Blank Data Qualification Summary -
SDG L2176

          No Field Blank Data Qualified in this SDG.




                                   Exhibit 39
                                     5384
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 354 of 730 Page ID
                                  #:5428

                                                             LDC Report* 1582P32

                       Laboratory Data Consultants, Inc.
                            Data Validation Report

  Project/Site Name:            McColl Superfund Site
                                4th Quarter 1995

 Collection Date:               June 29, 1995

 LDC Report Date:               September 18, 1995

 Matrix:                        Soil/Water

 Parameters:                    Aromatic Volatile Organics (BTEX)

 Laboratory:                    Thermo Analytical

 Sample Delivery Group (SDG): L2182

 Sample Identification
  P-10L218
  P-10L4
  P-10L4R1




                                    Exhibit 39
                                      5385
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 355 of 730 Page ID
                                  #:5429



                                        Introduction

 This data review covers 2 soil samples and one water sample listed on the cover
 sheet including dilutions and reanalysis as applicable. The analyses were per EPA SW
 846 Method 8020 for Aromatic Volatile Organics which include Benzene, Toluene,
 Ethylbenzene and Xylene (BTEX).

 This review follows a modified outline of the USEPA Contract Laboratory Program
 National Functional Guidelines for Organic Data Review (February 1994) as there are
 no current guidelines for EPA SW 846 Method 8020 for BTEX. The modifications were
 based on EPA SW 846 Method 8020.

 A table summarizing all data qualification is provided at the end of this report. Flags
 are classified as P (protocol) or A (advisory) to indicate whether the flag is due to a
 laboratory deviation from a specified protocol or is of technical advisory nature.

 Blank results are summarized in Section III.

 Field duplicates are summarized in Section IX.

 Raw data were not checked for this SDG. The review was based on QC data.

 The following are definitions of the data qualifiers:

 U     Indicates the compound or element was analyzed for but not detected at or above
       the stated limit.

 J      Indicates an estimated value.

 R      Quality control indicates the data is not usable.

 N      Presumptive evidence of presence of the constituent.

 UJ    Indicates the compound or element was analyzed for but not detected. The
       sample detection limit is an estimated value.




                                          Exhibit 39
                                            5386
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 356 of 730 Page ID
                                  #:5430

 I. Technical Holding Times

 All technical holding time requirements were met.

 II. Calibration

 a. Initial Calibration

 Initial calibration of analytes was performed as required by the method.

 The percent relative standard deviations (%RSD) of calibration factors for analytes were
 less than 20.0%.

 b. Calibration Verification

 Calibration verification was performed at required frequencies. The percent differences
 (%D) of amounts in continuing standard mixtures were within the 15.0% QC limits.

 III. Blanks

 Method blanks were reviewed for each matrix as applicable. No aromatic volatile organic
 contaminants were found in the method blanks.

 No field blanks were identified in this SDG.

 IV. Accuracy and Precision Data

a. Surrogate Recovery

Surrogates were added to all samples and blanks as required by the method. All
surrogate recoveries were within validation criteria.

b. Matrix Spike/Matrix Spike Duplicates

The laboratory has indicated that there were no matrix spike (MS) and matrix spike
duplicate (MSD) analyses specified for the samples in this SDG, and therefore matrix
spike and matrix spike duplicate analyses were not performed for this SDG.

c. Laboratory Control Samples

Laboratory control samples were reviewed for each matrix as applicable. Percent
recoveries (%R) and relative percent differences (RPD) were within validation criteria.

V. Target Compound Identification

Raw data were not checked for this SDG.




                                         Exhibit 39
                                           5387
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 357 of 730 Page ID
                                  #:5431


VI. Compound Quantitation and CRQLs

Raw data were not checked for this SDG.

VII. System Performance

Raw data were not checked for this SDG.

VIII. Overall Assessment of Data

Data flags have been summarized at the end of this report.

IX. Field Duplicates

No field duplicates were identified in this SDG.




                                        Exhibit 39
                                          5388
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 358 of 730 Page ID
                                  #:5432

 McColl Superfund Site, 4th Quarter 1995
 Aromatic Volatile Organics (BTEX) - Data Qualification Summary - SDG L2182

                   No Data Qualified in this SDG.
McColl Superfund Site, 4th Quarter 1995
Aromatic Volatile Organics (BTEX) - Laboratory Blank        Data Qualification
Summary - SDG L2182

       No Laboratory Blank Data Qualified in this SDG.
McColl Superfund Site, 4th Quarter 1995
Aromatic Volatile Organics (BTEX) - Field Blank Data Qualification Summary -
SDG L2182

           No Field Blank Data Qualified in this SDG.




                                    Exhibit 39
                                      5389
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 359 of 730 Page ID
                                  #:5433




                                APPENDIX E




                     PHASE I OF GROUNDWATER RI/FS
                      CONE PENETROMETER TESTING




                        GROUNDWATER RI REPORT
                              McCOLL SITE
                         FULLERTON, CALIFORNIA




                              December 29, 1995

                                  03-3493X




                                   Exhibit 39
                                     5390
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 360 of 730 Page ID
                                  #:5434




                                       APPENDIX E

                              PHASE I OF GROUNDWATER RI/FS
                               CONE PENETROMETER TESTING


This appendix presents the environmental data collected during Phase I of the Groundwater
RI/FS field work. Phase I involved completion of 26 cone penetrometer tests (CPTs) to a
maximum depth of approximately 90 feet to evaluate the potential presence of perched
groundwater in the area south of the McColl sumps. The locations of the CPTs are shown on
Figure E-l. To supplement the soil-type data obtained with the CPT, piezometric pressure
dissipation tests were conducted and groundwater grab samples were attempted, as
documented in Tables E-l and E-2. Work occurred from March 29 to April 15, 1994 and
was completed by the Earth Technology Corporation (Ertec) accompanied by an ENVIRON
geologist.

The scope of work and procedures used during Phase I were initially described in the
Groundwater RI/FS Work Plan (February 4, 1994). Three scope modifications were outlined
in technical memoranda (TMs 10-1, 10-2 and 10-3) during implementation of the Phase I
field work which were approved by the overseeing agencies. An experimental continuous pH
measurement probe was an optional feature of the work plan, and it was not used due to
problems during pilot testing (TM 10-1). TM 10-2 established priorities for the chemical tests
to be completed on groundwater grab samples in the event that sufficient groundwater
volumes could be not collected. TM 10-3 modified the language in the Work Plan so that the
number of samples to be collected was flexible, accomodating the observation that saturated
conditions were not present at most CPT locations. Appendix G presents these approved
TMs.

The Groundwater RI/FS Work Plan provided for an interim Phase I data report following       /
completion of the field work, which was submitted to the overseeing agencies (Draft Phase I
Report, May 19, 1994). The Draft Phase I Report includes descriptions of the field
procedures, laboratory analytical reports, a discussion of data quality, a preliminary
interpretations of the findings, and recommendations for additions to the Phase II work. To
respond to agency comments on the Draft Phase I Report, errata sheets to the report were
later forwarded to the agencies (Response to EPA's and DTSC's Review Comments, August 5,


 McColl Site Group
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                                          Exhibit 39
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                                  #:5435
 1995).

For reference, the data from the Draft Phase I Report and the Response to EPA's and DTSC's
Review Comments are presented here. The following attachments comprise the balance of this
appendix.

        •       Figure E-l:        CPT and BAT Sampling Locations

                Table E-l:         Analytical Results and Data Qualifiers, Sample GW-CPT-V11

        •       Table E-2:         Summary of Preliminary Findings

                Table E-3          CPT Survey Data

                CPT Logs

        •       Pore Pressure Dissipation Test Plots (Spurious test plots noted in Table E-2 not
                included.)




McColl Site Group
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                                          s
                                          £


c                                                       W-9B


                                                               Rosecrans Avenue



                                                                                                                          EXPLANATION


                                                                                                                              Waste Sumps
    Ralph B. dark
       Regional
         Park                                                                                                                 Facility Boundary

                                                                                                                              Existing Monitoring Wells

                                                                                                                              CPT Location (approximate)
                                                                                                                CPT-N3A       BAT Sampling Location (approximate)
                                                                                                                258.0         with Sampling Elevation (feet. MSL);
                                                                                                                (U33.0)       Target depth Shown in Parentheses




           CPT-V13
            245.2
      /     (37.0)
     JCPT-V10
    /237.4
     (29.0

                                              CPT-V:'

                                       CPT-V4
                                     240.1(45.0)
                                                   ACPT-V3
              i     j   *
                                                                                                                                                            200                  400


                                                                                                                                                    SCALE IN FEET
                            Lo» Coyotes
                              Cowtry




                                                                                                                                            € N V I RON
                                                                                                                                           Coynfd in HHWi <nd En
                                                                                                                           5820 Sheilmound Strxt. Suite 700. Em«ryvill«, Colrfornto 946O6

                                                                                                                            CPT and BAT Sampling Locations
                                                                                                                            Groundwater Remedial Investigation
                                                                                                                            McColl Site
                                                                                                                            Fullerton, California
                                                                                                                                                      COHHUCT HHMUI:
                                                                                                                            9/26/S'95                03-3493X
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                                          Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 363 of 730 Page ID
                                                                            #:5437
                                                            Table E-l: Analytical Results and Data Qualifiers
                                                                   Sample Number: GW-CPT-V11
                                                            Volatile Organic Compounds - CLP SOW OLM01.8
                                                                         pH - USEPA Method 9040
                                                                     Conductivity - USEPA Method 9050
                                                              Total Organic Carbon - USEPA Method 415.1

    Date Sampled                Date Analyzed        CAS#                Parameter                Concentration   Detection Limit     Units      Data
                                                                                                                                                Qualifier
         04/13/94                 04/14/94      75-00-3      Chloroethane                              ND              500            Hg/L
                                                                                                                                                   —
         04/13/94                 04/14/94      75-09-2      Methylene Chloride                       ND               500            Mg/L         —
         04/13/94                 04/14/94      67-64-1      Acetone                                   ND              500            /*g/L
                                                                                                                                                   —
         04/13/94                 04/14/94      75-15-0      Carbon Disulfide                         ND               500            Mg/L
                                                                                                                                                   —
         04/13/94                 04/14/94      67-66-3      Chloroform                                ND              500            Mg/L
                                                                                                                                                   —
         04/13/94                 04/14/94      107-06-2     1 ,2-Dichloroethane                       ND              500            A*g/L        —
         04/13/94                 04/14/94      78-93-3      2-Butanone                                ND              500            Jig/L        —
         04/13/94                 04/14/94      71-55-6      1,1,1 -Trichloroethane                    ND              500            ptg/L
                                                                                                                                                   —
         04/13/94                 04/14/94      75-27-4      Bromodichloromethane                     ND               500            ^g/L         ~
         04/13/94                 04/14/94      124-48-1     Dibromochloromethane                      ND              500            Mg/L         —
         04/13/94                 04/14/94      71-43-2      Benzene                                   ND              500            pg/L         —
         04/13/94                 04/14/94      591-78-6     2-Hexanone                                ND              500            Mg/L         —
         04/13/94                 04/14/94      108-88-3     Toluene                                   ND              500            Mg/L
                                                                                                                                                   —
         04/13/94                 04/14/94      108-90-7     Chlorobenzene                             ND              500            Mg/L
                                                                                                                                                   —
         04/13/94                 04/14/94      100-41^      Ethylbenzene                              ND              500            A*g/L        —
         04/13/94                 04/14/94      100-42-5     Styrene                                   ND              500            Mg/L
                                                                                                                                                   —
         04/13/94                 04/14/94      1330-20-7    Xylene (total)                            ND              500            ftg/L        ~
         04/13/94                 04/14/94      110-01-0     Tetrahydrothiophene                      6400             500            Mg/L         —

         04/13/94                 04/14/94      NA           pH                                        7.0              —              PH          --
         04/13/94                 04/14/94      NA           Conductivity                             5600              6           /unhos/cm      ~
         04/13/94                 04/20/94      NA           Total Organic Carbon                      110              10            mg/L         -



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                                                                                        c
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                                                                           #:5438                                                            c
                                                             Table E-l: Analytical Results and Data Qualifiers

                                                                    Sample Number: GW-CPT-V11
                                                             Volatile Organic Compounds - CLP SOW OLM01.8

                                                            Tentatively Identified Compounds and Data Qualifiers

    Date Sampled                Date Analyzed        CAS#                   Parameter                  Estimated      Retention   Units    Data
                                                                                                      Concentration   Time (RT)           Qualifier


         04/13/94                 04/14/94      NA              Unknown Alcohol                            1000          9.20     Mg/L       NJ
         04/13/94                 04/14/94      1795-09-1       Tetrahydro-2-Methyl-Thiophene              2600         16.67     Mg/L       NJ
         04/13/94                 04/14/94      4740-00-5       Tetrahydro-3-Methyl-Thiophene              8200         17.20     Mg/L       NJ
         04/13/94                 04/14/94      NA              Substituted 2H-Thiopyran                   600          19.17     Mg/L       NJ
         04/13/94                 04/14/94      NA              Substituted Thiophene                       850         20.00     Mg/L       NJ
         04/13/94                 04/14/94      NA              Substituted Cyclopentanethiol              350          21.08     Ug/L       NJ
         04/13/94                 04/14/94      NA              Substituted 2H-Thiopyran                   400          21.33     Mg/L       NJ
         04/13/94                 04/14/94      NA              Unknown Hydrocarbon                        250          22.33     Mg/L       NJ




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                                                               Table E-2
                                                    Summary of Preliminary Findings
                                                      Phase I Groundwater RI/FS
                                                                 McColl Site
                                                             Fullerton, California


                                      CPT Notes                Total Depth         BAT Sample
            CPT                                                                                          BAT Sample Notes
                               (References total depth)           (feet)        Target Depth (feet)

          CPT-VI           No sand units identified                56                  none                      none
                           Dissipation test @ 55.6 ft
                           gave spurious result
          CPT-V2            Sand units 34-37, 38-44 ft             44                  none                      none
                            Dissipation tests attempted @
                            34.5, 38.5 ft unsuccessful!
                            Dissipation test @ 44.8 ft
                            indicated no gw.
          CPT-V3            Sand units 29-38, 42-50 ft             69                  none                      none
                            Dissipation tests attempted @
                            29, 33, 48 ft unsuccessful!
                            Dissipation tests @ 42.2, 70.2
                            ft indicated no gw.
          CPT-V4            Sand 34-48 ft                          53                   45            Five samples attempted
                            Dissipation test @ 35.9 ft                                                from 45 ft to 47 ft; no gw.
                            indicated no gw
                            Dissipation test @ 47.5 ft
                            suggested gw level @ 40 ft
                            (no plot - test noted on field
                            records of CPT log)
                            Thiophene odor during
                            grouting
          CPT-V5            Sand units 42-44, 60-66 ft             66                  none                      none
                            Dissipation tests @ 65.4, 68.2
                            ft indicated no gw.
          CPT-V6            Thiophene odor when pulling            72                   43            Samples attempted @ 43,
                            CPT rods at this location.                                                44 ft; no gw.
                            Sand 29-59 ft                                                             Thiophene odor
                            Dissipation test @ 49.8 ft
                            suggested gw level @ 27 ft                                  57            Samples attempted @ 57,
                                                                                                      58 ft; no gw. Thiophene
                                                                                                      odor @57 ft
          CPT-V7            Thin sands 37-48 ft                    91                  none                      none
                            Dissipation tests @ 76.4, 84.2
                            ft gave spurious results




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                                                                     5396
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                                             #:5440



                                                              Table E-2
                                                   Summary of Preliminary Findings
                                                     Phase I Groundwater RI/FS
                                                                 McColl Site
                                                             Fullerton, California


                                      CPT Notes                Total Depth         BAT Sample
            CPT                                                                                          BAT Sample Notes
                               (References total depth)           (feet)        Target Depth (feet)

          CPT-VS           No sand units identified                78                 none                      none
                           Dissipation tests @ 50.4, 79.4
                           ft gave spurious results
        CPT-V9,            Dissipation test @ 23.7 ft             23,29               none                      none
        CPT-V9A            indicates no evidence of gw        (two attempts)
         CPT-V10           Sand unit 17-32 ft Dissipation         60.5                  29            Samples attempted @ 29,
                           test @ 30.3 ft suggested gw                                                31.5, 32 ft;nogw.
                           level of 17 ft
                           Dissipation tests @ 23.1, 61.4
                           gave spurious results
         CPT-V11           Sand units 17-24, 26-35 ft             44.5                  23            Sample collected @ 23
                           Dissipation test at 23.4 ft                                                feet
                           suggested gw level @ 17 ft
                           (no plots - test noted on field                              34            Samples attempted @ 34,
                           records of CPT log).                                                       34.5, 35 ft; no gw.
         CPT-V12           Sand unit 27-30 ft                      42                  none                     none
                           Dissipation test @ 42.6 ft
                           gave spurious result
         CPT-V13           No good sand units                     69.5                  37            Samples attempted @ 37,
                           Thiophene odor when pulling                                                39.5, 40.5 ft; no gw
                           CPT rods at this location.

                            Dissipation test @ 42.2 ft
                            suggested gw level @ 32 ft
                            Dissipation test @ 66 ft gave
                            spurious result
         CPT-V14           No good sand units                      48                  none                     none
                           Dissipation tests @ 34, 48.7
                           ft indicated no gw.
          CPT-N1            Sand unit 13-34 ft                     34                  none                     none
                            Dissipation test in sand @
                            27.4, 34.4 ft indicated no gw
          CPT-N2            Sand units 6-12, 28-44 ft              44                  none                     none
                            Dissipation test in sand
                            @44.5 ft indicated no gw


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                                            #:5441



                                                             Table E-2
                                                  Summary of Preliminary Findings
                                                    Phase I Groundwater RI/FS
                                                                McColl Site
                                                            Fullerton, California


                                     CPT Notes                Total Depth         BAT Sample
            CPT                                                                                         BAT Sample Notes
                              (References total depth)           (feet)        Target Depth (feet)

         CPT-N3            Sand unit 29-34 ft                     33                   33            Samples attempted @ 31,
                           Dissipation test in sand                                                  32, 33, 34 ft; no gw.
                           @ 34.1 suggested gw level @
                           31.6
         CPT-N4            No good sand unit                      29                  none                      none
                           Dissipation test @ 28.8 ft
                           indicated no gw
         CPT-N5            No good sand unit                      36                  none                      none
                           Dissipation test @ 36.2 ft
                           indicated no gw
         CPT-N6            Sand unit 6-24.5 ft                   44.5                  23            Samples attempted @ 22,
                           Dissipation test @ 23.5 ft                                                23, 24 ft; no gw.
                           suggested gw level @ 22 ft
                           Dissipation test @ 45. 1 ft
                           gave spurious result
         CPT-N7            Sand unit 17-19 ft                     19                  none                      none
                           Dissipation test @ 19.4 ft
                           indicated no evidence of gw
         CPT-N8            No good sand unit                     22.5                 none                      none
                           Dissipation test @ 23.2 ft
                           indicated no evidence of gw
         CPT-N9            CPT did not indicate good              41                  none                      none
                           sands, dissipation test @ 41.3
                           ft in fine grained soil gave
                           spurious result.
         CPT-N10           Sand 20-24 ft                         53.5                 23.5           Samples attempted @ 22,
                           Dissipation tests @19 ft and                                              22.5, 23.5, 24.5 ft; no gw.
                           54 ft indicated no gw (no
                           plots - both tests noted on
                           field records of CPT log)
         CPT-N11           Sand 26-36 ft                          52                  32.5           Samples attempted @
                           Dissipation test @ 26.3 ft                                                30.5,31.5,32.5,33 ft;
                           suggested gw level @ 18 ft                                                no gw.
                           Dissipation test @ 52 ft
                           indicated no gw


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                                             #:5442



                                                              Table E-2
                                                   Summary of Preluninary Findings
                                                     Phase I Groundwater RI/FS
                                                                 McColl Site
                                                             Fullerton, California


                                       CPT Notes               Total Depth         BAT Sample
            CPT                                                                                       BAT Sample Notes
                                (References total depth)          (feet)        Target Depth (feet)

         CPT-N12            CPT did not indicate good              38                  none                 none
                            sands, dissipation test @ 38.4
                            ft in fine grained soil gave
                            spurious result.

    gw = groundwater




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                                                                   Exhibit 39
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                                      #:5443




                                                  TABLE E-3
                                    CONE PENETRATION TEST SURVEY DATA
                                                  McColl Site
                                              Fullerton, California



                                                                                       Elevation (2)
   CPT Number                       Northing (1)             Easting (1)                (ft. MSL)

   CPT-N1                           2,273,230.30            6,039,660.52                  300.14
   CPT-N2                           2,273,169.99            6,039,588.17                  286.89
   CPT-N3                           2,273,066.21            6,039,609.33                  291.45
   CPT-N4                           2,272,924.90            6,039,562.84                  284.00

   CPT-N5                           2,272,788.82            6,039,560.56                  279.80
   CPT-N6                           2,273,123.73            6,039,388.93                  280.49
   CPT-N7                           2,272,995.45            6,039,411.38                  278.00
   CPT-N8                           2,272,776.13            6,039,394.13                  274.20

   CPT-N9                           2,273,062.99            6,039,244.39                  272.69
   CPT-N10                          2,273,000.37            6,039,137.26                  267.26
   CPT-N11                          2,272,845.40            6,039,107.28                  263.69
   CPT-N12                          2,272,583.18            6,039,121.50                  260.12

   CPT-V1                           2,272,853.58            6,038,889.85                  283.24
   CPT-V2                           2,272,772.27            6,038,878.97                  278.75
   CPT-V3                           2,272,691.88            6,038,868.21                  276.33
   CPT-V4                           2,272,746.57            6,038,770.77                  286.13
   CPT-V5                           2,272,690.80            6,038,758.02                  283.43

   CPT-V6                           2,272,761.00            6,038,615.04                   285.81
   CPT-V7                           2,272,686.36            6,038,620.48                   282.47
   CPT-V8                           2,272,778.44            6,038,479.49                   281.44
   CPT-V9                           2,272,680.24            6,038,459.17                   278.63
   CPT-V9A                          2,272,677.40            6,038,475.43                   278.35

   CPT-V10                           2,272,847.78           6,038,386.05                   266.43
   CPT-V11                           2,272,755.27           6,038,313.04                   265.06
   CPT-V12                           2,272,686.74           6,038,298.35                   264.74
   CPT-V13                           2,272,861.54           6,038,516.58                   282.15
   CPT-V14                           2,272,772.68           6,038,406.96                   266.01

    ft. MSL = feet above mean sea level
    (1) Horizontal coordinates based on California Coordinate System of 1983 (CS C83)
    (2) Elevation based on City of Fullerton Benchmark No. 19-37. Elevation (ft. MSL) = 306.40.




                                                      Page 1 of 1
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                                  #:5444




                                APPENDIX E

                             ATTACHMENT
                     CONE PENETROMETER TEST LOGS




                                   Exhibit 39
                                     5401
  Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 371 of 730 Page ID
                                    #:5445                      The Earth Technology
                                                                                       Corporation


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rc"e i~'-) 3-i2 7011 Fa* "I- 3-23^35
April 21, 1994
ENVIRON
5820 Sheilmound Street
Suite 700
Emeryville, CA 94608
Project Name: McColl Fullerton, CA.
Project No.: 03-3493C
Enclosed please find copies of the CPT data for the above referenced project along with a copy of the
corresponding invoice.
Soil behavior type interpretations are based on the following reference:
Douglas, B.J. and R.S. Olsen (1981), "Soil Classification Using Electronic Penetrometer,
       "Proceedings,Cone Penetration Testing Experience, Session Sponsored by the
       Geotechnical Engineering Division, ASCE National Convention, St. Louis, October,
       pp. 209-227.
Limitations
The Earth Technology Corporation presents the attached data in accordance with ASTM Standard D3441-
86 and generally accepted Cone Penetration Test practices and standards.
The attached data further relates only the specific project location discussed in the data.
When the measured cone tip resistance values are low (i.e. tip resistance of about 20 tsf or less),
judgement may be required to verify the CPT soil behavior interpretations.
The "CLIENT" may distribute this data or excerpts therefrom provided the following statement is
prominently displayed and included with the distribution:
         "Neither CLIENT nor The Earth Technology Corporation make any guarantee or warranty,
         express or implied, regarding this data. THE USE OF THIS INFORMATION SHALL BE AT
         THE USER'S SOLE RISK REGARDLESS OF. ANY FAULT OR NEGLIGENCE OF THE
         CLIENT OR THE EARTH TECHNOLOGY CORPORATION."
Please feel free to call me if you have any questions.
Very truly yours,
THE EARTH TECHNOLOGY CORPORATION
CPT Testing Services Group



Dick Carlton
Project Administrator




                                                  Exhibit 39
                                                    5402
    Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 372 of 730 Page ID
                                      #:5446                       The Earth Technology
                                                                   Corporation'



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"eec'-.one (7--;3-2-70M Fax -'-•S-2-3~35
     April 27, 1994
     ENVIRON
     5820 Sheilmound Street
     Suite 700
     Emeryville, CA 94608
     Attention:       Mr. David Harnish
     Project Name: McColl Fullerton, CA
     Project No.:     03-3493C
     Dear David:
     This letter supersedes my previous letters dated April 12 and April 21, 1994 regarding the CPT Data
     submitted to ENVIRON under this project number.
     Soil behavior type interpretations are based on the following reference:
     Douglas, B.J. and R.S. Olsen (1981), "Soil Classification Using Electronic Penetrometer,
            "Proceedings,Cone Penetration Testing Experience, Session Sponsored by the
            Geotechnical Engineering Division, ASCE National Convention, St. Louis, October,
            pp. 209-227.
     Limitations
     The Earth Technology Corporation presents the attached data in accordance with ASTM Standard D3441-
     86 and generally accepted Cone Penetration Test practices and standards.
     The attached data further relates only the specific project location discussed in the data.
     When the measured cone tip resistance values are low (i.e. tip resistance of about 20 tsf or less),
     judgement may be required to verify the CPT soil behavior interpretations.
     Please feel free to call me if you have any questions.
     Very truly yours,
     THE EARTH TECHNOLOGY CORPORATION
     CPT Testing Services Group




     Dick Carlton
     Project Administrator




                                                     Exhibit 39
                                                       5403
  Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 373 of 730 Page ID
                                    #:5447                     The Earth Technology
                                                                                        Corporation ~



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 April 12, 1994

 ENVIRON
 5820 Sheilmound Street
 Suite 700
 Emeryville, CA 94608
 Project Name: McColl-Fullerton, CA.
 Project No.:            03-3493C
 Enclosed please find copies of the CPT data for the above referenced project.
 Soil behavior type interpretations are based on the following reference:
 Douglas, B.J. and R.S.           Olsen (1981), "Soil Classification Using              Electronic
       Penetrometer,"Proceedings,Cone Penetration Testing Experience, Session Sponsored by
       the Geotechnical Engineering Division, ASCE National Convention, St. Louis, October,
       pp. 209-227.
 Limitations
 The Earth Technology Corporation presents the attached data in accordance with ASTM Standard D3441-
 86 and generally accepted Cone Penetration Test practices and standards.
 The attached data further relates only the specific project location discussed in the data.
 When the measured cone tip resistance values are low (i.e. tip resistance of about 20 tsf or less),
 judgement may be required to verify the CPT soil behavior interpretations.
 The "CLIENT" may distribute this data or excerpts therefrom provided the following statement is
 prominently displayed and included with the distribution:
            "Neither CLIENT nor The Earth Technology Corporation make any guarantee or warranty,
            express or implied, regarding this data. THE USE OF THIS INFORMATION SHALL BE AT
            THE USER'S SOLE RISK REGARDLESS OF ANY FAULT OR NEGLIGENCE OF THE
            CLIENT OR THE EARTH TECHNOLOGY CORPORATION."
 Please feel free to call me if you have any questions.
 Very truly yours,
 THE EARTH TECHNOLOGY CORPORATION
 CPT Testing Services Group



 Dick Carlton
 Project Administrator




                                                   Exhibit 39
                                                     5404
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 SOIL
                                                       Page   374 of TYPE
                                                            BEHRVIOR 730 Page ID
        FRICTION RfiTIO              #:5448
                         TIP RESISTANCE CQC)    INCREftSING GRPIN SCZE    1*-
            (FS/QC) (PERCENT)            TONS/SOFT
                                              200                                CLflY         SILT      SPNO     GRfiVEL
                           0     0                               400




       10                                                                                                              10




       20                                                                                                              20




       30                                                                                                              30




       40                                                                                                              40


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                                                                                                                            m


       60                                                                                                             SO




      70                                                                                                              70




      SO                                                                                                              SO




      90                                                                                                              90




      100                                                                                                            100

                  TIP RESISTANCE NOT CORRECTED FOR END RREfl EFFECT

                  flSSUMED TOT«_ UNIT MT = HO PCF                      PSSUMED DEPTH OF HfiTER TflBLE = 30.0 FT



CONE PENETRRTION TEST                                                  SOUNDING NUMBER: CPT-VI
PROJECT NPlME        : ENVIRON/MC COLL                CONE/RID : 473/RaS                              'THE ERRTH TECHNOLOGY
                                                                                                       CORPORATION
PROJECT NUMBER : 94-380-12102                         ORTE/TIME: 04-11-94 14:34




                                                    Exhibit 39
                                                      5405
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 375 of 730 Page ID
                                  #:5449
          CONE PORE PRESSURE        (U)           TIP RESlSTflNCE (GO              PORE PRESSURE RflTIO
                TONS/SQ FT                            TONS/SQ FT                          U/QC
              32        16          0     0      100        200          300   400 0.0     O.S      1.0




         10                                                                                                to


         20                                                                                               20




         30                                                                                               30




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        too                                                                                               100


                   TIP RESlSTflNCE NOT CORRECTED FOR END flREfl EFFECT




CONE PENETRRTION               TEST                                  SOUNDING NUMBER: CPT-VI

PROJECT NRME           : ENVIRQN/MC COLL                CONE/RIG : 473/Rtt3                 r THE EflRTH TECHNOLOGY
                                                                                             CORPORflT3 ON
PROJECT NUMBER • 94-380-12102                           DfiTE/TIME: 04-11-94      14:34



                                                       Exhibit 39
                                                         5406
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 376 of 730 Page ID
                                  #:5450
 ***********:                         r**************i
*                                                               *
*                      CONE PENETRATION TEST                    *
*                                                               *
*    SOUNDING : CPT-VI                PROJECT No.: 94-380-12102 *
*    PROJECT : ENVIRON/MC COLL        CONE/RIG : 473/R#3        *
*    DATE/TIME: 04-11-94 14:34                                  *


                                                                                               PAGE 1 of 3

        DEPTH    TIP RESISTANCE     NORMALIZED     FRICTION     CONE PORE       SOIL BEHAVIOR TYPE
                                  TIP RESISTANCE     RATIO      PRESSURE
         (ft)        (tsf)            (tsf)            (*)        (tsf)

          .49         37 .8            97.1         4 .07           .29     •CLAYEY SAND to SANDY CLAY
          .98         37 .5            85.0         1.76            .34      SILTY SAND to SANDY SILT
        1.48          32 .1            67.1         2.28            .23      SILTY SAND to SANDY SILT
        1.97          33 .2           65.3          2.33            .25      SANDY SILT to CLAYEY SILT
        2 .46         50 .3           94.0          5 .39           .32     •SANDY CLAY to SILTY CLAY
        2 .95         49 .5           88. 6         5 .21           .33     •SANDY CLAY to SILTY CLAY
        3 .44         45 .2           77.9          7.03            .42     •SANDY CLAY to SILTY CLAY
        3 .94         47 .2           78.5          3 .48           .43     •CLAYEY SAND to SANDY CLAY
        4 .43         30 .5           49.3          2.26            .37      SILTY SAND to SANDY SILT
        4 .92         36 .0           56.4          2.39            .36      SILTY SAND to SANDY SILT
        5 .41         32 .7           49. 9         2 .35           .39      SILTY SAND CO SANDY SILT
        S .91         44 .0           65.5          5 .73           .49     •SANDY CLAY to SILTY CLAY
        6 .40         49 .0           71.2          7 .11           .56     •SANDY CLAY to SILTY CLAY
        6 .39         46 .0           65.3          6.94            .63     •SANDY CLAY to SILTY CLAY
        7.38          63 .0           87.6          4.27            .93     •CLAYEY SAND to SANDY CLAY
        7.37          54 .5           74.2          2.61            .91      SILTY SAND to SANDY SILT
        3 .37         55 .6           74.3          1.31          1.02       SAND to SILTY SAND
        S .86        106 .0          139. 1           .88         1.89       SAND to SILTY SAND
        9 .35        211 .2          272.2          4.40         41 .12     •CLAYEY SAND to SANDY CLAY
        9 .34        213 .7          270. 7         4.99         41 .12     •HEAVILY O.C./CEMENT. MAT.
       10 .33        197 .1          245.5          5.69         41 .12     *HEAVILY O.C./CEMENT. MAT.
       10 .33        178 .6          218. 3         7.08         41 .12     •HEAVILY O.C./CEMENT. MAT.
       11 .32        164 .6          198.5          6.49         41 .12     •HEAVILY O.C./CEMENT. MAT.
       11 .81        213 .1          253. 0         6 .41        41 .12     •HEAVILY O.C./CEMENT. MAT.
       12 .30        246 .6          283.4          4.72         41 .12     •HEAVILY O.C./CEMENT. MAT.
       12 .30        212 .2          244.5          3 .94        19 .44     •CLAYEY SAND to SANDY CLAY
       13 .29        176 .6          200.6          3 .30         6 .40     •SILTY SAND to CLAYEY SAND
       13 .78        166 .1          136. 1         2.92          3 .71     •SILTY SAND to CLAYEY SAND
       14 .27        155 .4          171. 8         3 .20           .96     •SILTY SAND to CLAYEY SAND
       14 .76        152 .2          166. 0         3 .14         1.12      •SILTY SAND to CLAYEY SAND
       15 .25        164 .6          177.2          3 .37         1.33      •CLAYEY SAND to SANDY CLAY
       15 .75         27 .7           29.4          2 .17           .05      SANDY SILT to CLAYEY SILT
       16 .24         51 .3           53.8          2.34            .11      SILTY SAND to SANDY SILT
       IS .73         87 .0           90.2          2.65            .41      SILTY SAND to SANDY SILT
       17 .22        122 .2          125.1          2.45            .67      SILTY SAND to SANDY SILT
       17 .72        165 .5          167. 4         2 .88         1.08      •SILTY SAND to CLAYEY SAND
       18 .21        189 .3          189. 2         3 .32         1.40      •SILTY SAND to CLAYEY SAND
       18 .70        157 .6          155. 7         2 .77         1.56      •SILTY SAND to CLAYEY SAND
       19 .19        179 .7          175.4          3 .68         1.98      •CLAYEY SAND to SANDY CLAY
       19 .69        178 .0          171. 9         3 .60         2 .12     •CLAYEY SAND to SANDY CLAY
       20 .18        252 .6          241.2          2 .58         4.11      •SILTY SAND to CLAYEY SAND




•INDICATES OVERCONSOLIDATHD OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT MT - 110 PCF
ASSUMED DEPTH OF HATER TABLE - 30.0 FT




                                                                                      The Earth Technology
                                                                                     Corporation


                                                   Exhibit 39
                                                     5407
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                                      #:5451
                                                                        PAGE 2 Of 3
    SOUNDING : CPT-V1



            DEPTH    TIP RESISTANCE     NORMALIZED     FRICTION     CONE PORE       SOIL BEHAVIOR TYPE
                                      TIP RESISTANCE     RATIO      PRESSURE
              (ft)        (tsf)            (tsf)           (*)         (tsf)

             20.67       310.1           292.8          2. 65        16.70      *SILTY SAND to CLAYEY SAND
             21.16       207.9            194.2         3.91          6.21      •CLAYEY SAND to SANDY CLAY
            21.65        276.6           255.6          2.50          7.82      •SILTY SAND to CLAYEY SAND
            22.15         179.2          163.9          3.33          4.32      •CLAYEY SAND to SANDY CLAY
            22.64        189.4           171.4          2.97          3.50      •SILTY SAND to CLAYEY SAND
            23.13        211.1           189.1          3.82          4.21      •CLAYEY SAND to SANDY CLAY
            23.62        180.7           160.1          5.40          4.11      •SANDY CLAY to SILTY CLAY
            24.11        192.2           163.6          5.82          2.65      •SANDY CLAY to SILTY CLAY
            24.61        141.6           123.0          5.40          2.31      •SANDY CLAY to SILTY CLAY
            25.10        240.3           206.6          3.16          2.90      •SILTY SAND to CLAYEY SAND
            25.59        146.7           124.9          5.50          2.40      •SANDY CLAY to SILTY CLAY
            26.08          96.4            81.3         5.74          2.14      •SANDY CLAY to SILTY CLAY
            26.57        116.5             97.3         5.52          2.07      •SANDY CLAY to SILTY CLAY
            27.07        177.7           147.0          3.21          2.28      •SILTY SAND to CLAYEY SAND
            27.56        275.1           225.4          3.56          2.15      •CLAYEY SAND to SANDY CLAY
            28.05        150.3           122.0          5.13          1.37      •SANDY CLAY to SILTY CLAY
            28.54        108.0             86.9         4.68          1.57      •SANDY CLAY to SILTY CLAY
            29.04          74.5            59.3         5.59          1.53      •SANDY CLAY to SILTY CLAY
            29.53        110.8             87.4         4.42          1.56      •SANDY CLAY to SILTY CLAY
            30.02          83.3            65.2         5.33          1.43      •SANDY CLAY to SILTY CLAY
            30.51          66.9            52.2         4.45            .96     •SANDY CLAY to SILTY CLAY
            31.00          60.3            46.8         3.80            .93      SANDY SILT to CLAYEY SILT
            31.50          53.3            45.4         5.21            .89     •SANDY CLAY to SILTY CLAY
            31.99          55.2            42.5         4.99            .34     •SANDY CLAY to SILTY CLAY
            32.48          51.2            39.3         4.90           .81      •SANDY CLAY to SILTY CLAY
            32.97          51.2            39.1         3.36           .78       SANDY SILT to CLAYEY SILT
f           33.46          51.2            39.0         4.30           .76       CLAYEY SILT to SILTY CLAY
            33.96          50.2            38.1         3.19           .63       SANDY SILT to CLAYEY SILT
            34.45          65.3            49.3         2.51           .65       SANDY SILT to CLAYEY SILT
            34.94          71.6            53.9         3.31            .64      SANDY SILT to CLAYEY SILT
            35.43          57.0            42.7         3.70           .62       SANDY SILT to CLAYEY SILT
            35.93          51.0            38.1         4.23           .59       CLAYEY SILT to SILTY CLAY
            36.42          93.9            69.9         4.51           .65      •SANDY CLAY to SILTY CLAY
            36.91        150.7           111.7          4.86           .33      •SANDY CLAY to SILTY CLAY
            37.40          99.2            73.3         2.95           .80       SANDY SILT to CLAYEY SILT
            37.89          93.3            68.7         2.91           .81       SANDY SILT to CLAYEY SILT
            38.39          72.6            53.2         2.58           .76       SANDY SILT to CLAYEY SILT
            38.83          32.6            60.3         2.24           .77       SILTY SAND to SANDY SILT
            39.37          97.6            71.0         3.04           .78       SANDY SILT to CLAYEY SILT
            39.86        121.2             87. 9        3.62           .32      •CLAYEY SAND to SANDY CLAY
            40.35        147.7           106.6          4.28           .84      •CLAYEY SAND to SANDY CLAY
            40.85        234.0           168.3          5.50           .90      •SANDY CLAY to SILTY CLAY
            41.34        229.7           164.6          5.30           .94      •SANDY CLAY to SILTY CLAY
            41.33        143.7           102.6          4.40           .90      •CLAYEY SAND to SANDY CLAY
            42.32        250.6           178.3          5.16           .98      •SANDY CLAY to SILTY CLAY
            42.31        123.6             87.6         4.87           .34      •SANDY CLAY to SILTY CLAY
            43.31          63.8            45.1         4.20           .30      •SANDY CLAY to SILTY CLAY
            43.30          92.2            64.9         2.66           .43       SILTY SAND to SANDY SILT
            44.29          84.9            59.5         2.72           .43       SANDY SILT to CLAYEY SILT
            44.78        130.3             91.0         2.36           .48       SILTY SAND to SANDY SILT




    •INDICATES OVERCONSOLIDATED OR CEMENTED MATERIAL
    ASSUMED TOTAL UNIT WT - 110 PCF
    ASSUMED DEPTH 0? WATER TABLE - 30.0 FT




                                                                                          The Earth Technology
                                                                                         Corporation

                                                       Exhibit 39
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                                  #:5452
                                                                     PAGE 3 Of 3
 SOUNDING : CPT-VI



        DEPTH    TIP RESISTANCE     NORMALIZED     FRICTION     CONE PORE       SOIL BEHAVIOR TYPE
                                  TIP RESISTANCE     RATIO      PRESSURE
          (ft)        (tsf)            (tsf)           (%>        (tsf)

        45.28        153.5           106.9           4.23           .56     •CLAYEY SAND to SANDY CLAY
        45.77        118.1            81.9           4.46           .54     •SANDY CLAY to SILTY CLAY
        46.26        156.0           107.8           S.01           .61     •SANDY CLAY to SILTY CLAY
        46.75        164.0           112.9           5.74           .70     •SANDY CLAY to SILTY CLAY
        47.24        138.6            95. 1          4.57           .86     •SANDY CLAY to SILTY CLAY
        47.74        150.7           103.0           4.79           .90     •SANDY CLAY to SILTY CLAY
        48.23        228.0           155.3           S.33         1.20      •SANDY CLAY to SILTY CLAY
        48.72        155.9           105. 8          3.50         1.20      •CLAYEY SAND to SANDY CLAY
        49.21        137.0            92.6           4.85         1.19      •SANDY CLAY to SILTY CLAY
        49.70        141.0            95. 0          5.23         1.23      •SANDY CLAY to SILTY CLAY
        50.20        117.5            78.9           4. 45        1.24      •SANDY CLAY to SILTY CLAY
        50.69         93.0            62.2           2.85         1.25       SANDY SILT to CLAYEY SILT
        51.18         81.7            54.5           2.89         1.22       SANDY SILT to CLAYEY SILT
        51.67         90.5            60.1           2.81         1.20       SANDY SILT to CLAYEY SILT
        52.17         90.6            60.0           3. OS        1.21       SANDY SILT to CLAYEY SILT
        52.66         38.5            58.4           3.54         1.21       SANDY SILT to CLAYEY SILT
        53.15         93.4            61.4           3.26         1.25       SANDY SILT to CLAYEY SILT
        53.64        121.2            79.4           S.05         1.33      •SANDY CLAY to SILTY CLAY
        54.13        308.9           201.6           3.24         2.89      •SILTY SAND CO CLAYEY SAND
        54.63        120.8            78.6           2.48         1.95       SILTY SAND CO SANDY SILT
        55.12        286.3           185.6           4.26         2.51      •CLAYEY SAND to SANDY CLAY
        55.61        443.7           286.6           4.49         4.96      •CLAYEY SAND to SANDY CLAY
        56.10        154.5            99.5          • **•»        4.40




•INDICATES OVERCONSOLIDATED OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT VTT - 110 PC?
ASSUMED DEPTH OF WATER TABLE « 30.0 FT




                                                                                     The Earth Technology
                                                                                    Corporation


                                                   Exhibit 39
                                                     5409
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                                  #:5453           SOIL BEHflVIOR TYPE
             FRICTION RflTIO         TIP RESISTflNCE (QC)               iNCREflSING GRflIN SIZE              i»-
            (FS/QC) (PERCENT)            TONS/SQ FT
                                                                            CLflY          StLT      SflNO         ORflVEL
                            Q    0            200              400




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      SO                                                                                                                80




      90                                                                                                                90




      100                                                                                                              100


                  TIP RESISTflNCE NOT CORRECTED FOR END flREfl EFFECT

                  RSSUMED TOTflL UNIT MT = 110 PCF          flSSUMED       C3EPTH OF WfiTER TflBLE = 60.0 FT




CONE PENETRRTION TEST                                                  SOUNDING NUMBER: CPT-VZ
PROJECT NRME          : ENVIRON/MC COLL                CONE/RID .- 473/Rc3                        r THE EflRTH TECHNOLOGY
                                                                                                  'CORPORflT3 ON
PROJECT NUMBER : 94-380-12102                          OflTE/TIME: 04-12-94 07=03



                                                       Exhibit 39
                                                         5410
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                                  #:5454
          CONE PORE PRESSURE (Ul                 TIP RESISTflNCE (QC)                PORE PRESSURE RftTCQ
                TONS/SQ FT                           TONS/SQ FT                            U/QC
           32       IS       0         0        100      200      300            400 0.0     0.5       1.0
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               TIP   RESISTflNCE NOT CORRECTED FOR END flREfl EFFECT




CONE PENETRRTION TEST                                                      SOUNDING NUMBER: CPT-V2

PROJECT NOME         : ENVIRON/MC COLL                    CONE/RIO : 473/R±t3                •» THE EflRTH TECHNOLOGY
PROJECT NUMBER       : 94-380-12102                       DOTE/TIME: 04-12-94 07:03             CORPORflTION



                                                       Exhibit 39
                                                         5411
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                                   #:5455
                                                                                            r**************

*                                                                                                               *

*                                    CONE PENETRATION TEST                                                      *
*                                                                                                               *
* SOUNDING : CPT-V2                       PROJECT No.: 94-380-12102 *
* PROJECT : ENVIRON/MC COLL              CONE/RIG : 473/R#3          *
* DATE/TIME: 04-12-94 07:03                                          *
*                                                                    *
*********************************************************************
                                                           PAGE 1 of 2

        DEPTH     TIP RESISTANCE     NORMALIZED     FRICTION       CONE PORE       SOIL BEHAVIOR TYPE
                                   TIP RESISTANCE     RATIO        PRESSURE
          (ft)        (tsf)            (tsf)            (%)           (tsf)

            .49       23.7             60.3          6.29              .30     •SANDY CLAY to SILTY CLAY
            .98       25.9             58.7          4.40              .28     •SANDY CLAY to SILTY CLAY
         1.48         32.7             68.4          5.17              .35     •SANDY CLAY to SILTY CLAY
         1.97         18.9             37.2          7.30              .34     •SANDY CLAY to SILTY CLAY
         2.46         22.0             41.0          7.65              .31     •SANDY CLAY to SILTY CLAY
         2.95         36.0             64.3          6.40              .46     •SANDY CLAY to SILTY CLAY
         3.44         42.3             73.8          6.70              .53     •SANDY CLAY CO SILTY CLAY
         3.94         34.5             57.4          6.93              .45     •SANDY CLAY to SILTY CLAY
         4.43         62.1            100.2          3.53              .82     •CLAYEY SAND to SANDY CLAY
         4.92         97.2            152.3          2.82            2.13      •SILTY SAND to CLAYEY SAND
         5.41         59.5             90.9          6.27            1.29      •SANDY CLAY to SILTY CLAY
         5.91         74.4            110.8          6.31            1.52      •SANDY CLAY to SILTY CLAY
         6.40        107.6            156.4          4.41            1.76      •CLAYEY SAND to SANDY CLAY
         6.39         87.8            124.8          2.36            1.93       SILTY SAND to SANDY SILT
         7.38        100.5            139.9          2.39            2.22       SILTY SAND to SANDY SILT
         7.37        150.5            205.1          2.76            4.69      *SILTY SAND to CLAYEY SAND
         8.37        190.0            254.1          1.87           20.23       SAND to SILTY SAND
         8.36        253.8            333.1          1.S9           29.42       SAND to SILTY SAND
         9.35        263.2            339.3          2.26           10.20      •SILTY SAND to CLAYEY SAND
         9.34        457.1            578.9          2.25           41.02      •SAND to SILTY SAND
        10.33        262.3            326.7          5.52           24.54      •HEAVILY O.C./CEMENT. MAT.
        10.83        222.5            272.6          5.86           29.53      •HEAVILY O.C./CEMENT. MAT.
        11.32        191.8            231.3          5.18           26.31      •SANDY CLAY to SILTY CLAY
        11.31        176.8            209.9          5.28            2.02      •SANDY CLAY to SILTY CLAY
        12.30        244.4            235.8          4.78            2.64      •HEAVILY O.C./CEMENT. MAT.
        12.80        237.6            273.8          5.79            2.75      •HEAVILY O.C./CEMENT. MAT.
        13.29        196.6            223.4          4.67            2.72      'CLAYEY SAND to SANDY CLAY
        13.78        191.7            214.8          3.64            2.79      •CLAYEY SAND to SANDY CLAY
        14.27        171.7            139.3          3.00            2.72      •SILTY SAND to CLAYEY SAND
        14.76        146.6            159.8          2.56            2.63      •SILTY SAND to CLAYEY SAND
        15.26        148.2            159.5          3.48            1.55      •CLAYEY SAND to SANDY CLAY
        15.75        160.2            170.2          3.62            1.93      •CLAYEY SAND to SANDY CLAY
        16.24        155.1            162.7          4.93            1.95      •SANDY CLAY to SILTY CLAY
        16.73        149.0            154.4          5.03            1.96      •SANDY CLAY to SILTY CLAY
        17.22        146.1            149.5          4.33            1.91      •CLAYEY SAND CO SANDY CLAY
        17.72        144.5            146.1          4.73            1.91      •SANDY CLAY to SILTY CLAY
        18.21        135.6            135.5          4.78            1.7S      •SANDY CLAY to SILTY CLAY
        18.70        159.4            157.4          4.11            1.93      •CLAYEY SAND to SANDY CLAY
        19.19        186.3            181.9          3.85            2.47      •CLAYEY SAND to SANDY CLAY
        19.69        197.3            190.5          3.89            2.59      •CLAYEY SAND to SANDY CLAY
        20.13        210.2            200.7          3.96            3.07      •CLAYEY SAND to SANDY CLAY




•INDICATES OVERCONSOLIDATED OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT WT » 110 PCF
ASSUMED DEPTH OF WATER TABLE - 60.0 FT




                                                                                         The Earth Technology
                                                                                        Corporation


                                                      Exhibit 39
                                                        5412
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                                  #:5456
                                                                     PAGE 2 of 2
 SOUNDING      CPT-V2



        DEPTH    TIP RESISTANCE     NORMALIZED     FRICTION     CONE PORE       SOIL BEHAVIOR TYPE
                                  TIP RESISTANCE     RATIO      PRESSURE
          (ft)        (tsf)           (tsf)            (*)        (tsf)

         20.67        177.0           167.1           5.82        3.08       •SANDY CLAY to SILTY CLAY
         21.16        218.2           203.3           3.48        3.47       •CLAYEY SAND CO SANDY CLAY
         21.65        199.5           184.4           5.08        3.30       •SANDY CLAY to SILTY CLAY
         22.15        197.6           180.7           5.26        3.41       •SANDY CLAY to SILTY CLAY
         22.64        178.5           161.5           4.47        3.33       •CLAYEY SAND to SANDY CLAY
         23.13        211.6           189.5           3.29        3.81       •SILTY SAND to CLAYEY SAND
        23.62        183.5            162.6          4.20         4.02       •CLAYEY SAND to SANDY CLAY
        24.11        213.0            186.8           2.74        4.16      •SILTY SAND to CLAYEY SAND
        24.61        221.0            192.0           3.09        5.25      •SILTY SAND to CLAYEY SAND
        25.10        175.2            150.7          4.30         3.35      •CLAYEY SAND to SANDY CLAY
        25.59        188.8           160.8           4.60         3.34      •CLAYEY SAND to SANDY CLAY
        26.08        180.6           152.3           4.22         3.37      •CLAYEY SAND to SANDY CLAY
        26.57        165.6           138.3           3.25         3.29      •CLAYEY SAND to SANDY CLAY
        27.07        193.5           160.0           3.91         3.87      •CLAYEY SAND to SANDY CLAY
        27.56        233.5           191.3           3.43         4.31      •CLAYEY SAND to SANDY CLAY
        28.05        201.1           163.2           3.86         3.42      •CLAYEY SAND to SANDY CLAY
        23.54        212.2           170.6           4.20         3.78      •CLAYEY SAND Co SANDY CLAY
        29.04        189.8           151.2           4.90         3.30      •SANDY CLAY to SILTY CLAY
        29.53        217.6           171.8           4.13         4.00      •CLAYEY SAND to SANDY CLAY
        30.02        219.2           171.4           5.23         4.09      •SANDY CLAY to SILTY CLAY
        30.51        182.2           141.3           5.22         3.93      •SANDY CLAY to SILTY CLAY
        31.00        214.8           165.0           3.51         3.96      •CLAYEY SAND Co SANDY CLAY
        31.50        256.7           195.4           3.00         2.58      •SILTY SAND to CLAYEY SAND
        31.99        268.1           202.3           3.21         3.02      •SILTY SAND to CLAYEY SAND
        32.48        292.7           219.0           2.58         3.35      •SILTY SAND to CLAYEY SAND
        32.97        256.9           190.5           3.26         3.59      •SILTY SAND to CLAYEY SAND
        33.46        270.1           198.5           2.84         3.97      •SILTY SAND to CLAYEY SAND
        33.96        291.2           212.2           2.05         3.92        SILTY SAND to SANDY SILT
        34.45        407.2           294.2           1.20         6.39        SAND to SILTY SAND
        34.94        409.2           293.1           1.72           .25       SAND CO SILTY SAND
        35.43        663.4           471.2           1.11           .39       SAND to SILTY SAND
        35.93        570.7           401.9           1.43           .73       SAND to SILTY SAND
        36.42        387.4           270.5           2.44           .98     •SILTY SAND to CLAYEY SAND
        36.91        262.6           131.9           5.21         1.01      •SANDY CLAY to SILTY CLAY
        37.40        289.5           198.8           3.25         1.23      •SILTY SAND to CLAYEY SAND
        37.89        455.5           310.2           1.48           .62       SAND to SILTY SAND
        38.39        373.6           252.4           2.13         -.01      •SILTY SAND to CLAYEY SAND
        33.88        443.0           296.7           2.35          .03      •SILTY SAND to CLAYEY SAND
        39.37        725.2           481.9           1.23           .13       SAND to SILTY SAND
        39.86        574.9           378.9             .91          .17      SAND CO SILTY SAND
        40.35        349.0           228.2           2.41           .21     •SILTY SAND CO CLAYEY SAND
        40.35        406.3           263.5           2.42           .22     •SILTY SAND to CLAYEY SAND
        41.34        397.3           255.6           1.83          .23       SAND to SILTY SAND
        41.83        360.3           229.9           2.66          .21      •SILTY SAND to CLAYEY SAND
        42.32        447.3           283.5           2.51          .23      •SILTY SAND to CLAYEY SAND
        42.31        489.2           307.3           1.60           .26      SAND CO SILTY SAND
        43.31        575.6           358.6           1.42          .31       SAND to SILTY SAND
        43.80        455.1           281.4                         .33




•INDICATES OVERCONSOLIDATED OR CEMENTED MATERIAL
ASSCMEO TOTAL UNIT WT - 110 ?C?
ASSUMED DEPTH OF HATER TABLE - 60.0 FT




                                                                                      The Earth Technology
                                                                                     Corporation


                                                   Exhibit 39
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                                                    #:5457


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                                                             Exhibit 39
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                                  #:5458
           CONE PORE PRESSURE (U)               TIP RESISTflNCE (QC)            PORE PRESSURE RflTIO
                 TONS/SQ FT                         TONS/SQ FT                         U/QC
             32       IS      0                100        200         300   400 0.0     0.5      1.0




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                TIP   RESISTANCE NOT CORRECTED FOR END RREfl EFFECT




CONE PENETRRTION TEST                                             SOUNDING NUMBER: CPT-V3



                                                                                                                  r
PROJECT NRME          : ENVIRON/MC COLL               CONE/RIG .- 473/Rs3                f THE ERRTH TECHNOLOGY
                                                                                           CORPORflTI ON
PROJECT NUMBER : 94-380-12102                         DfiTE/TIME: 04-12-94 08=21



                                                   Exhibit 39
                                                     5415
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                                   #:5459
*******
                                                                       r****************************
*
*                                   CONE PENETRATION TEST                                                      *
*                                                                                                              *
*    SOUNDING : CPT-V3                                                  PROJECT No.: 94-380-12102              *
*    PROJECT : ENVIRON/MC COLL                                          CONE/RIG : 473/R#3                     *
*    DATE/TIME: 04-12-94 08:21                                                                                 *


                                                                                                 PAGE 1 of 3

        DEPTH    TIP RESISTANCE     NORMALIZED     FRICTION       CONE PORE       SOIL BEHAVIOR TYPE
                                  TIP RESISTANCE     RATIO        PRESSURE
         (ft)        (tsf)            (tsf)            (%)          (tsf)

          .49          41.6          106 .8         3 .15             .29     •CLAYEY SAND to SANDY CLAY
          .98         49.7           112 .6         5 .45             .36     •SANDY CLAY to SILTY CLAY
        1.48           59.7          124 .7         4.73              .69     •SANDY CLAY to SILTY CLAY
        1.97           54.4          106 .9         3 .12             .71     •CLAYEY SAND to SANDY CLAY
        2 .46          30. 3         150 .1         2 .35           3.17       SILTY SAND to SANDY SILT
        2 .95          70. 3         125 .8         2 .66           3 .22      SILTY SAND to SANDY SILT
        3 .44          32.8           56 .5         3 .96           1.67      •CLAYEY SAND to SANDY CLAY
        3 .94         22.7            37 .8         5 .90           1.33      •SANDY CLAY to SILTY CLAY
        4 .43          16.3           26 .4         6 .18           1.12      •SANDY CLAY to SILTY CLAY
        4 .92          17.5           27 .5         6 .55             .65     •SANDY CLAY to SILTY CLAY
        5.41          15.7            24 .0         5.79              .61      SILTY CLAY TO CLAY
       ' .91
           5          13.4            19 .9         4.93              .62      CLAYEY SILT to SILTY CLAY
        6 .40         29. 7           43 .1         4.89            1.02      •SANDY CLAY to SILTY CLAY
        6 .39         29. 8           42 .4         7.98              .81     •SANDY CLAY to SILTY CLAY
        7.38          28. 9           40 .3         2 .30             .83      SANDY SILT to CLAYEY SILT
        7.37          27. 0           36 .3         2.49            1.00       SANDY SILT to CLAYEY SILT
        8 .37         17. 0           22 .7         3 .82             .78      CLAYEY SILT to SILTY CLAY
        8 .36         11. 9           IS .6         4.29              .81      CLAYEY SILT to SILTY CLAY
        9.35          22. 1           28 .5         4.02            1.11       CLAYEY SILT to SILTY CLAY
        9 .34         41.5            52 .5         5 .04           1.60      •SANDY CLAY to SILTY CLAY
       10 .33         42. 0           52 .4         S .71           1.92      •SANDY CLAY to SILTY CLAY
       10 .83         47. 7           58 .5         4.96            2.18      •SANDY CLAY to SILTY CLAY
       11 .32         30. 5           36 .3         e .39           2 .02     •SANDY CLAY to SILTY CLAY
       11 .81         31. 1           37 .0         5 .53           2 .15     •SANDY CLAY to SILTY CLAY
       12 .30         37. 7           44 .1         S .42           2.34      •SANDY CLAY to SILTY CLAY
       12 .30         55. 6           64 .0         5 .15           2 .67     •SANDY CLAY to SILTY CLAY
       13 .29         66. 1           75 .0         3 .69           4.31      •CLAYEY SAND to SANDY CLAY
       13 .78        170. 9          191 .4         5 .82          39 .74     •SANDY CLAY to SILTY CLAY
       14 .27        164. 8          182 .1         6 .54          41 .12     •SANDY CLAY to SILTY CLAY
       14 .76        169. 0          184 .3         5 .93          41 .12     •SANDY CLAY to SILTY CLAY
       15 .26        166.4           179 .0         6.83           41 .12     •HEAVILY O.C./CEMENT. MAT.
       15 .75        134.7           143 .1         6 .41          41 .12     •SANDY CLAY to SILTY CLAY
       15 .24        208. 6          218 .9         4.18            4.05      •CLAYEY SAND to SANDY CLAY
       16 .73        261. 2          270 .6         3 .66          32 .21     •CLAYEY SAND to SANDY CLAY
       17 .22        271. 2          277 .6         4.75           41 .12     •CLAYEY SAND to SANDY CLAY
       17 .72        257.0           259 .9         7.50           41 .12     •HEAVILY O.C./CEMENT. MAT.
       13 .21        185.9           185 .8         6.73           41 .12     •HEAVILY O.C./CEMENT. MAT.
       18 .70        176.3           174 .2         4 .46          23 .57     •CLAYEY SAND to SANDY CLAY
       19 .19        173.8           169 .7         3 .33           8 .48     •CLAYEY SAND to SANDY CLAY
       19 .69        181. 1          174 .8         2.12            4.50       SILTY SAND to SANDY SILT
       20 .18        136. 6          130 .5         3 .01           2.93      •SILTY SAND to CLAYEY SAND




•INDICATES OVERCONSOLIDATED OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT MT - 110 PCF
ASSUMED DEPTH OF WATER TABLE » 60.0 FT




                                                                                        The Earth Technology
                                                                                       Corporation


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        DEPTH    TIP RESISTANCE     NORMALIZED     FRICTION     CONE PORE       SOIL BEHAVIOR TYPE
                                  TIP RESISTANCE     RATIO      PRESSURE
          (ft)        (tsf)           (tsf)            (%)        (tsf)

         20.67        120.3           114.1          2.21         2.69         SILTY SAND to SANDY SILT
         21.16        119.1           111.3          3.01'        8.52       •SILTY SAND to CLAYEY SAND
         21.65        133.8           123.6          3.67         8.45       •CLAYEY SAND to SANDY CLAY
         22.15        123.4           112.9          5.36         9.39       •SANDY CLAY to SILTY CLAY
         22.64        148.9           134.8          3.81         8.39       •CLAYEY SAND to SANDY CLAY
         23.13        178.9           160.2          4.56         7.84       •CLAYEY SAND to SANDY CLAY
         23.62        109.4             97.0         5.03         7.45      •SANDY CLAY to SILTY CLAY
         24.11        132.9           116.6          4.19         6.41       •CLAYEY SAND to SANDY CLAY
         24.61        127.7           110.9         2.36          6.19        SILTY SAND to SANDY SILT
         25.10        163.4           140.5          2.64         6.63        SILTY SAND to SANDY SILT
         25.59         83.3            70.9         4.67          5.81      •SANDY CLAY to SILTY CLAY
         26.08       111.3             93.8          3.24         6.04      •CLAYEY SAND to SANDY CLAY
        26.57        232.3            194.0          3.15         6.83      •SILTY SAND to CLAYEY SAND
        27.07         157.4           130.2         3.68          7.20      •CLAYEY SAND to SANDY CLAY
        27.56        141.0            115.5         2.43          5.24        SILTY SAND to SANDY SILT
        28.05        183.3            148.7         2.34          5.40        SILTY SAND to SANDY SILT
        23.54        254.5           204.7          1.71          8.37        SAND CO SILTY SAND
        29.04        292.4           233.0             .76       12.45        SAND to SILTY SAND
        29.53        240.6           189.9          1.70            .61       SAND to SILTY SAND
        30.02        314.7           246.2          1.19            .83       SAND to SILTY SAND
        30.51        251.5           195.0          1.99            .93       SAND to SILTY SAND
        31.00        379.6           291.6          2.08            .98     •SAND to SILTY SAND
        31.50        467.8           356.2          1.35          1.31        SAND to SILTY SAND
        31.99        377.3           284.7            .92         1.54        SAND to SILTY SAND
        32.48        187.1           140.0          3.79          1.65      •CLAYEY SAND to SANDY CLAY
        32.97        453.2           336.0            .81         2.02        SANDY GRAVEL to SAND
        33.46        546.4           401.6            .75           .19       SANDY GRAVEL to SAND
        33.96        354.2           258.1            .34           .22       SAND to SILTY SAND
        34.45        311.8           225.2          2.43            .30     •SILTY SAND to CLAYEY SAND
        34.94        325.9           233.5          1.74            .32       SAND to SILTY SAND
        35.43        350.4           248.8          1.88            .35       SAND to SILTY SAND
        35.93        313.3           220.7          2.28           .37      •SILTY SAND to CLAYEY SAND
        36.42        273.8           191.2          2.15            .40      SILTY SAND to SANDY SILT
        36.91        294.6           204.0          1.87            .41      SAND to SILTY SAND
        37.40        333.0           228.7          1.40            .44      SAND to SILTY SAND
        37.89        249.2           169.7          2.24            .18      SILTY SAND to SANDY SILT
        33.39        243.9           164.7          2.94           .20      •SILTY SAND to CLAYEY SAND
        33.38        247.5           165.8          3.07           .20      •SILTY SAND to CLAYEY SAND
        39.37        387.1           257.2          1.04           .23       SAND to SILTY SAND
        39.86        155.5           102.5          3.28           .22      •CLAYEY SAND to SANDY CLAY
        40.35          99.8            65.3         3.15           .20       SANDY SILT to CLAYEY SILT
        40.35        197.9           128.3          2.03           .14       SItTY SAND to SANDY SILT
        41.34        388.0           249.6            .85          .18       SAND to SILTY SAND
        41.33        293.8           187.5          1.26           .06       SAND to SILTY SAND
        42.32        264.2           167.3          1.59           .06       SAND to SILTY SAND
        42.81        266.6           167.4          1.73           .10       SAND to SILTY SAND
        43.31        496.3           309.2          1.23           .14       SAND to SILTY SAND
        43.80        341.6           211.2          1.52           .17       SAND to SILTY SAND
        44.29        432.3           265.1          1.47           .18       SAND to SILTY SAND
        44.78        530.0           322.5          1.03           .23       SAND to SILTY SAND




•INDICATES OVERCONSOLIDATED OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT WT « 110 PCF
ASSUMED DEPTH OF WATSR TABLE » 60.0 FT




                                                                                      The Earth Technology
                                                                                     Corporation


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SOUNDING : CPT-V3



        DEPTH    TIP RESISTANCE     NORMALIZED     FRICTION      CONE PORE       SOIL BEHAVIOR TYPE
                                  TIP RESISTANCE     RATIO       PRESSURE
          (ft)        (tsf)           (tsf)            (%)         (tsf)

        45.28         570.1          344.2          1.40             .30      SAND to SILTY SAND
        45.77        444.6           266.3          2.20             .32     •SILTY SAND to CLAYEY SAND
        46.26        286.9           170.6          3.16             .32     •SILTY SAND to CLAYEY SAND
        46.75        335.0           197.6          2.04             .33      SILTY SAND to SANDY SILT
        47.24        257.3           150.6          2. 75            .32     •SILTY SAND to CLAYEY SAND
        47.74        473.4           277.9          2.04             .01     •SAND to SILTY SAND
        48.23        497.1           286.5          2.26             .05     •SILTY SAND to CLAYEY SAND
        48.72        533.4           305.1          1.95             .09     •SAND to SILTY SAND
        49.21        535.6           304.0          1.69             .12      SAND to SILTY SAND
        49.70        348.5           196.3          2.61             .14     •SILTY SAND to CLAYEY SAND
        50.20        203.4           113.7          4.47             .11     •CLAYEY SAND to SANDY CLAY
        50.69        222.5           123.4          3.07             .11     •SILTY SAND to CLAYEY SAND
        51.18        235.8           129.8            .07            .05     •CLAYEY SAND to SANDY CLAY
        51.67        151.9            83.0            .88            .05     •SANDY CLAY to SILTY CLAY
        52.17          72.0           39.0            .56            .04     •SANDY CLAY to SILTY CLAY
        52.66          96.7           52.0            .22            .06     •SANDY CLAY to SILTY CLAY
        53.15        181.3            96.8            .05            .06     •CLAYEY SAND to SANDY CLAY
        53.64          85.0           45.1          3.82             .06      SANDY SILT to CLAYEY SILT
        54.13          59.2           31.1          2.55             .06      SANDY SILT to CLAYEY SILT
        54.63          51.8           27.1          2.76            .07       SANDY SILT to CLAYEY SILT
        55.12          42.3           22.2          2.88            .07       SANDY SILT to CLAYEY SILT
        55.61          36.4           18.7          2.83            .07       SANDY SILT to CLAYEY SILT
        56.10          48.4           24.7          2.35            .07       SANDY SILT to CLAYEY SILT
        56.59          34.4           17.4          2.94            .06       SANDY SILT to CLAYEY SILT
        57.09          31.6           15.9          2.76            .07       SANDY SILT to CLAYEY SILT
        57.58          46.3           23.1          3.80            .07       CLAYEY SILT to SILTY CLAY
        58.07          50.4           25.0          2.94            .07       SANDY SILT to CLAYEY SILT
        58.56          43.2           21.2          2.22            .08       SANDY SILT to CLAYEY SILT
        59.06          51.3           25.0          3.08            .03       SANDY SILT to CLAYEY SILT
        59.55          92.9           45.1          3.93            .09       SANDY SILT to CLAYEY SILT
        60.04          63.0           30.3          4.50            .09       CLAYEY SILT to SILTY CLAY
        60.53          72.4           34.7          4.24            .10       CLAYEY SILT to SILTY CLAY
        61.02          61.4           29.3          4.43            .11       CLAYEY SILT to SILTY CLAY
        61.52          54.3           26.1          3.74            .12       CLAYEY SILT to SILTY CLAY
        62.01        113.7            54.0          4.84            .13      •SANDY CLAY to SILTY CLAY
        62.50          57.5           27.2          2.54            .14       SANDY SILT to CLAYEY SILT
        62.99          53.0           25.1          4.22            .14       CLAYEY SILT to SILTY CLAY
        63.43          99.5           46.8          5.59            .16      •SANDY CLAY to SILTY CLAY
        63.93         49.3            23.4            .78           .16       SILTY SAND to SANDY SILT
        64.47          59.7           27.9          3.33            .16       SANDY SILT to CLAYEY SILT
        64.96          36.0           16.8          3.25            .16       SANDY SILT to CLAYEY SILT
        65.45          56.4           26.2          4.90            .16       CLAYEY SILT to SILTY CLAY
        65.94        155.7            72.1          3.82            .17      •CLAYEY SAND to SANDY CLAY
        66.44          94.1           43.5          4.73            .17      •SANDY CLAY to SILTY CLAY
        66.93          71.2           32.8          4.71            .18       CLAYEY SILT to SILTY CLAY
        67.42        169.0            77.5          5.99            .19      •SANDY CLAY to SILTY CLAY
        67.91        119.9            54.9          5.91            .19      •SANDY CLAY to SILTY CLAY
        63.41        145.7            66.4          S.05            .19      •SANDY CLAY to SILTY CLAY
        68.90        389.4           177.0         ****«            .22




•INDICATES OVERCCNSOLIDATED OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT WT - 110 PCF
ASSUMED DEPTH OF WATER TABLE - 60.0 FT




                                                                                       The Earth Technology
                                                                                      Corporation

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                                  #:5462            SOIL BEHftVIOR TYPE
       FRICTION RflTIO            TIP RESISTflNCE (QC)                  INCREflSENG GRfltN SIZE                                   +-
      (FS/QC) (PERCENT)               TONS/SQ FT
                                                                               CLflY                       SILT           SflND        GRflVEL
                       0      0             200                 400
                                                                       .1.   l—l—l     1   i   '   L   '    '     ;   l    I   1—|—1_        Q




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                                                                                                                                          100


               TIP RESISTflNCE NOT CORRECTED FOR END flREfl EFFECT

               flSSUMED TOTfiL UNIT HT = 110 PCF          flSSUMED            CEPTH OF WftTER TR8LE = 40.0                     FT




CONE PENETRRTION           TEST                                       SOUNDING NUMBER:                                CPT-V4

PROJECT NOME       = ENVIRON/MCCOLL                  CONE/RIG : T-2/472                                           f THE EflRTH TECHNOLOGY

PROJECT NUMBER : 94-380-12102                        DRTE/TIME: 04-04-94 14=53
                                                                                                                   CORPORftTION

                                                                                                                                                      r
                                                   Exhibit 39
                                                     5419
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                                  #:5463
          CONE PORE PRESSURE C U 1                  TIP RES1STRNCE (GO           PORE PRESSURE RflTIO
                TONS/SQ FT                              TONS/SQ FT                      U/QC
              32             IB                                              400 0.0     0.5      1.0




         10                                                                                              10




         20                                                                                             20




         30                                                                                             30




        40                                                                                              40

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  UJ                                                                                                          m
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        60                                                                                              60




        70                                                                                              70




        80                                                                                              80




        90                                                                                              90




        100                                                                                             300


                   TIP   RESISTflNCE NOT CORRECTED FOR END flREfl EFFECT




CONE PENETRRTION TEST                                                  SOUNDING NUMBER: CPT-V4

PROJECT NOME             : ENVIRON/MCCOLL                 CONE/RIG : T-2/472              ' THE EflRTH TECHNOLOGY
                                                                                           CORPORflTION
PROJECT NUMBER           •    94-380-12102                DOTE/TIME: 04-04-94 14=53



                                                        Exhibit 39
                                                          5420
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                                  #:5464
 ****************                                                                                              r   ***
 *
 *                                  CONE PENETRATION TEST
 *                                                                                                                  *
 *   SOUNDING : CPT-V4                                                    PROJECT No.: 94-380-12102                 *
 *   PROJECT : ENVIRON/MCCOLL                                             CONE/RIG : T-2/472                        *
 *   DATE/TIME: 04-04-94 14:53                                                                                      *


                                                                                                  PAGE 1 of 3

        DEPTH    TIP RESISTANCE     NORMALIZED     FRICTION     CONE PORE         SOIL BEHAVIOR TYPE
                                  TIP RESISTANCE     RATIO      PRESSURE
         (ft)         {tsf)           (tsf)            (*)        (tsf)

          .49          57.7           148.1          2.43           .16         SILTY SAND to SANDY SILT
          .98          78.6           178.2          4.26           .17        •CLAYEY SAND to SANDY CLAY
         1.43          61.6           128. g         3.52           .15       •CLAYEY SAND to SANDY CLAY
         1.97          36.2            71.2          5.25          .12        •SANDY CLAY to SILTY CLAY
         2.46          23.7            44.3          6.83          .10        •SANDY CLAY to SILTY CLAY
         2.95          82.1          146.9           2.67          .16        •SILTY SAND to CLAYEY SAND
         3.44          29.4            50.7          4.62          .13        •SANDY CLAY to SILTY CLAY
         3.94          61.6          102.5           3.69          .15        •CLAYEY SAND to SANDY CLAY
         4.43        127.8           206.2           2.46          .19        •SILTY SAND to CLAYEY SAND
        4.92          30.2             47.4          5.00          .15        •SANDY CLAY to SILTY CLAY
         5.41          56.5            86.2          4.34          .16        •CLAYEY SAND to SANDY CLAY
        5.91          54.2             80.7          4.11          .17        •CLAYEY SAND to SANDY CLAY
         6.40          63.5            92.3          4.28          .20        •CLAYEY SAND to SANDY CLAY
         6.89         61.6             87.5          3.95          .22        •CLAYEY SAND to SANDY CLAY
        7.38          55.2             76.8          4.55          .25        •SANDY CLAY to SILTY CLAY
        7.87          70.2             95.7          4.54          .30        •SANDY CLAY to SILTY CLAY
        8.37          61.6             82.4          4.40          .34        •SANDY CLAY to SILTY CLAY
         8.36         64.2             84.3          4.31          .38        •CLAYEY SAND to SANDY CLAY
         9.35         67.2             86.5          4.63          .42        •SANDY CLAY to SILTY CLAY
        9.84          75.2             95.3          4.35          .48        •CLAYEY SAND to SANDY CLAY
       10.33          63.6             79.2          3.26          .52          SANDY SILT to CLAYEY SILT
       10.83          49.0             60.0          4.07          .57        •CLAYEY SAND to SANDY CLAY
       11.32          59.2             71.3          3.79          .61        •CLAYEY SAND to SANDY CLAY
       11.31          81.8             97.1          3.31          .70        •CLAYEY SAND to SANDY CLAY
       12.30          94.8           110.9           1.21          .76          SAND to SILTY SAND
       12.80         107.3           123.7           2.39          .73        •SILTY SAND to CLAYEY SAND
       13.29          59.8             68.0          3.83          .70        •CLAYEY SAND to SANDY CLAY
       13.78          80.2             89.9          1.71          .70          SILTY SAND to SANDY SILT
       14.27          79.2             87.5         3.83           .70        •CLAYEY SAND to SANDY CLAY
       14.76          63.0             68.7         4.08           .70        •CLAYEY SAND to SANDY CLAY
       15.26          78.9             84.9         4.95           .71        •SANDY CLAY to SILTY CLAY
       15.75         134.7           143.1          4.22           .77        •CLAYEY SAND to SANDY CLAY
       16.24         199.1           208.9          4.35            .90       •CLAYEY SAND to SANDY CLAY
       16.73         247.7           256.7          5.72          1.05        •HEAVILY O.C./CEMENT. MAT.
       17.22         391.0           400.2          3.92          1.32        •CLAYEY SAND to SANDY CLAY
       17.72         278.7           281.8          5.63          2.33        •HEAVILY O.C./CEMENT. MAT.
       13.21         302.4           302.2          5.16          2.60        •HEAVILY O.C./CEMENT. MAT.
       18.70         280.9           277.5          3.54          2.83        •SILTY SAND to CLAYEY SAND
       19.19         239.5           233.9          1.42          2.63         SAND to SILTY SAND
       19.69         226.1           218.3          1.04          2.60         SAND to SILTY SAND
       20.18         192.0           183.3          1.53          2.52         SAND to SILTY SAND




•INDICATES OVERCONSOLIDATSD OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT WT - 110 PCF
ASSUMED DEPTH OF WATER TABLE • 40.0 FT




                                                                                        The Earth Technology
                                                                                       Corporation


                                                   Exhibit 39
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SOUNDING : CPT-V4



        DEPTH    TIP RESISTANCE     NORMALIZED     FRICTION      CONS PORE        SOIL BEHAVIOR TYPE
                                  TIP RESISTANCE     RATIO       PRESStj-RS
         (ft)         (tsf)           (tsf)            (%)          (tsf)

        20.67         179.8          169.8          1.98            2.26       SILTY SAND to SANDY SILT
        21.16        219.5           205.0          4.06            2.46      •CLAYEY SAND to SANDY CLAY
        21.65        287.0           265.2          4.22            2.89      •CLAYEY SAND to SANDY CLAY
        22.15        230.8           211.0          2.66            2.81      •SILTY SAND to CLAYEY SAND
        22.64        181.9           164.6          1.95            2.62       SILTY SAND to SANDY SILT
        23.13        178.2           159.5            .99           2.60       SAND to SILTY SAND
        23.62        363.4           322.1          2.05            2.96      •SAND to SILTY SAND
        24.11        363.7           319.1          2.47            3.11      •SILTY SAND to CLAYEY SAND
        24.61        359.9           312.6          1.92            3.20      •SAND to SILTY SAND
        25.10        255.2           219.5          2.56            3.11      •SILTY SAND to CLAYEY SAND
        25.59        163.6           139.3          2.58            2.89       SILTY SAND to SANDY SILT
        26.08        141.6           119.4          2.21            2.73       SILTY SAND to SANDY SILT
        26.57        151.2           126.3          1.95            2.66       SILTY SAND to SANDY SILT
        27.07        161.4           133.5          2.08            2.56       SILTY SAND to SANDY SILT
        27.56          98.5           80.7          3.49            2.42      •CLAYEY SAND to SANDY CLAY
        28.05          84.3           63.5          3.07            2.30       SANDY SILT to CLAYEY SILT
        28.54        136.1           109.4          1.66            2.32       SILTY SAND to SANDY SILT
        29.04        191.5           152.6          1.86            2.42       SILTY SAND to SANDY SILT
        29.53        139.2           109.9          2.92            2.33      •SILTY SAND to CLAYEY SAND
        30.02        126.4            98.9          2.10            2.18       SILTY SAND to SANDY SILT
        30.51        135.9           105.4          1.96            2.19       SILTY SAND to SANDY SILT
        31.00        158.3           121.6          3.86            2.24      •CLAYEY SAND to SANDY CLAY
        31.50        220.0           167.5          2.03            2.47       SILTY SAND to SANDY SILT
        31.99        271.0           204.5          2.10            2.53       SILTY SAND to SANDY SILT
        32.48        249.6           186.7          3.33            2.53      •SILTY SAND to CLAYEY SAND
        32.97        217.6           161.3          2.70            2.58      •SILTY SAND to CLAYEY SAND
        33.45        286.5           210.6          3.09            2.59      •SILTY SAND to CLAYEY SAND
        33.96        173.7           126.5          4.07            2.56      •CLAYEY SAND to SANDY CLAY
        34.45        266.2           192.3          1.55            2.65       SAND to SILTY SAND
        34.94        221.5           158.7          1.51            2.60       SAND to SILTY SAND
        35.43        210.4           149.5          1.31            2.61       SAND to SILTY SAND
        35.93        220.5           155.3          1.84            2.64       SAND to SILTY SAND
        36.42        170.9           119.4          1.74             .25       SILTY SAND to SANDY SILT
        36.91        135.9           128.7          1.57             .25       SAND to SILTY SAND
        37.40        187.6           128.8          2.03              .26      SILTY SAND to SANDY SILT
        37.39        189.1           128.8          2.49              .28      SILTY SAND to SANDY SILT
        38.39        233.3           157.9          1.75              .30      SAND to SILTY SAND
        38.83        286.1           191.7          1.52              .32      SAND to SILTY SAND
        39.37        230.4           186.3          1.59              .34      SAND to SILTY SAND
        39.36        227.1           149.6          1.76              .33      SAND to SILTY SAND
        40.35        224.7           147.4          1.66             .35       SAND to SILTY SAND
        40.85        182.3           119.2          3.30             .35      •CLAYEY SAND to SANDY CLAY
        41.34        170.0           110.7          3.22             .35      •CLAYEY SAND to SANDY CLAY
        41.83        437.3           283.3          1.06             .40       SAND to SILTY SAND
        42.32        353.5           228.6          1.12             .45       SAND to SILTY SAND
        42.81        370.2           238.6          1.37             .47       SAND to SILTY SAND
        43.31        412.0           264.7          1.48             .50       SAND to SILTY SAND
        43.80        463.9           296.9          1.57             .55       SAND to SILTY SAND
        44.29        277.5           177.0          1.71             .55       SAND to SILTY SAND
        44.78        407.2           258.8          1.15             .58       SAND to SILTY SAND




•INDICATES OVERCONSOLIDATED OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT HT - 110 PCF
ASSUMED DEPTH OF HATER TABLE • 40.0 FT




                                                                                        The Earth Technology
                                                                                       Corporation

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 SOUNDING : CPT-V4



        DEPTH    TIP RESISTANCE     NORMALIZED     FRICTION     CONE PORE       SOIL BEHAVIOR TYPE
                                  TIP RESISTANCE     RATIO      PRESSURE
          (ft)        (tsf)           (tsf)            (%)        (tsf)

        45 .28       379 .2          240. 2          1.22          .60       SAND to SILTY SAND
        45 .77       199 .0          125.6           3. 61         .59      •CLAYEY SAND to SANDY CLAY
        46 .26       221 .5          139. 4          2.05          .60       SILTY SAND to SANDY SILT
        46 .75       296 .7          186. 0          1.51          .56       SAND to SILTY SAND
        47 .24       296 .8          185.5           1.75          .51       SAND to SILTY SAND
        47 .74       139 .9           87.1           4.07          .24      •CLAYEY SAND to SANDY CLAY
        48 .23       253 .3          157.2           1.52          .25       SAND to SILTY SAND
        48 .72       122 .1            75.5          2.98          .26       SANDY SILT to CLAYEY SILT
        49 .21        91 .6            56.4          2. 00         .25       SILTY SAND to SANDY SILT
        49 .70       276 .2           169. 6         2.77          .28      •SILTY SAND to CLAYEY SAND
        50 .20       412 .3         " 252.4          1.29          .33       SAND to SILTY SAND
        50 .69       275 .4           168. 0         2. 82         .34      •SILTY SAND to CLAYEY SAND
        51 .18       531 .8           353. 7         1.16          .41       SAND to SILTY SAND
        51 .67       340 .9           206. 6         3. 04         .45      •SILTY SAND to CLAYEY SAND
        52 .17       290 .3           175.6             69         .45       SAND to SILTY SAND
        52 .66       313 .1           183.5        *** **          .47




•INDICATES OV2RCONSOLIDATED OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT WT - 110 PCF
ASSUMED DEPTH OF WATER TABLE - 40.0 FT




                                                                                     The Earth Technology
                                                                                    Corporation


                                                   Exhibit 39
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                                  #:5467            SOIL BEHflVIOR TYPE
             FRICTION RflTIO           TIP RESISTflNCE (QC)               INCREASING GRflIN SIZE              ^>
            (FS/QC) (PERCENT)              TONS/SQ FT
                                                                              CLflY         SILT      SflND        GRflVEL
                             0 0               200          4QO




       10




       20                                                                                                               20




       30                                                                                                               30




      40                                                                                                                40

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      60                                                                                                                60




      70                                                                                                                70




      80                                                                                                                80




      90                                                                                                                90




      100                                                                                                             100

                  TIP   RESISTflNCE NOT CORRECTED FOR END flREfl EFFECT

                  ftSSUMED TOTflL UNIT HT = 110 PCF          ftSSUHED        DEPTH OF HRTER TABLE = 65.0 FT




CONE PENETRRTION TEST                                                   SOUNDING NUMBER: CPT-V5

PROJECT NOME            : ENVIRON/MC COLL                CONE/RIO • 473/R«3                        C THE EflRTH TECHNOLOGY
                                                                                                    CORPORftTION
PROJECT NUMBER : 94-380-12102                            ORTE/TIME: 03-29-94 1 2 = 0 1



                                                       Exhibit 39
                                                         5424
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        CONE PORE PRESSURE (U)   TIP#:5468
                                      RESISTflNCE ( Q C ) PORE PRESSURE RflTIO
                   TONS/SQ FT                              TONS/SQ FT                     U/QC
            32            16         0    0        100          200       300   400 0.0    0.5     t .0
           D 1 i    '




          10                                                                                               10




          20                                                                                              20




         30                                                                                                30




         40                                                                                               40


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    5     50                                                                                              50
    i                                                                                                           •n
                                                                                                                m
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   I
         60'                                                                                              60




         70                                                                                               70




         80                                                                                               80




         90                                                                                               90




         100                                                                                              100


                   TIP   RESISTANCE N3T CORRECTED FOR END flREft EFFECT




 CONE PENETRRTION TEST                                                  SOUNDING NUMBER: CPT-V5
 PROJECT NOME            : ENVIRON/MC COLL                  CONE/RIG : 473/Ra3             i THE EflRTH TECHNOLOGY
                                                                                           'CORPORflTION
 PROJECT NUMBER : 94-380-12102                              DRTE/TIME: 03-29-94 12=01




                                                         Exhibit 39
                                                           5425
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                                   #:5469
                                                                                          r***************
***************:

*                                  CONE PENETRATION TEST
*
*    SOUNDING : CPT-V5                                                  PROJECT N o . : 94-380-12102
*    PROJECT : ENVIRON/MC COLL                                          CONE/RIG : 473/R#3
*    DATE/TIME: 03-29-94 12:01


                                                                                                 PAGE 1 of 3

        DEPTH    TIP RESISTANCE     NORMALIZED     FRICTION       CONE PORE       SOIL BEHAVIOR TYPE
                                  TIP RESISTANCE     RATIO        PRESSURE
         (ft)        (tsf)            (tsf)           (%)           (tsf)

          .49         23.5             60.2         S.20              .29     •SANDY CLAY to SILTY CLAY
          .98         58.3           132.0          4.07              .43     •CLAYEY SAND to SANDY CLAY
         1.48         52.4           109.6          4.83              .36     •SANDY CLAY to SILTY CLAY
         1.97         36.0             70.7         2.75              .33      SANDY SILT to CLAYEY SILT
         2.46         24.2             45.3         7.51              .30     •SANDY CLAY to SILTY CLAY
         2.95         14.0             25. 0        7.44              .27     •SANDY CLAY to SILTY CLAY
         3.44         15.0             25.8         8.60              .27     •SANDY CLAY to SILTY CLAY
         3.94         63.9           106.4          8.02              .40     •SANDY CLAY to SILTY CLAY
        4.43          63.3           111.0          7.92              .43     •SANDY CLAY to SILTY CLAY
        4.92          79.8           125.1          7.75              .46     •SANDY CLAY to SILTY CLAY
         5.41         81.1           123.8          8.13              .44     •SANDY CLAY to SILTY CLAY
         5.91         56.4             83.9         8.73              .39     •SANDY CLAY to SILTY CLAY
         6.40         57.9             84.1         7.72              .41     •SANDY CLAY to SILTY CLAY
         6.39         79.6           113.1          6.71              .44     •SANDY CLAY to SILTY CLAY
         7.38       115.4            160.5          6.00              .49     •SANDY CLAY to SILTY CLAY
         7.87       130.7            178.2          5.93              .55     •SANDY CLAY to SILTY CLAY
         8.37         99.1           132.5          6.54              .54     •SANDY CLAY to SILTY CLAY
         8.86        62.5              82.0         7.54              .39     •SANDY CLAY to SILTY CLAY
         9.35        73.9              95.3         7.17              .39     •SANDY CLAY to SILTY CLAY
         9.84         92.9           117.7          6.69              .41     •SANDY CLAY to SILTY CLAY
       10.33        140.9            175.5          4.19              .55     •CLAYEY SAND to SANDY CLAY
       10.83        206.0            252.4          2.82              .37     •SILTY SAND to CLAYEY SAND
       11.32        102.2            123.3          5.66              .23     •SANDY CLAY to SILTY CLAY
       11.81        124.9            148.3          5.35              .20     •SANDY CLAY to SILTY CLAY
       12.30        177.9            208.0          2.34              .24     •SILTY SAND to CLAYEY SAND
       12.80        100.0            115.2          4.69              .15     •SANDY CLAY to SILTY CLAY
       13.29        133.3            208.9          2.62              .25     •SILTY SAND to CLAYEY SAND
       13.73        102.5            114.9          5.34              .12     •SANDY CLAY to SILTY CLAY
       14.27        103.7            114.6          4.93              .14     •SANDY CLAY to SILTY CLAY
       14.76         99.5            108.5          5.03              .11     •SANDY CLAY to SILTY CLAY
       15.26        125. 2           134.7          6.25              .12     •SANDY CLAY to SILTY CLAY
       15.75        167.4            177.9          6.61             .20      •SANDY CLAY to SILTY CLAY
       16.24        192.8            202.3          6.60             .24      •HEAVILY O.C./CEMENT. MAT.
       16.73        282.1            292.2          6.64             .36      •HEAVILY O.C./CEMENT. MAT.
       17.22        239.9            245.5          6.01             .61      •HEAVILY O.C./CEMENT. MAT.
       17.72        265.3            263.3          2.16            1.02      •SILTY SAND to CLAYEY SAND
       18.21        366.2            366.0          2.50            1.72      •SILTY SAND to CLAYEY SAND
       18.70        453.3            447.7          5.32            1.92      •HEAVILY O.C./CEMENT. MAT.
       19.19        259.5            253.4          6.32            2.00      •HEAVILY O.C./CEMENT. MAT.
       19.69        270.4            261.1          7.42            2.08      •HEAVILY O.C./CEMENT. MAT.
       20.18        355.8            339.7          4.87            1.30      •HEAVILY O.C./CEMENT. MAT.




•INDICATES OVERCONSOLIDATED OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT WT - 110 PCF
ASSUMED DEPTH OF WATER TABLE - 65.0 FT




                                                                                        The Earth Technology
                                                                                       Corporation


                                                     Exhibit 39
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                                                                     PAGE 2 of 3
 SOUNDING : CPT-V5



        DEPTH    TIP RESISTANCE     NORMALIZED      FRICTION    CONE PORE       SOIL BEHAVIOR TYPE
                                  TIP RESISTANCE      RATIO     PRESSURE
          (ft)        (tsf)           (tsf)             (*)       (tsf)

        20.67         270.1           255.0           5.59         1.83      •HEAVILY O.C./CEMENT. MAT.
        21.16         363.5           339.6           3.18         1.94      •SILTY SAND to CLAYEY SAND
        21.65         255.1           235.7           4.27         2.13      •CLAYEY SAND to SANDY CLAY
        22.15         176.4           161.2           3.34         1.62     •CLAYEY SAND to SANDY CLAY
        22.64         199.7           180.7           2.84         1.73     •SILTY SAND to CLAYEY SAND
        23.13         191.7           171.7           2.97         1.77     •SILTY SAND to CLAYEY SAND
        23.62         181.2           160.6           3.02         1.81     •SILTY SAND to CLAYEY SAND
        24.11         179.2           157.3           3.64        1.83      •CLAYEY SAND to SANDY CLAY
        24.61        205.0            178.1          3.45          1.92     •CLAYEY SAND to SANDY CLAY
        25.10        186.4            160.3          3.35            .87    •CLAYEY SAND to SANDY CLAY
        25.59        217.3            135.1          3.19         1.03      •SILTY SAND to CLAYEY SAND
        26.08         189.9           160.2           2.90        1.08      •SILTY SAND to CLAYEY SAND
        26.57         186.5          155.8           2.91         1.08      •SILTY SAND to CLAYEY SAND
       27.07         183.0           151.4           2.73         1.09      •SILTY SAND to CLAYEY SAND
       27.56         181.7           148.9           2.83         1.09      •SILTY SAND to CLAYEY SAND
       28.05         180.1           146.2           2.36         1.11        SILTY SAND to SANDY SILT
       23.54         170.3           136.9           2.67            .93      SILTY SAND to SANDY SILT
       29.04         114.3             91.1          2.82           .85       SILTY SAND to SANDY SILT
       29.53         155.8           123.0           1.33           .85       SILTY SAND to SANDY SILT
       30.02         244.6           191.3           2.00         1.02        SILTY SAND to SANDY SILT
       30.51         263.3           204.5           2.27         1.11      •SILTY SAND to CLAYEY SAND
       31.00         324.2           249.1           2.11         1.28      •SILTY SAND to CLAYEY SAND
       31.50         301.3           229.8           1.68         1.36        SAND to SILTY SAND
       31.99         329.6           248.7           1.75         1.09        SAND to SILTY SAND
       32. 4S        332.0           248.3           2.34         1.51      •SILTY SAND to CLAYEY SAND
       32.97         167.4           124.1           3.24         1.42      •CLAYEY SAND to SANDY CLAY
       33.46         139.8           139.5           3.07         1.35      •SILTY SAND to CLAYEY SAND
       33.96         254.4           185.4           2.94         1.35      •SILTY SAND to CLAYEY SAND
       34.45         200.2           144.6           3.73         1.33      •CLAYEY SAND to SANDY CLAY
       34.94         233.1           167.0           2.33         1.03       SILTY SAND to SANDY SILT
       35.43         176.6           125.4           3.14         1.09      •CLAYEY SAND to SANDY CLAY
       35.93         164.6           115.9           3.55         1.03      •CLAYEY SAND to SANDY CLAY
       36.42         174.1           121.6           2.67         1.07       SILTY SAND to SANDY SILT
       36.91         189.1           131.0           3.05         1.11      •SILTY SAND to CLAYEY SAND
       37.40         143.0             98.2          3.66         1.05      •CLAYEY SAND to SANDY CLAY
       37.89         118.7             80.9          5.35         1.01      •SANDY CLAY to SILTY CLAY
       38.39         213.6           147.7           2.77           .35     •SILTY SAND to CLAYEY SAND
       33.88         162.0           108.5           4.43           .86     •SANDY CLAY to SILTY CLAY
       39.37         189.1           125.7           3.08           .33     •SILTY SAND to CLAYEY SAND
       39.86         282.4           186.1           2.20           .96      SILTY SAND to SANDY SILT
       40.35         256.4           167.6           2.69         1.04      •SILTY SAND to CLAYEY SAND
       40.85         171.3           111.1           4.91         1.00      •SANDY CLAY to SILTY CLAY
       41.34         142.9             91.9          4.83         1.00      •SANDY CLAY to SILTY CLAY
       41.83         439.0           280.1           1.29         1.20       SAND to SILTY SAND
       42.32         475.3           300.9           1.41         1.38       SAND to SILTY SAND
       42.31         540.4           339.4           1.48         1.60       SAND to SILTY SAND
       43.31         342.1           213.1           2.05         1.74       SILTY SAND to SANDY SILT
       43.80         209.9           129.7           3.77         1.85      •CLAYEY SAND to SANDY CLAY
       44.29         347.1           212.9           2.18         1.83       SILTY SAND to SANDY SILT
       44.78         187.8           114.3           3.64         1.73      •CLAYEY SAND to SANDY CLAY




•INDICATES OVERCONSOLIDATED OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT WT « 110 PCF
ASSUMED DEPTH OF WATER TABLE - 65.0 FT




                                                                                      The Earth Technology
                                                                                     Corporation


                                                   Exhibit 39
                                                     5427
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                                  #:5471                            PAGE 3 Of 3
SOUNDING      CPT-V5



        DEPTH    TIP RESISTANCE     NORMALIZED     FRICTION     CONE PORE       SOIL BEHAVIOR TYPE
                                  TIP RESISTANCE     RATIO      PRESSURE
         (ft)         (tsf)           (tsf)            (%)        (tsf)

        45.28        241.9            146.0         4.01             .33    •CLAYEY SAND to SANDY CLAY
        45.77         138.1            82.7         5.05             .31    •SANDY CLAY to SILTY CLAY
        46.26        282.8           168.1          2.44             .34     SILTY SAND to SANDY SILT
        46.75        147.2             86.8         4.90             .27    •SANDY CLAY to SILTY CLAY
        47.24        116.9            68.4          4.94             .26    •SANDY CLAY to SILTY CLAY
        47.74        121.3            70.4          4.05             .25    •CLAYEY SAND to SANDY CLAY
        48.23        131.4            75. 7         4.97             .23    •SANDY CLAY to SILTY CLAY
        48.72        234.1           133.9          3.61             .38    •CLAYEY SAND to SANDY CLAY
        49.21        182.3           103.5          3.81             .39    •CLAYEY SAND to SANDY CLAY
        49.70        219.9           123.9          3.34             .41    •CLAYEY SAND to SANDY CLAY
        50.20        263.9           147.5          2.47             .43     SILTY SAND to SANDY SILT
        50.69        129.1            71.6          5.75             .43    •SANDY CLAY to SILTY CLAY
        51.18        317.7           174.9          2.47            .43     •SILTY SAND to CLAYEY SAND
        51.67        356.8           195.0            .70           .50      SAND to SILTY SAND
        52.17        316.4           171.6          2.42            .23     •SILTY SAND to CLAYEY SAND
        52.66        258.1           138.9          3.27            .29     •CLAYEY SAND to SANDY CLAY
        53.15        292.2           156.1          3.03            .32     •SILTY SAND to CLAYEY SAND
        53.64        423.8           224.7          1.81            .37      SAND to SILTY SAND
        54.13        254.6           134.0          3.74            .38     •CLAYEY SAND to SANDY CLAY
        54.63        298.0           155.6          1.91            .41      SILTY SAND to SANDY SILT
        55.12        350.3           181.6          2.95            .47     •SILTY SAND to CLAYEY SAND
        55.51        323.4           169.0          3.26            .49     •SILTY SAND to CLAYEY SAND
        56.10        332.4           169.7          3.30            .52     •CLAYEY SAND to SANDY CLAY
        56.59        401.9           203.7          2.47            .56     •SILTY SAND to CLAYEY SAND
        57.09        449.6           226.2          2.42            .60     •SILTY SAND to CLAYEY SAND
        57.58        443.2           221.3          2.72            .66     •SILTY SAND to CLAYEY SAND
        58.07        458.1           227.1          2.84            .71     •SILTY SAND to CLAYEY SAND
        58.56        460.3           226.4          2.53            -57     •SILTY SAND to CLAYEY SAND
        59.06        434.4           212.1          2.29            .56     •SILTY SAND to CLAYEY SAND
        59.55        443.2           214.8          2.15            .59      SILTY SAND to SANDY SILT
        60.04        497.2           239.2          1.74            .57      SAND to SILTY SAND
        60.53        443.7           212.0            .64           .53      SAND to SILTY SAND
        61.02        483.5           229.3          1.42            .21      SAND to SILTY SAND
        61.52        452.0           212.7          1.28            .21      SAND to SILTY SAND
        62.01        578.2           270.1          2.15          3.55      •SILTY SAND to CLAYEY SAND
        62.50        458.4           212.6          2.99          3.58      •SILTY SAND to CLAYEY SAND
        52.99        358.3           164.9          2.54          3.63      •SILTY SAND to CLAYEY SAND
        63.43        500.9           228.9            .56         3.70       SANDY GRAVEL to SAND
        63.93        546.0           247.7          1.70            .24      SAND to SILTY SAND
        64.47        543.8           244.9          2.16            .23     •SILTY SAND to CLAYEY SAND
        64.96        488.3           218.3          1.83            .23      SAND to SILTY SAND
        55.45        510.7           227.5          1.53            .23      SAND to SILTY SAND
        65.94        551.5           244.9         • »***           .23




•INDICATES OVERCONSOLIDATSD OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT WT » 110 PCF
ASSUMED DEPTH 0? HATER TA3LE - 65.0 FT




                                                                                      The Earth Technology
                                                                                     Corporation


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                                                     SOIL BEHAVIOR TYPE
                                  #:5472
              FRICTION RF1TIO           TIP RESISTRNCE (QC)                 1NCRERSINO ORfilN SIZE               ^-
             CFS/QC) (PERCENT!              TONS/SQ FT
                                                                                CLflY          SILT      SflND        GRflVEL
                               0   0             200                400




  Ul
  UJ
  U.

  5     50


  1



       80




       90                                                                                                                 90




       100                                                                                                               100


                   TIP   RESrSTPNCE NOT CORRECTED FOR END flREfl EFFECT

                   ASSUMED TOTPL UNIT UT = 110 PCF             flSSUMED        DEPTH OF UflTER TRELE = 30.0   FT




 CONE PENETRRTION TEST                                                    SOUNDING NUMBER-- CPT-V6

 PROJECT NRME            : ENVIRON/MCCOLL                 CONE/RIG : T-2/472                          r THE ERRTH TECHNOLOGY
                                                                                                       CORPORftTJON
 PROJECT NUMBER : 94-380-12102                            DfiTE/TIME.- 03-30-94 10:B7



                                                       Exhibit 39
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       CONE PORE PRESSURE ( U l TIP #:5473
                                    RESISTfiNCE (QC)    PORE PRESSURE RflTIO
                   TONS/SQ FT                          TONS/SQ FT                        U/QC
              32           16       0    0                  200          300   400 0.0   0.5      1.0




         10                                                                                              10




         20                                                                                             20




         30                                                                                             30




        40                                                                                              40

                                                                                                              a
   LJ                                                                                                         rn
   UJ                                                                                                         T)
   U.
                                                                                                              x
   2     50                                                                                             50    ~

   o_                                                                                                         m
   UJ
   D


         60                                                                                             60




        70                                                                                              70




        80                                                                                              80




        90                                                                                              90




        too                                                                                             100


                   TIP RESISTflNCE NOT CORRECTED FOR END flREfl EFFECT




CONE PENETRRTION TEST                                                SOUNDING NUMBER: CPT-V6

PROJECT NOME           : ENVIRON/MCCOLL                 CONE/RIO : T-2/472                f THE EflRTH TECHNOLOGY
                                                                                           CORPORflTI ON
PROJECT NUMBER         :   94-380-12102                 DfiTE/TIME: 03-30-94 10=57



                                                      Exhibit 39
                                                        5430
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                                  #:5474
************
*
*                     CONE PENETRATION TEST                                                                   *
*                                                                                                             *
*  SOUNDING : CPT-V6                 PROJECT N o . : 94-380-12102                                             *
*  PROJECT   : ENVIRON/MCCOLL        CONE/RIG : T-2/472                                                       *
* DATE/TIME : 03-30 -94 10:57                                                                                 *
*                                                                                                             *
******************** ********** ******* ********!*************************
                                                                                                 PAGE 1 of 4

        DEPTH    TIP RESISTANCE     NORMALIZED     FRICTION     CONE PORE       SOIL BEHAVIOR TYPE
                                  TIP RESISTANCE     RATIO      PRESSURE
          (ft)        (tsf)           (tsf)            (t)        (tsf)

           .49           .2              .4          5.88            .00
           .98          1.6             3.7          3.66            .00       SILTY CLAY to CLAY
         1.48           3.4             7.0         4.76            .02        SILTY CLAY TO CLAY
         1.97           4.3             9.4          6.72            .28       SILTY CLAY TO CLAY
         2.46           3.9            7.3          8.95            .37        CLAY TO ORGANIC CLAY
         2.95         11.0            19.7          4.73            .95        CLAYEY SILT to SILTY CLAY
         3.44         38.2            65.8          3.98          1.33       •CLAYEY SAND to SANDY CLAY
         3.94         36.5            60.3          4.55           1.44      •SANDY CLAY to SILTY CLAY
         4.43         34.1            55. 1         4.51          1.45       •SANDY CLAY to SILTY CLAY
         4.92         26.3            41.3          4.56          1.47       •SANDY CLAY to SILTY CLAY
         5.41         26.0            39.8          4.84          1.22       •SANDY CLAY to SILTY CLAY
         5.91         35.1            52.2          1.32          1.25         SILTY SAND to SANDY SILT
         6.40         28.3            41.1          2.90          1.27        SANDY SILT to CLAYEY SILT
         6.89         21.5            30.6          3.07          1.33        SANDY SILT to CLAYEY SILT
         7.38         17.7            24.6          4.24          1.37        CLAYEY SILT to SILTY CLAY
         7.87         92.6           126.2          2.34          1.27        SILTY SAND to SANDY SILT
         8.37         33.8            45.2          4.09          1.30        CLAYEY SILT to SILTY CLAY
         8.86         41.2            54.1            .92         1.32        SAND to SILTY SAND
         9.35         36.8            47.4          1.44          1.31        SILTY SAND to SANDY SILT
         9.84         29.3            37.1          5.77          1.30      •SANDY CLAY to SILTY CLAY
        10.33         34.2            42.6          5.47          1.32      •SANDY CLAY to SILTY CLAY
        10.83         57.8            70.8          2.89          1.41        SANDY SILT to CLAYEY SILT
        11.32         54.5            65.7          3.80          1.53      •CLAYEY SAND to SANDY CLAY
        11.81         50.9            60.4          4.22          1.57      •SANDY CLAY to SILTY CLAY
        12.30         65.2            76.3          3.31          1.72        SANDY SILT to CLAYEY SILT
        12.80         76.6            88.3          3.33          1.82      •CLAYEY SAND to SANDY CLAY
        13.29         43.0            48.9          3.09          1.37        SANDY SILT to CLAYEY SILT
        13.78         48.5            54.3          3.53          1.39        SANDY SILT to CLAYEY SILT
        14.27         36.9            40.7          3.80          1.37        SANDY SILT to CLAYEY SILT
        14.76         50.0            54.5          2.92          1.37        SANDY SILT to CLAYEY SILT
        15.26         45.6            49.0          3.77          1.86        SANDY SILT to CLAYEY SILT
        15.75         65.2            69.3          3.39          1.95        SANDY SILT to CLAY3Y SILT
        16.24         73.2            76.8          3.42          2.12      •CLAYEY SAND to SANDY CLAY
        15.73         81.5            34.4          3.54          2.34      •CLAYEY SAND to SANDY CLAY
        17.22        115.1           117.8          4.07          2.55      •CLAYEY SAND to SANDY CLAY
        17.72        152.2           153.9          3.58          3.00      •CLAYEY SAND to SANDY CLAY
        18.21        143.1           143.0          2.01          3.20        SILTY SAND to SANDY SILT
        18.70        126.7           125.2          1.62          3.23        SAND to SILTY SAND
        19.19        176.1           172.0          2.78          3.52      •SILTY SAND to CLAYEY SAND
        19.69        111.1           107.2          2.81          3.77        SILTY SAND to SANDY SILT
        20.18        125.2           119.6          2.45          3.93        SILTY SAND to SANDY SILT




•INDICATES OVERCONSOLIDATED OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT MT - 110 PCF
ASSUMED DEPTH OF HATER TABLE « 30.0 FT




                                                                                       The Earth Technology
                                                                                      Corporation


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                                                     5431
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SOUNDING : CPT-V6



        DEPTH    TIP RESISTANCE     NORMALIZED     FRICTION      CONE PORE       SOIL BEHAVIOR TYPE
                                  TIP RESISTANCE     RATIO       PRESSURE
          (ft)        (tsf)           (tsf)            (%)         (tsf)

         20.67        133.1           125.7         2.64           4.08       SILTY SAND to SANDY SILT
         21.16        174.0           162.6         3.03           4.46      •SILTY SAND to CLAYEY SAND
         21.65        130.9           120.9         3.06           4.54      •SILTY SAND to CLAYEY SAND
         22.15        116.1          106.1          3.45           4.64      •CLAYEY SAND to SANDY CLAY
         22.64         96.3            87.2         2.93           4.30       SANDY SILT to CLAYEY SILT
         23.13       104.1             93.2         3.25           5.01      •CLAYEY SAND to SANDY CLAY
         23.62       103.2             91.5         3.49           5.14      •CLAYEY SAND to SANDY CLAY
         24.11       108.4             95.1         3.64           5.33      •CLAYEY SAND to SANDY CLAY
        24.61        132.1           114.8          3.75           5.70      •CLAYEY SAND to SANDY CLAY
        25.10        147.6           126.9          3.88           6.21      •CLAYEY SAND to SANDY CLAY
        25.59        104.5             89.0         4.14           5.79      •CLAYEY SAND to SANDY CLAY
        26.03        105.9             89.3         4.49           5.83      •SANDY CLAY to SILTY CLAY
        26.57        123.0           102.7          3.78           6.22      •CLAYEY SAND to SANDY CLAY
        27.07          84.3            69.8         3.63           6.05      •CLAYEY SAND to SANDY CLAY
        27.56          77.1            63.2         3.93           5.96      •CLAYEY SAND to SANDY CLAY
        28.05          70.5            57.2         3.93           5.82      •CLAYEY SAND to SANDY CLAY
        28.54          75.3            60.5         1.79           5.59       SILTY SAND to SANDY SILT
        29.04        125.1             99.7         1.09           5.34       SAND to SILTY SAND
        29.53        160.1           126.4          1.31           4.67       SILTY SAND to SANDY SILT
        30.02        119.9             93.8         2.44           4.34       SILTY SAND to SANDY SILT
        30.51          75.3            58.7         1.05           3.74       SAND to SILTY SAND
        31.00          74.0            57.4         1.53           3.43       SILTY SAND to SANDY SILT
        31.50        232.8           180.0          1.98           4.02       SILTY SAND to SANDY SILT
        31.99        165.9           127.8          2.54           4.34       SILTY SAND to SANDY SILT
        32.43        181.8           139.5          2.72           4.55      •SILTY SAND to CLAYEY SAND
        32.97        160.1           122.4          4.23           4.79      •CLAYEY SAND to SANDY CLAY
        33.46        199.4           151.8          1.49           5.28       SAND to SILTY SAND
        33.95        194.8           147.7          1.47           5.62       SAND to SILTY SAND
        34.45        149.5           113.0          2.26           5.28       SILTY SAND to SANDY SILT
        34.94        241.5           181.8          1.25           6.26       SAND to SILTY SAND
        35.43        106.4             79.3         3.04           5.69       SANDY SILT to CLAYEY SILT
        35.93          78.3           58.5          2.75           5.29       SANDY SILT to CLAYEY SILT
        36.42        211.2           157.2          1.75           5.78       SAND to SILTY SAND
        36.91        194.3           144.0          1.81           5.58       SAND to SILTY SAND
        37.40        258.4           190.3          1.06           6.04       SAND to SILTY SAND
        37.89        273.3           201.0          1.68           6.70       SAND to SILTY SAND
        38.39        116.7             85.6         2.61           5.69       SILTY SAND to SANDY SILT
        38.33        283.8           207.2          1.25           6.40       SAND to SILTY SAND
        39.37        293.9           213.8          1.07           7.49       SAND to SILTY SAND
        39.36        150.7           109.2          3.32           6.41      •CLAYEY SAND to SANDY CLAY
        40.35        228.2           164.3          1.99           6.39       SILTY SAND to SANDY SILT
        40.85        431.0           310.0          1.13          10.45       SAND to SILTY SAND
        41.34        263.5           192.5          2.35           9.68      •SILTY SAND to CLAYEY SAND
        41.83        272.0           194.2          1.88           8.26       SAND to SILTY SAND
        42.32        227.5           161.9          1.34           7.96       SAND to SILTY SAND
        42.81        174.8           123.9          1.97           6.88       SILTY SAND to SANDY SILT
        43.31        190.5           134.5          1.94           6.26       SILTY SAND to SANDY SILT
        43.80        218.2           153.5          1.49           6.07       SAND to SILTY SAND
        44.29        102.4            71.8          3.43           4.92       SANDY SILT to CLAYEY SILT
        44.78        194.5           135.9          1.24           5.27       SAND to SILTY SAND




•INDICATES OVERCONSOLIDATSD OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT WT - 110 PCF
ASSUMED DEPTH OF WATER TA3LS - 30.0 FT




                                                                                       The Earth Technology
                                                                                      Corporation


                                                    Exhibit 39
                                                      5432
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                                  #:5476
                                                                     PAGE 3 of 4
 SOUNDING      CPT-VG



        DEPTH    TIP RESISTANCE     NORMALIZED     FRICTION     CONE PORE       SOIL BEHAVIOR TYPE
                                  TIP RESISTANCE     RATIO      PRESSURE
          (ft)        (tsf)           (tsf)            (*)        (tsf)

        45.23         105.3            73.3          3.08          4.14       SANDY SILT to CLAYEY SILT
        45.77         313.0          217.1           1.05          4.70       SAND to SILTY SAND
        46.26         190.1          131.3           2.16          4.55       SILTY SAND to SANDY SILT
        46.75         183.7           126.5          2.03          4.47       SILTY SAND to SANDY SILT
        47.24         185.9          127.6           2.56         4.50        SILTY SAND to SANDY SILT
        47.74        262.4           179.4           1.19         4.67        SAND to SILTY SAND
        48.23        263.7           179.6           1.56         4.66       SAND to SILTY SAND
        48.72        331.2           224.8           1.29         4.99       SAND to SILTY SAND
        49.21        215.1           145.5          2.87          4.84      •SILTY SAND to CLAYEY SAND
        49.70        724.4           488.1             .68         1.77       SANDY GRAVEL to SAND
        50.20        364.4           244.7          1.96          2.15       SAND to SILTY SAND
        50.69        517.7           346.4             .80        2.29       SANDY GRAVEL to SAND
        51.18        496.1           330.8             .84        2.39       SAND to SILTY SAND
        51.67        474.4           315.2             .96        2.50       SAND to SILTY SAND
        52.17        543.0           359.5          1.06          2.62       SAND to SILTY SAND
        52. 66       547.0           360.9          1.09          2.75       SAND to SILTY SAND
        53.15        522.6           343.6            .86         2.88       SAND to SILTY SAND
        53.64        392.3           257.0          1.17          3.04       SAND to SILTY SAND
        54.13        289.1           188.7          1.96          3.06       SAND to SILTY SAND
        54.63        448.4           291.7          1.03          3.10       SAND to SILTY SAND
        55.12        515.3           334.0          1.07          3.15       SAND to SILTY SAND
        55.61        455.9           301.0          1.30          3.13       SAND to SILTY SAND
        56.10        446.8           287.5          1.46          3.20       SAND to SILTY SAND
        56.59        442.7           234.0          1.23          3.20       SAND to SILTY SAND
        57.09        261.1           165.9          2.08          3.13       SILTY SAND to SANDY SILT
        57.58        177.7           113.2          1.63          3.10       SAND to SILTY SAND
        58.07          91.1            57.8         1.55          3.00       SILTY SAND to SANDY SILT
        58.56          60.4            38.2           .75         2.32       SAND to SILTY SAND
        59.06          72.1            45.5         1.25          2.28       SILTY SAND to SANDY SILT
        59.55          64.7            40.5         3.32          2.11       SANDY SILT to CLAYEY SILT
        60.04          52.3            32.8         2.92          2.06       SANDY SILT to CLAYEY SILT
        60.53          38.2            23.8         2.20          2.02       SANDY SILT Co CLAYEY SILT
        61.02          49.5            30.8         2.04          1.98       SILTY SAND to SANDY SILT
        61.52          45.4            28.1         2.09          1.94       SANDY SILT to CLAYEY SILT
        62.01          80.9           50.0          2.36          1.93       SILTY SAND to SANDY SILT
        62.50          38.3            23.6         1.77          1.88       SILTY SAND to SANDY SILT
        62.99          50.7           31.1          1.34          1.73       SILTY SAND to SANDY SILT
        63.48          43.5           26.6          2.76          1.72       SANDY SILT to CLAYEY SILT
        63.98        132.1             80.5         3.60          1.72      •CLAYEY SAND to SANDY CLAY
        64.47        122.0            74.1          4.53          1.72      •SANDY CLAY to SILTY CLAY
        54.96          49.2           29.3          4.30          1.70       CLAYEY SILT to SILTY CLAY
        65.45          50.8            30.7         4.84          1.70       CLAYEY SILT to SILTY CLAY
        65.94          60.4           36.3          2.25          1.73       SANDY SILT to CLAYEY SILT
        65.44          73.9           44.3          3.49          1.78       SANDY SILT to CLAYEY SILT
        55.93          60.4           36.1          2.95          1.87       SANDY SILT to CLAYEY SILT
        57.42          59.2           35.2          2.31          1.93       SANDY SILT to CLAYEY SILT
        67.91          68.9           40.9          3.28          2.00       SANDY SILT to CLAYEY SILT
        68.41        281.6           165.5          3.13          2.16      •SILTY SAND to CLAYEY SAND
        68.90          76.7           45.2          2.32          2.15       SILTY SAND to SANDY SILT
        69.39          75.2           44.2          2.01          2.17       SILTY SAND to SANDY SILT




•INDICATES OVERCONSOLIDATED OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT WT « 110 PCF
ASSUMED DEPTH OF WATER TABLE » 30.0 FT




                                                                                      The Earth Technology
                                                                                     Corporation


                                                   Exhibit 39
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SOUNDING : CPT-V6



        DEPTH    TIP RESISTANCE     NORMALIZED     FRICTION       CONE PORE       SOIL BEHAVIOR TYPE
                                  TIP RESISTANCE     RATIO        PRESSURE
         (ft)         (tsf)           (tsf)           (%)           (tsf)

        69.38        165.6             96.9          3.09            2,11     «CLAYSY SAND to SANDY CLAY
        70.37        166.0             96.8          3.42            2.10     •CLAYEY SAND to SANDY CLAY
        70.87        167.6             97.4          2.77            2.13      SILTY SAND to SANDY SILT
        71.36        196.0            113.5         4.54             2.15     «SANDY CLAY to SILTY CLAY
        71.85        309.5            178.7        ...**            2.19




•INDICATES OVERCONSOLIDATED OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT WT - 110 PCF
ASSUMED DEPTH OF WATER TABLE - 30.0 FT




                                                                                        The Earth Technology
                                                                                       Corporation

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                                  #:5478            SOIL BEHflVIOR TYPE
          FRICTION RflTIO         TIP RESISTPNCE (QC)                 INCREflSINO GRflIN SIZE              1»-
         (FS/QC) (PERCENT)            TONS/SQ FT
                                                                          CLflY          SILT      SflfC         CRflVEL
                         0    0           200         400




                                                                                                                      10




    20




    90                                                                                                                90




   100                                                                                                              100


               TIP RESISTflNCE NOT CORRECTED FOR ENDflREflEFFECT

               flSSUMED TOTflL UNIT UT = 110 PCF          ftSSUMEO       DEPTH OF WfiTER TflBLE = 65.0 FT




CONE PENETRRTION TEST                                                SOUNDING NUMBER: CPT-V7

PROJECT NOME       = ENVERON/MC COLL                 CONE/RIG = 473/Rtt3


                                                                                                                           r
                                                                                                r THE EflRTH TECHNOLOGY
                                                                                                 CORPORftTION
PROJECT NUMBER     =   94-380-12102                  OP.TE/TIME: 03-29-94 14t32



                                                   Exhibit 39
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                                  #:5479
       CONE PORE PRESSURE ( U )                  TIP RESISTflNCE ( Q C )          PORE PRESSURE RflTIO
             TONS/SQ FT                              TONS/SQ FT                          U/QC
           32                     0    0        100        200          300   400 0.0     0.5      1.0




      10                                                                                                  10




                                                                                                         20




                                                                                                         30




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                                                                                                         SO




                                                                                                         90




     100                                                                                                 100


                T I P RESISTflNCE NOT CORRECTED FOR END flREfl EFFECT




CONE PENETRRTION TEST                                               SOUNDING NUMBER: CPT-V7

PROJECT NftME       : ENVtRON/MC COLL                  CONE/RID : 473/Rn3                  ' THE EflRTH TECHNOLOGY
                                                                                            CORPORflTI ON
PROJECT NUMBER      s 94-380-12102                     DftTE/TIME: 03-29-94 14=32


                                                      Exhibit 39
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 ****************

                                     CONE PENETRATION TEST                                                    *
                                                                                                              *
 *   SOUNDING : CPT-V7                                                  PROJECT No.: 94-380-12102             *
 *   PROJECT : ENVIRON/MC COLL                                          CONE/RIG : 473/R#3                    *
 *   DATE/TIME: 03-29-94 14:32                                                                                *


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        DEPTH     TIP RESISTANCE     NORMALIZED     FRICTION     CONE PORE       SOIL BEHAVIOR TYPE
                                   TIP RESISTANCE     RATIO      PRESSURE
          (ft)        (tsf)            ttsf)            I*)        (tsf)

            .49       42.1            108.1           2.09            .02     SILTY SAND to SANDY SILT
            .98        19.3             43.7          4.67          -.03     •SANDY CLAY to SILTY CLAY
          1.48        21.0              43.9          3.47          -.06      SANDY SILT to CLAYEY SILT
          1.97        10.8              21.1          4.09            .09     CLAYEY SILT to SILTY CLAY
          2.46         11.5             21.8          4.21            .14     CLAYEY SILT to SILTY CLAY
          2.95          7.9             14.1          5.09            .02     SILTY CLAY TO CLAY
          3.44          7.9             13.6          6.08            .01     SILTY CLAY TO CLAY
          3.94          8.9             14.3          9.78         -.01       CLAY TO ORGANIC CLAY
         4.43         15.7              25.4          3.82            .08     CLAYEY SILT to SILTY CLAY
         4.92         16.5              25.9          4.91            .06     CLAYEY SILT to SILTY CLAY
         5.41         17.5              26.6          7.27            .02    •SANDY CLAY to SILTY CLAY
         S.91         23.1              34.4          6.63            .02    •SANDY CLAY to SILTY CLAY
         6.40         32.7             47.6           5.50           .06     •SANDY CLAY to SILTY CLAY
          6.89        63.7              90.5          7.30           .21     •SANDY CLAY to SILTY CLAY
         7.38         66.1              92.0          6.94           .29     •SANDY CLAY to SILTY CLAY
         7.87         61.3              83.6          5.69           .37     •SANDY CLAY to SILTY CLAY
         8.37         52.5             70.3           6.57           .39     •SANDY CLAY to SILTY CLAY
         8.86         54.9             72.1           5.36           .39     •SANDY CLAY to SILTY CLAY
         9.35         51.1             65.3           5.23           .41     •SANDY CLAY to SILTY CLAY
         9.84         43.4             54.9           5.35           .40     •SANDY CLAY to SILTY CLAY
        10.33         41.2             51.4           5.60           .40     •SANDY CLAY to SILTY CLAY
        10.33         39.9             48.8           5.97           .39     •SANDY CLAY to SILTY CLAY
        11.32         66.7             80.4           6.00           .47     •SANDY CLAY to SILTY CLAY
        11.81         65.6             77.8           4.91           .55     •SANDY CLAY to SILTY CLAY
        12.30         53.0             62.0           3.94           .56     •CLAYEY SAND to SANDY CLAY
        12.80         61.8             71.3           4.69           .57     •SANDY CLAY to SILTY CLAY
        13.29        105.5            119.9           4.28           .66     •CLAYEY SAND to SANDY CLAY
        13.73         76.7             86.0           3.38           .67     •CLAYEY SAND to SANDY CLAY
        14.27        105.1            116.2           3.43           .74     •CLAYEY SAND to SANDY CLAY
        14.76        129.4            141.1           5.66           .97     •SANDY CLAY to SILTY CLAY
        15.25        127.1            136.8           4.39         1.44      •SANDY CLAY to SILTY CLAY
        15.75        272.4            289.4           2.81         8.02      •SILTY SAND to CLAYEY SAND
        16.24        168.3            176.5           7.27        13.93      •HEAVILY O.C./CEMENT. MAT.
        16.73        148.3            153.6           6.52        29.59      •SANDY CLAY to SILTY CLAY
        17.22        182.4            186.7           7.77        41.05      •HEAVILY O.C./CEMENT. MAT.
        17.72        159.8            161.6           5.98        41.05      •SANDY CLAY to SILTY CLAY
        18.21        181.6            181.5           7.28        41.05      •HEAVILY O.C./CEMENT. MAT.
        18.70        319.1            315.2           3.74        41.05      •CLAYEY SAND to SANDY CLAY
        19.19        125.0            122.1           5.75        16.63      •SANDY CLAY to SILTY CLAY
        19.69        112.8            108.9           5.17        15.52      •SANDY CLAY to SILTY CLAY
        20.18        200.4            191.3           5.47        17.48      •SANDY CLAY to SILTY CLAY




•INDICATES OVERCONSOLIDATSD OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT WT - 110 PCF
ASSUMED DEPTH OF WATER TABLE - 65.0 FT




                                                                                       The Earth Technology
                                                                                      Corporation


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SOUNDING      CPT-V7



        DEPTH    TIP RESISTANCE     NORMALIZED     FRICTION       CONE PORE       SOIL BEHAVIOR TYPE
                                  TIP RESISTANCE     RATIO        PRESSURE
         (ft)        (tsf)            (tsf)            (*)          (tsf)

       20.67         167.8           158.4          5.37           34.09      •SANDY CLAY to SILTY CLAY
       21.16         292.6           273.3          5.99           41.05      •HEAVILY O.C./CEMENT. MAT.
       21.65         260.5           240.7          5.35           41.05      •HEAVILY O.C./CEMENT. MAT.
       22.15         168.3           153.9          6.27           41.05      •SANDY CLAY to SILTY CLAY
       22.64         128.3           116.5          5.19           41.05      •SANDY CLAY to SILTY CLAY
       23.13         115.2           103.2          5.62           41.05      •SANDY CLAY to SILTY CLAY
       23.62         110.5            97.9          4.72           34.50      •SANDY CLAY to SILTY CLAY
       24.11         166.9           146.4          4.62           36.81      •SANDY CLAY to SILTY CLAY
       24.61         113.4            98.5          4.39           32.94      •CLAYEY SAND to SANDY CLAY
       25.10         111.5            95.9          5.24           23.70      •SANDY CLAY to SILTY CLAY
       25.59         115.0            97.9          5.17           28.83      •SANDY CLAY to SILTY CLAY
       26.08         107.6            90.7          4.50           28.94      •SANDY CLAY to SILTY CLAY
       25.57          91.1            76.1          5.33           25.62      •SANDY CLAY to SILTY CLAY
       27.07         112.7            93.2          4.52           27.64      •SANDY CLAY to SILTY CLAY
       27.56         114.9            94.1          4.81           19.08      •SANDY CLAY to SILTY CLAY
       23.05          72.2            58.6          4.86           12.67      •SANDY CLAY to SILTY CLAY
       23.54          87.1            70.0          6.60           14.47      •SANDY CLAY to SILTY CLAY
       29.04         119.5            95.2          5.52           17.73      •SANDY CLAY to SILTY CLAY
       29.53         110.3            87.1          5.04           16.91      •SANDY CLAY to SILTY CLAY
       30.02         122.6            95.9          3.91           10.56      •CLAYEY SAND to SANDY CLAY
       30.51         131.7           102.1          4.14            9.66      •CLAYEY SAND to SANDY CLAY
       31.00         163.2           125.4          2.48            5.74       SILTY SAND to SANDY SILT
       31.50         187.7           142.9          1.77            5.20       SAND to SILTY SAND
       31.99         147.4           111.2          3.85            2.64      •CLAYEY SAND to SANDY CLAY
       32.48         127.2            95.1          2.52            2.54       SILTY SAND to SANDY SILT
       32.97         223.8           166.0          2.00            3.75       SILTY SAND to SANDY SILT
       33.46         297.5           218.7          1.54            7.91       SAND to SILTY SAND
       33.96         235.0           171.2          2.68            4.53      •SILTY SAND to CLAYEY SAND
       34.45         104.4            75.4          6.04            3.06      •SANDY CLAY to SILTY CLAY
       34.94         105.8            75.8          3.68            2.29      •CLAYEY SAND to SANDY CLAY
       35.43         226.7           161.0          3.46            3.37      •CLAYEY SAND to SANDY CLAY
       35.93         163.9           115.5          4.47            3.53      •CLAYEY SAND to SANDY CLAY
       35.42          93.8            65.5          4.15            2.59      •CLAYEY SAND to SANDY CLAY
       35.91         130.8            90.6          4.49            2.73      •SANDY CLAY to SILTY CLAY
       37.40         215.8           143.2          2.81            3.63      •SILTY SAND to CLAYEY SAND
       37.89         227.3           154.8          2.33            2.36       SILTY SAND to SANDY SILT
       33.39         407.4           275.2          2.23            4. 45     •SILTY SAND to CLAYEY SAND
       33.38         341.8           229.0          2.36            7.86      •SILTY SAND to CLAYEY SAND
       39.37         353.2           238.0          2.25           10.84      •SILTY SAND to CLAYEY SAND
       39.85         458.3           302.0          1.90           24.19      •SAND to SILTY SAND
       40.35         340.1           222.4          2.08           18.72       SILTY SAND to SANDY SILT
       40.85         297.7           193.1          2.27           12.18       SILTY SAND to SANDY SILT
       41.34         115.2            74.1          4.01            2.95      •CLAYEY SAND to SANDY CLAY
       41.33         203.7           133.2          2.19            3.89       SILTY SAND to SANDY SILT
       42.32         203.4           128.8          3.36            3.83      •CLAYEY SAND to SANDY CLAY
       42.81         227.4           142.8          2.71            3.70      •SILTY SAND to CLAYEY SAND
       43.31         434.0           270.4          1.95            5.34       SAND to SILTY SAND
       43.80         371.9           229.9          1.94            5.96       SAND to SILTY SAND
       44.29         337.5           207.0          1.72            6.65       SAND to SILTY SAND
       44.78         200.1           121.8          3.98            1.38      •CLAYEY SAND to SANDY CLAY




•INDICATES OVERCONSOLIDATED OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT WT - 110 PCF
ASSUMED DEPTH OF MATER TABLE - 65.0 FT




                                                                                        The Earth Technology
                                                                                       Corporation

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        DEPTH    TIP RESISTANCE     NORMALIZED      FRICTION    CONE POS£       SOIL BEHAVIOR TYPE
                                  TIP RESISTANCE      RATIO     PRESSURE
          (ft)        (tsf)           (tsf)             (*)       (tsf)

         45.28        165.6           100.0           3.67         1.41      •CLAYEY SAND to SANDY CLAY
         45.77        304.5           182.4           1.93         1.50       SAND to SILTY SAND
         46.26       270.6            160.9           2.50         1.50      •SILTY SAND to CLAYEY SAND
         46.75       314.8           185.7            2.72         1.59     •SILTY SAND to CLAYEY SAND
        47.24        315.0           184.4            2.64         1.65     •SILTY SAND to CLAYEY SAND
        47.74        279.1           162.1            2.95         1.50     •SILTY SAND to CLAYEY SAND
        48.23        248.3           143.4            2.38         1.51       SILTY SAND to SANDY SILT
        48.72        265.5           151.9            1.94         1.57       SILTY SAND to SANDY SILT
        49.21          82.8            47.0           4.99         1.40     •SANDY CLAY to SILTY CLAY
        49.70        103.0             58.0           3.61         1.23       SANDY SILT to CLAYEY SILT
        50.20        242.2           135.4           2.94          1.35     •SILTY SAND to CLAYEY SAND
        50.69        137.5             76.3          2.18          1.25       SILTY SAND to SANDY SILT
        51.18        165.6             91.2           3.10           .96      SANDY SILT to CLAYEY SILT
        51.67        122.8             67.1           6.35         1.00     •SANDY CLAY to SILTY CLAY
        52.17        280.8           152.2           2.48         1.08        SILTY SAND to SANDY SILT
        52.66        303.4           163.3           2.33         1.18        SILTY SAND to SANDY SILT
        53.15        231.9           150.5           2.70         1.29      •SILTY SAND to CLAYEY SAND
        53.64        252.0           133.6           1.58         1.40        SAND to SILTY SAND
        54.13        149.0             78.4          3.74            .43    •CLAYEY SAND to SANDY CLAY
        54.63        228.1           119,1           3.22            .37    •CLAYEY SAND to SANDY CLAY
        55.12        195.7           101.4           3.28            .42    •CLAYEY SAND to SANDY CLAY
        55.61          74.8            38.5          3.79            .38      SANDY SILT to CLAYEY SILT
        56.10          45.1            23.0          2.11            .35      SANDY SILT to CLAYEY SILT
        56.59         45.3             23.0          2.14           .32       SANDY SILT to CLAYEY SILT
        57.09          36.5            43.5          3.01            .31      SANDY SILT to CLAYEY SILT
        57.58          75.1            37.5          2.77           .30       SANDY SILT to CLAYEY SILT
        58.07         46.4             23.0          4.38         -.19        CLAYEY SILT to SILTY CLAY
        53.56         77.9             38.3          3.88         -.19        CLAYEY SILT to SILTY CLAY
        59.06         44.2            21.6           2.63         -.18        SANDY SILT to CLAYEY SILT
        59.55         39.2             19.0          3.29         -.19       SANDY SILT to CLAYEY SILT
        60.04         38.6             18.6          3.55         -.19       CLAYEY SILT to SILTY CLAY
        60.53          36.6            17.5          3.75         -.20        CLAYEY SILT to SILTY CLAY
        61.02        116.1            55.0           3.29         -.16      •SANDY CLAY to SILTY CLAY
        61.52        214.1           100.3           3.36         -.11      •CLAYEY SAND to SANDY CLAY
        62.01         43.4            20.3           2.68         -.13       SANDY SILT to CLAYEY SILT
        62.50         39.6            18.4           2.40         -.14       SANDY SILT to CLAYEY SILT
        62.99         32.1            14.8           2.18         -.15       SANDY SILT to CLAYEY SILT
        63.48         28.3            13.0           1.76         -.16       SANDY SILT to CLAYEY SILT
        63.93         26.9            12.2           1.93         -.15       SANDY SILT to CLAYEY SILT
        64.47         31.4            14.1           1.72         -.19       SANDY SILT to CLAYEY SILT
        64.96         42.5            19.0             .94        -.16       SILTY SAND to SANDY SILT
        65.45         40.4            18.0           1.24         -.17       SILTY SAND to SANDY SILT
        65.94         44.0            19.6           1.66         -.17       SILTY SAND to SANDY SILT
        66.44         35.7            15.8             .95        -.16       SILTY SAND to SANDY SILT
        55.93         46.2            20.4           1.30         -.16       SILTY SAND to SANDY SILT
        67.42         43.7            19.2           1.65         -.16       SILTY SAND to SANDY SILT
        67.91         45.0            19.7           2.24         -.16       SANDY SILT to CLAYEY SILT
        68.41         57.4            25.1           2.54         -.15       SANDY SILT to CLAYEY SILT
        63.90         51.8            22.6           2.22         -.15       SANDY SILT to CLAYEY SILT
        69.39         49.0            21.3           1.94         -.15       SANDY SILT to CLAYEY SILT




•INDICATES OVERCONSOLIDATED OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT WT • 110 PCF
ASSUMED DEPTH OF HATES TABLE » 65.0 FT




                                                                                      The Earth Technology
                                                                                     Corporation


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                                                     5439
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SOUNDING : CPT-V7



        DEPTH    TIP RESISTANCE     NORMALIZED     FRICTION      CONE PORE       SOIL BEHAVIOR TYPE
                                  TIP RESISTANCE     RATIO       PRESSURE
         (ft)         (tsf)            (tsf)          (*)          (tsf)

        69.83         46 .6            20.2         1.78            ..14      SANDY SILT to CLAYEY SILT
        70.37         52 .9            22. 8        2.61             .05      SANDY SILT to CLAYEY SILT
        70.87         76 .3                                        -
                                       32.8         2 .86
                                                                   - .02      SANDY SILT to CLAYEY SILT
        71.36         55 .3            23. 9        2 .53            .01      SANDY SILT to CLAYEY SILT
                                                                   -
        71.35         47 .3            20.2         2 .11            .00      SANDY SILT to CLAYEY SILT
                                                                   -
        72.34         51 .9           22.1          1.37             .01      SILTY SAND to SANDY SILT
        72.83         79 .4           33.7          1.66             .03      SILTY SAND to SANDY SILT
        73.33         64 .2           27.2          1.64             .05      SILTY SAND to SANDY SILT
        73.82         66 .7           28.1          2.44             .06      SANDY SILT to CLAYEY SILT
        74.31         66 .0           27.a          2.21             .15      SANDY SILT to CLAYEY SILT
        74.80         59 .2           24.a          1.76             .17      SILTY SAND to SANDY SILT
        75.30         46 .0           19. 2         2 .06            .13      SANDY SILT to CLAYEY SILT
        75.79         48 .1           20.0          1.21             .20      SILTY SAND to SANDY SILT
        76.28         45 .0           18.7          2.11          16 .21      SANDY SILT to CLAYEY SILT
        76.77         45 .5           13. 8         1.78          18 .89      SANDY SILT to CLAYEY SILT
        77.25         44 .1           18.2          2.38          20 .20      SANDY SILT to CLAYEY SILT
        77.76         47 .7           19.6          2 .16         23 .14      SANDY SILT to CLAYEY SILT
        78.25         46 .1           18.9          2 .49         24 .08      SANDY SILT to CLAYEY SILT
        78.74         47 .2           19.3          2 .39         23 .09      SANDY SILT to CLAYEY SILT
        79.23         34 .2           13. 9         2 .17         19 .32      SANDY SILT to CLAYEY SILT
        79.72         32 .1           13.1          2.27          18 .45      SANDY SILT to CLAYEY SILT
        80.22         30 .9           12.S          1.29          13 .65      SILTY SAND to SANDY SILT
        80.71         37 .3           15.0          1.53          18 .49      SANDY SILT to CLAYEY SILT
        81.20         36 .0           14.s          1.33          19 .33      SILTY SAND to SANDY SILT
        81.59         42 .1           16. 9         2.56          19 .57      SANDY SILT to CLAYEY SILT
        82.19         94 .2           37. 7         S .73         21 .39     •SANDY CLAY to SILTY CLAY
        32.68        193 .7           77. 5         6 .45         41 .05     •SANDY CLAY to SILTY CLAY
        83.17         92 .9           37.2          S .10         13 .04     •SANDY CLAY to SILTY CLAY
        83.55         46 .2           18. 5         1.30           9.65       SILTY SAND to SANDY SILT
        84.15         66 .3           26. 5         1.34           9 .78      SILTY SAND to SANDY SILT
        84.65        161 . 6          64. 7         7 .06         23 .43     •SANDY CLAY to SILTY CLAY
        85.14        635 .7          254.3          2 .36         41 .05     •SILTY SAND to CLAYEY SAND
        85.63        134 .5           S3. 3         5 .21         11 .91     •SANDY CLAY to SILTY CLAY
        86.12         71 .4           28. 6         3 .23         12 .54      SANDY SILT to CLAYEY SILT
        36.51         64 .8           25. 9         2 .47          6 .99      SANDY SILT to CLAYEY SILT
        87.11         59 .2           23.7          3 .45          6 .03      SANDY SILT to CLAYEY SILT
        87.60         48 .0           19.2          2 .89          4.75       SANDY SILT to CLAYEY SILT
        88.09         59 .4           23. 7         1.94           4.75       SANDY SILT to CLAYEY SILT
        88.58         73 .0           29.2          2 .14          4.81       SANDY SILT to CLAYEY SILT
        89.07         95 . 5          38. 6         2 .29          4.37       SANDY SILT to CLAYEY SILT
        89.57        219 .4           87. 8         4.98           6.12      •SANDY CLAY to SILTY CLAY
        90.06        453 .8          183. 5         3 .91          9 .93     •CLAYEY SAND to SANDY CLAY
        90.55        365 .9          146. 4         4.93          23 .54     •SANDY CLAY to SILTY CLAY




•INDICATES OVERCONSOLIDATED OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT WT - 110 PCF
ASSUMED DEPTH OF WATER TABLE • 65.0 FT




                                                                                       The Earth Technology
                                                                                      Corporation


                                                    Exhibit 39
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                                                      Exhibit 39
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                                  #:5485
         CONE PORE PRESSURE (U)                    TIP RESISTfiNCE (QC)             PORE PRESSURE RflTtD
               TONS/SQ FT                              TONS/SQ FT                          U/QC
             32          IS         0     0       100        200          300   400 0.0     0.5      1.0




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                  TIP   RESISTfiNCE NOT CORRECTED FOR END flREft EFFECT




CONE PENETRflTION TEST                                                SOUNDING NUMBER: CPT-V8

PROJECT NOME            : ENVIRON/MC COLL                CONE/RID : 473/Rtt3                 ' THE EflRTH TECHNOLOGY
                                                                                              CORPORflTI ON
PROJECT NUMBER : 94-380-12102                            DRTE/TIME: 03-30-94 09:S3



                                                        Exhibit 39
                                                          5442
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***************                                                 r********************.
*                                                                                                              *
*                                   CONE PENETRATION TEST                                                      *
                                                                                                               *
*    SOUNDING : CPT-V8                                                   PROJECT No.: 94-380-12102             *
*    PROJECT : ENVIRON/MC COLL                                           CONE/RIG : 473/R#3                    *
*    DATE/TIME: 03-30-94 09:59                                                                                 *
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                                                                                                  PAGE 1 of 4

        DEPTH    TIP RESISTANCE     NORMALIZED     FRICTION       CONE PORE       SOIL BEHAVIOR TYPE
                                  TIP RESISTANCE     RATIO        PRESSURE
          (ft)        (tsf)           (tsf)           (%)           (tsf)

          .49          28.6           73.5           2.62              .52      SILTY SAND to SANDY SILT
          .98          23.9           54.2           3.76              .47      SANDY SILT to CLAYEY SILT
          1.48         17.3           36.1           5.09              .56     •SANDY CLAY to SILTY CLAY
        ' 1.97        28.0            55.0           3.86              .57     •CLAYEY SAND to SANDY CLAY
          2.46        42.2            78.3           4.84            1.31      •SANDY CLAY to SILTY CLAY
          2.95         51.7           92.5           6.05            1.45     •SANDY CLAY to SILTY CLAY
          3.44         81.6          140.6          4.04             2.51     •CLAYEY SAND to SANDY CLAY
          3.94        57.0            94.8          4.85             2.23     •SANDY CLAY to SILTY CLAY
          4.43        55.3            89.2           6.22            2.20     •SANDY CLAY to SILTY CLAY
          4.92        60.3            94.4          5.74             2.40     •SANDY CLAY to SILTY CLAY
          5.41        60.7            92.5          4.02             2.75     •CLAYEY SAND to SANDY CLAY
          5.91        58. 7           87.4          2.84             2.91       SILTY SAND CO SANDY SILT
          6.40        31.7            46.1          4.70             2.13     •SANDY CLAY to SILTY CLAY
          6.89        22.9            32.6          7.45             1.91     *SANDY CLAY to SILTY CLAY
          7.38        43.3            60.3          4.32             2.34     •SANDY CLAY to SILTY CLAY
         7.87         25.6            34.9          4.73            2.08      •SANDY CLAY to SILTY CLAY
          8.37        17.1            22.9          4.62             2.05       CLAYEY SILT to SILTY CLAY
          8.86        20.4            26.3          3.43            2.20        SANDY SILT to CLAYEY SILT
          9.35        34.1            44.0          7.18            3.18      •SANDY CLAY to SILTY CLAY
         9.84         33.4            42.3          8.08            3.04      •SANDY CLAY to SILTY CLAY
        10.33         33.7            41.9          6.86            3.36      •SANDY CLAY to SILTY CLAY
        10.83         33.2            40.7          6.87            3.46      •SANDY CLAY to SILTY CLAY
        11.32         33.4            40.3          6.58            3.74      •SANDY CLAY to SILTY CLAY
        11.81         63.6            75.6          5.19            8.00      •SANDY CLAY to SILTY CLAY
        12.30         65.9            77.1          5.43            7.95      •SANDY CLAY to SILTY CLAY
        12.80         67.0            77.3          5.64           10.36      •SANDY CLAY to SILTY CLAY
        13.29         51.5            58.5          4.96            9.08      •SANDY CLAY to SILTY CLAY
        13.78         60.4            67.7          4.86            9.63      •SANDY CLAY to SILTY CLAY
        14.27        109.0           120.5          3.72           17.13      •CLAYEY SAND to SANDY CLAY
        14.76        149.1           162.5          4.15           40.97      •CLAYEY SAND to SANDY CLAY
        15.26         85.2            91.7          4.62           10.18      •SANDY CLAY to SILTY CLAY
        15.75         84.2            89.5          5.68            8.80      •SANDY CLAY to SILTY CLAY
        16.24         97.4           102.1          4.74           13.02      •SANDY CLAY to SILTY CLAY
        16.73        101.8           105.5          6.43           18.79      •SANDY CLAY to SILTY CLAY
        17.22         87.5            89.6          6.59           22.31      •SANDY CLAY to SILTY CLAY
        17.72        111.6           112.8          6.61           25.86      •SANDY CLAY to SILTY CLAY
        18.21         82.8            82.7          6.03           23.70      •SANDY CLAY to SILTY CLAY
        18.70         78.3            77.3          5.20           25.61      •SANDY CLAY to SILTY CLAY
        19.19         90.7            88.6          5.49           32.34      •SANDY CLAY to SILTY CLAY
        19.69         99.0            95.5          5.48           33.61      •SANDY CLAY to SILTY CLAY
        20.18         88.1            84.2          5.71           32.71      •SANDY CLAY to SILTY CLAY




•INDICATES OVERCONSOLIDATED OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT WT =» 110 PCF
ASSUMED DEPTH OF WATER TABLE - 65.0 FT




                                                                                        The Earth Technology
                                                                                       Corporation


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SOUNDING      CPT-V8



        DEPTH    TIP RESISTANC2     NORMALIZED     FRICTION     CONE PORE       SOIL BEHAVIOR TYPE
                                  TIP RESISTANCE     RATIO      PRESSURE
         (ft)         (tsf)           (tsf)            (%)        (tsf)

        20.67          90.9            85.8         6.23         33.58       •SANDY CLAY to SILTY CLAY
        21.16        107.2           100.2          6.42         23.21       •SANDY CLAY to SILTY CLAY
        21.65          91.5            84.5         6.01         27.73      •SANDY CLAY to SILTY CLAY
        22.15          82.7           75.6          S.47         18.52      •SANDY CLAY to SILTY CLAY
        22.64          90.6           82.0          5.79         26.30      •SANDY CLAY to SILTY CLAY
        23.13          80.8           72.3          5.90         26.65      •SANDY CLAY to SILTY CLAY
        23.62        279.6           247.8          2.99         30.35      •SILTY SAND to CLAYEY SAND
        24.11        132.7           116.4          5.09          9.30      •SANDY CLAY to SILTY CLAY
        24.51        194.4           168.8          4.31          1.50      •CLAYEY SAND to SANDY CLAY
        25.10        113.1            97.3          5.56          1.55      •SANDY CLAY to SILTY CLAY
       25.59         236.5           201.4          6.80          2.33      •HEAVILY O.C./CEMENT. MAT.
       26.03         186.0           156.3          6.75          2.31      •SANDY CLAY to SILTY CLAY
       26.57         192.2           160.6          7.12          2.42      •SANDY CLAY to SILTY CLAY
       27.07         238.9           197.6          6.55          2.69      •HEAVILY O.C./CEMENT. MAT.
       27.56         310.3           254.2          5.02          3.46      •SANDY CLAY to SILTY CLAY
       28.05         381.2           309.4          3.89          9.84      •CLAYEY SAND to SANDY CLAY
       28.54         409.9           329.6          4.39         37.66      •HEAVILY O.C./CEMENT. MAT.
       29.04         135.1           107.6          5.12         16.08      •SANDY CLAY to SILTY CLAY
       29.53         239.3           188.9          5.11         18.88      •SANDY CLAY to SILTY CLAY
       30.02         160.8           125.3          5.72         18.11      •SANDY CLAY to SILTY CLAY
       30.51         121.8            94.4          4.89         14.22      •SANDY CLAY to SILTY CLAY
       31.00         130.6           100.3          4.81         13.84      •SANDY CLAY to SILTY CLAY
       31.50         123.1            93.7          4.20         13.70      •CLAYEY SAND to SANDY CLAY
       31.99         276.8           208.9          5.81         34.95      •SANDY CLAY to SILTY CLAY
       32.48         166.2           124.3          5.53         26.45      •SANDY CLAY to SILTY CLAY
       32.97         221.1           164.0          S.38         32.10      •SANDY CLAY to SILTY CLAY
       33.46         281.4           206.3          4.22         25.07      •CLAYEY SAND to SANDY CLAY
       33.96         270.9           197.4          3.91         25.16      •CLAYEY SAND to SANDY CLAY
       34.45         240.7           173.9          3.26         18.70      •SILTY SAND to CLAYEY SAND
       34.94         160.1           114.7          6.20         10.93      •SANDY CLAY to SILTY CLAY
       35.43         104.3            74.1          7.92         10.23      •SANDY CLAY to SILTY CLAY
       35.93         328.8           231,5          4.63         23.02      •CLAYEY SAND to SANDY CLAY
       36.42         353.0           246.5          4.34         23.90      •CLAYEY SAND to SANDY CLAY
       36.91         328.7           227.6          4.03         26.00      •CLAYEY SAND to SANDY CLAY
       37.40         293.5           201.5          3.82         28.65      •CLAYEY SAND to SANDY CLAY
       37.89         265.7           180.9          4.34         27.21      •CLAYEY SAND to SANDY CLAY
       38.39         299.2           202.1          3.70         15.12      •CLAYEY SAND to SANDY CLAY
       33.88         273.1           133.0          3.20         19.01      •SILTY SAND to CLAYEY SAND
       39.37         167.9           111.5          4.31         12.53      •CLAY2Y SAND to SANDY CLAY
       39.86          67.1            44.2          5.02          7.02      •SANDY CLAY to SILTY CLAY
       40.35          62.7            41.0          4.00          6.38        CLAYEY SILT to SILTY CLAY
       40.85          81.4            52.3          3.60          6.55        SANDY SILT to CLAYEY SILT
       41.34          80.5            51.8          3.49          5.99        SANDY SILT to CLAYEY SILT
       41.83         108.5            69.2          5.09          -.07      •SANDY CLAY to SILTY CLAY
       42.32          67.0            42.4          7.01          -.08      •SANDY CLAY to SILTY CLAY
       42.81         110.6            69.4          6.87          -.05      •SANDY CLAY to SILTY CLAY
       43.31         142.5            88.3          5.43          -.02      •SANDY CLAY to SILTY CLAY
       43.80         128.4            79.3          5.57          -.02      •SANDY CLAY to SILTY CLAY
       44.29         157.1            96.3          4.55          -.01      •SANDY CLAY to SILTY CLAY
       44.78          55.9            34.0          5.23          -.02      •SANDY CLAY to SILTY CLAY




•INDICATES OVERCONSOLIDATSD OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT WT - 110 PCF
ASSUMED DEPTH OF WATER TABLE - 65.0 FT




                                                                                      The Earth Technology
                                                                                     Corporation


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 SOUNDING : CPT-V8



        DEPTH    TIP RESISTANCE     NORMALIZED     FRICTION     CONE PORE       SOIL BEHAVIOR TYPE
                                  TIP RESISTANCE     RATIO      PRESSURE
         (ft)         (tsf)           (tsf)            (*)        (tsf)

        45.28         162.2            97.9          4.19            .05     •CLAYEY SAND to SANDY CLAY
       45.77           60.9            36.5          2.40            .00       SANDY SILT to CLAYEY SILT
       46.26           59.3            35.2          1.99           .01        SILTY SAND to SANDY SILT
       46.75           59.0            34.8          2.15           .00        SILTY SAND to SANDY SILT
       47.24          153.0            89.6         4.10             .04     •CLAYEY SAND to SANDY CLAY
       47.74         276.5           160.6           3.62            .14     •CLAYEY SAND to SANDY CLAY
       43.23         114.9             66.2          5.74           .09      •SANDY CLAY to SILTY CLAY
       48.72           77.0           44.0          5.16            .10      •SANDY CLAY to SILTY CLAY
       49.21         509.8           289.3          2.57            .27      *SILTY SAND to CLAYEY SAND
       49.70         120.1            67.6          3.07            .24       SANDY SILT to CLAYEY SILT
       50.20           83.5           46.7          7.67            .35      •SANDY CLAY to SILTY CLAY
       50.69         353.2           195.9          3.10            .46      •SILTY SAND to CLAYEY SAND
       51.18         306. S          168.7          3.60            .44      •CLAYEY SAND to SANDY CLAY
       SI. 67        412.4           225.3          2.92            .31      •SILTY SAND to CLAYEY SAND
       52.17         158.1            85.7          5.33            .28      •SANDY CLAY to SILTY CLAY
       52.66           73.9           39.8          2.45            .25       SANDY SILT to CLAYEY SILT
       53.15           61.7           33.0          2.19            .21       SANDY SILT to CLAYEY SILT
       53.54           57.3           30.4          2.11            .20       SANDY SILT to CLAYEY SILT
       54.13           54.1           28.5          2.33            .20       SANDY SILT to CLAYEY SILT
       54.63           57.3           29.9          2.17           .25        SANDY SILT to CLAYEY SILT
       55.12           54.5           28.2          2.11           .26        SANDY SILT to CLAYEY SILT
       55.61           52.5           27.1          2.17           .26        SANDY SILT to CLAYEY SILT
       56.10           52.3           26.7          2.08           .26        SANDY SILT to CLAYEY SILT
       56.59           57.0           28.9          2.70           .27        SANDY SILT to CLAYEY SILT
       57.09           53.9           27.1          2.02           .27        SANDY SILT to CLAYEY SILT
       57.53           50.4           25.2          2.80           .27        SANDY SILT to CLAYEY SILT
       58.07           51.2           25.4          1.76           .29        SILTY SAND to SANDY SILT
       58.56           84.3           41.7          3.97           .29        CLAYEY SILT to SILTY CLAY
       59.05           56.6           27.7          2.53           .23        SANDY SILT to CLAYEY SILT
       59.55           99.1           48.0          4.57           .31      •SANDY CLAY to SILTY CLAY
       50.04         122.0            58.7          3.69           .30        SANDY SILT to CLAYEY SILT
       60.53         283.3           135.5          3.61           .32      •CLAYEY SAND to SANDY CLAY
       61.02         132.1            52.6          5.08           .32      •SANDY CLAY to SILTY CLAY
       51.52           94.0           44.2          4.93           .28      •SANDY CLAY to SILTY CLAY
       52.01         112.1            52.3          6.33           .27      •SANDY CLAY to SILTY CLAY
       62.50           99.0           45.9          8.32           .29      •SANDY CLAY to SILTY CLAY
       62.99         104.9            48.3          9.11           .29      •SANDY CLAY to SILTY CLAY
       63.43         115.4            52.3          3.98           .31      •SANDY CLAY to SILTY CLAY
       63.98         216.8            98.3          3.33           .34      •CLAYEY SAND to SANDY CLAY
       54.47         130.5            58.7          9.32           .34      •SANDY CLAY to SILTY CLAY
       54.96         145.3            65.4          7.29           .32      •SANDY CLAY to SILTY CLAY
       65.45          77.2            34.4          4.87           .32      •SANDY CLAY to SILTY CLAY
       65.94          79.3            35.2          3.27           .31        SANDY SILT to CLAYEY SILT
       56.44          70.1            31.0          3.04           .31        SANDY SILT to CLAYEY SILT
       65.93         103.2            45.5          4.84           .31      •SANDY CLAY to SILTY CLAY
       67.42          90.1            39.6          6.63           .32      •SANDY CLAY to SILTY CLAY
       57.91           64.5           28.3          3.02           .31        SANDY SILT to CLAYEY SILT
       68.41          54.9            24.0          3.46           .31        SANDY SILT to CLAYEY SILT
       68.90          51.7            22.5          3.35           .32        SANDY SILT to CLAYEY SILT
       69.39          48.1            20.9          3.05           .32        SANDY SILT to CLAYEY SILT




•INDICATES OVERCONSOLIDATED OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT WT - 110 PCF
ASSUMED DEPTH OF WATER TA3LS « 65.0 FT




                                                                                       The Earth Technology
                                                                                      Corporation


                                                   Exhibit 39
                                                     5445
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 415 of 730 Page ID
                                  #:5489                            PAGE 4 of 4
SOUNDING : CPT-V8



        DEPTH    TIP RESISTANCE     NORMALIZED         FRICTION      CONE PORE       SOIL BEHAVIOR TYPE
                                  TIP RESISTANCE         RATIO       PRESSURE
         (ft)         (tsf)            (tsf)               (%)          (tsf)

        69.88         50.9            22.0         "    3.30             .39      SANDY SILT to CLAYEY SILT
        70.37         51.3            22.1              2.98             .40      SANDY SILT to CLAYEY SILT-
        70.87         49.7            21.4              2.44             .41      SANDY SILT to CLAYEY SILT
        71.36         49.7            21.3              2.84             .42      SANDY SILT to CLAYEY SILT
        71.85         47.2            20.2              2.75             .42      SANDY SILT to CLAYEY SILT
        72.34         47.7            20.3              2.79             .43      SANDY SILT to CLAYEY SILT
        72.83         49.3            20.9              3.17             .43      SANDY SILT to CLAYEY SILT
        73.33         42.6            18.0              3.42             .43      CLAYEY SILT to SILTY CLAY
        73.82         42.3            17.8              3.52             .44      CLAYEY SILT to SILTY CLAY
        74.31         50.6            21.3              2.53             .45      SANDY SILT to CLAYEY SILT
        74.80         48.1            20.2              1.29             .45      SILTY SAND to SANDY SILT
        75.30        112.0            46.8              4.82             .43     •SANDY CLAY to SILTY CLAY
        75.79        404.9           168.7              3.36             .47     •CLAYEY SAND to SANDY CLAY
        76.28        270.7           112.4              5.21             .43     •SANDY CLAY to SILTY CLAY
        75.77        261.3           108.2              4.02             .28     •CLAYEY SAND to SANDY CLAY
        77.26         97.3            40.1              2.01             .24      SILTY SAND to SANDY SILT
        77.76        143.7            59.1              1.79             .28      SILTY SAND to SANDY SILT
        78.25        207.3            85.0             *****             .30




•INDICATES OVERCONSOLIDATED OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT WT - 110 PC?
ASSUMED DEPTH OF WATER TABLE - 65.0 FT




                                                                                           The Earth Technology
                                                                                          Corporation


                                                        Exhibit 39
                                                          5446
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                                  #:5490            SOIL BEHflVIOR TY PE
                FRICTION RflTIO                             TIP RESISTRNCE (QC)                     INCREflSING GRflIN SIZE
               CFS/QC) (PERCENT)                                TONS/SQ FT
                                                                                                        CLflY                 SILT       SATO   ORflVEl
               8                   4           0    0                 ZOO                   400
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                               TIP     RESISTflNCE NOT CORRECTED FOR END flREfl EFFECT

                               P6SUMED TOTflL UNIT WT = 110 PCF                         flSSUMED       CEPTH OF UfiTER TfiBLE = 6S.O FT




CONE PENETRflTION                                  TEST                                            SOUNDING NUMBER: CPT-V9

PROJECT NOME                           : ENVIRON/MC COLL                          CONE/RIG : 473/Rs3                           g_* THE ERRTH TECHNOLOGY .
                                                                                                                          j    C? CORPORftTION          >
PROJECT NUMBER = 94-380-12102                                                     DRTE/TIME: 03-30-94 06:5£



                                                                              Exhibit 39
                                                                                5447
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 417 of 730 Page ID
       CONE PORE PRESSURE (U)  TIP #:5491
                                   RESISTflNCE (QC)    PORE PRESSURE RfiTC 0
                    TONS/SQ FT                                          TONS/SQ FT                        U/QC
               32            IB            0   0        100                200           300    400 0.0      O.S     I 0

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                    TIP    RESISTRNCE NOT CORRECTED FOR END flREft EFFECT




CONE PENETRflTION TEST                                                                   SOUNDING NUMBER: CPT-V9

PROJECT NPME               : ENVERON/MC COLL                             CONE/RID : 473/Rtt3               •» THE EflRTH TECHNOLOGY
PROJECT NUMBER : 94-380-12102                                            DPTE/TIME: 03-30-94 06:59         ^CORPORflTION




                                                                        Exhibit 39
                                                                          5448
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                                  #:5492
 *** •                                                                                                         r**

 *
 *                                    CONE PENETRATION TEST                                                     *
                                                                                                                *
 *
 *   SOUNDING : CPT-V9                                                   PROJECT No.: 94-380-12102              *
 *   PROJECT : ENVIRON/MC COLL                                           CONE/RIG : 473/R#3                     *
 *   DATE/TIME: 03-30-94 06:59                                                                                  *
 *
                                                                                                                *
                                                                                                               r*
 ****
                                                                                                  PAGE 1 of 2

         DEPTH     TIP RESISTANCE     NORMALIZED     FRICTION     CONE PORE       SOIL BEHAVIOR TYPE
                                    TIP RESISTANCE     RATIO      PRESSURE
           (ft)        (tsf)            (tsf)            (%)        (tsf)

             .49        73.6            189.0           2.81           .51     •SILTY SAND to CLAYEY SAND
             .98        51.3            116.2           S.77           .25     •SANDY CLAY to SILTY CLAY
           1.48         49.8            104.1           6.70           .29     •SANDY CLAY to SILTY CLAY
           1.97         63.3            125.4           6.97           .45     •SANDY CLAY to SILTY CLAY
           2.46       320.1            598.2            4.40       40.90       •HEAVILY O.C./CEMENT. MAT.
           2.95        190.5           340.9            4.73        17.40      •HEAVILY O.C./CEMENT. MAT.
           3.44        115.3           198.5            5.96         4.88      •SANDY CLAY to SILTY CLAY
           3.94       103.8            172.8            6.73          3.53     •SANDY CLAY to SILTY CLAY
          4.43        127.9            206.3            6.79         4.23      •HEAVILY O.C./CEMENT. MAT.
           4.92       171.0            268.0            7.55         6.36      •HEAVILY O.C./CEMENT. MAT.
           5.41       183.7            280.3            7.55         7.82     •HEAVILY O.C./CEMENT. HAT.
          5.91        140.2            208.6           7.45          6.47     •HEAVILY O.C./CEMENT. MAT.
          6.40        117.1            170.3           7.39          6.36     •HEAVILY O.C./CEMENT. MAT.
           6.89       100.2            142.4           6.76          6.32     •SANDY CLAY to SILTY CLAY
          7.38          85.0           118.2           6.58          5.79     •SANDY CLAY to SILTY CLAY
          7.87        103.0            140.5           5.37          5.54     •SANDY CLAY to SILTY CLAY
          8.37          80.4           107.5           6.51          3.56     •SANDY CLAY to SILTY CLAY
          3.86          66.3             87.0          6.12          3.26     •SANDY CLAY to SILTY CLAY
          9.35          57.3             73.9          5.27          3.13     •SANDY CLAY to SILTY CLAY
          9.84          54.0             63.4          5.61          3.00     •SANDY CLAY to SILTY CLAY
         10.33        116.4            144.9           3.44          3.53     •CLAYEY SAND to SANDY CLAY
         10.83          51.2             62.7          5.53          2.54     •SANDY CLAY to SILTY CLAY
         11.32        119.6            144.2           2.92          4.87     •SILTY SAND to CLAYEY SAND
         11.81        110.3            131.0           5.20          4.65     •SANDY CLAY to SILTY CLAY
         12.30        158.8            185.7           4.47          6.58     •CLAYEY SAND to SANDY CLAY
         12.80        110.4            127.2           5.87          8.75     •SANDY CLAY to SILTY CLAY
         13.29        197.6            224.6           3.58          7.87     •CLAYEY SAND to SANDY CLAY
         13.78        123.7            138.6           6.08          4.95     •SANDY CLAY to SILTY CLAY
         14.27        157.9            174.5           5.55          5.40     •SANDY CLAY to SILTY CLAY
         14.76        163.6            178.4           5.87          6.98     •SANDY CLAY to SILTY CLAY
         15.26        167.5            180.3           5.32          7.97     •SANDY CLAY to SILTY CLAY
         15.75        274.6            291.8           2.64          4.52     •SILTY SAND to CLAYEY SAND
         16.24        174.9            183.5           5.00          5.75     •SANDY CLAY to SILTY CLAY
         16.73        279.6            289.7           3.16          9.39     •SILTY SAND to CLAYEY SAND
         17.22        199.2            203.9           3.57          9.61     •CLAYEY SAND to SANDY CLAY
         17.72        245.8            248.5           2.78        12.11      •SILTY SAND to CLAYEY SAND
         18.21        263.5            263.4           2.74          8.50     •SILTY SAND to CLAYEY SAND
         18.70        305.6            301.9           2.78        15.19      •SILTY SAND to CLAYEY SAND
         19.19        365.6            357.0           2.33        20.82      •SILTY SAND to CLAYEY SAND
         19.69        493.6            476.6           2.31          9.09     •SAND to SILTY SAND
         20.18        477.7            456.1           2.60        17.47      •SILTY SAND to CLAYEY SAND




•INDICATES OVERCONSOLIDATED OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT WT - 110 PCF
ASSUMED DEPTH OF WATER TABLE - 65.0 FT




                                                                                        The Earth Technology
                                                                                       Corporation


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                                  #:5493
                                                                    PAGE 2 of 2
SOUNDING : CPT-V9



        DEPTH    TIP RESISTANCE     NORMALIZED     FRICTION      CONE PORE      SOIL BEHAVIOR TYPE
                                  TIP RESISTANCE     RATIO       PRESSURE
          (ft)        (tsf)           (tsf)           (*)          (tsf)

        20.67        554.7           523.8          2.38          20.51      •SILTY SAND to CLAYEY SAND
        21.16        617.6           576.9          2.09           2.49      •SAND to SILTY SAND
        21.65        311.9           288.2          4.08           4.07      •CLAYEY SAND to SANDY CLAY
        22.15        617.8           564.9          1.74           3.93      •SAND to SILTY SAND
        22.64        525.8           475.7          1.59           3.82      •SAND to SILTY SAND
        23.13        508.4           455.3         *****           2.91




•INDICATES OVERCONSOLIDATED OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT WT - 110 PCF
ASSUMED DEPTH OF WATER TABLE - 65.0 FT




                                                                                      The Earth Technology
                                                                                     Corporation


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                                                      5450
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                                  #:5494            SOIL BEHflVIOR TY PE
              FRICTION RflTIO                      TIP RESISTfiNCE ( Q C )                  INCREflSING GRflEN SIZE
             CFS/QC) (PERCENT)                         TONS/SQ FT
                                                                                                   CLflY                      SILT                SflND   ORftVEL
             8        4        0           0                   200                  400
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                            TIP RESISTfiNCE NOT CORRECTED FOR END flREfl EFFECT

                            ftSaHED TOTflL UNIT UT = 110 PCF                  ft9SLKED         DEPTH OF WftTER TfiBLE = SS.O FT




CONE PENETRPTION TEST                                                                     SOUNDING NUMBER: CPT-VSR

PROJECT NftME                      : ENVIRON/MC COLL                     CONE/RID : 473/Rtt3                                       *••» THE ERRTH TECHNOLOGY
                                                                                                                                   Cf CORPORflT 2 ON
PROJECT NUMBER : 94-380-12102                                            DRTE/TIME: 03-30-94 08:5£



                                                                     Exhibit 39
                                                                       5451
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                                  #:5495
           CONE PORE PRESSURE (U)                                  TIP RESISTfiNCE (QC)                                PORE PRESSURE RflTIO
                 TONS/SQ FT                                            TONS/SQ FT                                            U/QC
               32            16           0   0                   100     200       300                            400 0.0     0.5       1.0
          0     1 i    i i        i i i           t   i   l   l     r   i    i   i   i   i   i   i    i    i   i   i      i   i   i   <   i   i   t   t    .    n
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                      TIP   RESrSTflNCE NOT CORRECTED FOR END flRER EFFECT




CONE PENETRflTION TEST                                                                           SOUNDING NUMBER: CPT-VSfl

PROJECT NfiME               •. ENVIRQN/MC COLL                              CONE/RIG : 473/Ra3                                        ^ THE EflRTH TECHNOLOGY
PROJECT NUMBER : 94-380-12102                                               DfiTE/TIME: 03-30-94 0 8 = 5 9                        *" CORPORflTION




                                                                        Exhibit 39
                                                                          5452
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                                  #:5496
***************************^                                              r*****


                                    CONE PEiNETRATION TEST
*    SOUNDING : CPT-V9A                                                PROJECT No.: 94-380-12102             *
*    PROJECT : ENVIRON/MC COLL                                         CONE/RIG : 473/R#3                    *
*    DATE/TIME: 03-30-94 08:59


                                                                                                PAGE 1 of 2

        DEPTH    TIP RESISTANCE     NORMALIZED     FRICTION     CONE PORE       SOIL BEHAVIOR TYPE
                                  TIP RESISTANCE     RATIO      PRESSURE
          (fc)        (esf)           (tsf)            (*)         (tsf)

           .49          7.7            19.8          4.79           1.95      CLAYEY SILT CO SILTY CLAY
           .98        23.8             S3. 9        4.71            3.96    'SANDY CLAY CO SILTY CLAY
          1.48         82.9           173.3          2.77         11.96      •SILTY SAND Co CLAYEY SAND
          1.97         33.9           '66.7          3.66          2.87      •CLAYEY SAND Co SANDY CLAY
         2.46         40.7             76.0         2.85           2.33       SANDY SILT CO CLAYEY SILT
         2.95         54.8             98.0         4.97           2.41     •SANDY CLAY CO SILTY CLAY
         3.44         39.9             €3.8         7.76           2.26     •SANDY CLAY CO SILTY CLAY
         3.94         43.5             72.5         7.58           2.34     •SANDY CLAY CO SILTY CLAY
         4.43         53.1             65.7         7.42           2.53     •SANDY CLAY Co SILTY CLAY
         4.92         76.9           120.6          6.59           3.51     •SANDY CLAY CO SILTY CLAY
         5.41         73.8           112.7          6.20           3.34     •SANDY CLAY CO SILTY CLAY
         5.91         78.7           117.2          6. SO          4.32     •SANDY CLAY Co SILTY CLAY
         6.40         80.4           115.9          6.55           4.65     •SANDY CLAY Co SILTY CLAY
         6.89         77.1           109.6          6.37           4.85     •SANDY CLAY Co SILTY CLAY
         7.38         70.2             97.7         6.15           5.11     •SANDY CLAY CO SILTY CLAY
         7.37         67.1             91.5         5.99           5.28     •SANDY CLAY Co SILTY CLAY
         8.37         67.8             90.7         6.02           6.30     •SANDY CLAY Co SILTY CLAY
         8.86         77.8           102.0          5.97           8.45     •SANDY CLAY CO SILTY CLAY
         9.35        108.7           140.0          4.61         .10.95     •SANDY CLAY Co SILTY CLAY
         9.34        119.5           151.3          4.60          10.33     •CLAYEY SAND CO SANDY CLAY
        10.33         87.1           108.4          4.74          16.13     •SANDY CLAY to SILTY CLAY
        10.83        100.8           123.5          5.67         10.81      •SANDY CLAY to SILTY CLAY
        11.32        150.0           180.9          3.43         23.16      •CLAYEY SAND Co SANDY CLAY
        11.81        160.7           190.9          5.05         22.44      •SANDY CLAY Co SILTY CLAY
        12.30        155.2           181.5          5.30         31.77      •SANDY CLAY Co SILTY CLAY
        12.80        188.2           216.9          4.43         32.87      •CLAYEY SAND Co SANDY CLAY
        13.29        204.8           232.7          3.79         26.20      •CLAYEY SAND to SANDY CLAY
        13.78        239.3           268.1          4.66         20.53      •CLAYEY SAND to SANDY CLAY
        14.27        172.9           191.0          6.18          11.79     •SANDY CLAY to SILTY CLAY
        14.76        174.0           189.7          6.77         13.07      •HEAVILY O.C./CEMENT. MAT.
        15.26        204.4           220.0          5.05         13.81      •SANDY CLAY Co SILTY CLAY
        15.75        234.5           249.1          3.79         20.35      •CLAYEY SAND CO SANDY CLAY
        16.24        217.9           228.6          4.48         23.56      •CLAYEY SAND Co SANDY CLAY
        16.73        136.7           141.5          5.61         13.14      •SANDY CLAY Co SILTY CLAY
        17.22        146.2           149.6          4.71         12.79      •SANDY CLAY Co SILTY CLAY
        17.72        154.3           156.0          4.22         12.20      •CLAYEY SAND Co SANDY CLAY
        18.21        192.9           192.8          3.74         15.72      •CLAYEY SAND CO SANDY CLAY
        18.70        238.7           235.8          3.06           7.13     •SILTY SAND Co CLAYEY SAND
        19.19        220.3           215.2          4.27           6.09     •CLAYEY SAND CO SANDY CLAY
        19.69        175.6           169.5          6.00           4.92     •SANDY CLAY Co SILTY CLAY
        20.18        153.7           146.8          5.98           4.74     •SANDY CLAY to SILTY CLAY




•INDICATES OVERCONSOLIDATED OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT WT « 110 PCF
ASSUMED DEPTH OF WATER TABLE - 65.0 FT




                                                                                      The Earth Technology
                                                                                     Corporation


                                                   Exhibit 39
                                                     5453
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                                   #:5497
                                                                    PAGE 2 of 2
SOUNDING : CPT-V9A



        DEPTH    TIP RESISTANCE     NORMALIZED     FRICTION       CONE PORE       SOIL BEHAVIOR TYPE
                                  TIP RESISTANCE     RATIO        PRESSURE
         (ft)         (csf)            (tsf)          (*)           (tsf)

        20.67        136.2           128.6          5.43            3.40      •SANDY CLAY Co SILTY CLAY
        21.16        192.3           179.7          4.59            2.53      •CLAYEY SAND Co SANDY CLAY
        21.65         89.9            83.1          5.45            2.24      •SANDY CLAY to SILTY CLAY
        22.15         77.5            70.9          4.91            2.38      •SANDY CLAY CO SILTY CLAY
        22.64         96.8            87.6          6.24            2.35      •SANDY CLAY CO SILTY CLAY
        23.13        113.5           101.6          6.35            2.49      •SANDY CLAY Co SILTY CLAY
        23.62        133.0           117.9          S.71            2.54      •SANDY CLAY to SILTY CLAY
        24.11        156.2           137.1          7.09            3.09      •SANDY CLAY Co SILTY CLAY
        24.61        146.8           127. S         6.81            2.59      •SANDY CLAY Co SILTY CLAY
        25.10        226.1           194.4          7.83            4.67      •HEAVILY O.C./CEMENT. MAT.
        25.59        333.0           283.5          6.14           27.88      •HEAVILY O.C./CEMENT. MAT.
        26.08        421.4           355.4          4.14           40.96      •CLAYEY SAND Co SANDY CLAY
        26.57        464.2           387.7          2.80           40.96      •SILTY SAND to CLAYEY SAND
        27.07        470.2           388. 9         2. 75          40.96      •SILTY SAND Co CLAYEY SAND
        27.56        364.9           299.0          6.57           40.96      •HEAVILY O.C./CEMENT. MAT.
        28.05        320.6           260.2          6.31            5.74      •HEAVILY O.C./CEMENT. MAT.
        28.54        260.1           209.1          S.86            5.48      •SANDY CLAY CO SILTY CLAY




•INDICATES OVSRCONSOLIDATED OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT WT - 110 PCF
ASSUMED DEPTH OF WATER TABLE - 65.0 FT




                                                                                        The Earth Technology
                                                                                       Corporation


                                                     Exhibit 39
                                                       5454
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 424 of 730 Page ID
                                  #:5498             SOIL BEHflVIOR TYPE
          FRICTION RflTIO          TIP RESISTRNCE (QC)                  INCREflSING GRflIN SIZE              «—
         (FS/QC) (PERCENT)             TONS/SQ FT
                                                                             CLflY         SILT      SflND        GRfiVEL
                          0    0             200                400




    70




    80




    90




   100                                                                                                               100

                TIP RESISTflNCE NOT CORRECTED FOR END flREfl EFFECT

                RSSUMED TOTflL UNIT WT = 110 PCF           flSSUMED        DEPTH OF WflTER TfiSLE = 17.0 FT




CONE PENETRfiTION TEST                                                SOUNDING NUMBER: CPT-V10
PROJECT NfiME      : ENVIRON/MC COLL
PROJECT NUMBER = 94-380-12102
                                                      CONE/RID = 473/Ra3
                                                      DOTE/TIME: 04-11-94 11:35
                                                                                                  ' THE ERRTH TECHNOLOGY
                                                                                                   CORPORATION

                                                                                                                            r
                                                   Exhibit 39
                                                     5455
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 425 of 730 Page ID
                                  #:5499
           CONE PORE PRESSURE CU)                        TIP RESISTflNCE IQC)                                       PORE PRESSURE RflTIO
                 TONS/SQ FT                                  TONS/SQ FT                                                    U/QC
               32          IB           0   0          100               200         300                     400 0.0        0.5      1.0




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                    TIP   RESISTflNCE NOT CORRECTED FOR END flREfl EFFECT




CONE PENETRflTION TEST                                                              SOUNDING NUMBER: CPT-V10

PROJECT NRME              = ENVIRON/MC COLL                          CONE/RIG : 473/R«3                                  ^ THE EflRTH TECHNOLOGY
                                                                                                                         fir CORPORflT I ON
PROJECT NUMBER = 94-380-12102                                        DOTE/TIME: 04-11-94 11=35


                                                                     Exhibit 39
                                                                       5456
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                                  #:5500
                                                                            r*************************
 *
 *                                  COjNE PENETRATION TEST
*    SOUNDING : CPT-V10                                                PROJECT No.: 94-380-12102               *
*    PROJECT : ENVIRON/MC COLL                                         CONE/RIG : 473/R#3                      *
*    DATE/TIME: 04-11-94 11:35


                                                                                                  PAGE 1 of 3

        DEPTH    TIP RESISTANCE     NORMALIZED     FRICTION     CONE PORE         SOIL BEHAVIOR TYPE
                                  TIP RESISTANCE     RATIO      PRESSURE
         (ft)         (tsf)           (tsf)            (%)        (tsf)

           .49          5.0            12.9           6.19           .41       SILTY CLAY TO CLAY
           .98         11. 1           25.1          4.88            .50        CLAYEY SILT to SILTY CLAY
          1.48         27.4            57.2          3.07            .63       SANDY SILT to CLAYEY SILT
          1.97         61.5          120.9           2.03          1.06        SILTY SAND to SANDY SILT
          2.46         31.7            59.2          3.03           .78        SANDY SILT to CLAYEY SILT
         2.95           4.5             8.0          8.07           .44        CLAY TO ORGANIC CLAY
         3.44           3.9             6.7          5.91           .43        SILTY CLAY TO CLAY
         3.94           2.5             4.2          7.57           .42        ORGANIC MATERIAL
         4.43           6.6            10.7          6.96           .51        SILTY CLAY TO CLAY
         4.92           7.3           11.5           6.67           .59        SILTY CLAY TO CLAY
         5.41          13.9           21.3           4.81           .70        CLAYEY SILT to SILTY CLAY
         5.91         24.2            36.1           7.14           .79       •SANDY CLAY to SILTY CLAY
         6.40         38.0            55.3           4.76           .96       •SANDY CLAY to SILTY CLAY
         6.89         26.9            38.2           4.39           .97        CLAYEY SILT to SILTY CLAY
         7.38         16.4            22.8           5.01           .99        CLAYEY SILT to SILTY CLAY
         7.37         19.0            25.9           3.90           .98        CLAYEY SILT to SILTY CLAY
         8.37         16.1            21.6           2.97         1.03         SANDY SILT to CLAYEY SILT
         8.86           9.7           12.7           4.85           .88        CLAYEY SILT to SILTY CLAY
         9.35         36.5            47.0           2.25           .53        SILTY SAND to SANDY SILT
         9.84         28.7            36.3           2.27           .53        SANDY SILT to CLAYEY SILT
        10.33           3.7             4.5          2.72           .31        SILTY CLAY Co CLAY
        10.83            .S             1.1         15.00           .20        ORGANIC MATERIAL
        11.32         11.2            13.5           3.57           .30        CLAYEY SILT to SILTY CLAY
        11.31         14.1            16.8           5.88           .21        SILTY CLAY TO CLAY
        12.30           5.6             6.6          2.49           .19        SILTY CLAY to CLAY
        12.30         11.1            12.8           1.63           .23        SANDY SILT to CLAYEY SILT
        13.29           3.6             4.1          4.68           .33        SILTY CLAY TO CLAY
        13.78         18.2            20.4           2.96           .47        SANDY SILT to CLAYEY SILT
        14.27           5.9             6.6          3.37           .31        SILTY CLAY to CLAY
        14.76           3.3             9.6          2.73           .42        SANDY SILT to CLAYEY SILT
        15.26         42.5            45.7             .92          .63        SAND to SILTY SAND
        15.75         35.0            37.2           1.86           .40        SILTY SAND to SANDY SILT
        16.24         53.3            61.7           1.14           .50        SAND to SILTY SAND
        16.73         43.7            45.3           1.72           .40        SILTY SAND to SANDY SILT
        17.22        100.4           103.1           1.76           .73        SILTY SAND to SANDY SILT
        17.72        103.6           105.8             .73          .77        SAND to SILTY SAND
        18.21        122.7           124.6             .69          .78        SAND to SILTY SAND
        18.70        174.3           176.7             .74        1.01         SAND to SILTY SAND
        19.19        179.2           180.2             .78        1.28         SAND to SILTY SAND
        19.69        129.1           129.1             .84        1.35         SAND to SILTY SAND
        20.18        171.9           171.1             .91        1.49         SAND to SILTY SAND




•INDICATES OVERCONSOLIDATED OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT HT - 110 PCF
ASSUMED DEPTH OF WATER TABLE - 17.0 FT




                                                                                        The Earth Technology
                                                                                       Corporation


                                                   Exhibit 39
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                                                                    PAGE 2 of 3
SOUNDING      CPT-V10



        DEPTH    TIP RESISTANCE     NORMALIZED     FRICTION      CONE PORE       SOIL BEHAVIOR TYPE
                                  TIP RESISTANCE     RATIO       PRESSURE
          (ft)       (tsf)            (tsf)           (%)          (tsf)

         20.67       141.0            139.6           .83           1.50      SAND to SILTY SAND
         21.16       154.9            152.7           .96          1.46       SAND to SILTY SAND
         21.65       227.7            223.3           .86          1.79       SAND to SILTY SAND
        22.15        165.2           161.2          1.19           1.77       SAND to SILTY SAND
        22.64        116.7           113.3            .58          1.97       SAND to SILTY SAND
        23.13          29.3            28.3         3.62           1.99       SANDY SILT to CLAYEY SILT
        23.62        121.3           116.6          1.43           2.61       SAND to SILTY SAND
        24.11        190.7           182.5            .92          3.35       SAND to SILTY SAND
        24.61        120.9           115.1          1.37           3.32       SAND to SILTY SAND
        25.10        237.4           225.0          1.32           4.13       SAND to SILTY SAND
        25.59        492.8           464.9            .94         22.93       SANDY GRAVEL to SAND
        26.08        473.8           444.8          1.26          34.81       SAND to SILTY SAND
        26.57        505.4           472.3           .75          41.07       SANDY GRAVEL to SAND
        27.07        382.6           355.9           .49          41.07       SANDY GRAVEL to SAND
        27.56        392.4           363.3           .76          41.07       SANDY GRAVEL to SAND
        28.05        389.7           359.1           .75             .49      SANDY GRAVEL to SAND
        28.54        352.9           323.7           .91             .55      SAND to SILTY SAND
        29.04        380.5           347.5           .85             .59      SANDY GRAVEL to SAND
        29.53        221.0           200.9           .50             .61      SANDY GRAVEL to SAND
        30.02        189.5           171.5          1.22             .54      SAND to SILTY SAND
        30.51        219.3           197.5          2.42             .63     •SILTY SAND to CLAYEY SAND
        31.00         91.8             82.3         2.98             .67      SANDY SILT to CLAYEY SILT
        31.50         72.5             64.8         3.30             .59      SANDY SILT to CLAYEY SILT
        31.99        137.3           122.0          2.97             .54     •SILTY SAND to CLAYEY SAND
        32.43         33.8             29.9         3.SS             .64      SANDY SILT to CLAYEY SILT
        32.97         33.7             29.7         2.22             .54      SANDY SILT to CLAYEY SILT
        33.46         41.7             36.6         2.64             .64      SANDY SILT to CLAYEY SILT
        33.96         27.7           .24.2          1.48             .54      SILTY SAND to SANDY SILT
        34.45         50.5             43.9         2.08             .55      SILTY SAND to SANDY SILT
        34.94        121.8           105.5          1.47             .72      SAND to SILTY SAND
        35.43         18.9             16.3         1.32             .69      SILTY SAND to SANDY SILT
        35.93         21.9             18.8          .50             .70      SILTY SAND to SANDY SILT
        36.42         20.9             17.8          .62             .71      SILTY SAND to SANDY SILT
        36.91         26.0             22.2          .50             .72      SILTY SAND to SANDY SILT
        37.40         23.8             20.1         1.68             .74      SILTY SAND to SANDY SILT
        37.39         19. S            16.4         2.00             .76      SANDY SILT to CLAYEY SILT
        38.39         15.7             13.2         1.72             .78      SANDY SILT to CLAYEY SILT
        38.88         12.8             10.7         2.27             .79      SANDY SILT to CLAYEY SILT
        39.37         14.6             12.1         1.24             .80      SILTY SAND to SANDY SILT
        39.86         18.1             15.0         1.27             .82      SILTY SAND to SANDY SILT
        40.35         18.4             15.2         1.58             .83      SANDY SILT to CLAYEY SILT
        40.35         30.9            25.5          2.75             .85      SANDY SILT to CLAYEY SILT
        41.34        159.9           131.1          2.07             .93      SILTY SAND to SANDY SILT
        41.83        356.6           291.1          2.75             .83     •SILTY SAND to CLAYEY SAND
        42.32        223.4           181.6          2.07           1.00       SILTY SAND to SANDY SILT
        42.31        256.3           207.5          2.65           1.03      •SILTY SAND to CLAYEY SAND
        43.31        103.7             83.6         3.83           1.02      •CLAYEY SAND to SANDY CLAY
        43.30        100.2             80.5         3.21           1.04       SANDY SILT to CLAYEY SILT
        44.29        102.5             82.0         5.60           1.04      •SANDY CLAY to SILTY CLAY
        44.78        117.1             93.3         4.84           1.04      •SANDY CLAY to SILTY CLAY




•INDICATES OVERCONSOLIDATED OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT WT » 110 ?C?
ASSUMED DEPTH OF WATER TABLE - 17.0 FT




                                                                                       The Earth Technology
                                                                                      Corporation

                                                    Exhibit 39
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                                  #:5502
                                                                     PAGE 3 of 3
 SOUNDING : CPT-VI0



        DEPTH    TIP RESISTANCE     NORMALIZED     FRICTION     CONE PORE       SOIL BEHAVIOR TYPS
                                  TIP RESISTANCE     RATIO      PRESSURE
          (ft)        (tsf)           (tsf)           (%)         (tsf)

        45.23        100.4             79.7           6.48         1.04      •SANDY CLAY to SILTY CLAY
        45.77          84.8            67.1           5.57         1.05     •SANDY CLAY to SILTY CLAY
        46.26        271.0           213.4           4.48          1.10     •CLAYEY SAND to SANDY CLAY
        4«.7S          71.5            56.1          5.27          1.10     •SANDY CLAY to SILTY CLAY
        47.24          52.6           41.1           1.54          1.10       SILTY SAND to SANDY SILT
        47.74          57.4           44.7           2.63          1.09       SANDY SILT to CLAYEY SILT
        48.23          59.6           46.2           3.02          1.07       SANDY SILT to CLAYEY SILT
        48.72          60.1           46.4           6.21         1.07      •SANDY CLAY to SILTY CLAY
        49.21          53.5           41.1           4.92         1.07      •SANDY CLAY to SILTY CLAY
        49.70        165.1           126.5           3.32            .99    •CLAYEY SAND to SANDY CLAY
        50.20         55.9            42.7           1.56            .97      SILTY SAND to SANDY SILT
        50.69         49.3            37.9           1.61           .97       SILTY SAND to SANDY SILT
        51.18         44.6            33.8           1.82            .98      SILTY SAND to SANDY SILT
        51.67         41.0            30.9           2.10            .99      SILTY SAND to SANDY SILT
        52.17         39.2            29.5           3.93           .99       CLAYEY SILT to SILTY CLAY
        52.66         41.7            31.2           6.07         1.00      •SANDY CLAY to SILTY CLAY
        53.15         45.2            33.7           2.06         1.01        SILTY SAND to SANDY SILT
        53.64         41.6            30.9           2.40         1.02        SANDY SILT to CLAYEY SILT
        54.13         41.7            30.9           2.42         1.02        SANDY SILT to CLAYEY SILT
        54.63         38.0            28.0           2.42         1.09        SANDY SILT to CLAYEY SILT
        55.12         41.5            30. S          4.00         1.12        CLAYEY SILT to SILTY CLAY
        55.61         38.6            28.3           2.77         1.15        SANDY SILT to CLAYEY SILT
        56.10         39.2            28.5           2.55         1.19        SANDY SILT to CLAYEY SILT
        56.59         42.6            31.0           1.57         1.23       SILTY SAND to SANDY SILT
        57.09         70.5            51.0           3.07         1.31        SANDY SILT to CLAYEY SILT
        57.58         53.5            38.6           2.76         1.34        SANDY SILT to CLAYEY SILT
        58.07        lll.fi           80.2           5.35         1.52      •SANDY CLAY to SILTY CLAY
        58.56        356.5           255.1           4.41         1.62      • CLAYEY SAND to SANDY CLAY
        59.06        114.0            81.3           3.00         1.51       SANDY SILT to CLAYEY SILT
        59.55        135.2            96.0           3.65         1.64      •CLAYEY SAND to SANDY CLAY
        60.04        377.5           267.2           1.86         1.70       SAND to SILTY SAND
        60.53        337.0           237.7          *****
                                                                  1.70




•INDICATES OVERCONSOLIDATED OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT WT » 110 PCF
ASSUMED DEPTH 0? WATER TA3LE » 17.0 FT




                                                                                      The Earth Technology
                                                                                     Corporation


                                                   Exhibit 39
                                                     5459
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                                  #:5503            SOIL BEHflVIOR TYPE
               FRICTION ROT 10           TIP RESISTflNCE (QC)               INCREflSIND GRflIN SIZE              •-
              (FS/QC) (PERCENT!              TONS/SQ FT
                                                                                CLflY          SILT      SflND        DRflVEL
                               0 0               200          400




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       30                                                                                                                  30




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       90 •                                                                                                                90




      100 •                                                                                                              100


                    TIP   RESISTflNCE NOT CORRECTED FOR END flREfl EFFECT

                    flSSUMED TOTRL UNIT HT = HO PCF             flSSLHED       DEPTH OF UfiTER TflSLE = 17.0 FT




CONE PENETRfiTION TEST                                                     SOUNDING NUMBER: CPT-V11

PROJECT NfiME             : ENVIRON/MC COLL                CONE/RIG = 473/Rc3                         f THE EflRTH TECHNOLOGY
                                                                                                       CORPORflTION
PROJECT NUMBER : 94-380-12102                              OfiTE/TIME: 04-11-94 07=28


                                                         Exhibit 39
                                                           5460
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        CONE PORE PRESSURE ( U )
                                   #:5504
                                 TIP RESISTflNCE (QC)    PORE PRESSURE RflTIO
                   TONS/SQ FT                             TONS/SQ FT                     U/QC
              32        16          0    0        100          200       300   400 0.0    0.5     1.0




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        BO                                                                                              80




        90                                                                                              90




        100                                                                                             100


                   TIP RESISTflNCE NOT CORRECTED FOR END flREfl EFFECT




CONE PENETRflTION TEST                                                 SOUNDING NUMBER: CPT-V11

PROJECT NfiME         •. ENVERON/MC COLL                   CONE/RIG : 473/Rs3             ' THE EflRTH TECHNOLOGY
                                                                                           CORPORflTION
PROJECT NUMBER = 94-380-12102                              DflTE/TIME: 04-11-94 07=28




                                                        Exhibit 39
                                                          5461
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                                  #:5505
** *;                                                                                              r**********
*                                                                                                             *
*                                    CONE PENETRATION TEST                                                    *
*                                                                                                             *
*    SOUNDING : CPT-VI1                                                PROJECT No.: 94-380-12102              *
*    PROJECT : ENVIRON/MC COLL                                         CONE/RIG : 473/R#3                     *
*    DATE/TIME: 04-11-94 07:28
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                                                                                                  PAGE 1 of 2

        DEPTH     TIP RESISTANCE     NORMALIZED     FRICTION     CONE PORE       SOIL BEHAVIOR TYPE
                                   TIP RESISTANCE     RATIO      PRESSURE
          (ft)        (tsf)            (tsf)           (%)         (tsf)

            .49       18.0             46.1          4.46            .38     •SANDY CLAY to SILTY CLAY
            .98       13.3             30.1           9.85           .47     •SANDY CLAY to SILTY CLAY
          1.48          8.6            17.9         13.17            .49     •SANDY CLAY to SILTY CLAY
          1.97        15.8             31.0          8.30            .69     •SANDY CLAY to SILTY CLAY
         2.46         13.8             25.7          8.06            .83     •SANDY CLAY to SILTY CLAY
         2.95          4.3               7.7        15.00            .75      CLAY TO ORGANIC CLAY
         3.44          5.2               8.9        15.00            .81      CLAY TO ORGANIC CLAY
         3.94         32.9             54.7          6.45          2.14      •SANDY CLAY to SILTY CLAY
         4.43         24.4             39.4          9.21          2.95      •SANDY CLAY to SILTY CLAY
         4.92          6.6             10.4         12.10          2.62       CLAY TO ORGANIC CLAY
         5.41         24.0             36.6          7.10          3.60      •SANDY CLAY to SILTY CLAY
         5.91         26.8             39.9          8.40          4.52      •SANDY CLAY to SILTY CLAY
         6.40         12.8             18.6         10.29          4.07      •SANDY CLAY to SILTY CLAY
         6.89         19.1             27.1          8.03          4.33      •SANDY CLAY to SILTY CLAY
         7.38          9.6             13.3         13.60          3.31       CLAY TO ORGANIC CLAY
         7.87         14.3             19.5         11.94          3.57      •SANDY CLAY to SILTY CLAY
         8.37          6.2              8.3         15.00          3.19       CLAY TO ORGANIC CLAY
         8.86          9.6             12.6         12.94          2.87       CLAY TO ORGANIC CLAY
         9.35          3.9             .5.0         15.00          2.22       CLAY TO ORGANIC CLAY
         9.34            .9             1.1         15.00          2.03       ORGANIC MATERIAL
        10.33          5.4              6.8         14.15          2.15       CLAY TO ORGANIC CLAY
        10.83          3.3              4.0         14.29          2.11       ORGANIC MATERIAL
        11.32          7.3              9.4          9.72          2.36       CLAY TO ORGANIC CLAY
        11.31          7.9              9.3         11.45          2.41       CLAY TO ORGANIC CLAY
        12.30          4.7              5.5         11.81          2.34       CLAY TO ORGANIC CLAY
        12.80          5.3              6.6         15.00          2.42       CLAY TO ORGANIC CLAY
        13.29          3.5              4.0         15.00          2.42       ORGANIC MATERIAL
        13.78          7.8              8.8          7.65          2.74       SILTY CLAY TO CLAY
        14.27          3.6              4.0         15.00            .67      ORGANIC MATERIAL
        14.76         15.0             16.4          1.93            .54      SANDY SILT to CLAYEY SILT
        15.26          6.1              6.6         10.42            .33      CLAY TO ORGANIC CLAY
        15.75            .7               .8        15.00            .32
        15.24          5.9              6.2            .51           .40      SANDY SILT to   CLAYEY SILT
        16.73         24.8             25.7            .85           .33      SILTY SAND to   SANDY SILT
        17.22         41.2             42.3            .92           .19      SILTY SAND to   SANDY SILT
        17.72        131.0            133.8          1.21            .48      SAND to SILTY   SAND
        18.21        278.3            282.8          1.67            .60      SAND to SILTY   SAND
        13.70        247.5            250.3          2.44          9.30      •SILTY SAND to   CLAYEY SAND
        19.19         88.0             88.5            .82         1.16       SAND to SILTY   SAND
        19.69         74.3             74.3          1.00          1.15       SAND to SILTY   SAND
        20.18         63.3             63.0            .96           .98      SAND to SILTY   SAND




•INDICATES OVERCONSOLIDATSD OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT HT - 110 PCF
ASSUMED DEPTH OF WATER TABLE - 17.0 FT




                                                                                       The Earth Technology
                                                                                      Corporation


                                                    Exhibit 39
                                                      5462
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                                  #:5506
                                                                     PAGE 2 of 2
 SOUNDING : CPT-VI1



        DEPTH    TIP RESISTANCE     NORMALIZED     FRICTION     CONE PORE       SOIL BEHAVIOR TYPE
                                  TIP RESISTANCE     RATIO      PRESSURE
         (ft)         (tsf)           (tsf)            (t)        (tsf)

        20.67           60.3            59.7          1.41         1.02       SILTY SAND to SANDY SILT
        21.16           50.5           49.8           1.01           .07      SAND to SILTY SAND
        21.65         128.8           126.3             .57        2.64       SAND to SILTY SAND
        22.15         192.4           187.7             .95      12.93       SAND to SILTY SAND
        22.64        263.0           255.3              .70      24.65       SAND to SILTY SAND
        23.13        290.1           280.3              .51      16.71       SANDY GRAVEL to SAND
       23.62         285.2           274.2              .38      11.57       SANDY GRAVEL to SAND
       24.11          176.0          168.4            1.57           .60     SAND to SILTY SAND
       24.61         129.3           123.2           1.41            .66     SAND to SILTY SAND
       25.10           59.8            56.7          2.69            .58     SANDY SILT to CLAYEY SILT
       25.59         118.3           111.6           2.78            .71     SILTY SAND to SANDY SILT
       26.08           62.6            58. B         3.75            .70    •CLAYEY SAND to SANDY CLAY
       26.57         213.2           199.2           1.52            .36     SAND to SILTY SAND
       27.07         215.4           200.3           1.24            .93     SAND to SILTY SAND
       27.56         167.1           154.7           1.50           .96      SAND to SILTY SAND
       28.05         181.7           167.5           1.07         1.01       SAND to SILTY SAND
       28.54         236.3           216.7           1.37         1.11       SAND to SILTY SAND
       29.04         226.3           206.6           2.20         1.16       SILTY SAND to SANDY SILT
       29.53         357.9           325.3           1.15         1.41       SAND to SILTY SAND
       30.02         356.3           322.4           1.27           .10      SAND to SILTY SAND
       30.51         182.5           164.4           2.75           .06     •SILTY SAND to CLAYEY SAND
       31.00         331.8           297.6           1.08           .14      SAND to SILTY SAND
       31.50         395.6           353.2           1.23           .20      SAND to SILTY SAND
       31.99         375.0           333.3           1.42           .22      SAND to SILTY SAND
       32.43         378.7           335.1           1.78           .25     •SAND to SILTY SAND
       32.97         385.6           339.7           1.57           .28      SAND to SILTY SAND
       33.46         414.9           363.9           1.92           .31     •SAND to SILTY SAND
       33.96         465.0           406.2           1.57           .36     •SAND to SILTY SAND
       34.45         341.3           296.8           1.14           .40      SAND to SILTY SAND
       34.94         128.6           111.3           4.41           .39     •CLAYEY SAND to SANDY CLAY
       35.43         379.7           327.4           2.68           .46     •SILTY SAND to CLAYEY SAND
       35.93         410.6           352.4           2.74           .49     •SILTY SAND to CLAYEY SAND
       36.42         360.4           308.1           3.10           .52     •SILTY SAND to CLAYEY SAND
       36.91         317.1           269.9           3.61           .50     •CLAYEY SAND to SANDY CLAY
       37.40         633.3           541.4           1.01           .60      SANDY GRAVEL to SAND
       37.39         350.8           296.1           1.17           .59      SAND to SILTY SAND
       38.39         401.2           337.2           1.17         1.91       SAND to SILTY SAND
       38.38         348.7           291.8           2.61         2.10      •SILTY SAND to CLAYEY SAND
       39.37         196.2           163.6           2.70         2.05      •SILTY SAND to CLAYEY SAND
       39.85           25.4            21.1          2.72         1.93       SANDY SILT to CLAYEY SILT
       40.35           19.0            15.7          2.32         1.87       SANDY SILT to CLAYEY SILT
       40.35           34.8            28.6          1.52         1.80       SILTY SAND to SANDY SILT
       41.34           70.0            57.4          2.11         1.77       SILTY SAND to SANDY SILT
       41.83         171.8           140.3           2.28         -.45       SILTY SAND to SANDY SILT
       42.32         168.3           137.3           2.73         -.45      •SILTY SAND to CLAYEY SAND
       42.81         380.3           308.4           1.31         -.44       SAND to SILTY SAND
       43.31           74.3            59.9          4.67         -.44      •SANDY CLAY to SILTY CLAY
       43.80         171.7           137.9           3.59         -.43      •CLAYEY SAND to SANDY CLAY
       44.29         311.6           249.3           2.72         -.42      •SILTY SAND to CLAYEY SAND




•INDICATES OVSRCONSOLIDATED OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT HT - 110 PCF
ASSUMED DEPTH OF WATER TABLE - 17.0 FT




                                                                                      The Earth Technology
                                                                                     Corporation

                                                   Exhibit 39
                                                     5463
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                                  #:5507            SOIL BEHHVCOR TYPE
             FRICTION RRTIO            TIP RESISTflNCE (QC)               INCREflSINO GRfltN SIZE              *-
            (FS/QC) (PERCENT)              TONS/SQ FT
                                                                              CLflY          SILT      SflND        CRflVEL
                            0      0            200             400




       10                                                                                                                10




       20                                                                                                                20




       30                                                                                                                30




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       60                                                                                                                60




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      SO                                                                                                                 SO




      90                                                                                                                 90




      100                    J                                                                                          100


                  TIP   RESISTflNCE NOT CORRECTED FOR END flREfl EFFECT

                  RSSUMED TOTP5L UNIT UT = 110 PCF           flSSLMED        DEPTH OF MflTER TflBLE = 17.0 FT




CONE PENETRflTION TEST                                                  SOUNDING NUMBER: CPT-VI2

PROJECT NOME            : ENVIRON/MC COLL                CONE/RID : 473/R«3                         ' THE EflRTH TECHNOLOGY
                                                                                                    CORPORflTI ON
PROJECT NUMBER • 94-380-12102                            OflTE/TIME: 04-11-94 08=43



                                                       Exhibit 39
                                                         5464
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                                  #:5508
            CONE PORE PRESSURE (U)                      TIP RESISTRNCE IOC)                                     PORE PRESSURE RflTIO
                  TONS/SQ FT                                TONS/SQ FT                                                U/QC
             32       IS       0               0       100      ZOO     300                                 400 0.0     0.5       1.0
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                     TIP RESCSTflNCE NOT CORRECTED FOR END flREfl EFFECT




CONE PENETRflTION TEST                                                               SOUNDING NUMBER: CPT-V1Z

PROJECT NRME             -. ENVIRQN/MC COLL                 CONE/RIG •. 473/R«3                                           ^ THE   EflRTH TECHNCLOGY

PROJECT NUMBER : 94-380-12102                               OP)TE/TIME= 04-11-94 08 = 43                               ** CORPORflTlON                -—--




                                                          Exhibit 39
                                                            5465
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                                  #:5509
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*
                                                                                                              *
*                     CONE                    PENETRATION TEST                                                *
*
*    SOUNDING : CPT-V12
                                                                                                              *
                                                                       PROJECT No.: 94-380-12102              *
*    PROJECT : ENVIRON/MC COLL                                         CONE/RIG : 473/R#3                     *
*    DATE/TIME: 04-11-94 08:43                                                                                *
*********************************************************:
                                                                                                PAGE 1 of 2

        DEPTH    TIP RESISTANCE     NORMALIZED     FRICTION      CONE PORE       SOIL BEHAVIOR TYPE
                                  TIP RESISTANCE     RATIO       PRESSURE
         (ft)        (tsf)            (tsf)           (%)          (tsf)

           .49        18.8             48.2         3.35             .20      SANDY SILT to CLAYEY SILT
           .98        12.3             29.1         S.07             .17      CLAYEY SILT to SILTY CLAY
         1.48         11.5             24.0         8.88             .33     *SANDY CLAY to SILTY CLAY
        1.97          19.5             38.4         5.74             .42     •SANDY CLAY to SILTY CLAY
        2.46          26.6             49.7         5.90             .40     •SANDY CLAY to SILTY CLAY
        2.95          37.1             66.3         6.45             .42     •SANDY CLAY to SILTY CLAY
        3.44          59.8            102.9         4.92             '.56    •SANDY CLAY to SILTY CLAY
        3.94          37.3             62.0         6.60             .50     •SANDY CLAY to SILTY CLAY
        4.43          17.9             28.9         6.08             .45     •SANDY CLAY to SILTY CLAY
        4.92          11.1             17.3         6.79             .45      SILTY CLAY TO CLAY
        5.41          12.4             19.0         3.21             .42      SANDY SILT to CLAYEY SILT
        5.91          12.7             13.9         3.31             .67      SANDY SILT to CLAYEY SILT
        6.40           3.4             12.2         3.82             .61      CLAYEY SILT to SILTY CLAY
        6.89          22.3             31.6         4.22             .63      CLAYEY SILT to SILTY CLAY
        7.38          27.2             37.8         3.53             .63      SANDY SILT to CLAYEY SILT
        7.87           8.3             12.1         5.88             .63      SILTY CLAY TO CLAY
        8.37           S.3              7.1         4.33             .61      SILTY CLAY to CLAY
        8.86           6.3              8.3         3.50             .S3      SILTY CLAY to CLAY
        9.35           9.1             11.7         2.75             .56      SANDY SILT to CLAYEY SILT
        9.84          15.3             19.3         3.34             .63      SANDY SILT to CLAYEY SILT
       10.33          20.3             25.9         3.51             .69      SANDY SILT to CLAYEY SILT
       10.83          22.9             28.1         4.02             .76      CLAYEY SILT to SILTY CLAY
       11.32          26.3             31.7         4.87             .78     •SANDY CLAY to SILTY CLAY
       11.81          27.0             32.1         4.63             .30      CLAYEY SILT to SILTY CLAY
       12.30          27.1             31.8         4.57             .83      CLAYEY SILT to SILTY CLAY
       12.30          29.5             34.1         4.60             .87      CLAYEY SILT to SILTY CLAY
       13.29          28.8             32.7         4.48             .88      CLAYEY SILT to SILTY CLAY
       13.73          27.8             31.1         4.72             .90      CLAYEY SILT to SILTY CLAY
       14.27          26.8             29.6         4.52            .91       CLAYEY SILT to SILTY CLAY
       14.76          27.0             29.5         4.11            .94       CLAYEY SILT to SILTY CLAY
       15.26          33.1             35.6         3.84           1.04       CLAYEY SILT to SILTY CLAY
       15.75          29.8             31.6         3.56           1.05       SANDY SILT to CLAYEY SILT
       16.24          29.8             31.3         2.72           1.09       SANDY SILT to CLAYEY SILT
       16.73          33.1             34.3         2.33           1.14       SANDY SILT to CLAYEY SILT
       17.22          36.9             37.9         2.68           1.23       SANDY SILT to CLAYEY SILT
       17.72          35.3             36.1         2.89           1.25       SANDY SILT to CLAYEY SILT
       18.21          33.4             34.0         3.08           1.34       SANDY SILT to CLAYEY SILT
       18.70          34.1             34.5         3.95           1.37       CLAYEY SILT to SILTY CLAY
       19.19          32.6             32.8         4.11           1.39       CLAYEY SILT to SILTY CLAY
       19.69          28.5             28.5         4.28           1.38       CLAYEY SILT to SILTY CLAY
       20.18          25.7             25.6         4.51           1.38       CLAYEY SILT to SILTY CLAY




•INDICATES OVERCONSOLIDATED OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT WT - 110 PCF
ASSUMED DEPTH 0? WATER TABLE - 17.0 FT




                                                                                       The Earth Technology
                                                                                      Corporation

                                                    Exhibit 39
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                                  #:5510                             PAGE 2 of 2
 SOUNDING : CPT-V12



        DEPTH    TIP RESISTANCE     NORMALIZED     FRICTION     CONE PORE       SOIL BEHAVIOR TYPE
                                  TIP RESISTANCE     RATIO      PRESSURE
          (ft)        (tsf)           (tsf)           (*)         (tsf)

         20.67         24.6            24.3           4.64         1.41        CLAYEY SILT to SILTY CLAY
         21.16         24.9            24.6          4.45          1.43       CLAYEY SILT to SILTY CLAY
         21.65         26.5            25.9           3.89         1.49        CLAYEY SILT to SILTY CLAY
         22.15         25.9            25.2           3.02         1.52       SANDY SILT to CLAYEY SILT
         22.64         36.3            35.2          4.52          1.54       CLAYEY SILT to SILTY CLAY
         23.13         28.2            27.2           3.72         1.63       CLAYEY SILT to SILTY CLAY
        23.62          38.9            37.4           5.14         1.70      •SANDY CLAY to SILTY CLAY
         24.11        27.7             26.5          4.91          1.64       CLAYEY SILT to SILTY CLAY
        24.61         28.3             26.9          4.70          1.66       CLAYEY SILT to SILTY CLAY
        2S.10         27.2            25.8           5.07          1.63       CLAYEY SILT to SILTY CLAY
        25.59          24.9            23.5          4.54          1.65       CLAYEY SILT to SILTY CLAY
        26.08          34.5           32.4           5.05          1.74      •SANDY CLAY to SILTY CLAY
        26.57        150.3           140.5           2.23          3.22       SILTY SAND to SANDY SILT
        27.07        374.8           348.6           1.12        41.07        SAND to SILTY SAND
        27.56        393.1           364.0           1.21        30.34        SAND to SILTY SAND
        28.05        370.3           341.7             .99       26.21        SAND to SILTY SAND
        28.54        313.3           237.4           1.11        17.09        SAND to SILTY SAND
        29.04        3B3.6           350.3           1.20        15.51        SAND to SILTY SAND
        29.53        420.9           382.6           1.37        33.54        SAND to SILTY SAND
        30.02        372.3           336.9           1.65        32.22        SAND to SILTY SAND
        30.51        193.4           174.2           3.60        16.72      •CLAYEY SAND to SANDY CLAY
        31.00         73.2            65.6           1.78         9.33        SILTY SAND to SANDY SILT
        31.50         60.1            53.7           2.38         4.82        SILTY SAND to SANDY SILT
        31.99         42.6            37.9           3.26         5.01        SANDY SILT to CLAYEY SILT
        32.48         64.2            56.3           2.46         5.44        SILTY SAND to SANDY SILT
        32.97        116.1           102.3           4.94         7.90      •SANDY CLAY to SILTY CLAY
        33.46        373.5           327.6           3.05        40.93      •SILTY SAND to CLAYEY SAND
        33.96        371. S          324.5           3.03        41.07      •SILTY SAND to CLAYEY SAND
        34.45        268.5           233.5           3.11        31.33      •SILTY SAND to CLAYEY SAND
        34.94        152.1           140.3           5.52        15.15      •SANDY CLAY to SILTY CLAY
        35.43        324.1           279.4           3.64        41.07      •CLAYEY SAND to SANDY CLAY
        35.93        263.3           230.3           4.62        41.07      •CLAYEY SAND to SANDY CLAY
        36.42        271.3           232.3           4.04        41.07      •CLAYEY SAND to SANDY CLAY
        36.91        259.3           220.7           3.61        41.07      •CLAYEY SAND to SANDY CLAY
        37.40        211.9           179.6           3.99        41.07      •CLAYEY SAND to SANDY CLAY
        37.89        123.4           104.2           4.92        24.91      •SANDY CLAY to SILTY CLAY
        38.39         47.5            39.9           3.60         9.35        SANDY SILT to CLAYEY SILT
        33.33         62.9            52.7           5.43        10.03      •SANDY CLAY to SILTY CLAY
        39.37         79.3            66.5           5.77        11.47      •SANDY CLAY to SILTY CLAY
        39.36        106.7            38.5           6.70        16.19      •SANDY CLAY to SILTY CLAY
        40.35        122.2           101.0           7.45        18.01      •SANDY CLAY to SILTY CLAY
        40.85         91.5            75.3           7.10        20.01      •SANDY CLAY to SILTY CLAY
        41.34        377.3           309.3           2.24        37.33      •SILTY SAND to CLAYEY SAND
        41.83        500.3           408.4             .99        1.80        SAND to SILTY SAND




•INDICATES OVERCONSOLIDATED OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT HT « 110 ?CF
ASSUMED DEPTH 0? MATER TABLE - 17.0 FT




                                                                                       The Earth Technology
                                                                                      Corporation


                                                   Exhibit 39
                                                     5467
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                                                    SOIL BEHflVIOR TYPE
                                  #:5511
          FRICTION RflTIO           TIP RESISTflNCE (QC)               INCREflSING GRflIN SIZE                 ^-
         (FS/QC) (PERCENT I             TONS/SQ FT
                                                                            CLflY            SILT      SflND        GRflVEL
                           0    0           200              400
                                                                       -i—i—i—i—i—i—' i '      U ' i '—'—'—I—I—           0




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    60                                                                                                                   60




    70                                                                                                                   70




    SO                                                                                                                   SO




    90                                                                                                                   90




                                                                                                                        100


               TIP   RESISTflNCE NOT CORRECTED FOR END flREfl EFFECT

               RSSUMED TOTPL UNIT HT => 110 PCF           flSSLMED         DEPTH OF WflTER TfiBLE = 65.0 FT




CONE PENETRflTION TEST                                               SOUNDING NUMBER: CPT-VI3

PROJECT NOME         • ENVIRON/MC COLL                CONE/RIG : 473/Ra3                 ;          » THE EflRTH TECHNOLOGY
                                                                                                    'CORPORflTI ON
PROJECT NUMBER       : 94-380-12102                   OftTE/TIME: 03-30-94 13=54



                                                    Exhibit 39
                                                      5468
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 438 of 730 Page ID
         CONE PORE PRESSURE (U)    #:5512
                                 TIP RESISTflNCE (QC)    PORE PRESSURE RflTIO
                    TONS/SQ FT                             TONS/SQ FT                     U/QC
               32        IS                  0   0   100       200        300   400 0.0    0.5      1.0
                              t   I   _L._




          10                                                                                               10




          20                                                                                               20




          30                                                                                               30




          40                                                                                               40

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                                                                                                                Fl
                                                                                                                m


          60                                                                                               60




          70                                                                                              70




         80                                                                                               SO




         90                                                                                               90




         too                                                                                              100


                    TIP RESISTflNCE NOT CORRECTED FOR END flREfl EFFECT




 CONE PENETRflTION TEST                                                 SOUNDING NUMBER-- CPT-V13

 PROJECT NOME          = ENVIRON/MC COLL                   CONE/RIG : 473/Rn3              ' THE EflRTH TECHNOLOGY
                                                                                            CORPORflTION
 PROJECT NUMBER = 94-380-12102                             DRTE/TIME; 03-30-94 13:54




                                                       Exhibit 39
                                                         5469
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                                  #:5513
*******************************************************************
*                                                                                                            *
*                                   CONE PENETRATION TEST                                                    *
*                                                                                                            *
*    SOUNDING : CPT-V13                                               PROJECT No.: 94-380-12102              *
*    PROJECT : ENVIRON/MC COLL                                        CONE/RIG : 473/R#3                     *
*    DATE/TIME: 03-30-94 13:54                                                                               *


                                                                                               PAGE 1 of 4

        DEPTH    TIP RESISTANCE     NORMALIZED     FRICTION     CONS PORE       SOIL BEHAVIOR TYPE
                                  TIP RESISTANCE     RATIO      PRESSURE
         (ft)        (tsf)            ttsf)           (%)         (tsf)

          .49         28.7             73.7         3.14            .35      SANDY SILT to CLAYEY SILT
          .98         71.8           162.9          2.63            .61     •SILTY SAND to CLAYEY SAND
         1.48         86.8           181.6          2.44            .62     •SILTY SAND to CLAYEY SAND
         1.97         70.3           138.2          4.24            .43     •CLAYEY SAND to SANDY CLAY
         2. AS        €4.8           121.0          €.42            .45     •SANDY CLAY to SILTY CLAY
         2.95         54.5             97.5         5.91            .41     •SANDY CLAY to SILTY CLAY
         3.44         98.6           169.8          4.76            .70     •SANDY CLAY to SILTY CLAY
         3.94         57.0             94.9         5.15            .47     •SANDY CLAY to SILTY CLAY
         4.43         53.4             36.1         3.99            .47     •CLAYEY SAND to SANDY CLAY
         4.92         64.6           101.3          5.37            .62     •SANDY CLAY to SILTY CLAY
         S.41         59.0             90.0         5.93            .59     •SANDY CLAY to SILTY CLAY
         S.91         37.6             56.0         5.18            .53     •SANDY CLAY to SILTY CLAY
         6.40         35.5             51.6         4.73            .56     •SANDY CLAY to SILTY CLAY
         6.89         25.9             36.8         5.56            .52     •SANDY CLAY to SILTY CLAY
         7.38         19.3             26.9         3.78            .46      CLAYEY SILT to SILTY CLAY
         7.87         17.7             24.2         5.92            .51     •SANDY CLAY to SILTY CLAY
         8.37         19.6             26.3         5.45            .54     •SANDY CLAY to SILTY CLAY
         8.36         38.8             50.9         3.09            .61      SANDY SILT to CLAYEY SILT
         9.35         35.0           . 45.1         4.48            .70     •SANDY CLAY to SILTY CLAY
         9.84         26.1             33.1         4.67            .66      CLAYEY SILT to SILTY CLAY
        10.33         23.0             28.7         4.52            .64      CLAYEY SILT to SILTY CLAY
        10.93         21.4             26.2         5.52            .68     •SANDY CLAY to SILTY CLAY
        11.32         20.0            24.1          5.26            .68      CLAYEY SILT to SILTY CLAY
        11.81         18.5            22.0          S.61            .65      SILTY CLAY TO CLAY
        12.30         16.7             19.5         6.06            .69      SILTY CLAY TO CLAY
        12.80         15.1             17.4         €.03            .70      SILTY CLAY TO CLAY
        13.29         14.9             16.9         5.57            .71      SILTY CLAY TO CLAY
        13.78         13.8             15.5         6.15            .71      SILTY CLAY TO CLAY
        14.27         14.0             15.5         6.80            .73      SILTY CLAY TO CLAY
        14.76         15.1             16.5         4.96            .75      CLAYEY SILT to SILTY CLAY
        15.26         14.9             16.0         3.29            .67      CLAYEY SILT to SILTY CLAY
        15.75          4.4             4.7          3.18            .61      SILTY CLAY to CLAY
        16.24          1.3             1.4         13.64            .16      ORGANIC MATERIAL
        16.73         21.7            22.5          4.38            .31      CLAYEY SILT to SILTY CLAY
        17.22         23.2            23.8          3.23            .39      SANDY SILT to CLAYEY SILT
        17.72         26.9            27.2          2.64            .48      SANDY SILT to CLAYEY SILT
        13.21         24.3            24.3          3.17            .76      SANDY SILT to CLAYEY SILT
        18.70         36.0            35.6          3.92            .93      CLAYEY SILT to SILTY CLAY
        19.19         60.2            58.8          3.02          1.42       SANDY SILT to CLAYEY SILT
        19.69         30.3            29.3          4.91          1.32       CLAYEY SILT to SILTY CLAY
        20.18         23.2            22.2          5.08          1.33       CLAYEY SILT to SILTY CLAY




•INDICATES OVERCONSOLIDATED OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT WT - 110 PCF
ASSUMED DEPTH OF WATER TABLE . 65.0 FT




                                                                                      The Earth Technology
                                                                                     Corporation


                                                   Exhibit 39
                                                     5470
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                                                                     PAGE 2 of 4
 SOUNDING : CPT-VI3



         DEPTH    TIP RESISTANCE     NORMALIZED      FRICTION    CONE PORE        SOIL BEHAVIOR TYPE
                                   TIP RESISTANCE      RATIO     PRESSURE
          (ft)         (tsf)           (tsf)             I*)       (tsf)

         20.67          19.5            18.4            4.31        1.37        CLAYEY SILT to SILTY CLAY
         21.16          21.9            20.4            3.98        1.39        CLAYEY SILT to SILTY CLAY
         21.65          25.1            23.2            4.38        1.39        CLAYEY SILT to SILTY CLAY
         22.15          27.4            25.0            4.67        1.41        CLAYEY SILT to SILTY CLAY
         22.64          24.9            22.5            4.67        1.41        CLAYEY SILT to SILTY CLAY
         23.13          24. S           21.9            6.33        1.39        SILTY CLAY TO CLAY
         23.62          24.1            21.4            6.26        1.39        SILTY CLAY TO CLAY
        24.11           45.5            40.0           5.93         1.61      •SANDY CLAY to SILTY CLAY
        24.61           45.4            39.4           7.64         1.55      •SANDY CLAY to SILTY CLAY
        25.10           35.4            30.4            6.11        1.54      •SANDY CLAY to SILTY CLAY
        25.59           32.9           28.0             5.66        1.53     •SANDY CLAY to SILTY CLAY
        26.03           29.2            24.6            6.85        1.48      •SANDY CLAY to SILTY CLAY
        26.57           36.7            30.7           2.91         1.49       SANDY SILT to CLAYEY SILT
        27.07           17.3            14.3           3.70         1.18       CLAYEY SILT to SILTY CLAY
        27.56           37.2            30.5           2.50         1.18       SASDY SILT to CLAYEY SILT
        23.05          27.8            22.5            3.49           .96      CLAYEY SILT to SILTY CLAY
        28.54          32.0            25.7            3.12           .98      SANDY SILT to CLAYEY SILT
        29.04          48.5            38.6            4.27        1.00        CLAYEY SILT to SILTY CLAY
        29.53          67.0            52.9            5.72        1.24      •SANDY CLAY to SILTY CLAY
        30.02          89.7            70.1            4.24        1.51      •CLAYEY SAND to SANDY CLAY
        30.51          68.4            53.0            4.05        1.57      •CLAYEY SAND to SANDY CLAY
        31.00          88.9            63.3            2.24        1.75        SILTY SAND to SANDY SILT
        31.50          97.3            74.1            3.43        1.69      •CLAYEY SAND to SANDY CLAY
        31.99          96.6            72.9            2.69        1.83        SILTY SAND to SANDY SILT
        32.48         120.3            90.0            3.85        2.42      •CLAYEY SAND to SANDY CLAY
        32.97         147.3           109.2            3.77        3.37      •CLAYEY SAND to SANDY CLAY
        33.46         141.5           104.1            3.64        4.03      •CLAYEY SAND to SANDY CLAY
        33.96         134.5            98.1            3.76        3.73      •CLAYEY SAND to SANDY CLAY
        34.45         126.1            91.1            3.97        3.72      •CLAYEY SAND to SANDY CLAY
        34.94         164.7           118.0            3.72        4.20      •CLAYEY SAND to SANDY CLAY
        35.43         160.1           113.7            3.83        6.86      •CLAYEY SAND to SANDY CLAY
        35.93         127.4            89.7            3.81        5.87      •CLAYEY SAND to SANDY CLAY
        35.42         144.9           101.2            4.01        7.13      •CLAYEY SAND to SANDY CLAY
        36.91          82.9            57.4            5.91        5.21      •SANDY CLAY to SILTY CLAY
        37.40          93.5            64.2            5.08        8.13      •SANDY CLAY to SILTY CLAY
        37.89          34.2            57.4            4.57       19.65      •SANDY CLAY to SILTY CLAY
        38.39          83.7            56.5            5.46       26.68      •SANDY CLAY to SILTY CLAY
        38.88          68.4            45.8            5.04       21.55      •SANDY CLAY to SILTY CLAY
        39.37          73.4            48.7            4.17       26.94      •SANDY CLAY to SILTY CLAY
        39.86         102.4            67.5            5.85       28.60      •SANDY CLAY to SILTY CLAY
        40.35          93.0            64.1            5.58       31.63      •SANDY CLAY to SILTY CLAY
        40.35         157.2           101.9            4.94       12.14      •SANDY CLAY to SILTY CLAY
        41.34         105.5            67,9            6.79       22.58      •SANDY CLAY to SILTY CLAY
        41.83         143.8            91.8            2.07        1.09        SILTY SAND to SANDY SILT
        42.32         128.9            81.6            4.44          .78     •SANDY CLAY to SILTY CLAY
        42.31         158.0            99.2            3.34        1.21      •CLAYEY SAND to SANDY CLAY
        43.31          73.7            49.0            7.06        1.65      •SANDY CLAY to SILTY CLAY
        43.80          57.8            35.8            4.24        1.81       CLAYEY SILT to SILTY CLAY
        44.29          50.0            30.7            3.58        1.79       SANDY SILT to CLAYEY SILT
        44.73          68.0            41.4            5.37        1.75      •SANDY CLAY to SILTY CLAY




 •INDICATES OVERCONSOLIDATED OR CEMENTED MATERIAL
 ASSUMED TOTAL UNIT WT • 110 PCF
 ASSUMED DEPTH OF HATER TABLE « 65.0 FT




                                                                                       The Earth Technology
                                                                                      Corporation


                                                    Exhibit 39
                                                      5471
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                                                                    PAGE 3 Of 4
SOUNDING : CPT-VI3



        DEPTH    TIP RESISTANCE     NORMALIZED     FRICTION     CONE PORE       SOIL BEHAVIOR TYPE
                                  TIP RESISTANCE     RATIO      PRESSURE
          (ft)        (tsf)           (tsf)           (%)         (tsf)

         45.28         57.9            35.0         4.63           1.83      •SANDY CLAY to SILTY CLAY
         45.77         €9.3            41.5         5.08           1.84      •SANDY CLAY to SILTY CLAY
         46.26         53.7            31.9         3.33           1.80       SANDY SILT to CLAYEY SILT
         46.75         53.9            31.8         3.17           1.82       SANDY SILT to CLAYSY SILT
         47.24         S3.0            31.0         3.06           1.82       SANDY SILT to CLAYEY SILT
         47.74         50.9            29.6         3.42           1.80       SANDY SILT to CLAYSY SILT
         48.23         61.2            35.3         3.07           1.85       SANDY SILT to CLAYEY SILT
         48.72         72.8           41.6          4.20           1.91       CLAYEY SILT to SILTY CLAY
         49.21         70.9           40.2          3.70           1.92       SANDY SILT to CLAYEY SILT
         49.70         56.8            32.0         3.50           1.94       SANDY SILT to CLAYEY SILT
         50.20       243.8           136.3            .69         2.75        SAND to SILTY SAND
        50.69        829.4           460.1          1.43         41.01      •SAND to SILTY SAND
        51.18        108.3            59.6          2.34          6.53        SILTY SAND to SANDY SILT
        51.67        134.3            73.4          4.57          €.22      •SANDY CLAY to SILTY CLAY
        52.17        169.7            92.0          5.64          6.32      •SANDY CLAY to SILTY CLAY
        52.66         96.6            52.0          7.20          6.09      •SANDY CLAY to SILTY CLAY
        53.15         93.0            49.7          7.41          €.15      •SANDY CLAY to SILTY CLAY
        53.64        126.4            67.0          5.37          5.90      •SANDY CLAY to SILTY CLAY
        54.13        100.7            53.0          7.85          5.72      •SANDY CLAY to SILTY CLAY
        54.63         79.9            41.7          7.83          4.94      •SANDY CLAY to SILTY CLAY
        55.12         51.1            26.5          5.28          4.67        CLAYEY SILT to SILTY CLAY
        55.61         49.5            25.5          3.15          4.57        SANDY SILT to CLAYEY SILT
        56.10         53.3            27.2          3.68          4.44        CLAYEY SILT to SILTY CLAY
        56.59         51.4            26.1          5.04          4.24        CLAYEY SILT to SILTY CLAY
        57.09         62.2            31.3          5.92          4.20      •SANDY CLAY to SILTY CLAY
        57.58        131.0            65.4          7.98          4.56      •SANDY CLAY to SILTY CLAY
        58.07         46.7            23.1          3.54          3.96        CLAYEY SILT CO SILTY CLAY
        58.56         47.4            23.3          3.04          3.90        SANDY SILT to CLAYSY SILT
        59.06         48.9            23.9          2.97          3.33        SANDY SILT to CLAYEY SILT
        59.55         51.0            24.7          2.S4          3.78        SANDY SILT to CLAYEY SILT
        60.04         57.7            27.7          2.29          3.75        SANDY SILT to CLAYEY SILT
        60.53         51.2            24.4          2.48          3.64        SANDY SILT to CLAYSY SILT
        61.02         50.9            24.1          2.16          3.42        SANDY SILT to CLAYEY SILT
        61.52         48.4            22.8          2.64          3.36        SANDY SILT to CLAYSY SILT
        62.01         54.0            25.2          4.10          3.31        CLAYEY SILT to SILTY CLAY
        52.50        107.7            50.0          3.56          3.48        SANDY SILT to CLAYEY SILT
        62.99         53.0            24.4          4.33          3.31        CLAYEY SILT to SILTY CLAY
        63.43         87.0            39.7          4.73          3.39      •SANDY CLAY to SILTY CLAY
        63.99         57.5            26.1          3.18          3.36        SANDY SILT to CLAYEY SILT
        64.47         76.7            34.5          2.59          3.40        SANDY SILT to CLAYSY SILT
        64.96        172.3            77.0          4.32          3.34      •SANDY CLAY to SILTY CLAY
        65.45        134.7            60.0          9.88          3.47      •SANDY CLAY to SILTY CLAY
        65.94         61.6            27.3          3.59          2. OS      SANDY SILT to CLAYSY SILT
        66.44         61.1            27.1          3.32          2.07       SANDY SILT to CLAYSY SILT
        66.93         70.3            31.0          2.33          2.11       SANDY SILT to CLAYSY SILT
        67.42        136.3            59.9          3.53          2.23       SANDY SILT to CLAYEY SILT
        67.91         97.1            42.5          3.96          2.27       CLAYEY SILT to SILTY CLAY
        68.41         88.8            38.8          2.90          2.30       SANDY SILT to CLAYEY SILT
        63.90        189.8            82.7          7.92          2.41      •SANDY CLAY to SILTY CLAY
        69.39        371.1           161.1          6.24          2.65      •SANDY CLAY to SILTY CLAY




•INDICATES OVERCONSOLIDATED OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT WT « 110 PCF
ASSUMED DEPTH OF WATER TABLE > 65.0 FT



                                                                                      The Earth Technology
                                                                                     Corporation


                                                   Exhibit 39
                                                     5472
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                                                                     PAGE 4 of 4
 SOUNDING : CPT-V13



        DEPTH    TIP RESISTANCE     NORMALIZED     FRICTION     CONS PORE   SOIL BEHAVIOR TYPE
                                  TIP RESISTANCE     RATIO      PRESSURE
          (ft)        (tsf)           (tsf)           (*)         (tsf)




•INDICATES OVERCONSOLIDATED OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT WT » 110 PCF
ASSUMED DEPTH OF WATER TABLE - 65.0 FT




                                                                                 The Earth Technology
                                                                                Corporation



                                                   Exhibit 39
                                                     5473
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                                  #:5517            SOIL BEHfiVIOR TYPE
          FRICTION RflTIO            TIP RESISTflNCE (QC)               INCREASING GROIN SIZE               *-
         (FS/QC) (PERCENT)               TONS/SQ FT
                                                                            CLflY         SILT      SflNO        GRflVEL
                                              200              400




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                                                                                                                      so -
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    60                                                                                                                60




    70                                                                                                                70




    80                                                                                                                80




    90                                                                                                                90




   100                                                                                                               100


                TIP   RESISTflNCE NOT CORRECTED FOR END flREfl EFFECT

                fiSSUMED TOTflL UNIT HT = 110 PCF           ftSSLMED       DEPTH Q? WflTER TRBLE = 17.0 FT




CONE PENETRflTION TEST                                                 SOUNDING NUMBER: CPT-V14

PROJECT NftME         : ENVIRON/MC COLL                CONE/RIO : 473/Ra3                        ' THE EflRTH TECHNOLOGY
                                                                                                  CORPORflTI ON
PROJECT NUMBER = 94-380-12102                          OflTE/TIME: 04-14-94 11=01



                                                      Exhibit 39
                                                        5474
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 444 of 730 Page ID
                                  #:5518
           CONE PORE PRESSURE ( U )                  TIP RESISTflNCE (QC)            PORE PRESSURE RflTIO
                 TONS/SQ FT                              TONS/SQ FT                         U/QC
               32          IS          0   0        100        200         300   400 0.0     0.5      1.0




          10                                                                                                 10




          20                                                                                                 20'




          30                                                                                                 30




          40                                                                                                 40


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    ^ 50                                                                                                     50    J
    T.                                                                                                             11
    Q.                                                                                                             m
                                                                                                                   m


          50                                                                                                 60




         7O                                                                                                 70




         80                                                                                                 30




         90                                                                                                 90




         100                                                                                                100


                    TIP   RESISTANCE NOT CORRECTED FOR END flREfl EFFECT




 CONE PENETRflTION TEST                                                SOUNDING NUMBER: CPT-V14
 PROJECT NOME             : ENVERON/MC COLL               CONE/RIG : 473/Rc3                 ' THE EflRTH TECHNOLOGY
                                                                                              CORPORflTION
 PROJECT NUMBER = 94-380-12102                            DOTE/TIME-- 04-14-94 11:01



                                                       Exhibit 39
                                                         5475
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                                   #:5519
                              :********************•                                           :************
*
*                                   CONE PENETRATION TEST
*
*    SOUNDING : CPT-V14                                                 PROJECT No. : 94-380-12102             *
*    PROJECT : ENVIRON/MC COLL                                          CONE/RIG : 473/R#3                     *
*    DATE/TIME: 04-14-94 11:01                                                                                 *


                                                                                                 PAGE 1 of 3

        DEPTH    TIP RESISTANCE     NORMALIZED     FRICTION       CONE PORE       SOIL BEHAVIOR TYPE
                                  TIP RESISTANCE     RATIO        PRESSURE
         (ft)        (tsf)            (tsf)           (%)           (tsf)

          .49         15.3            39.3          4.25             .08       CLAYEY SILT to SILTY CLAY
          .93         27.8            63.0          6. OS            .10      •SANDY CLAY to SILTY CLAY
         1.43         18.1             37.8         5.48             .11      •SANDY CLAY to SILTY CLAY
         1.97           9.9            19.5         3.93             .11       CLAYSY SILT to SILTY CLAY
         2.46           6.5           12.2          2.91             .12       SANDY SILT to CLAYEY SILT
         2.95           3.5           15.2          3.18             .12       CLAYSY SILT to SILTY CLAY
         3.44         11.1            19.2          4.84             .12       CLAYSY SILT to SILTY CLAY
         3.94          6.8            11.3          3.24             .13       SILTY CLAY to CLAY
         4.43         12.9            20.8          3.64             .13       CLAYSY SILT to SILTY CLAY
         4.92           3.1           12.6          3.60             .13       CLAYEY SILT to SILTY CLAY
         5.41         18.6            28.3          4.74             .15       CLAYEY SILT to SILTY CLAY
         5.91         13.2            19.7          3.70             .17       CLAYSY SILT to SILTY CLAY
         6.40          5.5              8.1         3.79             .17       SILTY CLAY to CLAY
         6.39          3.4              4.3         2.08             .17       SILTY CLAY to CLAY
         7.38          4.6              6.4           .65            .18       SANDY SILT to CLAYEY SILT
         7.87          5.9              8.0         3.40             .18       SILTY CLAY to CLAY
         8.37          5.3              7.2         2.99             .18       SILTY CLAY to CLAY
         8.36         10.9            14.3          3.59             .19       CLAYSY SILT to SILTY CLAY
         9. 35         7.8            10.1          3.59             .20       SILTY CLAY to CLAY
         9.34          6.0              7.6         2.99             .20       SILTY CLAY to CLAY
        10.33          5.5              6.3         3.65             .20       SILTY CLAY to CLAY
        10.83          6.9              8.4         3.50             .20       SILTY CLAY to CLAY
        11.32         10.4            12.6          4.42             .20       CLAYSY SILT to SILTY CLAY
        11.81         27.0            32.1          1.81             .21       SILTY SAND to SANDY SILT
        12.30         79.3            92.3          3.06             .28       SANDY SILT to CLAYEY SILT
        12.80         40.5            46.7          3.43             .28       SANDY SILT to CLAYEY SILT
        13.29         90.7           103.1          3.93             .29      •CLAYSY SAND to SANDY CLAY
        13.78         92.8           104.0          5.29             .33      •SANDY CLAY to SILTY CLAY
        14.27         67.4            74.5          6.05             .33      •SANDY CLAY to SILTY CLAY
        14.76         98.3           107.7          3.49             .33      •CLAYSY SAND to SANDY CLAY
        15.26        135.6           146.0          2.82             .32      •SILTY SAND to CLAYEY SAND
        15.75        119.7           127.2          3.53             .32      •CLAYSY SAND to SANDY CLAY
        16.24        109.5           114.8          4.68             .31      •SANDY CLAY to SILTY CLAY
        16.73         68.3            71.3          4.46             .31      •SANDY CLAY to SILTY CLAY
        17.22         58.9            60.4          4.20             .29      •SANDY CLAY to SILTY CLAY
        17.72         63.8            65.2          4.72             .27      •SANDY CLAY to SILTY CLAY
        18.21         51.4            52.2          4.36             .26      •SANDY CLAY to SILTY CLAY
        18.70         54.5            55.1          5.17             .24      •SANDY CLAY to SILTY CLAY
        19.19         64.9            65.3          5.90             .24      •SANDY CLAY to SILTY CLAY
        19.69        121.7           121.7          4.41             .25      •CLAYEY SAND to SANDY CLAY
        20.18        200.5           199.6          2.68             .27      •SILTY SAND to CLAYEY SAND




•INDICATES OVSRCONSOLIDATED OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT WT - 110 PC?
ASSUMED DEPTH OF WATER TABLE » 17.0 FT




                                                                                        The Earth Technology
                                                                                       Corporation


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                                  #:5520
                                                                     PAGE 2 of 3
 SOUNDING : CPT-VI4



        DEPTH     TIP RESISTANCE     NORMALIZED     FRICTION     CONE PORE       SOIL BEHAVIOR TYPE
                                   TIP RESISTANCE     RATIO      PRESSURE
          (ft)        {tsf)            (tsf)            (%)        (tsf)

         20.67        253.8            251.4          2.79            .32     •SILTY SAND to CLAYEY SAND
         21.16        162.5            160.1          5.81            .32     •SANDY CLAY to SILTY CLAY
         21. 65       224.4            220.0          3.77            .25     •CLAYEY SAND to SANDY CLAY
         22.15        273.1            266.5          3.57            .25     •CLAYEY SAND to SANDY CLAY
         22.64       254.9            247.5           3.74            .24     •CLAYEY SAND to SANDY CLAY
         23.13       303.0            292.7           3.80           .24      •CLAYEY SAND to SANDY CLAY
         23.62       304.2            292.5           3.46           .24      •SILTY SAND to CLAYEY SAND
         24.11       241.3            230.9           3.32           .23      •SILTY SAND to CLAYEY SAND
         24.61       209.2            199.2           2.75           .21     •SILTY SAND to CLAYEY SAND
         25.10        176.0           166.8           3.93           .16      •CLAYEY SAND to SANDY CLAY
         25.59        176.5           166.5           3.79           .17      •CLAYEY SAND to SANDY CLAY
        26.08          63.9             60.0          3.93           .13      •CLAYEY SAND to SANDY CLAY
        26.57        105.4              98.5          3.61           .13      •CLAYEY SAND to SANDY CLAY
        27.07        170.9            159.0           3.90           .13     •CLAYEY SAND to SANDY CLAY
        27.56        115.2            106.6           5.30           .19     •SANDY CLAY to SILTY CLAY
        23.05        135.5            124.8           5.80           .20     •SANDY CLAY to SILTY CLAY
        28.54        122.4            112.3           5.31           .22     •SANDY CLAY to SILTY CLAY
        29.04        131.5            120.1           5.52           .22     •SANDY CLAY to SILTY CLAY
        29.53        220.1            200.1           5.17           .23     •SANDY CLAY to SILTY CLAY
        30.02        301.0            272.4           3.78          .24      •CLAYEY SAND to SANDY CLAY
        30.51        219.2            197.4           4.33          .25      •CLAYEY SAND to SANDY CLAY
        31.00        144.2            129.3           6.14           .25     •SANDY CLAY to SILTY CLAY
        31.50        210.7            183.1           4.26           .23     •CLAYEY SAND to SANDY CLAY
        31.99        156.5            139.1           5.44          .23      •SANDY CLAY to SILTY CLAY
        32.48        205.5            181.8           6.31          .23      •SANDY CLAY to SILTY CLAY
        32.97        106.1              93.5          4.69          .23      •SANDY CLAY to SILTY CLAY
        33.46          67.2             59.0          2.11          .23        SILTY SAND to SANDY SILT
        33.96          62.3             54.4          2.39          .33        SILTY SAND to SANDY SILT
        34.45          91.3             79.4          2.07          .33        SILTY SAND to SANDY SILT
        34.94        136.4            118.1           5.18          .35      •SANDY CLAY to SILTY CLAY
        35.43          87.0             75.0          6.66          .35      •SANDY CLAY to SILTY CLAY
        35.93        126.2            108.3           5.65          .36      •SANDY CLAY to SILTY CLAY
        36.42          33.4             75.6          3.16          .36        SANDY SILT to CLAYEY SILT
        35.91        478.3            407.1           2.53          .39      •SILTY SAND to CLAYEY SAND
        37.40        119.0            100.8           4.95          .26      •SANDY CLAY to SILTY CLAY
        37.89          64.0             54.0          5.11          .25      •SANDY CLAY to SILTY CLAY
        38.39          66.5             55.9         10.23          .27      •SANDY CLAY to SILTY CLAY
        38.33        103.3              86.4          5.16          .29      •SANDY CLAY to SILTY CLAY
        39.37        143.3            119.4           4.17          .29      •CLAYEY SAND to SANDY CLAY
        39.36        224.5            186.5           4.38          .29      •SANDY CLAY to SILTY CLAY
        40.35        188.0            155.4           8.00          .29      •HEAVILY O.C./CEMENT. MAT.
        40.85        296.4            244.0           3.32          .25      •CLAYEY SAND to SANDY CLAY
        41.34        132.6            108.7           3.27          .25      •CLAYEY SAND to SANDY CLAY
        41.83          73.5            60.0           3.06          .26       SANDY SILT to CLAYEY SILT
        42.32          57.6            46.9           2.31          .26       SILTY SAND to SANDY SILT
        42.81          57.9            46.9           2.16          .26       SILTY SAND to SANDY SILT
        43.31          58.5            47.2           3.23          .26       SANDY SILT to CLAYEY SILT
        43.80          59.7            48.0           3.74          .25       SANDY SILT to CLAYEY SILT
        44.29          51.6            41.3           2.89          .25        SANDY SILT to CLAYEY SILT
        44.78         49.4             39.3           2.31          .23       SANDY SILT to CLAYEY SILT




•INDICATES OVERCONSOLIDATED OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT WT =• 110 PCF
ASSUMED DSPTH OF HATER TABLE - 17.0 FT




                                                                                       The Earth Technology
                                                                                      Corporation

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SOUNDING : CPT-V14



        DEPTH    TIP RESISTANCE     NORMALIZED     FRICTION      CONE PORE      SOIL BEHAVIOR TYPE
                                  TIP RESISTANCE     RATIO       PRESSURE
         (ft)        (tsf)            (tsf)                        (tsf)

        45.28         55.3             43.9         3.56             .28      SANDY SILT to CLAYEY SILT
        45.77         50.0             39.5         2.26             .28      SILTY SAND to SANDY SILT
        46.26         64.0             50.4         7.10             .28     «SANDY CLAY to SILTY CLAY
        46.75         84.5             66.3         3.81             .29     *CLAYSY SAND to SANDY CLAY
        47.24         98.8             77.2         3.75             .29     'CLAYEY SAND to SANDY CLAY
        47.74         67.9             52.8         8.53             .29     'SANDY CLAY to SILTY CLAY
        43.23         81.7             63.3         -.OS             .29




•INDICATES OVERCONSOLIDATSD OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT WT • 110 PCF
ASSUMED DEPTH OF WATER TA3LE - 17.0 FT




                                                                                       The Earth Technology
                                                                                      Corporation


                                                    Exhibit 39
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                                                     SOIL BEHflVCOR TY PE
                                  #:5522
                FRICTION RPTtO                              TIP RESISTflNCE (QC)               INCRERSING GRflt N SIZE
               CFS/QC) (PERCENT!                                TONS/SQ FT
                                                                                                   CLflY         SILT     SPN3         GRflVEL
               8                 4                  0   0           200                400
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                             TIP        RESISTflNCE NOT CORRECTED FOR END flREfl EFFECT

                             flSSUMED TOTfiL UNIT WT = 110 PCF                    flSSUMED        DEPTH OF WRTER TBBLE = 30.0 FT




 CONE PENETRflTION TEST                                                                      SOUNDING NUMBER:            CPT-N1

 PROJECT NRME                           : ENVIRON/MC COLL                    CONE/RIG : 473/Rs3                   ggg THE ERRTH TECHNOLOGY
                                                                                                                  Gr CORPORflT I ON        s..
 PROJECT NUMBER : 94-380-12102                                               DRTE/TIME: 04-04-94 06:51



                                                                          Exhibit 39
                                                                            5479
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       CONE PORE PRESSURE (U)      #:5523
                               TIP RESISTflNCE (QC)    PORE PRESSURE ROT 10
                    TONS/SQ FT                              TONS/SQ FT                     U/QC
               32          IB             0   0     100        200         300   400 0.0     0.5      1.0
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                    TIP   RESISTflNCE NOT CORRECTED FOR END RREfi EFFECT




CONE PENETRflTION TEST                                                   SOUNDING NUMBER: CPT-N1

PROJECT NftME             : ENVIRQN/MC COLL                 CONE/RIG : 473/Rc3              «^ THE ERRTH TECHNOLOGY
PROJECT NUMBER            i 94-380-12102                    DRTE/TIME: 04-04-94 06:51 ^CORPORftTION




                                                            Exhibit 39
                                                              5480
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                                      #:5524
     *************************!
     *                                                                                                *
     *                                  CONE PENETRATION TEST                                         *
C    *
     *    SOUNDING : CPT-N1
                                                                                                      *
                                                                            PROJECT No.: 94-380-12102 *
     *    PROJECT : ENVIRON/MC COLL                                         CONE/RIG : 473/R#3        *
     *    DATE/TIME: 04-04-94 06:51                                                                   *
     *                                                                                                *

                                                                                                     PAGE 1 of 2

             DEPTH    TIP RESISTANCE     NORMALIZED      FRICTION    CONE PORE       SOIL BEHAVIOR TYPE
                                       TIP RESISTANCE      RATIO     PRESSURE
              (ft)        (tsf)            (tsf)            (*)        (tsf)

               .49          19.2            49.3           5.73           .36    *SANDY CLAY to SILTY CLAY
               .98          14.7             33.3          S.10           .40    *SANDY CLAY to SILTY CLAY
              1.48          11.5             24.2          7.34           .25     •SANDY CLAY to SILTY CLAY
              1.97          10.8            21.1           5.40           .43      SILTY CLAY TO CLAY
             2.46           16.1            30.2          4.64            .47      CLAYEY SILT to SILTY CLAY
             2.95           11.1             19.8          6.96           .38      SILTY CLAY TO CLAY
              3.44          11.2             19.4         3.65            .25      CLAYEY SILT to SILTY CLAY
             3.94           11.2            18.6          6.43            .20      SILTY CLAY TO CLAY
             4.43            5.1              8.3         5.84            .09      SILTY CLAY TO CLAY
             4.92          21.8             34.1          6.75          1.18     •SANDY CLAY to SILTY CLAY
             5.41          14.4             21.9          4.59          1.08       CLAYSY SILT to SILTY CLAY
             5.91            9.5            14.2          8.18            .58      CLAY TO ORGANIC CLAY
             6.40          19.7             28.7          9.78            .85    •SANDY CLAY to SILTY CLAY
             6.89          48.1             63.4          7.25         4.18      •SANDY CLAY to SILTY CLAY
             7.38         336.2            467.8          2.50        41.15      •SILTY SAND to CLAYEY SAND
             7.87         112.5            153.4          3.71          8.44     •CLAYEY SAND to SANDY CLAY
             8.37          99.3            132.7          2.91        10.03      •SILTY SAND to CLAYEY SAND
             8.S6          98.9            129.8          4.03          9.25     •CLAYSY SAND to SANDY CLAY
             9.35          94.6           ,121.9          3.36         7.35      •CLAYEY SAND to SANDY CLAY
             9.84          90.2            114.2          4.07         6.52      •CLAYEY SAND to SANDY CLAY
            10.33         111.8            139.2          5.39         6.92      •SANDY CLAY to SILTY CLAY
            10.83         120.1            147.1          S.40         7.86      •SANDY CLAY to SILTY CLAY
            11.32         135.8            163.7          5.07        10.30      •SANDY CLAY to SILTY CLAY
            11.81          78.4             93.1          5.36         9.30      •SANDY CLAY to SILTY CLAY
            12.30          64.7             75.7          6.55         7.42      •SANDY CLAY to SILTY CLAY
            12.80         117.7            135.6          5.42         8.30      •SANDY CLAY to SILTY CLAY
            13.29          63.4             72.0          4.54         6.26      •SANDY CLAY to SILTY CLAY
            13.78          96.6            108.2          S.27        15.46      •SANDY CLAY to SILTY CLAY
            14.27          51.7             57.1          5.24         6.74      •SANDY CLAY to SILTY CLAY
            14.76         121.2            132.2          4.24        29.33      •CLAYEY SAND to SANDY CLAY
            15.26         312.3            336.1          2.29        41.15      •SILTY SAND to CLAYEY SAND
            15.75         311.7            331.2          2.21        38.21      •SAND to SILTY SAND
            16.24         302.7            317.6          2.35        20.02      •SILTY SAND to CLAYEY SAND
            16.73         316.4            327.3          2.41        13.04      •SILTY SAND to CLAYEY SAND
            17.22         334.0            341.9          1.98        15.12      •SAND to SILTY SAND
            17.72         351.5            355.4          2.37        15.75      •SILTY SAND to CLAYEY SAND
            18.21         356.1            355.9          2.53        13.69      •SILTY SAND to CLAYEY SAND
            18.70         347.2            342.9          2.43        10.39      •SILTY SAND to CLAYEY SAND
            19.19         354.5            346.2          2.47         9.98      •SILTY SAND to CLAYEY SAND
            19.69         369.0            356.3          2.36        10.94      •SILTY SAND to CLAYEY SAND
            20.18         359.6           343.3           2.18         8.70      •SAND to SILTY SAND




     •INDICATES OVERCONSOLIDATED OR CEMENTED MATERIAL
     ASSUMED TOTAL UNIT WT - 110 PCF
     ASSCMED DEPTH OF WATER TABLE • 30.0 FT




                                                                                           The Earth Technology
                                                                                          Corporation


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                                                                    PAGE 2 of 2
SOUNDING : CPT-N1



        DEPTH    TIP RESISTANCE     NORMALIZED     FRICTION      CONE PORE       SOIL BEHAVIOR TYPE
                                  TIP RESISTANCE     RATIO       PRESSURE
          (ft)        (tsf)           (tsf)            (%)         (tsf)

        20.67        338 .7          319.8          1..80          6.30      •SAND to SILTY   SAND
        21.16        332 .2          310. 3         2..06          3 .73     •SAND to SILTY   SAND
        21.65        338 .0          312. 4         2. 09          5.33      •SAND to SILTY   SAND
        22.15        343 .1          313. 7         2.11           7.15      •SAND to SILTY   SAND
        22.64        345 .4          312. 6         2.40           6 .41     •SILTY SAND to   CLAYEY   SAND
        23.13        352 .2          315.4          2.32           4.48      •SILTY SAND to   CLAYEY   SAND
        23.62        367 .5          325. 8         2.41           S .86     •SILTY SAND to   CLAYEY   SAND
        24.11        361 .2          316. 9         2.43           2.73      •SILTY SAND to   CLAYEY   SAND
        24.61        386 .0          335.3          2.26           3 .75     •SILTY SAND to   CLAYEY   SAND
        25.10        393 .7          338. 6         2.10           5.55      •SAND to SILTY   SAND
        25.59        386 .8          329.3          2. 68          7.59      •SILTY SAND to   CLAYEY   SAND
        26.08        395 .0          333. 1         2.16           7.31      •SAND to SILTY   SAND
        26.57        396 .0          330.7          2.21           7.45      •SAND to SILTY   SAND
        27.07        378 .3          312. 9          .80           6.15       SAND to SILTY   SAND
        27.56        356 .1          291. 8         2.21           1.47      •SILTY SAND to   CLAYSY   SAND
        28.05        380 .0          308.4          2. 32          1.76      •SILTY SAND to   CLAYSY   SAND
        28.54        400 .3          322.3          2.24           2.15      •SILTY SAND to   CLAYEY   SAND
        29.04        396 .4          315.8          2.16           2 .61     •SAND to SILTY   SAND
        29.53        421 .8          333. 0         2.05           3 .20     •SAND to SILTY   SAND
        30.02        434 .7          340. 1         2.08           3.85      •SAND to SILTY   SAND
        30.51        434 .4          338. 5         1.24           4.46       SAND to SILTY   SAND
        31.00        420 .6          326. 5         2.58             .82     •SILTY SAND to   CLAYEY   SAND
        31.50        425 .9          329. 3         2.30             .89     •SILTY SAND to   CLAYEY   SAND
        31.99        451 .0          347.3          2.43             .97     •SILTY SAND to   CLAYEY   SAND
        32. 4S       480 .2          368.4          2. 10          1.07      •SAND to SILTY   SAND
        32.97        498 .2          380. 7         2.26           1.11      •SAND to SILTY   SAND
        33.46        519..9          395. 8         2.22           1.22      •SAND to SILTY   SAND
        33.95        534..4          405.3         *«.* *          1.04




•INDICATES OVERCONSOLIDATED OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT WT - 110 PCF
ASSUMED DEPTH OF WATER TA3LS - 30.0 FT




                                                                                       The Earth Technology
                                                                                      Corporation


                                                    Exhibit 39
                                                      5482
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 SOIL
                                                      Page  452 of 730 Page ID
                                                          BEHflVIOR TYPE
        FRICTION RRTIO
                                      #:5526
                         TIP RESISTfiNCE (QC)                              INCREflSING GRflIN SIZE               »-
            (FS/QO (PERCENT!                TONS/SQ FT
                                                                               CLflY          SILT       SflND        GRflVEL
                          0        0             200                400




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                  TIP   RESISTflNCE NOT CORRECTED FOR END flREfl EFFECT

                  fiSSUMED TOTFL UNIT MT = 110 PCF             flSSUMED       CEPTH OF WfiTER TflBLE = 30.0 FT




CONE PENETRflTION TEST                                                    SOUNDING NUMBER: CPT-N2

PROJECT NOME            : ENVIRON/MC COLL                 CONE/RIG : 473/Ra3                         f THE EflRTH TECHNOLOGY
                                                                                                      CORPORRTION
PROJECT NUMBER : 94-380-12102                             DfiTE/TIME: 04-01-94 14:20




                                                       Exhibit 39
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       CONE PORE PRESSURE CU)
                                   #:5527
                               TIP RESISTflNCE (QC)                                PORE PRESSURE RflTIO
                   TONS/SQ FT                          TONS/SQ FT                         U/QC
              32        IS           0   0                200            300   400 0.0     0.5      1.0




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                   TIP RESISTflNCE NOT CORRECTED FOR END flREfl EFFECT




CONE PENETRflTION TEST                                               SOUNDING NUMBER:        CPT-N2

PROJECT NOME           : ENVIRON/MC COLL                CONE/RIG : 473/R=3                   THE EflRTH TECHNOLOGY
                                                                                             CORPORflTION
PROJECT NUMBER         : 94-380-12102                   DRTE/TIME: 04-01-94 14:20



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                                  #:5528
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 *                                  CONE PENETRATION TEST                                                     *
 *                                                                                                            *
*    SOUNDING : CPT-N2                                                 PROJECT No.: 94-380-12102              *
*    PROJECT : ENVIRON/MC COLL                                         CONE/RIG : 473/R#3                     *
*    DATE/TIME: 04-01-94 14:20                                                                                *

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                                                                                                PAGE 1 of 2

        DEPTH     TIP RESISTANCE     NORMALIZED     FRICTION     CONE PORE       SOIL BEHAVIOR TYPE
                                   TIP RESISTANCE     RATIO      PRESSURE
          (ft)        (tsf)            (tsf)           (*)         (tsf)

            .49        43.0           110.5           2.00           .36      SILTY SAND to SANDY SILT
            .98        41.0            93.0          2.24            .33      SILTY SAND to SANDY SILT
          1.48         36.9            77.1           1.30           .32      SAND to SILTY SAND
          1.97         45.9             90.2          1.79           .26      SILTY SAND to SANDY SILT
          2.46         23.4             43.7         2.90            .24      SANDY SILT to CLAYEY SILT
          2.95         44.0             78.7          1.95           .24      SILTY SAND CO SANDY SILT
          3.44         32.9             56.7          3.19           .25      SANDY SILT to CLAYEY SILT
          3.94         94.5           157.4          1.29            .47      SAND to SILTY SAND
          4.43         43.7             70.5         3.14            .35      SANDY SILT to CLAYEY SILT
          4.92         28.4             44.5         5.99            .17     •SANDY CLAY to SILTY CLAY
          5.41         28.1             42.8         6.59            .24     •SANDY CLAY to SILTY CLAY
          5.91         23.4             34.8         2.61            .14      SANDY SILT to CLAYEY SILT
          6.40         97.6           141.9          1.85            .02      SILTY SAND to SANDY SILT
          6.89       213.4            303.3          1.74           1.12      SAND to SILTY SAND
          7.38       214.7            298.7          1.73          1.73       SAND to SILTY SAND
          7.87       280.2            382.0          1.14          2.49       SAND to SILTY SAND
          8.37       175.3            235.1          1.50          2.44       SAND to SILTY SAND
          8.36       183.1            240.3          1.91          2.48       SAND to SILTY SAND
          9.35       157.1            202.5          2.59          2.45      •SILTY SAND to CLAYEY SAND
          9.84       271.2            343.4          1.69          3.25       SAND to SILTY SAND
        10.33        229.7            286.0          1.97          3.43      •SAND to SILTY SAND
        10.83        275.3            337.2          1.66          4.26       SAND to SILTY SAND
        11.32        270.9            326.7          1.78          4.72      •SAND to SILTY SAND
        11.31        246.3            292.5          2.30          5.38      •SILTY SAND to CLAYEY SAND
        12.30        261.9            306.3          2.79          5.42      •SILTY SAND to CLAYEY SAND
        12.30        201.9            232.7          3.22          4.79      •SILTY SAND to CLAYEY SAND
        13.29        362.0            411.4          1.49          6.70       SAND to SILTY SAND
        13.78        166.7            186.8          4.83          5.13      •SANDY CLAY to SILTY CLAY
        14.27        263.5            291.2          1.80          7.36       SAND to SILTY SAND
        14.75        191.5            209.0          3.39          4.65      •SILTY SAND to CLAYEY SAND
        15.26        177.9            191.5          3.69          4.74      •CLAYEY SAND to SANDY CLAY
        15.75        203.8            216.5          2.73          4.99      •SILTY SAND to CLAYEY SAND
        16.24        188.7            198.0          3.30          4.89      •SILTY SAND to CLAYEY SAND
        16.73        196.6            203.7          3.20          4.83      •SILTY SAND to CLAYEY SAND
        17.22        179.5            183.7          4.62          4.92      •CLAYEY SAND to SANDY CLAY
        17.72         90.7             91.7          4.13          4.29      •CLAYEY SAND to SANDY CLAY
        18.21         82.1             82.1          5.13          2.55      •SANDY CLAY to SILTY CLAY
        18.70        153.1            151.2          4.44          3.23      •CLAYEY SAND to SANDY CLAY
        19.19        126.1            123.2          5.97          3.24      •SANDY CLAY to SILTY CLAY
        19.69        133.8            129.2          6.31          3.36      •SANDY CLAY to SILTY CLAY
        20.18        151.0            144.2          5.21          3.58      •SANDY CLAY to SILTY CLAY




'INDICATES OVERCONSOLIDATED OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT WT - 110 PC?
ASSUMED DEPTH OF WATER TABLE - 30.0 FT




                                                                                       The Earth Technology
                                                                                      Corporation


                                                    Exhibit 39
                                                      5485
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                                  #:5529
                                                                    PAGE 2 of 2
SOUNDING : CPT-N2



        DEPTH    TIP RESISTANCE     NORMALIZED     FRICTION     CONE PORE       SOIL BEHAVIOR TYPE
                                  TIP RESISTANCE     RATIO      PRESSURE
         (ft)        (tsf)            (tsf)            (*)        (tsf)

        20.67        140.0           132.2          5.98          3.68      •SANDY CLAY to SILTY CLAY
        21.16          67.1           62.6          6.13          3.43      •SANDY CLAY to SILTY CLAY
        21.65         48.3            44.6          4.02          2.95       CLAYEY SILT to SILTY CLAY
        22.15          50.1           45.8          4.73          2.91      •SANDY CLAY to SILTY CLAY
        22.64          35.3           31.9          4.42          2.76       CLAYSY SILT to SILTY CLAY
        23.13         41.0            36.7          5.44          2.71      •SANDY CLAY to SILTY CLAY
        23.62          34.8           30.9          5.57          2.62      •SANDY CLAY to SILTY CLAY
        24.11         47.7            41.9          4.44          2.62      •SANDY CLAY to SILTY CLAY
        24.61          54.5           47.4          4.00          2.42       SANDY SILT to CLAYEY SILT
        25.10         45.9            39.4          4.14          2.38       CLAYSY SILT to SILTY CLAY
        25.59         44.8            38.2          4.28          2.36       CLAYSY SILT to SILTY CLAY
        26.08         43.8            36.9          3.84          2.35       SANDY SILT to CLAYEY SILT
        26.57         42.8            35.8          3.46          2.32       SANDY SILT to CLAYEY SILT
        27.07         47.2            39.1          3.98          2.34       CLAYEY SILT to SILTY CLAY
        27.56         50.7            41.5          4.78          2.32      •SANDY CLAY to SILTY CLAY
        28.05         55.5            45.1          6.65          2.23      •SANDY CLAY to SILTY CLAY
        28.54        428.9           344.9          3.08          3. 59     •SILTY SAND to CLAYSY SAND
        29.04        505.4           402.6          2.88          5.51      •SILTY SAND to CLAYEY SAND
        29.53        457.4           361.1          3.08          7.33      •SILTY SAND to CLAYEY SAND
        30.02        367.1           287.2          2.94          8.54      •SILTY SAND to CLAYEY SAND
        30.51        313.7           244.5          3.79          8.76      •CLAYEY SAND to SANDY CLAY
        31.00        341.1           264.8          2.64         10.11      •SILTY SAND to CLAYEY SAND
        31.50        438.4           339.0          2.71          5.00      •SILTY SAND to CLAYEY SAND
        31.99        477.2           367.5          2.76          6.15      •SILTY SAND to CLAYEY SAND
        32.46        472.2           362.3          2.73          7.57      •SILTY SAND to CLAYEY SAND
        32.97        461.6           352.3          2.66          9.46      •SILTY SAND to CLAYEY SAND
        33.46        451.2           343.5          2.58         11.57      •SILTY SAND to CLAYEY SAND
        33.96        421.5           319.7          2.20         13.40      •SAND to SILTY SAND
        34.45        390.5           295.0          2.17            .38     •SAND to SILTY SAND
        34.94        377.8           284.4          2.79            .38     •SILTY SAND to CLAYEY SAND
        35.43        374.6           280.8          2.81            .39     •SILTY SAND to CLAYEY SAND
        35.93        385.7           288.0          2.96            .40     •SILTY SAND to CLAYEY SAND
        36.42        436.1           324.5          2.87            .42     •SILTY SAND to CLAYEY SAND
        36.91        426.3           315.0          2.68            .46     •SILTY SAND to CLAYEY SAND
        37.40        401.0           296.2          1.99            .49     •SAND to SILTY SAND
        37.89        411.8           302.9          2.95            .21     •SILTY SAND to CLAYEY SAND
        38.39        434.3           318.3          2.83            .24     •SILTY SAND to CLAYEY SAND
        38.88        436.7           318.9          2.77            .28     •SILTY SAND to CLAYEY SAND
        39.37        444.4           323.3          2.97            .30     •SILTY SAND to CLAYEY SAND
        39.85        459.5           333.0          2.81            .33     •SILTY SAND to CLAYEY SAND
        40.35        466.5           336.9          2.50            .37     •SILTY SAND to CLAYEY SAND
        40.85        431.7           310.5          2.00            .38     •SASD to SILTY SAND
        41.34        465.0           333.3          2.43            .41     •SILTY SAND to CLAYEY SAND
        41.83        476.6           340.5          2.31            .45     •SILTY SAND to CLAYEY SAND
        42.32        511.9           364.2          2.02            .49     •SAND to SILTY SAND
        42.81        534.7           379.0          2.02            .54     •SAND to SILTY SAND
        43.31        508.0           358.3          1.95            .50     •SAND to SILTY SAND
        43.80        563.7           396.6         *****            .49




•INDICATES OVERCONSOLIDATED OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT HT - 110 PCF
ASSUMED DEPTH OF WATER TABLE - 30.0 FT




                                                                                      The Earth Technology
                                                                                     Corporation


                                                   Exhibit 39
                                                     5486
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 SOIL
                                                        Page  456 ofTY
                                                            BEHflVIOR  730
                                                                        PE Page ID
        FRICTION RflTIO              #:5530
                        TIP RESISTflNCE CQC)    INCREflStNG GRfllN SIZE
            (FS/QC) (PERCENT)                                 TONS/SQ FT
                                                                                                         CLflY               SILT            SflNO       GRflVEL




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CONE PENETRflTION TEST                                                                              SOUNDING NUMBER: CPT-N3

PROJECT NRME                         : ENVIRON/MCCOLL                              CONE/RID = T-2/472                        *J" THE EflRTH TECHNOLOGY
                                                                                                                             Cf CORPORftTION
PROJECT NUMBER • 94-380-12102                                                      DfiTE/TIME: 04-04-94 08:02
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                                                                                 Exhibit 39
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Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 457 of 730 Page ID
                                  #:5531
            CONE PORE PRESSURE (U)                               TIP RESISTflNCE IQC)                            PORE PRESSURE RflTIO
                  TONS/SQ FT                                         TONS/SQ FT                                       U/QC
                32                 16                 0   0     100     200       300                        400 0.0     0.5       1.0
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                         TIP   RESISTPNCE NOT CORRECTED FOR END RREft EFFECT




CONE PENETRPTIQN TEST                                                                            SOUNDING NUMBER: CPT-N3

PROJECT NRME                   : ENVERQN/MCCOLL                             CONE/RIG             : T-2/472              ••» THE EfiRTH TECHNOLOGY
PROJECT NUMBER = 94-380-12102                                               DATE/TIME: 04-04-94 08^03                  ™CORPORflTI0N




                                                                           Exhibit 39
                                                                             5488
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                                  #:5532
**********•****•********:
                                                                                                             *
                                    CONE PENETRATION TEST                                                    *
                                                                                                             *
*    SOUNDING : CPT-N3                                                PROJECT No.: 94-380-12102              *
*    PROJECT : ENVIRON/MCCOLL                                         CONE/RIG : T-2/472                     *
*    DATE/TIME: 04-04-94 08:03                                                                               *
*************:

                                                                                                PAGE 1 of 2

        DEPTH    TIP RESISTANCE     NORMALIZED     FRICTION     CONE PORE       SOIL BEHAVIOR TYPE
                                  TIP RESISTANCE     RATIO      PRESSURE
         (ft)         (tsf)           (tsf)           (*)         (tsf)

           .49         13.1            33.8         3.42            .15       SANDY SILT to CLAYEY SILT
           .98         23.8            54.0         4.91            .27      •SANDY CLAY to SILTY CLAY
          1.48         23.4            48.9         3.89            .30       SANDY SILT to CLAYEY SILT
          1.97         26.7            52.4         1.88            .32       SILTY SAND to SANDY SILT
         2.46          32.4            60.6         3.14            .34       SANDY SILT to CLAYEY SILT
         2.95         31.4             56.3         4.07            .38     •CLAYEY SAND to SANDY CLAY
       ' 3.44         24.1             41.6         3.44            .40       SANDY SILT to CLAYSY SILT
         3.94         22.3             37.1         4.44            .44       CLAYSY SILT to SILTY CLAY
         4.43         29.5            47.6          3.25            .47       SANDY SILT to CLAYEY SILT
         4.92         34.5            54.0          4.00            .50     •CLAYEY SAND to SANDY CLAY
         5.41         34.3            53.1          3.82            .53       SANDY SILT to CLAYEY SILT
         5.91         32.2            48.0          4.53            .55     •SANDY CLAY to SILTY CLAY
         €.40         28.1            40.9          4.38            .55     •SANDY CLAY to SILTY CLAY
         €.39         69.6             99.0         4.29            .70     •CLAYSY SAND to SANDY CLAY
         7.38        200.2           278.5          3.74          1.72      •CLAYEY SAND to SANDY CLAY
         7.87        286.7           390.9          3.80          2.45      •CLAYEY SAND to SANDY CLAY
         8.37        397.9           532.0          2.80          3.30      •SILTY SAND to CLAYEY SAND
         3.36        291.7           382.8          S.70          5.13      •HEAVILY O.C./CEMENT. MAT.
         9.35       .351.3           452. 3         3.79          6.46      •HEAVILY O.C./CEMENT. MAT.
         9.84        213.1           269.8          3.15          6.54      •SILTY SAND to CLAYSY SAND
        10.33        127.6           158.9          2.11          6.23        SILTY SAND to SANDY SILT
        10.83        120.4           147.5          2.68          5.56      •SILTY SAND to CLAYEY SAND
        11.32        199.9           241.0          3.89          5.80      •CLAYEY SAND to SANDY CLAY
        11.81        112.1           133.1          3.43          5.51      •CLAYEY SAND to SANDY CLAY
        12.30        132.3           154.7          3.03          5.55      •SILTY SAND to CLAYSY SAND
        12.80        131.9           152.0          2.90          5.53      •SILTY SAND to CLAYEY SAND
        13.29        120.0           136.3          3.12          5.60      •SILTY SAND to CLAYEY SAND
        13.78        100.3           112.4          2.42          5.39        SILTY SAND to SANDY SILT
        14.27         98.2           108.5          2.38          5.40        SILTY SAND to SANDY SILT
        14.76         94.2           102.3          2.50          5.37       SILTY SAND to SANDY SILT
        15.26         93.2           100.3          2.46          5.35       SILTY SAND to SANDY SILT
        15.75         90.2            95. 8         2.71          5.35       SILTY SAND to SANDY SILT
        IS. 24        76.6            80.3          2.66          5.23       SILTY SAND to SANDY SILT
        16.73        211.4           219.0          3.09          6.16      •SILTY SAND to CLAYEY SAND
        17.22         92.4            94.6          2.13          5.39       SILTY SAND to SANDY SILT
        17.72         90.2            91.2          3.32          5.01      •CLAYEY SAND to SANDY CLAY
        18.21         94.2            94.1          3.98          5.25      •CLAYEY SAND to SANDY CLAY
        18.70        406.6           401.7          1.36          7.47       SAND to SILTY SAND
        19.19        205. 1          200.3          3.45          3.29      •CLAYEY SAND to SANDY CLAY
        19.69        101.3            97.8          2.48          7.55       SILTY SAND to SANDY SILT
        20.18         94.9            90.6          1.83          7.37       SILTY SAND to SANDY SILT




•INDICATES OVERCONSOLIDATSD OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT WT - 110 PCF
ASSUMED DEPTH OF WATER TABLE - 30.0 FT




                                                                                      The Earth Technology
                                                                                     Corporation



                                                   Exhibit 39
                                                     5489
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                                  #:5533
                                                                    PAGE 2 of 2
SOUNDING     CPT-N3



        DEPTH    TIP RESISTANCE     NORMALIZED     FRICTION      CONE PORE       SOIL BEHAVIOR TYPE
                                  TIP RESISTANCE     RATIO       PRESSURE
         (ft)         (tsf)           (tsf)                        (tsf)

        20.67          84.9            80.1         2.04            6.53      SILTY SAND to SANDY SILT
        21.16          87.0            81.3         1.71            6.45      SILTY SAND to SANDY SILT
        21.65        116.3           107.5          2.54            5.97      SILTY SAND to SANDY SILT
        22.15          73.7           67.4          2.12            5.64      SILTY SAND to SANDY SILT
        22.64          83.4           75.5          1.65            5.75      SILTY SAND to SANDY SILT
        23.13          82.9           74.2          2.14            5.71      SILTY SAND to SANDY SILT
        23.62        100.4             89.0         1.67            5.60      SILTY SAND to SANDY SILT
        24.11          92.8           81.4          2.38            5.49      SILTY SAND to SANDY SILT
        24.61         66.6            57.9          1.89            5.44      SILTY SAND to SANDY SILT
        25.10         72.9            62.7          1.61            5.40      SILTY SAND to SANDY SILT
        25.59         80.9            €8.9          2.35            5.43      SILTY SAND to SANDY SILT
        26.08         68.2            57.5          1.79           5.37       SILTY SAND to SANDY SILT
        26.57         67.5            56.5          2.22           5.29       SILTY SAND to SANDY SILT
        27.07        104.6            86.5          2.40           5.29       SILTY SAND to SANDY SILT
        27.56        112.0            91.3          2.90           5.26       SILTY SAND to SANDY SILT
        28.05         79.9            64.9          2.74           5.33       SANDY SILT to CLAYEY SILT
        28.54        100.4            80.7          2.39           5.33       SILTY SAND to SANDY SILT
        29.04         88.7            70.6          4.16           5.34      •CLAYEY SAND to SANDY CLAY
        29.53        470.8           371.6          2.53           7.48      •SILTY SAND to CLAYEY SAND
        30.02        585.9           453.4          2.53          13.08      •SILTY SAND to CLAYEY SAND
        30.51        621.5           484.4          2.63          14.34      •SILTY SAND to CLAYEY SAND
        31.00        549.1           426.3          1.88          13.25      •SAND to SILTY SAND
        31.50        608.4           470.4          2.64          20.46      •SILTY SAND to CLAYEY SAND
        31.99        578.2           445.4          2.07          23.40      •SAKD to SILTY SAND
        32.48        491.9           377.4          1.84          29.96      •SAND to SILTY SAND
        32.97        500.8           382.8          2.24          29.18      •SAND to SILTY SAND




•INDICATES OVERCONSOLIDATED OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT WT - 110 PCF
ASSUMBD DEPTH OF WATER TABLE - 30.0 FT




                                                                                       The Earth Technology
                                                                                      Corporation


                                                    Exhibit 39
                                                      5490
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                                  #:5534             SOIL BEHflVIOR TYPE
               FRICTION RfiTIO           TIP RESISTflNCE (QC)                 INCREflSIND GRfltN SIZE              •—
              CFS/QC) (PERCENT)              TONS/SQ FT
                                                                                  CLflY         SILT       SflND        GRflVEL
                               0     0             200                400




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         20                                                                                                                  20




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                    TIP   RESISTflNCE NOT CORRECTED FDR END flREfl EFFECT

                    fiSSUMED TQTflL UNIT WT = 110 PCF            fiSSUMED        DEPTH OF UfiTER TRBLE = 30.0 FT




 CONE PENETRflTION TEST                                                     SOUNDING NUMBER: CPT-N4
 PROJECT NRME             : ENVIRON/MCCOLL                  CONE/RIG : T-2/472                         f THE EflRTH TECHNOLOGY

 PROJECT NUMBER * 94-380-12102                              DOTE/TIME: 04-04-94 0 9 = 4 7
                                                                                                        CORPORATION
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                                                         Exhibit 39
                                                           5491
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                                  #:5535
          CONE PORE PRESSURE (U)                               TIP RESISTflNCE (QC)                                                       PORE PRESSURE RflTIO
                TONS/SQ FT                                         TONS/SQ FT                                                                  U/QC
              32        IS           0   0                    100                   200                        300                    400 0.0                   0.5             1.0
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                   TIP RESISTPNCE NOT CORRECTED FOR END flREfl EFFECT




CONE PENETRRTION TEST                                                                                        SOUNDING NUMBER: CPT-N4

PROJECT NOME           i ENVIRQN/MCCOLL                                     CONE/RID : T-2/472                                                                ^ THE ERRTH TECHNOLOGY
PROJECT NUMBER : 94-380-12102                                               DftTE/TIME: 04-04-94 09 = 47                                                      «CORPORfiT]ON



                                                                        Exhibit 39
                                                                          5492
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                                  #:5536
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 *                                                                                              *
 *                                  CONE PENETRATION TEST                                       *
 *                                                                                              *
 *   SOUNDING : CPT-N4                                                PROJECT No.: 94-380-12102 *
 *   PROJECT : ENVIRON/MCCOLL                                         CONE/RIG : T-2/472        *
 *   DATE/TIME: 04-04-94 09:47                                                                  *
 **************
                                                                                               PAGE 1 of 2

        DEPTH    TIP RESISTANCE     NORMALIZED     FRICTION     CONE PORE       SOIL BEHAVIOR TYPE
                                  TIP RESISTANCE     RATIO      PRESSURE
          (ft)        (tsf)           (tsf)           (*)         (tsf)

           .49        12.1             31.0          1.57           .06      SILTY SAND to SANDY SILT
           .93        16.1             36.4          5.16           .19     •SANDY CLAY to SILTY CLAY
          1.49        10.8            22.6           8.16           .19     •SANDY CLAY to SILTY CLAY
          1.97        10.1             19.9          3.26           .19      SANDY SILT to CLAYEY SILT
         2.46         17.8             33.2          4.79          .26      •SANDY CLAY to SILTY CLAY
         2.95          9.3             16.6          3.34          .24       CLAYEY SILT to SILTY CLAY
         3.44         11.4            19.6           1.58         -.05       SILTY SAND to SANDY SILT
         3.94         30.3            50.5           2.54          .09       SANDY SILT to CLAYEY SILT
         4.43         17.4            28.0           4.49          .12       CLAYEY SILT to SILTY CLAY
         4.92         25.1            39.3           5.66          .14      •SANDY CLAY to SILTY CLAY
         5.41         14.6            22.3           6.56          .07      •SANDY CLAY to SILTY CLAY
         5.91         14.3            21.3           7.43          .18      •SANDY CLAY to SILTY CLAY
         6.40         13.4            19.4           6.88           :50      SILTY CLAY TO CLAY
         6.89        142.0           201.9           4.27         3.36      •CLAYEY SAND to SANDY CLAY
         7.38        117.8           163.9           4.69         3.46      •SANDY CLAY to SILTY CLAY
         7.87         82.9           113.0           4.22         2.19      •CLAYEY SAND to SANDY CLAY
       ' 3.37         71.7            95.9           3.95         2.22      •CLAYEY SAND to SANDY CLAY
         8.36        111.2           145.9           3.37         2.33      •CLAYEY SAND to SANDY CLAY
         9.35        111.9           144.2           3.47         2.55      •CLAYEY SAND to SANDY CLAY
         9.84        176.6           223.6           4.12         3.00      •CLAYEY SAND to SANDY CLAY
        10.33         64.0            79.7           4.60         1.33      •SANDY CLAY to SILTY CLAY
        10.83         77.1            94.5           5.21         2.27      •SANDY CLAY to SILTY CLAY
        11.32         49.1            59.2           3.42         1.93       SANDY SILT to CLAYEY SILT
        11.81         53.1            63.0           3.32         1.93       SANDY SILT to CLAYEY SILT
        12.30         52.0            60.8           3.35         1.93       SANDY SILT to CLAYEY SILT
        12.80         62.5            72.0           3.63         2.05      •CLAYEY SAND to SANDY CLAY
        13.29         65.4            74.3           3.12         2.11       SANDY SILT to CLAYEY SILT
        13.78         95.2           106.6           3.66         2.43      •CLAYEY SAND to SANDY CLAY
        14.27         81.3            89.8           3.84         2.22      •CLAYEY SAND to SANDY CLAY
        14.75        241.4           263.3           3.50         3.69      •SILTY SAND to CLAYEY SAND
        15.26        110.0           118.3           3.48         4.27      •CLAYEY SAND to SANDY CLAY
        15.75        203.5           216.2           2.90        10.15      •SILTY SAND to CLAYEY SAND
        16.24         67.8            71.1           4.34         5.24      •SANDY CLAY to SILTY CLAY
        16.73         52.2            54.0           3.20         4.49       SANDY SILT to CLAYEY SILT
        17.22         56.7            58.1           3.26         4.54       SANDY SILT to CLAYEY SILT
        17.72         59.5            60.2           2.57         4.78       SILTY SAND to SANDY SILT
        13.21         66.3            66.7           2.28         5.19       SILTY SAND to SANDY SILT
        13.70         76.0            75.1           2.55         5.19       SILTY SAND to SANDY SILT
        19.19         62.5            61.1           2.48         4.79       SILTY SAND to SANDY SILT
        19.69         64.4            62.2           2.63         4.42       SANDY SILT to CLAYEY SILT
        20.18         64.3            61.4           3.17         4.59       SANDY SILT to CLAYEY SILT




•INDICATES OVERCONSOLIDATED OR CEMENTED MATERIAL
ASSUMED TOTAL ONIT WT - 110 PCF
ASSUMED DEPTH OF WATER TABLE - 30.0 FT




                                                                                      The Earth Technology
                                                                                     Corporation



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SOUNDING : CPT-N4



        DEPTH    TIP RESISTANCE     NORMALIZED     FRICTION     CONE PORE       SOIL BEHAVIOR TYPE
                                  TIP RESISTANCE     RATIO      PRESSURE
         (ft)         <ts£>           (tsf)           (*)         (tsf)

        20.67         72.4            68.4          3.68          4.81      •CLAYEY SAND to SANDY CLAY
        21.16         73.0            68.2          3.81          5.05      •CLAYEY SAND to SANDY CLAY
        21.65         77.1            71.2          3.56          5.94      •CLAYEY SAND to SANDY CLAY
        22.15         78.1            71.4          3.29          7.26       SANDY SILT to CLAYEY SILT
        22.64         82.6            74.8          3.90          8.86      •CLAYEY SAND to SANDY CLAY
        23.13        167.4           149.9          4.83         IS. 89     *SANDY CLAY to SILTY CLAY
        23.62        340.0           301.3          4.11         40.41      •CLAYEY SAND to SANDY CLAY
        24.11        440.5           386.5          3.03         29.01      •SILTY SAND to CLAYEY SAND
        24.61        334.9           290.9          3.47         28.89      •SILTY SAND to CLAYEY SAND
        25.10        251.7           216.5          4.25         31.49      •CLAYSY SAND to SANDY CLAY
        25.59        212.2           180.7          5.19         25.36      •SANDY CLAY to SILTY CLAY
        26.08        211.3           178.2          3.64         24.83      •CLAYEY SAND to SANDY CLAY
        26.57        164.0           136.9          5.45         18.19      •SANDY CLAY to SILTY CLAY
        27.07        123.1           105.9          4.76         17.29      •SANDY CLAY to SILTY CLAY
        27.56        146.6           120.1          4.97         21.12      •SANDY CLAY to SILTY CLAY
        28.05        292.7           237.6          1.21         25.79       SAND to SILTY SAND
        23.54        261.9           210.6          4.45         37.88      •CLAYEY SAND to SANDY CLAY




•INDICATES OVSRCONSOLIDATED OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT HT - 110 PCF
ASSUMED DEPTH OF WATER TABLE - 30.0 FT



                                                                                      The Earth Technology
                                                                                     Corporation


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                                  #:5538            SOIL BEHAVIOR TYPE
             FRICTION ROT 10           TIP RESISTflNCE (QC)              INCREASING GRfllN SIZE             1^>
            CFS/QC) (PERCENT)              TONS/SQ FT
                                                                             CLflY          SILT      S*O         GRflVEL
                             0 0               200          400




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                  TIP   RESISTRNCE NOT CORRECTED FOR END flREfl EFFECT

                  ftSSUMED TOTflL UNIT WT = 110 PCF          flSSUMED       DEPTH OF UfiTER TflBLE = 30.0 FT




CONE PENETRflTION TEST                                                  SOUNDING NUMBER: CPT-N5

PROJECT NRME            : ENVIRQN/MCCOLL                CONE/RIG : T-2/472                         ' THE EflRTH TECHNOLOGY
                                                                                                    CORPORftTION
PROJECT NUMBER : 94-380-12102                           DfiTE/TIME: 04-04-94 12:02



                                                      Exhibit 39
                                                        5495
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       CONE PORE PRESSURE (U)
                                   #:5539
                               TIP RESlSTftNCE (QC)    PORE PRESSURE RRTIO
                    TONS/SQ FT                            TONS/SQ FT                         U/QC
               32          16           0   0       100          200       300     400 0.0     0.5      t.O

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                    TIP   RESISTPNCE NOT CORRECTED FOR END flREfi EFFECT




CONE PENETRflTION TEST                                                   SOUNDING NUMBER: CPT-N5

PROJECT NfiME             : ENVIRON/MCCOLL                 CONE/RIG : T-2/472                i» THE EflRTH TECHNOLOGY
PROJECT NUMBER : 94-380-12102                              DRTE/TIME= 04-04-94 12=02         *" CORPORfiTION



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                                  #:5540
 *****:

 *                                                                                                             *
 *                                    CONE PENETRATION TEST                                                    *
 *                                                                                                             *
 *    SOUNDING : CPT-N5                                                  PROJECT No. : 94-380-12102            *
 *    PROJECT : ENVIRON/MCCOLL                                           CONE/RIG : T-2/472                    *
 *    DATE/TIME: 04-04-94 12:02

 *************!

                                                                                                  PAGE 1 of 2

         DEPTH     TIP RESISTANCE     NORMALIZED      FRICTION    CONE PORE       SOIL BEHAVIOR TYPE
                                    TIP RESISTANCE      RATIO     PRESSGRE
           (ft)        (tsf)            (tsf)             (*)       (tsf)

             .49        14.1             36.2            5.39          .14     •SANDY CLAY to SILTY CLAY
             .98         8.4             19.1            6.06          .13      SILTY CLAY TO CLAY
           1.48          4.9             10.2            3.48          .14      SILTY CLAY to CLAY
           1.97          3.5              6.8            8.91          .05      CLAY TO ORGANIC CLAY
           2.46          6.9             12.9            5.48          .12      SILTY CLAY TO CLAY
           2.95          5.3             10.3           6.92           .13      SILTY CLAY TO CLAY
           3.44          7.4             12.8           4.44           .19      CLAYEY SILT to SILTY CLAY
           3.94          4.6              7.7           5.64           .18      SILTY CLAY TO CLAY
           4.43        13.4              21.6           4.19           .25      CLAYEY SILT to SILTY CLAY
           4.92          3.8              5.9           6.38           .19      SILTY CLAY TO CLAY
           S.41          9.5             14.5           5.88           .24      SILTY CLAY TO CLAY
           S.91          8.2            12.3            7.89           .17      CLAY TO ORGANIC CLAY
           S.40          8.6             12.5          11.54           .12      CLAY TO ORGANIC CLAY
           £.39       115.3            163.8            4.84        2.84      •SANDY CLAY to SILTY CLAY
           7.33       143.3            207.1            4.97         6.67     •SANDY CLAY to SILTY CLAY
           7.87       182.9            249.3            4.34       17.63      •CLAYEY SAND to SANDY CLAY
           8.37       135.0            180.5            4.42       23.41      •CLAYEY SAND to SANDY CLAY
          8. 86       155.1            204.9            4.50       30.02      •CLAYEY SAND to SANDY CLAY
          9.35        153.4            204.1            5.00       30.47      •SANDY CLAY to SILTY CLAY
           9.84       208.7            264.4            4.54       33.16      •CLAYEY SAND to SANDY CLAY
         10.33        171.7            213.8            4.95       37.98      •SANDY CLAY to SILTY CLAY
         10.83        286.9            351.5            3.61       41.21      •SILTY SAND to CLAYEY SAND
         11.32        440.7            531.5            2.45       41.78      •SILTY SAND to CLAYEY SAND
         11.81        228.7            271.6            3.54       17.94      •SILTY SAND to CLAYEY SAND
         12.30        126.1            147.5            3.79       11.72      •CLAYEY SAND to SANDY CLAY
         12.30        147.8            170.4            6.06       12.95      •SANDY CLAY to SILTY CLAY
         13.29        216.5            246.1            5.37       14.02      •HEAVILY O.C./CEMENT. MAT.
         13.78        212.8            233.4            4.49       14.04      •CLAYEY SAND to SANDY CLAY
         14.27        135.8            150.1            3.68        9.36      •CLAYSY SAND to SANDY CLAY
         14.75        128.9            140.6            3.54        8.94      •CLAYEY SAND to SANDY CLAY
         1S.2S         97.7            105.1            3.55        7.87      •CLAYEY SAND to SANDY CLAY
         15.75        158.8            168.7            3.64        9.62      •CLAYEY SAND to SANDY CLAY
         IS. 24       395.6            415.0            3.36       41.78      •SILTY SAND to CLAYEY SAND
         16.73        240.9            249.6            4.30       19.74      • CLAYEY SAND to SANDY CLAY
         17.22        420.2            430.1            2.67       41.78      •SILTY SAND to CLAYEY SAND
         17.72        427.0            431.8            3.19       41.78      •SILTY SAND to CLAYEY SAND
         18.21        125.6            125.5            3.96        7.94      •CLAYEY SAND to SANDY CLAY
         13.70        149.1            147.3            2.72       11.05      •SILTY SAND to CLAYEY SAND
         19.19        121.5            118.7            2.26        9.18       SILTY SAND to SANDY SILT
         19.59         99.3             95.9            2.48        3.55       SILTY SAND to SANDY SILT
         20.13         97.2             92.8            2.62        3.27       SILTY SAND to SANDY SILT




 •INDICATES OVERCONSOLIDATED OR CEMENTED MATERIAL
 ASSUMED TOTAL ONIT HT - 110 PCF
 ASSUMED DEPTH OF WATER TABLE - 30.0 FT




                                                                                        The Earth Technology
                                                                                       Corporation


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                                                                    PAGE 2 of 2
SOUNDING      CPT-N5



        DEPTH    TIP RESISTANCE     NORMALIZED     FRICTION      CONE PORE       SOIL BEHAVIOR TYPE
                                  TIP RESISTANCE     RATIO       PRESSURE
          (ft)        (tsf)           (tsf)           (%)          (tsf)

        20.67          77.6            73.3          2.10          2.94       SILTY SAND to SANDY SILT
        21.16          78.7           73.5           2.28          2.67       SILTY SAND to SANDY SILT
        21.65          93.3            86.3          2.09          2.65       SILTY SAND to SANDY SILT
        22.15        229.3           209.7           5.73          3.77      •SANDY CLAY to SILTY CLAY
        22.64        176.2           159.4           S.78          3.48      •SANDY CLAY to SILTY CLAY
        23.13        259.6           232.4           4.36          4.13      •CLAYEY SAND to SANDY CLAY
        23.62        340.8           302.0           4.23          4.86      •CLAYEY SAND to SANDY CLAY
        24.11        167.0           146.5           4.79          4.21      •SANDY CLAY to SILTY CLAY
        24.61         47.0            40.8           2.09          3.98       SILTY SAND to SANDY SILT
        25.10         46.0            39.6           2.30          3.82       SILTY SAND to SANDY SILT
        25.59         50.1            42.6           2.10          3.65       SILTY SAND to SANDY SILT
        26.03         50.2            42.4           2.49          2.90       SANDY SILT to CLAYEY SILT
        26.57         49.4            41.3           2.43          2.82       SANDY SILT to CLAYEY SILT
        27.07         68.3            56.5           2.96          2.96       SANDY SILT to CLAYEY SILT
        27.56         49.3            40.4           2.82          2.77       SANDY SILT to CLAYEY SILT
        28.05         46.1            37.4           2.86          2.64       SANDY SILT to CLAYEY SILT
        28.54         49.2            39.6           4.88          2.61      •SANDY CLAY to SILTY CLAY
        29.04         85.5            68.1           4.01          2.12      •CLAYSY SAND to SANDY CLAY
        29.53         77.1            60.9           2.59          2.90       SILTY SAND to SANDY SILT
        30.02         57.2            44.8           2.55          2.35       SANDY SILT to CLAYEY SILT
        30.51         78.6            61.3           7.73          2.46      •SANDY CLAY to SILTY CLAY
        31.00         92.8            72.0           4.41          5.74      •SANDY CLAY to SILTY CLAY
        31.50         68.5            53.0           2.64          5.42       SANDY SILT to CLAYEY SILT
        31.99         59.9            46.1           2.65          5.01       SANDY SILT to CLAYEY SILT
        32.48         66.4            51.0           2.32          4.58       SILTY SAND to SANDY SILT
        32.97         54.5            41.5           1.76          4.32       SILTY SAND to SANDY SILT
        33.46         60.2            45.9           2.57          4.22       SANDY SILT to CLAYEY SILT
        33.96         57.2            43.4           2.97          4.07       SANDY SILT to CLAYEY SILT
        34.45         62.1            46.9           3.01          4.03       SANDY SILT to CLAYEY SILT
        34.94         63.0            51.1         " 5.18          4.11      •SANDY CLAY to SILTY CLAY
        35.43        107.1            80.3           5.04          4.41      •SANDY CLAY to SILTY CLAY
        35.93        396.2           295.9          »****         23.71




•INDICATES OVERCONSOLIDATED OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT WT - 110 PCF
ASSUMED DEPTH OF WATER TABLE - 30.0 FT




                                                                                       The Earth Technology
                                                                                      Corporation


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                                                     SOIL BEHflVCOR TYPE
                                  #:5542
             FRICTION RRTIO          TIP RESISTANCE (QC)                  INCREflSINO GRflIN SIZE              »-
            IFS/QC) (PERCENT)            TONS/SQ FT
                                                                              CLflY           SILT      Sf*C        CRftVEL
                            0   0             200                  400
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                  TIP RESISTflNCE NOT CORRECTED FOR END flREfl EFFECT

                  flSSUMED TOTflL UNIT WT = 110 PCF           flSSUMED       DEPTH OF UflTER TflELE = 30.0 FT




CONE PENETRRTION TEST                                                    SOUNDING NUMBER: CPT-N6
PROJECT NfiME         = ENVIRON/MC COLL                  CONE/RID : 473/Ra3                          » THE ERRTH TECHNOLOGY


                                                                                                                                    Y
                                                                                                      CORPORATION
PROJECT NUMBER       •   94-380-12102                    DRTE/TIME: 04-01-94          11=10




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                                  #:5543
          CONE PORE PRESSURE C U 1                        TIP RESISTflNCE (QC)                                   PORE PRESSURE RATIO
                TONS/SQ FT                                    TONS/SQ FT                                             U/QC
              32          IB         0    0           100             200                   300           400 0.0            0.5             1.0
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                   TIP   RESISTANCE NOT CORRECTED FOR END flREfl EFFECT




CONE PENETRflTION TEST                                                                 SOUNDING NUMBER: CPT-N6

PROJECT NPME             : ENVIRQN/MC COLL                        CONE/RIG : 473/R±t3                                      «•• THE EfiRTH TECHNOLOGY
PROJECT NUMBER : 94-380-12102                                     DRTE/TIME: 04-01-94 11:10                               »CORPORRT]ON



                                                                 Exhibit 39
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Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 470 of 730 Page ID
                                  #:5544
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                                   CONE PENETRATION TEST
*    SOUNDING : CPT-N6                                                  PROJECT No.: 94-380-12102              *
*    PROJECT : ENVIRON/MC COLL                                          CONE/RIG : 473/R#3                     *
*    DATE/TIME: 04-01-94 11:10
*******:

                                                                                                 PAGE 1 of 2

        DEPTH    TIP RESISTANCE     NORMALIZED     FRICTION       CONE PORE       SOIL BEHAVIOR TYPE
                                  TIP RESISTANCE     RATIO        PRESSURE
          (ft)       {tsf}            (tsf)           (t)           (tsf)

           .49         8 .5            21 .7        3 .43             .34      SANDY SILT to CLAYEY SILT
           .93        10 .0           22 .6         1.61              .03      SILTY SAND to SANDY SILT
         1.48          5 .3          . 11.0         2.85              .01      SANDY SILT to CLAYEY SILT
         1.97         55 .3          108 .7         1.28              .10      SAND to SILTY SAND
         2 .46        36 .0            67 .2        1.56              .06      SILTY SAND to SANDY SILT
         2 .95       128 .8          230 .5         1.50              .24      SAND to SILTY SAND
         3 .44       130 .0          223 .9         1 .61             .40      SAND to SILTY SAND
         3 .94       115 .1          191 .5         1.98              .43      SAND to SILTY SAND
         4 .43        94 .0          151 .6         1.43              .44      SAND to SILTY SAND
         4 .92        41 .3           64 .7         1.67              .13      SILTY SAND to SANDY SILT
         S .41        18 .3           28 .0         1.25              .04      SILTY SAND to SANDY SILT
                                                                    -
         5 .91        12 .5           IB .6           .80             .08      SILTY SAND to SANDY SILT
                                                                    -
                                                                    - .08
         6 .40        26 .2           38 .1         3 .13                      SANDY SILT to CLAYEY SILT
         6 .39       164 .4          233 .7         2.12              .19     *SILTY SAND to CLAYSY SAND
         1 .38       201 .9          280 .9         1.60              .92      SAND to SILTY SAND
         7 .87       304 .3          414 .9         1.03            1.47       SAND to SILTY SAND
         8 .37       400 .7          535 .3           .97          13 .92      SANDY GRAVEL to SAND
         8.36        254 .3          333 .7         1.58            5 .86      SAND to SILTY SAND
         9 .35       200 .9          259 .0         1.33            4.11       SAND to SILTY SAND
         9 .34       211 .1          267 .4         1.29            5.21       SAND to SILTY SAND
        10 .33       219 .6          273 .5         1.37            4.36       SAND to SILTY SAND
        10 .33       222 .3          272 .3         1.43            S .27      SAND to SILTY SAND
        11 .32       374 .2          451 .2         1.85              .37     •SAND to SILTY SAND
        11 .31       274 .9          326 .4         1 .14           2.02       SAND to SILTY SAND
        12 .30       382 .4          447 .2           .75           2 .77      SANDY GRAVEL to SAND
        12 .80       375 .5          432 .8         1.44            3 .19      SAND to SILTY SAND
        13 .29       381 .0          432 .3           .92           4.02       SANDY GRAVEL to SAND
        13 .78       280 .1          313 .8         1.41            4 .71      SAND to SILTY SAND
        14 .27       255 .3          282 .2           .65           5.03       SANDY GRAVEL to SAND
        14 .76       262 .2          285 .9         1.03            9.99       SAND to SILTY SAND
        15 .25       214 .7          231 .1         1.34            9.67       SAND to SILTY SAND
        15 .75       338 .4          359 .5         1.46           10 .11      SAND to SILTY SAND
        15 .24       351 .7          369 .0         1.37           10 .33      SAND to SILTY SAND
        IS .73       367 .6          380 .9         1.62           11 .03     •SAND to SILTY SAND
        17 .22       381 .1          390 .1         1.81           11 .67     •SAND to SILTY SAND
        17 .72       384 .1          388 .4         1.27           12 .28      SAND to SILTY SAND
        18 .21       251 .0          260 .8         1.34            6.81       SAND to SILTY SAND
        18 .70       266 .8          263 .5         1.54            6.88       SAND to SILTY SAND
        19 .19       282 .2          275 .5         2 .04           6.86      •SAND to SILTY SAND
        19 .69       465 .8          449 .7         1.22            7.39       SAND to SILTY SAND
        20 .18       375 .7          358 .7         1.44            7.95       SAND to SILTY SAND




•INDICATES OVERCONSOLIDATED OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT WT - 110 PCF
ASSUMED DEPTH OF WATER TABLE « 30.0 FT




                                                                                        The Earth Technology
                                                                                       Corporation


                                                   Exhibit 39
                                                     5501
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 471 of 730 Page ID
                                  #:5545
                                                                                                PAGE 2 Of 2
SOUNDING : CPT-N6



        DEPTH    TIP RESISTANCE     NORMALIZED     FRICTION      CONS PORE       SOIL BEHAVIOR TYPE
                                  TIP RESISTANCE     RATIO       PRESSURE
          (ft)        (tsf)           (tsf)            (t)         (tsf)

        20.67        363.3           343.5           1.58          8.14       SAND to SILTY SAND
        21.16        415.0           387.6           1.04          8.51       SAND to SILTY SAND
        21.65        410.0           378.8           1.45          1.33        SAND to SILTY SAND
        22.15        438.7           401.1           1.50          1.33       SAND to SILTY SAND
        22.64        392.3           354.9           1.34          1.35       SAND to SILTY SAND
        23.13        381.9           341.9             .57         1.37       SANDY GRAVEL to SAND
        23.62        333.2           295.3          1.60             .17      SAND to SILTY SAND
       24.11         360.7           316.5          1.58             .19      SAND to SILTY SAND
       24.61         268.3           233.0          1.96             .30      SAND to SILTY SAND
       25.10         226.5           194.3          2.29             .31      SILTY SAND to SANDY SILT
       25.59          88.4            75.3          3.72             .31     •CLAYEY SAND to SANDY CLAY
       26.08         120.1           101.3          3.24             .31     •CLAYEY SAND to SANDY CLAY
       26.57          88.9            74.3          4.27             .31     •CLAYEY SAND to SANDY CLAY
       27.07          41.4            34.2          1.84             .31      SILTY SAND to SANDY SILT
       27.56          49.2            40.3          3.21             .30      SANDY SILT to CLAYEY SILT
       28.05          54.3            44.1          4.31             .09     •SANDY CLAY to SILTY CLAY
       28.54           90.7           72.9          5.06             .10     •SANDY CLAY to SILTY CLAY
       29.04         120.3            95.9          6.15             .12     •SANDY CLAY to SILTY CLAY
       29.53 •       151.1           119.3          4.38             .13     •CLAYEY SAND to SANDY CLAY
       30.02          53.8            42.1          4.85             .13     •SANDY CLAY to SILTY CLAY
       30.51          47.5            37.0          6.80            .13      •SANDY CLAY to SILTY CLAY
       31.00          66.3            51.5          5.73            .13      •SANDY CLAY to SILTY CLAY
       31.50          50.3            38.9          4.21            .14       CLAYEY SILT to SILTY CLAY
       31.99          45.8            35.3          3.69            .15       SANDY SILT to CLAYEY SILT
       32.48          47.2            36.2          4.68            .15      •SANDY CLAY to SILTY CLAY
       32.97          97.1            74.2          4.53             .16     •SANDY CLAY to SILTY CLAY
       33.46         309.7           235.8          2.81            .18      •SILTY SAND to CLAYEY SAND
       33.96          69.1            52.4          5.08            .18      •SANDY CLAY to SILTY CLAY
       34.45          51.4            38.8          2.47            .17       SANDY SILT to CLAYEY SILT
       34.94          48.4            36.4          3.06            .17       SANDY SILT to CLAYEY SILT
       35.43          55.2            41.3          2.86            .18       SANDY SILT to CLAYSY SILT
       35.93          57.9            43.2          3.97            .18       CLAYEY SILT to SILTY CLAY
       36.42          38.8            28.9          4.94            .19       CLAYEY SILT to SILTY CLAY
       36.91          52. 3           38.3          4.57            .19      •SANDY CLAY to SILTY CLAY
       37.40          45.6            33.7          4.34            'l9       CLAYSY SILT to SILTY CLAY
       37.89          47.7            35.1          4.30            .20       CLAYSY SILT to SILTY CLAY
       38.39          48.7            35.7          4.55            .20       CLAYEY SILT to SILTY CLAY
       33.38          49.1            35.9          3.85            .20       CLAYEY SILT to SILTY CLAY
       39.37          43.3            31.8          4.71            .20       CLAYEY SILT to SILTY CLAY
       39.36          48.9            35.4          3.95            .21       CLAYEY SILT to SILTY CLAY
       40.35          55.8            40.3          5.63            .21      •SANDY CLAY to SILTY CLAY
       40.85         460.6           331.3          2.56            .24      •SILTY SAND to CLAYEY SAND
       41.34         464.1           332.7          3.37            .26      •SILTY SAND to CLAYSY SAND
       41.83         467.7           334.0          3.16            .27      •SILTY SAND to CLAYEY SAND
       42.32         422.3           300.8          3.10            .30      •SILTY SAND to CLAYEY SAND
       42.81         243.1           172.3          6.21            .33      •SANDY CLAY to SILTY CLAY
       43.31         176.4           124.6          6.83            .30      •SANDY CLAY to SILTY CLAY
       43.80         211.3           148.7          5.74            .29      •SANDY CLAY to SILTY CLAY
       44.29         199.4           139.8          4.55            .23      •CLAYEY SAND to SANDY CLAY




•INDICATES OVERCONSOLIDATED OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT WT - 110 PCF
ASSUMED DEPTH OF WATER TABLE - 30.0 FT




                                                                                       The Earth Technology
                                                                                      Corporation
                                                    Exhibit 39
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Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 SOIL
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                                                                        Page ID
         FRICTION ROT 10
                                      #:5546
                         TIP RESISTflNCE (QC)                                             INCREflSIND GRflIN SIZE
                (FS/QC)         (PERCENT)                  TONS/SQ FT
                                                                                                  CLflY                       SILT            &*C      GRflVEL
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                            TIP     RESISTPNCE NOT CORRECTED FOR END flREfl EFFECT

                            ftSSUMED TOTflL UNIT WT = 1 10 PCF                         PSSUHED DEPTH OF UOTER TfiBUE = 30.0 FT




 CONE PENETRflTION                                  TEST                               SOUNDING NUMBER: CPT-N7

 PROJECT NfiME                      : ENVIRQN/MC COLL                   CONE/RIG : 473/Rn3                                    g_* THE EHRTH TECHNOLOGY
                                                                                                                              fl? CORPORftTION         ^
 PROJECT NUMBER = 94-380-12102                                          ORTE/TIME: Q4-Q4-94 12:1*7




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                                  #:5548
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                                    CONE PENETRATION TEST                                                    *
                                                                                                             *
 *   SOUNDING : CPT-N7                                                PROJECT No.: 94-380-12102
 *   PROJECT : ENVIRON/MC COLL                                        CONE/RIG : 473/R#3
 *   DATE/TIME: 04-04-94 12:17




        DEPTH    TIP RESISTANCE     NORMALIZED     FRICTION     CONE PORE       SOIL BEHAVIOR TYPE
                                  TIP RESISTMK•Z     RATIO      PRESSURE
          (ft)        (tsf)           (tsf)           (*)          (tsf)

           .49        76.3           197.2            1.61        2.20        SAND to SILTY SAND
           .98         98.9          224.1            1.70          .64      SAND to SILTY SAND
          1.48         64 8          135.4            1.00          .36      SAND to SILTY SAND
          1.97        40.2             79.0           1.87          .08      SILTY SAND to SANDY SILT
         2.46         63.5           118.7           1.18           .13      SAND to SILTY SAND
         2.95          91.2          163.1             .97          .25      SAND to SILTY SAND
          3.44       103.7           178.6            1.13          .34      SAND to SILTY SAND
          3.94       113.3           188.6           2.04           .27      SILTY SAND to SANDY SILT
         4.43         85.7           138.3           1.29           .15      SAND to SILTY SAND
         4.92         88.3           138.4           1.38           .35      SAND to SILTY SAND
         5.41         41.2            62.9           1.53         -.05       SILTY SAND to SANDY SILT
         S.91         14.9            22.1           1.01         -.11       SILTY SAND to SANDY SILT
         €.40         10.7            15.5           4.30         -.10       CLAYEY SILT to SILTY CLAY
         6.89        132.1           187.7           1.98          .41       SILTY SAND to SANDY SILT
         7.38        105.5           146.8           3.98           .39     •CLAYSY SAND to SANDY CLAY
         7.87        112.4           153.3           3.15           .57     •SILTY SAND to CLAYEY SAND
         8.37         38.1            50.9           3. 75          .57      SANDY SILT to CLAYEY SILT
         8.86         42.8            56.2           4.03           .54     •CLAYSY SAND to SANDY CLAY
         9.35         55.9            72.1           6.42           .80     •SANDY CLAY to SILTY CLAY
         9.84         44.4            55.2           5.75           .85     •SANDY CLAY to SILTY CLAY
        10.33         45.0            56.0           4.58           .91     •SANDY CLAY to SILTY CLAY
        10.83         43.4            53.1           4.93           .93     •SANDY CLAY to SILTY CLAY
        11.32         65.7            79.2           3.96         1.13      •CLAYSY SAND to SANDY CLAY
        11.81         49.5            58.3           4.44           .71     •SANDY CLAY to SILTY CLAY
        12.30         52.0            60.9           5.23           .75     •SANDY CLAY to SILTY CLAY
        12.80         52.5            60.6           4.59           .78     •SANDY CLAY to SILTY CLAY
        13.29         50.4            57.3           4.88           .84     •SANDY CLAY to SILTY CLAY
        13.78         50.5            55.7           4.96           .92     •SANDY CLAY to SILTY CLAY
        14.27         51.8            57.3           4.31         1.03      •SANDY CLAY to SILTY CLAY
        14. 7S        55.7            50.7           4.31         1.40      •SANDY CLAY to SILTY CLAY
        15.25         61.8            66.5           4.71         1.73      •SANDY CLAY to SILTY CLAY
        15.75         47.2            50.2           5.72         2.15      •SANDY CLAY to SILTY CLAY
        15.24         52.0            54.6           5.61         2.70      •SANDY CLAY to SILTY CLAY
        16.73        117.1           121.3           4.98         5.53      •SANDY CLAY to SILTY CLAY
        17.22        338.7           345.7           1.9S        22.79      •SAND to SILTY SAND
        17.72        449.9           455.0           1.53        41.05      •SAND to SILTY SAND
        18.21        538.0           537.7           2.20        41.05      •SAND to SILTY SAND
        18.70        650.6           642.7           1.84        41.05      •SAND to SILTY SAND
        19.19        676.8           660.9                       19.35




•INDICATES OVERCONSOLIDATED OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT HT > 110 PCF
ASSUMED DEPTH OF WATER TABLE « 30.0 FT




                                                                                      The Earth Technology
                                                                                     Corporation


                                                   Exhibit 39
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Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 475 of 730 Page ID
                                  #:5549            SOIL BEHflVtOR TY PE
                FRICTION RflTIO                    TIP RESISTflNCE <QC)                   INCREflStND GRflIN S[ZE
               (FS/QC) (PERCENT)                       TONS/SQ FT
                8      4       0                                                              CLflY                SILT   SftC   GRflVEL
                                           0                 200                   400
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                     TIP        REBtSTflNCE NOT CORRECTED FOR END flREfl EFFECT

                     ftSSDMED TOTflL LNIT WT = 110 PCF                       flSSUMED        DEPTH OF HflTER TflBLE = 30.0 FT




CONE PENETRflTION TEST                                                                   SOUNDING NUMBER: CPT-N8

PROJECT NOME                    = ENVERON/MC COLL                       CONE/RIG « 473/Ra3                          ^f THE EflRTH TECHNOLOGY
                                                                                                                    S CORPORATION
PROJECT NUMBER = 94-380-12102                                           DRTE/TIME: 04-04-94 09: IE



                                                                       Exhibit 39
                                                                         5506
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 476 of 730 Page ID
                                  #:5550
           CONE PORE PRESSURE (U)                           TIP RESISTflNCE (QC)              PORE PRESSURE RflTIO
                 TONS/SQ FT                                     TONS/SQ FT                          U/QC
               32                IE               0   0    100     200       300          400 0.0     0.5       1.0
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                        TIP RESISTANCE NOT CORRECTED FOR END flREfl EFFECT




CONE PENETRflTION TEST                                                           SOUNDING NUMBER: CPT-N8

PROJECT NOME                 : ENVIRQN/MC COLL                    CONE/RIG : 473/Ra3                •» THE EflRTH TECHNOLOGY
                                                                                                                                         *«<r
PROJECT NUMBER               = 94-380-12102                       DRTE/TIME: 04-04-94 09=18             CORPORATION



                                                                Exhibit 39
                                                                  5507
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 477 of 730 Page ID
                                  #:5551

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*                                   CONE PENETRATION TEST                                                    *
*
                                                                                                             *
*    SOUNDING : CPT-N8                                                PROJECT No.: 94-380-12102              *
*    PROJECT : ENVIRON/MC COLL                                        CONE/RIG : 473/R#3                     *
*    DATE/TIME: 04-04-94 09:18                                                                               *


                                                                                               PAGE 1 of 2

        DEPTH    TIP RESISTANCE     NORMALIZED     FRICTION     CONE PORE       SOIL BEHAVIOR TYPE
                                  TIP RESISTANCE     RATIO      PRESSURE
          (ft)       (tsf)            (tsf)           <%)         (tsf)

           .49         15.7            40.4         4.90            .94     •SANDY CLAY to SILTY CLAY
           .98         15.0            34.0         5.20           2.14     •SANDY CLAY to SILTY CLAY
          1.48         14.0            29.2         7.88           1.52     •SANDY CLAY to SILTY CLAY
          1.97         10.6            20.8         7.94           1.90     •SANDY CLAY to SILTY CLAY
         2.46          11.1            20.7         5.87          2. OS      SILTY CLAY TO CLAY
         2.95          11.9            21.3         5.97          2.30       SILTY CLAY TO CLAY
         3.44           7.8            13.4         7.20          2.01       SILTY CLAY TO CLAY
         3.94         20.6            34.3          4.37          2.81       CLAYEY SILT to SILTY CLAY
         4.43         18.0            29.0          4.01          3.06       CLAYEY SILT to SILTY CLAY
         4.92         22.1            34.6          3.49          4.12       SANDY SILT to CLAYEY SILT
         5.41         29.5            45.1          4.71          5.79      •SANDY CLAY to SILTY CLAY
         5.91         18.3            27.3          5.30          5.41       CLAYEY SILT to SILTY CLAY
         6.40         12.8            18.6          3.52          4. 51      CLAYEY SILT to SILTY CLAY
         6.89         78.9           112.1          3.60          6.63      •CLAYEY SAND to SANDY CLAY
         7.38         37.7            52.5          3.42          4.87       SANDY SILT to CLAYEY SILT
         7.87         51.4            70.1          2.97          5.25       SANDY SILT to CLAYEY SILT
         8.37         44.2            59.1          3.44          4.51       SANDY SILT to CLAYEY SILT
         8.86         45.9            60.2          3.81          4.35      •CLAYEY SAND to SANDY CLAY
         9.35         54.3            70.7          2.83          4.93       SANDY SILT to CLAYEY SILT
         9.84         53.0            67.2          3.11          4.79       SANDY SILT CO CLAYEY SILT
        10.33         55.0            68.6          3.20          4.79       SANDY SILT to CLAYEY SILT
        10.33         68.7            84.2          2.95          5.33       SANDY SILT to CLAYEY SILT
        11.32         79.0            95.3          4.25          5.96      •CLAYEY SAND to SANDY CLAY
        11.81         79.2            94.0          4.03          £.25      •CLAYEY SAND to SANDY CLAY
        12.30         83.7            97.9          4.29          6.60      •CLAYEY SAND to SANDY CLAY
        12.80         79.9            92.1          4.42          6.69      •SANDY CLAY to SILTY CLAY
        13.29        100.2           113.9          4.52          8.88      •SANDY CLAY to SILTY CLAY
        13.78        107.0           119.9          4.43         16.45      •CLAYEY SAND to SANDY CLAY
        14.27        134.5           143.6          4.66         41.05      •SANDY CLAY to SILTY CLAY
        14.76        188.5           205.5          7.05         41.05      •HEAVILY O.C./CEMENT. MAT.
        15,26        227.6           245.0          6.41         41.05      •HEAVILY O.C./CEMENT. MAT.
        15.75        239.0           253.9          6.03         41.05      •HEAVILY O.C./CEMENT. MAT.
        16.24        337.3           354.3          4.28         41.05      •HEAVILY O.C./CEMENT. MAT.
        16.73        393.1           407.3          4.30         41.05      •HEAVILY O.C./CEMENT. MAT.
        17.22        140.3           143.6          8.17         32.60      •SANDY CLAY to SILTY CLAY
        17.72         38.2            89.2          1.85         26.23       SILTY SAND to SANDY SILT
        18.21         96.7            96.6          4.20         26.37      •CLAYEY SAND to SANDY CLAY
        18.70         90.5            89.4          4.59         27.27      •SANDY CLAY to SILTY CLAY
        19.19         81.1            79.2          4.99         24.67      •SANDY CLAY to SILTY CLAY
        19.69         74.3            71.7          4.21         22.39      •CLAYEY SAND to SANDY CLAY
        20.18        120.7           115.3          4.65         38.87      •SANDY CLAY to SILTY CLAY




•INDICATES OVERCONSOLIDATED OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT WT - 110 PCF
ASSUMED DEPTH OF WATER TABLE . 30.0 FT




                                                                                      The Earth Technology
                                                                                     Corporation

                                                   Exhibit 39
                                                     5508
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                                  #:5552
                                                                     PAGE 2 of 2
 SOUNDING : CPT-N8



         DEPTH    TIP RESISTANCE     NORMALIZED      FRICTION        CONE PORE       SOIL BEHAVIOR TYPE
                                   TIP RESISTANCE      RATIO         PRESSURE
           (ft)        {tsf)           (tsf)            (%)            (tsf)

         20.67        165.6           156.3             6.59          41.05      'SANDY CLAY to SILTY CLAY
         21.16        S35.4           500.1             3.94          41.05      'HEAVILY O.C./CEMENT. MAT.
         21.65        409.7           378.6             4.98          41.05      'HEAVILY O.C./CEMENT. MAT.
         22.15        460.9           421.5             4.66     '    41.05      *HEAVILY O.C./CEMENT. MAT.
         22.64        388.1           351.2           .....           41.05




 •INDICATES OVERCONSOLIDATSD OR CEMENTED MATERIAL
 ASSUMED TOTAL UNIT WT - 110 PCF
 ASSUMED DEPTH OF WATER TABLE . 30.0 FT




                                                                                          The Earth Technology
                                                                                         Corporation


                                                    Exhibit 39
                                                      5509
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20SOIL
                                                      Page    479 of 730 Page ID
                                                         BEHflVIOR TYPE
      FRICTION RATIO
                                     #:5553
                       TIP RESISTANCE (QC)                                 INCREflSINO GRAIN SIZE               1»-
            (FS/QC) (PERCENT)               TONS/SQ FT
                                                                                CLflY         SILT      SftSO         CRflVEL
                              0    0            200              400
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                  TIP   RESISTfiNCE NOT CORRECTED FOR END flREfl EFFECT

                  flSSUMED TOTftL UNIT WT = 110 PCF                    ASSUMED DEPTH OF UBTER TfiBLE = 18.0 FT




CONE PENETRflTION TEST                                                 SOUNDING NUMBER: CPT-N9

PROJECT NfiME           : ENVIRON/MC COLL                CONE/RID = 473/R±r3                         F THE EflRTH TECHNOLOGY
                                                                                                      CORPORATION
PROJECT NUMBER          = 94-380-12102                   DATE/TIME: 04-01-94 09--54



                                                        Exhibit 39
                                                          5510
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 480 of 730 Page ID
                                  #:5554
          CONE PORE PRESSURE ( U )                              TCP RESISTPNCE (QC)                                             PORE PRESSURE RflTIO
                TONS/SQ FT                                          TONS/SQ FT                                                        U/QC
           32                   IB            0   0             100              200                       300              400 0.0         0.5          1.0
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                      TIP   RESISTflNCE NOT CORRECTED FOR END flREfl EFFECT




CONE PENETRflTION TEST                                                                                SOUNDING NUMBER: CPT-N9

PROJECT NfiME               : ENVIRQN/MC COLL                             CONE/RIO : 473/R=3                                              ••» THE EflRTH TECHNOLOGY
PROJECT NUMBER = 94-380-12102                                             DATE/TIME: 04-01-94 09=54                                      « CORPORATION                            >~-^



                                                                        Exhibit 39
                                                                          5511
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                                  #:5555
*********************************************************************
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*
*                    CONE PENETRATION TEST                          *
*
                                                                    *
*    SOUNDING : CPT-N9                                                  PROJECT No.: 94-380-12102              *
*    PROJECT : ENVIRON/MC COLL                                          CONE/RIG : 473/R#3                     *
*    DATE/TIME: 04-01-94 09:54                                                                                 *
*                                                                                                              *
********:

                                                                                                 PAGE 1 of 2

        DEPTH     TIP RESISTANCE     NORMALIZED     FRICTION      CONE PORE       SOIL BEHAVIOR TYPE
                                   TIP RESISTANCE     RATIO       PRESSURE
          (ft)        (tsf)            (tsf)           (*)          (tsf)

            .49          .0               .1        15.00             .01
            .98         8.3            18.7          4.36            .01       CLAYEY SILT to SILTY CLAY
          1.48          3.0             6.3          8.33            .03       CLAY TO ORGANIC CLAY
          1.97          9.0            17.6          6.02            .27       SILTY CLAY TO CLAY
         2.46           3.1             5.9         10.19            .13       CLAY TO ORGANIC CLAY
         2.95         10.6             19.0          6.98            .33       SILTY CLAY TO CLAY
         3.44           5.1             8.7         10.67            .32       CLAY TO ORGANIC CLAY
         3.94          3.8              6.3         10.26            .27       CLAY TO ORGANIC CLAY
         4.43           9.5            15.3          5.91            .42       SILTY CLAY TO CLAY
         4.92          8.8             13.9          7.47            .34       SILTY CLAY TO CLAY
         5.41          6.4              9.8          7.76            .42       CLAY TO ORGANIC CLAY
         5.91         17.4             25.8          6.51            .31      •SANDY CLAY to SILTY CLAY
         6.40          8.2             11.9          9.37            .20       CLAY TO ORGANIC CLAY
         6.89         11.8             16.7          6.03            .32       SILTY CLAY TO CLAY
         7.33         14.5             20.2          7.43            .48      •SANDY CLAY to SILTY CLAY
         7.87          7.4             10.1          8.37            .46       CLAY TO ORGANIC CLAY
         8.37         17.5             23.3          5.67            .53       SILTY CLAY TO CLAY
         8.86        134.2            176.1          1.49           1.02       SAND to SILTY SAND
         9.35        114.3            147.3          1.62           1.02       SAND to SILTY SAND
         9.84         67.5             35.5          1.91            .76       SILTY SAND to SANDY SILT
        10.33         27.6             34.4          2.17            .51       SILTY SAND to SANDY SILT
        10.83         16.4             20.0          4.58            .42       CLAYEY SILT to SILTY CLAY
        11.32         37.2             44.9          2.58            .51       SANDY SILT to CLAYEY SILT
        11.81         21.3             25.3          5.25            .49       CLAYSY SILT to SILTY CLAY
        12.30         11.7             13.6          3.69            .30       CLAYEY SILT to SILTY CLAY
        12.80         10.2             11.7          2.46            .19       SANDY SILT to CLAYEY SILT
        13.29          6.9              7.9          2.45            .10       SANDY SILT to CLAYEY SILT
        13.73         13.8             15.5          1.81            .04       SANDY SILT to CLAYEY SILT
        14.27         17.9             19.8          1.40            .00       SILTY SAND to SANDY SILT
        14.76         24.4             26.6          1.97            .00       SILTY SAND to SANDY SILT
        15.26         61.3             66.0          3.52             .07      SANDY SILT to CLAYEY SILT
        15.75         57.5             61.1          4.52             .27     •SANDY CLAY to SILTY CLAY
        16.24         55.5             58.2          4,74            .35      •SANDY CLAY to SILTY CLAY
        16.73         55.3             57.3          4.85            .41      •SANDY CLAY to SILTY CLAY
        17.22         71.9             73.6          4.33            .59      •SANDY CLAY to SILTY CLAY
        17.72         58.5             59.2          5.45            .69      •SANDY CLAY to SILTY CLAY
        18.21         63.7             63.8          5.53            .85      •SANDY CLAY to SILTY CLAY
        13.70         49.7             49.5          5.19            .96      •SANDY CLAY to SILTY CLAY
        19.19         50.0             49.6          5.42           1.03      •SANDY CLAY to SILTY CLAY
        19.69         67.1             66.2          4.93           1.20      •SANDY CLAY to SILTY CLAY
        20.18         66.3             65.6          5.33           1.32      •SANDY CLAY to SILTY CLAY




•INDICATES OVERCONSOLIDATSD OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT WT - 110 PCF
ASSUMES DEPTH OF WATER TABLE - 18.0 FT




                                                                                        The Earth Technology
                                                                                       Corporation


                                                     Exhibit 39
                                                       5512
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                                                                     PAGE 2 of 2
 SOUNDING : CPT-N9



        DEPTH    TIP RESISTANCE     NORMALIZED     FRICTION     CONE PORE       SOIL BEHAVIOR TYPE
                                  TIP RESISTANCE     RATIO      PRESSURE
          (ft)        (tsf)           {tsf)           (*)         (tsf)

         20.67        126.1           123.3           3.69         1.98      •CLAYSY SAND to SANDY CLAY
         21.16        333.4           324.3           1.74         7.47       SAND to SILTY SAND
         21.65        156.5           151.4           3.93         5.81      •CLAYEY SAND to SANDY CLAY
         22.15        134.6           129.7           4.32         6.35      •CLAYEY SAND to SANDY CLAY
        22.64        444.5           426.1            2.54       41.00       •SILTY SAND to CLAYEY SAND
         23.13        380.7           363.1           3.36       19.55       •SILTY SAND to CLAYEY SAND
         23.62        267.7           254.1           4.26       16.23       •CLAYEY SAND to SANDY CLAY
         24.11       276.3           261.0            3.77       11.88       •CLAYEY SAND to SANDY CLAY
        24.61         157.6          148.2            3.14       10.24       •SILTY SAND to CLAYEY SAND
        25.10          58.7            54.9           2.67         3.82       SANDY SILT to CLAYEY SILT
        25.59          56.2             52.3          2. -71       3.77       SANDY SILT to CLAYEY SILT
        26.08          57.1            52.9           2.30        3.64        SANDY SILT to CLAYEY SILT
        26.57          51.7            47.7          2.88         3.47        SANDY SILT to CLAYEY SILT
        27.07          50.0            45.9          2.96         3.33        SANDY SILT to CLAYEY SILT
        27.56          55.9            51.1          3.34         3.27        SANDY SILT to CLAYEY SILT
        23.05          61.4            55.9          4.40         3.23      •SANDY CLAY to SILTY CLAY
        28.54          55.7            50.5          4.13           .27     •SANDY CLAY to SILTY CLAY
        29.04          51.5            46.4          4.76           .29     •SANDY CLAY to SILTY CLAY
        29.53          56.2            50.5          4.22           .31     •SANDY CLAY to SILTY CLAY
        30.02          72.6            64.9          4.27           .34     •SANDY CLAY to SILTY CLAY
        30.51          96.7            86.1          6.25           .37     •SANDY CLAY to SILTY CLAY
        31.00          94.2            83.5          6.13           .38     •SANDY CLAY to SILTY CLAY
        31.50          80.2            70.7          6.40           .36     •SANDY CLAY to SILTY CLAY
        31.99          79.1            69.5          6.02           .37     •SANDY CLAY to SILTY CLAY
        32.48          78.3            68.5          5.84           .37     •SANDY CLAY to SILTY CLAY
        32.97          79.7            69.4          5.75           .37     •SANDY CLAY to SILTY CLAY
        33.46        100.0             86.7          6.43           .38     •SANDY CLAY to SILTY CLAY
        33.96        101.1             87.3          4.71           .39     •SANDY CLAY to SILTY CLAY
        34.45        202.6           174.1           4.04           .50     •CLAYEY SAND to SANDY CLAY
        34.94        327.1           280.0           3.44           .41     •SILTY SAND to CLAYEY SAND
        35.43        206.6           176.1           4.65           .38     •CLAYSY SAND to SANDY CLAY
        35.93          96.3            82.1          4.72           .33     •SANDY CLAY to SILTY CLAY
        36.42        197.3           167.2           6.15           .35     •SANDY CLAY to SILTY CLAY
        36.91        166.4           140.1           7.11           .37     •SANDY CLAY to SILTY CLAY
        37.40        162.1           135.9           6.91           .37     •SANDY CLAY to SILTY CLAY
        37.89        136.8           114.2           6.89           .56     •SANDY CLAY to SILTY CLAY
        38.39          63.8            53.0          5.63           .61     •SANDY CLAY to SILTY CLAY
        38.88          45.2            37.4          5.20           .62     •SANDY CLAY to SILTY CLAY
        39.37          46.4            38.2          5.17           .66     •SANDY CLAY to SILTY CLAY
        39.86          41.2            33.8          7.97           .69     •SANDY CLAY to SILTY CLAY
        40.35        183.6           154.2           7.97         1.02      •HEAVILY O.C. /CEMENT. MAT.
        40.85        772.6           629.1           2.24         2.24      •SAND to SILTY SAND




•INDICATES OVERCONSOLIDATED OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT HT > 110 PCF
ASSUMED DEPTH OF WATER TA3LS - 18.0 FT




                                                                                      The Earth Technology
                                                                                     Corporation


                                                   Exhibit 39
                                                     5513
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 SOIL
                                                       Page  483 ofTYPE
                                                          BEHAVIOR   730 Page ID
        FRICTION RATIO  TIP RESISTflNCE#:5557
                                         (QC)  INCREASING GRAIN SIZE      +-
         CFS/QC) (PERCENT)                TONS/SQ FT
                                                                             CLflY         SILT      Sfltt)   GRRVEL
                        0 0                   200                 400
                                                                                                               -    0




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   100                                                                                                             100

                TIP   RESISTflNCE NOT CORRECTED FOR END flREfl EFFECT

                flSSUMED TOTAL UNIT HT = 110 PCF           flSSUMED         DEPTH OF MATER TABLE = 18.0 FT




CONE PENETRflTION TEST                                                  SOUNDING NUMBER: CPT-N10

PROJECT NfiME         : ENVIRON/MC COLL                CONE/RIG : 473/Rn3                         ' THE EflRTH TECHNOLOGY
                                                                                                   CORPORflTI ON
PROJECT NUMBER : 94-380-12102                          DflTE/TIME: 04-01-94 08=16




                                                     Exhibit 39
                                                       5514
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 484 of 730 Page ID
        CONE PORE PRESSURE (U)   TIP#:5558
                                      RESISTflNCE t Q C J PORE PRESSURE RflTIO
                    TONS/SQ FT                           TONS/SQ FT                       U/QC
               32        16          0    0        100       200          300   400 0.0    0.5      1.0


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         100                                                                                              100


                    TIP RESISTflNCE NOT CORRECTED FOR END flREfl EFFECT




 CONE PENETRflTION TEST                                               SOUNDING NUMBER: CPT-N10

 PROJECT NOME          : ENVIRON/MC COLL                 CONE/RID : 473/R«3                » THE EflRTH TECHNOLOGY
                                                                                            CORPCRflTION
 PROJECT NUMBER = 94-380-12102                           DRTE/TIME: 04-01-94 08=16




                                                      Exhibit 39
                                                        5515
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                                  #:5559
*********************************************************************
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                                                                                                              *
*                                   CONE PENETRATION TEST                                                     *
                                                                                                              *
*
*    SOUNDING : CPT-N10                                                PROJECT No.: 94-380-12102              *
*    PROJECT : ENVIRON/MC COLL                                         CONE/RIG : 473/R#3                     *
*    DATE/TIME: 04-01-94 08:16                                                                                *


                                                                                                PAGE 1 of 3

        DEPTH    TIP RESISTANCE     NORMALIZED      FRICTION     CONE PORE       SOIL BEHAVIOR TYPE
                                  TIP RESISTANCEE     RATIO      PRESSURE
          (ft)        {tsf)           (tsf)            (%J         (tsf)

           .49        24.7            63.4           3.04            .27      SANDY SILT to CLAYEY SILT
           .98        10.2            23.1           6.67            .13     •SANDY CLAY to SILTY CLAY
          1.43       .14.9            31.2           4.90          1.33       CLAYEY SILT to SILTY CLAY
          1.97        12.7            24.9           5.34            .74     •SANDY CLAY to SILTY CLAY
         2.46          9.6            18.0           6.03            .71      SILTY CLAY TO CLAY
         2.95          8.6            15.4           8.14            .76      CLAY TO ORGANIC CLAY
         3.44          9.7            16.8           5.76            .79      SILTY CLAY TO CLAY
         3.94         15.0            25.0           5.07            .57      CLAYEY SILT to SILTY CLAY
         4.43         10.1            16.2           5.56            .59      SILTY CLAY TO CLAY
         4.92         11.6            18.2           6.38            .23      SILTY CLAY TO CLAY
         5.41          7.7            11.7           6.00            .24      SILTY CLAY TO CLAY
         5.91         12.2            18.1           9.11            .54     •SANDY CLAY to SILTY CLAY
         6.40         16.8            24.4           7.16            .74     •SANDY CLAY to SILTY CLAY
         6.89         18.3            26.0           5.41            .77      CLAYSY SILT to SILTY CLAY
         7.38         20.3            28.2           5.33            .79     •SANDY CLAY to SILTY CLAY
         7.87         13.8            18.8           8.06            .77     •SANDY CLAY to SILTY CLAY
         8.37         21.4            28.6           5.80            .83     •SANDY CLAY to SILTY CLAY
         8.86         16.5            21.7           5.90            .82     •SANDY CLAY to SILTY CLAY
         9.35         12.2            15.3           6.54            .81      SILTY CLAY TO CLAY
         9.34         19.7            24.9           6.15            .85     •SANDY CLAY to SILTY CLAY
        10.33         25.0            31.1           3.93            .90      CLAYEY SILT to SILTY CLAY
        10.83         29.3            36.5           3.79           .96       SANDY SILT to CLAYEY SILT
        11.32         20.3            25.0           5.06           .94       CLAYEY SILT to SILTY CLAY
        11.81         20.2            24.0           5.19           .94       CLAYEY SILT to SILTY CLAY
        12.30         14.0            16.3           5.30            .94      SILTY CLAY TO CLAY
        12.80         19.6            22.6           5.04           .98       CLAYEY SILT to SILTY CLAY
        13.29         25.3            28.7           3.72          1.02       CLAYSY SILT to SILTY CLAY
        13.78         63.2            70.8           3.39          1.39       SANDY SILT to CLAYEY SILT
        14.27         74.4            82.2           3.83          1.55      •CLAYEY SAND to SANDY CLAY
        14.76         49.6            54.1           5.20          1.56      •SANDY CLAY to SILTY CLAY
        15.26         25.3            27.2           7.47          1.49      •SANDY CLAY to SILTY CLAY
        15.75         27.3            29.5           6.37          1.56      •SANDY CLAY to SILTY CLAY
        16.24         40.6            42.6           6.06          1.61      •SANDY CLAY to SILTY CLAY
        16.73         49.7            51.5           5.35          1.78      •SANDY CLAY to SILTY CLAY
        17.22        127.6           130.5           3.07          2.91      •SILTY SAND to CLAYEY SAND
        17.72        105.9           107.1           3.12          3.32      •CLAYEY SAND to SANDY CLAY
        18.21         62.1            62.2           5.61          2.34      •SANDY CLAY to SILTY CLAY
        18.70         45.9            45.7           5.97          2.28      •SANDY CLAY to SILTY CLAY
        19.19         46.1            45.7           4.86          2.23      •SANDY CLAY to SILTY CLAY
        19.69         75.4            74.5           2.31          2.37       SILTY SAND to SANDY SILT
        20.18         98.3            97.1            .82          2.21       SAND to SILTY SAND




•INDICATES OVERCONSOLIDATSD OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT HT - 110 PCF
ASSUMED DEPTH OF WATER TABLE - 18.0 FT




                                                                                       The Earth Technology
                                                                                      Corporation



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 SOUNDING : CPT-N10



         DEPTH     TIP RESISTANCE     NORMALIZED      FRICTION    CONE PORE       SOIL BEHAVIOR TYPE
                                    TIP RESISTANCE      RATIO     PRESSURE
           (ft)        (tsf)            (tsf)            (%)        (tsf)

          20.67       113.9             111.3           1.21         -.03       SAND to SILTY SAND
          21.16        143.1            139.2             .99          .03       SAND to SILTY SAND
          21.65        163.5            158.2             .94          .20       SAND to SILTY SAND
          22.15        136.8            131.7           1.05           .17      SAND to SILTY SAND
          22.64       147.4             141.2           1.08           .16      SAND to SILTY SAND
          23.13       207.5             198.0           1.59           .33      SAND to SILTY SAND
          23.62       243.3             231.5             .92          .65      SAND to SILTY SAND
          24.11       165.4             156.3          2.53          1.02      •SILTY SAND to CLAYEY SAND
         24.61          48.3              45.4         4.12            .70    •SANDY CLAY to SILTY CLAY
         25.10          34.0              31.8         2.70            .69      SANDY SILT to CLAYEY SILT
         25.59          37.6              35.0         4.23            .70      CLAYEY SILT to SILTY CLAY
         26.08          42.0             38.9          4.29            .76      CLAYEY SILT to SILTY CLAY
         26.57          40.0              36.9         4.58            .83    •SANDY CLAY to SILTY CLAY
         27.07          36.6              33.6         4.70            .91      CLAYEY SILT to SILTY CLAY
         27.56          43.8             40.1          4.11            .96      CLAYEY SILT to SILTY CLAY
         28.05          33.2             30.2          4.34          1.01       CLAYEY SILT to SILTY CLAY
         28.54          46.7             42.3          5.35          1.15     •SANDY CLAY to SILTY CLAY
         29.04          76.3             68.8          5.73          1.57     •SANDY CLAY to SILTY CLAY
         29.53          61.0             54.7          5.96          1.95     •SANDY CLAY to SILTY CLAY
         30.02          52.1             46.6          5.61         2.25      •SANDY CLAY to SILTY CLAY
         30.51          37.8             33.6          5.35         2.41      •SANDY CLAY to SILTY CLAY
         31.00          42.3             37.5          4.00         2.75        CLAYEY SILT to SILTY CLAY
         31.50          49.3             43.5          3.96         3.40        SANDY SILT to CLAYEY SILT
         31.99          42.3             37.6          4.25         3.39        CLAYEY SILT to SILTY CLAY
         32.48          64.9             56.7          4.90         4.60      •SANDY CLAY to SILTY CLAY
         32.97          48.3             42.1          5.01         3.77      •SANDY CLAY to SILTY CLAY
         33.46          30.9             26.8          4.18         3.92        CLAYEY SILT to SILTY CLAY
         33.96          62.7             54 .J.        3.33         4.60        SANDY SILT to CLAYEY SILT
         34.45        115.5              99.3          5.66         S.70      •SANDY CLAY to SILTY CLAY
         34.94          34.3             29.4          3.18         3.80        SANDY SILT to CLAYEY SILT
         35.43        119.8            102.1           5.68         3.80      •SANDY CLAY to SILTY CLAY
         35.93        102.8              87.3          5.78         4.32      •SANDY CLAY to SILTY CLAY
         36.42        220.4            186.3           6.17         3.28      •SANDY CLAY to SILTY CLAY
         36.91        190.0            159.9           5.63        11.47      •SANDY CLAY to SILTY CLAY
         37.40         39.4              33.0          3.60         6.87       SANDY SILT to CLAYEY SILT
         37.89         41.3              34.5          2.06         6.53       SILTY SAND to SANDY SILT
         38.39        134.3            111.6           4.83        13.48      •SANDY CLAY to SILTY CLAY
         38.83         68.5              56.7          5.63        10.16      •SANDY CLAY to SILTY CLAY
         39.37         61.0              50.3          2.31        11.57       SILTY SAND to SANDY SILT
         39.86         57.8              47.4          2.63        11.79        SANDY SILT to CLAYEY SILT
         40.35          57.8             47.3          3.41        12.13       SANDY SILT to CLAYEY SILT
         40.85          61.6             50.2          3.02        12.85       SANDY SILT to CLAYEY SILT
         41.34         74.8              60.6          3.64        13.93       SANDY SILT to CLAYEY SILT
         41.83         75.7              61.1          3.60        15.10       SANDY SILT to CLAYEY SILT
         42.32         69.9              56.2          3.35        15.68       SANDY SILT to CLAYEY SILT
         42.81         63.7              51.0          2.94        16.01       SANDY SILT to CLAYEY SILT
         43.31         62.0              49.5          3.74        16.54       SANDY SILT to CLAYEY SILT
         43.80         56.7              45.0          3.25        16.58       SANDY SILT to CLAYEY SILT
         44.29         53.2              42.1          2.36        17.39       SANDY SILT to CLAYEY SILT
         44.78         61.9              48.8          3.33        21.21       SANDY SILT to CLAYEY SILT




 •INDICATES OVERCONSOLIDATED OR CEMENTED MATERIAL
 ASSUMED TOTAL UNIT HT - 110 PCF
 ASSUMED DEPTH OF HATER TABLE - 18.0 FT




                                                                                        The Earth Technology
                                                                                       Corporation



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SOUNDING : CPT-N10



        DEPTH    TIP RESISTANCE     NORMALIZED     FRICTION      CONE PORE       SOIL BEHAVIOR TYPE
                                  TIP RESISTANCE     RATIO       PRESSURE
         (ft)         (tsf)           (tsf)           (*)          (tsf)

        45.28         71.3            56.0          3.27          17.56       SANDY SILT to CLAYEY SILT
        45.77         61.4            48.1          3.69          20.35       SANDY SILT to CLAYEY SILT
        46.26         70.1            54.6          5.12          24.15      •SANDY CLAY to SILTY CLAY
        46.75        136.1           105.7          5.45           6.11      •SANDY CLAY to SILTY CLAY
        47.24        150.9           116.7          4.43           8.84      •CLAYEY SAND to SANDY CLAY
        47.74        186.0           143.3          4.61           9.33      •CLAYEY SAND to SANDY CLAY
        48.23         91.8            70.4          4.01           8.39      •CLAYEY SAND to SANDY CLAY
        48.72         89.2            68.2          6.89           3.52      •SANDY CLAY to SILTY CLAY
        49.21        258.7           196.9          4.50          11.37      •CLAYEY SAND to SANDY CLAY
        49.70         97.0            73.6          7.52           9.63      •SANDY CLAY to SILTY CLAY
        50.20        120.8            91.3          7.57          10.46      •SANDY CLAY to SILTY CLAY
        50.69        215.7           162.3          4.93          12.31      •SANDY CIAY to SILTY CLAY
        51.18         62.9            47.2          4.23           6.52      •SANDY CLAY to SILTY CLAY
        51.67         56.4            42.1          2.63           5.86       SANDY SILT to CLAYEY SILT
        52.17         47.2            35.1          3.69           5.65       SANDY SILT to CLAYEY SILT
        52.66         38.0            28.2         15.00           5.26      •SANDY CLAY to SILTY CLAY
        53.15        677.9           500.5          2.03          40.94      •SAND to SILTY SAND
        53.64        775. S          570.4         *****          40.94




•INDICATES OVERCONSOLIDATED OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT HT - 110 PCF
ASSUMED DEPTH OF WATER TABLE - 18.0 FT




                                                                                       The Earth Technology
                                                                                      Corporation


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        FRICTION RRTIO               #:5562
                         TIP RESISTRNCE (QC)    INCREflSING GROIN SIZE     ^~
          (FS/QC) (PERCENT)              TONS/SQ FT
                                                                           CLflY         SILT      Sflfd    GRflVEL
                           O    0            200                400




     60




     70




     80




     90




    100                                                                                                        100


                 TIP RESISTflNCE NOT CORRECTED FOR END flREfl EFFECT

                 flSSUMED TOTft. UNIT HT * 110 PCF          flSSUMED      DEPTH OF WRTER TflBLE = 18.0 FT




 CONE PENETRflTION TEST                                               SOUNDING NUMBER: CPT-N11

 PROJECT NfiME       : ENVIRON/MC COLL                CONE/RIG = 473/Ra3                        ' THE EflRTH TECHNOLOGY
                                                                                                 CORPORftTION
 PROJECT NUMBER •. 94-380-12102                       DfiTE/TIME: 03-31-94 15=23




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                                  #:5563
          CONE PORE PRESSURE ( U )                           TIP RESISTflNCE (QC)                        PORE PRESSURE RflTIO
                TONS/SQ FT                                       TONS/SQ FT                                     U/QC
              32        Ie           0   0               1C30                  2C30      3CDO       4CJO 0 0     0 5         i 0
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                   TIP RESISTflNCE NOT CORRECTED FOR END flREfl EFFECT




CONE PENETRflTION TEST                                                                   SOUNDING NUMBER: CRT-Nil

PROJECT NftME          : ENVIRQN/MC COLL                                  CONE/RIO : 473/Rt*3                   ••» THE EflRTH TECHNOLOGY
PROJECT NUMBER .• 94-380-12102                                            DRTE/TIME: 03-31-94 15 = 23                 CORPORRTJON



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                                                                                                       r * * * * ***
 *
 *                                    CONE PENETRATION TEST                                                       *
 *                                                                                                                *
 *    SOUNDING : CPT-N11                                                PROJECT No.: 94-380-12102                 *
 *    PROJECT : ENVIRON/MC COLL                                         CONE/RIG : 473/R#3                        *
 *    DATE/TIME: 03-31-94 15:23                                                                                   *


                                                                                                 PAGE 1 of 3

         DEPTH     TIP RESISTANCE     NORMALIZED      FRICTION    CONE PORE       SOIL BEHAVIOR TYPE
                                    TIP RESISTANCE      RATIO     PRESSURE
           (ft)        (tsf)            (tsf)            (*)        {tsf)

             .49       10 .1             25.9           6.,65         .18     •SANDY CLAY to SILTY CLAY
             .98         6 .1            13.9           6.,86         .09      SILTY CLAY TO CLAY
           1.48          8 .7           18.2            6.,10         .19      SILTY CLAY TO CLAY
           1.97         7.8             IS.3            6.,03         .19      SILTY CLAY TO CLAY
           2 .46        3 .1              5.9           6.05          .01      SILTY CLAY TO CLAY
           2 .95       10 t T_          18. 1           2..76         .07      SANDY SILT to CLAYEY SILT
           3 .44        8 .2            14.1            2..08         .10      SANDY SILT to CLAYEY SILT
          3 .94        13 .0            21. g           5. 08         .34      CLAYEY SILT to SILTY CLAY
          4.43          8 .4            13.5            2. 63         .19      SANDY SILT to CLAYEY SILT
          4.92          6 .7            10.5            2. 39         .07      SANDY SILT to CLAYEY SILT
          5 .41         8. 6            13.1            4.91          .37      CLAYEY SILT to SILTY CLAY
          5 .91         4.1              6. 1           9. 56         .13      CLAY TO ORGANIC CLAY
          6 .40         3 .6             S.2            a. 31         .10      ORGANIC MATERIAL
          6 .89        24 .5            34. 9           3. 95         .32      CLAYEY SILT to SILTY CLAY
          7.38         14 .4            20. 1           5. 89         .33      SILTY CLAY TO CLAY
          7.87          3 .9            12.2            5. 93         .36      SILTY CLAY TO CLAY
          3 .37         8 .2            11. 0           6.69          .37      SILTY CLAY TO CLAY
          8 .86        10 .8            14.2            6.65          .40      SILTY CLAY TO CLAY
          9 ,35        27 .7            35.7            5.96          .59     •SANDY CLAY to SILTY CLAY
          9 .34        26 . 5           33. 6           5. 55         .62     •SANDY CLAY to SILTY CLAY
         10 .33        29 .6            36. 8           S.92          .69     •SANDY CLAY to SILTY CLAY
         10 .83        20 .2            24.7            5.05          .74      CLAYEY SILT to SILTY CLAY
         11 .32        16 .9            20.3            5.04          .74      CLAYEY SILT to SILTY CLAY
         11 .81        24 .2            28.7            5.54          .88     •SANDY CLAY to SILTY CLAY
         12 .30        21 .4            25. 0           5. 62         .92      SILTY CLAY TO CLAY
         12 .80        17 .3            20.Q            5.19          .93      CLAYEY SILT to SILTY CLAY
         13 .29        19 .3            22.S            7.29        1.02      •SANDY CLAY to SILTY CLAY
         13 .78        30 .2            33. 3           5. 37       1.27      •SANDY CLAY to SILTY CLAY
         14 .27        32 .7            36.2            5. 07       1.62      •SANDY CLAY to SILTY CLAY
         14 .76        69 .5            75. 3           S. 63       2.63      •SANDY CLAY to SILTY CLAY
         15 .26        54 .1            58.2            7. 87       2 .52     •SANDY CLAY to SILTY CLAY
         IS .75        46 .9            49. 9           7.59        2 .68     •SANDY CLAY to SILTY CLAY
         16 .24        44 .9            47. 1           7.44        2 .74     •SANDY CLAY to SILTY CLAY
         16 .73        51 .5            S3.4            7.34        2 .97     •SANDY CLAY to SILTY CLAY
         17 .22        62 .2            63. 6           6.89        3.30      •SANDY CLAY to SILTY CLAY
         17 .72        57 .6            58.2            6.70        3 .50     •SANDY CLAY to SILTY CLAY
         18 .21        53 .7            53. 8           6. 90       3 .93     •SANDY CLAY to SILTY CLAY
         18 .70        46 .6            46.5            7. 01       4.29      •SANDY CLAY to SILTY CLAY
         19 .19        54 .7            54.3            6.87        4.40      •SANDY CLAY to SILTY CLAY
         19 ,69        56 .7            56. 0           6. 53       4.92      •SANDY CLAY to SILTY CLAY
         20 ,18        54 .2            53.2            6. 39       5.32      •SANDY CLAY to SILTY CLAY




 'INDICATES OVERCONSOLIDATED OR CEMENTED MATERIAL
 ASSUMED TOTAL UNIT HT » 110 PCF
 ASSUMED DEPTH OF WATER TABLE « 18.0 FT




                                                                                        The Earth Technology
                                                                                       Corporation


                                                     Exhibit 39
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SOUNDING      CPT-N11



        DEPTH    TIP RESISTANCE     NORMALIZED     FRICTION      CONS PORE       SOIL BEHAVIOR TYPE
                                  TIP RESISTANCE     RATIO       PRESSURE
         (ft)        (tsf)            (tsf)            (%)         (tsf)

        20.67         42.2            41.2          6.64           4.96      •SANDY CLAY to SILTY CLAY
        21.16         62.9            61.1          4.83           1.24      •SANDY CLAY to SILTY CLAY
        21.65         91.4            88.5          3.00           2.01       SANDY SILT to CLAYEY SILT
        22.15         66.9            64.4          3.23           1.81       SANDY SILT to CLAYEY SILT
        22.64         58.5            56.0          5.01           1.75      •SANDY CLAY to SILTY CLAY
        23.13         £4.2            61.3          4.10           1.84      •CLAYEY SAND to SANDY CLAY
        23.62         56.5            53.6          4.14             .28     •SANDY CLAY to SILTY CLAY
        24.11         61.2            57. 8         4.27             .48     •SANDY CLAY to SILTY CLAY
        24.61         70.8            66.5          3.46             .87      SANDY SILT to CLAYEY SILT
        25.10         76.8            71.8          3. 54          1.02      •CLAYEY SAND to SANDY CLAY
        25.59        103.4            96.3          2.18           1.44       SILTY SAND to SANDY SILT
        26.08         67.3            62.4          2.93           1.79       SANDY SILT to CLAYEY SILT
        26.57        115.6           106.7          2.18           2.28       SILTY SAND to SANDY SILT
        27.07         90.0            82.7          3.19           2.41       SANDY SILT to CLAYEY SILT
        27.56        124.2           113.5          3.13           3.43      •CLAYEY SAND to SANDY CLAY
        28.05        146.9           133.7          1.63           3.31       SAND to SILTY SAND
        23.54        191.9           173.9          1.91           4.69       SAND to SILTY SAND
        29.04        229.7           207.2          1.63           9.60       SAND to SILTY SAND
        29.53        213.8           192.0            .84         12.01       SAND to SILTY SAND
        30.02        200.3           179.1          2.07           1.21       SILTY SAND to SANDY SILT
        30.51        221.2           196.9          2.04           1.63       SILTY SAND to SANDY SILT
        31.00        252.1           223.4          1.54           2.19       SAND to SILTY SAND
        31.50        251.7           222.1          1.91           2.32       SAND to SILTY SAND
        31.99        230.1           202.2          1.89           2.66       SAND to SILTY SAND
        32.48        200.5           175.4          2.52           2. 85     •SILTY SAND to CLAYEY SAND
        32.97        134.0           116.7          4.01           2.28      •CLAYSY SAND to SANDY CLAY
        33.46        239.8           207.9          1.43           3.11       SAND to SILTY SAND
        33.96        207.9           179.5          1.95           2.53       SILTY SAND to SANDY SILT
        34.45        171.0           147.0          2.59           2.54      •SILTY SAND to CLAYSY SAND
        34.94        388.6           332.6          1.34          34.49       SAND to SILTY SAND
        35.43        307.2           261.8          2.08          14.32      •SAND to SILTY SAND
        35.93         78.4            66.6          3.94           6.17      •CLAYSY SAND to SANDY CLAY
        36.42         45.0            38.0          2.45           6.49       SANDY SILT to CLAYEY SILT
        36.91         40.3            34.3          2.40           7.45       SANDY SILT to CLAYEY SILT
        37.40         45.8            38.4          2.2S           8.52       SILTY SAND to SANDY SILT
        37.89         54.0            45.1          2.37           9.74       SANDY SILT to CLAYEY SILT
        38.39         58.5            48.6          3.43          14.38       SANDY SILT to CLAYEY SILT
        38.88         41.2            34.1          2.57          15.85       SANDY SILT to CLAYEY SILT
        39.37         41.5            34.2          2.29          19.43       SANDY SILT to CLAYEY SILT
        39.86         63.3            52.0          3.11          23.39       SANDY SILT to CLAYEY SILT
        40.35         69.3            56.7          4.99          33.51      •SANDY CLAY to SILTY CLAY
        40.35         83.0            67.6          4.75          35.48      •SANDY CLAY to SILTY CLAY
        41.34         58.7            47.6          3.39          30.52       SANDY SILT to CLAYEY SILT
        41.33         44.3            35.8          3.48          26.32       SANDY SILT to CLAYEY SILT
        42.32         71.4            57.5          3.25          39.54       SANDY SILT to CLAYEY SILT
        42.31         74.5            59.7          2.94          40.91       SANDY SILT to CLAYEY SILT
        43.31        107.5            85.3          3.66          41.04      •CLAYEY SAND to SANDY CLAY
        43.80        135.0           107.3          3.98          41.04      •CLAYSY SAND to SANDY CLAY
        44.29         85.7            67.8          3.29          41.04       SANDY SILT to CLAYEY SILT
        44.78        113.2            89.3          4.56          41.04      •SANDY CLAY to SILTY CLAY




•INDICATES OVSRCONSOLIDATED OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT HT - 110 PC?
ASSUMED DEPTH OF WATER TABLE - 18.0 FT




                                                                                       The Earth Technology
                                                                                      Corporation


                                                    Exhibit 39
                                                      5522
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                                  #:5566
                                                                     PAGE 3 of 3
 SOUNDING : CPT-N11



        DEPTH    TIP RESISTANCE     NORMALIZED     FRICTION     CONE PORE       SOIL BEHAVIOR TYPE
                                  TIP RESISTANCE     RATIO      PRESSURE
          (ft)        (tsf)           (tsf)           (%)         (tsf)

        45.28        104.6            82.2           4.29        41.04      •CLAYEY SAND to SANDY CLAY
        4S.77          59.7           46.7           3.52        34.25       SANDY SILT to CLAYEY SILT
        46.26          83.5           65.1           3.23        41.04       SANDY SILT to CLAYEY SILT
        46.75         71.9            55.8           2.91        41.04       SANDY SILT to CLAYEY SILT
        47.24          69.3           53.6           2.96        41.04       SANDY SILT to CLAYEY SILT
        47.74         60.1            46.3           2.89        40.54       SANDY SILT to CLAYEY SILT
        48.23         77.6            59.5           3.70        41.04       SANDY SILT to CLAYEY SILT
        48.72         98.0            74.9           4.21        41.04      •CLAYEY SAND to SANDY CLAY
        49.21        105.8            80. S          4.86        41.04      •SANDY CLAY to SILTY CLAY
        49.70         77.4            58.7           2.30        41.04       SILTY SAND to SANDY SILT
        50.20        255.1           192.7           6.84        41.04      •HEAVILY O.C./CEMENT. MAT.
        50.69        458.1           344.7           4.67        41.04      •HEAVILY O.C./CEMENT. MAT.
        51.18        659.9           494.7           3.09        41.04      •SILTY SAND to CLAYEY SAND




•INDICATES OVERCONSOLIDATED OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT WT - 110 PCF
ASSUMED DEPTH OF WATER TABLE = 13.0 FT




                                                                                     The Earth Technology
                                                                                    Corporation


                                                   Exhibit 39
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                                                    SOIL BEHflVtOR TYPE
                                  #:5567
             FRICTION RftTtO           TIP RESCSTflNCE (QC)               INCREflSINO CRfUN SIZE              *-
            CFS/QC) (PERCENT)              TONS/SQ FT
                                                                              CLflY         SILT      SflhO        GRflVEL
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                  TIP   RESISTflNCE NOT CORRECTED FOR END flREfl EFFECT

                  PSSUMED TOTflL UNIT WT = 110 PCF           flSSUMEO        DEPTH OF MATER TfiBLE = 18.0 FT




CONE PENETRflTION TEST                                                  SOUNDING NUMBER: CPT-N12

PROJECT NflME           •. ENVtRQN/MC COLL               CONE/RIO = 473/Ra3                        ' THE EflRTH TECHNOLOGY
                                                                                                    CORPORRTION
PROJECT NUMBER t 94-380-12102                            OftTE/TIME: 03-31-94 13:35



                                                        Exhibit 39
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                           Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 494 of 730 Page ID
                                                             #:5568


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Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 495 of 730 Page ID
                                  #:5569
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*                                                                                                              *
*                                   CONE PENETRATION TEST                                                     *
*                                                                                                              *
*    SOUNDING : CPT-N12                                                PROJECT No.: 94-380-12102
*    PROJECT : ENVIRON/MC COLL                                         CONE/RIG : 473/R#3
*    DATE/TIME: 03-31-94 13:35


                                                                                                PAGE 1 of 2

        DEPTH    TIP RESISTANCE     NORMALIZED     FRICTION      CONE PORE       SOIL BEHAVIOR TYPE
                                  TIP RESISTANCE     RATIO       PRESSURE
         (ft)        (tsf)             {tsf)           (%)          (tsf)

           .49         7.6            19.4          3.84            .62       CLAYEY SILT to SILTY CLAY
           .98         8.9            20.1          2.59            .78       SANDY SILT to CLAYEY SILT
         1.48         10.6            22.2          4.72            .88       CLAYEY SILT to SILTY CLAY
         1.97          9.8            19.2          5.33            .87       SILTY CLAY TO CLAY
         2.46         10.4            19.3          4.44           1.06       CLAYEY SILT to SILTY CLAY
         2.95          8.7            15.6          5.74           1.09       SILTY CLAY TO CLAY
         3.44         11.0            19.0          4.62           1.10       CLAYEY SILT to SILTY CLAY
         3.94         13.0            21.6          6.86            .87      •SANDY CLAY to SILTY CLAY
         4.43          9.1            14.7          6.35            .93       SILTY CLAY TO CLAY
         4.92          6.2             9.7          6.63            .11       SILTY CLAY TO CLAY
         5.41          3.5             5.4          9.86            .12       CLAY TO ORGANIC CLAY
         5.91          5.1             7.6          7.09            .16       SILTY CLAY TO CLAY
         6.40         14.7            21.3          5.04            .26       CLAYEY SILT to SILTY CLAY
         6.89         15.3            21.7          8.17            .44      •SANDY CLAY to SILTY CLAY
         7.38         15.0            20.9          7.67             .41     •SANDY CLAY to SILTY CLAY
         7.87         17.0            23.2          6.94             .45     •SANDY CLAY to SILTY CLAY
         8.37         19.1            25.5          6.70             .52     •SANDY CLAY to SILTY CLAY
         8.36         32.3            42.4          5.42           1.30      •SANDY CLAY to SILTY CLAY
         9.35         25.4            32.7          8.03           1.60      •SANDY CLAY to SILTY CLAY
         9.84         27.4            34.7          6.45           2.11      •SANDY CLAY to SILTY CLAY
        10.33         35.3            44.0          6.22           2.64      •SANDY CLAY to SILTY CLAY
        10.83         30.9            37.8          5.86           2.87      •SANDY CLAY to SILTY CLAY
        11.32         23.4            28.2          5.01           4.19       CLAYEY SILT to SILTY CLAY
        11.81         21.0            25.0          4.76           3.59       CLAYEY SILT to SILTY CLAY
        12.30         23.5            27.5          5.28           4.01      •SANDY CLAY to SILTY CLAY
        12.80         27.4            31.6          4.75           4.53       CLAYEY SILT to SILTY CLAY
        13.29         23.3            27.1          5.83           4.57      •SANDY CLAY to SILTY CLAY
        13.78         72.7            81.5          3.15           9.23       SANDY SILT to CLAYEY SILT
        14.27        104.5           115.5          3.90          16.90      •CLAYEY SAND to SANDY CLAY
        14.76         61.6            67.2          3.91          19.86      •CLAYEY SAND to SANDY CLAY
        15.26         35.9            38.6          2.48          16.91       SANDY SILT to CLAYEY SILT
        15.75         47.8            50.3          5.58          21.56      •SANDY CLAY to SILTY CLAY
        16.24        208.9           219.1          2.16           2.52       SILTY SAND to SANDY SILT
        16.73         34.9            36.2          6.42             .68     •SANDY CLAY to SILTY CLAY
        17.22         61.5            62.9          4.33           2.70      •SANDY CLAY to SILTY CLAY
        17.72         72.3            73.1          4.44           2.53      •SANDY CLAY to SILTY CLAY
        13.21        186.4           186.8          3.27          21.81      •SILTY SAND to CLAYEY SAND
        18.70         87.0            86.3          4.76           4.54      •SANDY CLAY to SILTY CLAY
        19.19        104.5           103.7          4.65           8.34      •SANDY CLAY to SILTY CLAY
        19.69        122.9           121.3          3.64          11.96      •CLAYEY SAND to SANDY CLAY
        20.13        100.0            98.2          3.63          11.28      •CLAYEY SAND to SANDY CLAY




•INDICATES OVERCONSOLIDATED OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT WT » 110 PC?
ASSUMED DEPTH OF WATER TABLE - 18.0 FT




                                                                                       The Earth Technology
                                                                                      Corporation


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                                  #:5570
                                                                     PAGE 2 of 2
 SOUNDING      CPT-N12



        DEPTH    TIP RESISTANCE     NORMALIZED     FRICTION     CONE PORE       SOIL BEHAVIOR TYPE
                                  TIP RESISTANCE     RATIO      PRESSURE
          (ft)        (tsf)           (tsf)           (%)         (tsf)

        20.67          44.3            43.3           6.32         6.13     •SANDY CLAY to SILTY CLAY
        21.16          55.3            53.3           5.82         6.35     •SANDY CLAY to SILTY CLAY
        21.65          39.8            38.5           4.17         4.04      CLAYEY SILT to SILTY CLAY
        22.15          39.8            33.3          3.52         4.31       SANDY SILT to CLAYEY SILT
        22.64          36.1            34.6          3.49          4.24      SANDY SILT to CLAYEY SILT
        23.13          36.6           34.9           4.65          4.26     •SANDY CLAY to SILTY CLAY
        23.62          46.1           43.3           5.77          3.42     •SANDY CLAY to SILTY CLAY
        24.11          31.1           29.4           3.12          3.24      SANDY SILT to CLAYEY SILT
        24.61        116.1           109.2           4.75          8.89     •SANDY CLAY to SILTY CLAY
        25.10         44.4            41.6           5.29          3.27     •SANDY CLAY to SILTY CLAY
        25.59          33.3           31.5           3.61          3.26      SANDY SILT to CLAYEY SILT
        26.08         34.2            31.7           3.42         3.21       SANDY SILT to CLAYEY SILT
        26.57         44.3            41.4           3.55          3.37      SANDY SILT to CLAYEY SILT
        27.07         33.0            30.3           3.52         3.32       SANDY SILT to CLAYEY SILT
        27.56         32.3            29.5           3.53         3.34       SANDY SILT to CLAYEY SILT
        28.05         35.0            31.3           2.86         2.93       SANDY SILT to CLAYEY SILT
        28.54         34.0            30.8           2.65         3.07       SANDY SILT to CLAYEY SILT
        29.04         32.2            29.0           3.39         3.03       SANDY SILT to CLAYEY SILT
        29.53         27.8            24.9           3.89         2.90       CLAYEY SILT to SILTY CLAY
        30.02         47.4            42.4           2.21         3.48       SILTY SAND to SANDY SILT
        30.51         69.6            62.0           3.02         4.53       SANDY SILT to CLAYEY SILT
        31.00         45.0            39.8           1.96         4.00       SILTY SAND to SANDY SILT
        31.50         53.3            47.0           1.97         5.10       SILTY SAND to SANDY SILT
        31.99         53.5            51.4           2.38         6.23       SILTY SAND to SANDY SILT
        32.48         59.4            51.9           2.61         7.45       SANDY SILT to CLAYEY SILT
        32.97         58.2            50.7           2.40         9.00       SILTY SAND to SANDY SILT
        33.46         54.9            47.6           2.77        10.05       SANDY SILT to CLAYEY SILT
        33.96         55.0            47.5           2.67        11.47       SANDY SILT to CLAYEY SILT
        34.45        118.9           102.2           4.46        41.03      •SANDY CLAY to SILTY CLAY
        34.94        278.3           233.2           5.67        41.03      •HEAVILY O.C./CEMENT. MAT.
        35.43        426.6           363.6           3.73        41.03      •CLAYEY SAND to SANDY CLAY
        35.93        370.4           314.4           4.86        41.03      •HEAVILY 0 C./CEMENT. MAT.
        36.42        499.4           422.1           3.46        41.03      •SILTY SAND to CLAYEY SAND
        36.91        519.0           436.8           2.95        41.08      •SILTY SAND to CLAYEY SAND
        37.40        472.6           396.1           2.84        29.62      •SILTY SAND to CLAYEY SAND
        37.89        531.0           443.2          ******       11.93




•INDICATES OVERCONSOLIDATED OR CEMENTED MATERIAL
ASSUMED TOTAL UNIT WT - 110 PCF
ASSUMED DEPTH OF WATER TABLE - 18.0 FT




                                                                                      The Earth Technology
                                                                                     Corporation


                                                   Exhibit 39
                                                     5527
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 497 of 730 Page ID
                                  #:5571




                                APPENDIX E

                             ATTACHMENT
                  PORE PRESSURE DISSIPATION TEST LOGS




                                   Exhibit 39
                                     5528
                Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 498 of 730 Page ID
                                                  #:5572


                                               PORE PRESSURE DISSIPflTION CURVES

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                                                                                                                  r CORPOROTION
                                                                                                                    THE EflRTH TECHNOLOCY
PROJECT NUMBER . 94-380-12102                                    OfiTE/TIMEi 04-12-94 07i03

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                               Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 500 of 730 Page ID
                                                                 #:5574




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                Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 516 of 730 Page ID
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TIP-SENSING PIEZOMETRIC CPT                                                                SOUNDING NUMBER: CPT-N8

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                                                                    DPTE/TIMEi 04-04-94 09.IB            CORPORflTI ON
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                                                            Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 517 of 730 Page ID
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                                       PROJECT NRME


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TIP-SENSING PIEZOMETRIC CPT                                                             SOUNDING NUMBER: CPT -Nil

PROJECT NRME    i ENVIRON/MC COLL                            CONE/RIO i 473/Rn3
                                                                                                      THE EflRTH TECHNOLOGY
                                                                                                      CORPOROTION
PROJECT NUMBER i 94-380-12102                                DRTE/TlMEi Q3-31-94 15i23

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                               APPENDIX F



             TECHNICAL MEMORANDA FOR FIELD ACTIVITIES




                        GROUNDWATER RI REPORT
                              McCOLL SITE
                         FULLERTON, CALIFORNIA




                              December 29, 1995

                                  03-3493X




                                   Exhibit 39
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Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 520 of 730 Page ID
                                  #:5594




                                     APPENDIX F

                     TECHNICAL MEMORANDA FOR FIELD ACTIVITIES


The Groundwater RI/FS Work Plan (February 4, 1994) provided that technical memoranda
(TMs) would be submitted to EPA to propose final well designs, modify the scope of work if
necessary, or add new technologies to the field program. The attached Table G-l summarizes
the twenty-one TMs which modify the scope of the Groundwater RI/FS Work Plan, then-
content, and their approval dates. This balance of this appendix presents copies of the
approved TMs.




 McColl Site Group
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                                        Exhibit 39
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                    Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 521 of 730 Page ID
                                                      #:5595

                                                                    TABLE F-l                                                                    DRAFT
                              TECHNICAL MEMORANDA WHICH AMEND THE RI/FS WORK PLAN
                                                    MCCOLL GROUNDWATER RI/FS

      TM                      Topic                                                Description                                      Approval Date
      10-1       Down-Hole pH Probe                Clarified that the experimental CPT pH probe would not be used during        March 22, 1994
                                                   Phase I due to problems with the prototype during Task 2.
      10-2       Clarification of Groundwater      Modified RI/FS Work Plan to prioritize chemical analyses on groundwater      April 14, 1994
                 Grab Sample Analysis Program      grab samples collected during Phase I in the event that groundwater
                 Phase I Work Plan                 recharge was slow and sample volume was limited.
      10-3       Sample/Testing Variance           Modified RI/FS Work Plan to say "up to 10" groundwater grab samples          Octobers, 1995
                                                   would be collected during the Phase I investigation, in recognition of the   (re-signed)
                                                   lack of shallow groundwater encountered.
      10-4      Conductor Casings                  Updated the RI/FS Work Plan to recognize that conductor casings would        June 20, 1994
                                                   be used for monitoring wells and neutron probe access tubes if necessary.
      10-5       Drilling Methods                  Proposed hollow stem auger drilling as an alternative to resonant sonic      June 20, 1994
                                                   (RS) drilling and proposed flexibility using the proposed methods based
                                                   on their success on the Site.
      10-6       Sampling and Analysis Plan        Modified the Sampling and Analysis Plan in the RI/FS Work Plan               July 12, 1994
                                                   because of observed compaction of the RS soil cores. The use of
                                                   stainless steel liners during RS drilling was discontinued in favor of
                                                   placing chemical testing samples in glass jars in accordance with
                                                   applicable EPA standards. Samples for moisture/density, permeability and
                                                   matric potential testing were proposed to be collected from drive samples
                                                   during installation of the neutron probe access tubes.
      10-7      Drilling and Groundwater Grab      Updated the RI/FS Work Plan to include groundwater grab sampling             August 25, 1994
                Sampling at PH-2 and PH-4          during air rotary casing hammer drilling and proposed specific methods.
                                                   Modified the target depth of pilot PH-4 to be approximately 200 feet.
     10-8       Revised Locations of Pilot Holes   Modified the original, tentative, locations of PH-8 and PH-10 in the         August 7, 1994
                PH-8 and PH-10                     RI/FS Work Plan based on pilot investigation results. Pilot test results
                                                   indicated that chemical migration was more southwesterly than southerly,
                                                   as originally supposed.


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                     Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 522 of 730 Page ID
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                                                                     TABLE F-l                                                                   DRAFT
                              TECHNICAL MEMORANDA WHICH AMEND THE RI/FS WORK PLAN
                                                     MCCOLL GROUNDWATER RI/FS

      TM                      Topic                                                   Description                                      Approval Date
      10-9      Phased Approach to Drilling Pilot   Results of the drilling program were causing ENVIRON to reevaluate the         September 15, 1994
                Holes PH-8, PH-9, PH-10 and         conceptual model for the site, and this TM modified the RI/FS Work Plan
                Constructing Wells P-3L,            so that the pilot holes were drilled and the results evaluated prior to well
                P-5L, P-8D, P-9D, and P-10D         design and construction.
     10-10      Location and Design of Four         In accordance with the RI/FS Work Plan, this TM proposed screened              September 16, 1994
                Shallow Zone Wells                  intervals for wells P-2S, P-21, P-41 and P-5I.
     10-11      Recommendation to Not Perform       Proposed deletion of neutron probe access tubes and neutron monitoring         September 16, 1994
                Neutron Log Monitoring Program      due to observed contamination associated with perched ground water.
                                                    Monitoring of the groundwater with perched zone monitoring wells would
                                                    be substituted. Soil testing planned to support neutron logging was
                                                    deleted from program (moisture/density tests and matric potential tests).
     10-12      Abandonment and Replacement         EPA requested that the MSG abandon well P-2D due to potential defects          Octobers, 1994
                of Existing Well P-2D               in construction, and replace it with a new well. TM 10-12 added this
                                                    activity to the RI/FS Work Plan.
     10-13      Alternate Drilling Methods          Proposed that reverse circulation dual tube percussion hammer drilling         October 3, 1994
                                                    methods be used as an alternative to air rotary casing hammer for regional
                                                    aquifer wells and well P-21.
     10-14      Construction of Wells P-9D and      In accordance with the RI/FS Work Plan, this TM proposed the screen            October 12, 1994
                P-10D                               intervals for wells P-9D and P-10D and presented the rationale.
     10-15      Construction of Well P-5L and       In accordance with the RI/FS Work Plan, this TM proposed the screen            October 25, 1994
                Deletion of Wells P-3L and          interval for well P-5L and presented the rationale. Wells P-3L and P-8D,
                P-8D                                which were originally included in the RI/FS Work Plan, were proposed to
                                                    be deleted from the program; the rationale was presented.
     10-16      Deletion of Regional Aquifer        This TM explained that the pump tests planned in the RI/FS Work Plan           October 11, 1994
                Testing Program                     were inappropriate for the geologic conditions encountered and
                                                    recommended that the regional aquifer testing program be deleted.



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                                                                    TABLE F-l                                                                     DRAFT
                              TECHNICAL MEMORANDA WHICH AMEND THE RI/FS WORK PLAN
                                                    MCCOLL GROUNDWATER RI/FS

      TM                      Topic                                                 Description                                      Approval Date
     10-17      Abandonment of Well P-2D           This TM modified the abandonment method of well P-2D because it was           December 15, 1995
                Replacement of Wells P-9D and      impractical to drill out the lower 50 feet of the well due to the
                P-5L                               unexpected presence of stainless steel well casing which was significantly
                                                   off-center. The lower 50 feet of well P-2D was proposed to be
                                                   abandoned by perforating and pressure grouting following methods
                                                   outlined in the RI/FS Work Plan.

                                                   Provided flexibility to specifications for grout mix to allow use of high
                                                   solids bentonite grout (Volclay-type) during construction of replacement
                                                   wells P-9D and and P-5L.
     10-18      Data Integration and Groundwater   This TM supplements the Groundwater RI/FS Work Plan by providing              April 18, 1995
                Interconnectability Study,         additional infromation regarding a "Data Integration and Groundwater
                Extension of Deadline for "FS      Interconnectability" study, and a subsequent request for extension of the
                Technology" and "Analysis of       report deadlines for the following two documents: "FS Technology
                Alternatives" Documents            Report" and "Analysis of Alternatives Report".

     10-19      Location and Design of             This TM provides the information on location and preliminary design of        June 21, 1995
                Monitoring Well P-IOL              Well P10L required by the Supplemental Work Plan. The design of well
                                                   P-IOL was then forwarded to EPA in a memo dated July 12, 1995 (also
                                                   presented in this appendix).

     10-20      Additional Groundwater             This TM provides additional information regarding the planned sampling        October 2, 1995
                Sampling and Analysis of Wells     and analysis of wells P-21, P-41, P-9D, P-10D, and P-5L. The objective
                P-21, P-41, P-9D, P-10D, and       of this effort is to further define the geochemical environment of the flow
                P-5L                               units.

     10-21      Aquifer Testing at Monitoring      This TM supplements the Groundwater RI/FS Workplan by providing an            December 9, 1995
                Well P-IOL                         additional scope of work to evaluate the detection of THT compounds in
                                                   well P-IOL. A step drawdown test and a 24-hr aquifer test is proposed in
                                                   order to evaluate the performance characteristics and construction of well
                                                   P-IOL, and the hydraulic properties of the "C" flow unit.




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                                APPENDIX F

                             ATTACHMENT
                         TECHNICAL MEMORANDA




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                            Down Hole pH Probe                DATS:      March 9, 1994
                                                              TASK NOs   10, Phase I

              DESCRIPTION 0V REQUIRED MODIFICATIONS:
                      Eliminate the use of the CPT-pH probe aa stated on page S-4
                      paragraph 3 of the Task 10 Work Plan (Attached)
              RATIONALE TOR REQUIRED MODIFICATIONS:        ^    • L
              1. Although the pH probe proved useful in soft soils, four (4)
                   probes were lost when they encountered hard material during
                   Task 2. Based on previous geotechriical studied, blow
                   counts in the material to be drilled here will range from
                   10 to 300 which will likely damage the probe.
              ENGINEERING MODIFICATIONS TO SUPPORT TEE TECHNICAL MEMORANDUM:
              ' . • None              . . . . . . . .
              POTENTIAL IMPACT ON SCHEDULE AMD TECHNICAL FACTORS WHICH WOULD
              RESULT FROM MODIFICATIONS:
                      None - groundwater samples recovered during the Phase I
                      study will be tested for pK.
              POTENTIAL IMPACTS ON SCHEDULE AND TECHNICAL FACTORS                IF NOT
              IMPLEMENTED:
                      The schedule will be delayed since the probe is only
                      available through Applied Research, S. Royalton, Vt.
                      Additional delays will result from damaged probes.
              AMENDMENTS TO QAPP AND SAP TO REFLECT MODIFICATIONS i
                   None
              EFFECT TEE APPROVAL TIME AMD PROCESS WILL HAVE ON THE OVERALL RD
              SCHEDULE:
                   The subcontract for CPT.is being delayed while waiting for
                   approval.


              RFM APPROVAL STATUS
              BY:                                            DATE:
                                                          Additional Information Required




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                                TECHNICAL MEMORANDUM NO. 10 - 2                                                          I312.C
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                               :er RI/FS Phase I Woe* Plan                               DATE:
                    Clarification of Gzomtdwaier Grab
                    Sample Analysis Program
                                                        FILE COPY                        TASK NO:          10
 DESCRIPTION OF REQUIRED MODIFICATIONS: The ENVIRON Gmautoater N/FS Work Plan (February
 4,1994) indicates oat all groundwater grab samples collected using the BAT system during Phase I will be analyzed for volatile
 organic compounds (VOCs); pH, specific conductance, and other inorganic compounds. This Technical Memorandum (TM)
 updates the work plan to prioritize analyses in the event dial groundwater recharge is inadequate for all analyses. Additionally,
 this TM clarifies thai ground water grab samples will be tested for total oiganic carbon CTOC) by EPA Test Mediod 415.1 instead
 of Method 9060 during Phase 1 activities.

RATIONALE FOR REQUIRED MODIFICATIONS: The purpose of groundwater grab sampling is to attempt to
collect samples from perched groundwater hi zones which may be in hydraulic connection with ihe McColl waste sumps. IS it
turns oui the targeted zone has a lower hydraulic conductivity dien anticojaied (based on the CFT log) or there is very little
groundwaier present, it may not be possible to fill thi approximately 5 vials needed for all analyses. Additionally, TOC testing
by EPA Method 415.1 required only approximately 25 ml. of sample hi contrast to EPA Method 9060 which requires
approximately 4 liters of sample.
ENGINEERING MODIFICATIONS TO SUPPORT THE TECHNICAL MEMORANDUM:
In a reasonably conductive sand, a 30 milliliter (ml) BAT sample vial fills with groundwater in approximately 5 ••<*"*••« A
groundwater grab sampling location will be abandoned if due fill rate is less than 30 ml per hour,
be spent sampling ai each location.
The BAT groundwaier grab samples will be collected in die following order
       •      VOCs and thiophenes by Test Method 8260 (GC/MS purge and trap);
      •       laboratory pH and specific conductance;
      •       sulfate, chloride, nitrate, nitrite;
      •       TOCs; and
      • field pH anf1 specific conductance.
Groundwater grab samples from each BAT location will be submitted for analysis.
POTENTIAL IMPACT ON SCHEDULE AND TECHNICAL FACTORS WHICH WOULD RESULT FROM
MODIFICATIONS:
        None

POTENTIAL IMPACTS ON SCHEDULE AND TECHNICAL FACTORS. IF NOT IMPLEMENTED:
Could result in potential non-compliance with work plan if groundwaier recharge makes sampling djffirnit at multiple locations.

AMENDMENTS TO QAPP AND SAP TO REFLECT MODIFICATIONS: As described above.

EFFECT THE APPROVAL TIME AND PROCESS WILL HAVE ON THE OVERALL RD
SCHEDULE:
Sampling wil) begin April 11.1994.



RPM APPROVAL STATUS:
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BY:'
                                                                     Additional Information Required



                                                        Exhibit 39
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Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 527 of 730 Page ID
   THE                            #:5601
    McCOLL
    SITE
    GROUP            215 East Orangethorpe Avenue, Suite 304, Pullenon, California 92632 (714) 665-7391



 May 17, 1994                                                                 Serial No: EPA - 100



 U.S. Environmental Protection Agency
 Region IX
 ATTN Michael Montgomery
 75 Hawthorne Street
 San Francisco, CA 94105

 Subject: McColl Site Project
          Task 10, Phase I - Technical Memorandum 10-3

 Dear Mr. Montgomery:
 During Task 10 Phase I field activities. 31 attempts were made to
 obtain groundwater samples. Due to the geological and hydrological
 conditions encountered, only one sample was recovered. Attached is
 Technical Memorandum 10-3 to modify the work plan to reflect the
 conditions found in the field.
 Please call if you have questions regarding the enclosed technical
 memorandum.
 Yours truly,
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 K. W. Rogers, Project Coordinator
 McColl Site Group

 Attachment
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 cc:      State of California
          Department of Toxic Substance Control
               Caroline Rudolph, (4)
          Morrison KNUDSEN Corporation
               V. Trinoskey




  The McCotl Site Group is composed of:
  Shell Oil Company. ARCO. Phillips Petroleum. Texaco and fNOCAL
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  Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 528 of 730 Page ID
                                    #:5602
                      TECHNICAL MEMORANDUM            NO, JLJh2_
                                   McColl SUPERFUND SITE


SUBJECT: Siniplen'es^ Variance                                DATE:         May IV. 1994
                                                              TASK NO: 10. Phase I
DESCRIPTION OF REQUIRED MODIFICATIONS: Ail references 19 the ao&ber of jroundwater
samples to be collected and tested should be changed from "S to 10" to "up to 10'.


RATIONAL}^ FOR REQUIRED MODIFICATIONS: Nlae CFT locedoas were selected as having
eonditiots coi iducive to carrying vaier. Gcouadwater sampling was anetapted it & minimum of three depths
ai each locai ion lor a weal of 31 sampling attempts. Despite 31 attempts, groundwaier was only
etcoumcrc4 :,x a depth of 23 feet ai location V-il. The groundwaier was sampled «ad submitted for
testing.

EN6ESEEKNG MODIFICATIONS TO SUPPORT THE TECHNICAL MEMORANDTUM: Nooe

POTENTIA::, IMPACT ON SCHEDULE ANDTECHNICAL FACTORS WHICH WOXILD RESULT
FROM MODIFICATIONS: None                                                V




POTENTIAL IMPACTS ON SCHEDTJLE AND TECHNICAL f ACTORS IF NOT 1MPLKMKNTED:
Major impac: on schedule. Would require an unknown oumber of Cone Peoetromecer boles as cteep as
possible at ttadotn locanons -until water is located at aa addiuoml {bar locations.

AMENDMENTS TO QAPP AND SAP TO REFLECT MODIFICATIONS-. Chaage all lefeeences of *5
to 10" samp',es in Phase I to *wp to 10",

EFFECT IHE APPROVAL TIME AND PROCESS WILL HAVE ON THE OVERALL RD
SCHEDULE: Nooe if approved.




BPM APPROVAL STATUS:
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                               TECHNICAL MEMORANDUM           NO. 10-4
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    , SUBJECT:        Update to Groundwater RI/FS
                      Conductor Casing
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     DESCRIPTION OF REQUIRED MODTFICATtv/^;
     This Technical Memorandum (TM) modifiea the GroundwXer RI/FS Work Plan (ENVIRON February 4,1994) to aflow
     momUoring wells and neutron access tubes be constructed with conductor casings if necessary. Toe need for a conductor casing
     wQl be evaluated at each location based oa the results of the pOot borings,

     RATIONALE FOR REQUIRED MODIFICATIONS:
     Conductor "'"T wfll provide an yftiitf*?*'*? f%«r«>f of safety infr*%|"i(fprevent potential vertical le*cr**Tn* of penned
     groundwater ermtaii\m^ chemicals (if present) along boreholes to lower groundwater zones.

     ENGINEERING MODIFICATIONS TO SUPPORT THE TECHNICAL MEMORANDUM:
     A conductor casing wifl be incorporated into neutron probe access tube and monitoring well design if field evidence of
     contamination is noted (odor, seal discoloration, or above-background detection of volatiles with an air monitoring device) in a
    zone which k saturated or appears ui have the potential to become saturated. Tie momtoriog wefls are to be constructed usiog
    air rotary casing hammer (ARCH) methods and neutron access tubes arc to be constructed using ARCH or retonananl sonic
     (RS) methods (Groundwater Kf/FS WoHt Plan and TM 10-5). If conductor casings are needed for the neutroa probe irmg
    tubes or monitoring wells, they wul be driven m using ARCH rnrhniques, If a neutron probe access tube requires a conductor
    casing, a pair of access tubes wfll be constructed (one shallow and one deep) because the neutron probe can not sense moisture
    through the grout seal for the conductor casing. Figure 1 fflnstrates a typical neutroa probe access tube pair installation with a
    conductor casing. A typical monitoring weQ completion with a conductor casing is shown in Figure 2. Separate pilot holes are
    planned to be drilled using RS methods, and each wifl have an outer casing driven during drilling which will case off the
    borehole to approximately 100 feet; this will act as a temporary conductor rasing. RS pilot holes which are continued using mud
    rotary will be drilled through the RS-drivcn conductor casing. If a conductor casing is needed during hoflow T*qm auger drilling,
    it wiD be instated either by reaming the hole and grouting k into place, or by driving using ARCH methods. IB aU cases,
    downholc drilling ««H campling equipment which H*i cootacted aoticabiy contaminated IT**? will be ^'*<*"»^*a«*it«»«*gj bcfoie
    drilling below the conductor casing.

    POTENTIAL IMPACT ON SCHEDULE AND TECHNICAL FACTORS RESULTING FROM
    MODIFICATIONS:
    Tie conductor casings win add four to six weeks of work for one crew. To reduce the schedule impact, ENVIRON wiD add
    another drilling crew to the field program. The additional work "•T*«n;rg conductor casings is not expected to delay completion
    of field work significantly from the original scheduled completion date (September 29, 1994 stated in the Groundtvater RI/FS
    Work Plan}.

    POTENTIAL IMPACTS ON SCHEDULE AND TECHNICAL FACTORS IF NOT IMPLEMENTED:
    If not implemented, there may be an incremental risk that perched groundwater containing chemicals could migrate to lower so
    or groundwater along monitoring weO and access tube installations. Schedule would not change if this TM is not implemented.

    AMENDMENTS TO QAPP AND SAP TO REFLECT MODIFICATIONS:
    None

    EFFECT THE APPROVAL TIME AND PROCESS WILL HAVE ON THE OVERALL RD SCHEDULE:
    To avoid impact to the u*"?4nl?. approval is needed by June 15,1994.

    RPM APPROVAL STATUS:

    BY:/0^£24/v£i><ZL                              DATE:

                                           Disapproved                      Additional Information Required


                                                              Exhibit 39
                                                                5560
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 530 of 730 Page ID
                                  #:5604

                                  Neutron Probe Access Tub* Pair                                  Neutron Probe
                                    (Conductor Casing Needed)                                       Access Tube
                                                                                                (Without Conductor
                                                                                                      Casing)
                                     Deep                        Shallow
                                  Access Tube                  Access Tube

           Vault Sox




     4 inch
     diameter
     stainless steel                              • Cement—
     or equivalent                                  Bentonrte
     aecess tube —                                  grout or
                                                    equivalent                4 inch diameter
     5-12 inch                                                                stainless steel
     diameter steel                                                           or equivalent
     conductor casing                                                         driven into
     driven in                                                                formation -•
     with ARCH




    Perched Zone »•" • - -"••" -V-.-.
    of Potential "• »'/-y<>;~V:
    Concern identified:*.c-?    ""
    in Pilot Hole'."- :>v--V



    .-_-_• AQU HARD."

                                                                             3-5 feet 8«ntoniU
                                                                             or Cement—Bentonite
    Approximately -                                                          grout
    1 foot unless
    conditions
    dictate                                                • Approximately 10 feet
    otherwise                                                overtop between tubes

                                                  4- inch diameter
                                                  stainless steel
                                                  driven into formation




                                                           '3-5 fett Bentonite or
                                                            Cement-Sentonite grout


                      SAND

                      CUXY/SILT



                                                                                                            Figure
                                                  Neutron Access Tube Schematic. Design
   € N V I R ON                                   Technical Memorandum 10—4
                                                  McColl Site, Fullerton. California                         1
   Counsel in Health and Env*"onm«nld Scitnce

   Drafter: RS            Date: 6/9/9*          Contract Number 03-3493M             Approved:        Revised:       t

                                                  Exhibit 39
                                                    5561
( J B / _ U / ¥-i


    Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 531 of 730 Page ID
                                      #:5605



                                                                                                      >     Vault 9ox                                   1

                                  4"—£* Clearance -i                                        .X            p1"— 2"

                                                                   ^
                                                                         t|^f.:
                            f               +                                               P?
                     1" (minimum)      6T (minimum)t                                        b^
                          I                                i
                                                »                                       d•*:.•
                                                                                                            ICT-ir <fiam«ter
                                                                                        +        4.         Steel Conductor Casing
                                                                                                            driven in «ith ARCH

                                                                                                           • Cement-8entonite Seal
                                                                                        s*
                                                                                                           .4-5" diameter PVC
                                                                                                                Co»i»9
                               ^erchija1 . Zone" of".* <".'"'•'.
                                Potential Concern •„•* \\: V"
                               "identified in ''.. •"•'../.."•...•''.;
                                           * ' " -
                                                                         •+•      *                                     ^—1 foot Mat into fin«
                                                                                                                          grained material

                    40' (maximum)                      i
                                              4' (minimum)                                                .Bentonite Pellet Seal

                                                       V                                                  • Very Fine-Grained Sand
                                                      I                                                   - CentraCzers
                                                                               SJS

                                                                                                          -filter Pack (extends V above screen)




                                                                                                          .4-5" diameter PVC Well Screen


                                                                                                          -2-1/2T diameter (minimum)
                                                                                                           Annular Space



                                        2' (minimum)                                                      • Silt Trap
                                                                                                           Bottom Cap
                                                                    WT TO
                           SANO

                           CLAY/SILT


                                                                          Monitoring Well With Conductor Casing                                  *»*•
           € N V I R ON                                                   Schematic Design
                                                                          McColl Site
          Caunsd in Health and Environmental Science                      Fullerton. California
     ^ Drafter WJN                  Oot«: 8/9/94                Contract Number 03-3493M                                  Approved:       Revised:



                                                                           Exhibit 39
                                                                             5562
 MK  * 4257"
  Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 532 of 730 Page ID
                                                        #:5606
                                     TECHNICAL MEMORANDUM NO.
                                         McColl SUPERFUND SITE

 SUBJECT:        Update to Groundwaier RJ/FS Work Plan                                          DATE:             June 9, 1994
                 Drilling Methods
                                                                                                TASK NO:          10

DESCRIPTION OF REQUIRED MODIFICATIONS:
Has Technical Memorandum (TM) modifies the Groundwater RI/FS Work Plan [Work Plan] (ENVIRON February 4.1994) to
 allow some flexibility m the drilling methods if necessary to achieve project objectives. The Work Plan specifies several drilling
methods to complete die field tasks: resonance soak (RS) or equivalent to drill the pilot borings for die neutron access Uifacs,
 mud rotary to drill die pQot borings far the regional aquifer monitoring wells, air rotary casing hammer (ARCH) to construct
the wdb and neutron access tubes, aad hoDow stem anger (HSA) to construct the perched zone monitoring wells. This TM
proposes that if RS drilling techniques are highly effective in drilling and sampling at the site, the mud rotary pilot holes for the
regional aquifer monitoring welk may be drilled using RS methods. RS driUing »«»VMfMg may also be attempted to install the
neutron probe access tubes. Conversely, if RS driUing techniques do not work as anticipated because of site-specific conditions,
HSA wiD be used to driD the pilot holes for the neutron access tubes. This TM also clarifies the Work Plan regarding pilot
borings at the monitoring well/neutron access tube nests at wells 7-3t> and P-SD. Instead of drilling two separate pilot barings
for the nested neutron acress tubes and monitoring wells, only one pilot boring is needed at each nest.

RATIONALE FOR REQUIRED MODIFICATIONS:
RS is a relatively new drilling method which we understand has had success in semi-consolidated alluvial and fluvial deposits sue
as those present at the McCott site. Advantages of RS include dry core which enables observation of perched water in the
vnsaturated zone, continuous syr^R. rapid drilling rates, a cased hole during drilling, and production of little or no enffings,
However, RS drilling is Pitfitt*? at the McColl site. If RS drilliag does not perform as anticipated, HSA drilling is proposed as
* contingency method. HSA method recovers dry core, continuously sample soils, and a conductor easing can be set to isolate
shallow zones during drilling if necessary (see TM 10-4); however, soil cuttings wfll be produced. HSA methods were used to '
drill to approximately 130 feet during previous driUing on the McColl site with a relatively smafl drill rig. Since RS and
equivalent driUing methods produce fitde or no cuttings, if successful they may be used instead of mud rotary for the deeper
regional aquifer pilot borings.

ENGINEERING MODIFICATIONS TO SUPPORT THE TECHNICAL MEMORANDUM:
Methods for all the drilling techniques were described in the original Groundwater RI/FS Work Plan.

POTENTIAL IMPACT ON SCHEDULE AND TECHNICAL FACTORS RESULTING FROM
MODIFICATIONS:
None.

POTENTIAL IMPACTS ON SCHEDULE AND TECHNICAL FACTORS IF NOT IMPLEMENTED:
if RS docs not work due to rite-specific conditions, there could be up to four weeks delay while contingency plans were
established. Otherwise, no other impact are anticipated.

AMENDMENTS TO QAPP AND SAP TO REFLECT MODIFICATIONS:
None

EFFECT THE APPROVAL TIME AND PROCESS WILL HAVE ON THE OVERALL RD SCHEDULE:
To avoid potential impacts to the schedule, approval is needed by June 15,1994.




RPM APPROVAL STATUS:
                                              DATE:

                                      Disapproved                    Additional Information Required


                                                        Exhibit 39
                                                          5563
         Case 2:91-cv-00589-CJC Document
                         TECHnICAL       677-7 Filed 07/10/20
                                     MEMORANDUM               Page 533 of 730 Page ID
                                                         NO._jiM_
                                           #:5607
                                            McCOLL SUPERFUND SITE

SUBJECT:           Update to Groundwater RI/FS Work Plan DATE:    June 23, 1994
                   Sampling and Analysis Plan
r                                                        TASK NO: 10

DESCRIPTION OF REQUIRED MODIFICATIONS: This Technical Memorandum (TM) updates the Sampling and Analysis Plan
(SAP) for the Groundwaier RI/FS Work Plan (the Work Plan] (ENVIRON February 4, 1994). This TM modifies Section A.4.2 of
the SAP to allow soil samples to be collected during resonant sonic (RS) coring without the use of core barret liners; soil samples will
be packaged for chemical testing following standard EPA procedures. Testing for moisture/density, permeability, and matric potential
will be completed on samples collected during construction of the neutron access tubes and wells rather nun during pilot hole drilling.


RATIONALE FOR REQUIRED MODIFICATIONS: During drilling of the first pilot hole of the Phase n driUing program, it
became evident that the RS coring consolidates the McColl site sediments very tightly into the sample liners, making it difficult to
extrude the samples. This unusual effect adds substantial time to the geologic logging activities. The liners were proposed in the Work
Plan to facilitate packaging the samples intended for physical and chemical testing. Because of the difficulty in using the liners, a
modification to this plan is needed. The chemical testing samples will be collected using other standard procedures. The samples
collected for moisture/density, matric potential and permeability testing will be collected during neutron probe access tube and well
installation using a sampler with liners.


ENGINEERING MODIFICATIONS TO SUPPORT THE TECHNICAL MEMORANDUM: Section A.2.2 of the Work Plan
indicates that samples will be selected for chemical testing based on field evidence of contamination. Instead of using liners, soil
samples will be removed from the unlined core barrel by cutting the soil core with a stainless steel knife (or equivalent) and placing
the sample into a 120 millilitcr glass jar with a Teflon liner and septum, in accordance with EPA's Contract Laboratory Protocol for
Laboratory Analysis OLM 1.8 and ILM 3.0. This procedure will allow the Work Plan objectives to be met. Sampling activities will
follow the other applicable procedures outlined in the Work Plan. The moisture/density and matric potential tests are intended to
provide background information to support the neutron probe monitoring; these samples will be collected using a lined split sampler
during installation of the neutron access tubes. The permeability tests are intended to support the conceptual hydrogeologic model for
    RI/FS; permeability samples using the procedures already outlined in the Work Plan will be collected from selected intervals during
well or neutron probe access tube installation. Samples collected for grain size analysis and Atterberg Limits testing will be collected
from the unlined RS core barrel.


POTENTIAL IMPACT ON SCHEDULE AND TECHNICAL FACTORS WHICH WOULD RESULT FROM
MODIFICATIONS: The modification will facilitate completion of the pilot borings on schedule. The revised procedures should not
impact the program's effectiveness in achieving the objectives of the Work Plan.


POTENTIAL IMPACTS ON SCHEDULE AND TECHNICAL FACTORS IF NOT IMPLEMENTED:
If not implemented, the pilot notes may take longer than currently scheduled. No other impacts wouid be anticipated.


AMENDMENTS TO QAPP AND SAP TO REFLECT MODIFICATIONS: This TM amends the SAP. The QAPP already provides
for the use of glass jars for chemical testing in accordance with the standard CLP methods.


EFFECT THE APPROVAL TIME AND PROCESS WILL HAVE ON THE OVERALL RD SCHEDULE: Because the RS pilot
hole drilling is in progress, we would like approval by June 27, 1994.




RPM APPROVAL STATUS:

                                               DATE:
             /
            Approved''                 Disapproved.                   Additional Information Required


                                                                 Exhibit 39
                                                                   5564
 Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 534 of 730 Page ID
                                   #:5608

                  UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                       REGION IX

                                75 Hawthorne Street
                            San Francisco, Ca. 94105-3901



 August 25, 1994



 Mr. K. W. Rogers, Project Coordinator
 McColl Site Group
 215 East Orangethorpe Avenue, Suite 304
 Fullerton, California 92632


 Subject:     McColl Superfund Site
              Task 10, Phase II - Technical Memorandum 10-7


Dear Mr. Rogers:
     Attached is Technical Memorandum 10-7 which you submitted to
the U.S. Environmental Protection Agency (USEPA) to update the
Groundwater RI/FS Work Plan (ENVIRON February 4, 1994). Under
the RPM Approval Status section, I have signed and dated the
Technical Memorandum providing USEPA's approval of the discussed
modifications.
     Please call if you have any questions regarding this letter
or USEPA's approval of the attached memorandum.
Sincerely,
  <*%?-/
  /X/Y-C/^'C,
 Michael K.
Remedial Project'Manager
Attachment
cc:    State of California
       Department of Toxic Substance Control
            Caroline Rudolph
      ICF Kaiser Engineers
            Melitta Rorty, R.G.
      Morrison Knudsen Corporation
            V. Trinoskey*'




                                                                  Printed on Recycled Paper



                                     Exhibit 39
                                       5565
                                      m ;NICAL MEMORANDUM NO.
          Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 535 of 730 Page ID
                                            #:5609
                                   McColl SUPERFUND       SITE

  jUBJECT:         Update to Groundwater RI/FS Workplan                                         DATE:            August 18, 199^
                   Drilling and Groundwater Grab Sampling
                                                                                               TASK NO:          10

  DESCRIPTION OF REQUIRED MODIFICATIONS:
  This Technical Memorandum (TM) updates the Groundwater RI/FS Work Plan (ENVIRON February 4, 1994) to include
  groundwater grab sampling using air rotary casing hammer drilling techniques. It also modifies the planned drilling depth of the
  deep pilot hole at well P-5D (pilot hole PH-4) to be approximately 200 feet instead of 350 feet.

  RATIONALE FOR REQUIRED MODIFICATIONS:
 Groundwater grab samples will be valuable to characterize the upper portion of the regional aquifer. near well P-5D. It will be
 attempted to collect groundwater samples from the first and second sands of the regional aquifer near well P-SD to evaluate the
 ground witci quality la these zones (depihs of approximately 170 and 155 feet). The first deep pilot hole drilled (PH-2)
 illustrated that the deeper geophysical logging data accurately reflect lithology of the regional aquifer. Because of this, it now
 appears that drilling deeper than 200 feet adjacent to well P-SD (pilot hole PH-4) will provide information which is largely
 redundant with existing information at the site.

 ENGINEERING MODIFICATIONS TO SUPPORT THE TECHNICAL MEMORANDUM:
  (1) Groundwater grab samples will be collected by setting a 2-inch PVC well screen and casing into a cased pilot hole drilled
. using air rotary casing hammer (ARCH) methods. The procedures for ARCH Drilling methods are described in the Sampling
  and Analysis Plan for the Work Plan (the SAP) in Section A.4.1 and the procedures for groundwater sampling will follow those
  described in Section A.4.1 of the SAP, except ARCH casing will be used instead of hollow stem augers. Level IV deliverables
  will be requested for the testing.

" ^2) The 350-foot deep boring at PH-2 verified the accuracy of the older geophysical logging data collected during drilling of thf
  300-foot boring for well P-3D. The geophysical logs for P-3D and P-5D are similar and extend to approximately 300 feet dee
  It is proposed that the pilot hole (PH-4) adjacent to well P-5D be stopped at 200 feet, and not continue to 350 feet as stated in
  the Work Plan. Between 152 and 200 feet soil drive samples would be collected at selected intervals to verify lithologic
  correlations from surrounding wells and borings to the geophysical data from P-5D. Further continuous coring would provide
 information which appears to be redundant with existing information.

 POTENTIAL IMPACT ON SCHEDULE AND TECHNICAL FACTORS FROM MODIFICATIONS:
 None


 POTENTIAL IMPACTS ON SCHEDULE AND TECHNICAL FACTORS IF NOT IMPLEMENTED:
 None

 AMENDMENTS TO QAPP AND SAP TO REFLECT MODIFICATIONS:
 None

 EFFECT THE APPROVAL TIME AND PROCESS WILL HAVE ON THE OVERALL RD SCHEDULE:
 Drilling has already commenced at boring PH-4. We have already received verbal approval from Mike Wolfram of EPA to
 collect the groundwater grab samples as outlined above. To assure that the EPA concurs with these plans, approval is requested
 by noon on August 22, 1994.

 RPM APPROVAL



                                                                          Additional Information Required

                                                             Exhibit 39
                                                               5566
 Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 536 of 730 Page ID
                                   #:5610

                 UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                       REGION IX

                                75 Hawthorne Street
                            San Francisco, Ca. 94105-3901



September 7, 1994


Mr. K. W. Rogers, Project Coordinator
McColl Site Group
215 East Orangethorpe Avenue, Suite 304
Fullerton, California 92632


Subject:     McColl Superfund Site                        i
             Task 10, Phase II - Technical Memorandum lO-ff"


Dear Mr. Rogers:
      Attached is Technical Memorandum 10-8 which you submitted to
 the U.S. Environmental Protection Agency (EPA) to update the
•Groundwater RI/FS Work Plan (ENVIRON February 4, 1994). Under
 the RPM Approval Status section, I have signed and dated the
 Technical Memorandum providing EPA's approval of the discussed
modifications.
    Regarding Technical Memorandum 10-9, the EPA has reviewed and
discussed with ENVIRON, revisions that must be incorporated prior
to EPA's approval of the Technical memorandum. The EPA is
currently anticipating resubmittal of the revised technical
memorandum, and will continue to coordinate the review process
with the McColl Site Group to help minimize and avoid potential
delays in field activities at the Site.
     Please call if you have any questions regarding this letter
or USEPA's approval of the attached memorandum.
Sincerely,


 fichael K. Wolfra;
'Remedial Project/Manager
Attachment



                                                                  Printed on Recycled Paper



                                     Exhibit 39
                                       5567
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 537 of 730 Page ID
                                  #:5611

                                     -2-

cc:   U.S. Environmental Protection Agency
            Michael M. Montgomery
      State of California
      Department of Toxic Substance Control
            Caroline Rudolph
      ICF Kaiser Engineers
            Melitta Rorty, R.G.
      Morrison Knudsen Corporation
            V. Trinoskey




                                   Exhibit 39
                                     5568
        Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 538 of 730 Page ID
                           TECHNICAL MEMORANDUM
                                          #:5612           NO. 10-8
                                             McColl SUPERFUND SITE

SUBJECT:         Update to Groundwater RI/FS Workplan                                        DATE:            August 31, 1994
r
                 Revised Locations for Pilot Holes PH-8 and PH-10
                                                                                             TASK NO:         10

DESCRIPTION OF REQUIRED MODIFICATIONS:
This Technical Memorandum (TM) updates the Groundwater RI/FS Work Plan (ENVIRON February 4,1994) to revise the
original, tentative locations of pilot holes PH-8 and PH-10.

RATIONALE FOR REQUIRED MODIFICATIONS:
The Work Plan indicates that the results of the pilot hole program may be used to modify the tentative locations of wells P-8D,
P-9D and P-10D, located to the south of the McColl site (Section 533). Field evidence and available laboratory data suggest
that chemicals are present in portions of the vadose zone b an area west of the line shown on Figure 1. As stated in the Work
Plan, PH-8, PH-9 and PH-10 are intended to provide stratigraphic and design information for the wells tentatively proposed at
these locations. The locations were selected because ICF Kaiser hypothesized that perched zones containing chemicals from the
McColl site (dipping southward 10 to 15 degrees) may intersect the regional aquifer in this area. Recent geophysical logging
                                                                                                     7
indicates that the regional dip is more southwesterly, rather than southerly.
                                                                                                      I
The locations of PH-8 and PH-10 are proposed to be moved west, so they are more Ukely to intersect the area where chemicals
may. migrate -from the McColl site (Figure 1). Alternative locations are also proposed, b the event that at PH-9 the perched
zones containing chemicals are present at a shallower depth than expected, indicating a shallower dip than anticipated. In this
event, borings PH-8 and PH-10 may be moved south to increase the likelihood of being b the area where perched groundwater
from the area of the McColl site may intersect the regional aquifer.

ENGINEERING MODIFICATIONS TO SUPPORT THE TECHNICAL MEMORANDUM:
     current results indicate that chemicals are present b portions of a discontinuous zone perched groundwater zone
approximately 120 - 140 feet deep (observed at PH-1, PH-2, PH-3 and PH-5). This perched zone appears to dip shallowly (six
degrees or less) to the southwest Because the area where the vadose zone appears to contain chemicals is west of the line on
Figure 1, it is proposed to relocate boreholes PH-8 and PH-10 to be more Ukely to intercept the zone containing chemicals, if
present. If a perched zone containing chemicals is present at a relatively shallow depth b the first borehole drilled to the south
(PH-9) of the McColl site, this will confirm that the dip of the perched zone is shallower that expected when the Work Plan was
developed. Pilot holes PH-8 and PH-10 will be drilled further the south to attempt to find where the perched zone may intersect
the regional aquifer (if it does). Figure 1 shows approximate area of the alternative locations.

POTENTIAL IMPACT ON SCHEDULE AND TECHNICAL FACTORS FROM MODIFICATIONS:
If approved, no schedule impact.

POTENTIAL IMPACTS ON SCHEDULE AND TECHNICAL FACTORS IF NOT IMPLEMENTED:
If not implemented, delays could result while borehole locations are discussed. If the locations are not adjusted, driUing may be
completed at locations which do not help meet the project objectives.

AMENDMENTS TO QAPP AND SAP TO REFLECT MODIFICATIONS:
None

EFFECT THE APPROVAL TIME AND PROCESS WILL HAVE ON THE OVERALL RD SCHEDULE:
Drilling began at boring PH-9 August 31,1994. To prevent downtime between boreholes, approval is requested by noon on
September 6, 1994.
                                                                                                             RPM APPROVAL
rTATUS:
          ?//%6-)^^                      DATE:

                                   Disapproved         '     Additional Information Required
                                                           Exhibit 39
                                                             5569
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 539 of 730 Page ID
                                  #:5613




                                   Exhibit 39
                                     5570
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                                  #:5614
              UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                   REGION IX
                             75 Hawthorne Street
                         San Francisco, CA 94105-3901



                            September 15, 1994


 Mr. K. W. Rogers, Project Coordinator
 Shell Oil Company
 511 Brookhurst Street
 Anaheim, California 92801


 RE:   McColl Superfund Site
       Task IO. Phase II - Technical Memorandum 1O-9 dated 9/7/94


Dear Mr. Rogers:
     Attached is Technical Memorandum 10-9 which you submitted to
the U.S. Environmental Protection Agency (EPA) to update the
Groundwater RI/FS Work Plan (ENVIRON February 4, 1994). Under
the RPM Approval Status section, I have signed and dated the
Technical Memorandum providing EPA's approval of the discussed
modifications. However, EPA is concerned about the intent of the
"Potential Impact on Schedule and Technical Factors From
Modifications" section of the Technical Memorandum.
    Specifically, the ERA is concerned that the McColl Site Group
(MSG) could be considering the elimination of off-site deep wells
based upon quarterly groundwater monitoring data. This concern
is based upon the wording in the third sentence of the above
referenced section which reads "Deep well construction could
begin approximately October 10, 1994 and be completed by November
16, 1994 pending anv necessary results of the quarterly
monitoring program and approval of the TM's related to design of
the deep wells". While EPA considers it technically prudent to
evaluate the results of quarterly groundwater sampling to ensure
that the screened intervals of the deep wells achieve project
objectives, EPA maintains that downgradient, off-site wells at
the PH-8, PH-9 and PH-10 locations are necessary to evaluate the
groundwater at the probable intersection of the dipping
stratigraphic units and the deep regional aquifer. While the
data collected at the site indicate a vertical component of water
flow in the vadose zone beneath the Site. Low permeability units
appear to act as a barrier which may force the water to flow
laterally in a generally down dip direction. Based upon this
occurrence, the above discussed well locations, at the

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                                    Exhibit 39
                                      5571
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                                  #:5615


                                      -2-
intersection of the dipping units and the regional aquifer, are
unique and vital for the groundwater investigation data, and
necessary to support the decision for final action on groundwater
at the site.
     I hope that the above discussion is helpful in MSG's
continued evaluation and scheduling of Phase II groundwater
activities. Please call me at 415/744-2189 if you have any
questions regarding this letter or EPA's approval of the attached
memorandum.
Sincerely,


         K. Wolfram
  smedial Project Manager

Attachment
cc:    U.S. Environmental Protection Agency
             Michael M. Montgomery
       Department of Toxic Substance Control
             Caroline Rudolph
       ICF Kaiser Engineers
             Melitta Rorty, R.G.
       Shell Oil
             Al Hendricker
       Morrison Knudsen Corporation
             V. Trinoskey
       ENVIRON
             Sandra Maxfield




                                   Exhibit 39
                                     5572
              Case 2:91-cv-00589-CJC Document MEMORANDUM
                                 TECHNICAL    677-7 Filed 07/10/20NO.
                                                                   Page  542 of 730 Page ID
                                                                      10-9
                                                #:5616
                                       McColl SUPERFUND SITE
SUBJECT:                Update to Groundwater RI/FS Workplan                                  DATE:            September 7,1994
                                                                                                        •
                        Phased Approach to Drilling Pilot Holes PH-8, PH-9, PH-10, and
                        Constructing Wells P-3L, P-5L, P-8D, P-9D, and P-10D       TASK NO:                    10

DESCRIPTION OF REQUIRED MODIFICATIONS:
     This Technical Memorandum (TM) updates the Groundwater RI/FS Work Plan (ENVIRON February 4,1994) to propose
two separate phases of drilling at the deep well locations, including (1) the drilling of the remaining deep pilot holes (PH-8, PH-
9, and PH-10) and (2) the subsequent construction of the deep wells. The Work Plan lists the deep wells as wells P-3L, P-5L, P-
8D, P-9D, and P-10D.

RATIONALE FOR REQUIRED MODIFICATIONS:
     This TM addresses an option provided b the Work Plan regarding modification of the tentative locations of the deep wells
based on the results of the pilot hole program. This option (slightly modified) is recommended because the results of the field
investigation to date present four new on-site finding? which effect the location and design of the deep wells: (1) Field evidence
and available laboratory data suggest that chemicals are present b portions of the vadose zone to the west of Fairgreen Drive,
(2) the perched zones may dip southwesterly at an approximate dip of 6 degrees, rather than southward at 10 to 15 degrees, (3)
a thin moist to saturated sand unit immediately underlying the "marker* clay bed which potentially contains chemicals has been
observed at PH-2, PH-3, and PH-4, and (4) the discrete sand units underlying the "marker* clay appear continuous. These
investigative findings refine the conceptual hydrogeological model presented b the Work Plan, and indicate the location and the
screened intervals of the deep wells as originally proposed may not achieve the project objectives. The results of pilot holes PH-
8, PH-9, and PH-10 would provide off-site information necessary to refine the location and design of the deep wells.

ENGINEERING MODIFICATIONS TO SUPPORT THE TECHNICAL MEMORANDUM:
    The deep well locations and screened intervals will be based on all the results of the deep pilot holes (PH-2, PH-4, PH-8,
^H-9, and PH-10).

POTENTIAL IMPACT ON SCHEDULE AND TECHNICAL FACTORS FROM MODIFICATIONS:
      If approved, the air rotary casing hammer (ARCH) rig, which is necessary for well installation, will be demobilized until
after completion of the pilot hole program. The pilot hole program is projected to be completed by September 20,1994. Deep
well construction could begin approximately October 10,1994 and be completed by November 16,1994, pending any necessary
results of the quarterly monitoring program and approval of the TM's related to design of the deep wells.
      Additionally, this approach will affect the first quarter monitoring schedule. The first round of sampling is proposed to
begin b September 1994. The deep wells would not be sampled at this tune, but could be sampled before the end of 1994, and
therefore within the three-month first quarter sampling period.

POTENTIAL IMPACTS ON SCHEDULE AND TECHNICAL FACTORS IF NOT IMPLEMENTED:
      If not implemented, the location and screened intervals of the deep wells may not meet project objectives. The deep well
installation would be completed by the end of October 1994 if this phased approach was not approved. The end of October 1994
completion date represents a delay of approximately four weeks from the date projected b the Work Plan. This delay is a result
of difficulties encountered b the pilot hole program.

AMENDMENTS TO QAPP AND SAP TO REFLECT MODIFICATIONS:
     None.

EFFECT THE APPROVAL TIME AND PROCESS WILL HAVE ON THE OVERALL RD SCHEDULE:
     Drilling will commence at boring PH-9 August 30,1994. To assure elimination of any downtime between boreholes,
approval is requested by noon on September 8, 1994.
                c
                     "N                                                                                RPM APPROVAL

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                                          DATE: Cl/IS'n4-
                                              ^^^MM_>MK_M«..^_IH_«aB_^_M.^




               Approved      /        Disapproved      Additional Information Required

                                                                             Exhibit 39
                                                                               5573
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 543 of 730 Page ID
                                  #:5617
             UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                  REGION IX
                            75 Hawthorne Street
                        San Francisco, CA 94105-3901




                           September 19, 1994


Mr. K. W. Rogers, Project Coordinator
Shell Oil Company
511 Brookhurst Street
Anaheim, California 92801


RE:   McColl Superfund Site
      Task IO. Phase II - Technical Memoranda 1O-10 and 1O-11


Dear Mr. Rogers:                              •*   -
     Attached are Technical Memoranda (TM) 10-10 and 1O-11 which
you submitted to the U.S. Environmental Protection Agency (EPA)
to update the Groundwater RI/FS Work Plan (ENVIRON February 4,
1994). Under the RPM Approval Status sections, I have signed and
dated the Technical Memoranda providing EPA's approval of the
proposed modifications and updates.
     In anticipation of community interest, the EPA requests your
anticipated schedule for installation of the shallow wells
described in Technical Memorandum 1O-1O. Of particular
importance is the date of remobilization and estimated duration
at the P-5I location. Your prompt attention to this matter will
enable EPA to coordinate with the community in an attempt to
minimize problems during this mobilization.
     Please call me at 415/744-2189 if you have any questions
regarding this letter or EPA's approval of the attached
memoranda.


Sincerely,


Michael K. Wolfram
ifemedial Project Manager
Attachment
                                                                Printed on Recycled Paper




                                     Exhibit 39
                                       5574
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 544 of 730 Page ID
                                  #:5618


                                      -2-

cc:    U.S. Environmental Protection Agency
             Michael M. Montgomery
       Department of Toxic Substance Control
             Caroline Rudolph
       ICF Kaiser Engineers
             Melitta Rorty, R.G.
       Shell Oil
             Al Hendricker
       Morrison Knudsen Corporation
             V, Trinoskey
       ENVIRON
              Sandra Maxfield




                                   Exhibit 39
                                     5575
            Case 2:91-cv-00589-CJC Document 677-7
                                TECHNICAL         Filed 07/10/20NO.
                                            MEMORANDUM           Page 545 of 730 Page ID
                                                                    10-10
                                              #:5619
                                                  McColl SUPERFUND SITE
    SUBJECT:           Update to Groundwater RI/FS Workplan                                       DATE:           September 12, 1994

                       Location and Design of Four Shallow Zone Wells                            TASK NO:         10

    DESCRIPTION OF REQUIRED MODIFICATIONS:
         This Technical Memorandum (TM) provides information required by the Work Plan, regarding the location and design of
    four proposed shallow zone wells (labeled P-2S, P-21, P-41, and P51 b Figure 1). As specified on page 5-4 of the Groundwater
    RI/FS Work Plan (ENVIRON February 4, 1994), "up to four permanent shallow monitoring wells will be drilled and installed
    south of the McColl site, b the area where evidence of chemicals potentially origbating from the McColl sumps (sic) is
    apparent, to provide information on the direction and rate of groundwater and chemical migration, and to allow long-term
    monitoring for migration of chemicals after the site is dosed.*

    RATIONALE FOR REQUIRED MODIFICATIONS:
           Preliminary CPT results, boring logs and chemical results for pilot holes PH-1 through PH-7 have been reviewed to provide
    the basis for this TM. As stated previously b the Task 10, Phase I report (ENVIRON May 19, 1994) shallow monitoring wells
    would be considered for units above the "marker" day which were considered saturated, coarse-grained, and b which chemicals
    potentially associated with the McColl sumps were detected during the Task 10 field program. As previously stated b the Phase
    I report, one shallow monitoring well (labeled P-2S b Figure 1) should be installed b the shallow sands which yielded the CPT-
    VI 1 BAT sample (approximately 23 feet below ground surface (bgs)). This was near PH-2, and was the only CPT location
    which yielded enough water to fill sample bottles. Thiophene compounds were detected b this CPT-V11 groundwater sample.
          Three additional shallow zone monitoring wells are recommended to monitor a silty sand perched zone which is located
    below the sand monitored by proposed well P-2S as well as below existing wells P-3S and P-5S, and above the 'marker* day.
    These three shallow wells are spaced along the southernmost site boundary, and bdude (i) a second shallow zone well (labeled
    P-21 b Figure 1) near PH-2, (ii) a shallow zone well (labeled P-41 on Figure 1) near PH-3, and (Hi) a shallow zone well labeled
    P-5I b Figure 1) near PH-4.
          Proposed well P-21 should monitor the silty sand interval extending approximately from 126 to 135 feet bgs. The boring log
    for PH-2 indicated saturated conditions for this interval, and thiophene compounds were detected b a soil sample retrieved at
    128 J feet bgs. Review of boring logs for pilot holes along this southern site boundary indicates the saturated silty sand unit
    proposed to be monitored by well P-21 may continue east along the southern site boundary. Well P-41 is also proposed to
    monitor this silty sand unit (115 to 125 feet bgs). The boring log for PH-3 indicated saturated conditions for the proposed
    location of P-41, and thiophene compounds were detected b a soil sample retrieved at 119.4 feet bgs. Well P-5I is proposed to
    monitor the easternmost extent of saturated conditions and of chemicals origbating from the McColl sumps within this silty sand
    'interval along the southern boundary of the site. The boring log for PH-4 (located adjacent to the proposed location of well P-
    51) indicated wet conditions for this silty sand interval; however, no odors or physical evidence of chemicals were noted during
    drilling.
    ENGINEERING MODIFICATIONS TO SUPPORT THE TECHNICAL MEMORANDUM:
    None. This TM is consistent with the Work Plan.
    POTENTL4L IMPACT ON SCHEDULE AND TECHNICAL FACTORS FROM MODIFICATIONS:
    If approved, the construction of these 'four shallow wells would be scheduled, as feasible, immediately following completion of
    pilot holes PH-8, PH-9, and PH-10. Therefore, the construction of these wells could begin as early as September 21, 1994.
    POTENTIAL IMPACTS ON SCHEDULE AND TECHNICAL FACTORS IF NOT IMPLEMENTED:
    If not implemented, delays could result while locations for the shallow zone wells are discussed.
    AMENDMENTS TO QAPP AND SAP TO REFLECT MODIFICATIONS:
    None.
    EFFECT THE APPROVAL TIME AND PROCESS WILL HAVE ON THE OVERALL RD SCHEDULE:
    To date, pilot hole PH-9 has been completed, and pilot hole PH-8 has begun. Approval is requested at least three days prior to
    the completion of pilot hole PH-10 so that construction materials may be ordered, and the auger rig can then begin construction
    of the first shallow zone well immediately following completion of PH-10. Therefore, approval is requested by September 20,
    1994.                   _^^
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                                                                  #:5620




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                                                                                                      PH-2                    P-3L
                                                                                                      Pll-3                   P-41
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                                                                                                      PlI-S
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                                                                                                                   Fullcrlon, California

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                                                                          Exhibit 39                                  RS
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            Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 547 of 730 Page ID
                                TECHNICAL MEMORANDUM
                                              #:5621            NO. 10-11
                                          McColl SUPERFUND SITE
    SUBJECT:         Update to Groundwater RI/FS Workplan                                         DATE:            September 12,1994
                     Recommendation to Not Perform the Neutron Log Monitoring Program                              TASK NO:         10


    DESCRIPTION OF REQUIRED MODIFICATIONS:
          This Technical Memorandum (TM) recommends the neutron access tube installation and monitoring program introduced in
    the Task 10 Ground Water RI/FS Work Plan (ENVIRON February 4,1994) not be performed. The Work Plan stated *if the
    initial chemical screening of soils from the RS corings identify chemicals potentially originating from the McColl sumps (sic) that
    are not saturated, these zones could have resulted from historic migration during a time when the McColl site was more
    conducive to rainfall recharge and infiltration, or alternately could represent seasonal zones that are saturated only during
    portions of the wettest years. A neutron logging technique is proposed to allow monitoring of soil moisture conditions in the
    deeper vadose zone (beneath the previously identified shallow perched zone) south (downdip) of the McColl site during the RI
    field investigation activities to determine whether seasonal perched zones are present* At the time this Work Plan was written
    (based on the results of previous boring programs), obvious perched units with physical evidence of chemicals potentially
    originating from the sumps was not anticipated.

    RATIONALE FOR REQUIRED MODIFICATIONS:
         The RS boring program and findings to date have indicated the presence perched units, which are deeper than previously
    identified, within the vadose zone to the south and southwest of the McColl site. At least one of these deeper perched units
    exhibits the potential for artesian water pressure. This deeper, possibly artesian, perched unit exhibits odors, and chemicals
    potentially originating from the McColl sumps have been detected from soil samples within this unit Other perched units were
    detected to the north and east; however with the exception of PH-5, there has been no evidence of chemicals which potentially
    have originated from the McColl sumps. Well W-8A monitors the interval of the deeper perched unit at the PH-S location.
         To date, no chemicals have been detected in the vadose zone other than in saturated sands containing perched ground
    water. Neutron log monitoring was proposed to monitor moist, but unsaturated zones that may contain chemicals from the
t   McColl sumps. The neutron log monitors the moisture level in soil, but cannot measure water pressure. Once the soil becomes
    saturated, the neutron log would not indicate any subsequent change in artesian pressure as water drains or fills these perched
    zones over seasonal water cycles. The shallow zone wells proposed in TM 10-10 better serve this purpose.
         Given the thickness and artesian pressures in the deep perched zones observed during the RS drilling program, neutron
    logging would not produce useful information that would be indicative of any recent seasonal recharging by infiltration or
    drainage of these perched units. This was the purpose proposed in the Work Plan for neutron logging. Therefore, neutron
    access tubes do not appear to be a suitable monitoring strategy for the vadose zone, and should not be installed. Additionally,
    the soil testing planned to support the neutron logging is not needed (moisture/density testing and matric potential).

    ENGINEERING MODIFICATIONS TO SUPPORT THE TECHNICAL MEMORANDUM:
    No neutron access tubes would be installed or monitored.
    POTENTIAL IMPACT ON SCHEDULE AND TECHNICAL FACTORS FROM MODIFICATIONS:
    None.
    POTENTIAL IMPACTS ON SCHEDULE AND TECHNICAL FACTORS IF NOT IMPLEMENTED:
    None.
    AMENDMENTS TO QAPP AND SAP TO REFLECT MODIFICATIONS:
    Delete references to moisture and density testing, as well as matric potential.
    EFFECT THE APPROVAL TIME AND PROCESS WILL HAVE ON THE OVERALL RD SCHEDULE:
    Approval is requested fay September 20, 1994.
                                                                                                                  RPM APPROVAL
                                                    -//•-
                                            DATE:
     i ^f^ Approved           /         Disapproved / •'' Additional Information Required




                                                               Exhibit 39
                                                                 5578
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 548 of 730 Page ID
                                  #:5622
              UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                   REGION IX
                             75 Hawthorne Street
                         San Francisco, CA 94105-3901




                               October 3, 1994


 Mr. K. W. Rogers, Project Coordinator
 Shell Oil Company
 511 Brookhurst Street
 Anaheim, California 92801


 RE:    McColl Superfund Site
        Task IO. Phase II ~ Technical Memoranda 10—12 and IO—13


 Dear Mr. Rogers:
      The Environmental Protection Agency (EPA) has reviewed
 Technical Memoranda 10-12 and 1O-13 which update the Groundwater
 RI/FS Work Plan (ENVIRON February 4, 1994). Under the RPM
 Approval Status section, I have signed and dated the Technical
 Memoranda providing EPA's approval of the modifications to the
 workplan.
      The EPA appreciates the McColl Site Groups cooperation in
 preparing Technical Memorandum 10-12 in response to EPA's request
 for the construction of a replacement well for P-2D. Please
 continue to call me at 415/744-2189 if field conditions require
 additional modification to the workplan or technical memoranda.


 Sincerely,


richael K. Wolfram
Remedial Project Manager
Attachments (2)




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                                     Exhibit 39
                                       5579
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 549 of 730 Page ID
                                  #:5623

                                     -2-
cc:   U.S. Environmental Protection Agency
            Michael M. Montgomery
      Department of Toxic Substance Control
            Caroline Rudolph
      ICF Kaiser Engineers .
            Melitta Rorty, R.G.
      Shell Oil
            Al Hendricker
      Morrison Knudsen Corporation
            V. Trinoskey
      ENVIRON
            Sandra Maxfield




                                   Exhibit 39
                                     5580
         Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 550 of 730 Page ID
                                           #:5624
                                    TECHNICAL MEMORANDUM NO. Kbl2
                                         McColl SUPERFUND SITE

                  Update to Groundwater RI/FS Workplan                                           DATE:            September 3Q
                  Abaadonmeat and Replacemeat of Existing Well P-2D (Revised)
                                                                          TASK NO:                                10
DESCRIPTION OF REQUIRED MODIFICATIONS:
This Technical Memorandum (TM) modifies the Groundwater RI/FS Work Plan (ENVIRON February 4,1994) to include the
task of constructing the replacement (twin) well to well P-2D approximately 30 feet upgndwnt of the existing well, and to
abandon the existing well P-2D.

RATIONALE FOR REQUIRED MODIFICATIONS:
In a letter dated September 12,1994, the U.S. Environmental Protection Agency (EPA) formsUly requested that the McColi Site
Group (MSG) install a groundwaier monitoring well approximately 30 feet northeast (upgradient) of well P-2D. The purpose of
this well as stated in the letter was to determine whether constituents identified in previous groundwater investigations of well P-
2D is representative of constituents in the deep regional aquifer, or are present as * result of cross contamination from improper
well construction activities.

ENGINEERING MODIFICATIONS TO SUPPORT THE TECHNICAL MEMORANDUM:
The replacement (twin) wdl will be constructed in accordance with the procedures set forth in Section 8 of Appendix D "Drilling
Specifications* in the Work Plan. However, driUing may be accomplished with a percussion hammer drilling methodology
instead of air rotary casing hummer, as described in Technical Memorandum No. 10-12/The well will be installed approximately
30 feet northeast (upgradient) of the existing well P-2D. The well will be screened in the sand unit common with wells P-3D
 nd P-4D, avoiding the thin silty sand unit immediately below the 'marker* clay. Based on the recent geophysical results at well
  -2D. the screened interval may extend from 210 to 220 feet below the existing ground surface. However, the length of screen
w>d the top and bottom elevations of the screen will be determined based on cuttbgs or on soil samples while drilling this
interval. Triple-wall pipe may be used where there is a possibility of cross contamination with the dual-pipe approach.
Particular attention will be paid to maintaining an appropriate teal through the thin silty sand unit potentially present
immediately below the 'marker* clay (approximate depth of 205 feet below ground surface).

The existing well P-2D will be abandoned following construction of twin well P-2D. The abandonment will be performed in
accordance with the procedures set forth in Section 11'of the Work Plan.

POTENTIAL IMPACT ON SCHEDULE AND TECHNICAL FACTORS FROM MODIFICATIONS:
None.

POTENTIAL IMPACTS ON SCHEDULE AND TECHNICAL FACTORS IF NOT IMPLEMENTED:
If the (win well P-2D is not constructed, it would be difficult to determine if the constituents identified in the existing well P-2D
are representative of the regional aquifer.

AMENDMENTS TO QAPP AND SAP TO REFLECT MODIFICATIONS:
None

EFFECT THE APPROVAL TIME AND PROCESS WILL HAVE ON THE OVERALL RJ) SCHEDULE:
To avoid delay in the proposed project schedule and begin work the week of October 3. 1994, approval is requested by noon
October 3,1994.

        APPROVA

                                               DATE:

            Approved         /         Disapproved            Exhibit 39   Additional Information Required
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             Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 551 of 730 Page ID
                                 TECHNICAL MEMORANDUM
                                               #:5625           NO. 10-13
                                                   McColt SUPERFUND SITE
r
.     SUBJECT:         Update to Groundwater RI/FS Workplan                                         DATE:             September 3Q>

                       Alternate Drilling Methods
                                                                                                   TASK NO:          10

     DESCRIPTION OF REQUIRED MODIFICATIONS:
     This Technical Memorandum (TM) modifies the Groundwaier RI/FS Work Plan (ENVIRON February 4,1994) to allow some
     flexibility in the well installation methodology if necessary to achieve project objectives and maintain the drilling schedule. The
     Work Plan specifies well installation by the air rotary casing hammer (ARCH) system and hollow stem auger (HSA) to construct
     the perched zone wells. This TM proposes that (i) in order to maintain the proposed well installation schedule, a reverse
     circulation dual-rube percussion rig (percussion hammer) may be substituted if an ARCH rig is not immediately available, and
     (ii) the single perched well which required conductor casing (P-21) he installed by percussion hammer.

     RATIONALE FOR REQUIRED MODIFICATIONS:
     An ARCH rig will not be available until mid- to late October 1994. Drilling of the perched wells (except P-21) with the auger
     rig is estimated to be completed by October 3. Design of wells P-2D and P-21 has been approved by EPA, and could be
     installed the week of October 3. The percussion hammer rig is available the week of October 3 and October 10,1994.

     ENGINEERING MODIFICATIONS TO SUPPORT THE TECHNICAL MEMORANDUM:
    The percussion hammer methodology U a technically appropriate substitute for the ARCH methodology. The percussion
    hammer driUing procedure uses an above-ground pile hammer, and the drill pipe (which does not rotate as in the ARCH
    methodology) is driven into the ground. The percussion action of the pile hammer advances the dual-wall pipe through the
    sediment. Compressed and filtered air circulates down the annulus area between the dual wall pipe to the bit, and then returns
- t o the surface with the cuttings. The borehole is drilled and temporarily cased in one pass. Because the drill pipe does not
    rotate, a tight seal is maintained during drilling. Permanent conductor casing is not set with this drilling methodology. If an
    additional seal beyond that achieved by the dual wall drill pipe is required, triple-wall drilling may be used. Triple-wall pipe is
    placed around a dual-wall drill string and all pipe is driven in one pass. Upper zones may be settled off by temporarily setting
    the outer casing At the desired interval. Cuttings are removed through the dual-wall system only.

     POTENTIAL IMPACT ON SCHEDULE AND TECHNICAL FACTORS FROM MODIFICATIONS:
     The proposed schedule could be better maintained if the percussion hammer rig could be substituted when the ARCH rig is
     unavailable.

     POTENTIAL IMPACTS ON SCHEDULE AND TECHNICAL FACTORS IF NOT IMPLEMENTED:
     There may be a 2 week delay in the well installation schedule if the well installations roust wait until an ARCH rig is available.

     AMENDMENTS TO QAPP AND SAP TO jKEFLECT MODIFICATIONS:
     None

     EFFECT THE APPROVAL TIME AND PROCESS WILL HAVE ON THE OVERALL RD SCHEDULE:
     In order to construct cwin well P-2D and perched zone well P-21 the week of October 3, 1994.approval is requested by noon
     October 3, 1994.




                                                    DATE:
                                            Disapproved                      Additional Information Required


                                                                Exhibit 39
                                                                  5582
 Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 552 of 730 Page ID
                                   #:5626
             UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                   REGION IX
                             75 Hawthorne Street
                         San Francisco, C A 94105-3901




                             October 12, 1994


Mr. K. W. Rogers, Project Coordinator
Shell Oil Company
511 Brookhurst Street
Anaheim, California 92801


RE:    McColl Superfund Site
       Task 10. Phase II — Technical Memorandum 1O-14


Dear Mr. Rogers:
     The Environmental Protection Agency (EPA) has reviewed
Technical Memorandum 10-14 which supplements the Groundwater
RI/FS Work Plan (ENVIRON February 4, 1994). Under the RPM
Approval Status section, I have signed and dated the Technical .,
Memorandum providing EPA's approval of well design and
construction details for groundwater monitoring wells P-9D and P-
1OD.
     Please call me at 415/744-2189 if field conditions require
any deviations from this Technical Memorandum.




 Tlchael K. Wolfram
/Remedial Project''Manager
Attachment




                                                                 Printed on Recycled Paper




                                      Exhibit 39
                                        5583
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 553 of 730 Page ID
                                  #:5627

cc:   U.S. Environmental Protection Agency
            Michael M. Montgomery
      Department of Toxic substance Control
            Caroline Rudolph
      ICF Kaiser Engineers
            Melitta Rorty, R.G.
      Shell Oil
            Al Hendricker
      Morrison Knudsen Corporation
            V. Trinoskey
      ENVIRON
            Sandra Maxfield




                                   Exhibit 39
                                     5584
        Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 554 of 730 Page ID
                                          #:5628
                            TECHNICAL MEMORANDUM           NO. 10-14
                                               McColl SUPERFUND SITE
 SUBJECT:         Update to Groundwater RI/FS Workplan                                         DATE:             October 7, 1994
                  Construction of Wells P-9D and P-10D
                                                                                               TASK NO:          10

 DESCRIPTION OF REQUIRED MODIFICATIONS:
      This Technical Memorandum (TM) is provided in support of the Groundwater RI/FS Work Plan (ENVIRON February 4,
 1994) in order to provide the construction details for the deep monitoring wells P-9D and P-10D proposed to be constructed in
 the regional ground water system, and located near the respective pilot holes PH-9 and PH-10.

 RATIONALE FOR REQUIRED MODIFICATIONS:
     In the Work Plan, three monitoring wells were proposed to be constructed south of the McColl site lo " further evaluate
the impact, if any, of potential pathways of chemical migration in perched zones migrating downdip within the deep vadose zone
south of the McColl site*, as theorized by ICF Kaiser in their 1993 document "Groundwater Operable Unit Data Evaluation and
Recommendations'. The screened interval and final design of these weDs were to be based on the interpretation of the
recovered corings from the three initial pilot borings (PH-8, PH-9, and PH-10) and subsequent geophysical logging of the
boreholes. This TM provides the design details for two of the proposed wells (P-9D and P-10D). The proposed third well (P-
8D) at the location near pilot hole PH-8 will be discussed in a subsequent TM, which also addresses proposed deep monitoring
wells P-3L and P-5L. The technical issues regarding the results of pilot hole FH-S are more closely related to proposedwell P-
3L and f-SL, than F-9D and P-10D. For this reason, PH-S is not discussed ID this TM.                                ~
ENGINEERING MODIFICATIONS TO SUPPORT THE TECHNICAL MEMORANDUM:
        Wells P-9D and P-10D will be constructed in accordance with the procedures set forth in Section 8 of Appendix D "Drilling
 Specifications' in the Work Plan. However, drilling may he accomplished with a percussion hammer drilling methodology
 instead of air rotary casing hammer, as described in TM 10-13. With the percussion hammer methodology, wells will be
 constructed within the inner 5-inch casing; therefore, centralizers will not be needed and the drill casing will be used as a tremie
 pipe.
.       Well P-9D will be installed adjacent to pilot hole PH-9 and will be screened in the sand unit immediately above (he
 'marker* clay unit, but within the regional ground water system. The geophysical results and boring logs indicate the well should
 be screened from approximately 210 to 230 feet below ground surface (bgs). Pilot hole PH-9 indicates the piezometric
 pressure of the regional ground water system at that location is at approximately 190 feet bgs. No physical evidence of
 contamination or no chemicals were detected from soil samples collected at PH-9; therefore, conductor Basing or triple-wail pipe
 is not necessary for this wed installation.
        Well F-10D will be installed adjacent to pilot hole PH-10, and wiD be screened in the sand unit immediately above the
 "marker* clay unit and in common with P-9D. This well will also be screened within the regional ground water system. During
 drilling of pilot hole PH-10, lubricating oil inadvertently dripped into the drilling mud pit necessitating stoppage of drilling at
 approximately 205 feet bgs. The pilot hole was immediately abandoned, presumably above the elevation of the "marker" clay.
 Geophysical logging could not be performed on boring PH-10. However, geologic cross-sections were developed which provided
 strong evidence of the hydrogcological conditions immediately above the 'marker* clay. The boring log results in combination
 with the geologic cross-sections indicate the well should be screened from approximately 187 to 197 feet below ground surface.
 Logging of that interval indicates wet to saturated conditions. No physical evidence of contamination or no chemicals were
 detected from soil samples collected above the sand unit proposed to be screened by P-IOL; therefore, conductor casing or
 triple-wall pipe is not proposed necessary for this well installation. Mild thiophene odors were noted during drilling within the
 sand unit proposed to be screened by P-10D.
POTENTIAL IMPACT ON SCHEDULE AND TECHNICAL FACTORS FROM MODIFICATIONS:
None
POTENTIAL IMPACTS ON SCHEDULE AND TECHNICAL FACTORS IF NOT IMPLEMENTED:
None
AMENDMENTS TO QAPP AND SAP TO REFLECT MODIFICATIONS:
None
EFFECT THE APPROVAL TIME AND PROCESS WILL HAVE ON THE OVERALL RD SCHEDULE:
To avoid delay in the proposed project schedule, approval is requested by the morning of October 11, 1994.


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SEM Case
     BY:ffsVIRO,\-DERYVILLE
           2:91-cv-00589-CJC JlO-21-84
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                                                         07/10/20 Page 555 of  419 5355:*
                                                                                   Page ID3/ 4
                                               #:5629
                        TECHNICAL MEMORANDUM NO.
                                McColl SUPERFUND SITE
  SUBJECT] Update to Groundwater RI/FS Workplan                                                  DATE:            October 21,1904
                   Construction of Well P-5L
                   Deletion of Wells ML and P-8D                                                                  TASK NO: 10
  DESCRIPTION OF REQUIRED MODIFICATIONS)
      This technical Memorandum (TM) it provided b wpport of the Groundwattr KI/FS Work Plan (ENVIRON February 4,
  1W4) in order to provide the coutrudkiB dcudk for the deep monitoring wdl F-5L to be located In a cUutcr with P-5S, MI.
  and P-5D. Thii TM also f t ovidcs the justification for dalatlot uf proposed w«Dt P-3L «ad P-8D (*c«r pRot bole PH-6) from Ihe
  Work Plan.

  RATIONALE FOR REQUIRED MODIFICATIONS;
         In the Work Plan, two deep monitoring well* (P*3L and P-5L) vert proposed to be netted with cabling wetts P«3D and P-
   5D, respectively. Pile* boring PH-2 Indicates that editing Well POP k screened b the first ooaiisteatly saturated caad (234 to
   248 feet bgs) in the regioail aquifer below the 'marker1' day, Proposed weB P«3L was to be terecntd in the aeeond conslfteatty
   tatuiated regional sand unit (275 to SJO feet bga) vAieh U below P-3D, and whlcfc U to eomwoo with P-SD. Thlophoic odors
   were ooted at PH-2 IB aa intermittently saturated thin silty «aod unit (2fl3 Ut 209 feet bgs) immediately beJow the "marker" day,
   and above the two eonsistcntiy saturated sand anils in tfce retpofcal aquifer (described at "fint* «nd 'second* regional MtUlt). Nn
   physical evidence (odors or eleveicd OVA readinje) of chemical* which haw potentially migrated (tarn the McCoD jump ar«»
   (herein, tlraply referred to U 'chenueal?*) was noted In tbcfC Rnt or itcnnd regk>aal saad vnita kt PH-2. Recent quarterly
  aamplinj at POD }nu indicated that fthoniiraU have not mi*r«ed to the flrtl re^oatl caad unit tt «W» loeatloa along the lite
  boundary.
        Pilot hole PH-4 indicate! well P-5D Is currently ttree&ed in the second eonactaotly Mturatetl rajfionol caad (233 to at least
  300 feet bp) bobw tie "ctirker' clay. Wen P-SL was proijowd to be Kreeoed k the first region*! Mod unit which it above
  Well P-SD (193 lo 198 feet bgit). The regional aad unit to bs screened by P-SL k In common with repliceraent well P'2D tad
  wditliig vrnlla P-3D ttnd P-4D. Thlopfccne componadi (taWl 1.33 ppm) were delected Ifl a ground water grab temple collected
  wUbtn the Intermiiteady Mturated thin sUty tend unit (164 to 17U feet bgs) ImmeiJitUjy below the "marker" city, btlMibovo the
  finl uod eeeoad reglooiJ «and mnHi. Ho physical ondeoce oCchooiieals wu noted In the two regional stnd unite below the
  'mar k6t* duty at PH-4.
       Additionally in the Work Plan, three monitoring welk were proposed to be evnstructed south of the MeCoU tile lo furtker
  evaluate die impact, if any, of potential pathway* of chemical migration ia perched lonas n%rating dowodij) within the deep
  vaJosc rone south of ibe MoCotl lite. The eaoened interval and final detign of these welk were to be ba*ed on the
  iaterpretttiou of the retuhit frvtn the three pilot borinp (PH-8, PK<9, and PH-Kf) ami subseqtieflt geophysical togglag of il«
  boreholu. TM 10-14 provided the design details for two of the proposed wells (T-9D and P-10D). The proposed third well (P-
  8D) *t tbv localion near pilot hnfc PH-8 U dtsouued in thli TM became the techoical iMties regardiog ckj result* of pilot hole
  PH-8 arc more closely related (o proposed well P<3L ud P-5L
       Pilot hole PH-8 was drilled to « total depth o( 250 feet PH-8 was drilled through the "murker' day, the intennkteotty
  saturated tMn s3«y sand unit below the "marker* day, tod into Ibe fust eoatbtcnUy catarated regional wed unit which appears lo
  correlate with replacement well P-2D, editing well* P-3D, P-4D, «od proposed well P-5L. No physicul erideuce of eberaicalt
  wos noted wbifc drilling this pilot hole.
       The quarterly groundwater sampling results for wells P-2D, P«3D, P-4D, P-5D and P-6D were ruihcd far anaiytes.
  Thiopttene eon» pounds were only detected in grouodwater collected from wed P-2D (4 ppb total). Methyfece eUotide was
  delected at very low concentrations (l to 3 ppb) in 12 the deep wells; however, methylcnc chloride w«s also detected in the field
  and trip Wank*, No other volatile organic compounds (VOCs) or tentatively identified compounds (TICs) were detected in
  groundweter bom P-5D and P-oT>. No other VOCs were deteoied in grouadwMcr from P-3D or P-4D; however, TlCs detected
  iacluJc an iwknowa hydrotarVon (7 ppb) and a substituted bettteee (8 ppb) at wdl F-3D, awl » substituted benzene (5 ppb) at
  wen P-4D, Those very low coflcualrations of teaHpumtified detocUcms of TIC* are not bcBovtd to bdicate liwt chemicals have
  ml|ratcd from the McColl cite to tfcc*t firsl and second rtjpctieJ tand

        Proposed wtfl P-5L » recommended to be constructed (o monitor the firm wnwteally saturated re^onal «fc&d unit (IfiS to
  198 feet bgs) uoderh/ing the "marker* clay. Chemicals were detected in u iatenoiuentiy saturated, thin sand immediately above
  this first regional «nd (1(4 to 170 feet bgs), ud well P-SL would twrve to moaicor poteotinl downward migration of chemicals,


                                                             Exhibit 39
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i-Ufc. LiWlKurnTcTTl OKI" .         iu«,.'.i<j*rj. ?^*J**                      CTG-T—z^ "
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SENT Case  2:91-cv-00589-CJC
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   Proposed well P-SL would complete the tine of monitoring weBi along the site boundary which monitor tor potential downward
   migration of chemical* b(0 the regional sand mite below the •marker' clay. Abe, (he hydraulic gradient between the first (P-
   5L) and second (P-5D) regional saocb could be ifloafcurcd at this duster,

       Proponed well F-3L li not recorameaded because data coBected to date indicate the downward migration of ehemicdt from
  the perched upper zonei to tte second regional taad unit underlying ihe "marker* day along the rite boundary U unlikely. No
  tniophcpe compound? have bean detected within thii secoad regional imd wait at PH-2 or k well P-5D. .Additionally,
  Oioptieae compounds within the Gnt regional saw! unit kave only been detected at die oqgfoal Well P-2D, whose eonctructfca b
  suspect The ooa&ung day and wU pwkagea between the first aad second regional sud uatU ndertyifig tke Viarker* eky are
  vwy thick (25 10 28 feet), aad would appear to limit cbcmical migration. la general, (bore appear* to be aa upward hydraulic
  gradient from (he second (P-5D 99AS feet MSL) to the Grat und unit (PUD 90.19 feet MSL). To be very conservative in
  approach, well P-5D k alrewdy moaitoriag tkk cecoM thick tuna unit along th» she boundary, flor theu rMsons, we feel the
  southern downgradieat site boundary k already effectively being monitored by rcpkceaneat well P«2D, ensttag wells P4Z>, P-4D.
  P-5D and proposed wefl P-5L Therefore, proposed well P-3L k not neeeMwy.

       ?jppo»ed well P-SD U abo not recommended becaiuw uppwUwt groundwatcr k being effectively moeilored by the deep
  (propfticd well P-SL and well P«5D) and shallow well system (P-5S aad P-51) b vpgradient locatkMU aloog Uc site boundary.
  Many welU haw beeo eonnmuted or proposed along tbi* southern «ite boundary a locations act showiog any evidence of
  chemical migration (P.3D, P-4D, P-51, P-5D, F-5L), The results of piiol hole PH-8 indicate there k no physical evidence of
  ebemiwJs in either the perched groundwater or toe deeper regional grou*4wa(er at tli* location. Well f-SD was proposed to
  monitor conditions where a dipping eoaumiaated perched zone encountered Uw regional groundwater above the *naarker* day.
  PM« bulc PH-8 ladlcatei Ous has not happened «t thb location. ChcmirnU have not been detected in the perched zones at plot
  bole PH-4 or IB tfce wdstfog shallow xone well P-SS opgradieot £raoa tte jwopoked locatfoo for P-4D. For these reasons, we do
  nor recommend weQ P«8D.
  ENGINEERING MODIFICATIONS TO SUPPORT THE TECHNICAL MEMORANDUM:
        Wen P-SL will be constructed ia accordance with the procedure* «?{ forth 2a Section g of Appendix D "Drfllbg
  Spcufejjtions* in the Work Plan. Well F.$L will be installed adjacent to P-5D and will be screened la the first saturated
  regional sane* unit below the "msrkcr* day unit, in eoouuoc wilh repktcemett well P»2D, aad existing welb P*3J? and P-4D. The
  geophysical rotnltt And boring logs indicate that wwll P-5L sbouM be screened bom approdmaloly 193 to 108 feel bgt.
  Conductor casing is accessary for this well Installation, since chcmieaU were delected io a groundwater sample el a depth of 170
  feet bgs b the thin «Qty saad unit immsdlately below dte "marker* day. Therefore, particular attention wiO he paid to
  mainteiaiflg ao appropriote seal whin driutag through that slty l&ni unit.
   POTENTIAL IMPACT ON SCHEDULE AND TECHNICAL FACTORS FROM MODIFICATIONS:
   None
   POTENTIAL IMPACTS ON SCHEDULE AND TECHNICAL FACTORS IF NOT IMPLEMENTED;
  None
  AMENDMENTS TO QAPP AND SAP TO REFLECT MODIFICATIONS:
  None
   EFFECT THE APPROVAL TIME AND PROCESS WILL HAVE ON THE OVERALL RD SCHEDULE:
  To avoid deity b tio proposed project schedule, approval U requeued by Tuesday October 25, 1994.

   RPM
       T>
       X      Approved"                Disapproved ______ Additional Information Required




                                                            Exhibit 39
                                                              5587
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 557 of 730 Page ID
                                  #:5631

                    UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                         REGION IX
                                  75 Hawthorne Street
                              San Francisco, Ca. 94105-3901



                              November 10, 1994


Mr. K. W. Rogers, Project Coordinator
Shell Oil Company
511 Brookhurst Street
Anaheim, California 92801


RE:         McColl Superfund Site
            Task IO. Phase II - Technical Memorandum 1O-16


Dear Mr. Rogers:
     The Environmental Protection Agency (EPA) has reviewed
Technical Memorandum 10-16 (TM) which supplements the Groundwater
RI/FS Work Plan (ENVIRON February 4, 1994). The EPA finds the TM
to be in accordance with previous discussions with the McColl
Site Group regarding the original aquifer testing proposal.
Therefore, under the RPM Approval Status section, I have signed
and dated the TM providing EPA's approval.
        Please call me at 415/744-2189 if you have any questions.


Sincerely,

      *e.    _y.
Michael K. Wolfram
'Remedial Project Manager
Attachment




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                                       Exhibit 39
                                         5588
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 558 of 730 Page ID
                                  #:5632

                                      -2-

 cc:   U.S. Environmental Protection Agency
             Michael M. Montgomery
       Department of Toxic Substance Control
             Caroline Rudolph
       ICF Kaiser Engineers
             Melitta Rorty, R.G.
       Shell Oil
             Al Hendricker
       Morrison Knudsen Corporation
             V. Trinoskey
       ENVIRON
               Sandra Maxfield




                                   Exhibit 39
                                     5589
            Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 559 of 730 Page ID
                               TECHNICAL MEMORANDUM
                                              #:5633           NO. 10-16
                                        McColl SUPERFUND SITE
    SUBJECT:        Update to Groundwater RI/FS Workplan                                       DATE:           November 4,1994
                    Deletion of Regional Aquifer Testing Program                              TASK NO:         10

    DESCRIPTION OF REQUIRED MODIFICATIONS:
         This Technical Memorandum (TM) modifies Section 53.1 of the Groundwater RI/FS Work Plan (ENVIRON February 4,
    1994) and proposes deletion of the aquifer pumping test programs for the regional aquifer at the P-3D/P-4D/P-5D well nests.
    As presented in TM 10-15, proposed well P-3L was deleted from the remedial investigation.

    RATIONALE FOR REQUIRED MODIFICATIONS:
         As presented on page 5-6 of the Work Plan, the aquifer pump test program was proposed to determine the degree of
    interconnection of water-bearing sands in the deep regional aquifer and the potential for vertical flow between individual sand
    units. Deletion of this aquifer testing program is recommended for two reasons. First, along the southernmost boundary of the
   site, thiophene compounds have been detected within a thin silty sand unit immediately below the "marker" clay, but above the
• first and second regional sand units. With the exception of the original well P-2D whose construction is suspect, no physical
   evidence (odors, elevated OVA readings, or chemical analyses of soil/groundwater samples) of chemicals which have potentially
   migrated from the McColl sump areas have been noted b the first or second sand units of the regional ground water system.
   The presence of thiophene compounds b the thin silty sand, but not b the first and second sand units of the regional aquifer
   indicate a lack of downward migration of chemicals. This information fufills one of the purposes of the aquifer testing program.
   Secondly, pumpage of the first or second sand units could increase the hydraulic gradient between this silty sand containing
   thiophene compounds and these lower sand units. We could be at risk for inducing downward migration of chemicals during the
   pump test period. For these two reasons, we recommend deletion of the regional aquifer testing program.

    ENGINEERING MODIFICATIONS TO SUPPORT THE TECHNICAL MEMORANDUM:
         Aquifer testing at the P-3D/P-4D/P-5D well nests will not be performed.

^    ^OTENTIAL IMPACT ON SCHEDULE AND TECHNICAL FACTORS FROM MODIFICATIONS:
'"""'None

    POTENTIAL IMPACTS ON SCHEDULE AND TECHNICAL FACTORS IF NOT IMPLEMENTED:
    None

    AMENDMENTS TO QAPP AND SAP TO REFLECT MODIFICATIONS:
    None

    EFFECT THE APPROVAL TIME AND PROCESS WILL HAVE ON THE OVERALL RD SCHEDULE:
    To avoid delay in the proposed project schedule, approval is requested by Thursday November 10,1994.


                                                DATE;,
                                        Disapproved         7      /       Additional Information Required




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               Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 560 of 730 Page ID
                                                 #:5634
                                   TECHNICAL MEMORANDUM NO. 10-17
                                           McColl SUPERFUND SITE
 (      UBJECT:        Update to Groundwater RI/FS Workplan      DATE:                                               December 5, 1994

                       Abandonment of Well P-2D
                       Replacement of Wells P-9D and P-5L                                          TASK NO:         10

      DESCRIPTION OF REQUIRED MODIFICATIONS:
           This Technical Memorandum (TM) supplements the Grourutwater RI/FS Work Plan (ENVIRON February 4, 1994) by
      providing additional *T>^r>nnn^"fl regarding t^*f p^nT^ tb*'"^WT''*''t' gf well P-2D, ««^ replacement of recently fC"tetrUftf4 weHs
      P-9D and P-SD. IB a letter to the McColl Site Group (MSG) EPA requested that well P-2D be abandoned by MSG during the
      remedial investigation (September 12, 1994).
           Recently installed weD P-SL failed when the heat generated during grout setup deformed the well casing, making it
      unusable. Wefl P-9JD was unusable as a monitoring well because grout effnt^mm^tfA thr maA* 0f rh* wclL To avoid other heat-
      of-hydraiioa well failures, ihe replacement wefls were grouted using a high-solids bentonite slurry, which is a minor modification
      to the wdl specifications presented in the RI/FS Work Plan.

      RATIONALE FOR REQUIRED MODIFICATIONS:
     See above.

     ENGINEERING MODIFICATIONS TO SUPPORT THE TECHNICAL MEMORANDUM:
   The available information regarding die construction of wdl P-2D is snmarized on tbr Bfti"^1^ Figure 1. When
   abandonment method for well P-2D, we considered the results from adjacent pilot hole PH-1. which was drilled doriag the
   recent remedial investigations. These results are shown schematically on an attached glrrtch. Two perched saturated or wet
   zone* wilh thippheBe odors were observed at depth intervals of appronsuidy 10 to 50 feet and 120 to 135 feet. Both of these
   zones were tmrlr.rlain by clay units. Additionally, in nearby pilot holes PH-2, PH-3 and PH-4 a thin sand unit with thiophene
     'JOTS was observed within a t*"tfr clay vrfmt^tri^y bcncaih the "marker clay.* The new g*mma Jog in weU P-2D indicates that
 ' -us sand below the "marker day* may be present at wdl P-2D at a depth of approximately 198 feet. In short, there are two,
V^Jd possbQy three saturated zones with duophenes odors observed above the saturated zone at wcH P-2D.
         WeU P-2D is in the process of being abandoned by having die borehole and casing drilled as described in the Work Plan.
  At ISO feet the drillers encountered stainless steel casing ftnrawl b die eement-beatoiute grout, and we estimated that it extends
   approximately 15 to 20 feet downward before die bentonite seal is encountered. This was not expected based on die information
  regarding the weJTs construction available from EPA's contractors. By sounding with a tremie pipe, the drillers have determinftd
  that the sta'"^s stff* <-?«»t>g jj pcy the very edge of the borehole and <?al, and is therefore impractical to driD out. We plan
  10 abandon the lower 50 feet of die weD by perforating die screen and die blank casing approximately ten feet above it. The
   mud wfll then be circulated to attempt to remove the sand pack that flows inlo the casing. The remaining casing and overlying
  ISO feet of die borehole will then be backfilled with a cement-bentonite grout. The method is further described in Section 11 of
  the drilling specifications, which were approved b their original form as Appendix D to die RI/FS Work Plan. The only
  difference between tiV^ approved specifications and the planned procedure is J^T f*v"b'tiat''>T' of tti^itmi^ «n^ \\^r-. inability to
  pressurize lie wdl pa-yng- However, an estimated 15,000 Ibs of grout wifl £31 the borehole overlying the casing, and will act to
  force grout duough the performations.
         Wells F-9D and P-5L were abandoned by pressure grouting, as outlined b Section 113 of the specifications. The method
  of abandonment conformed with the original approved specifications widi the one exception dial die top two feet of the well will
  be removed instead of the top five feet because of die potential to damage nearby utilities.
         Replacement weUs P-9D and P-5L were constructed using a higb-soKds bentonite grout (Volclay-rype). This type of grout
  conforms widi California Department of Water Resources and Orange County requirements.

     POTENTIAL IMPACT ON SCHEDULE AND TECHNICAL FACTORS FROM MODIFICATIONS:
     There may be minor incremental risk that abandonment is not as complete as driUing out the well; however, die ™«« zones of
     concern have already been drilled out and the potential zone of concern should be readily perforated and made accessible to the
      -out inSiratioii- We feel it is the best f?-Hb"'"*1 option and die mcremcntal risk appears to be minor.




                                                                  Exhibit 39
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POTENTIAL IMPACTS ON SCHEDULE AND TECHNICAL FACTORS IF NOT IMPLEMENTED:
  * this approach were not approved, there would be some risk of the boreiole caving as alternate methods were recvaluated.
.uving already explored die pnfr'-"*'''! alternatives for removing the casing and driffing om the borehole, we fed that drilling out
fj>» remainder of ib*« facing is not practical b this situation. If r^ partially abandoned wdl were left to reconsider
methods, caving of the borehole might make it difficult, or impossible, to abandon the bottom of die weU.

AMENDMENTS TO QAPP AND SAP TO REFLECT MODIFICATIONS:
None

EFFECT THE APPROVAL TTME AND PROCESS WILL HAVE ON THE OVERALL RD SCHEDULE:
Abandonment of wdb P-5L and P-9D wffl conform with (be spedficalions m the approved RI/FS Work Plan and thcce have
been completed. Abandonment of well P-2D is a slight variation on die specifications b die approved RI/FS Work Plan. Based
on Mike Wolfram's verbal concurrence to use a high solkls bentonite grout, replacement of wells P-SL and P-9D are completed,
To avoid delay in completing the abandonment, we request approval of die modified method of abandoning wdl P-ZD by the
&30 AM December 2, 1994.




                                             DATE: D A?/ 14

                                      Disapproved _                     Additional Information Required




                                                           Exhibit 39
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Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 562 of 730 Page ID
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         References:
          1. CH2M Hill, 1987. Finol Draft Croundwotgr Investigotion Report. MeColl Site. Fullerton. Colifornio. Prepared for U.S. EPA.
             September 24. 1987.
         2. ICF Technology, Inc. The MeColl Site. Fulterlon. California. Final Report. Croundwoter Operable Unit Data Evaluation ond
            Recommendations. Prepared for U.S. EPA. May 1993.

                                                                                                                                                                  Figure
                                                           P-2D Well Construction Diagram (Estimated)
      CNVIRON                                              McColl Site
                                                           Fullerton, California                                                                                   1
5820 Sheilmound St.. Suite 700. Emeryville. CA 94608

   Drafter: RS              Dote: 10/11/94                    Contract Number: 03-44938                                                   Approved:         Revised:
                                                                               Exhibit 39
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Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 563 of 730 Page ID
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€ N V I RO N
' Counsel in Health and Environmental Science
                                                                                    CONTRACT NO.
                                                                                    DATE
  5820 Sheilmound St.. Suite 700
                                                                                    BY
  Emeryville, California 94608
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 Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 564 of 730 Page ID
                                   #:5638
             UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                  REGION IX
                             75 Hawthorne Street
                         San Francisco, CA 94105-3901

                              April 18,            1995

                                                          MK * 4257
Mr. K. W. Rogers, Project Coordinator                     APR 2 4 1995
Shell Oil Company
511 Brookhurst street
Anaheim, California 92801


RE:    McColl Superfund Site
       Task IO. Phase II - Technical Memorandum 1O-18


Dear Mr. Rogers:
       Please find enclosed Technical Memorandum 1O-18 (TM) dated
April 6, 1995 which supplements the Groundwater RI/FS Work Plan
 (ENVIRON February 4, 1994). While the U.S. Environmental
Protection Agency (EPA) concurs with the need to perform
additional work, the EPA does not consider issues (i) and (ii) as
listed in the Rationale for Required Modifications section, to be
relevant justification for the studies outlined in the TM.
Therefore, I have drawn lines through items (i) and (ii)
representing deletion of these items and EPA modification of the
TM. I have signed page 2 of the TM providing EPA approval with
modifications.
      Please call me at 415/744-2189 if you have any questions.


Sincerel


  chael
 emedial Project/manager
Attachment




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                                      Exhibit 39
                                        5595
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 565 of 730 Page ID
                                  #:5639
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cc:    Department of Toxic Substance Control
             Caroline Rudolph
       ICF Kaiser Engineers
             Melitta Rorty, R.G.
       Shell Oil
             Al Hendricker
       Morrison Knudsen Corporation
             V. Trinoskey
       ENVIRON
              Sandra Maxfield




                                   Exhibit 39
                                     5596
                             TECHNICAL
          Case 2:91-cv-00589-CJC Document MEMORANDUM         NO.
                                          677-7 Filed 07/10/20   10-18
                                                               Page 566 of 730 Page ID
                                   McColl SUPERFUND
                                            #:5640        SITE
   SUBJECT:         Update to Groundwater RI/FS Workplan                        DATE:     April 6, 1995
                    Data Integration and Groundwater Interconnectability Study,
                    Extension of Deadline for "FS Technology"
                    and "Analysis of Alternatives" Documents                         TASK NO: 10


  DESCRIPTION OF REQUIRED MODIFICATIONS:
       This Technical Memorandum (TM) supplements the Groundwater RI/FS Work Plan (ENVIRON February 4,1994) by
  providing additional information regarding a "Data Integration and Groundwater Interconnectability" study, and a subsequent
  request for extension of the report deadlines for the following two documents: "FS Technology Report" and "Analysis of
  Alternatives Report".


  RATIONALE FOR REQUIRED MODIFICATIONS:
   A preliminary hydrogcological model of the McColl site has been developed based on the results of the Phase I and n field
   investigation. !T"" r "vrr. ( i f - m rnl liny rhnmiffd pnthnvny hniiri remain unnifinhTd T-hnnir unrfTtnhrid iiniifis inrludn 0 the chci
   pdUnvuj (If aujf) bciwcea OIL jump and the groundwater zone monitored by well P SL and (ii) the pathway (if any) faatweotuhg.
  •pefehed zone along the southern boundary of the MeColl aite and moaltui-aig will F-10D. Field data (i.e., boring logs,
  geophysical logs, detected chemicals, water levels) collected within these two areas do not integrate into a unique conceptual
  hydrogeological model of the site. Also, the detection of thiophenes in groundwater samples retrieved from wells screened
  within the deeper groundwater zone(s) (i.e., P-SL, P-10D) indicates the need to better understand the zonation of these deeper
  groundwater systems, and the potential (if any) for transport of chemicals to deeper regional groundwater systems which provide
  potable water to the Orange County Water District.
        For these reasons, a "Data Integration and Groundwater Interconnectability Study* will be undertaken to improve our
  understanding of these two uiu'malvcd issues based on existing data. This study will extend approximately a month, and will
  include collection and integration of the following additional data: (i) study of surficial geology for relevant stratigraphic and
  structural features, (ii) evaluation of inorganic geochemical fascies within perched, deep, and regional groundwater zones, (Hi)
  evaluation of regional aquifer and pumping data collected by the Orange County Water District and Los Angeles District of
  Power and Water, literature survey of regional hydrogeology, and discussions with adjacent park's paleontologist If key chemical
  pathway issues are still unresolved after this additional study, a workplan will be prepared recommending additional tasks
  intended to resolve these key issues. This workplan will be completed and submitted to the agencies by May 4,1995.


  ENGINEERING MODIFICATIONS TO SUPPORT THE TECHNICAL MEMORANDUM:
  None.


  POTENTIAL IMPACT ON SCHEDULE AND TECHNICAL FACTORS FROM MODIFICATIONS:
  The original due dates for the "FS Technology Report" which lists existing technologies (due April 11, 1995) and the Analysis of
  Alternatives Report" which analyzes technology alternatives (due May 23,1995) will need to be extended approximately one
  month. This extension is necessary in order to provide time to refine the conceptual hydrogeologic model of the site.
  Therefore, the "FS Technology Report" would be due May 18,1995 (one week after proposed agency meeting) and the "Analysis
  of Alternatives Report" would be due June 23, 1995.
                                                                                                         -s



  POTENTIAL IMPACTS ON SCHEDULE AND TECHNICAL FACTORS IF NOT IMPLEMENTED:
  Key chemical transport issues regarding the McColl site would remain unresolved. The initial two FS reports would be based on
  a very preliminary conceptual hydrogeologic model of the site.


vt-^*MENDMENTS TO QAPP AND SAP TO REFLECT MODIFICATIONS:
  None.


                                                                Exhibit 39
                                                                  5597
EFFECTCase 2:91-cv-00589-CJC
         THE  APPROVAL TIMEDocument 677-7 WILL
                             AND PROCESS  Filed 07/10/20
                                                HAVE ONPage
                                                         THE 567 of 730 RD
                                                             OVERALL    Page ID
                                                                           SCHEDULE:
None.                                 #:5641


RPM

BY;                                  DATE:
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          Approved            Disapproved                   Additional Information Required


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                                               Exhibit 39
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Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 568 of 730 Page ID
                                  #:5642
               UNITED STATES ENVIRONMENTAL PROTECTION AGENCY
                                   REGION IX
                             75 Hawthorne Street
                         San Francisco, CA 94105-3901


June 21, 1995

VIA FACSIMILE
K.W. Rogers, Project Coordinator
McColl Site Group
215 East Orangethorpe Avenue
Suite 304
Fullerton, California       92632


     RE:     Technical Memorandum No. 10-19

Dear Mr. Rogers:
      The U.S. Environmental Protection Agency (EPA) has received
 and reviewed Technical Memorandum 10-19 dated June 16, 1995.
 Based upon this review, the EPA has decided to separate the
.timeline provided on page 4, and approve Technical Memorandum 10-
 19 with the following conditions:
o    The time line provided on page four is deleted from this
     approval;
o    EPA shall be notified upon the collection of the hydropunch
     sample from the C flow zone;
o    MSG shall provide EPA either a verbal or written evaluation
     of analytical results and stratigraphy for the final
     determination of the screening interval. Either written or
     verbal EPA approval shall be obtained prior to screening
     well.
     If you have any questions regarding this letter, please call
me at 415/744-2189

Sincerely,

               £>jC>
 tchael K. Wolfiram
Remedial Project Manager
attachment

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                                     Exhibit 39
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Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 569 of 730 Page ID
                                  #:5643


                                      -2-



cc:   U.S. Environmental Protection Agency
              Michael Montgomery
      Department of Toxic Substance Control
              Kathleen Considine
              Caroline Rudolf
      Orange County
             Marina West
      ICF Kaiser Engineers
             Melitta Rorty, R.G.
      Shell Oil
             Lynton W.R. Dicks
             Al Hendricker
      ENVIRON
              Sandra Maxfield




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         Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 570 of 730 Page ID
                                           #:5644
                                   TECHNICAL MEMORANDUM NO. IfirlS
                                        McColl SUPERFUND SITE
 SUBJECT:        Update to Groundwater RI/FS Workplan                                       DATE:    June 16,1995
                 Location and Design of Monitoring Well P-IOL                               TASK NO: 10
                  ,                                                                                                               .
DESCRIPTION OF REQUIRED MODIFICATIONS:
     This Technical Memorandum (TM) provides information required by the Supplemental Work Plan (ENVIRON May 8,
1995), regarding the location and design of proposed monitoring well P-IOL. As specified oo page 3-1 of the Supplemental Work
Plan, monitoring well P-IOL is proposed to be constructed within the C flow unit, which presumably underlies the groundwater
zone screened by well P-10D (B flow unit). However, if there is physical or analytical evidence of chemicals which could have
potentially migrated from the McColl site to this C flow unit, monitoring well P-IOL will be constructed in the next deeper
groundwater zone, presumably the D groundwater Sow unit The enclosed Figure 1 presents the approximate location for
proposed weU P-IOL, located no greater than 100 feet from well P-10D, The exact location of well P-IOL will be determined
based on golf course requirements and drill rig mobility at the time of the drilling.

RATIONALE FOR REQUIRED MODIFICATIONS:
     Monitoring well P-IOL is proposed to be constructed in groundwater flow unit C for the following reasons:

     •     To investigate the piezometric pressure of the groundwater zone underlying well P-10D in order to verify weD P-10D is
           screened in flow unit B. Also to investigate the piezometric pressure difference between the B and C flow units at this
           location.

     •     To investigate whether thiophene compounds have migrated into groundwater zones deeper than the B flow unit at
           fhi< location.

     •    To monitor groundwater conditions immediately underlying groundwater flow unit B at well P-10D (which contains
          thiophene compounds at this location), and provide the earliest possible warning for the potential for downward
          migration of chemicals (if any) to the D flow unit Chemicals migrating downward (if any) from the B flow unit would
          have to pass through the C groundwater flow unit to reach the regional groundwater of the D flow unit.

If chemicals are discovered b the C flow unit underlying weD P-10D, monitoring well P-IOL is proposed to be constructed in
flow unit D rather than flow unit C for the following reasons:

     •    To investigate whether thiophene compounds have migrated into groundwater zones deeper than the C flow unit at
          this location, and at what concentrations.

     •    To investigate the piezometric pressure difference between the B and D flow unit at this location.

     •    To monitor grouadwater conditions within the D flow unit

In the Supplemental Work Plan, monitoring weD P-IOL was proposed to be constructed by air rotary casing hammer and
hydraulic mud rotary in accordance with the procedures set forth in Section 6 of Appendix D "Drilling Specifications* of the
original Task 10 Work Plan (ENVIRON February 4,1994). However, the earliest available date for a mud rotary and ARCH
rig was in late July 1995. In order to maintain the proposed schedules for the Remedial Investigation and Feasibility Study
deliverables, weS P-IOL is proposed to be drilled by a reverse circulation dual-tube percussion rig (percussion hammer) following
the methods discussed in approved Technical Memorandum (TM) No. 10*13. The percussion hammer rig is available June 26,
1995. As discussed in TM 10-13, the percussion action of the pile hammer advances a dual-wall pipe through the sediment. The
borehole is drilled and temporarily cased in one pass. Because the drill pipe does not rotate, a tight seal is maintained during
drilling.

Continuous spiff spoon sampling is proposed to begin below the screened interval of P-10D to the total depth of the pilot hole.
     P-10D is screened from 62.4 to 52.4 feet MSL, with a total depth of approximately 196 feet bgs. The targeted maximum
depth of the plot hole ranges from approximately 250 to 300 feet below ground surface (bgs), depending upon whether well P-
10L is located b the C flow unit or the D flow unit.
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          Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 571 of 730 Page ID
                                            #:5645
  At this same location, well P-10D was sucessfully constructed with a percussion hammer rig, so there is field experience to
   indicate the drilling method is feasible. The disadvantage of the percussion hammer methodology as compared to the ARCH
. and mud rotary drilling method is a higher risk in not being able to retrieve all the split spoon samples for continuous coring
  because of flowing sand conditions. However, we will be able to determine sand versus clay conditions in the worst case. An
  advantage of the percussion hammer methodology is that a hydropunch groundwater sample can be retrieved from the C flow ^
  unit, and this would probably not have been possible with the mud rotary drilling technique. When weighing the schedule
  advantages and the advantage of retrieving a hydropunch sample, the percussion hammer drilling technique is being
  recommended for drilling well P-IOL.

 If feasible, at the groundwater zone immediately underlying the zone screened by weD P-10D (which should correspond to the C
 flow unit), a hydropunch groundwater sample wiD be retrieved and analyzed for pH, sulfate, volatile organic compounds
 (including thiophene compounds), and total organic carbon. If feasible, a groundwater pressure wiD be measured in the C flow
 unit at this location to evaluate its interconnection (if any) with other flow units at this location. If there is no physical or
 analytical evidence of chemicals which could have potentially migrated from the McColl site, monitoring weD P-IOL wiD be
 constructed within the groundwater zone immediately underlying the zone screened by weD P-10D (interpreted to be the C flow
 unit).

 If there is physical or analytical evidence of chemicals potentially migrating from the McCoD site to this C flow unit, drilling of
 the pilot hole will proceed to the next deeper groundwater zone, presumably the D flow unit (anticipated maximum depth of
 approximately 300 feet). Monitoring well P-IOL would then be constructed in the D flow unit at this location.

 ENGINEERING MODIFICATIONS TO SUPPORT THE TECHNICAL MEMORANDUM:
 None. This TM is consistent with the intent of the original Task 10 Work Plan.

 POTENTIAL IMPACT ON SCHEDULE AND TECHNICAL FACTORS FROM MODIFICATIONS:
 If approved, the construction of weU P-IOL would be scheduled at the earliest possible date as feasible, depending on drilling
 contractor availability. Preliminary discussions with potential drilling contractors indicate construction of well P-IOL could begin
 no earlier than June 26, 1995. Preliminary drilling log data of the pilot hole for weD F-10L would be provided to EPA prior '.
 construction of weU P-IOL. Upon finalization, weD construction and drilling logs for well P-IOL would be provided to EPA. A^"
 proposed schedule for the construction of weD P-1QL and how it relates to other major elements of the McColl groundwater
 RI/FS is included for informational purposes with this TM.

 After development, well P-IOL would then be sampled in conjunction with the fourth quarter groundwater sampling program
 scheduled to begin in early July 1995. In order to verify the first set of analytical groundwater results of wdl P-1QL, this well
 should be resampled approximately one month after its initial sampling round (approximate date of August 15, 1995). The
 results of these two sampling rounds of well P-IOL would be included in the fourth quarter groundwater monitoring report
 Preliminary, unverified results of the P-IOL sampling rounds would be available approximately by die week of August 21, 1995.


 POTENTIAL IMPACTS ON SCHEDULE AND TECHNICAL FACTORS IF NOT IMPLEMENTED:
If not implemented, groundwater flow units C and D in the location of existing well P-10D would not be properly monitored as
specified in the original Task 10 Work Plan.

AMENDMENTS TO QAPP AND SAP TO REFLECT MODIFICATIONS:
 None.

EFFECT THE APPROVAL TIME AND PROCESS WILL HAVE ON THE OVERALL RD SCHEDULE:
Approval is requested by June 19, 1995 in order to reserve the drilling contractor at the earliest possible date.
                          ~       _                        _                                               _ R P M APPROVAL


            Approved     /           Disapproved/       /      Additional Information Required



                                                            Exhibit 39
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Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 572 of 730 Page ID
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                                                                                 Proposed Locotion ol Monitoring
                                                                                 Will P-IOL
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                                                                                    #:5647


                                            TIME LINE (EST.) FOR CONSTRUCTION OF WELL P-10L BY DUAL WALL PERCUSSION
                                                                        June            T             July            T           August                      September                           October
ID     Task Name                                                        6/11 | 6/18 | 6/25 | 7/2 | 7/9 | 7/16 | 7/23 | 7/30 | 6/6 | 6/13 | 6/20 | 8/27 | 0/3 | 9/10 | 9/17 | 9/24       10/1 | 10/8 110/15 110/22
       Construct We» P-IOL by Percussion. 10 days.

       3rd Qtr. Monitoring Report (final)
                                                                                                                                                                                    9/28
       4lh Qlr. Groundwater Sampling (including P-IOL). 10 days.                                                                                                                    t



       2nd Sampling Round at Wel P-IOL (rush analysis)                                                                                 8/15                                         i
       4lh Qtr. Preliminary Results (estimated)                                                                                                                                     !
       4lh Qlr. Validated Results (estimated). 20 days.
       Rushed Preliminary Analytical Result* ol Wel P-IOL (2nd round)                                                                         8/21
       Draft Risk Assessment Report                                                                                       8/1
       Delated Analysis of Alternatives combined w/FS Report
 10    Draft RI Report
 11    Draft FS Report
 12    Final RI Report                                                                                                                                                                                         10/
 13    Final FS Report                                                                                                                                                                                         1*




Project: McColl - 03-3493Z                        Task                             Milestone
Date: 6/15/95
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               MEMORANDUM                                                           July 12, 1995




               FROM:           -Sandra Maxfield, David Harnish

               RE:              CONSTRUCTION DETAILS FOR PROPOSED WELL P-IOL AT
                                MCCOLL SITE



               In support of the proposed construction details for well P-IOL we are faxing the
               following:
I '
                                Two summary tables of all hydropunch (groundwater grab) samples and
^*"^                            soil sample results for the pilot hole located adjacent to existing well P-
                                10D. The hydropunch sample retrieved from the interval proposed to be
                                screened by well P-IOL is located at 261 feet below ground surface (bgs).

                                Draft figure presenting the pilot hole boring log results, including the
                                groundwater zonation.

                                Well schematic for proposed well P-IOL,


             .The groundwater zonation presented in the draft figure was identified based on
              comparison of measured water levels within the borehole to nearby monitoring wells, by
              sediment characteristics (color, grain size), and by comparison to hydrostratigraphic
              cross-sections of the McColl site. This lower portion of the C flow unit is proposed to be
             screened for the following reasons:

                               Sediment characteristics (coarser grained and granitic) are indicative of the
                               lower portion of the C flow unit




    Marketplace To«.«r • 5820 Sheilmound Street • Suite 700 • Emeryville. California 94608 • USA • Tel: (510) 655-7400 • Fax:(510)655-9517
                                                                    Exhibit 39
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Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 575 of 730 Page ID
                                  #:5649

Mr. Michael Wolfram                       -2-                               July 12, 1995



           Measured water level within borehole within the proposed screened nterval
           is characteristic of lower portion of C flow unit (e.g., wells P-2D and P-9D).

           Analyses of the groundwater grab sample from this interval indicated no
           detection of volatile organic chemicals or thiophene compounds, with the
           exception of acetone and 2-butanone. The non-validated acetone and 2-
           butanone concentrations could be the result of lab contamination. If these
           chemicals are present within this zone, their concentrations would Ukely be
           lower than indicated by this hydropunch sample. With this chemical
           profile, screening this interval would still provide a monitoring location for
           early detection of the downward migration of thiophene or other volatile
           organic compounds. The measured pH did not indicate acidic conditions.

           The stratigraphic interpretation of the pilot hole results presented in the
           accompanying boring results figure is in reasonable agreement with the
           existing hydrostratigraphic cross-sections.




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  Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 576 of 730 Page ID
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C.N-V-I.R-O-N                                                       — CONTRACT NO.
Counsel In Health and Efwlronmenul Science                            DATE
5620 Sheilmound St., Suite 700                                        BY   .
Emeryville, California 94608
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        Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 577 of 730 Page ID
                                          #:5651                     PRELIMINARY RESULTS


Table 1:              Results of P-IOL Soil Chemical Testing
                      McColl Site, Fullerton, California

                                                                Sample ID
                                                             *Depth(ftBGS)
                                                      McColl Hydrostratigraphic Zone
                                                        P-10L-3           P-10L4
                                                      2103-210.8        218.8-2193
Parameter                                    Units      B Zone            B Zone

Thiophenes
   Tetrahydropthiophene                     ug/kg         560               ND
   2-Methyltetrahydrothiophene                ug/kg        660              ND
• '3-Methyltetrahydrothiophene           . -. ug/kg       280               ND
   Total Thiophenes                           ug/kg       1500              NA

VOCs
  Acetone                                   ug/kg         350              ND
  2-Butanone                                ug/kg         65               ND
  Methylene Chloride                        ug/kg         ND               4.6

Petroleum Hydrocarbons
   Total Volatile Hydrocarbons              mg/kg        <0.5              ND
   Total Extractable Hydrocarbons           mg/kg        9.71              3.02
   Benzene                                  ug/kg         5.3              ND
   Xylenes, Total                           ug/kg         7.5              ND

General Chemistry
  Sulfate                                   mg/kg        4800               26
  PH                                        Units         6.1              836
   Total Organic Carbon                     mg/kg        2800              1200


ft BGS = feet below ground surface
ug/kg =. micrograms per kilogram
mg/kg = milligrams per kilogram
ND = Not Detected
NA = Not Applicable




                                                          Page 1 of 1
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                                                            5608
               Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 578 of 730 Page ID
                                                 #:5652                    PREIIMINARY RESULTS



    .able 2:              Results of P-IOL Groandwater Chemical Testing
                          McColl Site, Fullerton, California
                                                                                      Sample ID
                                                                                     Sample Type
                                                                                   •Depth (ft BGS)
                                                                            McColl Hydrostratigraphic Zone
                                                         P-10L-218           P-10L-H1           P-10L-H2        P-10L-H3
                                                           Grab             Hydropunch         Hydropunch      Hydropunch
                                                            218                 231                245             261
   Parameter                                    Units     BZone            Upper C Zone       Upper C Zone    Lower C Zone

   Thiophenes
 - -> • Tetrahydropthiophene             • ••   ug/L      ••6800                <2                  <2            <2
      2-Methyltetrahydrothiophene               ug/L        6000                <2                  <2            <2
      3-Methyltetrahydrothiophene               ug/L        5200                <2                  <2            <2
      Total Thiophenes                          ug/L        18000               NA                  NA            NA

   VOCs
     Acetone                                    ug/L        330                 8                   7             25
     Benzene                                    ug/L         40                 <2                  <2            <2
     2-Butanone                                 ug/L        540                 <2                  <2            18
     Toluene                                    ug/L        110                 <2                  <2            <2
 ,   Xylenes, Total                             ug/L      . 46                  <2                  <2            <2

~**»?etrokum Hydrocarbons
      Total Volatile Hydrocarbons               mg/L         13             Not Tested         Not Tested      Not Tested
      Total Extractable Hydrocarbons            mg/L        40.9            Not Tested         Not Tested      Not Tested
      Benzene                                   ug/L         37             Not Tested         Not Tested      Not Tested
      Toluene                                   ug/L        210             Not Tested         Not Tested      Not Tested
      Xylenes, Total                            ug/L        29              Not Tested         Not Tested      Not Tested

   General Chemistry
      Sulfate                                   mg/L       7700                 71                  71          Pending
   . .pH (laboratory)                           Units      4.61               .7.96                7.85           7.87
     pH (field)                                 Units       3.8                NA                  NA             NA
     Total Organic Carbon                       mg/L        350                <10                 15           Pending


  ft BGS = feet below ground surface
  ug/L s= micrograms per liter
  mg/L — milligrams per liter                                                                       -^
  ND SB Not Detected
  NA SB Not Applicable/Available

  * Note that the depth shown is the depth of the drill pipe or Hydropunch and not depth to groundwater.



                                                             Page 1 of 1
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                                  #:5653




         GROUND      SURFACE


                                                                   p°c




                                                                   r- 2.5' **

                                                        TO




    V.«-Ul c^^J-i-Kb^-e.
                                                                                                  Figure

    € N V 1 R ON                                  Proposed Well Construction Detail for P-10L
                                                  McColl Site                                      1
    Counsel in Health and Environmental Science   Fullerton, California
^   Drafter:                  Date:               Contract Number:              Approved:   Revised:       |

                                                      Exhibit 39
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                                     TECHNICAL MEMORANDUM NO. 10-20
                                          McColl SUPERFTJND SITE

 SUBJECT: Update to GroundvKxter M/FS W0rtylan                                                       DATE;              September 22,1995

                   Additional Groundwater Sampling and Analysis
                   \Vsila P-21, P-41, P-9D, P-10D, and P-5L                                          TASK NO: 10


 DESCRIPTION OF REQUIRED MODIFICATIONS:
      Tfils Technical Memorandum fTM) supplements the Grotuufwaier RI/FS Work Plan (ENVIRON" February 4, 1994) by providing
additional infonnaCo i regarding the planned sampling and analysis of wells P-21, P-41, P-9D, P«!OD, and P-5L, The objective of this
effort i; to further dc Sue the g«ocberaical environment to support Ihe Remedial Investigation/Feasibility Study lor the Site.

RATIONALE I OR REQUIRED MODIFICATIONS:
      These analyses will provide information that will help us to better understand the fate of the chemkals that have b««n detected in
grotrodwater,

ENGINEERING MODIFICATIONS TO SUPPORT THE TECHNICAL MEMORANDUM:
       Gioundwster si tuples vrfll be collected firoin five wells (P-21, P-41, P*SD, P-10D, and P-5L). These samples will be analyzed for
organic ncids, methai e, hydrogen sulfide, thretable acidity, dissolved oxygen, ferrous Iron, nj\d bromide. In addition TO these parameters,
tic samples will also be analyzed for the chemkals included in the quarterly monitoring program. Becau«c several of the ctrapical* of
   terest are volatile or easily oxidized, ef&itj will be made 10 avoid exposing the samples to sir. Dedicated »ubmcrsible pumps (i.e.,
     rifoga] low-rate | wrnps) will be «*xJ to eollcct the samples and will reduce sample cxpo»we time tq »ir. Based upon «n EPA report,
centrifugal low-rate | ump is superior to a bailer with regard to sampling dissolved gases. Th« pomps •will be operated at low flow rates
(100 mi/min or less) to ivoW bufcolcnce and the tarejle will be collected directly into the sample container from the teflon tubing of the

     The methods at d rationale for analyzing for these eocrtitueau ii described below.

     •    Selected c rjanic acids (samples from all five welb). Organic acids will be analyzed using a modified method from a standard
          method ci td in food chemistry analyses (modified Method AOAC 986.13). The organk acid Analyses will be conducted uilog
          high petfc ncaircc liquid ctuomatography (HPLC). Short-chained acids (such as acetic add and propionic acid) will be
          Identified jnd quantified. These analyses will be used to assess the possible presence of degradation products in site
          groundwv er.

          Methane (.samples from all five welb). Methane will be acalyzed using ASTM Method 341 6-* 8. Methane in the
          will be quantified by measuring r&etbane concentrations in air evolved from water. • The water sample will be heated utd tKe
          methane 4 »s evolved will be trapped hi » known headspace volume. A portion of the methane la the headspace will then be
          directly injected into a gas chromatograprt and qcantified. These analyses will provide an indication of the level of anaerobic
          biological activity in site gromuiwaicr.

          Hydrogen JUJDde (samples from all five welU). The concentration of hydrogen sulfido in the sample will be determined by
          Method 4;?00-SF (in Standard Methods for the Examination ofWaier and \Yast«vaieT\ The hydrogen sulfide coacentrjuioo will
          be detorm J»ed based on the dissolved sulfidc conecntratloc, the pH of the sample and the joaizau'on. constant of bydrcgen sulflde
          (pK). Thi.«c analyses will provide an indication of Ihe level of anaerobic biological actrvii^ in site groundwater.

          Ticaable acidity (samples from all jBve Wells). Titntfablc acidity will be uidyzed using EPA Method 305.1 (Acidity
          TiirimetriY). This method measures the mineral acidity of a sample plus the acidity resulting from oxidation and hydrolysis of
          polyvaleu cations, including salts of iron and aluminum. These analyses will be used to assess mineral acidity versus acidity
          resuming torn the degradation, of orcinlc compounds.
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Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 581 of 730 Page ID
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         mtte arententa will be performed in Ihe field using EPA Method 300.1. Dbwlved uxygcn will be measured usin^ a. Lamon
         TKf fi Iv»d Oxygen Meter (DO 4000 meter} or the tqulvalent. The dwoKsd oxygen meter vrfll bv calibrated twice per dsj1
         BCCOI ding to reamiftflunsr'* rwrvwiiires. TtSete dat> wilJ be ««J t» »««* te level of biological activity in the »!lc
         Kn>w dwiter.
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         Fern as iron (samples fium at] five well]), f arws iron will be mcuured In the Held using a CQtorimerrlc test left. A reagent
         (pb« *nthrolin«) will b» Added to « known vohnne of umpk. TVe rugcnt reacts with Uiu Jjsfrwui Jnxi ia the Jimpfc to ibnn 9)
         flrun, fi aemplex. A itudud color wheel fa fttnot iron it ttor. us«d to dtrtonnin* tfc« concentration prcscrtt lo the sanpk. No
         ealife atlon is required. Ferrous {ten results will he user! »n xuessthe extent to which reducinj) condiiloM may exitt hi cite
         grou idwmrr.

         Redi x pouotbl (xmfklea from oil five wcD«, plu« *el«ctcd upgradienl BIH! Jvmignidieat (ucntluDj). McasureraenU Of Ute
         eodd jic*-wdtiction potential of tbe eramdwofer «viO b» oolteeted in the field using « Dijp-Scnio meter equipped with aa
         oxid flco-reduction probe (an ASP wVrtrode). The iaAnitaent v^ll be calibrated twice per day uitng a refer»ac»        '
         Unll » ft pH electrode, the OW electrode does not Unifcrgo changwi of zero point nr slnjia, »iv< ih«mfoK. based o
         wlili die u^aiiuC^oirci-, » jingle point ctllbnuion can be used. A YSI 3612 Zobell solution will be used to verily me
         per* rmcnec of the CRT electrode. Thwc rtjuhs will tw used Co define UK vxkjjjuiou-reductkm. potential

         Odu r parameters ui eluded m di« tpaittAy motAflfia^ ptu^uni (sampl*c TTMB all five w«ll»). Thou dab mil be t»»d tor
         wjm nracive purdoses againit prior resote. In sddilion. bromide anslyiot will iSe perfonnrH tn «i «*« the potentiM
         usui : pvtHiimji bromide « a groujxhwncr trees. Bromide vr]j] be analyzed by ion chromatography using EPA Method 300.

                 IMPACT ON SCHEDULE AND TECHNICAL FACTORS FROM MODIFICATIONS:
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AMENDMl^JTS TO QAPP AND SAP TO RWT.F.OT MODIFICATIONS:
   The QAP .* and SAP will be retroactively modified to reflect these MW analyses.

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    to iuco; x)nuiix MniprisK results Into tbe Rl/T S, we request your immediate ipproval of tteje wmptiflg modifications.

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                               APPENDIX G

                    AQUIFER TESTING AND ANALYSES




                        GROUNDWATER RI REPORT
                              McCOLL SITE
                         FULLERTON, CALIFORNIA




                              December 29, 1995

                                  03-3493X




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      G.l  Slug Test Procedures                                           G-1
      G.2 Analysis of Slug Test Data                                      G-2
      G.3  Results of Slug Test Analyses                                  G-2




  McColl Site Group
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                                          APPENDIX G

                             AQUIFER TESTING AND ANALYSES


 Slug tests were performed on the newly installed monitoring wells to evaluate the hydraulic
 characteristics of the "B" and "C" flow units at the site. Field work performed during this
 investigation included performing slug tests in the following wells: P-21, P-2D(R), P-41, P-51,
 P-5L, P-9D, P-10D, and P-IOL.

 According to the February 4, 1994 Work Plan, aquifer pumping tests were originally slated for
 new and existing wells to evaluate potential for interconnection of water-bearing sands and
 vertical flow between individual sand units. However, as noted in Technical Memorandum (TM)
 No. 10-16 dated November 4, 1994, the proposed aquifer pumping test program was deleted.
 Therefore, only slug tests were performed on all new wells. Boring logs for each of the wells
 included in the aquifer test program are provided in Appendix A.

 G.I    Slug Test Procedures

 Slug tests were performed in wells P-2D(R), P-51, P-5L, P-9D, P-10D, and P-IOL by both the
 "slug-in" and "slug-out" methods. The "slug-in" test was performed by quickly lowering a solid
 PVC cylinder (the mandrel) into the well and recording the change in water level over time as
 the water level stabilizes. After the water level had stabilized, the "slug-out" test was performed
 by quickly removing the mandrel and monitoring the change in water level over time. The
 mandrel was approximately 7.5 feet long and had a volume of 0.16 cubic feet, resulting in a
 theoretical displacement of 2.1 feet of water in a 4-inch diameter well (Schedule 80 PVC). Slug
 tests in wells P-21 and P-41 were performed by quickly pumping the well dry and monitoring the
 well's recovery over time.

 Water levels were monitored during each test with a 30 pound per square inch (psi) pressure
 transducer and data logger to record the change in water level. The transducer (Model PXD-260)
 and data logger (Model Hermit 1000C) were manufactured by In-Situ, Inc. To minimize
 disturbance to the transducer cable, the mandrel was set to the minimum depth in the water
 column, resulting in a completely submerged mandrel when the water level returned to static
 conditions in the well. The duration of the slug tests was dependent upon the rate of water level


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 recovery; all tests were monitored until stabilized conditions were attained or approximated.

 G.2    Analysis of Slug Test Data

 Slug test data were evaluated with the aid of AQTESOLV™ Aquifer Test Design and Analysis
 Computer Software, Version 2.0. This software employs the methods of Cooper (et al, 1967),
 for fully penetrating confined aquifer wells, and Bouwer and Rice (1976) for unconfined or
 partially penetrating confined aquifer wells. Analyses were performed using both the slug-in and
 the slug-out water level data for wells P-2D(R), P-51, P-5L, P-9D, P-10D, and P-IOL; well
 recovery data were used for wells P-21 and P-41. All wells tested were assumed to be confined
 based on existing water levels and boring logs (Appendix A).

 Fully penetrating wells can be defined as wells that are screened over 80 percent of the aquifer
 thickness so that groundwater flow towards the well can be assumed to be horizontal (Kruseman
 and de Ritter, 1994). The determination as to whether the wells were partially or fully
 penetrating wells was made based on the schematic geologic cross sections (Appendix A). Wells
 P-2D(R), P-9D, P-10D, and P-IOL were evaluated as partially penetrating wells using the Bouwer
 and Rice Solution. Wells P-21, P-41, P-51, and P-5L were evaluated as fully penetrating using
 the Cooper et al Solution.

 The mandrel used to perform the slug tests was calculated to displace 2.1 feet of water in a 4-
 inch well (Schedule 80 PVC). Therefore, an initial displacement of 2.1 feet was used for wells
 P-2D(R), P-51, P-5L, P-9D, P-10D, and P-IOL. Because wells P-21 and P-41 were pumped dry
 and allowed to recover, the initial displacement was estimated from the maximum initial
 drawdown achieved after pumping.

 G.3     Results of Slug Test Analyses

 The analytical results of slug test data are summarized in Table G-1. Slug test data and plots of
 displacement versus time including the statistical curve matching are presented in this appendix.
 Based on these data, the range of aquifer parameters for the "B" and "C" Flow Units are as
 follows:




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                                           Exhibit 39
                                             5621
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                                  #:5665
                                                        "B" Flow Unit        "C" Flow Unit

        Hydraulic Conductivity (cm/s)                   5.3E-03 to 2.8E-07   0.017 to 2.2E-04

        Transmissivity (gpd/ft)                         0.05 to 1459         42 to 9549

        Storativity (Estimated)                         0.11 to 3.5E-04      1.6E-03 to l.OE-05

        Units: cm/s = centimeters per second
               gpd/ft = gallons per day per foot




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                                           Exhibit 39
                                             5622
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                                  #:5666




                                       REFERENCES


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 Kruseman, G.P., de Ridder, N.A., 1994, Analysis and Evaluation of Pumping Test Data,
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                                          Exhibit 39
                                            5623
                            Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 593 of 730 Page ID
                                                              #:5667
                                                             TABLE G-1:
                                                                                                                                                                      c
                               SUMMARY OF AQUIFER PARAMETERS OBTAINED FROM SLUG TEST DATA
                                                MCCOLL SITE, FULLERTON, CALIFORNIA
                                              Saturated         Screened                                                      Hydraulic
                 Test                        Thickness, b       Interval       Transmissivity, T (2)   Transmissivity, T   Conductivity, K (3)      Estimated
                                                                                          2
     Well        Type         Method (1)          (ft)          (ft MSL)                (ft /min)          (gpd/ft)              (cm/s)          Storativity, S (4)

 B Flow Unit
     P-21    Recovery           Cooper            8.5         139.8-129.8               4.02E-04             4.33               2.40E-05             3.54E-04

      P-41     Recovery         Cooper            8.5         167.8-157.8               2.42E-05             0.26               1.45E-06             1.34E-02

     P-51       Slug In         Cooper            8.5         177.8 - 167.8             1.38E-04             1.49               8.26E-06             4.04E-03
               Slug Out         Cooper                                                  4.61E-06             0.05               2.75E-07             1.05E-01

    P-10D       Slug In     Bouwer & Rice          13          62.4-52.4                1.35E-01             1459               5.29E-03               NA
               Slug Out     Bouwer & Rice                                               1.25E-01             1346               4.88E-03               NA

 C Flow Unit
   P-2D(R)      Slug In     Bouwer & Rice         26.5         52.4 - 42.4              8.56E-01             9224               1.64E-02               NA
               Slug Out     Bouwer & Rice                                               8.86E-01             9549               1.70E-02               NA

     P-5L       Slug In         Cooper             9           62.6 - 52.6              8.80E-03              95                4.97E-04             l.OOE-05
               Slug Out         Cooper                                                  3.90E-03              42                2.20E-04             1.55E-03

     P-9D       Slug In     Bouwer & Rice          70          49.2 - 32.2              3.07E-01             3310               2.23E-03               NA
               Slug Out     Bouwer & Rice                                               2.41E-01             2593               1.75E-03               NA

    P-IOL       Slug In     Bouwer & Rice          31          0.3 - (-9.7)             5.29E-02             570                8.67E-04               NA
               Slug Out     Bouwer & Rice                                               3.81E-02             410                6.24E-04               NA


  ft MSL = feet above mean sea level datum
  gpd/ft = gallons per day per foot
  ft2/min = square feet per minute
  cm/s = centimeters per second
  NA = Not applicable since well is partially penetrating; Bouwer-Rice solution used.




h:\bak\mccoH\03-3493S\slugrsltxls                                                        Page 1 of2                                                               ENVIRON
                                                                                         Exhibit 39
                                                                                           5624
     c                                                                                  (
                             Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 594 of 730 Page ID
                                                                #:5668
                                                              TABLE G-1:
                                                                                                            c
                                SUMMARY OF AQUIFER PARAMETERS OBTAINED FROM SLUG TEST DATA
                                                 MCCOLL SITE, FULLERTON, CALIFORNIA

  (1) Bouwer and Rice solution for a partially penetrating well in a confined aquifer was calculated
      using AQTESOLV™, a computer program (Geraghty and Miller, 1994).
      Cooper, Brederhoeft, and Papadopoulos solution for a fully penetrating well in a confined
      aquifer was calculated using AQTESOLV™, a computer program (Geraghty and Miller, 1994).
  (2) For Cooper et al solution, transmissivity (T) was calculated by AQTESOLV™.
      For Bouwer and Rice solution, transmissivity was calculated using T=Kb, where b is
      the saturated thickness.
  (3) For Cooper et al solution, hydraulic conductivity (K) was calculated using K = T/b,
      where b is the saturated thickness.
  (4) For Cooper et al solution, storativity (S) is estimated by AQTESOLV™.




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                                                                                      Exhibit2 39
                                                                                               of 2         ENVIRON
                                                                                         5625
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                                APPENDIX G

                               ATTACHMENT

                            AQUIFER TEST LOGS




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                                    DRAFT


                                    Exhibit 39
                                      5626
                            Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 596 of 730 Page ID
CLIElk   i
                                                              #:5670
                                                                      COMPANY   •mm
LOCATION: Fullertuti, Cf)                                             PROJECT: KKH3H
                                                      P-ZI Recovery
                                                                                         DATA SET:
                                                                                         P2IDOUN.DAT
                                                                                         09/25/95
                  i.                  i r n r i i r         i     i                      AQUIFER MODEL:
                                                                                         Confined
                                                                                         SOLUTION METHOD:
                                                                                         Cooper et al.
                                                                                         TEST DATA:
                 0.8                                                                     H0= 25.9 ft
                                                                                         rc= 0-159 ft
                                                                                         ru= 0.448 ft
                                                                                         PARAMETER ESTIMATES:
                                                                                         T = 0.00040ZZ ftz/min
                                                                                         S = 0.000354Z



             U
             80.4



                 0.2




                 e.                                               i      i i i ii
                      10.                         100.                           1000.
                                               Tine (win)



                                                                Exhibit 39                                       AQTESOLU
                                                                  5627
           Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 597 of 730 Page ID
                                             #:5671



                             A Q T E S O L V    R E S U L T S
                                       Version 2 . 0

                              Developed by Glenn M. Duffield
                          (c) 1993, 1994 Geraghty & Miller, Inc.

09/25/95                                                                              13:34:50


                                       TEST DESCRIPTION
Data set                 P2IDOWN.DAT
Output file              2IREC3 .OUT
Data set title           P-21 Recovery
Company                  ENVIRON
Project                  03-3493X
Client                   McColl
Location                 Fullerton, CA
Test date                11/21/94

Units of Measurement
   Length            ft
   Time              min
Test Well Data
   Initial displacement in well              25.9
   Radius of well casing                     0 .159
   Radius of wellbore                        0.448
   Aquifer saturated thickness               8.5
   Well screen length                        8.5
   Static height of water in well...         8.5
   Gravel pack porosity                      0
   Effective well casing radius              0.159
   Effective wellbore radius                 0.448
   Log (Re/Rw)                               2 .176
   Constants A, B and C                      0.000 ,       0.000,   1.629
   No. of observations                       114

                                       ANALYTICAL METHOD

Cooper et al. (Confined Aquifer Slug Test)

                         RESULTS FROM STATISTICAL CURVE MATCHING


STATISTICAL MATCH PARAMETER ESTIMATES
              Estimate            Std. Error
   T   =     4.0221E-004 +/-      3.3141E-005 ftA2/min
   S   =     3.5420E-004 +/-      3.6155E-004


ANALYSIS OF MODEL RESIDUALS

residual = observed - calculated
                                              Exhibit 39
                                                5628
         Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 598 of 730 Page ID
                                           #:5672
weighted residual = residual * weight
Weighted Residual    Statistics:
  Number of residuals                       114
   Number of estimated parameters....       2
%,-^Degrees of freedom                      112
   Residual mean                            -0.03123
   Residual standard deviation              0.9069
   Residual variance                        0 .8226

Model Residuals;
       Time          Observed        Calculated          Residual         Weight
               54         17.573           14.671            2.9025                 1
               56         17.042            14.43            2.6124                 1
               58          16.52           14.195            2.3255                 1
               60         16.018           13.965            2.0529                 1
               62         15.553           13.741            1.8119                 1
               64         15.097           13.522            1.5746                 1
               66         14.651           13.309            1.3423                 1
               68         14.243             13.1            1.1432                 1
               70         13.844           12.896            0.9483                 1
               72         13.455           12.696           0.75885                 1
               74         13.104           12.501           0.60299                 1
               76         12.753            12.31           0.44286                 1
               78         12.401           12.123           0.27759                 1
               80         12.088           11.941           0.14731                 1
               82         11.774           11.762          0.012135                 1
               84         11.471           11.587          -0.11582                 1
 *-'           86         11.186           11.415          -0.22943                 1
               88         10.891           11.248           -0.3566                 1
               90         10.625           11.083          -0.45823                 1
               92         10.369           10.922          -0.55322                 1
               94         10.112           10.764          -0.65247                 1
               96          9.865            10.61           -0.7449                 1
               98          9.627           10.458          -0.83142                 1
              100          9.409            10.31          -0.90094                 1
              110          8.382           9.6099           -1.2279                 1
              120          7.527           8.9742           -1.4472                 1
              130          6.795           8.3952           -1.6002                 1
              140          6.167           7.8666           -1.6996                 1
              150          5.635           7.3828           -1.7478                 1
              160          5.169            6.939             -1.77                 1
              170          4.778           6.5313           -1.7533                 1
              180          4.427           6.1559           -1.7289                 1
              190           4.15           5.8098           -1.6598                 1
              200          3.865           5.4901           -1.6251                 1
              210          3.656           5.1944           -1.5384                 1
              220          3.446           4.9205           -1.4745                 1
              230          3.256           4.6664           -1.4104                 1
              240          3.104           4.4304           -1.3264                 1
              250          2.951           4.2109           -1.2599                 1
              260          2.828           4.0065           -1.1785                 1
              270          2.713            3.816            -1.103                 1
 \^           280          2.599           3.6382           -1.0392                 1
              290          2.513           3.4722          -0.95915                 1
              300          2.428           3.3168          -0.88882                 1
              310          2.342           3.1714           -0.8294                 1
                                            Exhibit 39
                                              5629
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                                   #:5673
   320              2.276         3.0351          -0.75912                  1
   330             2.209          2.9073          -0.69829                  1
   340             2.152          2.7873          -0.63526                  1
   350             2.094          2.6745          -0.58046                  1
   360             2.037          2.5684          -0.53136                  1
   370               1.99         2.4685          -0.47846                  1
   380             1.933          2.3743          -0.44133                  1
   390             1.895          2.2856          -0.39056                  1
   400             1.857          2.2018          -0.34477                  1
   410             1.828          2.1226          -0.29462                  1
   420               1.79         2.0478          -0.25779                  1
   430             1.752           1.977          -0.22499                  1
   440             1.733             1.91         -0.17695                  1
   450             1.695          1.8464          -0.15143                  1
   460             1.676          1.7862          -0.11019                  1
   470             1.647           1.729          -0.08203                 1
  480              1.628          1.6747         -0.046746                 1
   490             1.599          1.6232         -0.024159                 1
   500             1.581          1.5741         0.0068982                 1
   510             1.562          1.5274          0.034582                 1
  520              1.542           1.483          0.059037                 1
  530              1.523          1.4406          0.082398                 1
  540              1.504          1.4002           0.10379                 1
  550              1.485          1.3617           0.12333                 1
  560              1.476          1.3249           0.15112                 1
  570              1.457          1.2897           0.16726                 1
  580              1.428          1.2561           0.17186                 1
  590              1.419           1.224           0.19499                 1
  600              1.409         1.1933            0.21574                 1
  610                1.39        1.1638            0.22619                 1
  620              1.371         1.1356             0.2354                 1
  630              1.362         1.1086            0.25345                 1
  640              1.352         1.0826            0.26939                 1
  650              1.342         1.0577            0.28429                 1
  660              1.333         1.0338            0.29919                 1
  670              1.333         1.0108            0.32216                 1
  680              1.304        0.98876            0.31524                 1
  690              1.304        0.96753            0.33647                 1
  700              1.295         0.9471             0.3479                 1
  710              1.276        0.92743            0.34857                 1
  720              1.266        0.90849            0.35751                 1
  730              1.257        0.89024            0.36676                 1
  740              1.238        0.87264            0.36536                 1
  750              1.238        0.85567            0.38233                 1
  760              1.238        0.83929            0.39871                 1
  770              1.219        0.82348            0.39552                 1
  780              1.219        0.80821            0.41079                 1
  790              1.209        0.79345            0.41555                 1
  800                 1.2       0.77919            0.42081                 1
  810                 1.2        0.7654             0.4346                 1
  820                 1.2       0.75205            0.44795                 1
  830              1.181        0.73914            0.44186                 1
  840              1.181        0.72663            0.45437                 1
  850              1.171        0.71452            0.45648                 1
  860              1.162        0.70278            0.45922                 1
  870              1.162         0.6914             0.4706                 1
  880              1.142        0.68037            0.46163                 1
  890              1.152        0.66966            0.48234                 1
  900              1.142        0.65927            0.48273                 1
  910              1.142        0.64919
                                   Exhibit 39
                                                   0.49281                 1
                                     5630
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                                            #:5674
            920              1.133        0.63939            0.49361                 1
            930              1.142        0.62988            0.51212                 1
            940              1.133        0.62063            0.51237                 1
            950              1.123        0.61164            0.51136                 1
            960              1.114         0.6029             0.5111                 1
            970              1.114         0.5944             0.5196                 1
            980              1.114        0.58612            0.52788                 1
            990              1.114        0.57807            0.53593                 1
           1000              1.123        0.57022            0.55278                 1

                           RESULTS FROM VISUAL CURVE MATCHING


VISUAL MATCH PARAMETER ESTIMATES

             Estimate
  T   =     4.0221E-004 ftA2/min
  S   =     3.5420E-004




                                             Exhibit 39
                                               5631
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                               Displacement (ft)
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                                             Exhibit 39
                                               5632
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                                         #:5676



                         A Q T E S O L V           R E S U L T S
                                     Version 2 . 0                                     -^
                          Developed by Glenn M. Duffield
                      (c) 1993, 1994 Geraghty & Miller, Inc.

09/26/95                                                                          15:20:47

                                    TEST DESCRIPTION
Data set              P2DRIN2 .DAT
Output file           2DRIN2 .OUT
Data set title        Well P-2D(R) Slug In
Company               ENVIRON
Project               03-3493X
Client                McColl
Location              Fullerton, CA
Test date             11/23/94
Units of Measurement
   Length            ft
   Time             min
Test Well Data
   Initial displacement in well          2.1
   Radius of well casing                 0.167
   Radius of wellbore                    0.448
   Aquifer saturated thickness           26.5
   Well screen length                    10
   Static height of water in well...     26.5
   Gravel pack porosity                  0
   Effective well casing radius          0.167
   Effective wellbore radius             0.448
   Log (Re/Rw)                           2.88
   Constants A, B and C                  0.000,        0.000,   1.732
   No. of observations                   53

                                   ANALYTICAL METHOD
Bouwer-Rice (Confined Aquifer Slug Test)

                      RESULTS FROM STATISTICAL CURVE MATCHING

STATISTICAL MATCH PARAMETER ESTIMATES
            Estimate           Std. Error
  K =      3.2309E-002 +/-     7.1277E-004 ft/min
  yO =     2.2445E+000 +/-     5.1682E-002 ft

ANALYSIS OF MODEL RESIDUALS
residual = observed - calculated          Exhibit 39
                                            5633
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                                          #:5677
weighted residual = residual * weight
Weighted Residual Statistics:
   Number of residuals                53
v^tfumber of estimated parameters.... 2
   Degrees of freedom                       51
   Residual mean                            0.01474
   Residual standard deviation              0.02632
   Residual variance                        0.0006925

Model Residuals
     Time          Observed         Calculated          Residual         Weight
      . 0.0666           1.352           1.3136           0.038396                 1
        0.0833           1.161           1.1485           0.012518                 1
           0.1           1.018           1.0041           0.013884                 1
        0.1166           0.857           0.8786          -0.021603                 1
        0.1333           0.723          0.76816          -0.045162                 1
          0.15           0.647           0.6716          -0.024602                 1
        0.1666           0.561          0.58765          -0.026654                 1
        0.1833           0.485          0.51378          -0.028785                 1
           0.2           0.438           0.4492          -0.011201                 1
        0.2166            0.38          0.39305          -0.013052             '   1
        0.2333           0.342          0.34364         -0.0016445                 1
          0.25           0.314          0.30045           0.013552                 1
        0.2666           0.285          0.26289           0.022108                 1
        0.2833           0.247          0.22985           0.017154                 1
    /      0.3           0.219          0.20095           0.018046                 1
 *-' 0.3166                0.2          0.17584           0.024164                 1
        0.3333            0.18          0.15373           0.026267                 1
        0.4166           0.123         0.078662           0.044338                 1
           0.5           0.057         0.040217           0.016783                 1
        0.5833           0.095         0.020578           0.074422                 1
        0.6666           0.076         0.010529           0.065471                 1
          0.75           0.057        0.0053834           0.051617                 1
        0.8333           0.047        0.0027545           0.044245                 1
        0.9166           0.038        0.0014094           0.036591                 1
             1           0.038        0.0007206           0.037279                 1
        1.0833           0.028       0.00036872           0.027631                 1
        1.1666           0.018       0.00018866           0.017811                 1
          1.25           0.018      9.6458E-005           0.017904                 1
        1.3333           0.028      4.9355E-005           0.027951                 1
        1.4166           0.018      2.5254E-005           0.017975                 1
           1.5           0.018      1.2912E-005           0.017987                 1
        1.5833           0.018      6.6066E-006           0.017993                 1
        1.6666           0.009      3.3804E-006          0.0089966                 1
          1.75           0.018      1.7283E-006           0.017998                 1
        1.8333           0.018      8.8434E-007           0.017999                 1
        1.9166           0.018       4.525E-007              0.018                 1
             2           0.018      2.3135E-007              0.018                 1
           2.5           0.009      4.1452E-009              0.009                 1
             3           0.018      7.4273E-011              0.018                 1
           3.5           0.009      1.3308E-012              0.009                 1
 1^—/        ^           0.018      2.3845E-014              0.018                 1
           4.5           0.009      4.2725E-016              0.009                 1
              5          0.018      7.6554E-018              0.018                 1
           5.5           0.009      1.3717E-019              0.009                 1
              6          0.009      2.4578E-021
                                          Exhibit 39
                                                             0.009                 1
                                              5634
      Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 604 of 730 Page ID
                                        #:5678
         6.5              0.009   4.4038E-023              0.009                  1
            7             0.009   7.8905E-025               0.009                  1
         7.5              0.009   1.4138E-026              0.009                  1
            8             0.009   2.5332E-028               0.009                  1
         8.5              0.009    4.539E-030              0.009                  1
            9             0.009   8.1329E-032               0.009                  1
         9.5              0.009   1.4572E-033              0.009                  1
           10             0.009    2.611E-035              0.009                  1


                        RESULTS FROM VISUAL CURVE MATCHING


VISUAL MATCH PARAMETER ESTIMATES
           Estimate
   K =    3.2309E-002 ft/min
   yO =   2.2445E+000 ft




                                         Exhibit 39
                                           5635
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 605 of 730 Page ID
                                  #:5679

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                                            Exhibit 39
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       Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 606 of 730 Page ID
                                         #:5680



                         A Q T E S O L V           R E S U L T S
                                     Version 2 . 0
                                                                                            •%••*
                          Developed by Glenn M. Duffield
                      (c) 1993, 1994 Geraghty & Miller, Inc.

09/26/95                                                                              15:24:06

                                    TEST DESCRIPTION
Data set              P2DROUT2 . DAT
Output, file          2DROUT2 .OUT
Data set title        Well P-2D(R) Slug Out
Company               ENVIRON
Project               03-3493X
Client                McColl
Location              Fullerton, CA
Test date             11/23/94
Units of Measurement
   Length            ft
   Time             min
Test Well Data
   Initial displacement in well          2.1
   Radius of well casing                 0.167
   Radius of wellbore                    0.448
   Aquifer saturated thickness           26.5
   Well screen length                    10
   Static height of water in well...     26.5
   Gravel pack porosity                  0
   Effective well casing radius          0.167
   Effective wellbore radius             0.448
   Log (Re/Rw)                           2.88
   Constants A, B and C                  0.000, ,      0.000,   1.732
   No. of observations                   47

                                   ANALYTICAL METHOD
Bouwer-Rice (Confined Aquifer Slug Test)

                      RESULTS FROM STATISTICAL CURVE MATCHING

STATISTICAL MATCH PARAMETER ESTIMATES
            Estimate           Std. Error
  K =      3.3449E-002 +/-     1.0729E-003 ft/min
  yO =     2.1670E+000 +/-     6.5803E-002 ft

ANALYSIS OF MODEL RESIDUALS
residual = observed - calculated          Exhibit 39
                                            5637
         Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 607 of 730 Page ID
                                           #:5681
weighted residual = residual * weight
Weighted Residual Statistics:
   Number of residuals ............... 47
 i^Jumber of estimated parameters .... 2
   Degrees of freedom ................ 45
   Residual mean.....................0 . 01676
   Residual standard deviation ....... 0.04219
   Residual variance.................0 . 00178

Model Residuals
       Time           Observed       Calculated         Residual          Weight
           0.05            1.589           1.429               0.16                1
         0.0666            1.218          1.2445         -0.026494                 1
         0.0833            1.018          1.0829         -0.064913                 1
            0.1            0.875         0.94231          -0.06731                 1
         0.1166            0.752         0.82065         -0.068647                 1
         0.1333            0.666          0.7141         -0.048096                 1
           0.15             0.59         0.62138          -0.03138                 1
         0.1666            0.514         0.54115         -0.027152                 1
         0.1833            0.456         0.47089         -0.014891                 1
            0.2            0.418         0.40975         0.0082486                 1
         0.2166            0.371         0.35685          0.014153                 1
         0.2333            0.333         0.31052          0.022485                 1
           0.25            0.295          0.2702          0.024801                 1
         0.2666            0.276         0.23531          0.040687                 1
         0.2833            0.247         0.20476          0.042239                 1
 •-'        0.3            0.219         0.17818          0.040825                 1
         0.3166            0.199         0.15517           0.04383                 1
         0.3333             0.19         0.13502          0.054976                 1
         0.4166            0.133        0.067474          0.065526                 1
            0.5            0.095         0.03369           0.06131                 1
         0.5833            0.076        0.016835          0.059165                 1
         0.6666            0.056        0.008413          0.047587                 1
           0.75            0.047       0.0042006          0.042799                 1
         0.8333            0.047       0.0020991          0.044901                 1
         0.9166            0.028        0.001049          0.026951                 1
               1           0.028      0.00052376          0.027476                 1
         1.0833            0.028      0.00026173          0.027738                 1
         1.1666            0.028      0.00013079          0.027869                 1
           1.25            0.018     6.5305E-005          0.017935                 1
         1.3333            0.028     3.2634E-005          0.027967                 1
         1.4166            0.018     1.6308E-005          0.017984                 1
            1.5            0.018     8.1426E-006          0.017992                 1
         1.5833            0.018      4.069E-006          0.017996                 1
         1.6666            0.018     2.0334E-006          0.017998                 1
           1.75            0.018     1.0153E-006          0.017999                 1
         1.8333            0.009     5.0735E-007         0.0089995                 1
         1.9166            0.009     2.5353E-007         0.0089997                 1
               2           0.018     1.2659E-007              0.018                1
            2.5            0.009      1.968E-009              0.009                1
               3           0.009     3.0596E-011              0.009                1
              3 5          0.009     4.7566E-013              0,009                1
 w              -
              4.5          0.009     1.1496E-016              0.009                1
               5.5         0.009     2.7786E-020              0.009                1
                  6        0.009     4.3197E-022              0.009                1
              6.5          0.009     6.7157E-024
                                           Exhibit 39
                                                              0.009                1
                                               5638
       Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 608 of 730 Page ID
                                         #:5682
          7.5             0.009    1.6231E-027              0.009                  1
             9             0.009   6.0989E-033              0.009                  1

                         RESULTS FROM VISUAL CURVE MATCHING

VISUAL MATCH PARAMETER ESTIMATES
           Estimate
  K =     3.3449E-002 ft/min
  yO =    2.1670E+000 ft




                                          Exhibit 39
                                            5639
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 609 of 730 Page ID
                                  #:5683

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                       Displacement, H/H0 (ft)
                 a          a          a
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                                   Exhibit 39
                                     5640
       Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 610 of 730 Page ID
                                         #:5684



                         A Q T E S O L V           R E S U L T S
                                     Version 2 . 0

                          Developed by Glenn M. Duffield
                      (c) 1993, 1994 Geraghty & Miller, Inc.

09/25/95                                                                          11:25:13


                                    TEST DESCRIPTION
Data set              P4IREC2.DAT
Output file          2IREC2.0UT
Data set title       Well P-41 Recovery
Company              ENVIRON
Project              03-3493X
Client               McColl
Location             Fullerton, CA
Test date            11/21/94
Units of Measurement
   Length            ft
   Time              min
Test Well Data
   Initial displacement in well          38.3
   Radius of well casing                 0.167
   Radius of wellbore                    0.448
   Aquifer saturated thickness           8.5
   Well screen length                    8.5
   Static height of water in well...     8.5
   Gravel pack porosity                  0
   Effective well casing radius          0.167
   Effective wellbore radius             0.448
   Log (Re/Rw)                           2 .176
   Constants A, B and C                  0.000 ,       0.000,   1.629
   No. of observations                   163

                                   ANALYTICAL METHOD
Cooper et al. (Confined Aquifer Slug Test)

                     RESULTS FROM STATISTICAL CURVE MATCHING

STATISTICAL MATCH PARAMETER ESTIMATES
            Estimate           Std. Error
   T   =   2.4197E-005 +/-     7.3784E-007 ftA2/min
   S   =   1.3416E-002 +/-     7.8593E-004

ANALYSIS OF MODEL RESIDUALS
residual = observed - calculated          Exhibit 39
                                            5641
        Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 611 of 730 Page ID
                                          #:5685
weighted residual = residual * weight

Weighted Residual Statistics:
   Number of residuals                     163
vJumber of estimated parameters.... 2
   Degrees of freedom                      161
   Residual mean                           0.216
   Residual standard deviation             0.9112
   Residual variance                       0.8303


Model Residuals:
       Time         Observed         Calculated         Residual         Weight

            0.3          38.301           37.861           0.44019                 1
         0.3166          38.292           37.849           0.44334                 1
         0.3333          38.292           37.837           0.45525                 1
         0.4166          38.273           37.781           0.49174                 1
            0.5          38.263           37.731           0.53211                 1
         0.5833          38.254           37.685            0.5695                 1
         0.6666          38.244           37.641           0.60277                 1
           0.75          38.235             37.6           0.63455                 1
         0.8333          38.225           37.562           0.66315                 1
         0.9166          38.216           37.525           0.69093                 1
               1         38.206            37.49           0.71619                 1
         1.0833          38.187           37.456           0.73101                 1
         1.1666          38.187           37.423           0.76361                 1
           1.25          38.178           37.392           0.78616                 1
         1.3333          38.169           37.361           0.80767                 1
 -*'     1.4166          38.159           37,332           0.82729                 1
            1.5           38.15           37.303           0.84712                 1
         1.5833           38.14           37.275           0.86516                 1
         1.6666          38.131           37.247           0.88351                 1
           1.75          38.112           37.221           0.89125                 1
         1.8333          38.102           37.195           0.90736                 1
         1.9166          38.102           37.169           0.93291                 1
               2         38.093           37.144           0.94896                 1
            2.5          38.017           37.003            1.0138                 1
               3         37.979           36.875            1.1039                 1
            3.5          37.913           36.757            1.1562                 1
               4         37.875           36.646            1.2288                 1
            4.5          37.827           36.542            1.2851                 1
               5          37.78           36.443            1.3371                 1
            5.5          37.733           36.348            1.3846                 1
               6         37.695           36.258            1.4372                 1
             6.5         37.657           36.171            1.4862                 1
               7           37.6           36.087            1.5133                 1
            7.5          37.524           36.005            1.5186                 1
               8         37.439           35.927            1.5124                 1
             8.5         37.363            35.85            1.5129                 1
               9         37.287           35.776            1.5114                 1
             9.5         37.202           35.703            1.4989                 1
              10         37.126           35.632            1.4938                 1
              12         36.833           35.364            1.4689                 1
 ~s           14         36.539           35.116            1.4231                 1
              16         36.264           34.885            1.3791                 1
              18         35.989           34.666             1.323                 1
              20         35.714           34.453            1.2606                 1
              22         35.458           34.266             1.192                 1
                                           Exhibit 39
                                             5642
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                                   #:5686
     24            35.212          34.077            1.1353                 1
     26            34.956          33.876            1.0801                 1
     28            34.728          33.716            1.0118                 1
     30            34.482          33.547           0.93533                 1
     32            34.235          33.371           0.86429                 1
     34            34.017          33.214           0.80316                 1
     36            33.799          33.058           0.74104                 1
     38            33.581          32.906           0.67545                 1
    40             33.363          32.757           0.60554                 1
    42             33.163         32.613            0.55011                 1
    44             32.955         32.472             0.4834                 1
    46             32.755         32.333            0.42162                 1
    48             32.556         32.198            0.35795                 1
    50             32.376         32.065            0.31058                 1
    52             32.177         31.935            0.24165                 1
    54            31.996          31.808            0.18829                 1
    56            31.826          31.682            0.14364                 1
    58            31.645          31.559          0.085822                  1
    60            31.465          31.438          0.026814                  1
    62            31.304          31.319         -0.015232                  1
    64            31.133          31.202         -0.069237                  1
    66            30.972          31.087          -0.11513                  1
    68              30.82         30.974          -0.15385                  1
    70            30.649          30.862          -0.21333                  1
    72            30.497          30.753          -0.25554                  1
    74            30.355          30.644          -0.28942                  1
    76            30.203          30.538          -0.33493                  1
    78              30.06         30.433          -0.37288                  1
    80            29.918          30.328          -0.41015                  1
    82            29.776          30.224          -0.44835                  1
    84            29.633          30.121          -0.48839                  1
    86               29.5         30.019          -0.51917                 1
    88            29.367          29.918          -0.55059                 1
    90            29.234          29.817          -0.58252                 1
    92            29.111          29.716          -0.60484                 1
    94            28.978          29.615          -0.63742                 1
    96            28.855          29.515          -0.66013                 1
    98            28.741          29.418          -0.67699                 1
   100            28.598          29.327          -0.72859                 1
   105            28.323            29.11         -0.78722                 1
   110            28.038          28.913          -0.87514                 1
   115            27.772          28.739          -0.96681                 1
   120            27.516            28.54          -1.0245                 1
   125            27.269          28.305           -1.0357                 1
   130            27.031          28.041           -1.0102                 1
   135            26.794          27.722           -0.9278                 1
  140             26.566          27.529          -0.96319                 1
  145             26.357          27.384           -1.0269                 1
  150             26.148          27.291           -1.1433                 1
  155             25.958         27.271            -1.3128                 1
  160             25.758         27.094            -1.3355                 1
  165             25.587         26.876            -1.2888                 1
  170             25.397         26.614            -1.2166                 1
  175             25.245         26.308            -1.0627                 1
  180            25.074          26.136            -1.0617                 1
  185             24.912         25.994            -1.0818                 1
  190              24.76         25.884            -1.1236                 1
  195            24.617          25.793            -1.1764                 1
  200            24.475          25.641            -1.1657                 1
  205            24.342          25.481
                                   Exhibit 39
                                                   -1.1385                 1
                                    5643
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 613 of 730 Page ID
                                  #:5687
  210            24.209          25.313            -1.1036                 1
  215            24.085          25.144            -1.0592                 1
  220            23.952          24.996            -1.0437                 1
  225            23.838          24.851            -1.0129                 1
  230            23.724           24.71          -0.98563                  1
  235              23.61          24.57          -0.96035                  1
  240            23.505          24.431             -0.926                 1
  245              23.41         24.294           -0.88353                 1
  250            23.315          24.158           -0.84287                 1
  255              23.22         24.024           -0.80398                 1
  260            23.106          23.892           -0.78582                 1
  265              23.02         23.761           -0.74133                 1
  270            22.935          23.632           -0.69748                 1
  275            22.849          23.505           -0.65622                 1
  280            22.763           23.38           -0.61652                 1
  285            22.687          23.255           -0.56834                 1
  290            22.611          23.133           -0.52163                 1
  295            22.526          23.011           -0.48537                 1
  300            22.459          22.892           -0.43252                 1
  305            22.393          22.773           -0.38005                 1
  310            22.317          22.656           -0.33893                 1
  315              22.25          22.54           -0.29013                 1
  320            22.183          22.426           -0.24262                 1
  325            22.126          22.312           -0.18637                 1
  330              22.06            22.2          -0.14036                 1
  335            22.003           22.09         -0.086551                  1
  340            21.927           21.98         -0.052931                  1
  345            21.879          21.871         0.0075288                  1
  350            21.822          21.764           0.057852                 1
  355            21.774          21.658            0.11606                 1
  360            21.727          21.553            0.17418                 1
  365              21.66         21.449            0.21122                 1
  370            21.622          21.346            0.27621                 1
  375            21.565          21.244            0.32117                 1
  380            21.527          21.143            0.38412                 1
  385            21.479          21.043            0.43608                 1
  390            21.432          20.944            0.48806                 1
  395            21.394          20.846            0.54808                 1
  400            21.346          20.749            0.59717                 1
  405            21.308          20.653            0.65532                 1
  410              21.27         20.557            0.71257                 1
  415            21.232          20.463            0.76893                 1
  420            21.184           20.37            0.81441                 1
  425            21.165          20.277            0.88803                 1
  430            21.118          20.185             0.9328                 1
  435            21.089          20.094            0.99473                 1
  440            21.061          20.004             1.0568                 1
  445            21.023          19.915             1.1082                 1
  450            20.994          19.826             1.1677                 1
  455            20.966          19.739             1.2274                 1
  460             20.928         19.652             1.2764                 1
  465            20.909          19.565             1.3436                 1
  470             20.871          19.48              1.391                 1
  475             20.842         19.395             1.4467                 1
  480             20.814         19.311             1.5027                 1
  485             20.794         19.228              1.566                 1
  490             20.776         19.145             1.6306                 1
  495             20.728         19.063             1.6645                 1

                                   Exhibit 39
                                     5644
       Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 614 of 730 Page ID
                                         #:5688
                          RESULTS FROM VISUAL CURVE MATCHING

VISUAL MATCH PARAMETER ESTIMATES
            Estimate
   T   =   2.4197E-005 ftA2/min
   S   =   1.3416E-002




                                          Exhibit 39
                                            5645
                             Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 615 of 730 Page ID
CLIENT", .                                                     #:5689
                                                                  COMPANY:


LOCATION: Fullerton, Cft                                                  PROJECT: BHI93X

                                                    Uell P-51 Slug In
                                                                                              DATA SET:
                                                                                              P5IINZ.DAT
                                                                                              09/ZZ/95
                   i.                                                                         AQUIFER MODEL:
                                                                                              Conf ined
                                                                                              SOLUTION METHOD:
                                                                                              Cooper et al.
                                                                                              TEST DATA:
                  0.8                                                                         H0= Z.I ft
                                                                                              r_= 0.167 ft
                                                                                              ru= 0.49 ft
                                                                                              PARAMETER ESTIMATES:
                                                                                              T = 0-0001382 ft2/min
                  0.6                                                                         S = 0.004041


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                                                  Time (min)




                                                                      Exhibit 39                                      AQTESOLU
                                                                        5646
       Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 616 of 730 Page ID
                                         #:5690



                            A Q T E S O L V           R E S U L T S
                                      Version 2 . 0
                             Developed by Glenn M. Duffield
                      (c)    1993, 1994 Geraghty & Miller, Inc.

09/22/95                                                                          13:59:13

                                     TEST DESCRIPTION
Data set              P5IIN2.DAT
Output file           5IIN2.0UT
Data set title        Well P-51 Slug In
Company               ENVIRON
Project               03-3493X
Client                McColl
Location              Fullerton, CA
Test date             11/24/94
Units of Measurement
   Length            ft
   Time              min
Test Well Data
   Initial displacement in well           2.1
   Radius of well casing                  0 .167
   Radius of wellbore                     0.49
   Aquifer saturated thickness            8.5
   Well screen length                     8.5
   Static height of water in well...      8.5
   Gravel pack porosity                   0
   Effective well casing radius           0.167
   Effective wellbore radius              0.49
   Log (Re/Rw)                            2.099
   Constants A, B and C                   0.000 ,          0.000,     1.577
   No. of observations                    106

                                     ANALYTICAL METHOD
Cooper et al. (Confined Aquifer Slug Test)

                      RESULTS FROM STATISTICAL CURVE MATCHING

STATISTICAL MATCH PARAMETER ESTIMATES
            Estimate             Std. Error
   T   =   1.3816E-004 +/-       1.2318E-005 ft*2/min
   S   =   4.0410E-003 +/-       9.9306E-004

ANALYSIS OF MODEL RESIDUALS
residual = observed - calculated
                                              Exhibit 39
                                                5647
        Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 617 of 730 Page ID
                                          #:5691
weighted residual = residual * weight
Weighted Residual Statistics:
   Number of residuals                     106
   Dumber of estimated parameters....      2
%-HDegrees of freedom                      104
   Residual mean                           -0.02389
   Residual standard deviation             0.07231
   Residual variance                       0. 005228


Model Residuals:
       Time         Observed         Calculated         Residual         Weight
           0.15             2.1           2.0746          0.025378                 1
         0.1666           2.128           2.0732          0.054815                 1
         0.1833           2.043           2.0718         -0.028804                 1
              0.2         1.976           2.0705         -0.094479                 1
         0.2166           1.948           2.0692          -0.12121                 1
         0.2333           1.957            2.068          -0.11098                 1
           0.25           1.986           2.0668         -0.080783                 1
         0.2666           1.986           2.0656         -0.079631                 1
         0.2833           1.986           2.0645         -0.078504                 1
            0.3           1.786           2.0634          -0.27741                 1
         0.3166           1.682           2.0623          -0.38034                 1
         0.3333           1.891           2.0613          -0.17029                 1
         0.4166           1.967           2.0564         -0.089386                 1
            0.5           1.976           2.0519         -0.075886                 1
         0.5833           1.967           2.0477         -0.080706                 1
   -     0.6666           1.967           2.0438         -0.076776                 1
           0.75           1.967             2.04         -0.073046                 1
         0.8333           1.957           2.0365         -0.079489                 1
         0.9166           1.957           2.0331         -0.076082                 1
              1           1.957           2.0298         -0.072822                 1
         1.0833           1.957           2.0267         -0.069657                 1
         1.1666           1.948           2.0236          -0.07559                 1
           1.25           1.957           2.0205         -0.063513                 1
         1.3333           1.948           2.0176         -0.069613                 1
         1.4166           1.957            2.015         -0.058027                 1
              1.5         1.948           2.0123         -0.064281                 1
         1.5833           1.938           2.0092         -0.071229                 1
         1.6666           1.948           2.0066         -0.058575                 1
           1.75           1.938            2.004         -0.065979                 1
         1.8333           1.938           2.0018          -0.06382                 1
         1.9166           1.938           1.9993         -0.061344                 1
                2         1.938           1.9967         -0.058674                 1
              2.5         1.929           1.9829         -0.053857                 1
                3         1.919           1.9701         -0.051059                 1
              3.5          1.91           1.9581         -0.048088                 1
                4          1.91           1.9468         -0.036786                 1
              4.5            1.9          1.9361         -0.036061                 1
                5         1.891           1.9258         -0.034824                 1
              5.5         1.881           1.9158         -0.034828                 1
                6         1.872            1.906         -0.033955                 1
              6.5         1.872           1.8967         -0.024744                 1
 <~S            7         1.872           1.8886         -0.016644                 1
              7.5         1.862           1.8811         -0.019143                 1
                8         1.862           1.8716        -0.0095794                 1
              8.5         1.853           1.8602        -0.0072223                 1
                                           Exhibit 39
                                             5648
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 618 of 730 Page ID
                                  #:5692
    9             1.834           1.8519         -0.017911
                                                 -0                        1
  9.5             1.843             1.847       -0..0040492                1
   10             1.843           1.8429          00011898
                                                0.0                        1
   12             1.805            1.809        -0..0039522                1
   14             1.786           1.7822          0.003799
                                                  0                        1
   16             1.767           1.7565          0 010506                 1
   18             1.748             1.732         0 015967                 1
   20             1.729           1.7087          0.020269
                                                  0                        1
   22              1.72           1.6864          0.033559
                                                  0                        1
   24             1.691             1.665         0 025953                 1
   26             1.672           1.6445          0 027543                 1
   28             1.663           1.6246          0.038406
                                                  0                        1
   30             1.644           1.6054          0 038607                 1
   32             1.634           1.5868            0.0472                 1
   34             1.606           1.5688          0.037232
                                                  0                        1
   36             1.596           1.5513          0.044742
                                                  0                        1
   38             1.577           1.5342          0.042768
                                                  0                        1
   40             1.558           1.5177          0.040339
                                                  0                        1
   42             1.539           1.5015          0 037484                 1
   44             1.539           1.4858          0.053227
                                                  0                        1
   46             1.511           1.4704          0.040591
                                                  0                        1
   48             1.501           1.4554          0 045596                 1
   50             1.492           1.4407          0.051259
                                                  0                        1
   52             1.473           1.4264          0 046598                 1
   54             1.463           1.4124          0.050628
                                                  0                        1
   56             1.444           1.3986          0 045363                 1
   58             1.425           1.3852          0.039816
                                                  0                        1
   60             1.415             1.372         0.042998
                                                  0                        1
   62             1.397           1.3591          0.037921
                                                  0                        1
   64             1.377           1.3464          0.030595
                                                  0                        1
   66             1.377             1.334         0 043029                 1
   68             1.358           1.3218          0 036233                 1
   70             1.339           1.3098          0.029214
                                                  0                        1
   72              1.33            1.298          0 031981                 1
   74             1.311           1.2865          0.024542
                                                  0                        1
   76             1.311           1.2751          0 035902                 1
   78             1.301           1.2639          0 037069                 1
   80             1.282            1.253          0 029048                 1
   82             1.273           1.2422          0.030846
                                                  0                        1
   84             1.254           1.2315          0.022468
                                                  0                        1
   86             1.254           1.2211          0 032919                 1
   88             1.244           1.2108          0.033205
                                                  0                        1
   90             1.216           1.2007            0.01533                1
   92             1.206           1.1907          0.015298
                                                  0                        1
   94             1.206           1.1809          0.025115
                                                  0                        1
   96             1.187           1.1712          0.015783
                                                  0                        1
   98             1.168           1.1617         0.
                                                 0.0063079                 1
  100             1.168           1.1523          0.015692
                                                  0                        1
  110             1.111           1.1074         0.0036317
                                                 0.                        1
  120             1.054           1.0655         -0.011452
                                                 -0                        1
  130             1.007           1.0262         -0.019229
                                                 -0                        1
  140             0.959          0.98942         -0.030424
                                                 -0                        1
  150             0.912          0.95481         -0.042806
                                                 -0                        1
  160             0.864          0.92217         -0
                                                 -0.058173                 1
  170             0.836          0.89135         -0
                                                 -0.055352                 1
  180             0.798          0.86219         -0.064194
                                                 -0                        1
  190             0.741          0.83456         -0
                                                 -0.093563                 1
  200             0.712          0.80834         -0.096344
                                                 -0                        1
  210             0.684          0.78343         -0.099431
                                                 -0                        1
  220             0.655          0.75973          -
                                                  -0.10473                 1
                                   Exhibit 39
                                     5649
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 619 of 730 Page ID
                                   #:5693
  230             0.627         0.73716          -0.11016




                                   Exhibit 39
                                     5650
                        Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 620 of 730 Page ID
                                                          #:5694
CLIENT : IICCOII                                                        COMPANY::    ENOIHON
LOCATION:               , Cft                                           PROJECT :  fl3-3493X
                                                  Uell P-51 Slug Out
                                                                                                   DATA SET:
                                                                                                   P5IOUTZ.DAT
                                                                                                   09/ZZ/95
                   1.                                                                              AQUIFER MODEL:
                                                                                                   Conf ined
                                                                                                   SOLUTION METHOD:
                                                                                                   Cooper et al.
                                                                                                   TEST DATA:
                  0.8                                                                              H0= Z.I ft
                                                                                                   r_= 0.167 ft
                                                                                                   ru= 0.49 ft
                                                                                                   PARAMETER ESTIMATES:
                                                                                                   T = 4.606E-06 ftz/min
                  0.6                                                                              S = 0.1053

             c
             u
                  0.4
             n,
            .ft
            A



                  0.Z




                   0.    i i i Mini i i 1 1 mil   i i i i mil   i i 1 1 mil      i i 111
                    0.01        0.1          1.           10.           100.               1000.
                                              Time (min)



                                                                    Exhibit 39
                                                                      5651
                                                                                                                           'SOLU
            Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 621 of 730 Page ID
                                              #:5695



                             A Q T E S O L V    R E S U L T S
                                       Version 2.0

                              Developed by Glenn M. Duffield
                          (c) 1993, 1994 Geraghty & Miller, Inc.
09/22/95                                                                              14:02:17

                                        TEST DESCRIPTION
Data set                 P5IOUT2 .DAT
Output file              5IOUT2 .OUT
Data set title           Well P-51 Slug Out
Company                  ENVIRON
Project                  03-3493X
Client                   McColl
Location                 Fullerton, CA
Test date                11/24/94
Units of Measurement
   Length           ft
   Time             min
Test Well Data
   Initial displacement in well              2.1
   Radius of well casing                     0.167
\**£adius of wellbore                        0.49
   Aquifer saturated thickness               8.5
   Well screen length                        8.5
   Static height of water in well...         8.5
   Gravel pack porosity                      0
   Effective well casing radius              0.167
   Effective wellbore radius                 0.49
   Log (Re/Rw)                               2 . 099
   Constants A, B and C                      0.000 ,        0.000,   1.577
   No. of observations                       102

                                        ANALYTICAL METHOD
Cooper et al. (Confined Aquifer Slug Test)

                          RESULTS FROM STATISTICAL CURVE MATCHING

STATISTICAL MATCH PARAMETER ESTIMATES
               Estimate            Std. Error
   T    =     4.6056E-006 +/-      1.8538E-007 ftA2/min
   <3   =     1.0526E-001 +/-      4.6383E-009

ANALYSIS OF MODEL RESIDUALS
residual = observed - calculated
                                               Exhibit 39
                                                 5652
       Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 622 of 730 Page ID
                                         #:5696
weighted residual = residual * weight
Weighted Residual Statistics:
    Number of residuals                    102
  • Number of estimated parameters....     2
    Degrees of freedom                     100
    Residual mean                          -0.02571
    Residual standard deviation            0.05138
    Residual variance                      0 .00264

Model Residuals

     Time           Observed        Calculated         Residual          Weight
        0.0833            2.128           2.1364       -0.0084432                 1
           0.1            2.061           2.0818        -0.020758                 1
        0.1166            2.014           2.0803         -0.06631                 1
        0.1333            1.995            2.079        -0.083954                 1
          0.15            1.976           2.0777         -0.10168                 1
        0.1666            1.976           2.0765         -0.10049                 1
        0.1833            1.985           2.0753        -0.090345                 1
            0.2           1.985           2.0743        -0.089254                 1
        0.2166            1.976           2.0732        -0.097215                 1
        0.2333            1.985           2.0722        -0.087209                 1
          0.25            1.995           2.0712        -0.076239                 1
        0.2666            1.985           2.0703        -0.085308                 1
        0.2833            1.995           2.0694        -0.074399                 1
            0.3           1.995           2.0685        -0.073518                 1
        0.3166            1.995           2.0677        -0.072666                 1
        0.3333            1.995           2.0668        -0.071832                 1
        0.4166            1.976            2.063        -0.086958                 1
            0.5           1.985           2.0595        -0.074458                 1
       0.5833             1.976           2.0562         -0.08025                 1
       0.6666             1.976           2.0533        -0.077269                 1
         0.75             1.966           2.0505         -0.08447                 1
       0.8333             1.976           2.0478         -0.07183                 1
       0.9166             1.966           2.0453        -0.079322                 1
            1             1.957           2.0429        -0.085927                 1
       1.0833             1.966           2.0406        -0.074635                 1
       1.1666             1.957           2.0384        -0.081433                 1
         1.25             1.966           2.0363        -0.070308                 1
       1.3333             1.957           2.0343        -0.077257                 1
       1.4166             1.966           2.0323        -0.066272                 1
          1.5             1.957           2.0303        -0.073345                 1
       1.5833             1.966           2.0285        -0.062474                 1
       1.6666             1.957           2.0267        -0.069654                 1
         1.75             1.957           2.0249        -0.067879                 1
       1.8333             1.957           2.0231        -0.066149                 1
       1.9166             1.957           2.0215         -0.06446                 1
              2           1.947           2.0198        -0.072806                 1
            2.5           1.947           2.0106        -0.063574                 1
              3           1.938           2.0023        -0.064268                 1
            3.5           1.938           1.9947        -0.056665                 1
              4           1.938           1.9876        -0.049618                 1
            4.5           1.938            1.981        -0.043025                 1
              5           1.928           1.9748        -0.046813                 1
            5.5           1.938           1.9689        -0.030925                 1
              6           1.928           1.9633        -0.035317                 1
            6.5           1.919            1.958        -0.038957                 1
                                          Exhibit 39
                                            5653
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 623 of 730 Page ID
                                   #:5697
     7             1.919         1.9528         -0.033814                  1
  7.5              1.919         1.9479         -0.028867                  1
     8             1.919         1.9431         -0.024096                  1
  8.5              1.919         1.9385         -0.019484                  1
     9             1.909           1.934        -0.025019                  1
  9.5              1.909         1.9297         -0.020687                  1
    10                1.9        1.9255         -0.025478                  1
    12                1.9        1.9097        -0.0097089                  1
    14             1.909         1.8953           0.013661                 1
    16              1.89         1.8821         0.0079248                  1
    18               ,881        1.8697           0.011285                 1
    20               .871        1.8581           0.012889                 1
    22               ,862        1 8472           0.014848                 1
    24             1.852         1, 8367           0.01525                 1
    26             1, 843        1.8268           0.016164                 1
    28             1, 843        1.8174           0.025644                 1
    30             1. 843        1.8083           0.034737                 1
    32             1, 824        1.7995           0.024482                 1
    34             1, 824        1.7911           0.032911                 1
    36             1, 814        1.7829           0.031051                 1
    38             1. 805        1.7751           0.029927                 1
    40             1, 805        1.7674           0.037559                 1
    42             1.795             1.76         0.034966                 1
    44             1.786         1.7528           0.033164                 1
    46             1.776         1.7458           0.030167                 1
    48             1.767           1.739          0.027988                 1
    50             1.757          1.7324          0.024638                 1
    52             1.748          1.7259          0.022127                 1
    54             1.748          1.7195          0.028466                  1
    56             1.738          1.7133          0.024661                 1
    58             1.729          1.7073          0.021722                  1
    60             1.729          1.7013          0.027654                  1
    62             1.719          1.6955          0.023465                  1
    64              1.71          1.6898           0.02016                  1
    66                1.7         1.6843          0.015745                  1
    68                1.7         1.6788          0.021225                  1
    70             1.691          1.6734          0.017605                  1
    72             1.681          1.6681          0.012888                  1
    74             1.681          1.6629           0.01808                  1
    76             1.672          1.6578          0.014183                  1
    78             1.662          1.6528         0.0092014                  1
    80             1.653          1.6479         0.0051385                  1
    82             1.662           1.643          0.018997                  1
    84             1.653          1.6382          0.014781                  1
    86             1.653          1.6335          0.019491                  1
    88             1.634          1.6289         0.0051319                  1
    90             1.634          1.6243         0.0097049                  1
    92             1 624          1.6198         0.0042124                  1
    94             1 624          1.6153         0.0086568                  1
    96             1.615           1.611           0.00404                  1
    98             1.615             6066         0.008364                  1
   100             1.605             6024        0.0026307                  1
   110             1.567          1.5818         -0.014838                  1
   120             1.548          1.5625         -0.014509                  1
   130               1.51         1.5442         -0.034232                  1
   140             1.491          1.5269         -0.035884                  1
   150             1.453          1.5104         -0.057363                  1


                                   Exhibit 39
                                     5654
                           Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 624 of 730 Page ID
                                                             #:5698
CLIENT   :HcColl                                                COMPANY : MIINI


LOCATION: FullertuI), CA                                               PROJECT-. 83-3493)1
                                                                P-5L Slug In
                                                                                                 DATA SET:
                                                                                                 P5LINZ.DAT
                                                                                                 09/ZZ/95

                    1.        I "**t- L i 1 I I I                                                AQUIFER MODEL:
                                          +
                                              #^
                                                                                                 Conf ined
                                                                                                 SOLUTION METHOD:
                                                                                                 Cooper et al.
                                                                                                 TEST DATA:
                   0.8                                                                           H0= Z.I ft
                                                                                                 rc= 0.167 ft
                                                                                                 ru= 0.49 ft
                                                                                                 PARAMETER ESTIMATES:
                                                                                                 T = 0.00880Z ftz/min
                   0.6                                                                           S = l.E-05


             i
             «
             £0.4
             f-4
             P.
             co




                   0.Z




                                                            \   \ \ \ \\\\
                     0.1                           1.                  10.                100.
                                                        Time (min)



                                                                             Exhibit 39
                                                                               5655
                                                                                                                        SSOLU
           Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 625 of 730 Page ID
                                             #:5699



                            A Q T E S O L V    R E S U L T S
                                      Version 2.0
                             Developed by Glenn M. Duffield
                         (c) 1993, 1994 Geraghty & Miller, Inc.
09/22/95                                                                              13:43:42

                                       TEST DESCRIPTION
Data set                 P5LIN2 .DAT
Output file              5LIN2 .OUT
Data set title           P-5L Slug In
Company                  ENVIRON
Project                  03-3493S
Client                   McColl
Location                 Orange, CA
Test date                 12/1/94
Units of Measurement
   Length            ft
   Time             min

Test Well Data
   Initial displacement in well              2.1
    ladius of well casing                    0.167
s
 "*<kadius of wellbore                       0.49
   Aquifer saturated thickness               9
   Well screen length                        7
   Static height of water in well...         9
   Gravel pack porosity                      0
   Effective well casing radius              0.167
   Effective wellbore radius                 0.49
   Log (Re/Rw)                               2 . 079
   Constants A, B and C                      0.000 ,       0.000,   1.473
   No. of observations                       56

                                       ANALYTICAL METHOD
Cooper et al. (Confined Aquifer Slug Test)

                         RESULTS FROM STATISTICAL CURVE MATCHING

STATISTICAL MATCH PARAMETER ESTIMATES
               Estimate           Std. Error
   T   =      8.8021E-003 +/-     2.1553E-003 ft*2/min
   S   =      l.OOOOE-005 +/-     2.2565E-005

ANALYSIS OF MODEL RESIDUALS
residual = observed - calculated              Exhibit 39
                                                5656
       Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 626 of 730 Page ID
                                         #:5700
weighted residual = residual * weight
Weighted Residual Statistics:
   Number of residuals                     56
   Number of estimated parameters....      2
   Degrees of freedom                      54
   Residual mean                           0.04855
   Residual standard deviation             0.09906
   Residual variance                       0 . 009813

Model Residuals
    Time           Observed         Calculated          Residual         Weight
         0.1             2.131           2.0554           0.075619                1
      0.1166             2.102           2.0493           0.052668                1
      0.1333              2.14           2.0434           0.096618                1
        0.15             2.131           2.0375           0.093452                1
      0.1666             2.112           2.0319           0.080149                1
      0.1833             2.131           2.0262            0.10479                1
         0.2             2.112           2.0207            0.09135                1
      0.2166             2.102           2.0152           0.086801                1
      0.2333             2.093           2.0098           0.083217                1
        0.25             2.093           2.0044           0.088569                1
      0.2666             2.083           1.9992            0.08383                1
      0.2833             2.083           1.9939           0.089067                1
         0.3             2.083           1.9887           0.094252                1
      0.3166             2.074           1.9836           0.090357                1
      0.3333             2.064           1.9786           0.085446                1
      0.4166             2.055           1.9538             0.1012                1
         0.5             2.035           1.9299            0.10508                1
      0.5833             2.017           1.9068            0.11016                1
      0.6666             1.988           1.8844            0.10358                1
        0.75             1.978           1.8626            0.11542                1
      0.8333              1.94           1.8413           0.098704                1
      0.9166             1.931           1.8205            0.11049                1
           1             1.902           1.8002            0.10184                1
      1.0833             1.883           1.7803            0.10274                1
      1.1666             1.864           1.7608            0.10323                1
        1.25             1.845           1.7416            0.10337                1
      1.3333             1.826           1.7229            0.10313                1
      1.4166             1.798           1.7045           0.093541                1
         1.5             1.798           1.6864            0.11165                1
      1.5833             1.769           1.6686            0.10042                1
      1.6666              1.76           1.6511            0.10889                1
        1.75              1.75           1.6339            0.11609                1
      1.8333             1.722            1.617            0.10499                1
      1.9166             1.703           1.6004            0.10262                1
           2             1.674            1.584           0.090004                1
         2.5             1.579           1.4908           0.088191                1
           3             1.493           1.4053           0.087664                1
         3.5             1.398           1.3265           0.071461                1
           4             1.322           1.2536           0.068379                1
         4.5             1.227           1.1859           0.041055                1
           5             1.151            1.123           0.028016                1
         5.5             1.094           1.0643           0.029708                1
           6             1.027           1.0095           0.017513                1
         6.5              0.97          0.95824           0.011764                1
           7             0.903          0.91025         -0.0072455                1
                                          Exhibit 39
                                            5657
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 627 of 730 Page ID
                                  #:5701




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I                6e6890'0-
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I                986frSO'0-
                 986^50*0-         6601^*0          9S9'0
                                                    959*0            S'6
I                QLOZWQ-
                 8L02frO*0-        QQ9T?L'Q
                                   809^i*0          WL'Q
                                                    frO^'O           6
                 L£ZtO ' 0-        LttQL'Q          ISi'O             S'8
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                                                    808*0             8
I                 1552600*0-       92598*0          958*0             S* L
                                   Exhibit 39
                                     5658
                           Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 628 of 730 Page ID
                                                             #:5702
CLIENT   :NcColl                                                                     COMPANY   : ENVIRON
LOCATION: Fullerton, Cfl                                                             PROJECT: BJ-3493X
                                                           Uell P-5L Slug Out
                                                                                                           DATA SET:
                                                                                                           P5LOUTZ.DAT
                                                                                                           09/ZZ/95
                   1.                                                                                      AQUIFER MODEL:
                                                                                                           Conf ined
                                                                                                           SOLUTION METHOD:
                                                                                                           Cooper et al.
                                                                                                           TEST DATA:
                  0.8                                                                                      H0= Z.I ft
                                                                                                           rc= 0.167 ft
                                                                                                           ru= 0.49 ft
                                                                                                           PARAMETER ESTIMATES:
                                                                                                           T = 0.003898 ft2/min
                  0.6                                                                                      S = 0.001548

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                   0.
                    0.01                   0.1                    1.            10.                100.
                                                          Time (min)



                                                                               Exhibit 39
                                                                                 5659
                                                                                                                                  'SOLU
                Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 629 of 730 Page ID
                                                  #:5703



                                              A Q T E S O L V                       R E S U L T S
                                                                  Version 2 . 0
                                             Developed by Glenn M. Duffield
                                         (c) 1993, 1994 Geraghty & Miller, Inc.

09/22/95                                                                                                                                          13:50:51
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                                                                TEST DESCRIPTION

Data set                                P5LOUT2 .DAT
Output file                             5LOUT2 .OUT
Data set title                          Well P-5L Slug Out
Company                                 ENVIRON
Project                                 03-3493S
Client                                  McColl
Location                                Orange, CA
Test date                               12/1/94
Units of Measurement
   Length            ft
   Time             min
Test Well Data
    Initial displacement in well                                          2.1
    Radius of well casing                                                 0.167
 \^X.adius of wellbore                                                    0.49
    Aquifer saturated thickness                                           9
    Well screen length                                                    7
    Static height of water in well...                                     9
    Gravel pack porosity                                                  0
    Effective well casing radius                                          0.167
    Effective wellbore radius                                             0.49
    Log (Re/Rw)                                                           2 . 079
    Constants A, B and C                                                  0.000 ,            0.000,          1.473
    No. of observations                                                   63

                                                                ANALYTICAL METHOD
Cooper et al. (Confined Aquifer Slug Test)

                                        RESULTS FROM STATISTICAL CURVE MATCHING

STATISTICAL MATCH PARAMETER ESTIMATES
                     Estimate                            Std. Error
     T      =       3.8979E-003 +/-                      2.2879E-004 ftA2/min
     S      =       1.5477E-003 +/-                      3.4934E-004

ANALYSIS OF MODEL RESIDUALS
residual = observed - calculated
                                                                            Exhibit 39
                                                                              5660
       Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 630 of 730 Page ID
                                         #:5704
weighted residual = residual * weight
Weighted Residual Statistics:
   Number of residuals                    63
   Number of estimated parameters....     2
   Degrees of freedom                     61
   Residual mean                          -0.01599
   Residual standard deviation            0.04785
   Residual variance                      0. 002289

Model Residuals
    Time           Observed        Calculated          Residual         Weight
       0.0666            1.949           2.0315         -0.082456                 1
     ' 0.0833            1.939           2.0213         -0.082314                 1
          0.1             1.93            2.013         -0.082975                 1
       0.1166             1.93           2.0023          -0.07232                 1
       0.1333             1.92           1.9968         -0.076824                 1
         0.15            1.901           1.9864          -0.08545                 1
       0.1666            1.911           1.9801         -0.069087                 1
      0.1833             1.901           1.9724         -0.071369                 1
          0.2            1.901           1.9652         -0.064225                 1
      0.2166             1.892           1.9583         -0.066294                 1
       0.2333            1.882           1.9515         -0.069501                 1
         0.25            1.892           1.9449         -0.052869                 1
      0.2666             1.873           1.9384         -0.065424                 1
      0.2833             1.873           1.9321         -0.059075                 1
          0.3            1.873           1.9259         -0.052852                 1
      0.3166             1.863           1.9198         -0. 056781                1
      0.3333             1.854           1.9138         -0.059782                 1
      0.4166             1.844           1.8853         -0.041261                 1
          0.5            1.825           1.8586         -0.033625                 1
      0.5833             1.806           1.8335         -0.027541                 1
      0.6666             1.787           1.8097         -0.022712                 1
         0.75            1.778           1.7869         -0.008921                 1
      0.8333             1.759           1.7651        -0.0060817                 1
      0.9166             1.759           1.7441          0.014943                 1
            1             1.73           1.7237         0.0062631                 1
      1.0833             1.721           1.7041          0.016901                 1
      1.1666             1.702           1.6851          0.016938                 1
         1.25            1.683           1.6666          0.016447                 1
      1.3333             1.664           1.6486          0.015425                 1
      1.4166             1.654           1.6311          0.022929                 1
           1.5           1.635            1.614          0.021013                 1
      1.5833             1.626           1.5973          0.028661                 1
      1.6666             1.616           1.5811           0.03492                 1
        1.75             1.607           1.5652          0.041829                 1
      1.8333             1.588           1.5496          0.038371                 1
      1.9166             1.569           1.5344          0.034582                 1
           2             1.559           1.5195          0.039497                 1
         2.5             1.483            1.436          0.047031                 1
           3             1.416           1.3609          0.055063                 1
         3.5              1.34           1.2928          0.047182                 1
           4             1.283           1.2305          0.052503                 1
         4.5             1.226           1.1731          0.052862                 1
           5             1.169           1.1201          0.048902                 1
         5.5             1.103           1.0709          0.032139                 1
           6             1.055            1.025          0.029997                 1
                                          Exhibit 39
                                            5661
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 631 of 730 Page ID
                                  #:5705
  6.5             1.008         0.98217          0.025825                  1
     7            0.969         0.94208          0.026922                  1
  7.5              0.922        0.90446          0.017542                  1
     8             0.884         0.8691          0.014905                  1
  8.5              0.836         0.8358        0.00020378                  1
     9             0.798        0.80439        -0.0063923                  1
  9.5               0.77        0.77473        -0.0047334                  1
   10              0.732        0.74669         -0.014686                  1
   12              0.618        0.64839         -0.030388                  1
   14              0.532        0.56813         -0.036132                  1
   16              0.446        0.50174         -0.055743                  1
   18               0.39        0.44623         -0.056226                  1
   20              0.342        0.39937         -0.057371                  1
   22              0.304         0.3595         -0.055505                  1
   24              0.266        0.32534         -0.059339                  1
   26              0.256        0.29587         -0.039868                  1
   28              0.228        0.27029         -0.042294                  1
   30              0.209        0.24798         -0.038981                  1




                                   Exhibit 39
                                     5662
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 632 of 730 Page ID
                                  #:5706


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                                     Exhibit 39
                                       5663
           Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 633 of 730 Page ID
                                             #:5707



                            A Q T E S O L V    R E S U L T S
^^                                    Version 2 . 0
                             Developed by Glenn M. Duf field
                         (c) 1993, 1994 Geraghty & Miller, Inc.
09/25/95                                                                             08:32:08

                                      TEST DESCRIPTION
Data set ........... P9DIN2 .DAT
Output file ........ 9DIN2.0UT
Data set title ..... P-9D Slug In
Company ............ ENVIRON
Project ............ 03-3493X
Client ............. McColl
Location ........... Fullerton, CA
Test date .......... 12/1/94
Units of Measurement
   Length .......... ft
   Time ............ min
Test Well Data
    Initial displacement in well ..... 2.1
     ladius of well casing ............ 0.167
 ***»»&adius of wellbore ............... 0.49
    Aquifer saturated thickness ...... 70
    Well screen length ............... 17
    Static height of water in well... 51.09
    Gravel pack porosity ............. 0
    Effective well casing radius ..... 0.167
    Effective wellbore radius ........ 0.49
    Log (Re/Rw) ....................... 2.81
    Constants A, B and C ............. 2.591 ,             0.422,   0.000
    No. of observations .............. 54

                                      ANALYTICAL METHOD
Bouwer-Rice (Confined Aquifer Slug Test)

                        RESULTS FROM STATISTICAL CURVE MATCHING

STATISTICAL MATCH PARAMETER ESTIMATES
              Estimate            Std. Error
   K =       4.3885E-003 +/-      1.4821E-004 ft/min
   vO =      2.0640E+000 +/-      3.4139E-002 ft

ANALYSIS OF MODEL RESIDUALS
residual = observed - calculated              Exhibit 39
                                                5664
       Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 634 of 730 Page ID
                                         #:5708
weighted residual = residual * weight
Weighted Residual Statistics:
   Number of residuals                     54
   Number of estimated parameters....      2
   Degrees of freedom                      52
   Residual mean                           0.01525
   Residual standard deviation             0.06808
   Residual variance                       0.004635

Model Residuals:
     Time           Observed        Calculated          Residual         Weight
          0.05            2.105          1.8766             0.22839               1
        0.0666            1.858          1.8182            0.039767               1
        0.0833            1.438          1.7613            -0.32334               1
           0.1            1.886          1.7062             0.17978               1
        0.1166            1.667          1.6531            0.013854               1
        0.1333            1.619          1.6014            0.017584               1
          0.15            1.553          1.5513           0.0016946               1
        0.1666            1.495           1.503          -0.0080484               1
        0.1833            1.457           1.456          0.00098464               1
            0.2             1.4          1.4105           -0.010454               1
       0.2166             1.352          1.3666           -0.014579               1
       0.2333             1.305          1.3238           -0.018816               1
         0.25             1.248          1.2824           -0.034391               1
       0.2666             1.209          1.2425             -0.0335               1
       0.2833             1.181          1.2036            -0.02262               1
            0.3           1.143           1.166           -0.022956               1
       0.3166             1.095          1.1297           -0.034687               1
       0.3333             1.067          1.0943           -0.027337               1
       0.4166             0.895         0.93386           -0.038859               1
            0.5           0.771         0.79676           -0.025763               1
        0.5833            0.657         0.67992           -0.022922               1
        0.6666            0.562         0.58022           -0.018216               1
          0.75            0.495         0.49504        -3.6496E-005               1
        0.8333            0.428         0.42244           0.0055576               1
        0.9166            0.362         0.36049           0.0015061               1
              1           0.323         0.30757            0.015429               1
       1.0833             0.285         0.26247            0.022532               1
       1.1666             0.266         0.22398            0.042022               1
         1.25             0.228          0.1911            0.036903               1
       1.3333             0.209         0.16307            0.045926               1
       1.4166             0.181         0.13916             0.04184               1
          1.5             0.161         0.11873             0.04227               1
       1.5833             0.142         0.10132            0.040681               1
       1.6666             0.133        0.086462            0.046538               1
         1.75             0.123        0.073768            0.049232               1
       1.8333             0.123        0.062951            0.060049               1
       1.9166             0.114        0.053719            0.060281               1
              2           0.104        0.045833            0.058167               1
            2.5           0.066        0.017693            0.048307               1
              3           0.057       0.0068299             0.05017               1
            3.5           0.038       0.0026365            0.035363               1
              4           0.038       0.0010178            0.036982               1
            4.5           0.038      0.00039288            0.037607               1
              5           0.038      0.00015166            0.037848               1
            5.5           0.038     5.8546E-005            0.037941               1
                                          Exhibit 39
                                            5665
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 635 of 730 Page ID
                                  #:5709
     6             0.028     2.26E- 005          0.027977                  1
  6.5              0.018   8.7243E- 006          0.017991                  1
     7             0.018     3678E- 006          0.017997                  1
  7.5              0.018     3001E- 006          0.017999                  1
     8             0.018     0185E-  007         0.017999                  1
  8.5              0.018     9373E- 007              0.018                 1
     9             0.009     4784E- 008         0.0089999                  1
  9.5              0.009     8869E- 008              0.009                 1
   10              0.009   1.1144E- 008              0.009                 1




                                   Exhibit 39
                                     5666
                              Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 636 of 730 Page ID
                                                                #:5710
CLIENT   :HcColl                                                                  COMPANY   :ENUIfiON
LOCATION:                                                                         PROJECT: 03-349311

                                                          Uell P-9D Slug Out
                                                                                                        DATA SET:
                                                                                                        P9DOUTZ.DAT
                                                                                                        09/Z5/95
                   10.                    I   \   I I      I I I I       r ri i                         AQUIFER MODEL:
                                                                                                        Conf ined
                                                                                                        SOLUTION METHOD:
                                                                                                        Bouuer-Rice
                                                                                                        TEST DATA:
                                                                                                        H0= Z.I ft
                                                                                                        rc= 0.167 ft
                                                                                                        ru= 0.49 ft
                    1.                                                                                  L = 17. ft
                                                                                                        b = 70. ft
                                                                                                        H = 51.09 ft
                                                                                                        PARAMETER ESTIMATES:
            u                                                                                           K = 0.003439 ft/min
            o>                                                                                          y0 = 1.80Z ft
            u
            0


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            1—4




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                         0.          Z.                 4.          6.            8.            10.
                                                          Time (min)



                                                                            Exhibit 39
                                                                              5667
                Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 637 of 730 Page ID
                                                  #:5711



                                               A Q T E S O L V    R E S U L T S
                                                         Version 2.0
                                             Developed by Glenn M. Duffield
                                         (c) 1993, 1994 Geraghty & Miller, Inc.
09/25/95                                                                                                                                            08:35:24
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                                                                 TEST DESCRIPTION

Data set                                P9DOUT2 .DAT
Output file                             9DOUT2 .OUT
Data set title                          Well P-9D Slug Out
Company                                 ENVIRON
Project                                 03-3493X
Client                                  McColl
Location                                Fullerton, CA
Test date                               12/1/94
Units of Measurement
   Length            ft
   Time              min
Test Well Data
    Initial displacement in well                                           2.1
    ladius of well casing                                                  0.167
 >**£adius of wellbore                                                     0.49
    Aquifer saturated thickness                                            70
    Well screen length                                                     17
    Static height of water in well...                                      51.09
    Gravel pack porosity                                                   0
    Effective well casing radius                                           0.167
    Effective wellbore radius                                              0.49
    Log (Re/Rw)                                                            2.81
    Constants A, B and C                                                   2.591 ,            0.422,           0.000
    No. of observations                                                    54

                                                                 ANALYTICAL METHOD
Bouwer-Rice (Confined Aquifer Slug Test)

                                         RESULTS FROM STATISTICAL CURVE MATCHING

STATISTICAL MATCH PARAMETER ESTIMATES
                     Estimate                            Std. Error
     K =            3.4394E-003 +/-                      1.5011E-004 ft/min
     VO =           1.8023E+000 +/-                      3.6282E-002 ft

ANALYSIS OF MODEL RESIDUALS
residual = observed - calculated
                                                                              Exhibit 39
                                                                                5668
      Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 638 of 730 Page ID
                                        #:5712
weighted residual = residual * weight
Weighted Residual Statistics:
   Number of residuals                    54
   Number of estimated parameters....     2
   Degrees of freedom                     52
   Residual mean                          0.03737
   Residual standard deviation            0.08438
   Residual variance                      0 . 007121

Model Residuals
     Time          Observed        Calculated          Residual         Weight
        0.05            1.943           1.6728            0.27024                1
      0.0666            1.733           1.6318            0.10116                1
      0.0833            1.686           1.5917           0.094319                1
          0.1           1.591           1.5525           0.038488                1
      0.1166            1.543           1.5145           0.028466                1
      0.1333            1.486           1.4773          0.0087361                1
        0.15            1.438           1.4409         -0.0029111                1
      0.1666            1.381           1.4057          -0.024663                1
      0.1833            1.333           1.3711          -0.038072                1
         0.2            1.286           1.3373          -0.051332                1
      0.2166            1.238           1.3046          -0.066618                1
      0.2333            1.219           1.2725          -0.053513                1
        0.25            1.171           1.2412          -0.070199                1
      0.2666            1.133           1.2108          -0.077836                1
      0.2833            1.086            1.181           -0.09504                1
         0.3            1.057            1.152          -0.094977                1
      0.3166            1.028           1.1238          -0.095796                1
      0.3333             0.99           1.0961           -0.10614                1
      0.4166            0.895          0.96804          -0.073037                1
         0.5            0.838          0.85478          -0.016776                1
      0.5833            0.743          0.75488          -0.011879                1
      0.6666            0.667          0.66666         0.00034268                1
        0.75             0.59          0.58866           0.001342                1
      0.8333            0.524          0.51986          0.0041378                1
      0.9166            0.476          0.45911           0.016894                1
            1           0.428          0.40539           0.022609                1
      1.0833              0.4          0.35801           0.041987                1
      1.1666            0.343          0.31617           0.026827                1
        1.25            0.323          0.27918            0.04382                1
      1.3333            0.286          0.24655           0.039447                1
      1.4166            0.266          0.21774           0.048262                1
         1.5            0.248          0.19226           0.055737                1
      1.5833            0.238          0.16979           0.068207                1
      1.6666            0.209          0.14995            0.05905                1
        1.75            0.209          0.13241           0.076594                1
      1.8333              0.2          0.11693           0.083069                1
      1.9166             0.19          0.10327           0.086734                1
            2           0.181         0.091184           0.089816                1
         2.5            0.143         0.043245           0.099755                1
            3           0.133          0.02051            0.11249                1
         3.5            0.124        0.0097271            0.11427                1
            4           0.114        0.0046132            0.10939                1
         4.5            0.114        0.0021879            0.11181                1
            5           0.105        0.0010376            0.10396                1
         5.5            0.105       0.00049212            0.10451                1
                                         Exhibit 39
                                           5669
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 639 of 730 Page ID
                                  #:5713
     6             0.105    0.00023339             0.10477                 1
  6.5             0.095     0.00011069           0.094889                  1
     7            0.095    5 2497E-005           0.094948                  1
  7.5             0.105    2 4897E-005             0.10498                 1
     8            0.095    1 1808E-005           0.094988                  1
  8.5             0.085    5 6001E-006           0.084994                  1
     9            0.085    2 6559E-006           0.084997                  1
  9.5              0.085   1 2596E-006           0.084999                  1
   10              0.085    5.974E-007           0.084999                  1




                                   Exhibit 39
                                     5670
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 640 of 730 Page ID
                                  #:5714




                            Displacement (ft)
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                                            Exhibit 39
                                              5671
           Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 641 of 730 Page ID
                                             #:5715



                            A Q T E S O L V    R E S U L T S
                                      Version 2.0

                             Developed by Glenn M. Duffield
                         (c) 1993, 1994 Geraghty & Miller, Inc.
09/26/95                                                                             15:27:09

                                      TEST DESCRIPTION

Data set                P10DIN2 .DAT
Output file             10DIN2.0UT
Data set title          Well P-10D Slug In
Company                 ENVIRON
Project                 03-3493X
Client                  McColl
Location                Fullerton, CA
Test date               11/23/94
Units of Measurement
   Length            ft
   Time              min
Test Well Data
   Initial displacement in well             2.1
   Radius of well casing                    0.167
^•"Radius of wellbore                       0.448
   Aquifer saturated thickness              13
   Well screen length                       10
   Static height of water in well...        13
   Gravel pack porosity                     0
   Effective well casing radius             0.167
   Effective wellbore radius                 0.448
   Log (Re/Rw)                              2.474
   Constants A, B and C                     0.000,,        0.000, 1.732
   No. of observations                      52

                                      ANALYTICAL METHOD
Bouwer-Rice (Confined Aquifer Slug Test)

                        RESULTS FROM STATISTICAL CURVE MATCHING

STATISTICAL MATCH PARAMETER ESTIMATES
              Estimate            Std. Error
   K =       1.0419E-002 +/-      2.7717E-004 ft/min
   vO =      2.1272E+000 +/-      3.6726E-002 ft

ANALYSIS OF MODEL RESIDUALS
residual = observed - calculated              Exhibit 39
                                                5672
       Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 642 of 730 Page ID
                                         #:5716
weighted residual = residual * weight
Weighted Residual Statistics:
   Number of residuals                      52
   Number of estimated parameters....       2
   Degrees of freedom                       50
   Residual mean                            0.02297
   Residual standard deviation              0.04096
   Residual variance                        0.001678

Model Residuals:
     Time           Observed        Calculated         Residual          Weight
       0.0833             1.646           1.654        -0.0080425                 1
          0.1             1.636          1.5727          0.063308                 1
       0.1166             1.551          1.4958          0.055205                 1
       0.1333             1.427          1.4222         0.0047727                 1
         0.15             1.361          1.3523         0.0087217                 1
       0.1666             1.275          1.2862         -0.011158                 1
       0.1833             1.218          1.2229        -0.0049012                 1
          0.2             1.151          1.1628         -0.011756                 1
       0.2166             1.094          1.1059         -0.011902                 1
       0.2333             1.027          1.0515         -0.024511                 1
         0.25             0.979         0.99979         -0.020795                 1
       0.2666             0.932         0.95091         -0.018909                 1
       0.2833             0.885         0.90414         -0.019141                 1
          0.3             0.837         0.85967         -0.022673                 1
       0.3166             0.808         0.81764        -0.0096385                 1
       0.3333             0.742         0.77742         -0.035425                 1
       0.4166              0.57         0.60451         -0.034514                 1
          0.5             0.428         0.46992         -0.041918                 1
       0.5833             0.352          0.3654         -0.013401                 1
       0.6666             0.285         0.28413        0.00086954                 1
         0.75             0.228         0.22087         0.0071313                 1
       0.8333             0.209         0.17174          0.037256                 1
       0.9166              0.18         0.13355          0.046454                 1
            1             0.161         0.10381          0.057188                 1
       1.0833             0.142        0.080722          0.061278                 1
       1.1666             0.123        0.062768          0.060232                 1
         1.25             0.114        0.048793          0.065207                 1
       1.3333             0.114        0.037941          0.076059                 1
       1.4166             0.094        0.029502          0.064498                 1
            1.5           0.085        0.022933          0.062067                 1
       1.5833             0.085        0.017833          0.067167                 1
       1.6666             0.085        0.013866          0.071134                 1
         1.75             0.066        0.010779          0.055221                 1
       1.8333             0.075       0.0083816          0.066618                 1
       1.9166             0.066       0.0065174          0.059483                 1
              2           0.056       0.0050663          0.050934                 1
            2.5           0.056       0.0011192          0.054881                 1
              3           0.037      0.00024725          0.036753                 1
            3.5           0.047     5.4621E-005          0.046945                 1
              4           0.028     1.2067E-005          0.027988                 1
            4.5           0.028     2.6657E-006          0.027997                 1
              5           0.028     5.8889E-007          0.027999                 1
            5.5           0.028     1.3009E-007             0.028                 1
              6           0.018      2.874E-008             0.018                 1
            6.5           0.028      6.349E-009             0.028                 1
                                          Exhibit 39
                                            5673
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 643 of 730 Page ID
                                  #:5717




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T                 820*0            OTO-3S860*£       820*0              B'L
I                 810*0            600-3920*7*1      8TO*0              L
                                   Exhibit 39
                                     5674
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 644 of 730 Page ID
                                  #:5718
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                                               Exhibit 39
                                                 5675
           Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 645 of 730 Page ID
                                             #:5719



                            A Q T E S O L V   R E S U L T S
                                      Version 2 . 0

                             Developed by Glenn M. Duffield
                         (c) 1993, 1994 Geraghty & Miller, Inc.
09/26/95                                                                             15:28:46

                                       TEST DESCRIPTION

Data set                P100UT2 .DAT
Output file             10DOUT2 .OUT
Data set title          Well P-10D Slug Out
Company                 ENVIRON
Project                 03-3493X
Client                  McColl
Location                Fullerton, CA
Test date               11/23/94
Units of Measurement
   Length            ft
   Time             min
Test Well Data
    Initial displacement in well            2.1
    Radius of well casing                   0.167
 "*w£adius of wellbore                      0.448
   Aquifer saturated thickness              13
   Well screen length                       10
   Static height of water in well...        13
   Gravel pack porosity                     0
   Effective well casing radius             0.167
   Effective wellbore radius                0.448
   Log (Re/Rw)                              2 . 474
   Constants A, B and C                     0.000,,        0.000,   1.732
   No. of observations                      56

                                       ANALYTICAL METHOD
Bouwer-Rice (Confined Aquifer Slug Test)

                        RESULTS FROM STATISTICAL CURVE MATCHING

STATISTICAL MATCH PARAMETER ESTIMATES
              Estimate            Std. Error
   K =       9.6103E-003 + /-     3.2685E-004 ft /min
    '0 =     1.7694E+000 +/-      3.2047E-002 ft

ANALYSIS OF MODEL RESIDUALS
residual = observed - calculated              Exhibit 39
                                                5676
       Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 646 of 730 Page ID
                                         #:5720
weighted residual = residual * weight
Weighted Residual Statistics:
   Number of residuals                     56
   Number of estimated parameters....      2
   Degrees of freedom                      54
   Residual mean                           0.02885
   Residual standard deviation             0.05483
   Residual variance                       0.003006

Model Residuals:
     Time           Observed        Calculated         Residual          Weight
       0.0333             1.665          1.6126           0.05237                 1
         0.05             1.665          1.5393           0.12567                 1
       0.0666             1.522          1.4698          0.052228                 1
       0.0833             1.427           1.403          0.024034                 1
          0.1             1.341          1.3392         0.0018039                 1
       0.1166             1.284          1.2787         0.0053189                 1
       0.1333             1.189          1.2206         -0.031561                 1
         0.15             1.132          1.1651         -0.033082                 1
       0.1666             1.075          1.1124         -0.037435                 1
       0.1833             1.018          1.0619         -0.043871                 1
            0.2            0.97          1.0136         -0.043605                 1
       0.2166             0.932          0.9678         -0.035803                 1
       0.2333             0.875         0.92381         -0.048813                 1
         0.25             0.837         0.88182         -0.044822                 1
       0.2666             0.799         0.84197         -0.042975                 1
       0.2833             0.761          0.8037         -0.042704                 1
          0.3             0.732         0.76717         -0.035173                 1
       0.3166             0.694         0.73251         -0.038506                 1
       0.3333             0.665         0.69921         -0.034211                 1
       0.4166             0.532         0.55442         -0.022416                 1
          0.5             0.447         0.43948         0.0075167                 1
       0.5833             0.371         0.34847          0.022526                 1
       0.6666             0.323         0.27631           0.04669                 1
         0.75             0.266         0.21903           0.04697                 1
       0.8333             0.237         0.17367          0.063327                 1
       0.9166             0.209         0.13771          0.071292                 1
            1              0.19         0.10916           0.08084                 1
       1.0833             0.161        0.086555          0.074445                 1
       1.1666             0.152        0.068631          0.083369                 1
         1.25             0.133        0.054403          0.078597                 1
       1.3333             0.133        0.043137          0.089863                 1
       1.4166             0.113        0.034204          0.078796                 1
          1.5             0.104        0.027114          0.076886                 1
       1.5833             0.104        0.021499          0.082501                 1
       1.6666             0.095        0.017047          0.077953                 1
         1.75             0.095        0.013513          0.081487                 1
       1.8333             0.085        0.010715          0.074285                 1
       1.9166             0.085       0.0084958          0.076504                 1
              2           0.076       0.0067346          0.069265                 1
            2.5           0.066       0.0016728          0.064327                 1
              3           0.057      0.00041549          0.056585                 1
            3.5           0.047       0.0001032          0.046897                 1
              4           0.057     2.5633E-005          0.056974                 1
            4.5           0.037     6.3668E-006          0.036994                 1
              5           0.037     1.5814E-006          0.036998                 1
                                          Exhibit 39
                                            5677
         Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20   Page 647 of 730 Page ID
                                           #:5721
           5.5              0.037    3.928E-007                 0.037                1
              6             0.028   9.7565E-008                 0.028                1
           6.5              0.028   2.4233E-008                 0.028                1
              7             0.028   6.0192E-009                 0.028                1
           7.5              0.028   1.4951E-009                 0.028                1
              8             0.018   3.7135E-010                 0.018                1
           8.5              0.028   9.2237E-011                 0.028                1
              9             0.028    2.291E-011                 0.028                1
           9.5              0.028   5.6905E-012                 0.028                1
            10              0.028   1.4134E-012                 0.028                1
            12              0.028   5.3798E-015                 0.028                1
          :===============================================================:
                          RESULTS FROM VISUAL CURVE MATCHING


VISUAL MATCH PARAMETER ESTIMATES

            Estimate
  K =      9.6103E-003 ft/min
  yO =     1.7694E+000 ft




                                            Exhibit 39
                                              5678
                            Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 648 of 730 Page ID
CLIENT   :NcColl
                                                              #:5722
                                                                          COMPANY   •.mm
LOCATION: Fullerton, Cfl                                                  PBOJECT: B3-3M

                                                      Uell P-10L Slug In
                                                                                           DATA SET:
                                                                                           P10LINZ.DAT
                                                                                           09/Z5/95
                10.                      I I I I                                           AQUIFER MODEL:
                                                                                           Conf ined
                                                                                           SOLUTION METHOD:
                                                                                           Bouuer-Rice
                                                                                           TEST DATA:
                                                                                           H0= Z.I ft
                                                                                               0.167 ft
                                                                                           ru= 0.448 ft
                                                                                           L = 10. ft
                                                                                           b = 31. ft
                                                                                           H = 31. ft
                                                                                           PARAMETER ESTIMATES:
            U                                                                              K = 0.001706 ft/min
            U                                                                              y0 = 1.604 ft



                0.1




                0.01          I I I I I I I I I I I I I I I I I I I I I I I
                       0.          1.8             3.6        5.4         7.Z
                                                     Time (min)



                                                                    Exhibit 39
                                                                      5679                                        ESOLU
               Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 649 of 730 Page ID
                                                 #:5723


                                            A Q T E S O L V                     R E S U L T S
                                                               Version 2 . 0
                                           Developed by Glenn M. Duf field
                                       (c) 1993, 1994 Geraghty & Miller, Inc.
09/25/95                                                                                                                                   08:52:20

                                                             TEST DESCRIPTION
Data set ........... P10LIN2.DAT
Output file ........ P10LIN.OUT
Data set title ..... Well P-IOL Slug In
Company ............ ENVIRON
Project ............ 03-3493X
Client ............. McColl
Location ........... Fullerton, CA
Test date .......... 7/21/95
Units of Measurement
   Length .......... ft
   Time ............ min
Test Well Data
   Initial displacement in well ..... 2.1
   Radius of well casing ............ 0.167
     dius of wellbore ............... 0.448
   Aquifer saturated thickness ...... 31
   Well screen length ............... 10
   Static height of water in well... 31
   Gravel pack porosity ............. 0
   Effective well casing radius ..... 0.167
   Effective wellbore radius ..... . .. 0.448
   Log (Re/Rw) ....................... 2 . 966
   Constants A, B and C ............. 0.000 ,                                           0.000,          1.732
   No. of observations .............. 43
= = = = = = == = = = = = ^i=izzrs= = =; = = = = = ^ = ^^ss^ = = = = = = s = = s = = = = = = = = = = = ^=ss=^ = =i=s:==: = ==^=:=======:ss=:r=
                                                             ANALYTICAL METHOD
Bouwer-Rice (Confined Aquifer Slug Test)

                                      RESULTS FROM STATISTICAL CURVE MATCHING

STATISTICAL MATCH PARAMETER ESTIMATES
                    Estimate                         Std. Error
     K =           1.7062E-003 +/-                   1.9327E-005 ft /min
     yO =          1.6041E+000 +/-                   7.4474E-003 ft

ANALYSIS OF MODEL RESIDUALS
residual = observed - calculated
                                                                         Exhibit 39
                                                                           5680
       Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 650 of 730 Page ID
                                         #:5724
weighted residual = residual * weight
Weighted Residual Statistics:
   Number of residuals                     43
   Number of estimated parameters....      2
   Degrees of freedom                      41
   Residual mean                           -8.102E-005
   Residual standard deviation             0.02
   Residual variance                       0.0003998

Model Residuals
     Time           Observed        Calculated         Residual          Weight
            0.2           1.539           1.4771         0.061949                 1
        0.2166            1.501            1.467         0.034031                 1
        0.2333            1.472           1.4569         0.015104                 1
          0.25            1.453           1.4469        0.0061074                 1
        0.2666            1.444            1.437        0.0069833                 1
        0.2833            1.424           1.4271       -0.0031494                 1
            0.3           1.424           1.4173        0.0066502                 1
        0.3166            1.396           1.4077        -0.011676                 1
        0.3333            1.396            1.398       -0.0020096                 1
        0.4166            1.348           1.3508       -0.0027782                 1
            0.5           1.291           1.3051        -0.014089                 1
        0.5833            1.233            1.261        -0.027996                 1
        0.6666            1.214           1.2184        -0.004394                 1
          0.75            1.166           1.1772        -0.011182                 1
        0.8333            1.118           1.1374        -0.019411                 1
        0.9166             1.08            1.099        -0.018984                 1
              1           1.051           1.0618        -0.010811                 1
       1.0833             0.975           1.0259        -0.050938                 1
       1.1666             0.965          0.99128        -0.026277                 1
         1.25             0.946          0.95775        -0.011748                 1
       1.3333             0.918          0.92539       -0.0073904                 1
       1.4166             0.889          0.89413       -0.0051262                 1
            1.5            0.87          0.86388        0.0061173                 1
       1.5833             0.831           0.8347       -0.0036967                 1
       1.6666             0.812           0.8065        0.0055034                 1
         1.75             0.784          0.77922        0.0047829                 1
       1.8333             0.764          0.75289         0.011109                 1
       1.9166             0.726          0.72746       -0.0014552                 1
              2           0.707          0.70285        0.0041507                 1
            2.5           0.583          0.57183         0.011166                 1
              3           0.487          0.46524          0.02176                 1
            3.5           0.401          0.37852         0.022484                 1
              4           0.334          0.30796         0.026042                 1
            4.5           0.286          0.25055         0.035447                 1
              5           0.219          0.20385         0.015152                 1
            5.5           0.181          0.16585         0.015151                 1
              6           0.133          0.13493        -0.001934                 1
            6.5           0.104          0.10978       -0.0057814                 1
              7           0.086         0.089317       -0.0033174                 1
            7.5           0.057         0.072668        -0.015668                 1
              8           0.057         0.059122       -0.0021223                 1
            8.5           0.018         0,048101        -0.030101                 1
              9           0.018         0.039135        -0.021135                 1

                                          Exhibit 39
                                            5681
                            Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 651 of 730 Page ID
                                                              #:5725
CLIENT :|)CC011                                                  COMPANY                                             : ENVIRON
LOCATION: Fullerton, CA                                                                                 PROJECT: 03-3493X
                                                                   Uell P-10L Slug Out
                                                                                                                                    DATA SET:
                                                                                                                                    P10LOUT.DAT
                                                                                                                                    09/Z5/95
                 10.                                               I I I       I       I   I    I I          I   I    I I -         AQUIFER MODEL:
                                                                                                                                    Conf ined
                                                                                                                                    SOLUTION METHOD:
                                                                                                                                    Bouwer-Rice
                                                                                                                                    TEST DATA:
                                                                                                                                    H0= Z.I ft
                                                                                                                                    rc= 0.167 ft
                                                                                                                                    r_= 0.448 ft
                  1.                                                                                                                L = 10. ft
                                                                                                                                    b = 31. ft
                                                                                                                                    H = 31. ft
                                                                                                                                    PARAMETER ESTIMATES:
           iu                                                                                                                       K = 0.001ZZ8 ft/min
                                                                                                                                    y0 = Z.167 ft

           8-
                0.1




                0.01        I   I   I   I   I    I   I   I   I I   I   I   I   I   I   I   I    I   I    I   I   I    I   I
                       0.                   Z.                4.         6.                             8.                    10.
                                                                Time (min)



                                                                                               Exhibit 39
                                                                                                 5682
           Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 652 of 730 Page ID
                                             #:5726


                            A Q T E S O L V   R E S U L T S
                                      Version 2 . 0
                             Developed by Glenn M. Duf field
                         (c) 1993, 1994 Geraghty & Miller, Inc.
09/25/95                                                                             08:47:31
===========================================================
                                TEST DESCRIPTION
Data set ........... P10LOUT.DAT
Output file ........ P10LOUT.OUT
Data set title ..... Well P-IOL Slug Out
Company ............ ENVIRON
Project ............ 03-3493X
Client ............. McColl
Location ........... Fullerton, CA
Test date .......... 7/21/95
Units of Measurement
   Length .......... ft
   Time ............ min
Test Well Data
   Initial displacement in well ..... 2.1
   ladius of well casing ............ 0 . 167
 X^adius of wellbore ............... 0.448
   Aquifer saturated thickness ...... 31
   Well screen length ............... 10
   Static height of water in well... 31
   Gravel pack porosity ............. 0
   Effective well casing radius ..... 0.167
   Effective wellbore radius ........ 0.448
   Log (Re/Rw) ....................... 2 . 966
   Constants A, B and C ............. 0.000 ,              0.000,   1.732
   No. of observations .............. 56

                                      ANALYTICAL METHOD
Bouwer-Rice (Confined Aquifer Slug Test)

                        RESULTS FROM STATISTICAL CURVE MATCHING

STATISTICAL MATCH PARAMETER ESTIMATES
              Estimate            Std. Error
   K =       1.2282E-003 +/-      1.4355E-005 ft/min
   VO =      2.1674E+000 +/-      7.5692E-003 ft

ANALYSIS OF MODEL RESIDUALS
residual = observed - calculated
                                              Exhibit 39
                                                5683
       Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 653 of 730 Page ID
                                         #:5727
weighted residual = residual * weight
Weighted Residual Statistics:
   Number of residuals                     56
   Number of estimated parameters....      2
   Degrees of freedom                      54
   Residual mean                           -0.005693
   Residual standard deviation             0.0329
   Residual variance                       0 . 001082

Model Residuals
     Time           Observed        Calculated          Residual         Weight
          0.03            2.217           2.1482           0.068781                 1
      ' 0.0333            2.198           2.1461           0.051885                 1
          0.05            2.141           2.1355          0.0055026                 1
        0.0666            2.112            2.125          -0.012996                 1
        0.0833            2.093           2.1145          -0.021483                 1
            0.1           2.093            2.104          -0.011021                 1
       0.1166             2.083           2.0937          -0.010674                 1
       0.1333             2.074           2.0833         -0.0093163                 1
         0.15             2.055            2.073          -0.018009                 1
       0.1666             2.045           2.0628          -0.017815             •   1
       0.1833             2.036           2.0526          -0.016609                 1
            0.2           2.026           2.0425          -0.016455                 1
       0.2166             2.017           2.0324           -0.01541                 1
       0.2333             1.998           2.0224          -0.024355                 1
         0.25             1.988           2.0124           -0.02435                 1
       0.2666             1.988           2.0025          -0.014454                 1
       0.2833             1.969           1.9925          -0.023547                 1
            0.3           1.959           1.9827          -0.023689                 1
       0.3166              1.95           1.9729          -0.022939                 1
       0.3333              1.95           1.9632          -0.013178                 1
       0.4166             1.902           1.9152          -0.013208                 1
            0.5           1.854           1.8684          -0.014354                 1
       0.5833             1.816           1.8227         -0.0067003                 1
       0.6666             1.778           1.7782        -0.00016247                 1
         0.75              1.73           1.7347         -0.0046614                 1
       0.8333             1.692           1.6923        -0.00027472                 1
       0.9166             1.663           1.6509           0.012076                 1
              1           1.615           1.6105          0.0044645                 1
       1.0833             1.577           1.5712          0.0058181                 1
       1.1666             1.548           1.5328            0.01521                 1
         1.25              1.51           1.4953           0.014708                 1
       1.3333             1.472           1.4588           0.013246                 1
       1.4166             1.443           1.4231           0.019891                 1
          1.5             1.414           1.3883           0.025706                 1
       1.5833             1.386           1.3544           0.031629                 1
       1.6666             1.348           1.3213           0.026723                 1
         1.75             1.319            1.289           0.030047                 1
       1.8333              1.29           1.2575           0.032543                 1
       1.9166             1.261           1.2267           0.034269                 1
              2           1.233           1.1967            0.03628                 1
            2.5            1.07           1.0316           0.038418                 1
              3           0.918          0.88923           0.028768                 1
            3.5           0.793          0.76652           0.026475                 1
              4           0.678          0.66075            0.01725                 1
            4.5           0.573          0.56957          0.0034281                 1
                                          Exhibit 39
                                            5684
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 654 of 730 Page ID
                                   #:5728
    5             0.487         0.49098        -0.0039754                  1
  5.5             0 ,411        0.42322         -0.012225                  1
    6             0 ,344        0.36482         -0.020823                  1
  6.5             0 ,286        0.31448          -0.02848                  1
    7             0.229         0.27108         -0.042084                  1
  7.5             0.181         0.23368         -0.052677                  1
    8             0.143         0.20143         -0.058431                  1
  8.5             0.114         0.17364         -0.059635                  1
    9             0.076         0.14967         -0.073675                  1
  9.5             0.047         0.12902         -0.082021                  1
   10             0.019         0.11122         -0.092217                  1




                                   Exhibit 39
                                     5685
      Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 655 of 730 Page ID
                                        #:5729




V-/




                                    APPENDIX H

                 SUMMARY OF QUARTERLY MONITORING PROGRAM




                             GROUNDWATER RI REPORT
                                   McCOLL SITE
                              FULLERTON, CALIFORNIA




                                   December 29, 1995

                                       03-3493X




                                         Exhibit 39
                                           5686
                                Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 656 of 730 Page ID
                                                                  #:5730
 TablK.-l: Summary of 1st, 2nd, 3rd, and 4th Quarter Data
           McColl Groundwater Remedial Investigation
           McColl Site, Fullerton, California

 "A" Flow Unit
                                                                                  Minimum         Maximum        Number of   Number     Number of
                                                                                   Detected        Detected      Sampling       of     Times Exceed
 Well             Constituent                                 Units   MCL        Concentration   Concentration    Events*    Detects**   MCL**

 P-2S             VOCs
                          2-Methyltetrahydrothiophene         ug/l    NA               730           780             1          1          NA
                          3-Methyltetrahydrothiophene         ug/l    NA              1200 D        1400 D           1          1          NA
                          Tetrahydrothiophene                 ug/l    NA               680           720             1          1          NA

                 SVOCs
                          Bis(2-ethylhexyl)phthalate (BEHP)   ug/l     4               26 J          44 J            1           1          1

                 Metals (dissolved)
                       Arsenic                                ug/l    50                4J            4.4 J          1                      0
                       Calcium                                ug/l    NA             307000         488000           1                     NA
                       Cobalt                                 ug/l    NA              34.7            38.1           1                     NA
                       Copper                                 ug/l    NA              6.1J            6.1 J          1                     NA
                       Iron                                   ug/l    NA              1590J          1890J           1                     NA
                       Magnesium                              ug/l    NA             104000         113000           1                     NA
                       Manganese                              ug/l    NA              8820           9000 J          1
                                                                                                                                           NA
                       Nickel                                 ug/l    100              28             28.8           1                      0
                       Potassium                              ug/l    NA              18800         20500            1                     NA
                       Sodium                                 ug/l    NA             526000         592000           1          1          NA
                       Zinc                                   ug/l    NA               43.9           43.9           1          1          NA

                 Metals (total)
                        Aluminum                              ug/l    1000             524           861             1                      0
                        Barium                                ug/l    1000             46.5          46.5                                   0
                        Calcium                               ug/l    NA             486000 J      492000 J                                NA
                        Cobalt                                ug/l    NA              37.4 J        42.1 J                                 NA
                       Iron                                   ug/l    NA              3900 J        6180 J                                 NA
                       Magnesium                              ug/l    NA             11 5000 J     122000 J                                NA
                       Manganese                              ug/l    NA              9660           9850            1          1          NA
                       Nickel                                 ug/l    100             35.9 J        36.2 J           1          1           0

h:\bak\mccoll\03-4493f\tblh-l .xls-"A" Unit                           Page 1 of49                                                      ENVIRON
                                                                        Exhibit 39
                                                                          5687
                         Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 657 of 730 Page ID
                 Summary of 1st, 2nd, 3rd, and 4th Quarter Data
                 McColl Groundwater Remedial Investigation
                                                                #:5731                                                                  c
                 McColl Site, Fullerton, California

 "A" Flow Unit
                                                                                  Minimum        Maximum        Number of   Number     Number of
                                                                                  Detected        Detected      Sampling       of     Times Exceed
 Well            Constituent                                 Units    MCL       Concentration   Concentration    Events*    Detects**   MCL**

 P-2S            Metals (total), continued
                        Potassium                             ug/l    NA             21000         22800            1          1          NA
                        Sodium                                ug/l    NA             589000        597000           1          1          NA
                        Zinc                                  ug/l    NA              47.4 J        67.2 J          1          1          NA

 P-2S            General Chemistry
                       Alkalinity (as CaCO3)                  mg/l    NA              330           340                        1          NA
                       Chemical Oxygen Demand                 mg/l    NA              270           280                        1          NA
                       Chloride                               mg/l    NA              250           280                        1          NA
                         PH                                   units   NA              6.4           6.4                        1          NA
                         Specific Conductivity               um/cm    NA              4450          4450                       1          NA
                         Sulfate                              mg/l    NA              2600          2700                                  NA
                         Sulfide                              mg/l    NA              0.5 J         0.5 J                                 NA
                         Temperature                           C      NA               17            17                                   NA
                         Total Dissolved Solids              mg/l     NA              4400          4500                                  NA
                         Total Organic Carbon                mg/l     NA               75            76             1                     NA
                         Turbidity                           NTU      NA               18            18             1                     NA

 P-3S            VOCs
                         Benzene                              ug/l      1             0.2 J         0.4 J          4           4            0

                 SVOCs
                         Dimethyl phthalate                   ug/l    NA               3J            3J            4           1          NA
                         Phenol                               ug/l    NA               1J            1J            4           1          NA

                 Metals (dissolved)
                       Antimony                               ug/l     6              0.7           0.7            4           1           0
                       Arsenic                                ug/l     50             3.4           3.4            4           1           0
                       Barium                                 ug/l    1000            243           264            4           4           0
                       Calcium                                ug/l    NA             118000        127000          4           4          NA

h:\bak\mccoll\03-4493f\tblh-l.xls-"A" Unit                            Page 2 of 49                                                    ENVIRON
                                                                       Exhibit 39
                                                                         5688
                                 Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 658 of 730 Page ID
 Tabh?  L,       Summary of 1st, 2nd, 3rd, and 4th Quarter Data
                 McColl Groundwater Remedial Investigation
                                                                   #:5732

                 McColl Site, Fullerton, California

 "A" Flow Unit
                                                                                     Minimum         Maximum        Number of   Number     Number of
                                                                                      Detected        Detected      Sampling       of     Times Exceed
 Well             Constituent                                     Units   MCL       Concentration   Concentration    Events*    Detects**    MCL**

 P-3S            Metals (dissolved), continued
                        Copper                                    ug/l    NA              3.2           3.2            4           1          NA
                        Magnesium                                 ug/l    NA             60300         62300           4           4          NA
                        Manganese                                 ug/l    NA              29.9          50.9           4           4          NA
                        Mercury                                   ug/l     2             0.55 J         1.7 J          4           2           0
                        Nickel                                    ug/l    100              4.8           4.8           4           1           0
                        Potassium                                 ug/l    NA              2190          3170           4           4          NA
                        Sodium                                    ug/l    NA             268000        319000          4           4          NA
                        Thallium                                  ug/l     2              3.8           3.8            4           1           1
                        Vanadium                                  ug/l    NA              20.2          24.8           4           4          NA

                 Metals (total)
                        Aluminum                                  ug/l    1000            673           1250           4           3           2
                        Arsenic                                   ug/l     50             3.3           3.3            4           1           0
                        Barium                                    ug/l    1000            256           292            4           4           0
                        Calcium                                   ug/l    NA             117000        131000          4           4          NA
                        Chromium                                  ug/l    50              7.4           7.4            4           1           0
                        Copper                                    ug/l    NA              3.5           3.5            4           1          NA
                        Iron                                      ug/l    NA              1020          1750           4           3          NA
                        Lead                                      ug/l    NA              0.46           6.1           4           3          NA
                        Magnesium                                 ug/l    NA             61300         65700           4           4          NA
                        Manganese                                 ug/l    NA              69.3          151            4           4          NA
                       Mercury                                    ug/l     2              0.2            3             4           3           1
                       Nickel                                     ug/l    100             5.6           5.6            4           1           0
                        Potassium                                 ug/l    NA              2410         2810            4           4          NA
                        Sodium                                    ug/l    NA             267000       322000           4           4          NA
                       Thallium                                   ug/l     2              3.5           3.5            4           1           1
                       Vanadium                                   ug/l    NA              24.1          26.2           4           4           0




h:\bak\mccoll\03-4493f\tblh-1 .xls-"A" Unit                               Page 3 of49                                                     ENVIRON
                                                                            Exhibit 39
                                                                              5689
                                 Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 659 of 730 Page ID
                                                                   #:5733
 Tablk           Summary of 1st, 2nd, 3rd, and 4th Quarter Data
                 McColl Groundwater Remedial Investigation
                 McColl Site, Fullerton, California

  'A" Flow Unit
                                                                                             Minimum           Maximum          Number of       Number     Number of
                                                                                              Detected          Detected        Sampling           of     Times Exceed
 Well            Constituent                                             Units    MCL       Concentration     Concentration      Events*        Detects**    MCL**

 P-3S            General Chemistry
                       Alkalinity (as CaCO3)                              mg/l    NA             860               930               4             4          NA
                       Chloride                                           mg/l    NA              230              270               4             4          NA
                       Chemical Oxygen Demand                             mg/l    NA               27               37               4             2          NA
                       Nitrate                                            mg/l    45              0.1              0.2               4             2           0
                       PH                                                 units   NA              6.7                7               4             4          NA
                       Specific Conductivity                             um/cm    NA             1900             2200               4             4          NA
                       Sulfate                                            mg/l    NA              89               110               4             4          NA
                       Sulfide                                            mg/l    NA              1.7               1.7              4             1          NA
                       Temperature                                         C      NA              18               24.7              4             4          NA
                       Total Dissolved Solids                             mg/l    NA             1300             1500               4             4          NA
                       Total Organic Carbon                               mg/l    NA              2.1               26               4             3          NA
                       Turbidity                                          NTU     NA               6                26               4             4          NA


          ug/L      =     micrograms per liter
          mg/l      =     milligrams per liter
        um/cm       =     micromhos per centimeter
             C      =     degrees Celsius
         NTU        =     Nephelometric Turbidity Unit
         MCL        =     Maximum Contaminant Level as listed Title 22, CCR, Revised June 23, 1995.
          NA        =     Not Applicable

 *               Duplicate samples not considered an additional sampling event.
 **              Duplicate sample not considered an additional detection or exceedance, i.e. if both original and duplicate sample exceed MCL
                 in one sampling event, only one exceedance reported for that event.
Notes:
                 In cases where the same minimum or maximum value was detected in more than one event, with
                 one of the values being qualified with a J or D, the unqualified value was used.

                 Only reported detections are presented in this table.
h:\bak\mccoll\03-4493f\tblh-l .xls-"A" Unit                                       Page 4 of 49                                                            ENVIRON
                                                                                    Exhibit 39
                                                                                      5690
                       Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 660 of 730 Page ID
 Tablee\»-i: Summary of 1st, 2nd, 3rd, and 4th Quarter Data
                 McColl Groundwater Remedial Investigation
                                                            #:5734                                                                       c
                 McColl Site, Fullerton, California

  'B" Flow Unit
                                                                                  Minimum        Maximum        Number of   Number     Number of
                                                                                  Detected        Detected      Sampling       of     Times Exceed
 Well             Constituent                                 Units   MCL       Concentration   Concentration    Events*    Detects**    MCL**

 P-21             VOCs
                          2-Methyltetrahydrothiophene         ug/l    NA              9600         17000 D         4           4          NA
                          3-Methyltetrahydrothiophene         ug/l    NA              6500         13000 D         4           4          NA
                          Benzene                             ug/l     1               36 J         470 J          4           4           4
                          Methylene chloride                  ug/l     5               36 J          36 J          4           1           1
                          Tetrahydrothiophene                 ug/l    NA              8200         14000 D         4           4          NA
                          Toluene                             ug/l    150               17            17           4           1           0
                          Xylene (total)                      ug/L    1750            0.8 J         0.8 J          4           1           0

                 SVOCs
                          Bis(2-ethylhexyl)phthalate (BEHP)   ug/l     4               5J           22 J           4           3           3
                          Isophorone                          ug/l    NA               12 J          18J           4           2          NA
                          Pyrene                              ug/l    NA               20 J         20 J           4           1          NA

                 Metals (dissolved)
                       Aluminum                               ug/l    1000            1190          5950           4           4           4
                        Arsenic                               ug/l     50             35.8          99.4 J         4           4           3
                       Barium                                 ug/l    1000            42.5          88.8           4           2           0
                       Beryllium                              ug/l     4               5.7           11.8          4           4           4
                        Cadmium                               ug/l     5              10.9J         10.9 J         4           1           1
                       Calcium                                ug/l    NA             464000        509000          4           4          NA
                       Cobalt                                 ug/l    NA               113           216           4           4          NA
                        Iron                                  ug/l    NA             173000 J      491000          4           4          NA
                       Magnesium                              ug/I    NA             688000        1180000         4           4          NA
                       Manganese                              ug/l    NA             3 1400 J       56900          4           4          NA
                       Mercury                                ug/l     2              0.39 J        0.39 J         4           1           0
                       Nickel                                 ug/l    100             243           572 J          4           4           4
                       Potassium                              ug/l    NA              9240          11500          4           4          NA
                        Silver                                ug/l    NA               15.8         42.9 J         4           2          NA


h:\bak\mcco11\03-4493f\tblh-l .xls-"B" Unit                           Page 5 of49                                                     ENVIRON
                                                                        Exhibit 39
                                                                          5691
                      Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 661 of 730 Page ID
 Tablkv- .1: Summary of 1st, 2nd, 3rd, and 4th Quarter Data
                                                            #:5735
                 McColl Groundwater Remedial Investigation
                 McColl Site, Fullerton, California

 "B" Flow Unit
                                                                                 Minimum         Maximum        Number of   Number     Number of
                                                                                  Detected        Detected      Sampling       of     Times Exceed
 Well            Constituent                                 Units   MCL        Concentration   Concentration    Events*    Detects**   MCL**

 P-21            Metals (dissolved), continued
                        Sodium                               ug/l    NA             616000         691000          4           4          NA
                        Thallium                             ug/l     2              9.5 J          9.5 J          4           1           1
                        Zinc                                 ug/l    NA              57.3           795            4           3          NA

                 Metals (total)
                        Aluminum                             ug/l    1000            1740           3090           4           4           4
                        Arsenic                              ug/l     50             43.4 J          121           4           4           3
                        Barium                               ug/l    1000             35.7          85.5 J         4           3           0
                        Beryllium                            ug/l     4               6.5           9.4 J          4           4           4
                        Cadmium                              ug/l     5               8.9            8.9           4           1           1
                        Calcium                              ug/l    NA             442000         471000          4           4          NA
                        Chromium                             ug/L    50               4.4            4.4           4           I           0
                        Cobalt                               ug/l    NA               141 J          155           4           4          NA
                        Iron                                 ug/l    NA             229000 J       338000          4           4          NA
                        Lead                                 ug/l    NA               1.5 J          5.2           4           2          NA
                        Magnesium                            ug/l    NA             729000         988000          4           4          NA
                        Manganese                            ug/l    NA              39400          46100          4           4          NA
                        Mercury                              ug/l     2              0.18 J         0.55 J         4           2           0
                       Nickel                                ug/l    100              300 J         388            4           4           4
                        Potassium                            ug/l    NA              10000          11500          4           4          NA
                        Silver                               ug/l    NA                13.1          13.1          4           1          NA
                        Sodium                               ug/l    NA             604000         658000          4           4          NA
                        Thallium                             ug/l     2               9.1            9.1           4           1           1
                        Vanadium                             ug/l    NA               13.9          13.9           4           1          NA
                       Zinc                                  ug/l    NA              55.7 J         997            4           2          NA




h:\bak\mccoll\03-4493f\tb1h-l .xls-"B" Unit                          Page 6 of49                                                      ENVIRON
                                                                       Exhibit 39
                                                                         5692
                                Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 662 of 730 Page ID
      L
 TableV-l: Summary of 1st, 2nd, 3rd, and 4th Quarter Data
           McColl Groundwater Remedial Investigation
                                                                  #:5736

           McColl Site, Fullerton, California

 "B" Flow Unit
                                                                                 Minimum        Maximum        Number of   Number     Number of
                                                                                 Detected        Detected      Sampling       of     Times Exceed
 Well            Constituent                                Units    MCL       Concentration   Concentration    Events*    Detects**   MCL**

 P-21            General Chemistry
                       Alkalinity (as CaCO3)                 mg/l    NA              150            180           4           4          NA
                       Chemical Oxygen Demand                mg/I    NA              1300         2800 J          4           4          NA
                       Chloride                              mg/l    NA              450            520           4           4          NA
                       Nitrate                               mg/l    45               0.6           0.7           4           3           0
                         pH                                  units   NA              5.5            6.6           4           4          NA
                         Specific Conductivity              um/cm    NA             7200           9500           4           4          NA
                         Sulfate                             mg/l    NA              830           7200           4           4          NA
                         Sulfide                             mg/l    NA              24 J           41            4           2          NA
                         Temperature                          C      NA               18           31.1           4           4          NA
                         Total Dissolved Solids              mg/l    NA             10000         11000           4           4          NA
                         Total Organic Carbon                mg/l    NA              690           740            4           4          NA
                         Turbidity                           NTU     NA              2.5            22            4           4          NA

 P-41            VOCs
                         2-Butanone                          ug/l    NA              740           2100           4           3          NA
                         2-Methyltetrahydrothiophene         ug/l    NA             9600 D        18000 D         4           4          NA
                         3-Methyltetrahydrothiophene         ug/l    NA             6400 D        12000 D         4           4          NA
                         Acetone                             ug/l    NA              2300          2300           4           1          NA
                         Benzene                             ug/l     1               47 J          47 J          4           1           1
                         Methylene chloride                  ug/l     5               41 J          41 J          4           1           1
                         Tetrahydrothiophene                 ug/l    NA             8300 D        15000D          4           4          NA
                         Toluene                             ug/l    150              39 J          72 J          4           3           0
                         Xylene                              ug/l    1750            7J             7J            4           1           0

                 SVOCs
                         2,4-Dimethylphenol                  ug/l    NA             330 J          380            4           2          NA
                         Isophorone                          ug/l    NA             26 J           26 J           4           1          NA




h:\bak\mccoll\03-4493i\tblh-l.xls-"B" Unit                           Page 7 of 49                                                    ENVIRON
                                                                       Exhibit 39
                                                                         5693
                                Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 663 of 730 Page ID
 Tablk           Summary of 1st, 2nd, 3rd, and 4th Quarter Data   #:5737
                 McColl Groundwater Remedial Investigation
                 McColl Site, Fullerton, California

  B" Flow Unit
                                                                                      Minimum        Maximum        Number of   Number     Number of
                                                                                      Detected        Detected      Sampling       of     Times Exceed
 Well             Constituent                                     Units   MCL       Concentration   Concentration    Events*    Detects**    MCL**

 P-41            SVOCs, continued
                      N-Nitroso-di-n-propylamine                  ug/l    NA              25 J          25 J           4           1          NA
                       Pentachlorophenol                          ug/l    NA               4J            4J            4           1          NA
                       Phenol                                     ug/l    NA              54 J          58 J           4           2          NA

                 Metals (dissolved)
                       Aluminum                                   ug/l    1000            198000       311000          4           4           4
                       Arsenic                                    ug/l     50              2.1 J        28.5 J         4           4           0
                       Barium                                     ug/l    1000              18.4        84.8 J         4           4           0
                       Beryllium                                  ug/l     4               23.1          40            4           4           4
                       Cadmium                                    ug/l     5               14.1        42.5 J          4           4           4
                       Calcium                                    ug/l    NA             404000       473000           4           4          NA
                       Chromium                                   ug/l    50              26.6 J        84.8           4           4           3
                       Cobalt                                     ug/l    NA               290 J        414            4           4          NA
                       Iron                                       ug/l    NA             314000       413000           4           4          NA
                       Lead                                       ug/l    NA               3.0 J         8.9           4           2          NA
                       Magnesium                                  ug/l    NA             394000        480000          4           4          NA
                        Manganese                                 ug/l    NA             24300 J       33500 J         4           4          NA
                        Mercury                                   ug/l     2              0.13 J        0.23 J         4           2           0
                       Nickel                                     ug/l    100             758           1040           4           4           4
                       Potassium                                  ug/l    NA             20000         21600           4           4          NA
                        Silver                                    ug/l    NA              2.2           25.4 J         4           2          NA
                        Sodium                                    ug/l    NA             292000        348000          4           4          NA
                       Thallium                                   ug/l     2              16.8 J        17.3 J         4           2           2
                       Vanadium                                   ug/I    NA              538 J         752            4           4          NA
                       Zinc                                       ug/l    NA              1190J         2050           4           4          NA




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                                                                            Exhibit 39
                                                                              5694
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                                                                  #:5738
 Table. .-1: Summary of 1st, 2nd, 3rd, and 4th Quarter Data
             McColl Groundwater Remedial Investigation
             McColl Site, Fullerton, California

  'B" Flow Unit
                                                                                   Minimum         Maximum        Number of   Number     Number of
                                                                                    Detected        Detected      Sampling       of     Times Exceed
 Well             Constituent                                 Units    MCL        Concentration   Concentration    Events*    Detects**    MCL**

 P-41            Metals (total)
                       Aluminum                                ug/l    1000           180000         311000          4           4           4
                        Arsenic                                ug/l     50              22.6          26.8 J         4           2           0
                        Barium                                 ug/l    1000             15.9           114J          4           2           0
                        Beryllium                              ug/l      4              21.4            43           4           4           4
                        Cadmium                                ug/l      5               16            37.9          4           4           4
                        Calcium                                ug/l    NA             397000         463000          4           4          NA
                        Chromium                               ug/l     50              27.8           90.3          4           4           3
                        Cobalt                                 ug/l    NA               265            419           4           4          NA
                        Iron                                   ug/l    NA             288000         416000          4           4          NA
                       Lead                                    ug/l    NA                5.0            5.4          4           2          NA
                       Magnesium                               ug/l    NA             360000         489000          4           4          NA
                        Manganese                              ug/l    NA              22600          34200          4           4          NA
                        Mercury                                ug/l      2             0.27            0.27          4           1           0
                       Nickel                                  ug/l     100             698            1030          4           4           4
                        Potassium                              ug/l    NA              19500          22200          4           4          NA
                        Silver                                 ug/l    NA                6.4            6.4          4           1          NA
                        Sodium                                 ug/I    NA             266000         346000          4           4          NA
                        Thallium                               ug/I      2               9.4            9.4          4           1           1
                       Vanadium                                ug/l    NA               497            799           4           4          NA
                       Zinc                                    ug/l    NA               1070          2090           4           4          NA

                 General Chemistry
                       Chemical Oxygen Demand                  mg/l    NA              910            1600           4           4          NA
                       Chloride                                mg/l    NA             370              580           4           4          NA
                       Nitrate                                 mg/l    45              0.2             0.9           4           2           0
                          pH                                   units   NA              3.5             3.9           4           4          NA
                          Specific Conductivity               um/cm    NA             6000            8000           4           4          NA
                          Sulfate                              mg/l    NA             840             6400           4           4          NA


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                                                                         Exhibit 39
                                                                           5695
                   Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 665 of 730 Page ID
 TabK .-1: Summary of 1st, 2nd, 3rd, and 4th Quarter Data
                 McColl Groundwater Remedial Investigation
                                                          #:5739       C                                                                     c
                 McColl Site, Fullerton, California

 "B" Flow Unit
                                                                                      Minimum        Maximum        Number of   Number     Number of
                                                                                      Detected        Detected      Sampling       of     Times Exceed
 Well            Constituent                                 Units   MCL            Concentration   Concentration    Events*    Detects**   MCL**

 P-41            General Chemistry, continued
                       Sulfide                               mg/l     NA                0.8 J            60            4           4          NA
                       Temperature                            C       NA                 18             29.1           4           4          NA
                       Total Dissolved Solids                mg/l     NA                6000            9700           4           4          NA
                       Total Organic Carbon                  mg/l     NA                 247            500            4           4          NA
                       Turbidity                             NTU      NA                  2             6.8            4           4          NA

 P-51            VOCs
                         1 ,2-Dichloroethane                 ug/l     0.5                1J              2J            4           2           2
                         2-Butanone                          ug/l     NA                 16              16            4                      NA
                         2-Methyltetrahydrothiophene         ug/l     NA                0.3 J           0.3 J          4                      NA
                         Acetone                             ug/l     NA                29 J            29 J           4                      NA
                         Benzene                             ug/l      1                 U               U             4                       0
                         Carbon disulfide                    ug/l     NA                0.2 J           0.2 J          4                      NA
                         Chloroform                          ug/l     NA                0.2 J           0.4 J          4           3          NA
                         Ethylbenzene                        ug/l     700               0.1 J           0.6 J          4           3          NA
                         Toluene                             ug/l     150                 5              39            4           4           0
                         Xylene (total)                      ug/l    1750               0.8 J             3            4           4           0

                SVOCs
                         Bis(2-ethylhexyl)phthalate (BEHP)   ug/l      4                 2J              2J            4           1           0
                         Phenol                              ug/l     NA                 5J              46            4           2          NA

                Metals (dissolved)
                      Aluminum                               ug/l    1000               67.2 J         67.2 J          4           1           0
                      Arsenic                                ug/l     50                 2.4 J          2.4 J          4           1           0
                      Barium                                 ug/l    1000                106 J          169 J          4           4           0
                      Calcium                                ug/l     NA               102000          123000          4           4          NA
                      Chromium                               ug/l     50                 5.7 J          12.5           4           4           0


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                                                                       Exhibit 39
                                                                         5696
                   Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 666 of 730 Page ID
 Tabk.,-1 Summary of 1st, 2nd, 3rd, and 4th Quarter Data #:5740
                 McColl Groundwater Remedial Investigation
                                                                                                                                         c
                 McColl Site, Fullerton, California

 "B" Flow Unit
                                                                                 Minimum         Maximum        Number of   Number     Number of
                                                                                  Detected        Detected      Sampling       of     Times Exceed
 Well            Constituent                                 Units   MCL        Concentration   Concentration    Events*    Detects**    MCL**

 P-51            Metals (dissolved), continued
                        Cobalt                               ug/l     NA              10.4           14            4           2          NA
                        Iron                                 ug/l     NA              129           129            4           1          NA
                        Magnesium                            ug/l     NA             31500         37100           4           4          NA
                        Manganese                            ug/l     NA              6.4 J        31.8            4           2          NA
                        Mercury                              ug/l      2              0.2 J        0.24 J          4           2           0
                        Potassium                            ug/l     NA              4570         5710            4           4          NA
                        Selenium                             ug/l     50               4             6.3           4           2           0
                        Sodium                               ug/l     NA             271000        294000          4           4          NA
                          Vanadium                           ug/l     NA              5.5           8.7            4           3          NA
                          Zinc                               ug/l     NA              5.7 J         5.7 J          4           1          NA

                 Metals (total)
                       Aluminum                              ug/l    1000             150           414            4           3           0
                        Antimony                             ug/l      6              3.6 J         3.6 J          4           1           0
                        Arsenic                              ug/l     50              2.5           2.5            4           1           0
                        Barium                               ug/l     1000            107           171            4           4           0
                        Calcium                              ug/l     NA             98300         119000          4           4          NA
                       Chromium                              ug/l     50              18.5          24.2           4           4           0
                        Cobalt                               ug/i     NA              19.4 J         35 J          4           3          NA
                        Iron                                 ug/l     NA              179           498 J          4           4          NA
                        Lead                                 ug/l     NA              2.1            2.1           4           1          NA
                          Magnesium                          ug/l     NA             32200         35800           4           4          NA
                          Manganese                          ug/I     NA              8.4          34.3            4           2          NA
                          Nickel                             ug/l     100             3.7            6             4           2           0
                          Potassium                          ug/I     NA              4470          5570           4           4          NA
                          Selenium                           ug/l     50               5             5.3           4           2           0
                          Sodium                             ug/l     NA             257000       296000           4           4          NA
                          Vanadium                           ug/l     NA              5.5 J          8.4           4           4          NA
                          Zinc                               ug/l     NA              5.8 J         5.8 J          4           1          NA

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                                                                       Exhibit 39
                                                                         5697
                   Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 667 of 730 Page ID
 TabL -1: Summary of 1st, 2nd, 3rd, and 4th Quarter Data #:5741
                 McColl Groundwater Remedial Investigation
                 McColl Site, Fullerton, California

 "B" Flow Unit
                                                                                   Minimum        Maximum        Number of   Number     Number of
                                                                                   Detected        Detected      Sampling       of     Times Exceed
 Well            Constituent                                 Units    MCL        Concentration   Concentration    Events*    Detects**   MCL**

 P-51            General Chemistry
                       Alkalinity (as CaCO3)                  mg/l     NA             210            220            4           4          NA
                       Chemical Oxygen Demand                 mg/l     NA               19            21            4           2          NA
                       Chloride                               mg/I     NA              580           640            4           4          NA
                       Nitrate                                mg/l     45               13           16.2           4           4           0
                         PH                                   units    NA              7.6           9.2            4           4          NA
                         Specific Conductivity               um/cm     NA             2100           2300           4           4          NA
                         Sulfate                              mg/l     NA              51             71            4           4          NA
                         Temperature                           C       NA               16           25.7           4           4          NA
                         Total Dissolved Solids               mg/l     NA             1300           1400           4           4          NA
                         Total Organic Carbon                 mg/l     NA              13.1          21.9           4           2          NA
                         Turbidity                            NTU      NA              3.1            13            4           4          NA

 P-5S            SVOCs
                      Bis(2-ethylhexyl)phthalate (BEHP)       ug/l      4              2J             23            4           1           0
                       Dimethyl phthalate                     ug/l     NA              4J             4J            4           1          NA
                       Phenol                                 ug/l     NA              1J             1J            4           1          NA

                Metals (dissolved)
                      Barium                                  ug/l    1000             290           332            4           4           0
                      Calcium                                 ug/l    NA              171000         18500          4           4          NA
                      Chromium                                ug/l     50              4.9           8.9            4           4           0
                      Copper                                  ug/l    NA               5.3           5.3            4           1          NA
                      Lead                                    ug/l    NA               2.9           2.9            4           1          NA
                      Magnesium                               ug/l    NA              56100         61800           4           4          NA
                      Manganese                               ug/I    NA               11            12.7           4           2          NA
                      Nickel                                  ug/l     100             58            89.1           4           3           0
                      Potassium                               ug/I    NA              5010           6030           4           4          NA
                      Selenium                                ug/l     50              5.4           7.8            4           2           0


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                                                                        Exhibit 39
                                                                          5698
                                 Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 668 of 730 Page ID
                                                                   #:5742
 Table"          Summary of 1st, 2nd, 3rd, and 4th Quarter Data
                 McColl Groundwater Remedial Investigation
                 McColl Site, Fullerton, California

   B" Flow Unit
                                                                                      Minimum         Maximum        Number of   Number     Number of
                                                                                       Detected        Detected      Sampling       of     Times Exceed
 Well            Constituent                                      Units   MCL        Concentration   Concentration    Events*    Detects**    MCL**

 P-5S            Metals (dissolved), continued
                        Sodium                                    ug/l     NA             370000        476000           4          4          NA
                        Thallium                                  ug/l      2              4.2           4.2             4          1           1
                        Vanadium                                  ug/l     NA              6.2           11.2            4          3          NA

                 Metals (total)
                        Aluminum                                  ug/l     1000            862           2640           4           4           3
                        Arsenic                                   ug/l      50             5.5           5.5            4           1           0
                        Barium                                    ug/l     1000            348           367            4           4           0
                        Calcium                                   ug/l     NA             174000        188000          4           4          NA
                        Chromium                                  ug/l     50              1080          1310           4           4           4
                        Cobalt                                    ug/l     NA              7.8           7.8            4           1          NA
                        Copper                                    ug/l     NA              17.6          17.9           4           2          NA
                        Iron                                      ug/l     NA              6060          8990           4           4          NA
                        Lead                                      ug/l     NA               2.1          6.5            4           4          NA
                        Magnesium                                 ug/l     NA             60700         63300           4           4          NA
                        Manganese                                 ug/l     NA              68.5          108            4           4          NA
                        Mercury                                   ug/l      2              0.27          0.27           4           1           0
                       Nickel                                     ug/l     100             129           141            4           4           4
                        Potassium                                 ug/l     NA              5550          6520           4           4          NA
                        Selenium                                  ug/l     50               6.4           9             4           2           0
                        Sodium                                    ug/l     NA             389000        472000          4           4          NA
                        Thallium                                  ug/l      2              4.3           4.3            4           1           1
                       Vanadium                                   ug/l     NA              26.9          34.1           4           4          NA
                       Zinc                                       ug/l     NA              45             45            4           1          NA

                 General Chemistry
                       Alkalinity (as CaCO3)                      mg/l     NA              230           250            4           4          NA
                       Chemical Oxygen Demand                     mg/l     NA               30           190            4           2          NA


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                                                                             Exhibit 39
                                                                               5699
 TabR.       1: Summary of 1st, 2nd, 3rd, and 4th Quarter Data
                 McColl Groundwater Remedial Investigation
                                                                         c
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                                                               #:5743

                 McColl Site, Fullerton, California

  'B" Flow Unit
                                                                                   Minimum        Maximum        Number of   Number     Number of
                                                                                   Detected        Detected      Sampling       of     Times Exceed
 Well            Constituent                                 Units    MCL        Concentration   Concentration    Events*    Detects**   MCL**

 P-5S            General Chemistry, continued
                       Chloride                               mg/l     NA              1100          1200           4           4          NA
                       Nitrate                                mg/l     45               10            11            4           4           0
                       pH                                     units    NA              7.1            7.4           4           4          NA
                       Specific Conductivity                 um/cm     NA             3200          3600            4           4          NA
                       Sulfate                                mg/l     NA               67            81            4           4          NA
                       Temperature                             C       NA               19           24.8           4           3          NA
                       Total Dissolved Solids                 mg/l     NA             2100          2300 J          4           4          NA
                       Total Organic Carbon                   mg/l     NA               8.9           10            4           2          NA
                       Turbidity                              NTU      NA               57           218            4           4          NA

 P-6S             VOCs
                          Chloroform                          ug/l     NA             0.3 J          0.5 J                                 NA

                 SVOCs
                          Dimethyl phthalate                  ug/l     NA              2J             2J                                   NA

                 Metals (dissolved)
                       Aluminum                               ug/l    1000            36.3 J        36.3 J          4           1           0
                       Arsenic                                ug/l     50              2.1           2.1            4           1           0
                       Barium                                 ug/l    1000             78.4          122            4           4           0
                       Calcium                                ug/l     NA             43600         53300           4           4          NA
                       Chromium                               ug/l     50              9.5          41.7            4           4           0
                       Cobalt                                 ug/l     NA              4.3           4.3            4           1          NA
                       Copper                                 ug/l     NA              2.3           2.3            4           1          NA
                       Iron                                   ug/l     NA             67.1 J        67. U           4           2          NA
                       Magnesium                              ug/l     NA             19500         24000           4           4          NA
                       Manganese                              ug/l     NA              22.5         49.7            4           4          NA
                       Mercury                                ug/l      2             0.22 J        0.22 J          4           1           0


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                                                                        Exhibit 39
                                                                          5700
                               Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 670 of 730 Page ID
 Table*,,-1: Summary of 1st, 2nd, 3rd, and 4th Quarter Data
             McColl Groundwater Remedial Investigation
                                                                 #:5744                                                                    c
             McColl Site, Fullerton, California

 "B" Flow Unit
                                                                                  Minimum          Maximum        Number of   Number     Number of
                                                                                   Detected         Detected      Sampling       of     Times Exceed
 Well            Constituent                                  Units   MCL        Concentration    Concentration    Events*    Detects**   MCL**

 P-6S            Metals (dissolved), continued
                        Nickel                                ug/l     100              452           1050           4           4           4
                        Potassium                             ug/l     NA              2840           3040           4           4          NA
                        Selenium                              ug/l     50               4.2            5             4           2           0
                        Sodium                                ug/l     NA             31 8000 J      351000          4           4          NA
                        Thallium                              ug/l      2               3.9           10.6           4           2           2
                        Vanadium                              ug/l     NA               4.7            4.7           4           1          NA
                        Zinc                                  ug/l     NA               87.9          87.9           4           1          NA

                 Metals (total)
                        Aluminum                              ug/l    1000              251          3780 J          4           3           2
                        Arsenic                               ug/l     50               9.3           11.8           4           2          NA
                        Barium                                ug/l    1000              115           215            4           4          NA
                        Calcium                               ug/l     NA              42100         51800           4           4          NA
                        Chromium                              ug/l     50               468          7640            4           4           4
                        Cobalt                                ug/l     NA               4.2           60.9           4           4          NA
                        Copper                                ug/l     NA               46.4          179            4           3          NA
                        Iron                                  ug/l     NA               3370         56900 J         4           4          NA
                        Lead                                  ug/l     NA               3.5 J          17.8          4           4          NA
                        Magnesium                             ug/l     NA              19400          23300          4           4          NA
                        Manganese                             ug/l     NA               64.1          529            4           4          NA
                        Mercury                               ug/l      2               0.13         0.20 J          4           2           0
                        Nickel                                ug/I     100              666          2310            4           4           4
                        Potassium                             ug/l     NA              2870          3810            4           4          NA
                        Selenium                              ug/l     50               2.7           4.6            4           2          NA
                        Sodium                                ug/l     NA             331000        346000           4           4          NA
                        Thallium                              ug/l      2               5.3           5.3            4           1           1
                        Vanadium                              ug/l     NA               11.2          37.3           4           4          NA
                       Zinc                                   ug/l     NA              31.8           97.9           4           2          NA


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                                                                        Exhibit 39
                                                                          5701
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 TabL..-I: Summary of 1st, 2nd, 3rd, and 4th Quarter Data #:5745
                 McColl Groundwater Remedial Investigation
                 McColl Site, Fullerton, California

  'B" Flow Unit
                                                                                   Minimum         Maximum        Number of   Number     Number of
                                                                                    Detected        Detected      Sampling       of     Times Exceed
 Well            Constituent                                  Units    MCL        Concentration   Concentration    Events*    Detects**   MCL**

 P-6S            General Chemistry
                       Alkalinity (as CaCO3)                   mg/l     NA              230           290            4           4          NA
                       Chemical Oxygen Demand                  mg/l     NA              37             70            4           3          NA
                       Chloride                                mg/l     NA               90           450            4           4          NA
                       Nitrate                                 mg/l     45              7.5           8.2            4           3           0
                          PH                                   units    NA              6.9           7.9            4           4          NA
                          Specific Conductivity               um/cm     NA             1800           2000           4           4          NA
                          Sulfate                              mg/l     NA              80            180            4           4          NA
                          Temperature                           C       NA              16            24.3           4           4          NA
                          Total Dissolved Solids               mg/l     NA             1180           1200           4           4          NA
                          Total Organic Carbon                 mg/l     NA              7.6           22.0           4           3          NA
                          Turbidity                           NTU       NA               51           984            4           4          NA

 P-10D            VOCs
                          1 ,2-Dichloroethane                  ug/l     0.5             0.2 J         0.2 J          4           1           0
                          2-Methyltetrahydrothiophene          ug/l     NA               12 J          190           4           4          NA
                          3-Methyltetrahydrothiophene          ug/l     NA             180 D         1300 D          4           4          NA
                          Benzene                              ug/l      1              0.2 J          1J            4           3           0
                          Chlorobenzene                        ug/l     NA              0.2 J         0.2 J          4           1          NA
                          Chloroform                           ug/l     NA              0.2 J         0.2 J          4           1          NA
                          Ethylbenzene                         ug/l     700             0.3 J         0.3 J          4           1           0
                          Tetrahydrothiophene                  ug/I     NA             380 D         2000 D          4           4          NA
                          Toluene                              ug/l     150              3             8             4           4           0
                          Xylene (total)                       ug/l    1750            0.5 J          0.9 J          4           2           0

                 SVOCs
                          4-Methylphenol                       ug/l     NA              14             14            4           1          NA
                          Bis(2-ethylhexyl)phthalate (BEHP)    ug/l      4             0.9 J           2J            4           2           0




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                                                                         Exhibit 39
                                                                           5702
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 Table.,-1: Summary of 1st, 2nd, 3rd, and 4th Quarter Data C
                                                           #:5746                                                                        C
                 McColl Groundwater Remedial Investigation
                 McColl Site, Fullerton, California

 "B" Flow Unit
                                                                                 Minimum         Maximum        Number of   Number     Number of
                                                                                  Detected        Detected      Sampling       of     Times Exceed
 Well            Constituent                                 Units   MCL        Concentration   Concentration    Events*    Detects**   MCL**

 P-10D           Metals (dissolved)
                       Aluminum                              ug/l    1000              52.3         102 J          4           2           0
                       Antimony                              ug/l      6               3.5 J          5.8          4           2           0
                       Arsenic                               ug/I     50               2.2           2.2           4           1           0
                       Barium                                ug/l    1000             55.9 J         140 J         4           4           0
                       Calcium                               ug/l    NA              280000        395000          4           4          NA
                       Cobalt                                ug/l    NA                4.2           4.8           4           2          NA
                       Copper                                ug/l    NA                2.6 J         3.6 J         4           1          NA
                       Iron                                  ug/l    NA               97.2 J        97.2 J         4           1          NA
                       Lead                                  ug/l    NA                2.1           3.5 J         4           1          NA
                       Magnesium                             ug/l    NA              99400         138000          4           4          NA
                       Manganese                             ug/l    NA              15700J        18400           4           4          NA
                       Mercury                               ug/l     2                0.21          0.21          4           1           0
                       Potassium                             ug/I    NA               5850          6580           4           4          NA
                       Selenium                              ug/l     50                4.1           4.1          4           1           0
                       Silver                                ug/l    NA                 5.2           5.2          4           1          NA
                       Sodium                                ug/l    NA              221000        287000          4           4          NA
                       Thallium                              ug/l     2                5.4           8.5           4           1           1
                       Vanadium                              ug/l    NA                3.1           4.1           4           1          NA

                 Metals (total)
                        Aluminum                             ug/l    1000             88.3 J        88.3 J         4           1           0
                        Antimony                             ug/l     6                2.8 J        2.8 J          4           1           0
                       Barium                                ug/l    1000              58.1         119J           4           4           0
                        Beryllium                            ug/I     4                0.38         0.64 J         4           3           0
                        Calcium                              ug/l    NA              292000 J      426000          4           4          NA
                        Chromium                             ug/l     50                3.3           3.3          4           1           0
                        Cobalt                               ug/l    NA                5.2 J         7.3 J         4           3          NA
                        Iron                                 ug/l    NA               96.5 J        121 J          4           2          NA


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                                                                       Exhibit 39
                                                                         5703
                    Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 673 of 730 Page ID
 TabL, .-1: Summary of 1st, 2nd, 3rd, and 4th Quarter Data #:5747
                 McColl Groundwater Remedial Investigation
                 McColl Site, Fullerton, California

 "B" Flow Unit
                                                                                  Minimum         Maximum        Number of   Number     Number of
                                                                                   Detected        Detected      Sampling       of     Times Exceed
 Well            Constituent                                 Units    MCL        Concentration   Concentration    Events*    Detects**   MCL**

 P-10D          Metals (total), continued
                       Lead                                   ug/l     NA               28.8         28.8           4           1          NA
                       Magnesium                              ug/l     NA             107000 J      147000          4           4          NA
                       Manganese                              ug/l     NA              17100        20300           4           4          NA
                       Mercury                                ug/l      2              0.12 J        0.38           4           2           0
                       Potassium                              ug/I     NA              6090          7060           4           4          NA
                       Silver                                 ug/l     NA               7.6           7.6           4           1          NA
                       Sodium                                 ug/l     NA             228000        296000          4           4          NA
                       Vanadium                               ug/l     NA               3.1          4.6            4           1          NA

                 General Chemistry
                       Alkalinity (as CaCO3)                  mg/l     NA              297           370            4           4          NA
                       Chemical Oxygen Demand                 mg/I     NA              110           240            4           4          NA
                       Chloride                               mg/l     NA              550           700 J          4           4          NA
                       Nitrate                                mg/l     45              2.3           3.4            4           3           0
                         PH                                   units    NA              6.4           6.8            4           4          NA
                         Specific Conductivity               um/cm     NA              3100          3700           4           4          NA
                         Sulfate                              mg/l     NA              540           1100           4           4          NA
                         Sulfide                              mg/l     NA              0.5 J         0.5 J          4           1          NA
                         Temperature                           C       NA               21           25.0           4           4          NA
                         Total Dissolved Solids               mg/l     NA              2100          3200           4           4          NA
                         Total Organic Carbon                 mg/l     NA               30 J         69.2           4           3          NA
                         Turbidity                           NTU       NA               0.2           0.7           4           4          NA




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                                                                        Exhibit 39
                                                                          5704
                       Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 674 of 730 Page ID
 Tables.. 1: Summary of 1st, 2nd, 3rd, and 4th Quarter Data
                 McColl Groundwater Remedial Investigation
                                                            #:5748                                                                                           c
                 McColl Site, Fullerton, California

 "B" Flow Unit
                                                                                             Minimum           Maximum          Number of       Number     Number of
                                                                                              Detected          Detected        Sampling           of     Times Exceed
 Well            Constituent                                             Units   MCL        Concentration     Concentration      Events*        Detects**   MCL**

          ug/L            micrograms per liter
          mg/I            milligrams per liter
        um/cm             micromhos per centimeter
             C            degrees Celsius
         NTU              Nephelometric Turbidity Unit
         MCL              Maximum Contaminant Level as listed Title 22, CCR, Revised June 23, 1995.
          NA              Not Applicable

                 Duplicate samples not considered an additional sampling event.
                 Duplicate sample not considered an additional detection or exceedance, i.e. if both original and duplicate sample exceed MCL
                 in one sampling event, only one exceedance reported for that event.
 Notes:
                 In cases where the same minimum or maximum value was detected in more than one event, with
                 one of the values being qualified with a J or D, the unqualified value was used.

                 Only reported detections are presented in this table.




h:\bak\mccoll\03-4493f\tblh-l .xls-"B" Unit                                      Page 19 of 49                                                            ENVIRON
                                                                                    Exhibit 39
                                                                                      5705
                     Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 675 of 730 Page ID
 TableV .: Summary of 1st, 2nd, 3rd, and 4th Quarter Data #:5749                                                                          C
                 McColl Groundwater Remedial Investigation
                 McColl Site, Fullerton, California

 "C" Flow Unit
                                                                                  Minimum         Maximum        Number of   Number     Number of
                                                                                   Detected        Detected      Sampling       of     Times Exceed
 Well             Constituent                                 Units   MCL        Concentration   Concentration    Events*    Detects**    MCL**

 P-2D(R)          VOCs
                          1 ,2-Dichloroethane                 ug/l     0.5             0.3 J         0.3 J          4           1           0
                          2-Methyltetrahydrothiophene         ug/l     NA              0.3 J         0.6 J          4           2          NA
                          3-Methyltetrahydrothiophene         ug/l     NA              0.3 J         0.3 J          4           2          NA
                          Ethylbenzene                        ug/l     700             0.2 J         0.3 J          4           2           0
                          Tetrahydrothiophene                 ug/l     NA              0.2 J         0.5 J          4           2          NA
                          Toluene                             ug/l     150               4            39            4           4           0
                          Xylene (total)                      ug/l    1750             0.2 J          1J            4           2           0

                 SVOCs
                          BSs(2-ethylhexyl)phthaIate (BEHP)   ug/l      4               1J             3            4           3           0

                 Metals (dissolved)
                       Aluminum                               ug/l    1000            61.9J          65.5 J         4           1           0
                       Arsenic                                ug/l     50              4.2 J          11.4          4           4           0
                        Barium                                ug/I    1000             25.9          90.3 J         4           3           0
                        Calcium                               ug/l     NA             27200         44 100 J        4           4          NA
                       Copper                                 ug/l     NA              2.7 J          2.7 J         4           1          NA
                        Iron                                  ug/l     NA              517           1560J          4           4          NA
                        Magnesium                             ug/l     NA             13600         23300           4           4          NA
                          Manganese                           ug/l     NA              131           293 J          4           4          NA
                          Mercury                             ug/l      2             0.18           0.39 J         4           2           0
                          Nickel                              ug/l     100             4.2            4.2           4           1           0
                          Potassium                           ug/l     NA             2610          10700           4           4          NA
                          Selenium                            ug/l     50              3.1            6.6           4           3           0
                          Sodium                              ug/l     NA             133000        210000          4           4          NA
                          Zinc                                ug/l     NA              4.3 J         7.7 J          4           1          NA




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                                                                         Exhibit 39
                                                                           5706
 Tablk.-l: Summary of 1st, 2nd, 3rd, and 4th Quarter Data
                 McColl Groundwater Remedial Investigation
                                                          #:5750         c
                    Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 676 of 730 Page ID
                                                                                                                                          c
                 McColl Site, Fullerton, California

 "C" Flow Unit
                                                                                  Minimum         Maximum        Number of   Number     Number of
                                                                                   Detected        Detected      Sampling       of     Times Exceed
 Well            Constituent                                 Units    MCL        Concentration   Concentration    Events*    Detects**   MCL**

 P-2D(R)         Metals (total)
                       Aluminum                               ug/l    1000            73.3 J        74.5 J          4           1           0
                       Arsenic                                ug/l     50              7.3           12.5           4           3           0
                       Barium                                 ug/l     1000            24.1         91. 4 J         4           3           0
                       Calcium                                ug/l     NA             26900         44300           4           4          NA
                       Chromium                               ug/l     50              3.4 J         3.4 J          4           1           0
                       Cobalt                                 ug/l     NA             10.3 J         10.3 J         4           1          NA
                       Iron                                   ug/l     NA              549          1600 J          4           4          NA
                       Magnesium                              ug/l     NA             13400         23600           4           4          NA
                       Manganese                              ug/l     NA              130           301            4           4          NA
                       Mercury                                ug/l      2             0.13 J          0.18          4           1           0
                       Potassium                              ug/l     NA              2730          11200          4           4          NA
                       Selenium                               ug/l     50              11.2           30            4           1           0
                       Sodium                                 ug/l     NA             134000        214000          4           4          NA
                       Zinc                                   ug/l     NA               13 J         13.8 J         4           1          NA

                 General Chemistry
                       Alkalinity (as CaCO3)                  mg/l     NA              220           340            4           4          NA
                       Chemical Oxygen Demand                 mg/l     NA               18            36            4           4          NA
                       Chloride                               mg/l     NA              95            190            4           4          NA
                       Nitrate                                mg/l     45              0.1           0.1            4           1           0
                          PH                                  units    NA              7.2           7.8            4           4          NA
                          Specific Conductivity              um/cm     NA              900           1350           4           4          NA
                          Sulfate                             mg/l     NA              90             130           4           4          NA
                          Sulfide                             mg/l     NA             0.4 J           0.9           4           3          NA
                          Temperature                          C       NA              21            28.8           4           4          NA
                          Total Dissolved Solids              mg/l     NA              450           750            4           4          NA
                          Total Organic Carbon                mg/l     NA               3             11            4           2          NA
                          Turbidity                          NTU       NA              0.2           2.4            4           4          NA


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                                                                        Exhibit 39
                                                                          5707
                    Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 677 of 730 Page ID
 TableV i: Summary of 1st, 2nd, 3rd, and 4th Quarter Data
                 McColl Groundwater Remedial Investigation
                                                          #:5751                                                                          c
                 McColl Site, Fullerton, California

 "C" Flow Unit
                                                                                   Minimum        Maximum        Number of   Number     Number of
                                                                                   Detected        Detected      Sampling       of     Times Exceed
 Well             Constituent                                 Units   MCL        Concentration   Concentration    Events*    Detects**    MCL**

 P-3D             VOCs
                          Toluene                             ug/l     150            0.3 J          0.6 J          4           2           0

                 SVOCs
                          2,6-Dinitrotoluene                  ug/l     NA              43             43            4           1          NA
                          Bis(2-ethylhexyl)phthalate (BEHP)   ug/I      4               1J            4J            4           3           0
                          Butyl benzyl phthalate              ug/l     NA              2J             3J            4           1          NA
                          Dimethyl phthalate                  ug/l     NA              140          2200 D          4           4          NA
                          N-Nitroso-di-n-propylamine          ug/l     NA              3J             3J            4           1          NA
                          Phenol                              ug/l     NA              2J             2J            4           1          NA

                 Metals (dissolved)
                       Arsenic                                ug/l     50              3.7            3.7           4           1           0
                        Barium                                ug/I    1000             43.9          51.6           4           3           0
                        Calcium                               ug/l     NA             37600         43000           4           4          NA
                        Copper                                ug/l     NA              5.6            5.6           4           1          NA
                        Iron                                  ug/l     NA              55.1          58.7           4           1          NA
                        Magnesium                             ug/l     NA             13200          14700          4           4          NA
                        Manganese                             ug/l     NA              75.3          85.6           4           4          NA
                        Mercury                               ug/l      2             0.22 J        0.22 J          4           1           0
                        Potassium                             ug/l     NA              2640          3410           4           4          NA
                        Sodium                                ug/l     NA             96600         120000          4           4          NA

                 Metals (total)
                        Arsenic                               ug/l     50              4.2            5.3           4           2           0
                        Barium                                ug/l    1000             47.2          50.7           4           3           0
                        Calcium                               ug/l     NA             34800         41800           4           4          NA
                        Iron                                  ug/l     NA              110           227            4           4          NA
                        Lead                                  ug/l     NA              2.6            2.6           4           1          NA


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                                                                         Exhibit 39
                                                                           5708
 Tablet. ,: Summary of 1st, 2nd, 3rd, and 4th Quarter Data
                 McColl Groundwater Remedial Investigation
                                                           #:5752         c
                     Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 678 of 730 Page ID
                                                                                                                                          c
                 McColl Site, Fullerton, California

 "C" Flow Unit
                                                                                  Minimum         Maximum        Number of   Number     Number of
                                                                                   Detected        Detected      Sampling       of     Times Exceed
 Well            Constituent                                 Units    MCL        Concentration   Concentration    Events*    Detects**    MCL**

 P-3D            Metals (total), continued
                        Magnesium                             ug/l     NA             13100         14600           4           4          NA
                        Manganese                             ug/l     NA              76.8          98.5           4           4          NA
                        Potassium                             ug/l     NA             2910          3270            4           4          NA
                        Selenium                              ug/l     50              3.6            3.6           4           1           0
                        Sodium                                ug/l     NA             101000        119000          4           4          NA
                        Zinc                                  ug/l     NA              13.3          13.3           4           1          NA

                 General Chemistry
                       Alkalinity (as CaCO3)                  mg/l     NA              220           280            4           4          NA
                       Chemical Oxygen Demand                 mg/l     NA               12           25             4           2          NA
                       Chloride                               mg/l     NA               83           420            4           4          NA
                       Nitrate (as N)                         mg/l     45               7.8          7.8            4           1           0
                          PH                                  units    NA              7.5           7.8            4           4          NA
                          Specific Conductivity              um/cm     NA              700           850            4           4          NA
                          Sulfate                             mg/l     NA               79           190            4           4          NA
                          Temperature                          C       NA              21            28.7           4           4          NA
                          Total Dissolved Solids             mg/l      NA              460           520            4           4          NA
                          Total Organic Carbon               mg/l      NA               1.1           1.1           4           1          NA
                          Turbidity                          NTU       NA              0.2            8             4           4          NA

 P-4D            SVOCs
                          bis(2-Ethylhexyl) phthalate         ug/l      4               1J            1J            4           1           0
                          Di-n-butylphthalate                 ug/l     NA              0.5 J         0.5 J          4           I          NA
                          Dimethyl phthalate                  ug/I     NA             HOD           840 D           4           4          NA

                 Metals (dissolved)
                       Arsenic                                ug/l     50              5.2            6             4           2           0
                       Barium                                 ug/l    1000             50.8          65.0           4           4           0


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                                                                         Exhibit 39
                                                                           5709
 Tabli
                               Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 679 of 730 Page ID
            i: Summary of 1st, 2nd, 3rd, and 4th Quarter Data
               McColl Groundwater Remedial Investigation
                                                                 #:5753                                                                     c
               McColl Site, Fullerton, California

 "C" Flow Unit
                                                                                     Minimum        Maximum        Number of   Number     Number of
                                                                                     Detected        Detected      Sampling       of     Times Exceed
 Well            Constituent                                    Units   MCL        Concentration   Concentration    Events*    Detects**   MCL**

 P-4D           Metals (dissolved), continued
                       Calcium                                   ug/l    NA             47100         57100           4           4          NA
                       Copper                                    ug/I    NA              8.5            8.5           4           1          NA
                       Iron                                      ug/l    NA              155            155           4           1          NA
                       Magnesium                                 ug/l    NA              17200        20600           4           4          NA
                       Manganese                                 ug/l    NA               36.5         40.9           4           4          NA
                       Potassium                                 ug/I    NA              3480          3970           4           4          NA
                       Silver                                    ug/l    NA               64.6         64.6           4           1          NA
                       Sodium                                    ug/I    NA             100000        123000          4           4          NA

                Metals (total)
                       Aluminum                                  ug/l    1000            42.2          42.2           4           1           0
                       Arsenic                                   ug/l    50              4.9            5.2           4           2           0
                       Barium                                    ug/l    1000            52.7          61.2           4           4           0
                       Calcium                                   ug/I    NA             45400         53300           4           4          NA
                       Iron                                      ug/l    NA              180           213            4           3          NA
                      Lead                                       ug/l    NA              2.3            12.2          4           2          NA
                      Magnesium                                  ug/l    NA              17700         19400          4           4          NA
                      Manganese                                  ug/l    NA               37.7         41.9           4           4          NA
                      Potassium                                  ug/l    NA              3650          3920           4           4          NA
                       Sodium                                    ug/l    NA             101000        116000          4           4          NA

                General Chemistry
                         Alkalinity (as CaCO3)                  mg/l     NA              240           250            4           4          NA
                         Chemical Oxygen Demand                 mg/I     NA               16            24            4           2          NA
                         Chloride                               mg/l     NA              120           160            4           4          NA
                         pH                                     units    NA              7.7           7.8            4           4          NA
                         Specific Conductivity                  um/cm    NA              950           1000           4           4          NA
                         Sulfate                                mg/l     NA               37            49            4           4          NA


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                                                                          Exhibit 39
                                                                            5710
 Tab! L,                        Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 680 of 730 Page ID
                 Summary of 1st, 2nd, 3rd, and 4th Quarter Data
                 McColl Groundwater Remedial Investigation
                                                                  #:5754                                                                      c
                                                                                                                                              ^Uu




                 McColl Site, Fullerton, California

 "C" Flow Unit
                                                                                       Minimum        Maximum        Number of   Number     Number of
                                                                                       Detected        Detected      Sampling       of     Times Exceed
 Well            Constituent                                      Units   MCL        Concentration   Concentration    Events*    Detects**   MCL**

 P-4D            General Chemistry, continued
                       Sulfide                                    mg/l     NA             0.4             0.9           4           2          NA
                       Temperature                                 C       NA             20             27.0           3           3          NA
                       Total Dissolved Solids                     mg/l     NA             500            560            4           4          NA
                       Total Organic Carbon                       mg/l     NA             2.7             10            4           3          NA
                       Turbidity                                  NTU      NA             0.8             2             4           4          NA

 P-SL             VOCs
                          1,1,1 -Trichloroethane                  ug/l     200            0.2 J          0.2 J          4           1          NA
                          1 ,2-Dichloroethane                     ug/l      0.5           0.4 J            2            4           4           2
                          2-Butanone                              ug/I     NA               5              5            4           1          NA
                          2-Methyltetrahydrothiophene             ug/l     NA             SOD            1400           4           4          NA
                          3-Methyltetrahydrothiophene             ug/l     NA              29            45 D           4           4          NA
                          Acetone                                 ug/l     NA              17             17            4           1          NA
                          Benzene                                 ug/l       1            0.2 J          0.5 J          4           4           0
                          Carbon disulfide                        ug/l     NA             0.8 J          0.8 J          4           1          NA
                          Chlorobenzene                           ug/l     NA             0.2 J          0.2 J          4           1          NA
                          Ethylbenzene                            ug/l     700            0.7 J          0.7 J          4           1           0
                          Tetrahydrothiophene                     ug/I     NA              91            1400           4           4          NA
                          Toluene                                 ug/l      150            17             44            4           4           0
                          Xylene (total)                          ug/l     1750             2             3J            4           4           0

                 SVOCs
                          Di-n-butylphthalate                     ug/l     NA             0.5 J          0.5 J          4           1          NA
                          Phenol                                  ug/l     NA              26             26            4           1          NA

                 Metals (dissolved)
                       Aluminum                                   ug/l    1000            71.4           71.4           4           1           0
                       Barium                                     ug/l    1000            71.8           136 J          4           4           0


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                                                                            Exhibit 39
                                                                              5711
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 TabliIfeu.
                                Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 681 of 730 Page ID
                  Summary of 1st, 2nd, 3rd, and 4th Quarter Data  #:5755      C
                  McColl Groundwater Remedial Investigation
                  McColl Site, Fullerton, California

 "C" Flow Unit
                                                                                        Minimum         Maximum        Number of   Number     Number of
                                                                                        Detected         Detected      Sampling       of     Times Exceed
 Well             Constituent                                      Units   MCL        Concentration    Concentration    Events*    Detects**    MCL**

 P-5L            Metals (dissolved), continued
                        Calcium                                    ug/l     NA             156000         188000          4           4          NA
                        Chromium                                   ug/l     50               5.8            5.8           4           1           0
                        Copper                                     ug/l     NA               7.2 J          7.2 J         4           1          NA
                        Iron                                       ug/l     NA               113           1050 J         4           4          NA
                        Lead                                       ug/l     NA               2.1            2.1           4           1          NA
                        Magnesium                                  ug/l     NA             51700           63100          4           4          NA
                        Manganese                                  ug/I     NA               280            427 J         4           4          NA
                        Mercury                                    ug/l      2              0.14J           0.18          4           2           0
                        Potassium                                  ug/l     NA              6370           7830           4           4          NA
                        Sodium                                     ug/l     NA             179000         202000          4           4          NA
                        Zinc                                       ug/l     NA              14.5 J          14.5 J        4           1          NA
                                                       -
                 Metals (total)
                        Aluminum                                   ug/l     1000              36.8         5380           4           3           1
                        Barium                                     ug/l     1000              73.5         185 J          4           4           0
                        Calcium                                    ug/l     NA             1 55000 J      186000          4           4          NA
                        Chromium                                   ug/l     50               3.9           23.2           4           2           0
                        Cobalt                                     ug/l     NA              4.4 J          4.4 J          4           1          NA
                        Iron                                       ug/l     NA               778           6820           4           4          NA
                        Magnesium                                  ug/l     NA             51500 J        62800           4           4          NA
                       Manganese                                   ug/l     NA               351           422            4           4          NA
                       Mercury                                     ug/l      2              0.18 J          0.25          4           2           0
                       Potassium                                   ug/l     NA              6420           9300           4           4          NA
                       Selenium                                    ug/l     50               2.9            2.9           4           1           0
                       Sodium                                      ug/l     NA             172000        203000           4           4          NA
                       Thallium                                    ug/l      2               3.7            3.7           4           1           1
                       Vanadium                                    ug/l     NA              14.7 J         14.7 J         4           1          NA
                       Zinc                                        ug/l     NA              24.6 J         24.6 J         4           1          NA


h:\bak\mccoll\03-4493f\tblh-l .xls-"C" Unit                                Page 26 of 49                                                     ENVIRON
                                                                             Exhibit 39
                                                                               5712
 Tablk'».-<: Summary of 1st, 2nd, 3rd, and 4th Quarter Data
                 McColl Groundwater Remedial Investigation
                                                            #:5756        c
                      Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 682 of 730 Page ID
                                                                                                                                           c
                 McColl Site, Fullerton, California

 "C" Flow Unit
                                                                                    Minimum        Maximum        Number of   Number     Number of
                                                                                    Detected        Detected      Sampling       of     Times Exceed
 Well            Constituent                                  Units    MCL        Concentration   Concentration    Events*    Detects**    MCL**

 P-5L            General Chemistry
                       Alkalinity (as CaCO3)                   mg/l     NA              260            320           4           4          NA
                       Chemical Oxygen Demand                  mg/I     NA               480          620            4           4          NA
                       Chloride                                mg/l     NA               170          240            4           4          NA
                       Nitrate                                 mg/l     45               0.2           0.3           4           2           0
                          pH                                   units    NA               7.2           7.4           4           4          NA
                          Specific Conductivity               um/cm     NA              1700          2150           4           4          NA
                          Sulfate                              mg/l     NA              380            520           4           4          NA
                          Sulfide                              mg/I     NA               0.4           1.4 J         4           2          NA
                          Temperature                           C       NA                18          25.9           4           4          NA
                          Total Dissolved Solids              mg/l      NA              1500          1800           4           4          NA
                          Total Organic Carbon                mg/l      NA               4.8           150           4           4          NA
                          Turbidity                           NTU       NA               1.5           126           4           4          NA

 P-6D             VOCs
                          Benzene                              ug/l      1              0.1 J         0.1 J          4           1           0
                          Toluene                              ug/l     150             0.3 J         0.3 J          4           1           0

                 SVOCs
                          Bis(2-ethylhexyl)phthalate (BEHP)    ug/l      4              3J             8J            4           2           1
                          Butyl benzyl phthalate               ug/l     NA              2J             2J            4           1          NA
                          Dimethyl phthalate                   ug/l     NA             220 D         5200            4           4          NA
                          Nitrobenzene                         ug/l     NA              5J             5J            4           1          NA

                 Metals (dissolved)
                       Aluminum                                ug/l    1000            40.7 J        40.7 J          4           1           0
                       Barium                                  ug/l    1000            50.2           61             4           4           0
                       Calcium                                 ug/l    NA              155000        194000          4           4          NA
                       Copper                                  ug/l    NA               9.3           9.3            4           1          NA


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                                                                         Exhibit 39
                                                                           5713
 Table           Summary of 1st, 2nd, 3rd, and 4th Quarter Data
                 McColl Groundwater Remedial Investigation
                                                                          c
                           Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 683 of 730 Page ID
                                                                #:5757

                 McColl Site, Fullerton, California

 "C" Flow Unit
                                                                                  Minimum         Maximum        Number of   Number     Number of
                                                                                   Detected        Detected      Sampling       of     Times Exceed
 Well             Constituent                                Units    MCL        Concentration   Concentration    Events*    Detects**   MCL**

 P-6D            Metals (dissolved), continued
                        Iron                                  ug/l     NA              346 J          366           4           4          NA
                        Magnesium                             ug/I     NA             57700         64200           4           4          NA
                        Manganese                             ug/l     NA               175           195           4           4          NA
                        Mercury                               ug/l      2              0.42          0.42           4           1           0
                        Potassium                             ug/l     NA              8580         12400           4           4          NA
                        Sodium                                ug/l     NA             110000       11 6000 J        4           4          NA

                 Metals (total)
                        Aluminum                              ug/l     1000            42.5 J       42.5 J          4           1           0
                        Barium                                ug/l     1000            49.7          58.3           4           4           0
                        Calcium                               ug/l     NA             151000       196000           4           4          NA
                        Iron                                  ug/l     NA               365         406 J           4           4          NA
                        Lead                                  ug/l     NA               1.8           1.8           4           1          NA
                        Magnesium                             ug/l     NA             56400         63400           4           4          NA
                        Manganese                             ug/l     NA               176           194           4           4          NA
                        Mercury                               ug/l      2               0.62         0.62           4           1           0
                        Potassium                             ug/l     NA              8830         11900           4           4          NA
                        Sodium                                ug/l     NA             107000       11 3000 J        4           4          NA

                 General Chemistry
                       Alkalinity (as CaCO3)                  mg/l     NA               120           170           4           4          NA
                       Chemical Oxygen Demand                 mg/l     NA                18           50            4           2          NA
                       Chloride                               mg/l     NA              210            250           4           4          NA
                       pH                                     units    NA               7.1           7.4           4           4          NA
                       Specific Conductivity                 um/cm     NA              1600          1700           4           4          NA
                       Sulfate                                mg/l     NA              410           480            4           4          NA
                       Sulfide                                mg/l     NA               0.4           0.4           4           1          NA
                       Temperature                             C       NA               20           24.4           4           4          NA


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                                                                         Exhibit 39
                                                                           5714
                                 Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 684 of 730 Page ID
 Table           Summary of 1st, 2nd, 3rd, and 4th Quarter Data
                 McColl Groundwater Remedial Investigation
                                                                   #:5758     C
                 McColl Site, Fullerton, California

 "C" Flow Unit
                                                                                       Minimum        Maximum        Number of   Number     Number of
                                                                                       Detected        Detected      Sampling       of     Times Exceed
 Well             Constituent                                     Units   MCL        Concentration   Concentration    Events*    Detects**    MCL**

 P-6D            General Chemistry, continued
                       Total Dissolved Solids                     mg/l     NA              1200          1350           4           4          NA
                       Total Organic Carbon                       mg/l     NA               6.9           6.9           4           1          NA
                       Turbidity                                  NTU      NA               0.1           1.3           4           4          NA

 P-9D             VOCs
                          1 ,2-Dichloroethane                     ug/l     0.5              0.2 J        0.2 J          4           2           0
                          Benzene                                 ug/l      1               0.2 J        0.2 J          4           2           0
                          Ethylbenzene                            ug/l    700               0.3 J        0.3 J          4           1           0
                          Toluene                                 ug/l     150               3             7            4           4           0
                          Xylene (total)                          ug/l    1750              0.5 J         2             4           3           0

                 SVOCs
                          2-Nitrophenol                           ug/l     NA              0.8 J         0.8 J          4           1          NA
                          Bis(2-ethylhexyl)phthalate (BEHP)       ug/l      4               1J            20            4           3           1
                          Phenol                                  ug/l     NA               57           1300           4           4          NA

                 Metals (dissolved)
                       Aluminum                                   ug/I    1000             61.8 J        61.8 J         4           1           0
                       Barium                                     ug/I    1000               195          254           4           4           0
                       Calcium                                    ug/l    NA               89000        105000          4           4          NA
                       Copper                                     ug/l    NA                3.9 J         6.8 J         4           1          NA
                       Iron                                       ug/l    NA                 23.8         61 J          4           2          NA
                       Magnesium                                  ug/l    NA               32500        38200           4           4          NA
                       Manganese                                  ug/l    NA                 10.8         19.2          4           3          NA
                       Potassium                                  ug/I    NA               5650          6610           4           4          NA
                       Selenium                                   ug/l     50               17.6 J        85.2          4           4           3
                       Sodium                                     ug/I    NA              200000        224000          4           4          NA
                       Vanadium                                   ug/l    NA                 6.1          6.1           4           1          NA
                       Zinc                                       ug/l    NA                11.8J        11.8J          4           1          NA

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                                                                             Exhibit 39
                                                                               5715
 Tablk           Summary of 1st, 2nd, 3rd, and 4th Quarter Data
                 McColl Groundwater Remedial Investigation
                                                                         c
                           Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 685 of 730 Page ID
                                                                #:5759

                 McColl Site, Fullerton, California

   C" Flow Unit
                                                                                   Minimum        Maximum        Number of   Number     Number of
                                                                                   Detected        Detected      Sampling       of     Times Exceed
 Well            Constituent                                 Units    MCL        Concentration   Concentration    Events*    Detects**    MCL**

 P-9D            Metals (total)
                        Aluminum                              ug/l    1000             160 J         160 J          4           1           0
                        Barium                                ug/l    1000             196           248            4           4           0
                        Calcium                               ug/l     NA             84100          99600          4           4          NA
                        Chromium                              ug/l     50              7.7            7.7           4           1           0
                        Iron                                  ug/l     NA             36.7 J          170           4           1          NA
                        Lead                                  ug/l     NA              1.9            4.4           4           3          NA
                          Magnesium                           ug/I     NA             31700          36300          4           4          NA
                          Manganese                           ug/l     NA              9.8           20.1           4           2          NA
                          Potassium                           ug/l     NA             5660           6710           4           4          NA
                          Selenium                            ug/l     50              3.7            101           4           4           3
                          Sodium                              ug/l     NA             198000        216000          4           4          NA
                          Vanadium                            ug/l     NA              2.7            2.7           4           1          NA
                          Zinc                                ug/l     NA             31.2 J         31.2J          4           1          NA

                 General Chemistry
                       Alkalinity (as CaCO3)                  mg/l     NA              230           240            4           4          NA
                       Chemical Oxygen Demand                 mg/l     NA               10            30            4           3          NA
                       Chloride                               mg/l     NA              390           480            4           4          NA
                       Nitrate                                mg/l     45              6.5           13.2           4           4           0
                       Nitrite (as N)                         mg/l      1              0.2            0.2           4           1           0
                          pH                                  units    NA              7.3            7.5           4           4          NA
                          Specific Conductivity              um/cm     NA              1800          1850           4           4          NA
                          Sulfate                             mg/l     NA               74            100           4           4          NA
                          Temperature                          C       NA              21            27.6           4           4          NA
                          Total Dissolved Solids              mg/l     NA              990           1000           4           4          NA
                          Total Organic Carbon                mg/I     NA               1.7           5             4           2          NA
                          Turbidity                          NTU       NA              0.8            5             4           4          NA




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                                                                         Exhibit 39
                                                                           5716
 Table V. *: Summary of 1st, 2nd, 3rd, and 4th Quarter Data
             McColl Groundwater Remedial Investigation
                                                                   #:5760     c
                                 Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 686 of 730 Page ID
                                                                                                                                             (
             McColl Site, Fullerton, California

 "C" Flow Unit
                                                                                    Minimum         Maximum        Number of   Number     Number of
                                                                                     Detected        Detected      Sampling       of     Times Exceed
 Well             Constituent                                   Units   MCL        Concentration   Concentration    Events*    Detects**   MCL**

 P-IOL            VOCs
                          1,1,1 -Trichloroethane                ug/l     200             0.1 J         0.1 J          2           1           0
                          2-Methyltetrahydrothiophene           ug/l     NA              15J           70 D           2           2          NA
                          3-Methyltetrahydrothiophene           ug/l     NA               11 J         HOD            2           2          NA
                          Benzene                               ug/I       1             0.1 J         0.1 J          2           1           0
                          Chloroform                            ug/I      70             0.1J          0.1 J          2           2           0
                          Tetrahydrothiophene                   ug/I     NA               14 J         150 D          2           2          NA
                          Toluene                               ug/l     150             86 J          120 J          2           2           0
                          Xylene (total)                        ug/l    1750             0.4 J         0.4 J          2           1           0

                 SVOCs
                          2-Methylphenol                        ug/l     NA              2J             2J            2           1          NA
                          4-MethyIphenol                        ug/I     NA              2J             2J            2           1          NA
                          Bis(2-ethylhexyl)phthalate (BEHP) '   ug/l      4              9J            11 J           2           2           2

                 Metals (dissolved)
                       Arsenic                                  ug/l     50              5.6           12.9           2           2           0
                       Barium                                   ug/l    1000             93.2           100           2           2           0
                       Calcium                                  ug/l     NA             103000        106000          2           2          NA
                       Lead                                     ug/l     NA              3.9            3.9           2           1          NA
                       Magnesium                                ug/I     NA             39700         41100           2           2          NA
                       Manganese                                ug/l     NA              147           377            2           2          NA
                       Potassium                                ug/l     NA              5600         6580 J          2           2          NA
                       Selenium                                 ug/l     50              36.9          54.2           2           2           1
                       Sodium                                   ug/l     NA             224000        238000          2           2          NA

                 Metals (total)
                        Aluminum                                ug/l    1000             76.2          76.2           2           1           0
                        Antimony                                ug/I      6              0.61          0.61           2           1           0


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                                                                           Exhibit 39
                                                                             5717
                                Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 687 of 730 Page ID
 Tablev. i: Summary of 1st, 2nd, 3rd, and 4th Quarter Data
            McColl Groundwater Remedial Investigation
                                                                  #:5761                                                                  c
            McColl Site, Fullerton, California

 "C" Flow Unit
                                                                                  Minimum         Maximum        Number of   Number     Number of
                                                                                   Detected        Detected      Sampling       of     Times Exceed
 Well            Constituent                                 Units    MCL        Concentration   Concentration    Events*    Detects**   MCL**

 P-IOL           Metals (total), continued
                        Arsenic                               ug/l     50              5.5           10.0           2           2           0
                        Barium                                ug/l    1000             94.5          96.3           2           2           0
                        Calcium                               ug/l     NA             101000        110000          2           2          NA
                        Iron                                  ug/l     NA              117            117           2           1          NA
                        Magnesium                             ug/I     NA             39100         42600           2           2          NA
                        Manganese                             ug/l     NA              141           413            2           2          NA
                        Potassium                             ug/l     NA              5750          5870 J         2           2          NA
                        Selenium                              ug/l     50              39.2           53.5          2           2           1
                        Sodium                                ug/l     NA             229000        234000          2           2          NA
                        Vanadium                              ug/l     NA              3.2            3.2           2           1          NA

                 General Chemistry
                       Alkalinity (as CaCO3)                  mg/l     NA              240           250            2           2          NA
                       Chemical Oxygen Demand                 mg/l     NA               33            33            2           1          NA
                       Chloride                               mg/l     NA              290           300            2           2          NA
                       Nitrate                                mg/l     45              3.3           3.3            2           1           0
                       Nitrite (as N)                         mg/l      1              1.6           1.6            2           1           1
                          PH                                  units    NA              7.2           7.4            2           2          NA
                          Specific Conductivity              um/cm     NA              1650          2400           2           2          NA
                          Sulfate                             mg/l     NA              310           370            2           2          NA
                          Sulfide                             mg/l     NA              0.4           0.4            2           1          NA
                          Temperature                          C       NA              24.2          26.4           2           2          NA
                          Total Dissolved Solids              mg/l     NA              1200          1300           2           2          NA
                          Total Organic Carbon                mg/I     NA              2.7            5.6           2           2          NA
                          Turbidity                          NTU       NA              0.8            2.1           2           2          NA




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                                                                         Exhibit 39
                                                                           5718
 TabL —-1: Summary of 1st, 2nd, 3rd, and 4th Quarter Data
                 McColl Groundwater Remedial Investigation
                                                           >l»         ("
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                                                          #:5762

                 McColl Site, Fullerton, California

 "C" Flow Unit
                                                                                 Minimum         Maximum        Number of   Number     Number of
                                                                                  Detected        Detected      Sampling       of     Times Exceed
 Well            Constituent                                 Units   MCL        Concentration   Concentration    Events*    Detects**    MCL**

 W-6A             VOCs
                          2-Butanone                         ug/l     NA              780 J         1000           4           2          NA
                          2-Hexanone                         ug/l     NA              110           800            4           2          NA
                          2-Methyltetrahydrothiophene        ug/l     NA             6400 D        43000           4           4          NA
                          3-Methyltetrahydrothiophene        ug/l     NA             2900 D        31000           4           4          NA
                          4-Methyl-2-pentanone               ug/l     NA              180            180           4           1          NA
                          Acetone                            ug/l     NA              630 J         630 J          4           1          NA
                          Benzene                            ug/l      1              500 J         800            4           3           3
                          Chloroethane                       ug/l     NA               9J            9J            4           1          NA
                          Tetrahydrothiophene                ug/l     NA             2000 D        17000           4           4          NA
                          Toluene                            ug/l     150              6J            6J            4           1           0
                          Xylene                             ug/I    1750              8J            8J            4           1           0

                 SVOCs
                          2-MethylnapthaIene                 ug/l     NA              55 J          55 J           4           1          NA

                 Metals (dissolved)
                       Aluminum                              ug/l     1000           757000       1240000 J        4           4           4
                       Arsenic                               ug/l     50              4J            72.2 J         4           3           2
                       Barium                                ug/l    1000             9.4           20.7           4           2           0
                       Beryllium                             ug/I      4              40.6           90 J          4           4           4
                       Cadmium                               ug/l      5               27.9         77.5 J         4           4           4
                       Calcium                               ug/l     NA             382000        478000          4           4          NA
                       Chromium                              ug/l     50               98.6         424            4           4           4
                       Cobalt                                ug/l     NA              355           930            4           4          NA
                       Copper                                ug/l     NA              174 J         304            4           4          NA
                       Iron                                  ug/l     NA             2050 J       835000 J         4           4          NA
                       Magnesium                             ug/l     NA             286000       713000           4           4          NA




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                                                                       Exhibit 39
                                                                         5719
                    Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 689 of 730 Page ID
 TabK ..-1: Summary of 1st, 2nd, 3rd, and 4th Quarter Data #:5763
                 McColl Groundwater Remedial Investigation
                 McColl Site, Fullerton, California

 "C" Flow Unit
                                                                                     Minimum        Maximum        Number of   Number     Number of
                                                                                     Detected        Detected      Sampling       of     Times Exceed
 Well             Constituent                                Units   MCL           Concentration   Concentration    Events*    Detects**   MCL**

 W-6A            Metals (dissolved), continued
                        Manganese                            ug/l     NA              22100 J         98800           4           4          NA
                        Mercury                              ug/l      2               0.2 J           0.2 J          4           1           0
                        Nickel                               ug/l     100               679            1970           4           4           4
                        Potassium                            ug/l     NA              70000           100000          4           4          NA
                        Selenium                             ug/l     50               7.9 J           10.1 J         4           2           0
                        Silver                               ug/l     NA                3.4             13.8          4           2          NA
                        Sodium                               ug/l     NA              355000         446000 J         4           4          NA
                        Vanadium                             ug/l     NA                598            2450           4           4          NA
                        Zinc                                 ug/l     NA               1880            3710           4           3          NA

                 Metals (total)
                        Aluminum                             ug/l    1000             676000         1 350000 J       4           4           4
                        Arsenic                              ug/l     50                69.0            71.1 J        4           2           2
                        Barium                               ug/l    1000               31.5            97.3          4           3           0
                        Beryllium                            ug/l      4                36.7            105 J         4           4           4
                        Cadmium                              ug/l      5                25.5            81.2          4           4           4
                        Calcium                              ug/l     NA              367000          450000          4           4          NA
                        Chromium                             ug/l     50                102            427            4           4           4
                        Cobalt                               ug/l     NA                326            932 J          4           4          NA
                        Copper                               ug/l     NA                148            423            4           4          NA
                        Iron                                 ug/l     NA              170000         880000 J         4           4          NA
                        Lead                                 ug/l     NA                12.0            12.0          4           1          NA
                       Magnesium                             ug/l     NA              261000         710000 J         4           4          NA
                        Manganese                            ug/l     NA              20600          98800 J          4           4          NA
                       Mercury                               ug/l      2               0.22 J          0.33           4           2           0
                       Nickel                                ug/l     100              989             1980 J         4           4           4
                       Potassium                             ug/l     NA              68600           110000          4           4          NA
                        Selenium                             ug/l     50                4.9             6.4 J         4           2           0


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                                                                      Exhibit 39
                                                                        5720
                                Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 690 of 730 Page ID
 Tablk_, i: Summary of 1st, 2nd, 3rd, and 4th Quarter Data
            McColl Groundwater Remedial Investigation
                                                                  #:5764 C                                                                c
            McColl Site, Fullerton, California

 "C" Flow Unit
                                                                                  Minimum         Maximum        Number of   Number     Number of
                                                                                   Detected        Detected      Sampling       of     Times Exceed
 Well             Constituent                                Units    MCL        Concentration   Concentration    Events*    Detects**    MCL**

 W-6A            Metals (total), continued
                        Silver                                ug/l     NA              5.4            5.4            4          1          NA
                        Sodium                                ug/l     NA             327000       451 000 J         4          4          NA
                        Thallium                              ug/l      2              5.6            5.6            4          1           1
                        Vanadium                              ug/l     NA              579          2460             4          4          NA
                        Zinc                                  ug/l     NA              1680         3550 J           4          3          NA

                 General Chemistry
                       Chemical Oxygen Demand                 mg/l     NA              1400          5200           4           4          NA
                       Chloride                               mg/l     NA              85            305            4           4          NA
                       Nitrate                                mg/I     45              0.6           2.6            4           3           0
                          pH                                  units    NA              3.0           3.3            4           4          NA
                          Specific Conductivity              um/cm     NA             7000          11000           4           4          NA
                          Sulfate                             mg/l     NA             9700          15900           4           4          NA
                          Sulfide                             mg/l     NA              2J             46            4           4          NA
                          Temperature                          C       NA              16            25.5           4           4          NA
                          Total Dissolved Solids              mg/l     NA              9500         19600           4           4          NA
                          Total Organic Carbon                mg/l     NA              755           1100           4           4          NA
                          Turbidity                          NTU       NA              30            277            4           4          NA




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                                                                        Exhibit 39
                                                                          5721
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 Tablk- l: Summary of 1st, 2nd, 3rd, and 4th Quarter Data C
                                                          #:5765
                  McColl Groundwater Remedial Investigation
                  McColl Site, Fullerton, California

  "C" Flow Unit
                                                                                              Minimum          Maximum          Number of       Number     Number of
                                                                                              Detected          Detected        Sampling           of     Times Exceed
 Well             Constituent                                            Units   MCL         Concentration    Concentration      Events*        Detects**   MCL**

         ug/L        =    micrograms per liter
          mg/l       =    milligrams per liter
        um/cm        =    micromhos per centimeter
            C        =    degrees Celsius
         NTU         =    Nephelometric Turbidity Unit

          MCL        =    Maximum Contaminant Level as listed Title 22, CCR, Revised June 23, 1995.
          NA         =    Not Applicable

 *               Duplicate samples not considered an additional sampling event.
 **              Duplicate sample not considered an additional detection or exceedance, i.e. if both original and duplicate sample exceed MCL
                 in one sampling event, only one exceedance reported for that event.
 Notes:
                 In cases where the same minimum or maximum value was detected in more than one event, with
                 one of the values being qualified with a J or D, the unqualified value was used.

                 Only reported detections are presented in this table.




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                                                                                    Exhibit 39
                                                                                      5722
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 TabU?           Summary of 1st, 2nd, 3rd, and 4th Quarter Data #:5766
                 McColl Groundwater Remedial Investigation
                 McColl Site, Fullerton, California

 "D" Flow Unit
                                                                                  Minimum         Maximum        Number of   Number     Number of
                                                                                   Detected        Detected      Sampling       of     Times Exceed
 Well             Constituent                                 Units   MCL        Concentration   Concentration    Events*    Detects**    MCL**

 P-1D             VOCs
                          2-Memyltetrahydrothiophene          ug/l     NA              0.7 J         0.7 J          4           1          NA
                          3-Methyltetrahydrothiophene         ug/l     NA              0.6 J         0.6 J          4           1          NA
                          Toluene                             ug/l     150             0.3 J         0.4 J          4           2           0

                 SVOCs
                          Bis(2-ethylhexyl)phthalate (BEHP)   ug/l      4               2             11 J          4           3           1
                          Butyl benzyl phthalate              ug/l     NA               1J            3J            4           2          NA
                          Di-n-butyl phthalate                ug/l     NA               14            14            4           1          NA

                 Metals (dissolved)
                        Barium                                ug/l     1000            43.2         49.1J           4           4           0
                       Calcium                                ug/l     NA             79600         90100           4           4          NA
                        Iron                                  ug/l     NA              519J          587 J          4           4          NA
                        Magnesium                             ug/l     NA             31300         34600           4           4          NA
                       Manganese                              ug/l     NA              213           365            4           4          NA
                       Nickel                                 ug/l     100             36.6          36.6           4           1           0
                        Potassium                             ug/l     NA              3240          3450           4           4          NA
                       Sodium                                 ug/l     NA             98100 J       113000          4           4          NA
                       Thallium                               ug/l      2              3.4            3.4           4           1           1

                 Metals (total)
                        Aluminum                              ug/l    1000            427 J          427 J          4           1           0
                          Barium                              ug/l    1000             38.8          49.4           4           4           0
                          Calcium                             ug/l     NA             74000         86000 J         4           4          NA
                          Chromium                            ug/l     50              17.5           17.5          4           1           0
                          Iron                                ug/l     NA              514           1360 J         4           4          NA
                          Lead                                ug/l     NA              0.48           6.3           4           1          NA
                          Magnesium                           ug/l     NA             28700         34300 J         4           4          NA


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                                                                         Exhibit 39
                                                                           5723
                                Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 693 of 730 Page ID
 Tables, i: Summary of 1st, 2nd, 3rd, and 4th Quarter Data        #:5767                                                                 C
            McColl Groundwater Remedial Investigation
            McColl Site, Fullerton, California

 "D" Flow Unit
                                                                                  Minimum        Maximum        Number of   Number     Number of
                                                                                  Detected        Detected      Sampling       of     Times Exceed
 Well            Constituent                                 Units    MCL       Concentration   Concentration    Events*    Detects**   MCL**

 P-1D            Metals (total), continued
                        Manganese                             ug/l     NA              205          359            4           4          NA
                        Nickel                                ug/l     100             42.4         42.4           4           1           0
                        Potassium                             ug/l     NA              3070         3560           4           4          NA
                        Sodium                                ug/l     NA             96600 J      109000          4           4          NA
                        Thallium                              ug/I      2              3.3          3.3            4           1           1

                 General Chemistry
                       Alkalinity (as CaCO3)                  mg/l     NA              220          240            4           4          NA
                       Chemical Oxygen Demand                 mg/l     NA               24           24            4           1          NA
                       Chloride                               mg/l     NA              110          150            4           4          NA
                       Nitrate (as N)                         mg/L     45              0.1          0.1            4           1           0
                          pH                                  units    NA              6.9           7             4           4          NA
                          Specific Conductivity              um/cm     NA              1100         1150           4           4          NA
                          Sulfate                             mg/l     NA              140          220            4           4          NA
                          Sulfide                             mg/l     NA              0.4           0.4           4           1          NA
                          Temperature                          C       NA              20           25.8           4           4          NA
                          Total Dissolved Solids              mg/l     NA              660          820            4           4          NA
                          Total Organic Carbon                mg/l     NA              3.6           19            4           4          NA
                          Turbidity                          NTU       NA              0.1          10.8           4           4          NA

 P-5D             VOCs
                          Benzene                             ug/l      1              0.3 J        0.4 J          4           1           0
                          Methylene chloride                  ug/l      5               5            5             4           1           0
                          Toluene                             ug/l     150             0.1 J        0.1 J          4           1           0

                 SVOCs
                          Bis(2-ethylhexyl)phthalate(BEHP)    ug/I      4               4J           4J            4           1           0
                          Butyl benzyl phthalate              ug/l     NA               2J           3J            4           1          NA


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                                                                        Exhibit 39
                                                                          5724
 Tabled ,: Summary of 1st, 2nd, 3rd, and 4th Quarter Data
           McColl Groundwater Remedial Investigation
                                                                        c
                                  Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 694 of 730 Page ID
                                                                    #:5768

           McColl Site, Fullerton, California

 "D" Flow Unit
                                                                                 Minimum        Maximum        Number of   Number     Number of
                                                                                 Detected        Detected      Sampling       of     Times Exceed
 Well            Constituent                                Units   MCL        Concentration   Concentration    Events*    Detects**    MCL**

 P-SD            SVOCs, continued
                       Dimethyl phthalate                   ug/l     NA               67          4100 D          4           4          NA
                      N-Nitroso-di-n-propylamine            ug/l     NA               2J            2J            4           1          NA
                      Nitrobenzene                          ug/l     NA               10            19            4           1          NA
                      Phenol                                ug/l     NA               2J            2J            4           1          NA

                 Metals (dissolved)
                       Barium                               ug/l    1000              37.6          39.9          4           3           0
                       Calcium                              ug/l     NA              44100         51000          4           4          NA
                       Copper                               ug/l     NA               4.7           4.7           4           1          NA
                        Magnesium                           ug/l     NA              12300         16200          4           4          NA
                       Manganese                            ug/l     NA               39.1          58.9          4           4          NA
                       Potassium                            ug/I     NA              4400          10500          4           4          NA
                        Sodium                              ug/l     NA              96700        110000          4           4          NA

                 Metals (total)
                        Barium                              ug/l    1000              40.2         463            4           3           0
                        Beryllium                           ug/l      4               0.35         0.35           4           1           0
                        Calcium                             ug/I     NA              45300        52800           4           4          NA
                        Copper                              ug/l     NA               3.4           3.4           4           1          NA
                        Lead                                ug/l     NA               2J            5.5           4           2          NA
                        Magnesium                           ug/l     NA              11900         16600          4           4          NA
                        Manganese                           ug/l     NA               47.8          61.0          4           4          NA
                        Mercury                             ug/l      2               0.21          0.63          4           1           0
                       Potassium                            ug/l     NA               4790         11800          4           4          NA
                        Sodium                              ug/l     NA              97100        111000          4           4          NA
                       Zinc                                 ug/l     NA               105           119           4           1          NA




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                                                                        Exhibit 39
                                                                          5725
                         Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 695 of 730 Page ID
 Tablfe -., -1: Summary of 1st, 2nd, 3rd, and 4th Quarter Data
                 McColl Groundwater Remedial Investigation
                                                               #:5769                                                                      c
                 McColl Site, Fullerton, California

   D" Flow Unit
                                                                                    Minimum        Maximum        Number of   Number     Number of
                                                                                    Detected        Detected      Sampling       of     Times Exceed
 Well             Constituent                                 Units    MCL        Concentration   Concentration    Events*    Detects**   MCL**

 P-SD            General Chemistry
                       Alkalinity (as CaCO3)                   mg/l     NA              200           210            4           4          NA
                       Chemical Oxygen Demand                  mg/l     NA               16            24            4           2          NA
                       Chloride                                mg/l     NA              100           160            4           4          NA
                          PH                                   units    NA              7.6            7.8           4           4          NA
                          Specific Conductivity               um/cm     NA              700           925            4           4          NA
                          Sulfate                              mg/I     NA               81           130            4           4          NA
                          Temperature                           C       NA              20            26.5           4           4          NA
                          Total Dissolved Solids               mg/l     NA              480           560            4           4          NA
                          Total Organic Carbon                 mg/l     NA               1.7          10.9           4         ' 2          NA
                          Turbidity                           NTU       NA               0.3          4.2            4           4          NA

 W-4              VOCs
                          Toluene                              ug/l     150            0.2 J           1J            4           3           0

                 SVOCs
                          Bis(2-ethylhexyl)phthalate (BEHP)    ug/l      4              2J             28            4           3           2
                          Butyl benzyl phthalate               ug/l     NA              3J             3J            4           1          NA
                          Di-n-butyl phthalate                 ug/l     NA              0.9 J          2J            4           4          NA
                          Dimethyl phthalate                   ug/l     NA             650 D         4500 D          4           4          NA
                          Nitrobenzene                         ug/l     NA              11             11            4           1          NA
                          Phenol                               ug/l     NA              10 J          10 J           4           1          NA

                 Metals (dissolved)
                       Aluminum                                ug/l     1000            34.8         37.4 J          4           2           0
                       Arsenic                                 ug/l     50              7.8           16.9           4           4           0
                       Barium                                  ug/l    1000             60.5          68.2           4           4           0
                       Calcium                                 ug/l     NA             77600         95000           4           4          NA
                       Copper                                  ug/l     NA              3.1           3.1            4           1          NA


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                                                                          Exhibit 39
                                                                            5726
                          Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 696 of 730 Page ID
 Tablk           Summary of 1st, 2nd, 3rd, and 4th Quarter Data #:5770
                 McColl Groundwater Remedial Investigation
                 McColl Site, Fullerton, California

   D" Flow Unit
                                                                                  Minimum        Maximum        Number of   Number     Number of
                                                                                  Detected        Detected      Sampling       of     Times Exceed
 Well            Constituent                                 Units    MCL       Concentration   Concentration    Events*    Detects**   MCL**

 W-4             Metals (dissolved), continued
                        Iron                                  ug/l     NA             1070 J       1710            4           4          NA
                        Magnesium                             ug/l     NA             30900        36300           4           4          NA
                        Manganese                             ug/l     NA              386          500            4           4          NA
                        Mercury                               ug/l      2              0.16J       0.16 J          4           1           0
                        Potassium                             ug/l     NA              2710        3240            4           4          NA
                        Sodium                                ug/l     NA             73500 J      85300           4           4          NA

                 Metals (total)
                        Aluminum                              ug/l    1000            95.7 J        298            4           2           0
                        Arsenic                               ug/l     50               8           16.1           4           4           0
                        Barium                                ug/l     1000            32.6         67.8           4           4           0
                        Beryllium                             ug/l      4              0.35         0.35           4           1           0
                       Calcium                                ug/l     NA             79500        87800           4           4          NA
                        Iron                                  ug/l     NA             1200 J       2330            4           4          NA
                        Lead                                  ug/l     NA              1.8 J         1.8 J         4           1          NA
                        Magnesium                             ug/l     NA             33000        33600           4           4          NA
                        Manganese                             ug/l     NA              414          464            4           4          NA
                        Potassium                             ug/l     NA              2860        3370            4           4          NA
                        Sodium                                ug/l     NA             74000 J      82000           4           4          NA

                 General Chemistry
                       Alkalinity (as CaCO3)                  mg/l     NA              340          390            4           4          NA
                       Chemical Oxygen Demand                 mg/l     NA               16          27             4           2          NA
                       Chloride                               mg/l     NA              73           82             4           4          NA
                          pH                                  units    NA              6.7          6.8            4           4          NA
                          Specific Conductivity              um/cm     NA              900          1100           4           4          NA
                          Sulfate                             mg/l     NA              31            73            4           4          NA
                          Temperature                          C       NA              20           27.8           4           4          NA


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                                                                        Exhibit 39
                                                                          5727
                     Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 697 of 730 Page ID
 TabL >.-!: Summary of 1st, 2nd, 3rd, and 4th Quarter Data
                                                           #:5771                                                                       C
                 McColl Groundwater Remedial Investigation
                 McColl Site, Fullerton, California

 "D" Flow Unit
                                                                                 Minimum         Maximum        Number of   Number     Number of
                                                                                  Detected        Detected      Sampling       of     Times Exceed
 Well             Constituent                                Units   MCL        Concentration   Concentration    Events*    Detects**    MCL**

 W-4             General Chemistry, continued
                       Total Dissolved Solids                mg/l     NA              560           630            4           4          NA
                       Total Organic Carbon                  mg/l     NA               8.8          21.8           4           2          NA
                       Turbidity                             NTU      NA              1.7             10           4           4          NA

 W-8B             VOCs
                          Benzene                            ug/l      1              0.1J          0.1 J          4           2            0
                          Ethylbenzene                       ug/l     700             0.3 J         0.4 J          4           2            0
                          Toluene                            ug/l     150              2             16            4           3            0
                          Xylene (total)                     ug/l    1750              U             2             4           3            0

                 SVOCs
                          Bis(2-ethylhexyl)phthalate(BEHP)   ug/l      4               1J            24            4           3           2
                          Butyl benzyl phthalate             ug/l     NA               9J            9J            4           1          NA
                          Diethyl phthalate                  ug/l     NA               2J            2J            4           1          NA
                          Phenol                             ug/l     NA               54           92 D           4           3          NA

                 Metals (dissolved)
                       Aluminum                              ug/l    1000            67.6 J        67.6 J          4           1           0
                       Barium                                ug/l    1000             63.3          79.2           4           4           0
                       Calcium                               ug/I     NA             56300         73200           4           4          NA
                       Copper                                ug/l     NA              5.6            5.6           4           1          NA
                       Iron                                  ug/l     NA              236           377 J          4           4          NA
                       Lead                                  ug/I     NA              1.5            1.5           4           1          NA
                       Magnesium                             ug/l     NA             21800         27800           4           4          NA
                       Manganese                             ug/l     NA              85.8           128           4           4          NA
                       Mercury                               ug/l      2             0.33 J         0.33 J         4           1           0
                       Potassium                             ug/l     NA              3080          3660           4           4          NA
                       Sodium                                ug/l     NA             81700          88700          4           4          NA


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                                                                       Exhibit 39
                                                                         5728
 TabL .-1: Summary of 1st, 2nd, 3rd, and 4th Quarter Data
           McColl Groundwater Remedial Investigation
                                                                  #:5772c
                                Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 698 of 730 Page ID
                                                                                                                                         c
           McColl Site, Fullerton, California

 "D" Flow Unit
                                                                                  Minimum        Maximum        Number of   Number     Number of
                                                                                  Detected        Detected      Sampling       of     Times Exceed
 Well             Constituent                               Units    MCL        Concentration   Concentration    Events*    Detects**    MCL**

 W-8B            Metals (total)
                        Aluminum                             ug/l    1000             26.1          302 J          4           2           0
                        Arsenic                              ug/I     50              2.1            2.1           4           1          NA
                        Barium                               ug/l    1000             64.2           81            4           4           0
                        Calcium                              ug/I     NA             56300         71800           4           4          NA
                        Chromium                             ug/I     50              6               6            4           1           0
                        Copper                               ug/l     NA             6.2             6.2           4           1          NA
                        Iron                                 ug/l     NA             221            705 J          4           4          NA
                        Lead                                 ug/l     NA             1.4 J           2.4           4           2          NA
                        Magnesium                            ug/l     NA             22200         27600           4           4          NA
                        Manganese                            ug/l     NA              92.4           134           4           4          NA
                        Mercury                              ug/l      2              0.43          0.43           4           1           0
                        Potassium                            ug/l     NA              3420         3720            4           4          NA
                        Sodium                               ug/l     NA             81400         87400           4           4          NA
                        Thallium                             ug/l      2              2.5            2.5           4           1           1

                 General Chemistry
                       Alkalinity (as CaCO3)                 mg/l     NA             230            270            4           4          NA
                       Chemical Oxygen Demand                mg/l     NA              24             24            4           1          NA
                       Chloride                              mg/l     NA             120            150            4           4          NA
                       Nitrate                               mg/l     45             0.1            0.1            4           1           0
                          pH                                 units    NA             7.2            7.5            4           4          NA
                          Specific Conductivity             um/cm     NA             800            950            4           4          NA
                          Sulfate                            mg/l     NA              48             61            4           4          NA
                          Sulfide                            mg/l     NA               1              1            4           1          NA
                          Temperature                         C       NA              20            25.7           4           4          NA
                          Total Dissolved Solids             mg/l     NA             516             570           4           4          NA
                          Total Organic Carbon               mg/l     NA              1.2            12            4           3          NA
                          Turbidity                         NTU       NA              1.1            5.3           4           4          NA


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                                                                       Exhibit 39
                                                                         5729
 Tabft*..-I: Summary of 1st, 2nd, 3rd, and 4th Quarter Data
                 McColl Groundwater Remedial Investigation
                                                            #:5773      c
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 "D" Flow Unit
                                                                                 Minimum         Maximum        Number of   Number     Number of
                                                                                  Detected        Detected      Sampling       of     Times Exceed
 Well            Constituent                                 Units   MCL        Concentration   Concentration    Events*    Detects**   MCL**

 W-9B             VOCs
                          Chloroform                         ug/l     NA              0.2 J         0.2 J          4           1          NA
                          Toluene                            ug/l     150             0.5 J         55 D           4           3           0

                 SVOCs
                          Butyl benzyl phthalate             ug/l     NA               2J            2J            4           1          NA

                 Metals (dissolved)
                       Aluminum                              ug/l     1000            87.1 J        87.1 J         4           1           0
                       Barium                                ug/l     1000             257          268            4           3           0
                       Calcium                               ug/l     NA             359000        411000          4           4          NA
                       Iron                                  ug/l     NA              745 J         1240           4           4          NA
                       Lead                                  ug/l     NA               2.1           2.1           4           1          NA
                       Magnesium                             ug/l     NA             100000        109000          4           4          NA
                       Manganese                             ug/l     NA              748 J          803           4           4          NA
                       Mercury                               ug/l      2              0.73 J       0.73 J          4           1           0
                       Potassium                             ug/I     NA              6770         7740            4           4          NA
                       Sodium                                ug/l     NA             199000       227000 J         4           4          NA

                 Metals (total)
                       Aluminum                              ug/l    1000              28.9         191 J          4           2           0
                        Arsenic                              ug/l     50               1.7          2.6            4           2           0
                        Barium                               ug/l    1000              235          265            4           4           0
                        Calcium                              ug/l     NA             349000 J      402000          4           4          NA
                        Chromium                             ug/l     50               9.4          26.0           4           3           0
                        Iron                                 ug/l     NA              1320J         2600           4           4          NA
                        Lead                                 ug/l     NA               1.5           1.5           4           1          NA
                       Magnesium                             ug/l     NA             100000        105000          4           4          NA
                       Manganese                             ug/l     NA               740          798            4           4          NA


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                                                                       Exhibit 39
                                                                         5730
 Tabli i                         Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 700 of 730 Page ID
                 Summary of 1st, 2nd, 3rd, and 4th Quarter Data
                 McColl Groundwater Remedial Investigation
                                                                   #:5774                                                                      c
                 McColl Site, Fullerton, California

  'D" Flow Unit
                                                                                        Minimum        Maximum        Number of   Number     Number of
                                                                                        Detected        Detected      Sampling       of     Times Exceed
 Well             Constituent                                     Units    MCL        Concentration   Concentration    Events*    Detects**    MCL**

 W-9B            Metals (total), continued
                        Mercury                                    ug/l      2              2.0            2.0           4           1           0
                        Potassium                                  ug/l     NA              6860         7830            4           4          NA
                        Sodium                                     ug/l     NA             199000       21 7000 J        4           4          NA

                 General Chemistry
                       Alkalinity (as CaCO3)                       mg/l     NA              260           280            4           4          NA
                       Chemical Oxygen Demand                      mg/l     NA               50           110            4           3          NA
                       Chloride                                    mg/l     NA              1000          1200           4           4          NA
                       Nitrate                                     mg/l     45              1.1            1.1           4           1           0
                          pH                                       units    NA              6.8            7.2           4           4          NA
                          Specific Conductivity                   um/cm     NA             3400           4100           4           4          NA
                          Sulfate                                  mg/l     NA              180           190            4           4          NA
                          Temperature                               C       NA               19            29            4           4          NA
                          Total Dissolved Solids                   mg/l     NA             2200           2700           4           4          NA
                          Total Organic Carbon                     mg/l     NA              2.9            30            4           4          NA
                          Turbidity                               NTU       NA              4              13            4           4          NA

 W-9C             VOCs
                          1 , 1 -Dichloroethane                    ug/l      5              0.2 J         0.2 J          4           1           0
                          1 ,2-Dichloroethane                      ug/I     0.5             0,3 J         0.5 J          4           2           0
                          Ethylbenzene                             ug/l     700             0.2 J         0.4 J          4           2           0
                          Toluene                                  ug/l     150              13           21 J           4           3           0
                          Xylene (total)                           ug/l     1750             U             1J            4           3           0

                 SVOCs
                          Butyl benzyl phthalate                   ug/I     NA              4J             4J            4           1          NA
                          Diethyl phthalate                        ug/l     NA              2J             2J            4           1          NA
                          Phenol                                   ug/I     NA              U              2J            4           2          NA


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                                                                              Exhibit 39
                                                                                5731
 TableV i: Summary of 1st, 2nd, 3rd, and 4th Quarter Data
                 McColl Groundwater Remedial Investigation
                                                          #:5775         c
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 "D" Flow Unit
                                                                                  Minimum        Maximum        Number of   Number     Number of
                                                                                  Detected        Detected      Sampling       of     Times Exceed
 Well             Constituent                                Units   MCL        Concentration   Concentration    Events*    Detects**   MCL**

 W-9C            Metals (dissolved)
                       Aluminum                              ug/l    1000             42.8 J       42.8 J          4           1           0
                       Barium                                ug/l    1000              27.6         31.7           4           2           0
                       Calcium                               ug/l    NA               33800        35700           4           4          NA
                       Copper                                ug/l    NA                3.4           3.4           4           1          NA
                       Iron                                  ug/l    NA                114J          229           4           3          NA
                       Lead                                  ug/l    NA                 2.1          6.8           4           2          NA
                       Magnesium                             ug/l    NA               15200        16900           4           4          NA
                       Manganese                             ug/I    NA                50.9         53.3           4           4          NA
                       Mercury                               ug/l     2                0.32         0.32           4           1           0
                          Potassium                          ug/l    NA               4010          5170           4           4          NA
                          Selenium                           ug/l     50                2.8          2.8           4           1           0
                          Sodium                             ug/l    NA              181000 J      190000          4           4          NA

                 Metals (total)
                       Aluminum                              ug/l     1000            37.7 J       37.7 J          4           1           0
                        Barium                               ug/l     1000             23.1         31.4           4           3           0
                        Calcium                              ug/l     NA              33900        35900           4           4          NA
                          Chromium                           ug/l      50               3.2          3.2           4           1           0
                          Iron                               ug/l     NA               134 J         190           4           4          NA
                          Magnesium                          ug/l     NA              15000        16700           4           4          NA
                          Manganese                          ug/l     NA               52.2          55            4           4          NA
                          Potassium                          ug/l     NA              3970          4620           4           4          NA
                          Sodium                             ug/l     NA             174000 J      191000          4           4          NA
                          Vanadium                           ug/l     NA                3.1          3.1           4           1          NA

                 General Chemistry
                       Alkalinity (as CaCO3)                 mg/l     NA              410           410            4           4          NA
                          Chemical Oxygen Demand             mg/l     NA              20             30            4           2          NA


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                                                                        Exhibit 39
                                                                          5732
 Table-- i: Summary of 1st, 2nd, 3rd, and 4th Quarter Data
            McColl Groundwater Remedial Investigation
                                                                   #:5776 c
                                 Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 702 of 730 Page ID
                                                                                                                                          (
            McColl Site, Fullerton, California

 "D" Flow Unit
                                                                                   Minimum        Maximum        Number of   Number     Number of
                                                                                   Detected        Detected      Sampling       of     Times Exceed
 Well             Constituent                                 Units    MCL       Concentration   Concentration    Events*    Detects**    MCL**

 W-9C            General Chemistry, continued
                       Chloride                                mg/l     NA              110           120            4          4          NA
                          pH                                   units    NA               6             8             4          4          NA
                          Specific Conductivity               um/cm     NA              1100         1100            4          4          NA
                          Sulfate                              mg/l     NA               17           22             4          4          NA
                          Sulfide                              mg/I     NA               1.1          1.2            4          2          NA
                          Temperature                           C       NA              24.5         26.7            4          4          NA
                          Total Dissolved Solids               mg/l     NA              66           690             4          4          NA
                          Total Organic Carbon                 mg/l     NA              8.0          19.7            4          3          NA
                          Turbidity                           NTU       NA              0.2          0.9             4          4          NA

 W-10B            VOCs
                          Toluene                              ug/l     150             0.4 J         21            4           3           0

                 SVOCs
                          Bis(2-ethylhexyl)phthalate (BEHP)    ug/I      4               3J           3J            4           1           0
                          Butyl benzyl phthalate               ug/I     NA               3J           3J            4           1          NA

                 Metals (dissolved)
                       Aluminum                                ug/l    1000             260          1130           4           4           1
                       Arsenic                                 ug/l     50              2.3 J        9.7            4           4           0
                          Barium                               ug/l    1000             21.8         24.3           4           2           0
                          Beryllium                            ug/I      4              2.8          8.3            4           4           3
                          Calcium                              ug/I     NA             184000      228000           4           4          NA
                          Chromium                             ug/l     50              3.2           3.2           4           1           0
                          Cobalt                               ug/I     NA              37.7         73.6           4           4          NA
                          Iron                                 ug/l     NA             7750 J       21700 J         4           4          NA
                          Lead                                 ug/l     NA              2.1           2.1           4           1          NA
                          Magnesium                            ug/l     NA             76400        92500           4           4          NA


h:\bak\mccoll\03-4493f\tblh-l .xls-"D" Unit                            Page 47 of 49                                                   ENVIRON
                                                                         Exhibit 39
                                                                           5733
 _ r                 Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 703 of 730 Page ID
 Table\. i: Summary of 1st, 2nd, 3rd, and 4th Quarter Data
                 McColl Groundwater Remedial Investigation
                                                           #:5777                                                                        c
                 McColl Site, Fullerton, California

 "D" Flow Unit
                                                                                 Minimum         Maximum        Number of   Number     Number of
                                                                                  Detected        Detected      Sampling       of     Times Exceed
 Well            Constituent                                 Units   MCL        Concentration   Concentration    Events*    Detects**    MCL**

 W-10B           Metals (dissolved), continued
                        Manganese                            ug/l     NA             2890           4300           4           4          NA
                        Mercury                              ug/l      2             0.11 J         0.11 J         4           1           0
                        Nickel                               ug/l     100             101           201            4           3           3
                        Potassium                            ug/l     NA             6140           7700           4           4          NA
                        Sodium                               ug/l     NA             69000         72100 J         4           4          NA
                        Zinc                                 ug/l     NA              125           299            4           3          NA

                 Metals (total)
                        Aluminum                             ug/l    1000             739           1320           4           4           2
                       Arsenic                               ug/l     50              7.1           10.4           4           3           0
                        Barium                               ug/l    1000             22.9          24.6           4           3           0
                       Beryllium                             ug/l      4               4.7           10            4           4           4
                        Calcium                              ug/l     NA             175000       217000 J         4           4          NA
                        Chromium                             ug/l     50              7.7           18.9           4           2           0
                        Cobalt                               ug/l     NA               40           82.6           4           4          NA
                        Iron                                 ug/l     NA             10600 J      25000 J          4           4          NA
                        Lead                                 ug/l     NA               2.3          2.3            4           1          NA
                        Magnesium                            ug/l     NA             73000         88600 J         4           4          NA
                        Manganese                            ug/l     NA              2840          4120           4           4          NA
                       Nickel                                ug/l     100             109 J         226            4           4           4
                        Potassium                            ug/l     NA              5990          7460           4           4          NA
                        Sodium                               ug/l     NA             66300 J       76300           4           4          NA
                       Zinc                                  ug/l     NA              147 J         296 J          4           3          NA

                 General Chemistry
                       Alkalinity (as CaCO3)                 mg/l     NA              35            56             4           4          NA
                       Chemical Oxygen Demand                mg/l     NA               15            36            4           3          NA
                       Chloride                              mg/l     NA              120           140            4           4          NA


h:\bak\mccoll\03-4493f\tblh-l .xls-"D" Unit                          Page 48 of 49                                                    ENVIRON
                                                                        Exhibit 39
                                                                          5734
                                Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 704 of 730 Page ID
 Tablk'-_ i: Summary of 1st, 2nd, 3rd, and 4th Quarter Data
             McColl Groundwater Remedial Investigation
                                                                  #:5778                                                                                     c
             McColl Site, Fullerton, California

 "D" Flow Unit
                                                                                              Minimum          Maximum          Number of       Number     Number of
                                                                                              Detected          Detected        Sampling           of     Times Exceed
 Well            Constituent                                             Units    MCL       Concentration     Concentration      Events*        Detects**   MCL**

 W-10B           General Chemistry, continued
                       Nitrate                                            mg/l     45             0.1              0.1               4             1           0
                          PH                                              units    NA             5.8              6.2               4             4          NA
                          Specific Conductivity                          um/cm     NA             1700             1900              4             4          NA
                          Sulfate                                         mg/l     NA             820              890               4             4          NA
                          Temperature                                      C       NA              19              26.9              4             4          NA
                          Total Dissolved Solids                          mg/l     NA             1350             1600              4             4          NA
                          Total Organic Carbon                            mg/l     NA             1.2               12               4             3          NA
                          Turbidity                                      NTU       NA             4.9               13               4             4          NA


          ug/L      =     micrograms per liter
          mg/l      =     milligrams per liter
        um/cm       =     micromhos per centimeter
             C      =     degrees Celsius
         NTU        =     Nephelometric Turbidity Unit

          MCL       =     Maximum Contaminant Level as listed Title 22, CCR, Revised June 23,1995.
           NA       =     Not Applicable

                 Duplicate samples not considered an additional sampling event.
                 Duplicate sample not considered an additional detection or exceedance, i.e. if both original and duplicate sample exceed MCL
                 in one sampling event, only one exceedance reported for that event.
 Notes:
                 In cases where the same minimum or maximum value was detected in more than one event, with
                 one of the values being qualified with a J or D, the unqualified value was used.

                 Only reported detections are presented in this table.




h:\bak\mcco1l\03-4493f\tblh-l .xls-"D" Unit                                       Page 49 of 49                                                           ENVIRON
                                                                                    Exhibit 39
                                                                                      5735
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 705 of 730 Page ID
                                  #:5779




                               APPENDIX I

                  REGULATORY AGENCY COMMENTS ON
                DRAFT REMEDIAL INVESTIGATION REPORT




                        GROUNDWATER RI REPORT
                              McCOLL SITE
                         FULLERTON, CALIFORNIA




                             December 29, 1995

                                 03-3493X




                                   Exhibit 39
                                     5736
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 706 of 730 Page ID
                                  #:5780




           RESPONSE TO AGENCY COMMENTS ON DRAFT RI REPORT

Agency comments from U.S.EPA, DTSC, and OCWD are presented in 12 point text and
MSG's response to these comments are indented and presented in 10 point (smaller) text.




                                          Exhibit 39
                                            5737
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 707 of 730 Page ID
                                  #:5781



                          MEMORANDUM: REVIEW OF RI REPORT - EPA
                                     October 31, 1995




General Comments

In general, the report is through and complete, although additional information and
documentation is needed in some case (see specific comments below). The report follows the
U.S. EPA Guidance for Conducting Remedial Investigation and Feasibility Studies Under
CERCLA with some exceptions: 1) although considerable information is available on the
contaminant sources (the sumps), little information is included in this RI report, and 2)
recommended remedial action objectives are not included in the conclusions section. Both
items should be included in the final RI report. Also, the final RI report should have a
subsection on risk assessment in the summary and conclusions section (Section 9).
                                                                        \
          Section 2.4 has been expanded to provide more information on the sump investigations. The
          Remedial Action Objectives were provided in the Draft Feasibility Study , McColl Site (ENVIRON
          December 1995). A subsection on the risk assessment, as provided by U.S.EPA, has been included
          in the summary and conclusions section (Section 9).


Specific Comments:

p. ES-1, first paragraph. Change "northwest of the intersection of Rosecrans Avenue and
Sunny Ridge Drive" to "southwest of the intersection". Change "waste sludge from the
production of aviation fuel" to "petroleum refinery waste". Delete the word "allegedly" —
there is ample proof that the petroleum refinery waste was disposed at the McColl Site.

          These text edits have been made, as requested.


p. ES-1, last paragraph, second sentence. "Sediment" should be plural.

          These text edits have been made, as requested.

p. ES-2, second paragraph. The second sentence should be revised to "...have been
identified to be continuously occurring...". In the third sentence, the term "semi-perched"



McColl Site Group
p:\lf\mccoll\03-3493x\cornments.d18                    1-1                                December 29, 1995

                                                       Exhibit 39
                                                         5738
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 708 of 730 Page ID
                                  #:5782
should either be defined (water that is perched, but that due to dipping beds becomes part of
the fully saturated regional aquifer) or the term "perched" should be used.



          These text edits have been made, as requested. The term "perched" has been substituted for perched
          where appropriate.




p. ES-3, third paragraph, fourth sentence. "Groundwater beneath the "A", and "C" flow
units" should be changed to "Groundwater within...".

          These text edits have been made, as requested.


p. ES-4, first paragraph, second sentence. David Liu, ENVIRON chemist, stated at the
May 11, 1995 McColl technical meeting that dimethylphthalate is the only SVOC that does
not appear to be a laboratory contaminant, and it has been detected consistently in
groundwater. The sentence, "...semi-VOCs were not consistently detected in groundwater at
the McColl site" should therefore be revised.

          More information has been provided on the semi-VOCs in Section 6.3.


p. ES-4, fourth paragraph. Although arsenic, beryllium, chromium, and manganese are
present in background wells, in many cases they are detected at several orders of magnitude
greater in on-site wells (see Baseline Risk Assessment, November 1995). This sentence
should be revised following the evaluation of background inorganic concentrations that will be
performed following receipt of the fourth quarter data.

         Background concentrations of inorganics were provided in the fourth quarter monitoring report
         (November 1995) and are included in this final version of the RI report.


p. ES-4, last paragraph. It is true that the higher concentrations of metals occur in wells
with low pH, but it should be questioned that the low pH is caused by the acidic nature of the
sump wastes.

        We are in agreement that the low pH is likely the result of local conditions downgradient of the sumps.
p. ES-5, fourth paragraph. Insert the Baseline Risk Assessment executive summary into the
final RI report as Section 8.0. EPA will provide the executive summary to MSG on computer
disk.


McColl Site Group
p:\lf\mccoll\03-3493x\comments.d18                     I-2                                  December 29, 1995
                                                       Exhibit 39
                                                         5739
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 709 of 730 Page ID
                                  #:5783
          EPA's risk assessment text has been inserted.


p. ES-6, first paragraph, first and second bullets. Delete the term "narrow band", the
extent of THT compounds in the vicinity of wells P-10D and P-10 L is unknown and cannot
be characterized as "narrow".

          The term "narrow band" has been deleted, and a more specific description of the laterally limited
          extent of THT compounds is provided.


p. ES-6, first paragraph, third bullet. Include the evaluation of the well P-IOL construction
in the final RI report.

          TM10-21 has been approved by EPA and the aquifer testing is scheduled for January 1996. An
          addendum report to the RI Report will be provided.


p. 1-1, first paragraph. This paragraph is an adaptation of the first paragraph of the
Groundwater Remedial Investigation/Feasibility Study Work Plan (February 1994). This
description of the source remedy is not applicable or appropriate as the firs paragraph of the
Groundwater RI report, and should be changed to present an introduction to the purpose and
scope of the RI. More specifically, the third sentence misrepresents the ROD which
established specific criteria for the evaluation of SMS. Why the contingency was selected is
irrelevant to this document. EPA in fact determined that SMS was technically implementable
which in addition to the above, makes the statement completely false. This statement should
be completely removed from the text.

          As requested, this statement has been deleted.


p. 1-2, second paragraph. MSG should submit the evaluation of the background
concentrations of metals to EPA for review prior to finalizing the PJ report.

         Background concentration of metals was submitted to U.S.EPA November 30, 1995 in the Annual
          Groundwater Monitoring Report (ENVIRON).


p. 1-2, bullets 1, 2 and 3. This reference information is obvious to the reader and can be
more simply stated by inclusion in a bibliography. Until the document is approved it has not
been determined to be consistent with the NCP.

         These references have been deleted, as requested.




McColl Site Group
p:\lf\mccoll\03-3493x\comments.d18                         I-3                               December 29, 1995

                                                           Exhibit 39
                                                             5740
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 710 of 730 Page ID
                                  #:5784
p. 1-3, second paragraph. Update Figure 1-1 to illustrate that the McColl Site is directly
adjacent to Sunny Ridge Drive. Change "Los Coyote Regional Park" to "Ralph B. Clark
Regional Park".

          Figure 1-1 has been updated. The text edit has been made, as requested.


p. 1-3, fourth paragraph. Replace the sentence "From a broader perspective, the
groundwater RI is also designed to characterize groundwater conditions at and in the vicinity
of the McColl Site, sufficient to understand whether perched groundwater conditions would
support a production well which could pose any public health risk or otherwise interfere with
the beneficial use of groundwater supply aquifers in the area" with the sentences as it was
stated in the Groundwater Remedial Investigation/Feasibility Study Work Plan (February
 1994). "From a broader perspective, the groundwater RI/FS is also designed to characterize
groundwater conditions at and in the vicinity of the McColl Site, sufficient to understand
whether any releases of chemicals have affected groundwater to a degree that would pose any
significant public health risk or otherwise interfere with the beneficial use of groundwater in
the area".

          The text edit has been made, as requested.


p. 1-4, last paragraph. Change "former waste disposal site for aviation fuel byproducts" to
"former waste disposal site for petroleum refinery waste". Change "waste sludge from the
production of aviation fuel" to "petroleum refinery waste". Delete the word "allegedly" —
there is ample proof that the petroleum refinery waste was disposed at the McColl Site.

         The text edits have been made, as requested.




p. 1-6, first paragraph. This paragraph is a misrepresentation of fact and is irrelevant to the
Report. It has been made clear to the reader that the work is being performed under an EPA
Order. No other information is necessary. The presence of this paragraph or any of its
related individual statements of misrepresentation in any portion of the final document shall
be considered by EPA as non-performance and shall result in EPA performance of the final
document and/or a notice of violation.

         This text has been deleted, as requested.



McColl Site Group
p:\lf\mccoll\03-3493x\comments.d18                       1-4                        December 29, 1995
                                                        Exhibit 39
                                                          5741
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 711 of 730 Page ID
                                  #:5785
p. 2-1, last paragraph. Add the word "Control" after "Department of Substances".

          The text edit has been made, as requested.

p. 2-3, top paragraph. Delete the sentence "The utility of chemical data from these wells,
therefore, may be questioned" and state that these chemical data may be used for only limited
purposes.

          These text edits have been made, as requested.


p. 2-4, first line. Prior to the sentence that begins, "For this reason...", insert the following
sentence, "the driller's notes and the geophysical logs also indicate the well may have been
damaged during construction."

         These text edits have been made, as requested.


p. 2-6, third paragraph, second sentence. Delete the word "significant" from the sentence
that begins "The lack of consistent and accurate logging...".

         These text edits have been made, as requested.




p. 2-7, Section 2.2.1. The limitations of the CPT survey must be stated at the beginning of
this section. Although the stated objective was to establish the boundary and source of water
to the shallow perched zones preliminary identified by wells P-3S, P-5S, and P-6S, those
wells are 69.1, 81, and 64 feet deep, respectively. The average depth achieved by the CPT
program was 48 feet bgs, and was not adequate for achieving the stated objective. The third
sentence of Section 2.2.1 should be changed to state, "The CPT survey provided a continuous
log of some physical properties...".

         These text edits have been made, as requested.




McColl Site Group
p \lf\mccoll\03-3493x\commentsd18                      I-5                    December 29, 1995
                                                       Exhibit 39
                                                         5742
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 712 of 730 Page ID
                                  #:5786
 p. 2-8, second paragraph. Delete the words "to a maximum depth of approximately 90
 feet". The minimum depth was 19 feet and the average depth was 48 feet, and thus the
 sentence as it is written does not convey the limitations of this Phase I work.

          These text edits have been made, as requested.


 p. 2-9, second paragraph, first sentence. At the time of the Groundwater Remedial
 Investigation/Feasibility Study Work Plan (February 1994), the presence of perched zones was
 well documented, and discussed in detail in Section 2.2 of the Groundwater Operable Unit
 Data Evaluation and Recommendations (ICF, May 1993) report. The sentence should be
 revised.

          This comment is probably the result of differing definitions of perched zones. The definition
          intended for report purposes requires that perched zones are saturated groundwater systems. At the
          time of the Workplan, the presence of identifiable and saturated perched zones was not expected.
          Intermittently saturated or partially saturated zones of groundwater were anticipated. This was the
          reason why neutron logging was originally proposed.


p. 2-10, second bullets. Delete the sentence in parentheses. At the time of the Groundwater
Remedial Investigation/Feasibility Study Work Plan (February 1994), the existence of the
regional aquifer was well documented.

          The intent of this sentence was to indicate that the exact depth and zonation of the regional aquifer
         underlying the site was not well known.




p. 2-10, Modified Scope of Work, second sentence. Again, the presence of perched zones
(saturated lenses within the vadose zone) was well known at the time of development of the
work plan, and thus the sentence beginning "Modifications were necessitated..." should be
revised accordingly. The pilot hole program provided a refinement of the site conceptual
model and provided justification for the modifications that were made.

         Please see response to previous comment.


p. 2-10, last sentence. The last sentence should be deleted. There is a consistent upward
gradient between P-5L and P-5, which is protective of the D flow unit at this location. Also,
the sentence contradicts the statement on p. 4-8 ("the saturated areas of the "C" and "D" flow
units may correlate because of upward leakage from the "D" to the "C" flow unit").

McColl Site Group
p:\lf\mccoll\03-3493x\comments.d18                       I-6                                   December 29, 1995

                                                       Exhibit 39
                                                         5743
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 713 of 730 Page ID
                                  #:5787
          More specific information has been provided to clarify this text.


p. 2-15, Section 2.4. The Task 2 McColl Source Operable Unit work should be described in
 . . . . . .
detail in this section.

          This information has been provided in Section 2.4.


Table 4-2. This table indicates that the D flow unit is unconfined beneath the McColl site;
however, the report cross sections and the measured water levels indicate that this unit is
confined beneath much of the McColl Site. The table should be revised.

          The table has been revised, as requested.


p. 4-8, Section 4.3.1, first sentence. The maximum depth achieved during the CPT survey
was ninety feet, not one hundred (see p. 2-8). Also, the limitations of this survey should
again be stated here.

          The text edits have been made, as requested.




p. 4-9, Section 4.3.2, second paragraph, first sentence. Revise the sentence to indicate that
P-2S is also a perched well. The sentence should state, "The only perched water observed in
the A flow unit is in the limited areas of wells P-2S and P-3S and during drilling at pilot hole
PH-10." Perched zones can be discontinuous in both space and time.

         This sentence have been clarified.


Sections 4.3.2, 4.3.4, 4.3.6, and 4.3.8. In each of these sections, following the bulleted
mention of the hydrogeochemical facies, the reader should be directed to the location of this
information (table or appendix).

         The additional information has been provided.


p. 4-13, second bullet. The dotted blue line indicates the upper boundary of the fully
saturated zone, but not of the semi-perched zone. The sentence should state, "The dotted blue
line...indicates the upper boundary of the fully saturated zone."

McColl Site Group
p:\lf\mccoll\03-3493x\comments.d18                       I-7                  December 29, 1995

                                                         Exhibit 39
                                                           5744
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 714 of 730 Page ID
                                  #:5788
          These edits have been made, as requested.


p. 4-17, second paragraph. The scope of work to evaluate the integrity of the P-IOL seal
should be submitted to EPA for review, along with the proposed date for submittal of the
addendum letter report.

          The scope of work has been submitted in EPA-approved TM10-21, and the work is scheduled for
          January 1996.


p. 4-17, last paragraph. There is no basis for making the assumption that the hydraulic
conductivity of the D flow unit is one order of magnitude greater than the highest measured
value in the C flow unit. The first two sentences of the last paragraph should be deleted.

          These sentences have been deleted, as requested.




p. 4-18, Section 4.4.5, last paragraph. Although Figure 4-2 (cross section A-A) indicates
that the B flow unit is no longer perched at this location, the drilling log for well P-IOL
(Appendix A) indicates variable saturation (including dry and moist conditions) between the
screened intervals of the wells P-10D and P-IOL. Thus, the difference in water levels
between the B and C flow units is explainable if in fact unsaturated conditions exist between
the two flow units.

          More clarification has been provided in this paragraph.


Figures 4-1 and 4-8. Consistent terminology should be use: "boundary" versus "base".

         These figures have been edited, as requested.

p. 5-1, third paragraph. No comparison can be made between concentrations in water is
|ug/L versus concentrations in soils in mg/kg. The paragraph should be revised.

         Qualitative comparisons can be made when considering Kd values and bulk densities. This
         observation is further supported by the text in Section 7.2.


p. 6-4, Section 6.3, second paragraph, last sentence. David Liu, ENVIRON chemist, stated
in May 11, 1995 McColl technical meeting that dimethylphthalate is the only SVOC that does

McColl Site Group
p:\lf\mccoll\03-3493x\comments.d18                       I-8                             December 29, 1995

                                                         Exhibit 39
                                                           5745
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 715 of 730 Page ID
                                  #:5789
 not appear to be a laboratory contaminant, and it has been detected consistently in
 groundwater.

          More information regarding semi-VOCs has been provided in Section 6.3.


 p. 7-2, first bullet. Change the term "metric suction" to "matric suction".


          This text edit has been made, as requested.


p. 7-4, first paragraph. Delete the term "narrow band". The extent of THT compounds in
the vicinity of wells P-10D and P-IOL is unknown and cannot be characterized as "narrow".

          The term narrow band has been deleted.




p. 7-5, first paragraph. Delete the term "narrow band". The extent of THT compounds in
the vicinity of wells P-10D and P-IOL is unknown and cannot be characterized as "narrow."

          Please see response to previous comment.


p. 7-6, second bullet. Again, delete the term "narrow band".

          Please see response to previous comment.

p. 8-1. The final RI report will include the Baseline Risk Assessment executive summary as
Section 8. EPA will provide MSG the text on computer disk.

         U.S.EPA's text on the baseline risk assessment has been incorporated.


p. 9-1, first paragraph. Change "northwest of the intersection of Rosecrans Avenue and
Sunny Ridge Drive" to "southwest of the intersection". Change "waste sludge from the
production of aviation fuel" to "petroleum refinery waste". Delete the word "allegedly" ~
there is ample proof that the petroleum refinery waste was disposed at the McColl Site.

         These text edits have been made, as requested.


p. 9-1, second paragraph, last sentence. Delete "...which would pose a public health risk or
otherwise interfere with the beneficial uses of groundwater south (downgradient) o the McColl



McColl Site Group
p:\lf\mccoll\03-3493x\comments.d18                       I-9                       December 29, 1995

                                                        Exhibit 39
                                                          5746
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 716 of 730 Page ID
                                  #:5790
 site." The sentence should read "However, no significant groundwater quality impacts were
 identified at the end of this historical monitoring program."

          The text edit has been made, as requested.


p. 9-2, second bullet, first sentence. Delete the words "then presumed". The vadose zone
can include perched zones.

          The text edit has been made, as requested.




p. 9-4, third paragraph, first. Revise the sentence to state, "The "A" flow unit is the least
extensive groundwater unit, with water begin detected...within the limited areas of wells P-2S
and P-3S." Perched zones can be discontinuous in both time and space.

          More clarification has been provided for this sentence.


p. 9-5, second paragraph, last sentence. If in fact unsaturated conditions exist between the
B and the C units at this location, as indicated by the drilling log, then migration of
contaminants could occur due to unsaturated flow. This, however, is unlikely.

          Soil sampling results indicate this migration has not occurred.

p. 9-8, third and fourth bullets. Delete the term "narrow band".

         This text edit has been made, as requested.


p. 9-8, fifth bullet. The third sentence of this bullet should point out that migration from the
C to the D flow unit could occur at other locations.

         More clarification has been provided for this report section.


p. 9-9, first paragraph, first sentence. Revise the sentence to state, "Neither organic or
elevated concentrations of inorganic constituents have been detected in the "D" flow unit,
indicating no significant pathway for constituent migration currently exists."

         This text edit has been made, as requested.


McColl Site Group                                \
p:\lf\mccoll\03-3493x\comments.d18                      1-10                December 29, 1995
                                                        Exhibit 39
                                                          5747
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 717 of 730 Page ID
                                  #:5791
Section 10. The Baseline Risk Assessment (ICF, 1995) should be referenced.

          This reference has been provided.

Appendix C. Results of the soil permeability testing are not presented. They should be
included in the final RI report.

          The permeability results are included in both the draft and final versions of the RI Report. Please
          refer to Appendix C attachment for October 17, 1994.




McColl Site Group
p:\lf\mccoll\03-3493x\comments.d18                     1-11                                   December 29, 1995

                                                       Exhibit 39
                                                         5748
Case 2:91-cv-00589-CJC Document 677-7 Filed 07/10/20 Page 718 of 730 Page ID
                                  #:5792
                        MEMORANDUM: REVIEW OF RI REPORT - DTSC
                                   October 31, 1995




Specific Comments

1.        As discussed in the RI Report conclusions, the detection of contaminants in the C flow
          unit in well P-IOL is an outstanding issue that must be resolved. If P-IOL has a faulty
          seal and the contamination is from the B low unit, then the well must be properly
          decommissioned and a replacement well installed. If the contamination is actually in
          the C flow unit at this location, then an additional well or wells would be necessary to
          investigate the off-site extent of contamination. The D flow unit is the main concern
          since it represents the uppermost zone of the regional aquifer and is a potential
          pathway for migration of contaminants to nearby production wells. The chosen
          remedial alternative for groundwater at McColl will most likely involve monitoring of
          the D flow unit.

          TM10-21 was submitted and approved by U.S.EPA to address the issues regarding well P-IOL.
          Work is scheduled for January 1996.    The Draft Feasibility Study addresses DTSC's concerns
          regarding "D" flow unit monitoring.


2.        A full evaluation of the fate and transport of contaminants at McColl cannot be
          provided at this time as the study is still underway. When the information is available
          and presented, an evaluation will be provided.

          Section 7.0 in the final version of the RI Report provides fate and transport information.




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                                                        Exhibit 39
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                                   #:5793
                       MEMORANDUM: REVIEW OF RI REPORT - OCWD
                                   October 31, 1995




Specific Comments



p. 4-3: Groundwater levels generally vary between 40 and 60 feet MSL within the
"main" aquifer...(OCWD 1994). The nearest wells used for the OCWD 1993-94
groundwater contour map were the City of Buena Park Smith-Murphy well and the City of
Fullerton Airport well. These wells lie across the Norwalk fault zone, and due to the offset
and deformed structure of the San Pedro Fm it is unlikely that they are representative of
piezometric levels of San Pedro under the Site. The 1993-94 OCWD Engineers Report has
been enclosed for reference cited on p. 10-2 (ENVIRON and USEPA only).

         More clarification has been provided in the text to explain why we believe these are reasonable
         elevations for the "main" aquifer.


p. 4-3: The Smith-Murphy production well...temperature of 87 degrees Centigrade. The
temperature of the Smith-Murphy well is approximately 27-29 degrees Centigrade, so the
temperature stated is probably in degrees Fahrenheit.

         This text edit has been made, as requested.


p. 4-2 to 4-5: Therefore, the Task 10 drilling program has penetrated both the La Habra
Formation and the upper portion of the Coyote Hills Formation...(p. 4-5) with reference
to Fig 4-14 Elevation of the Top of the "Main" Aquifer in the San Pedro Formation (p.
4-3) and Fig. 4-15 Schematic Relationship between Regional Pumping Wells and On-site
Monitoring Wells (p. 4-3). These interpretations are based on Geology and Oil Resources of
the Western Puente Hills, USGS Professional Paper 420-C and DWR Progress Report on
Ground-water Geology of the Coastal Plain of Orange County, July 1967.

The spatial relationship of these wells on the schematic cross-section (ENVIRON Fig. 4-15) is
misleading as the Smith-Murphy well does not lie between the Coyote 12A well and the
McColl Site (Site). In addition, the schematic is based solely on the elevation of the well
sites and does not account for structural features (i.e., Norwalk Fault Zone and structural dip)
mapped between the well sites (see attached quad, map, ENVIRON and USEPA only).


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                                                        Exhibit 39
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                                  #:5794
          This figure was intended as a schematic and not a cross-section; therefore, the spatial relationship
          between the wells was not intended to be represented on this figure. Structural features were also
          not intended to be represented. Designation of the various geologic formations has been deleted
          from this figure to avoid misunderstandings regarding the intent of this figure.


 The elevation of the top of the Main aquifer (of DWR's elevation of the top of the Middle
 aquifer system) was extrapolated directly from DWR 1967 (ENVIRON Fig 4-14) contour
 map. This contour map does not adequately represent the depth of the San Pedro Fm at the
 Site. Attached (ENVIRON and USEPA only) is a location map (taken from La Habra Quad),
portion of the cross-section E-E' and associated data tables from the Geology and Oil
Resources for the Western Puente Hills Area, Southern California, U.S. Geological Survey
Professional Pater 420-C, 1972 (P420-C). Based on these data, the depth to and thickness of
the La Habra, Coyote Hills and San Pedro Fms appear exaggerated as presented in ENVIRON
Fig. 4-15. Data presented in PP420-C indicates the Site lies just east of well site #102
(PP420-C Plate 4 and Table 6, page C48) which has been interpreted to penetrate the Coyote
Hills Fm (0-260 ft bgs) and the San Pedro Fm (260-570 ft bgs) with no La Habra Fm
encountered. From this data the elevation of the bottom of the San Pedro Fm at well P-2D is
approximately -285 ft and the elevation to the bottom of the Coyote Hills Fm is
approximately 25 ft. Thus, the San Pedro Fm (Main aquifer) may actually be penetrated by
the deeper monitoring wells at the Site. Further review of the Geologic Map of Orange
County, CA, Morton and Miller, 1991 indicates that the Site lies very near the contact
between the La Habra and Coyote Hills Fms. This map and the apparent lack of La Habra
Fm at well #102 indicates that the thickness of the La Habra Fm at the site, if it exists, is
relatively thin (near its contact with the Coyote Hills Fm as shown on PP420-C cross-section
E-E').

Additional evidence should be shown to support the reported thickness of the La Habra and
Coyote Hills Fms in on-site monitoring wells.

If OCWD's interpretation of the referenced reports is correct, then the "D" flow zone wells at
the McColl site may be in hydraulic contact with the San Pedro Fm (i.e., "Main" aquifer), a
significant production zone of the Orange County groundwater basin.

         We believe Figure 4-14 is an accurate depiction of the top of the "main" aquifer of the San Pedro
         Formation. When reviewing available literature on regional hydrogeology and the site
         hydrogeology, we believe this is an accurate structure map. If OCWD has data to indicate
         otherwise, we would be glad to review and discuss this information. As explained in the following
         text, we do not believe the U.S.G.S. cross-sections are detailed enough to substantiate the alteration
         of Figure 4-14.



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                                  #:5795
          Text has been added to clarify our identification of La Habra Formation and Coyote Hills
          Formation sediment. Identification of this sediment was not made based on the U.S.G.S. cross-
          sections discussed above because the level of detail in these cross-sections was insufficient for
          purposes of the RI. The U.S.G.S. cross-sections were several thousand feet deep, and we are
          evaluating no more than 300 feet of sediment. As supported by the text and figures of the R[
          Report, we do not believe the "main" aquifer of the San Pedro Formation is in contact with the "D"
          flow unit.


p. 4-5: Based on correlation of subsurface drilling at the McColl site with surficial
geologic mapping by USGS (1972), the "C" clay packet represents the bottom of the La
Habra Fm. See comments regarding p. 4-4.

          Please see above response.


p. 4-8: The saturated areas of the "C" and "D" flow units may correlate because of
upward leakage form the "D" to the "C" flow unit. If statement is made with reference
to the P-5L and P-5D hydraulic gradient, then explain how leakage can be expected between
two zones separated by a dry clay unit (ENVIRON cross-section E-E'). There is no well log
for P-5D (CH2M Hill 1987) in Appendix which might provide additional data to support that
leakage is occurring. Also see comments regarding p. 4-13 below.

          The upward leakage along the southern site boundary is substantiated by the hydrograph presented
          in Figure 4-20. The "C" clay unit at this location was drilled prior to the RI investigation, and no
          record exists regarding whether wet or dry conditions were encountered.


p. 4-10: The structure of the "B" clay... See comments regarding Fig. 4-11 below.

         Please see response to following comment.




p. 4-11: The "B" flow unit is perched above the "C" flow unit to the north of the
McColl site boundary. RI Report cross-sections D-D' and E-E' indicate that the "B" flow
unit daylights in the vicinity of wells W-5 and PH-5 and does not extend past the northern
site boundary. This statement is incorrect.

         This statement has been clarified ... the southern not the northern site boundary was intended.




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                                                        Exhibit 39
                                                          5752
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                                  #:5796
p. 4-11: Groundwater has been consistently detected in all "B" flow unit wells, although
the "B" flow units is not continuously saturated north of the Los Coyotes sump area.
This statement is misleading as the cross-sections indicate the "B" flow unit is not
continuously saturated beneath the south of the Los Coyotes sump area as well (see cross-
sections B-B', C-C', D-D' and E-E').

          This text has been clarified, as requested.


p. 4-11: The lack of moist conditions immediately beneath the perched areas of the "B"
clay as noted during the pilot hole program, indicates the low hydraulic conductivity
of...this aquitard. The cross-sections indicate there are wet or saturated conditions within
and beneath the "B" clay (PH-1, PH-2, PH-3, PH-4, PH-8, and PH-10) indicating leakage is
occurring between the "B" and "C" flow units.

          Wet or saturated conditions are not consistently detected below the "B" clay. Also, soil samples
          collected during the pilot hole program indicate McColl constituents are not migrating through the
          "B" clay. This statement was made based on these observations.


p. 4-13: Slow upward leakage from the "D" flow unit to the "C" flow unit...as
illustrated by...discussed later in Section 4.4.4. there is no discussion of the upward
leakage between "D" and "C" flow units in Section 4.4.4. Also see comments regarding page
4-8.

          The text has been edited to correctly reference Section 4.4.5.




p. 4-13: This "C" flow unit therefore correlates well with the DWR's (July 1967)
description of La Habra Fm water-bearing zones being semi-perched groundwater zones
of limited extent. DWR 1967 broadly states "numerous semi-perched aquifers of limited
extent are also present in the shallow portions of the Upper System", consisting of all water-
bearing strata above the Main aquifer. However, there is no basis for making this statement
in the Draft RI as the "extent" of the La Habra Fm has not been fully defined therein.



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                                  #:5797
          We believe the noncontinuity of individual sand and silt units within the La Habra Formation flow
          units, their low yield, and the outcropping pattern of the La Habra Formation flow units supports
          this statement.


p. 4-13: 4.3.7 "C" Aquitard. In summary, there is neither physical evidence regarding the
characteristics (thickness, piezometric or water quality data) of the "C" clay nor the "D" flow
unit south of the entire site. Therefore, statements regarding "confined conditions in the "D"
flow unit" and "low hydraulic conductivity" of the "C" clay, south of the site, are based on
evidence obtained at the site boundary. Also see comments regarding upward leakage p. 4-8.

          Statements regarding the off-site portion of the "C" aquitard are supported by the depositional
          character of this aquitard, in addition to the information provided by the pilot hole and wells at the
          off-site well P-5 cluster.


p. 4-14: 4.4 Groundwater Flow. It is more pertinent to discuss groundwater velocity, as
opposed to Darcian flux, in the underlying flow units. These are not synonymous terms. The
RI should include calculations of groundwater velocity and justifications for estimates of
effective porosities within each flow unit.

          These edits have been made, as requested.


p. 4-14: 4.3.8 "D" Flow Unit. There are several discrepancies within this paragraph: (i)
there is no evidence regarding a "D" clay unit underlying the Site, (ii) data presented in the
Draft RI indicates the "D" flow unit is not "more productive" than the "C" flow unit, (iii)
there are no wells screened in the "D" flow unit, downgradient of the sumps, to substantiate
the "lack of THT compounds" therein.

         Reference to the "D" clay has been deleted. We believe the "D" flow unit is more productive due
         to the more massive nature of its coarse sand and gravels, when compared to the "C" flow unit.


p. 4-18: Water level measured in upper portion of "C" flow unit was very close
to...water level...at pilot hole PH-8. There are several discrepancies in this paragraph: (i)
Cross-section A-A' indicates the "B" clay was dry when its "water level was measured close
to that of well P-10D", yet borehole logs confirm this unit to be moist to wet (a potentially
leaky aquitard), (ii) the borehole log for P-IOL (Fig. A-lOa) indicates a 26-foot water level
difference with a downward hydraulic flow potential between the "B" clay and the "C" flow
unit, confirmed by soil chemical analysis from PH-1 and PH-10, which indicate downward
migration of constituents has occurred from the Los Coyotes sump area into the "B" clay unit
downgradient of the sumps, (iii) cross-section A-A' shows two water levels measured


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                                  #:5798
September 1994 at PH-8 "temporary well" - explain the difference and include appropriate P-
10L water levels and resistivity log (if it exists) on cross-section A-A'. Nevertheless, it is
inappropriate to correlate water levels taken 10 months apart, especially after an "unusually
wet winter" (p. 4-12).

In summary, fluctuations of the piezometric surface between well nest P-2 and well nest P-10
can have significant impact on short-term hydrogeologic conditions directly downgradient of
the Site and should be discussed in the RI.

          (i) Cross-section A-A' has been corrected to better indicate the wet portions of the "B" clay, (ii) It
          is not believed that the approximately 26-foot water level difference between the "B" and the "C"
          flow units would be maintained if the "B" clay was significantly leaky at this location. Their water
          levels would be more similar, as encountered at the "C" and "D" flow units along the southern
          boundary of the site, (iii) These two water levels were measured at different elevations, and the
          cross-sections have been corrected to better indicate this measurement. We believe a qualitative
          comparison of water levels during these time periods is appropriate, when considering the
          substantial difference in water levels between the "B" and "C" flow units as compared to the water
          level trends over time in the individual flow units.




p. 4-19: Comparison of hydrography and the groundwater level maps...See comments
regarding Fig. 4-16 through 4-20 below. Where water level data prior to Task 10 exists, it
should be presented/discussed on appropriate hydrographs.

          Water levels prior to the Task 10 investigation were not included due to concerns regarding faulty
          surface seals (which have been repaired prior to Task 10) and concerns regarding the surveying of
         well elevations (which were resurveyed during the Task 10 investigation).


p. 6-4: With the exclusion of common laboratory contaminants, semi-VOCs were not
detected consistently in any of the three quarters of groundwater samples...Data tables
indicate that phenol was detected above the state action level (AL) in all three quarters at well
P-9D. Phenol was also detected in wells W-8B and W-9C. Bis(2-ethylhexyl)phthalate
(BEHP) was detected two of three quarters in wells P-1D, P-2D(R), P-3D, P-6D, P-9D, W-4,
W-8B. These constituents have not been recognized in the RI Data Validation section as
being laboratory contaminants and are not consistently reported as contaminants ("U" qualified
results) in the laboratory travel blanks or well samples in any quarterly monitoring report.

BEHP could be a suspect contaminant as it has been identified as an organic chemical
detected in soil and waste in sump areas (Table 2-7). BEHP, phenol and dimethylphthlate
have also been identified as chemicals of potential concern in the Draft Baseline Risk

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                                  #:5799
Assessment (BRA Table 2-3). However, validation studies from BRA indicate that BEHP
may be a laboratory contaminant. It is not clear if BEHP exists or not in the groundwater
from information presented in the Draft RI.

          More information is provided in Section 6.3 regarding semi-VOCs.


p. 6-6: Figures 6-19 through 6-21 present semi-logarithmic plots of the arsenic
concentrations...Text should be modified to reflect that Figures 6-25 through 6-27 present the
semi-logarithmic plots of the arsenic concentration.

          This text edit has been made, as requested.


p. 7-5: Neither organic [n]or elevated concentrations of inorganic constituents have been
detected in the "D" flow unit...This statement is misleading because the spatial distribution
of wells does not allow adequate monitoring of the "D" flow unit downgradient of the Los
Coyotes sumps (south of the entire site). In addition, the organic constituents benzene,
BEHP, dimethylphthalate, and phenol have been detected in "D" flow unit wells P-1D, P-5D,
W-4, W-8B, and W-9C. These constituents have not otherwise been identified as laboratory
contaminants in any section of the RI. Also relates to comments regarding page 9-9 below.

          We believe this statement correctly represents site data. More information regarding the semi-
          VOCs has been provided. We believe, since the "D" flow unit does not outcrop at the site, the
          general lack of organic or inorganic compounds in the "C" flow unit wells along the southern site
          boundary also supports this statement.


p. 9-8: Migration of THT compounds through the clay...at the P-IOL location. There
are several discrepancies in this paragraph: (i) well P-IOL does not penetrate the "C" clay at
this location, but there is evidence that THT compounds are migrating through the "B" clay at
this location, (ii) there is no information from P-IOL that indicates THTs are migrating to the
"D" flow unit, (iii) text does not discuss how water levels have been extrapolated (not
apparent from data presented in cross-section C-C' or from Fig. 4-12 which indicates
inconsistencies in water levels for P-9D and P-IOL) to conclude a "C" to "D" migration
potential exists, (iv) monitoring well network does not include the "D" flow unit at this
location, (v) there has been no discussion in the RI of the justification for "narrow bands" of
contaminants; it is possible that the paleochannels, identified in the Task 10 drilling program,
control the migration of contaminants off-site, (vi) there has been no discussion in this RI
report of the significance of the fluctuating "schematic upper boundary of the fully saturated
zone" as it relates to contaminant migration at the Site.


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                                  #:5800
          This report section has been modified to better clarify this statement.


p. 9-9: "D" Flow Unit. There are several discrepancies in this paragraph: (i) organic
constituents have been detected in "D" flow unit wells (see comments p. 7-5 above), (ii) P-
10L does not penetrate the "C" clay, and comments regarding vertical migration at this
location are unjustified, (iii) no "D" flow unit wells exist downgradient of the Los Coyotes
sump area (the entire site), therefore, blanket statements regarding a "narrow band" of THTs
therein or that "no current pathway for constituent migration exists" are unjustified, (vi) the
RI/FS Workplan (p. 1-3), related Technical Memorandum (TM 10-14 and 10-15) and the
Draft RI (p. 2-10) generally stated that "three wells would be constructed into the shallowest
saturated zone of the deep regional aquifer...south of the (entire) Site". If it can be argued
that the "D" flow unit is the deep regional aquifer underlying the site (p. 4-14), then only well
P-5D is screened therein and does not represent groundwater conditions "south of the entire
Site. Without additional wells and with the uncertainties surrounding well P-IOL then
groundwater conditions downgradient of the entire McColl site cannot be adequately
characterized. Therefore, the RI report should include a summary of the deficiencies in the
groundwater monitoring well network as it was proposed in the original Workplan and
associated TMs.

          This report section has been modified to better clarify these statements.




Specific Comments regarding Tables, Figures and Appendices

Table 5-1. Indicate soil sample depths on cross-sections using appropriate symbol.

          Soil sample depths have been added to the cross-sections.

Fig. 4-1: Cross-section Location Map and Fig. 4-5 Cross-section D-D'. Neither Fig. 4-1
nor Fig. 4-5 indicate that well P-1D has been projected onto cross-section D-D'. Text does
not provide explanation for projecting this well either.

         The projection has been added to the cross-sections.


Fig. 4-2: Cross-section A-A'. If a resistivity log exists, it should be presented along P-IOL
(PH-10) and water level mislabeled as PH-9D. If water level is available for PH-9 it should
also be presented on the appropriate cross-sections.


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                                  #:5801
          The water level label has been corrected. Since the pilot hole was cased, it was not possible to run
          a resistivity log of pilot hole PH-10.


Fig. 4-4: Cross-section C-C'. See comment Fig. 4-2 above.

          Please see above response.

Figs. 4-7, 4-8, 4-10 and 4-11. Labeling of the clay boundaries should be consistent (i.e., Fig.
4-8 and 4-11 says "Base of "B" Clay Daylights" while Fig. 4-7 and 4-10 say "Boundary of),
furthermore, the "B" flow unit does not lie at the base of "B" clay. In addition, for
illustrative purposes the boundaries of the clay units should be extrapolated to ground surface
on the cross-sections to be consistent with Figs. 4-7, -8, -10, and -11.

          These figures have been modified to better clarify these labels.


Fig. 4-11: Water Level; "B" Flow Unit. The red line indicating "Base of the B clay" (see
previous comment) is inconsistent with its position as illustrated on cross-section E-E',
especially in the vicinity of well W-6A. In particular, this boundary is shown much closer to
W-6 on Fig. 4-11 than its projected surface location on Fig. 4-6. The dotted blue line labeled
"Approximate Limit of Saturation in "B" Flow Unit" is also inconsistent with data provided
on the cross-sections. For example, the line indicates that wells P-21, P-41, P-51, and P-6S
and pilot holes PH-8 and PH-2 lie within the fully saturated zone when the cross-sections
indicate they are zones of variable saturation (as defined on p. 4-8). If this line represents the
July 1995 limits of saturation then Fig. 4-11 should be appropriately labeled and text should
include discussions pertinent to fluctuation of this line over time. Furthermore, no data is
provided on cross-sections A-A', D-D', and E-E' to support the groundwater elevations
interpreted for well PH-8 and -9 on Fig. 4-11. Cross-section A-A' and E-E' indicate the
water level for PH-8 ("B" zone) was 130' msl not 140-160 as the figure illustrates and no
water levels were measured in PH-9 within the "B" flow zone (Fig. A-9). If water levels on
Fig. 4-11 have been estimated based on previous data then justification for the estimate should
be provided in the accompanying text; besides, such estimations are not necessary to properly
construct this map.

         These figures have been modified to address these comments.


Fig. 4-11 to Fig. 4-13. The title of these figures should be consistent with text discussions
regarding groundwater level maps (p. 4-19).

         These titles appear appropriate.

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Fig. 4-14. See comments regarding text pages 4-4 to 4-5 above.

          Please see corresponding responses.

Fig. 4-15. See comments regarding text pages 4-4 to 4-5 above.

          Please see corresponding responses.

Fig. 4-16 and Fig. 4-20. Identify corresponding flow unit for well(s).

          The flow unit designation for Figure 4-16 appears obvious, and flow units are indicated by color in
          Figure 4-20.


Fig. 4-16 to 4-20. Identify sampling dates along a properly scaled X-axis. RI report should
include hydrographs utilizing all historical water level data where appropriate.

          We believe the current chart format correctly depicts the sampling dates, given we are only
          presenting a one-year period.




Fig. 6-25 to 6-27. Identify sampling dates along a properly scaled X-axis. RI report should
include plots utilizing all historical water quality data where appropriate.

          Please see above data. Historical water quality data is not included due to concerns regarding
          historical poor surface completions of wells and the lack of CLP protocol.


Appendix A, p. A.l-3: ENVIRON obtained well and boring permits from the Orange
County Water District...This statement is incorrect as the Orange County Water District does
not issue well and boring permits. Appendix A should include copies of all relevant permits
or "notices" for construction/destruction of monitoring wells issued by appropriate agencies.

         This text has been corrected and well permits are included in Appendix A.


Appendix A, p. A.2-2: At PH-9 and PH-10, flowing sands interfered with coring when
saturated zones were penetrated; the rig was then converted to mud rotary to continue
coring to the target depths. Boring logs indicate that PH-9 was completed to total depth
with hollow stem auger method but PH-8 indicates a switch to mud rotary at 190 ft due to
heaving sands.



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          The text has been corrected, as requested.




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                       POOR LEGIBILITY

    ONE OR MORE PAGES IN THIS DOCUMENT ARE DIFFICULT TO READ
               DUE TO THE QUALITY OF THE ORIGINAL




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